18-13374-mew            Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                                  Pg 1 of 692


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     Proposed Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                        )
     In re:                                                             ) Chapter 11
                                                                        )
     AEGEAN MARINE PETROLEUM NETWORK                                    ) Case No. 18-13374 (___)
     INC., et al.,1                                                     )
                                                                        )
                               Debtors.                                 ) (Joint Administration Requested)
                                                                        )

                 DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL
                    ORDERS PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363,
                   364, 503, AND 507 (I) AUTHORIZING THE DEBTORS TO
                   OBTAIN SENIOR SECURED PRIMING SUPERPRIORITY
                    POSTPETITION FINANCING, (II) GRANTING LIENS
               AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
            (III) AUTHORIZING USE OF CASH COLLATERAL, (IV) GRANTING
           ADEQUATE PROTECTION, (V) MODIFYING THE AUTOMATIC STAY,
     (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF




 1     Due to the large number of Debtors in these chapter 11 cases, for which the Debtors have requested joint
       administration, a complete list of the Debtors and the last four digits of their tax identification, registration, or
       like numbers is not provided herein. A complete list of such information may be obtained on the website of the
       Debtors’ proposed claims and noticing agent at http://dm.epiq11.com/aegean. The location of Debtor Aegean
       Bunkering (USA) LLC’s principal place of business and the Debtors’ service address in these chapter 11 cases is
       52 Vanderbilt Avenue, Suite 1405, New York, New York 10017.
18-13374-mew          Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                           Main Document
                                                Pg 2 of 692


         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)2

 respectfully state as follows in support of this motion (this “Motion”):

                                             Preliminary Statement3

         1.        The Debtors commenced these chapter 11 cases to stabilize business operations,

 address near-term debt maturities, and facilitate a value-maximizing restructuring transaction. The

 Debtors, with the support of Mercuria Energy Group Limited (together with its

 affiliates, “Mercuria”), intend to undertake a robust, 120-day process to market their business as a

 going concern and solicit highest or otherwise best offers for their assets, to the benefit of all parties

 in interest. In connection with its role as the stalking horse purchaser for the Debtors’ assets,

 Mercuria has agreed to fund these chapter 11 cases with $532 million in DIP financing through a

 $160     million     debtor-in-possession          U.S. revolving        credit    facility,     a     $300    million

 debtor-in-possession global revolving credit facility, and a multiple delayed draw term loan credit

 facility in an aggregate principal amount of $72 million (collectively, the “DIP Facilities”), all

 provided by Mercuria or its affiliates.

         2.        The DIP Facilities allow the Debtors to immediately access the U.S. and Global

 DIP Revolving Credit Facilities and ABL Cash Collateral (each, as defined below) thereunder so

 they can continue to pay their operating expenses and signal to their lenders, many of whom are

 located abroad and are not familiar with chapter 11 of title 11 of the United States Code

 (the “Bankruptcy Code”), that operations will continue in the ordinary course. In addition, the


 2   A detailed description of the Debtors and their businesses, and certain facts and circumstances supporting this
     Motion and the Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Tyler Baron, Director
     of Aegean Marine Petroleum Network Inc., in Support of the Chapter 11 Petitions and First Day Motions
     (the “Baron First Day Declaration”) and the Declaration of Andrew Hede, Financial Advisor to Aegean Marine
     Petroleum Network Inc., in Support of the Chapter 11 Petitions and First Day Motions (the “Hede First Day
     Declaration”), each filed contemporaneously herewith and incorporated by reference herein.
 3   Capitalized terms used but not defined in this Preliminary Statement shall have the meanings ascribed to them in
     the remainder of the Motion.



                                                            2
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                            Pg 3 of 692


 DIP Facilities will provide sufficient liquidity to ensure that the Debtors are able to continue paying

 their debts as they come due, notwithstanding the restrictions imposed on the Debtors by the

 borrowing bases under the Prepetition Credit Facilities, conduct a competitive marketing process

 for their assets and fund these chapter 11 cases, sending a strong message to customers, vendors,

 employees, and stakeholders that their restructuring is both well-funded and well-positioned to

 succeed in the process.

        3.      The DIP Facilities were the product of an extensive marketing process and

 arms’-length negotiation with the DIP Lenders. As discussed herein and in the Jamal Declaration,

 the DIP Facilities were preceded by a competitive marketing process designed to secure

 postpetition financing on the best available terms. As part of this process, Moelis & Company

 LLC (“Moelis”), the Debtors’ proposed investment banker, solicited proposals for

 debtor-in-possession financing from a variety of potential lenders. While certain parties did offer

 alternative financing proposals, as explained below and in the Jamal Declaration, such offers were

 not viable for the Debtors’ estates at the time of filing for various reasons. In the Debtors’ business

 judgment, the DIP Facilities provide the best available comprehensive postpetition financing, all

 things considered.

        4.      In addition to securing funding and continued access to ABL Cash Collateral

 through the DIP Facilities, the Debtors were able to negotiate continued access to certain of their

 vessels and the cash generated by the operation of these vessels owned by foreign lenders under

 certain of their Prepetition Term Loan Facilities in the form of adequate protection agreements

 (the “Adequate Protection Agreements”). Through such Adequate Protection Agreements, the

 Debtors propose continued payments to such lenders in the ordinary course and certain other

 protections in exchange for consensual continued use of those vessels. The Debtors also propose




                                                   3
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                             Pg 4 of 692


 making continued payments to lenders under the Prepetition Term Loan Facilities that have not

 entered into agreements with the Debtors and providing continued maintenance of their collateral

 to ensure such lenders are similarly protected from diminution in value of their collateral and are

 incentivized to respect the automatic stay. Because the Adequate Protection Agreements ensure

 that foreign lenders in jurisdictions without automatic stay recognition laws will refrain from

 taking adverse action against assets of the estate, they are in the best interests of the Debtors and

 their estates.

         5.       In short, the availability under the DIP Facilities will provide sufficient liquidity to

 fund the Debtors’ operations, make payments to the Debtors’ vendors and funded debtholders who

 are necessary to the continued operation of the fleet, and, importantly, fund the sale process to

 ensure the Debtors’ creditors receive the highest and best recovery on account of their claims.

 Accordingly, the Debtors firmly believe that approval of the DIP Facilities will maximize value

 for the Debtors’ stakeholders and is a sound exercise of the Debtors’ business judgment. As a

 result, the Debtors respectfully request that the Bankruptcy Court grant the relief requested.

                                        Jurisdiction and Venue

         6.       The United States Bankruptcy Court for the Southern District of New York

 (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

 Amended Standing Order of Reference from the United States District Court for the Southern

 District of New York, dated January 31, 2012. The Debtors confirm their consent, pursuant to

 rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of

 a final order by the Court in connection with this Motion to the extent that it is later determined

 that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

 herewith consistent with Article III of the United States Constitution.



                                                     4
18-13374-mew           Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                                  Pg 5 of 692


         7.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         8.       The bases for the relief requested herein are sections 105, 361, 362, 363, 364, 503,

 and 507 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004, and 9014, and Rule 4001-2

 of the Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”).

                                                 Relief Requested

         9.       The Debtors seek entry of an interim order, substantially in the form attached hereto

 as Exhibit A (the “Interim Order”), and a final order (the “Final Order,”4 and, together with the

 Interim Order, collectively, the “Orders”) providing for:

                  a.           authorization for the Borrowers (as defined below) to obtain, and for each
                               of the Guarantors (as defined below) to guarantee postpetition financing in
                               the form of:

                         (i)          a senior secured super-priority asset-based credit facility (the “U.S.
                                      DIP Revolving Credit Facility,” and together with the DIP Term
                                      Loan Facility, the “U.S. DIP Credit Facilities”), on the terms and
                                      conditions to be set forth in a Superpriority Secured
                                      Debtor-In-Possession Credit Agreement substantially in the form
                                      annexed to the Interim Order as Exhibit A (as the same may be
                                      amended, restated, supplemented, waived, extended or otherwise
                                      modified from time to time, the “U.S. DIP Agreement,” and together
                                      with any other related agreements, documents, security agreements,
                                      or pledge agreements, the “U.S. DIP Documents”), by and among
                                      Aegean Bunkering (USA) LLC, as U.S. Borrower, the Guarantors,
                                      ABN AMRO Capital USA LLC, as Administrative Agent,
                                      Collateral Agent, Swing Line Lender and Issuing Bank, and
                                      Mercuria US Asset Holdings LLC, as U.S. Lender, in an initial
                                      aggregate principal amount (subject to availability), and together
                                      with the outstanding amounts under the U.S. Prepetition Credit
                                      Facility, of: $160,000,000 in revolving commitments (the “U.S.
                                      Revolving Commitments,” and the loans outstanding under the U.S.
                                      Revolving Commitments from time to time, the “U.S. Revolving
                                      Loans”), including a $50,000,000 million sublimit for the issuance
                                      of letters of credit (“U.S. Letters of Credit”) and swing line loans
                                      (the “Swing Line Loans”), available from time to time until the
                                      maturity date of the U.S. DIP Revolving Credit Facility;



 4   The Debtors will file the form of Final Order prior to the Final Hearing (as defined herein).



                                                           5
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 6 of 692


                      (ii)        a senior secured super-priority multiple delayed draw term loan
                                  credit facility (the “DIP Term Loan Facility”), on the terms and
                                  conditions to be set forth in the U.S. DIP Agreement (as defined
                                  below), in an aggregate principal amount of $72,000,000 in term
                                  loan commitments (the “DIP Term Loan Commitment”) which shall
                                  be available as term loans (the “DIP Term Loans”) to the U.S.
                                  Borrower (i) upon entry of the Interim Order, and subject to the
                                  Closing Date, in an amount not to exceed $40,000,000 (the “Initial
                                  DIP Term Loan”) and (ii) following entry of the Final Order, in
                                  amounts not to exceed the lesser of: (x) the DIP Term Loan
                                  Commitment, and (y) the maximum amount allowed to be drawn by
                                  the U.S. Borrower for such period consistent with the U.S. DIP
                                  Credit Agreement.

                     (iii)        a senior secured super-priority asset-based credit facility
                                  (the “Global DIP Revolving Credit Facility,” and together with the
                                  U.S. DIP Credit Facilities, the “DIP Facilities”), on the terms and
                                  conditions to be set forth in an Amendment and Restatement
                                  Agreement substantially in the form annexed to the Interim Order as
                                  Exhibit B (as the same may be amended, restated, supplemented,
                                  waived, or otherwise modified from time to time, the “Global DIP
                                  Agreement,”5 and together with any other related agreements,
                                  documents, security agreements, or pledge agreements, the “Global
                                  DIP Documents”), by and among the Global Borrowers, the
                                  Guarantors, ABN AMRO Bank, N.V., as Facility Agent, Collateral
                                  Management Agent, Security Agent, Issuing Bank and Overdraft
                                  Bank, and Mercuria Energy Trading S.A., as Lender, in an initial
                                  aggregate principal amount (subject to availability), together with
                                  the outstanding amounts under the Global Prepetition Credit Facility
                                  of $300,000,000 in revolving commitments (the “Global Revolving
                                  Commitments” and the loans outstanding under the Global
                                  Revolving Commitments from time to time, the “Global Revolving
                                  Loans,” together with the U.S. Revolving Loans, the “Revolving
                                  Loans”), including a $50,000,000 million sublimit for the issuance
                                  of letters of credit (“Global Letters of Credit” and, together with the
                                  U.S. Letters of Credit, collectively, the “Letters of Credit”),
                                  whichever is then in effect, available from time to time until the
                                  maturity date under the Global DIP Revolving Credit Facility; and

                     (iv)         a roll-up of the Prepetition Secured Obligations (as defined below)
                                  by entry of the Final Order whereby the Prepetition Secured
                                  Obligations shall become DIP Obligations (as defined below) in the
                                  amounts and at the intervals set forth herein, and subject to the terms


 5   The Global DIP Agreement and the U.S. DIP Agreement are referred to collectively herein as the “DIP Loan
     Agreements.”



                                                      6
18-13374-mew    Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                      Pg 7 of 692


                           and conditions hereof and as set forth in the DIP Loan Documents
                           (as defined below).

           b.      authorization for the Debtors to execute, deliver, and enter into the U.S. DIP
                   Documents and the Global DIP Documents (collectively, the “DIP Loan
                   Documents”) and to perform all of the Debtors’ respective obligations
                   thereunder, and such other and further acts as may be required in connection
                   with the DIP Loan Documents;

           c.      authorization for the Debtors to pay all amounts, obligations, and liabilities
                   owing or payable to any agents under the DIP Loan Documents
                   (collectively, the “DIP Agents”) and the issuing banks, swing line lenders,
                   and any other lenders from time to time thereunder (collectively, the “DIP
                   Lenders” and together with the DIP Agents, the “DIP Secured Parties”)
                   under the DIP Facilities pursuant to the DIP Loan Documents, including,
                   without limitation, any principal, interest, fees, commitment fees,
                   administrative agent fees, audit fees, closing fees, service fees, facility fees,
                   or other fees, costs, expenses, charges and disbursements of the respective
                   DIP Secured Parties (including the reasonable and documented fees and
                   expenses of each of the DIP Secured Parties’ attorneys, advisors,
                   accountants and other consultants), any obligations in respect of indemnity
                   claims, whether contingent or absolute, including, without limitation, any
                   and all obligations in connection with any interest rate, currency swap or
                   other hedging agreement or arrangement (including, without limitation, any
                   such agreement or arrangement designed to, among other things, hedge
                   against fluctuations in commodity prices) in each case constituting (a) all
                   “Obligations” as defined in the U.S. DIP Agreement, (b) all “Outstandings”
                   as defined in the Global DIP Agreement; and (c) all other Debtor and/or
                   Guarantor obligations of any kind under the DIP Loan Documents
                   (collectively, the “DIP Obligations”);

           d.      authorization for the Debtors, immediately upon entry of the Interim Order,
                   to use proceeds of the DIP Facilities (collectively, the “DIP Loan
                   Proceeds”) as permitted in the DIP Loan Documents and consistent with the
                   Interim Order and the applicable Approved Budget;

           e.      authorization for the Debtors to implement a “roll-up” of the Prepetition
                   ABL Obligations as follows: (a) immediately upon entry of the Interim
                   Order, 50% of the Prepetition Secured Obligations (as defined herein) shall
                   become DIP Obligations; (b) between entry of the Interim Order and entry
                   of the Final Order, all cash proceeds of U.S. Priority Collateral securing
                   U.S. Secured Obligations (each as defined in the DIP Intercreditor
                   Agreement) shall be deemed to pay down outstanding obligations under the
                   U.S. Prepetition Credit Facility on a dollar-for-dollar basis and,
                   contemporaneously therewith, increase availability under the U.S. DIP
                   Revolving Credit Facility, subject to compliance with any applicable
                   borrowing base limitations as set forth herein, by a corresponding amount;


                                              7
18-13374-mew    Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                      Pg 8 of 692


                   (c) between entry of the Interim Order and entry of the Final Order, all cash
                   proceeds of Global Prepetition ABL Collateral securing Global Secured
                   Obligations (each as defined in the DIP Intercreditor Agreement) shall be
                   deemed to pay-down outstanding obligations under the Global Prepetition
                   Credit Facility on a dollar-for-dollar basis and, contemporaneously
                   therewith, increase availability under the Global DIP Revolving Credit
                   Facility, subject to compliance with any applicable borrowing base
                   limitations as set forth in the Interim Order, by a corresponding amount; and
                   (d) upon entry of the Final Order, all outstanding Prepetition ABL
                   Obligations shall become DIP Obligations ((a) through (d), the “Roll-Up”);

           f.      authorization for the Debtors to grant superpriority administrative expense
                   claim status, pursuant to sections 364(c)(1), 507(b) and 503(b)(1) of the
                   Bankruptcy Code, to the DIP Agents, for the benefit of themselves and the
                   other DIP Secured Parties, in respect of all DIP Obligations, subject to the
                   Carve Out;

           g.      authorization for the Debtors to grant the DIP Agents and DIP Lenders
                   valid, enforceable, non-avoidable, automatically and fully perfected
                   security interests in and liens (the “DIP Liens”) in and upon all of the
                   Debtors assets, including, without limitation, all Prepetition ABL Collateral
                   (as defined below), including, without limitation, all property constituting
                   cash collateral under the Prepetition Credit Agreements (the “ABL Cash
                   Collateral”), to secure the DIP Obligations, which DIP Liens shall be
                   subject to the relative rankings and priorities set forth herein;

           h.      authorization for the Debtors, subject in all respects to the Carve Out, until
                   the occurrence of the discharge (as described in the Interim Order), to
                   provide adequate protection to each prepetition agent, for the benefit of
                   themselves and the lenders from time to time, and the other secured parties
                   under the Prepetition Credit Facilities (the “Prepetition Secured Parties”) of
                   their security interests in the collateral securing the Prepetition Credit
                   Facilities, as applicable (including, without limitation, ABL Cash
                   Collateral) (the “Prepetition ABL Collateral”), and equal in amount to, any
                   diminution in the value of such prepetition security interests of such
                   Prepetition Secured Parties calculated in accordance with section 506(a) of
                   the Bankruptcy Code (“Diminution in Value”), whether or not the
                   Diminution in Value results from the sale, lease or use by the Debtors of the
                   Prepetition ABL Collateral, the priming of the prepetition security interests
                   of such Prepetition Secured Parties or the stay of enforcement of any
                   prepetition security interests arising from section 362 of the Bankruptcy
                   Code, or otherwise;

           i.      authorization for the Debtors, subject in all respects to the Carve Out, to
                   provide adequate protection to the secured parties under the Prepetition
                   Term Loan Facilities (the “Prepetition Term Parties”) of their security
                   interests in Prepetition Term Collateral (the “Prepetition Term Liens”), and


                                             8
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                          Pg 9 of 692


                       equal in amount to, any Diminution in the Value of such prepetition security
                       interests of such Prepetition Term Parties, subject in all respects to any
                       subsequent orders of this Court including but not limited to the ABB
                       Adequate Protection Order and the NBG Adequate Protection Order (each
                       as defined below), each filed contemporaneously herewith (in respect of
                       each of the Prepetition Term Parties identified in such interim order,
                       a “Prepetition Term Adequate Protection Order” and collectively with any
                       other order granting adequate protection to a Prepetition Term Party,
                       the “Prepetition Term Adequate Protection Orders”);

               j.      authorization for the Debtors to use ABL Cash Collateral and all other
                       Prepetition ABL Collateral in which any of the Prepetition Secured Parties
                       have an interest consistent with the Interim Order and providing adequate
                       protection to the Prepetition Secured Parties to the extent set forth herein,
                       including authorization for the Debtors to apply ABL Cash Collateral to
                       permanently and indefeasibly pay the Prepetition ABL Obligations in the
                       amounts and at the intervals set forth herein and in the Interim Order;

               k.      the modification of the automatic stay imposed by section 362 of the
                       Bankruptcy Code to the extent necessary to implement and effectuate the
                       terms and provisions of the Interim Order and the other DIP Loan
                       Documents to the extent hereinafter set forth;

               l.      the setting of a final hearing on the Motion (the “Final Hearing”) to consider
                       entry of the Final Order granting the relief requested in the Motion on a final
                       basis; and

               m.      related relief.

        10.    In support of this Motion and the relief requested therein, the Debtors submit the

 Declaration of Zul Jamal in Support of the Debtors’ Motion for Entry of Interim and Final Orders

 Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, and 507 (I) Authorizing the Debtors to

 Obtain Senior Secured Priming Superpriority Postpetition Financing, (II) Granting Liens and

 Superpriority Administrative Expense Claims, (III) Authorizing Use of Cash Collateral,

 (IV) Granting Adequate Protection, (V) Modifying the Automatic Stay, (VI) Scheduling a Final

 Hearing, and (VII) Granting Related Relief (the “Jamal Declaration”), attached hereto as

 Exhibit B, the Hede First Day Declaration, and the Baron First Day Declaration.




                                                 9
18-13374-mew            Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                                  Pg 10 of 692


                                    Concise Statements Pursuant to
                             Bankruptcy Rule 4001(b) and Local Rule 4001-26

 I.        Concise Statement Regarding the U.S. DIP Revolving Credit Facility.

           11.      The below chart contains a summary of the material terms of the proposed U.S.

 DIP Revolving Credit Facility, together with references to the applicable sections of the relevant

 source documents, as required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B) and

 Local Rule 4001-2.

         Bankruptcy                                     U.S. DIP Revolving Credit Facility
       Code/Local Rule
                                                            Summary of Material Terms
     Borrowers                Aegean Bunkering (USA) LLC (the “U.S. Borrower”).
     Bankruptcy Rule
                              See U.S. DIP Credit Agreement Preliminary Statement.
     4001(c)(1)(B)
     Guarantors               Aegean Marine Petroleum Network Inc., as Parent, AMPNI Holdings Co. Limited, as
     Bankruptcy Rule          Direct Parent, each Subsidiary that is a party to the Guaranty (excluding Immaterial
     4001(c)(1)(B)            Subsidiaries) and any other Person who becomes a party to the Guaranty pursuant to a
                              joinder agreement and their respective successors and assigns.
                              See U.S. DIP Credit Agreement § 1.01.


     DIP Financing            ABN AMRO Capital USA LLC, as Administrative Agent, Swing Line Lender and an
     Lenders                  Issuing Bank, and Mercuria US Asset Holdings LLC.
     Bankruptcy Rule
                              See U.S. DIP Credit Agreement Preliminary Statement.
     4001(c)(1)(B)
     Reporting                The Borrower will furnish to the Administrative Agent (for distribution to the other
     Information              Agents and each Lender):
     Bankruptcy Rule
                                   (a) as soon as available, but in any event not later than 30 days after the end of each
     4001(c)(l)(B)
                                       fiscal month of Parent, (i) a copy of the unaudited consolidated balance sheets
     Local Rule 4001-
                                       of Parent and its consolidated Subsidiaries as at the end of such fiscal month
     2(a)(ii)
                                       and the related unaudited consolidated statements of income and retained
                                       earnings for such fiscal month and the portion of the Fiscal Year through the
                                       end of such fiscal month, setting forth in each case in comparative form the
                                       figures for the previous Fiscal Year, certified by a Responsible Person of the
                                       Borrower, in his or her capacity as a Responsible Person, as fairly presenting in
                                       all material respects the Borrower’s and such Subsidiaries’ financial condition,
                                       results of operations and cash flows in accordance with GAAP, and (ii) the net
                                       book value, determined in accordance with GAAP, of all assets of the


 6     The summaries contained in this Motion are qualified in their entirety by the provisions of the documents
       referenced, including the DIP Facilities and the Orders. To the extent anything in this Motion is inconsistent with
       such documents, the terms of the applicable documents shall control. Capitalized terms used in this summary
       chart but not otherwise defined have the meanings ascribed to them in the DIP Loan Documents or the Interim
       Order, as applicable.



                                                            10
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                                Pg 11 of 692



      Bankruptcy                                      U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                          Summary of Material Terms
                                     Immaterial Subsidiaries;
                                 (b) The Borrower shall also provide on a weekly basis and on a roll forward basis
                                     a Budget variance report/reconciliation for each week (commencing on the date
                                     that is one week following the Petition Date) (delivered no later than the end of
                                     each week), (i) showing a statement of actual cash sources and uses of all free
                                     cash flow for the immediately preceding week, noting therein all material
                                     variances from values set forth for such historical periods in the Budget, and
                                     shall include explanations for all such variances, and (ii) accompanied by a
                                     certification by a responsible person of the Borrower (A) as to its
                                     reasonableness when made by the Borrower and (B) that the Borrower has not
                                     breached or violated Section 6.13 thereof; and
                                 (c) on each Tuesday and Friday (or, if any such day is not a Business Day, the next
                                     succeeding Business Day), the Borrower shall furnish to the Administrative
                                     Agent a Borrowing Base Report, calculated as of the close of business on the
                                     second Business Day immediately preceding such day and certified as true and
                                     complete by a Responsible Person of the Borrower.
                           All such financial statements shall be complete and correct in all material respects and
                           shall be prepared in reasonable detail and in the case of clauses (a) and (b) in accordance
                           in all material respects with GAAP applied consistently throughout the periods reflected
                           therein and with prior periods (except as approved by such accountants or officer, as the
                           case may be, and disclosed therein).
                           See U.S. DIP Credit Agreement § 5.01.
  Entities with            Prepetition Secured Parties.
  Interests in Cash
                           See Interim Order ¶ E(ix).
  Collateral
  Bankruptcy Rule
  4001(b)(l)(B)(i)
  Term                     “Commitment Termination Date” means the earliest of (i) March 6, 2019; provided that
  Bankruptcy Rule          if between February 24, 2019 and March 1, 2019 Borrower requests that the
  4001(b)(l)(B)(iii),      Commitment Termination Date be extended, then if on March 6, 2019, (a) no Event of
  4001(c)(1)(B)            Default is continuing and (b) there remains undrawn Term Commitments (as defined in
  Local 4001-2(a)(ii)      the U.S. DIP Revolving Credit Facility) in an amount of at least $5,000,000, the
                           Commitment Termination Date shall be extended to May 6, 2019; (ii) the effective date
                           of any Plan of Reorganization; (iii) the date of the consummation of a sale of all or
                           substantially all of the Debtors’ assets or capital stock under section 363 of the
                           Bankruptcy Code; and (iv) the acceleration of the Loans and termination of the
                           Commitments hereunder, whether pursuant to Section 7.01 of the U.S. Revolving Credit
                           Facility or otherwise.
                           Optional. The Borrower may, upon notice to the Administrative Agent, terminate any
                           unused portion of the Revolving Commitments without premium or penalty; provided
                           that (a) each such notice shall be in writing and must be received by the Administrative
                           Agent at least three Business Days prior to the effective date of such termination or
                           reduction, and shall be irrevocable (provided that a notice of termination of the
                           Commitments may state that such notice is conditioned upon the effectiveness of other
                           credit facilities, or any other event, transaction or condition, in which case such notice
                           may be revoked by the Borrower (by notice to the Administrative Agent on or prior to
                           the specified effective date) if such condition is not satisfied), (b) any such partial
                           reduction shall be in an aggregate amount of $1,000,000 or a larger multiple of $500,000



                                                          11
18-13374-mew       Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                             Pg 12 of 692



      Bankruptcy                                  U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                     Summary of Material Terms
                        and (c) the Borrower shall not terminate or reduce the Revolving Commitments if, after
                        giving effect thereto and to any concurrent prepayments hereunder, the sum of the total
                        Revolving Credit Exposures would exceed the total Revolving Commitments. Unless
                        previously terminated, the Commitments shall automatically terminate on the
                        Commitment Termination Date.
                        Application of Commitment Reductions. The administrative agent will promptly notify
                        the lenders of any termination or reduction of the Revolving Commitments pursuant to
                        this Section. Upon any reduction of unused Revolving Commitments, the Revolving
                        Commitment of each lender shall be reduced by such lender’s ratable share of the amount
                        of such reduction. Upon the effective date of the termination of all of the Commitments,
                        the Borrower shall cash collateralize all letter of credit obligations (“L/C Obligations”),
                        and repay the outstanding principal balance of and all accrued unpaid interest on, all
                        Obligations, and the Lenders shall have such other rights of the Lenders, all in
                        accordance with Section 7.01 (as if an Event of Default had occurred and was then
                        continuing), and the amounts paid by Borrower shall be applied in accordance with
                        Section 7.02 of the U.S. DIP Revolving Credit Agreement.
                        See U.S. DIP Credit Agreement § 2.10.
  Adequate Protection   Adequate Protection. The adequate protection package provided to the Prepetition
  Bankruptcy Rules      Secured Parties shall be granted the following adequate protection (collectively,
  4001(b)(l)(B)(iv),    the “Prepetition Adequate Protection”) of the security interests of the Prepetition
  4001(c)(1)(B)(ii)     Secured Parties in the Prepetition ABL Collateral, and equal in amount to, any
                        Diminution in Value of such prepetition security interests of such Prepetition Secured
                        Parties calculated in accordance with section 506(a) of the Bankruptcy Code, whether or
                        not the Diminution in Value results from the sale, lease or use by the Debtors of the
                        Prepetition ABL Collateral the priming of the prepetition security interests of such
                        Prepetition Secured Parties or the stay of enforcement of any prepetition security
                        interests arising from section 362 of the Bankruptcy Code, or otherwise:
                                replacement liens upon and security interests in all DIP Collateral (as defined
                                 below) (the “Prepetition Replacement Lien”). The Prepetition Replacement
                                 Lien shall be junior and subordinate only to (i) the Carve Out, (ii) the Permitted
                                 Liens (as defined in the DIP Credit Agreements) (iii) Prepetition Secured
                                 Parties and Prepetition Lenders’ liens on the DIP Collateral to secure the
                                 Prepetition ABL Obligations, and (iv) the DIP Agents’ and DIP Lenders’ DIP
                                 Lien on the DIP Collateral;

                                a superpriority administrative expense claim in each of these Cases and any
                                 successor bankruptcy cases (the “Prepetition Adequate Protection Superpriority
                                 Claim”). The Prepetition Adequate Protection Superpriority Claim shall be
                                 junior only to (i) the Carve Out, and (ii) the DIP superpriority claim, and
                                 (iii) any claims arising under the Prepetition Term Loan Facilities including the
                                 Prepetition Term Adequate Protection Claims, and shall otherwise have priority
                                 over all administrative expense claims and unsecured claims against Debtors
                                 and their Estates now existing or hereafter arising, of any kind or nature
                                 whatsoever;

                                the Prepetition Secured Parties for themselves and for the benefit of the
                                 applicable Prepetition Lenders, shall receive from the Debtors current cash
                                 payments of all reasonable and documented out-of-pocket fees and expenses
                                 (whether incurred prepetition or post-petition) of Allen & Overy LLP; Willkie
                                 Farr & Gallaher LLP; Milbank, Tweed, Hadley & McCloy LLP; Norton Rose


                                                      12
18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                               Pg 13 of 692



      Bankruptcy                                     U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                        Summary of Material Terms
                                   Fulbright LLP and such other local counsels and advisors as may be required
                                   thereby; provided, that any invoices submitted to, and payments made by, the
                                   Debtors under Section 2.5(d) shall be subject to the procedures set forth in
                                   Section 5.14 of the Interim Order;

                                  the Prepetition Secured Parties for themselves and for the benefit of the
                                   applicable Prepetition Lenders, shall receive from the Debtors periodic
                                   adequate protection payments (the “Adequate Protection Payments”) in an
                                   amount resulting from applying a per annum rate equal to the non-default
                                   interest rate under the applicable Prepetition Credit Facility to the aggregate
                                   outstanding amount of Prepetition Secured Obligations as of the Petition Date
                                   in respect of such relevant periods ending after the Petition Date (and not, for
                                   the avoidance of doubt, at any different rate set forth in any of the applicable
                                   Prepetition Credit Facilities); provided, however, that any Adequate Protection
                                   Payment shall be without prejudice, and with a full reservation of rights, as to
                                   whether such payment should be recharacterized or reallocated pursuant to
                                   section 506(b) of the Bankruptcy Code as principal payments under the
                                   applicable Prepetition Credit Facilities (whether as to principal, interest or
                                   otherwise). The Adequate Protection Payments will be calculated on a monthly
                                   basis, and be due and payable on the first business day of each month occurring
                                   after the first full month following the Petition Date.

                          See Interim Order ¶ 2.5.
  Waiver/Modification     Modification of the Automatic Stay. The automatic stay provisions of section 362 of the
  of the Automatic Stay   Bankruptcy Code and any other restriction imposed by an order of the Court or applicable
  Bankruptcy Rule         law are hereby modified without further notice, application or order of the Court to the
  4001(c)(1)(B)(iv)       extent necessary to permit the DIP Agents to perform any act authorized or permitted
                          under or by virtue of the Interim Order, the DIP Loan Agreements, the DIP security
                          agreements, or the other DIP Loan Documents, as applicable, including, without
                          limitation, (i) to implement the postpetition financing arrangements authorized by the
                          Interim Order, (ii) to take any act to create, validate, evidence, attach or perfect any lien,
                          security interest, right or claim in the DIP Collateral, (iii) to assess, charge, collect,
                          advance, deduct and receive payments with respect to the Prepetition ABL Obligations
                          and DIP Obligations (or any portion thereof), including, without limitation, all interests,
                          fees, costs and expenses permitted under any of the DIP Loan Documents and apply such
                          payments to the Prepetition ABL Obligations, and (iv) immediately following the
                          expiration of the enforcement notice period, unless stayed, to take any action and
                          exercise all rights and remedies provided to it by the Interim Order, the DIP Loan
                          Documents or applicable law; provided that the authorization set forth in this paragraph
                          shall be subject in each case to the terms and conditions of the Prepetition Term Adequate
                          Protection Orders.
                          See Interim Order ¶ 3.3.
  Carve Out               The Interim Order provides a “Carve Out” of certain statutory fees, allowed professional
  Bankruptcy Rule         fees of the Debtors, and any official committee of unsecured creditors appointed under
  4001(c)(1)(B)           section 1102 of the Bankruptcy Code (the “Committee”) appointed in the chapter 11
  Local Rule 4001-        cases pursuant to section 1103 of the Bankruptcy Code, including a Post-Carve Out
  2(a)(i)(f)              Trigger Notice Cap, all as detailed in the Interim Order.
                          See Interim Order ¶ 2.3.
  506(c) Waiver           Subject to entry of the Final Order, the Debtors have agreed as a condition to obtaining



                                                         13
18-13374-mew         Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                       Main Document
                                            Pg 14 of 692



      Bankruptcy                                    U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                      Summary of Material Terms
  Bankruptcy Rule       financing under the DIP Facilities that in consideration for, among other things, the
  4001(c)(l)(B)(x)      Carve Out and the payments to be made under the Approved Budget to administer these
  Local Rule 4001-      Cases with the use of ABL Cash Collateral, no costs or expenses of administration which
  2(a)(i)(C)            have been or may be incurred in these cases at any time (including, without limitation,
                        any costs and expenses incurred in connection with the preservation, protection or
                        enhancement of realization by the DIP Agents or the DIP Lenders upon the DIP
                        Collateral, or by the Prepetition Secured Parties or the Prepetition Lenders upon the
                        Prepetition ABL Collateral, as applicable) shall be charged against any of the DIP
                        Agents, DIP Lenders, Prepetition Secured Parties or any Prepetition Lenders or any of
                        the DIP Obligations or Prepetition Secured Obligations or the DIP Collateral or the
                        Prepetition ABL Collateral pursuant to sections 105 or 506(c) of the Bankruptcy Code
                        or otherwise without the prior express written consent of the affected DIP Secured Parties
                        and/or affected Prepetition Secured Parties, in their sole discretion, and no such consent
                        shall be implied, directly or indirectly, from any other action, inaction, or acquiescence
                        by any such agents or creditors (including, without limitation, consent to the Carve Out
                        or the approval of any budget hereunder).
                        See Interim Order ¶ 6.11.
  Section 552(b)        Subject to entry of the Final Order, the Debtors have agreed as a condition to obtaining
  Bankruptcy Rule       financing under the DIP Facilities that the Prepetition Secured Parties and the Prepetition
  4001(c)(l)(B)         Lenders are and shall each be entitled to all of the rights and benefits of section 552(b)
  Local Rule 4001-      of the Bankruptcy Code and the “equities of the case” exception under section 552(b)
  2(a(i)(h)             shall not apply to the DIP Agents, the DIP Lenders, the DIP Obligations, the Prepetition
                        Secured Parties, the Prepetition Lenders or the Prepetition Secured Obligations.
                        See Interim Order ¶ 6.12.
  Commitment            The Commitments (as defined in the DIP Facilities) means with respect to each Lender
  Bankruptcy Rule       on any date, such Lender’s Revolving Commitment (defined as $160,000,000).
  4001(c)(1)(B)
                        A first-out revolving credit facility in an aggregate principal amount of up to
  Local Rule 4001-
                        $160,000,000.
  2(a)(ii)
                        See U.S. DIP Credit Agreement Preliminary Statement.
  Interest Rates        Subject to the Default Interest:
  Bankruptcy Rule
                              (i) each ABR Loan (A) that is a revolving loan or Swing Line Loan shall bear
  4001(c)(1)(B)
                              interest at a rate per annum equal to the ABR plus the Applicable Rate for Revolving
  Local Rule 4001-
                              Loans or the ABR plus the Applicable Rate for Swing Line Loans (as applicable),
  2(a)(ii)
                              and (B) that is a term loan shall bear interest at a rate per annum equal to the ABR
                              plus the Applicable Rate for term loans;
                              (ii) each LIBO Rate Loan that is a revolving loan shall bear interest at a rate per
                              annum equal to the Adjusted LIBO Rate for the Interest Period therefor plus the
                              Applicable Rate, and
                              (iii) each LIBO Rate Loan that is a term loan shall bear interest at a rate per annum
                              equal to the Adjusted LIBO Rate for the Interest Period plus the Applicable Rate.
                         “Applicable Rate” means, a percentage per annum equal to (i) for LIBO Rate Loans that
                        are Revolving Loans, 3.5% per annum, (ii) for ABR Loans that are revolving loans, 3.5%
                        per annum, (iii) for LIBO Rate Loans that are term loans, 6.5% per annum, and (iv) for
                        Letter of Credit Fees, [3.5]% per annum, and (v) for Swing Line Loans, [3.5]% per
                        annum.




                                                       14
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                              Pg 15 of 692



      Bankruptcy                                   U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                      Summary of Material Terms
                        “Adjusted LIBO Rate” means as to any LIBO Rate Borrowing for any Interest Period,
                        an interest rate per annum (rounded upwards, if necessary, to the next 1/100 of 1%) equal
                        to (a) the LIBO Rate for such Interest Period divided by (b) one minus the applicable
                        reserve requirement.

                        Default Interest. If any amount payable by the Borrower (including principal of any
                        loan, interest, fees and other amount) is not paid when due, whether at stated maturity,
                        by acceleration or otherwise, such amount shall thereafter bear interest at a rate per
                        annum equal to the applicable Default Rate. Upon the request of the required lenders
                        (and effective from such request), while any Event of Default exists, the Borrower shall
                        pay interest on the principal amount of all loans outstanding hereunder at a rate per
                        annum equal to the applicable Default Rate.

                        See U.S. DIP Credit Agreement §§ 1.01, 2.12.
  Milestones            Achieve each of the following milestones (as the same may be extended from time to
  Bankruptcy Rule       time with the consent of the DIP Lenders (in their sole discretion) the “DIP Milestones”).
  4001(c)(1)(B)
                            i.    On the Petition Date, the Debtors shall file a motion seeking approval of the
  Local Rule 4001-
                                  facility evidenced by the DIP Facilities and the DIP Term Loan Facility.
  2(a)(ii)
                           ii.    On or before three (3) business days after the Petition Date, the Interim Order
                                  shall have been entered by the Bankruptcy Court.
                          iii.    Each loan party shall have executed and/or delivered with respect to all
                                  Collateral, within 45 days of the Effective Date (other than in respect of (i) any
                                  Person organized under the laws of South Africa, or (ii) any pledge of Equity
                                  Interests of a person that is not a loan party, in each case which shall be 60
                                  days), all new security agreements, pledge agreements, vessel mortgages,
                                  control agreements, financing statements, legal opinions, filings to perfect liens
                                  under applicable law, and such other documents and agreements as the
                                  Administrative Agent and the required lenders may require (including
                                  amendments to the then-existing forms, if any, of such security agreements,
                                  pledge agreements, vessel mortgages, control agreements, financing statements,
                                  filings to perfect liens under applicable law and other documents) so as to create
                                  and perfect, or in connection with the creation and perfection of, liens upon and
                                  security interests in all of the Prepetition ABL Collateral of AMPNI and the
                                  other loan parties to secure the Prepetition Secured Obligations, including
                                  without limitation with respect to all Prepetition ABL Collateral of loan parties
                                  that are U.S. persons:
                                      a.   an account control agreement with respect to each deposit account,
                                           commodity account and securities account and such other documents
                                           or actions as may be necessary to establish UCC Control with respect
                                           to any Collateral over which UCC Control may be established pursuant
                                           to the UCC; and
                                      b.   the Borrower shall have notified each storage facility, carrier, bailee
                                           or consignee holding inventory of any loan party of the ABL Collateral
                                           agent’s security interest in such inventory (and provided to the
                                           Administrative Agent a copy of such notice) and Borrower shall use
                                           commercially reasonable efforts to obtain from each such storage
                                           facility, carrier, bailee or consignee a written acknowledgement of
                                           such notice;




                                                       15
18-13374-mew     Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                          Pg 16 of 692



     Bankruptcy                               U.S. DIP Revolving Credit Facility
   Code/Local Rule
                                                  Summary of Material Terms
                                       provided that with respect to loan parties that are not U.S. persons, and
                                       with respect to documents and actions necessary or advisable pursuant
                                       to the laws of jurisdictions outside of the United States and its States
                                       and territories, such obligation shall be subject to and in accordance
                                       with the Agreed Security Principles (as defined in the Global DIP
                                       Revolving Credit Facility).
                      iv.     On or before 45 days after the Petition Date, the Final Order authorizing and
                              approving the Facilities on a final basis shall have been entered by the
                              Bankruptcy Court.
                       v.     Not later than one day after entry by the Bankruptcy Court of the Interim DIP
                              Order, the Debtors shall have filed with the Bankruptcy Court a motion
                              (the “Sale Motion” and the date of such filing, the “Sale Motion Filing Date”)
                              seeking (i) entry of an order, in form and substance acceptable to the Lenders,
                              approving a sale under section 363 of the Bankruptcy Code, of all or
                              substantially all of the Borrowers’ assets (including, without limitation the
                              Collateral) (the “Sale”); (ii) approval of bidding and sale procedures in form
                              and substance acceptable to the Lenders (the “Bidding Procedures”);
                              (iii) approval of (A) an agreement, in form and substance acceptable to the
                              Lenders, for the Sale, and (B) such other agreements contemplated in the
                              foregoing agreement of Sale as the Lenders may require, and (v) as to the
                              stalking horse bidder providing its bid for the Sale (the “Sale Bidder”),
                              approving bid protections for such Sale Bidder (the “Bid Protections”).
                      vi.     Promptly following exchange control approval from the Financial Surveillance
                              Department of the South African Reserve Bank, and in any event within 40
                              Business Days of the entry of the Interim Order, the Borrower shall cause
                              Aegean Bunkering Marine Services Proprietary Limited, a limited liability
                              company incorporated in South Africa, to join the guaranty and security
                              documents and deliver such other documents and information as is
                              contemplated by clauses (a) and (b) of Section 5.19. The Borrower shall (and
                              shall procure that Aegean Bunkering Marine Services Proprietary Limited) use
                              its best efforts to obtain such exchange control approval as soon as possible for
                              the purpose of becoming an Additional Guarantor
                     vii.     Within thirty (30) calendar days after the Petition Date, the Bankruptcy Court
                              shall have entered an order (the “Bidding Procedures Order”), in form and
                              substance acceptable to the Lenders, approving the Bidding Procedures and the
                              Bid Protections and setting related deadlines;
                     viii.    The Bidding Procedures Order shall provide that bids shall be due within
                              [seventy (70)] calendar days after entry of the Bidding Procedures Order
                              (the “Bid Deadline”);
                      ix.     Within five (5) business days of the Bid Deadline, the Debtors shall conduct the
                              auction, if necessary, pursuant to the Bidding Procedures Order;
                       x.     Within ten (10) business days of the Bid Deadline, the Bankruptcy Court shall
                              enter an order, in form and substance acceptable to the Lenders and the Sale
                              Bidder, approving the Sale;
                      xi.     On the date of the closing of the Sale, the proceeds of the Sale shall have been
                              used to repay the Obligations, the Prepetition ABL Obligations in full in cash
                              and to pay any break-up fee required in the purchase agreement signed by any




                                                  16
18-13374-mew         Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                            Pg 17 of 692



      Bankruptcy                                  U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                      Summary of Material Terms
                                 of the Debtors and any of the Lenders.
                        See U.S. DIP Credit Agreement, Schedule 5.15.
  Challenge Period      Objections to Prepetition ABL Obligations. Notwithstanding anything to the contrary in
  Bankruptcy Rule       the Interim Order, any action, claim, defense, complaint, motion or other written
  4001(c)(l)(B)         opposition (hereinafter, a “Prepetition Objection”) that seeks to object to, challenge,
  Local Rule 4001-      contest or otherwise invalidate or reduce, whether by setoff, recoupment, counterclaim,
  2(a)(i)(B)            deduction, disgorgement or claim of any kind regarding: (i) the existence, validity or
                        amount of the Prepetition ABL Obligations, as of the Petition Date, (including as to the
                        value of a secured claim of the Prepetition Agent and Prepetition Lenders solely with
                        respect to Prepetition ABL Obligations, pursuant to section 506(a) of the Bankruptcy
                        Code) or (ii) the extent, legality, validity, perfection or enforceability of the Prepetition
                        Secured Parties and Prepetition Lenders’ respective prepetition liens and security
                        interests in the Prepetition ABL Collateral solely with respect to Prepetition ABL
                        Obligations, shall be properly filed with the Court (x) by the Committee, if a Committee
                        is appointed and if the Court grants the Committee the requisite standing, within sixty
                        (60) calendar days from the date of entry of the Final Order (the “Committee Challenge
                        Period”), or (y) if no Committee is appointed, by any party in interest with requisite
                        standing within seventy-five (75) calendar days from the date of entry of the Final Order
                        (such period, together with the Committee Challenge Period, the “Challenge Periods”
                        and each, a “Challenge Period”); provided, however, that nothing herein shall permit any
                        party to challenge the extent or validity of the DIP Obligations or any liens that secure
                        such DIP Obligations or provide standing to any such party; provided further, however,
                        that the portion of the Roll-Up effective immediately upon entry of the Interim Order
                        shall be subject to Local Rule 4001-2(g)(5). If any such Prepetition Objection is timely
                        and properly filed and a final, non-appealable order is entered by a court of competent
                        jurisdiction sustaining and ordering some or all of the relief requested in such Prepetition
                        Objection, nothing in the Interim Order shall prevent the Court from granting appropriate
                        relief with respect to the Prepetition ABL Obligations or the Prepetition Secured Parties
                        or the Prepetition Lenders’ liens on the Prepetition ABL Collateral. If no Prepetition
                        Objection is timely and properly filed, or if a Prepetition Objection is timely and properly
                        filed but denied, (i) the Prepetition ABL Obligations shall be deemed allowed in full,
                        shall not be subject to any setoff, recoupment, counterclaim, deduction or claim of any
                        kind, and shall not be subject to any further objection or challenge by any party at any
                        time, and the Prepetition Secured Parties and the Prepetition Lenders’ prepetition liens
                        on and security interest in the Prepetition ABL Collateral shall be deemed legal, valid,
                        perfected, enforceable, and non-avoidable for all purposes, and (ii) the Prepetition
                        Secured Parties and the Prepetition Lenders, and each of their respective participants,
                        agents, officers, directors, employees, attorneys, professionals, successors, and assigns
                        (each in their respective capacities as such) shall be deemed released and discharged
                        from any and all claims and causes of action related to or arising out of the Prepetition
                        Loan Documents and the Prepetition ABL Obligations, and shall not be subject to any
                        further objection or challenge relating thereto or arising therefrom by any party at any
                        time. The stipulations set forth in Section E of the Interim Order shall be binding upon
                        each party in interest, including the Committee (if appointed) unless the Committee or
                        any other party in interest with the requisite standing, (i) timely files a Prepetition
                        Objection pursuant to Section 4.1(a)(x) or 4.1(a)(y) of the Interim Order, as applicable,
                        and (ii) such Prepetition Objection is sustained by a final and non-appealable order.
                        Nothing contained in this Section 4.1(a) or otherwise shall or shall be deemed or
                        construed to impair, prejudice or waive any rights, claims or protections afforded to
                        Prepetition Secured Parties or any Prepetition Lenders in connection with all postpetition
                        Revolving Loans and Letters of Credit, and any other postpetition financial and credit



                                                       17
18-13374-mew        Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                         Main Document
                                              Pg 18 of 692



      Bankruptcy                                     U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                        Summary of Material Terms
                          accommodations provided by Prepetition Secured Parties to Debtors in reliance on
                          section 364(e) of the Bankruptcy Code and in accordance with the terms and provisions
                          of the Interim Order and the Prepetition Loan Documents. Nothing contained in Section
                          4.1(a) of the Interim Order or otherwise shall or shall be deemed or construed to impair,
                          prejudice or waive any rights, claims or protections afforded to the DIP Agents or DIP
                          Lenders in connection with all postpetition financial and credit accommodations
                          provided by the DIP Agents or DIP Lenders in reliance on section 364(e) of the
                          Bankruptcy Code and in accordance with the terms and provisions of the Interim Order
                          and the DIP Loan Documents..
                          See Interim Order ¶ 4.1.
  Use of DIP Financing    The Borrower will, and will cause each loan party and subsidiary to, use the proceeds of
  Facility and Cash       the loans and the Letters of Credit to (a) pay reasonable costs, fees, and expenses,
  Collateral              including fees of the Agents, the Swing Line Lender, the issuing banks and the other
  Bankruptcy Rule         lenders, associated with the transactions contemplated by the agreement and the other
  4001(b)(l)(B)(ii)       loan documents, (b) pay for fees, costs, and expenses incurred by persons or firms
  Local Rule 4001-        retained by the Loan Parties pursuant to section 327, 328, or 363 of the Bankruptcy Code,
  2(a)(ii)                and (c) provide ongoing working capital requirements of the Loan Parties and the
                          Subsidiaries and to pay for fees, costs, and expenses relating to the cases (other than fees,
                          costs, and expenses referred to in clause (b)), in each case consistent with the Budget.
                          Proceeds of the loans and the Letters of Credit shall not be used (i) to permit any loan
                          party, any subsidiary or any of their respective representatives to challenge or otherwise
                          contest or institute any proceeding to determine (x) the validity, perfection or priority of
                          any security interest in favor of any of the Secured Parties, or (y) the enforceability of
                          the obligations of the Borrower of any Guarantor under this Agreement or (ii) to
                          investigate, commence, prosecute or defend any claim, motion, proceeding or cause of
                          action against any of the lenders, each in such capacity, and their respective agents,
                          attorneys, advisors or representatives, including, without limitation, any lender liability,
                          subordination or similar claims.
                          See U.S. DIP Credit Agreement §§ 5.11, 6.07; Interim Order ¶ 1.3, 2.5.
  Stipulations to         Without prejudice to the rights of the Committee or other parties-in-interest as and to
  Prepetition Liens and   the extent set forth in Section E(vii) of the Interim Order, the Debtors admit, stipulate,
  Claims                  acknowledge, and agree as immediately upon entry of the Interim Order as to certain
  Bankruptcy Rule         stipulations regarding the validity and extent of each of the DIP Lenders’ claims and
  4001(c)(1)(B)(iii)      liens.
  Local Rule 4001-
  2(a)(i)(B)              See Interim Order ¶ E(vii).
  Waiver/Modification     The Debtors and the Debtor ABL Obligors admit, stipulate, acknowledge and agree, that
  of Applicability of     as of the Petition Date, the U.S. Prepetition ABL Obligations were fully secured pursuant
  Nonbankruptcy Law       to the U.S. Prepetition Loan Documents by valid, perfected, enforceable and non-
  Relating to             avoidable, first-priority liens on and security interests in all of the U.S. Borrower’s assets
  Perfection or           constituting “ABL Collateral” (as defined in the U.S. Prepetition Loan Documents (all
  Enforceability of       such Collateral in existence on the Petition Date, or the identifiable proceeds thereof, the
  Liens                   “U.S. Prepetition ABL Collateral”), subject only to the liens and security interests
  Bankruptcy Rule         permitted under the U.S. Prepetition Credit Agreement to the extent that such security
  4001(c)(1)(B)(vii)      interests, liens or encumbrances are valid, perfected and non-avoidable security interests,
                          liens or encumbrances existing as of the Petition Date. The Debtors and the Debtor ABL
                          Obligors do not possess and will not assert any claim, cause of action, counterclaim,
                          setoff or defense of any kind, nature or description which would in any way affect the
                          validity, enforceability and non-avoidability of any of the U.S. Prepetition Agent’s and



                                                         18
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                          Pg 19 of 692



      Bankruptcy                                 U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                     Summary of Material Terms
                       the U.S. Prepetition Lenders’ liens, claims or security interests in the U.S. Prepetition
                       ABL Collateral.
                       See Interim Order ¶ E(iii).
  Repayment Features   Roll-Up. The Debtors are to (a) immediately upon entry of the Interim Order, Roll-Up
  Local Rule 4001-     50% of the Prepetition ABL Obligations, (b) between entry of the Interim Order and
  2(a)(i)(E)           entry of the Final Order, apply post-petition collections of U.S. Prepetition ABL
                       Collateral directly to pay-down the U.S. Prepetition Credit Facility and,
                       contemporaneously therewith, increase availability under the U.S. DIP Revolving Credit
                       Facility, subject to compliance with Borrowing Base limitations, by a corresponding
                       amount, (c) apply post-petition collections of Global Collateral directly to pay-down the
                       Global Prepetition Credit Facility and, contemporaneously therewith, increase
                       availability under the Global DIP Revolving Credit Facility, subject to compliance with
                       Borrowing Base limitations, by a corresponding amount, and (d) upon entry of the Final
                       Order, Roll-Up any remaining Prepetition ABL Obligations outstanding.
                       Revolving Loans. The Borrower shall repay to the Administrative Agent for the ratable
                       account of the lenders on the Commitment Termination Date the aggregate principal
                       amount of all revolving loans outstanding on such date.
                       Term Loans. The Borrower shall repay to the Administrative Agent for the ratable
                       account of the lenders on the Commitment Termination Date the aggregate principal
                       amount of all term loans outstanding on such date.
                       Swing Line Loans. The Borrower shall pay to the Administrative Agent for the account
                       of the Swing Line Lender the then unpaid principal amount of each Swing Line Loan
                       owing to the Swing Line Lender upon the demand of the Swing Line Lender or the
                       required lenders, or if demand for payment is not made prior thereto, by 11:00 a.m. (New
                       York City time) on the day that is five (5) Business Days following the Borrowing Date
                       of such Swing Line Loan; provided that, the Borrower shall be deemed to be in
                       compliance with its obligations in this sentence in the event that such Swing Line Loan
                       is repaid with the proceeds of a revolving loan in accordance with Section 2.06(c) of the
                       Interim Order.
                       Optional Prepayments. The Borrower may, upon notice to the Administrative Agent, at
                       any time and from time to time prepay the Prepetition ABL Obligations and the
                       Obligations in whole or in part without premium or penalty, and subject to the Orders,
                       any such prepayments to be applied pursuant to Section 7.02 of the Interim Order. On
                       the date of the entry of the Final DIP Order (the “Entry Date”), as and to the extent
                       expressly provided therein, amounts expressly determined by the Bankruptcy Court in
                       the Final DIP Order to be post-Petition Date obligations shall be deemed a prepayment
                       on the Entry Date of such amounts of the Prepetition ABL Obligations (and such
                       prepayment shall be deemed applied on the Entry Date in accordance with the terms of
                       the Prepetition Credit Facility as set forth therein), and an amount equal to such
                       prepayment shall be deemed outstanding on the Entry Date as a Revolving Loan
                       hereunder that is an ABR Loan.
                       Mandatory Prepayments.
                                 1.       If, on any date, the sum of the Revolving Credit Exposure plus the
                             Prepetition Credit Exposure exceeds the Borrowing Base, the Borrower shall make
                             a payment to the Administrative Agent in the amount of such excess to be applied
                             to the Prepetition ABL Obligations and the Obligations pursuant to Section 7.02
                             no later than one (1) Business Day immediately following such date.
                                 2.       If, on any date, the sum of the Revolving Credit Exposure plus the



                                                     19
18-13374-mew         Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                            Pg 20 of 692



      Bankruptcy                                  U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                     Summary of Material Terms
                               Prepetition Credit Exposure exceeds the Combined Revolving Exposure Limit, the
                               Borrower shall make a payment to the Administrative Agent in the amount of such
                               excess to be applied to the Prepetition ABL Obligations and the Obligations
                               pursuant to Section 7.02 no later than one (1) Business Day immediately following
                               such date.
                                   3.       If, on any date, the aggregate principal amount of Swing Line Loans
                               then outstanding exceeds (x) the Swing Line Sublimit or (y) when taken together
                               with the aggregate amount of L/C Obligations then outstanding, the Fronting Cap,
                               the Borrower shall prepay Swing Line Loans in an aggregate principal amount
                               equal to such excess no later than one (1) Business Day immediately following
                               such date.
                                   4.       If, on any date, the aggregate amount of L/C Obligations then
                               outstanding exceeds (x) the L/C Sublimit, or (y) when taken together with the
                               aggregate principal amount of Swing Line Loans then outstanding , the Fronting
                               Cap, the Borrower shall Cash Collateralize, replace or decrease (if the beneficiary
                               of such Letter of Credit agrees to such decrease) such Letters of Credit in an
                               aggregate amount equal to such excess no later than three (3) Business Days
                               immediately following such date.
                                   5.       If, on any date, the Borrower shall receive any Hess Litigation
                               Proceeds, the Borrower shall make a payment to the Administrative Agent in the
                               amount of such excess to be applied to the Prepetition ABL Obligations and the
                               Obligations pursuant to Section 7.02 no later than three (3) Business Days
                               immediately following such date.
                                   6.       Without limiting the obligation to apply proceeds of Collateral as set
                               forth in Section 7.02 hereof and subject to the terms of the Intercreditor
                               Agreement, in the event and on each occasion that any Net Proceeds are received
                               by or on behalf of any Loan Party in respect of any Prepayment Event, the
                               Borrower shall, unless otherwise ordered by the Bankruptcy Court, make a
                               payment to the Administrative Agent in the amount of such Net Proceeds to be
                               applied to the Prepetition ABL Obligations and the Obligations pursuant to Section
                               7.02 no later than three (3) Business Days immediately following the date on which
                               such Net Proceeds are received.

                        See U.S. DIP Credit Agreement §§ 2.09, 2.11; Interim Order ¶¶ F(ix), 1.5.
  Fees                  Commitment Fees. In consideration of the commitment by the Lenders to provide Term
  Bankruptcy Rule       Loans and to provide Revolving Loans hereunder, the Borrower agrees to pay to the
  4001(c)(1)(B)         Administrative Agent for the account of each Lender commitment fees,
  Local Rule 4001-
                              (i) with respect to the Revolving Facility, in an amount equal to the product
  2(a)(ii)
                              obtained by multiplying 1.5% by the maximum amount of the Commitment of each
                              such Lender, and
                              (ii) with respect to the Term Loan Facility, in an amount equal to the product
                              obtained by multiplying 2.5% by the maximum amount of the Commitment of each
                              such Lender. Commitment fees shall be payable in full on the Effective Date.
                        L/C Fees. The Borrower agrees to pay to the Administrative Agent for the account of
                        each Lender a Letter of Credit fee equal to the Applicate Rate with respect to its
                        participations in each outstanding Letter of Credit (the “L/C Fee”) on the daily maximum
                        amount then available to be drawn under such Letter of Credit, which shall accrue at a
                        rate per annum equal to the Applicable Rate during the period from and including the
                        Effective Date to but excluding the later of the Commitment Termination Date and the
                        date on which such Lender ceases to have any L/C Obligations. Accrued L/C Fees shall



                                                      20
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                         Main Document
                                             Pg 21 of 692



      Bankruptcy                                    U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                       Summary of Material Terms
                         be payable in arrears on the first Business Day of each month, commencing on the first
                         such date to occur after the Effective Date, and on the Commitment Termination Date;
                         provided that any such fees accruing after the Commitment Termination Date shall be
                         payable on demand.
                         L/C Fronting Fees. The Borrower agrees to pay to each Issuing Bank for its own account
                         a fronting fee with respect to each Letter of Credit issued by such Issuing Bank at a rate
                         per annum equal to 0.20% on the daily undrawn amount of such Letter of Credit, during
                         the period from and including the Effective Date to but excluding the later of the
                         Commitment Termination Date and the date on which such Issuing Bank ceases to have
                         any L/C Obligations. Accrued fronting fees shall be payable in arrears on the first
                         Business Day of each month, commencing on the first such date to occur after the
                         Effective Date, and on the Commitment Termination Date; provided that any such fees
                         accruing after the Commitment Termination Date shall be payable on demand. In
                         addition, the Borrower agrees to pay to each Issuing Bank for its own account the
                         customary issuance, presentation, amendment and other processing fees, and other
                         standard costs and charges, of such Issuing Bank relating to letters of credit as from time
                         to time in effect (including, without limitation, an amendment fee of $200 for each
                         amendment), which fees, costs and charges shall be payable to such Issuing Bank within
                         five days after its written demand therefor and are nonrefundable.
                         Administrative Agent Fees. The Borrower agrees to pay to the Administrative Agent,
                         for its own account, a monthly agency fee of $75,000, which fee shall be due and payable
                         monthly in advance (i) on the date hereof in respect of the month ending on
                         November 30, 2018 (pro-rated for this month) and (ii) on the first day of each month
                         commencing after the date hereof until all obligations and Prepetition ABL Obligations
                         have been indefeasibly paid in full in cash (other than indemnities and other contingent
                         obligations not then due and payable), the Commitments have expired or been terminated
                         and all Letters of Credit have expired, been cancelled or cash collateralized (without any
                         pending drawings).
                         See U.S. DIP Credit Agreement § 2.13.
  Budget                 DIP Budget. The Initial U.S. DIP Budget is attached as Exhibit C to the Interim Order.
  Bankruptcy Rule 4001
                         The Initial Budget reflects the Debtors’ anticipated cash receipts and anticipated
  (c)(1)(B)
                         disbursements for each calendar week during the period from the Petition Date through
  Local Rule 4001-
                         and including the end of the thirteenth (13th) calendar week following the Petition Date
  2(a)(ii)
                         (the Initial Budget and each subsequent approved Budget, an “Approved Budget”).
                         See Interim Order ¶ F(vi), Exhibit C.
  Variance Covenant      DIP Budget Variance. Commencing after the conclusion of the fourth full week after
  Bankruptcy Rule        the Petition Date as of the last day of each week thereafter, the Debtors’ total cumulative
  4001(c)(l)(B)          operating disbursements since the Petition Date will not exceed 105% of the amount set
  Local Rule 4001-       forth in the Approved Budgets covering such cumulative period (which amount, for the
  2(a)(ii)               avoidance of doubt, shall take into account any positive or negative variances—i.e., the
                         amount by which total operating disbursements is less or greater than 100% of the
                         budgeted amount—from any prior testing period that may be carried forward and applied
                         to the current period), unless the required lenders have provided a written waiver of such
                         excess.
                         See U.S. DIP Credit Agreement § 6.13.
  Liens and Priorities   DIP Lien Priority in Collateral. The DIP Liens securing all DIP Obligations shall be first
  Bankruptcy Rule        and senior in priority to all other interests and liens of every kind, nature and description,



                                                        21
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                               Pg 22 of 692



      Bankruptcy                                      U.S. DIP Revolving Credit Facility
    Code/Local Rule
                                                         Summary of Material Terms
  4001(c)(l)(B)(i)         whether created consensually, by an order of the Court or otherwise, including, without
  Local Rule 4001-         limitation, liens or interests granted in favor of third parties in conjunction with sections
  2(a)(i)(D) and (G),      363, 364 or any other section of the Bankruptcy Code or other applicable law; provided,
  4001-2(a)(ii)            however, that the DIP Liens on the (i) DIP Collateral shall be subject to the Carve Out
                           and Permitted Liens (as defined in the DIP Credit Agreements) and (ii) Prepetition Term
                           Collateral shall be subject to the Carve Out, Permitted Liens, Prepetition Term Liens,
                           and any adequate protection liens or claims granted pursuant to the Prepetition Term
                           Adequate Protection Orders (the “Prepetition Term Adequate Protection Liens and
                           Claims”); provided, for the avoidance of doubt, the Prepetition Term Adequate
                           Protection Liens and Claims shall be limited to the (i) prepetition collateral granted to
                           any Prepetition Term Party under the respective Prepetition Term Loan Documents and
                           (ii) the borrowers under the applicable Prepetition Term Loan Facility under which such
                           Prepetition Term Party is a party and any other Debtor against whom such Prepetition
                           Term Party has a Prepetition Term Lien.
                           See Interim Order ¶ 2.1.
  Liens on Avoidance       Subject to entry of the Final Order, all proceeds of any property recovered as a result of
  Actions                  transfers or obligations avoided or actions maintained or taken under chapter 5 of the
  Local Rule 4001-         Bankruptcy Code.
  2(a)(i)(D)
                           See Interim Order ¶ F(vii).
  Events of Default        Usual and customary for financings of this type, including failure to obtain entry of the
  Bankruptcy Rule          Interim Order.
  4001(c)(l)(B)
                           See U.S. DIP Credit Agreement § 7.01; Interim Order ¶ 3.1.
  Local Rule 4001-
  2(a)(ii)
  Indemnification          The loan documents and Interim Order contain indemnification provisions ordinary and
  Bankruptcy Rule          customary for debtor-in-possession financings of this type by the Borrower and each
  4001(c)(1)(B)(ix)        Guarantor (jointly and severally) in favor of the Administrative Agents, each lender, the
                           issuing banks and each of their respective officers, employees, directors, trustees, agents,
                           advisors, affiliates and controlling persons (each, an “Indemnitee”), harmless from and
                           against any and all other liabilities, obligations, losses, damages, penalties, actions,
                           judgments, suits, costs, expenses or disbursements of any kind or nature whatsoever
                           (including, without limitation, reasonable and documented legal fees) with respect to the
                           execution, delivery, enforcement, performance and administration of the agreement, the
                           other loan documents, and any such other documents, including, without limitation, any
                           of the foregoing relating to the violation of, noncompliance with or liability under, any
                           environmental law applicable to the operations of any loan party or any of their
                           respective subsidiaries, or any of the properties (all the foregoing in this clause,
                           collectively, the “Indemnified Liabilities”); provided that, the Borrower shall have no
                           obligation hereunder to any Indemnitee with respect to Indemnified Liabilities, to the
                           extent such Indemnified Liabilities (i) are found by a final, non-appealable judgment of
                           a court of competent jurisdiction to have resulted from the intentional breach, gross
                           negligence or willful misconduct of such Indemnitee, or (ii) result from a claim brought
                           by the Borrower or any other loan party against an Indemnitee for breach in bad faith of
                           such Indemnitee’s obligations hereunder or under any other loan document, if the
                           Borrower or such loan party has obtained a final, non-appealable judgment in its favor
                           on such claim as determined by a court of competent jurisdiction.
                           See U.S. DIP Credit Agreement § 9.06; Interim Order ¶ 1.8.
  Conditions of            Conditions Precedent to DIP Credit Facilities.



                                                          22
18-13374-mew         Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                       Main Document
                                            Pg 23 of 692



         Bankruptcy                                U.S. DIP Revolving Credit Facility
       Code/Local Rule
                                                      Summary of Material Terms
  Borrowing              The DIP Lenders’ willingness to make the DIP Loans is conditioned upon, among other
                         things, (a) the Debtors obtaining Court approval to enter into the DIP Loan Documents
  Bankruptcy Rule
                         and to incur all of their obligations thereunder, and to confer upon the DIP Secured
  4001(c)(1)(B)
                         Parties all rights, powers and remedies thereunder; (b) the provision of adequate
  Local Rule 4001-
                         protection of the Prepetition Secured Parties’ interests in the Prepetition ABL Collateral
  2(a)(ii)
                         pursuant to sections 361, 363, and 364 of the Bankruptcy Code, subject to the terms and
                         conditions of the Prepetition Adequate Protection Orders; (c) the DIP Secured Parties
                         being granted, as security for the prompt payment of the DIP Facility and all other
                         obligations of the Debtors under the DIP Loan Documents: (i) superpriority perfected
                         security interests in and liens upon all of the Prepetition ABL Collateral and any
                         unencumbered assets other than Excluded Assets (as defined in the applicable DIP Loan
                         Agreement), (ii) perfected security interests in and junior liens upon the remaining
                         Debtors’ assets, including, without limitation, the Prepetition Term Loan Collateral
                         (collectively hereinafter referred to as the “DIP Collateral,” and for avoidance of doubt,
                         the DIP Collateral shall include (ww) all advances under the DIP Facilities, (x) the
                         proceeds of the Litigation Claims (as defined in the U.S. DIP Agreement), (y) the
                         proceeds of any claim or cause of action arising under or pursuant to chapter 5 of the
                         Bankruptcy Code or under any other similar provisions of applicable state, federal, or
                         foreign law (including any other avoidance actions under the Bankruptcy Code)
                         (collectively, the “Avoidance Actions”), (z) 100% of the Equity Interests (as defined in
                         the DIP Credit Agreement) of any Borrower, any Debtor, or any Guarantor other than
                         Aegean Oil Terminal Corp. and (aa) 100% of the Equity Interests that any Borrower, any
                         Debtor, or any Guarantor may own, beneficially or of record, directly or indirectly, other
                         than Aegean Oil Terminal Corp. (i) in any subsidiary thereof (whether or not such entity
                         is wholly owned or immaterial) and (ii) in any corporation, partnership (limited or
                         general), joint venture, limited liability company, business trust, association or other
                         legally recognized entity (a “Person” as defined in the DIP Loan Agreements), including
                         joint venture interests and majority and minority interests in any Person owned by any
                         Borrower, any Debtor and any Guarantor; and (d) approval of the Stalking Horse Bid.

                         See U.S. DIP Credit Agreement, Article IV; Interim Order ¶ F(vii).



 II.       Concise Statement Regarding the DIP Term Loan Facility.

           7.     The below chart contains a summary of the material terms of the proposed DIP

 Term Loan Facility, together with references to the applicable sections of the relevant source

 documents, as required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B) and

 Local Rule 4001-2.

         Bankruptcy                                     DIP Term Loan Facility
       Code/Local Rule
                                                      Summary of Material Terms
  Borrowers              The U.S. Borrower.
  Bankruptcy Rule



                                                       23
18-13374-mew            Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18         Main Document
                                              Pg 24 of 692



      Bankruptcy                                        DIP Term Loan Facility
    Code/Local Rule
                                                      Summary of Material Terms
  4001(c)(1)(B)
  Guarantors               The U.S. Guarantors.
  Bankruptcy Rule
  4001(c)(1)(B)
  DIP Financing            Same as U.S. DIP Revolving Credit Facility.
  Lenders
  Bankruptcy Rule
  4001(c)(1)(B)
  Reporting                Same as U.S. DIP Revolving Credit Facility.
  Information
  Bankruptcy Rule
  4001(c)(l)(B)
  Local Rule 4001-
  2(a)(ii)
  Entities with            Same as U.S. DIP Revolving Credit Facility.
  Interests in Cash
  Collateral
  Bankruptcy Rule
  4001(b)(l)(B)(i)
  Term                     Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(b)(l)(B)(iii),
  4001(c)(1)(B)
  Local 4001-2(a)(ii)
  Adequate Protection      Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rules
  4001(b)(l)(B)(iv),
  4001(c)(1)(B)(ii)
  Waiver/Modification      Same as U.S. DIP Revolving Credit Facility.
  of the Automatic Stay
  Bankruptcy Rule
  4001(c)(1)(B)(iv)
  Carve Out                Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(1)(B)
  Local Rule 4001-
  2(a)(i)(f)
  506(c) Waiver            Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(l)(B)(x)
  Local Rule 4001-
  2(a)(i)(C)
  Section 552(b)           Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(l)(B)
  Local Rule 4001-



                                                       24
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 25 of 692



      Bankruptcy                                       DIP Term Loan Facility
    Code/Local Rule
                                                     Summary of Material Terms
  2(a)(i)(h)
  Commitment              The Commitments (as defined in the DIP Facilities) means with respect to each Lender
  Bankruptcy Rule         on any date, a Term Commitment (defined as $72,000,000).
  4001(c)(1)(B)
                          A debtor-in-possession first-out multiple draw term credit facility in an aggregate
  Local Rule 4001-
                          principal amount of up to $72,000,000.
  2(a)(ii)
                          See U.S. DIP Credit Agreement Preliminary Statement.
  Interest Rates          Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(1)(B)
  Local Rule 4001-
  2(a)(ii)
  Milestones              Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(1)(B)
  Local Rule 4001-
  2(a)(ii)
  Challenge Period        Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(l)(B)
  Local Rule 4001-
  2(a)(i)(B)
  Use of DIP Financing    Same as U.S. DIP Revolving Credit Facility.
  Facility and Cash
  Collateral
  Bankruptcy Rule
  4001(b)(l)(B)(ii)
  Local Rule 4001-
  2(a)(ii)
  Stipulations to         Same as U.S. DIP Revolving Credit Facility.
  Prepetition Liens and
  Claims
  Bankruptcy Rule
  4001(c)(1)(B)(iii)
  Local Rule 4001-
  2(a)(i)(B)
  Waiver/Modification     Same as U.S. DIP Revolving Credit Facility.
  of Applicability of
  Nonbankruptcy Law
  Relating to
  Perfection or
  Enforceability of
  Liens
  Bankruptcy Rule
  4001(c)(1)(B)(vii)
  Repayment Features      The Borrower shall repay to the Administrative Agent for the ratable account of the
  Local Rule 4001-        Lenders on the Commitment Termination Date the aggregate principal amount of all



                                                      25
18-13374-mew          Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                            Pg 26 of 692



      Bankruptcy                                       DIP Term Loan Facility
    Code/Local Rule
                                                    Summary of Material Terms
  2(a)(i)(E)             Term Loans outstanding on such date.
                         Remainder of provision is same as U.S. DIP Revolving Credit Facility.
                         See U.S. DIP Credit Agreement §§ 2.09, 2.11; Interim Order ¶ 1.5.
  Fees                   Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(1)(B)
  Local Rule 4001-
  2(a)(ii)
  Budget                 Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule 4001
  (c)(1)(B)
  Local Rule 4001-
  2(a)(ii)
  Variance Covenant      Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(l)(B)
  Local Rule 4001-
  2(a)(ii)
  Liens and Priorities   Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(l)(B)(i)
  Local Rule 4001-
  2(a)(i)(D) and (G),
  4001-2(a)(ii)
  Liens on Avoidance     Same as U.S. DIP Revolving Credit Facility.
  Actions
  Local Rule 4001-
  2(a)(i)(D)
  Events of Default      Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(l)(B)
  Local Rule 4001-
  2(a)(ii)
  Indemnification        Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(1)(B)(ix)
  Conditions of          Same as U.S. DIP Revolving Credit Facility.
  Borrowing
  Bankruptcy Rule
  4001(c)(1)(B)
  Local Rule 4001-
  2(a)(ii)




                                                     26
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                              Pg 27 of 692


 III.    Concise Statement Regarding the Global DIP Revolving Credit Facility.

         8.      The below chart contains a summary of the material terms of the proposed Global

 DIP Revolving Credit Facility, together with references to the applicable sections of the relevant

 source documents, as required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B) and Local

 Rule 4001-2.

      Bankruptcy                                  Global DIP Revolving Credit Facility
    Code/Local Rule
                                                      Summary of Material Terms
  Borrowers              Aegean Marine Petroleum S.A. (“AMPSA”), Aegean Petroleum International Inc.,
  Bankruptcy Rule        (“API”), Aegean NWE N.V. (“Aegean NWE”), Aegean Bunkering Germany GmbH
  4001(c)(1)(B)          (“Aegean Bunkering Germany”), and OBAST Bunkering & Trading GmbH (“OBAST”
                         and, together with Aegean Bunkering Germany, the “German Subsidiaries,” and together
                         with Aegean NWE, the “Non-Debtor-In-Possession Borrowers”), (collectively,
                         AMPSA, API, and the Non-Debtor-In-Possession Borrowers are referred to herein as
                         the “Global Borrowers,” and the Global Borrowers together with the U.S. Borrower,
                         the “Borrowers”).
                         See Global DIP Credit Agreement Preamble.
  Guarantors             (a) AMPNI, (b) each of the Global Borrowers (other than the Non-Debtor-in-Possession
  Bankruptcy Rule        Borrowers), and (c) each other subsidiary of AMPNI which is a Debtor in the cases (the
  4001(c)(1)(B)          entities listed in clauses (a) through (c), collectively, the “Global Guarantors” and,
                         together with the U.S. Guarantors, the “Guarantors”).

                         See Global DIP Credit Agreement Preamble.
  DIP Financing          ABN AMRO Bank N.V., as Facility Agent, Collateral Management Agent and Security
  Lenders                Agent, Mercuria Energy Trading S.A. as original lender, Co-Ordinator and hedging
  Bankruptcy Rule        provider and ABN AMRO Bank N.V. as issuing bank and overdraft bank.
  4001(c)(1)(B)
                         See Global DIP Credit Agreement Preamble.
  Reporting              For the purposes of the valuation of the borrowing base, the Company shall deliver to
  Information            the collateral management agent for distribution to the lenders:
  Bankruptcy Rule
  4001(c)(l)(B)               a Borrowing Base Report on every Business Day following the date of the Global
  Local Rule 4001-             DIP Revolving Credit Facility; and
  2(a)(ii)                    a Cross-Check Borrowing Base Report on a four-weekly basis to be delivered
                               within ten (10) days of every second Borrowing Base Report (or, if the 10th day is
                               not a Business Day, by the next Business Day).

                         See Global DIP Credit Agreement § 22.7(a) (i), (ii).
  Entities with          The Debtors admit, stipulate, acknowledge and agree that all of the cash of the Debtors
  Interests in Cash      who were obligors under the Prepetition ABL Facilities, wherever located, and all cash
  Collateral             equivalents, including any cash in deposit accounts of the Debtor ABL obligors, whether
  Bankruptcy Rule        as Prepetition ABL Collateral or which represent income, proceeds, products, rents, or
  4001(b)(l)(B)(i)       profits of other Prepetition ABL Collateral, constitutes ABL Cash Collateral).
                         See Interim Order ¶ E(x).



                                                       27
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                       Main Document
                                               Pg 28 of 692



      Bankruptcy                                    Global DIP Revolving Credit Facility
    Code/Local Rule
                                                        Summary of Material Terms
  Term                     The earliest of:
  Bankruptcy Rule           March 6, 2019; provided that if between February 24, 2019 and March 1, 2019
  4001(b)(l)(B)(iii),           Borrower requests that the Termination Date be extended, then if on March 6, 2019:
  4001(c)(1)(B)                       no Event of Default is continuing; and
  Local 4001-2(a)(ii)                 there remains undrawn Term Commitments (as defined in the U.S. DIP
                                          Revolving Credit Facility) in an amount of at least $5,000,000, the
                                          Termination Date shall be extended to May 6, 2019
                             the effective date of any plan of reorganization or plan of liquidation in the Cases;
                             the date of the consummation of a sale of all or substantially all of the Debtors’
                                assets or capital stock under section 363 of the Bankruptcy Code;
                             the date on which any Financial Indebtedness, or any commitment for any Financial
                                Indebtedness, of any member of the group under the US DIP Credit Facility
                                Agreement is:
                                      declared to be or otherwise becomes due and payable prior to its specified
                                          maturity; or
                                      cancelled or suspended by a creditor of any member of the group, as a
                                          result of an event of default (however described).

                           See Global DIP Credit Agreement § 1.1.
  Adequate Protection      Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rules
  4001(b)(l)(B)(iv),
  4001(c)(1)(B)(ii)
  Waiver/Modification      Same as U.S. DIP Revolving Credit Facility.
  of the Automatic Stay
                           See Interim Order ¶ 3.3.
  Bankruptcy Rule
  4001(c)(1)(B)(iv)        The Court shall enter an order granting relief from the automatic stay to any creditor or
                           party in interest to permit foreclosure (or the granting of a deed in lieu of foreclosure or
                           the like) on any asset of the Debtors of fair market value exceeding $1,500,000 or permit
                           other actions that would reasonably be expected to result in a material adverse effect.
                           See Global DIP Credit Agreement § 26.10(d).
  Carve Out                Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(1)(B)
  Local Rule 4001-
  2(a)(i)(f)
  506(c) Waiver            Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(l)(B)(x)
  Local Rule 4001-
  2(a)(i)(C)
  Section 552(b)           Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(l)(B)
  Local Rule 4001-
  2(a(i)(h)
  Commitment               The Commitments (as defined in the DIP Facilities) are $ 300,000,000 in the aggregate
  Bankruptcy Rule          separated between:


                                                         28
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                       Main Document
                                              Pg 29 of 692



      Bankruptcy                                   Global DIP Revolving Credit Facility
    Code/Local Rule
                                                       Summary of Material Terms
  4001(c)(1)(B)
  Local Rule 4001-        1) Facility A Aggregate Commitment, $200,000,000.
  2(a)(ii)               Facility A Tranche 1 Commitments:
                          (a)     in relation to an original lender, the amount in the base currency set opposite its
                                  name under the heading “Facility A Tranche 1 Commitment” in Part II of
                                  Schedule 1 and the amount of any other Facility A Tranche 1 Commitment
                                  transferred to it under the agreement; and
                          (b)     in relation to any other lender, the amount in the base currency of any Facility A
                                  Tranche 1 Commitment transferred to it under the Global DIP Agreement,

                         Facility A Tranche 2 Commitments:
                          (a)     in relation to an original lender, the amount in the base currency set opposite its
                                  name under the heading “Facility A Tranche “ Commitment” in Part II of
                                  Schedule 1 and the amount of any other Facility A Tranche 2 Commitment
                                  transferred to it under the agreement; and
                          (b)     in relation to any other lender, the amount in the base currency of any Facility A
                                  Tranche 2 Commitment transferred to it under the Global DIP Agreement,

                          2) Facility B Aggregate Commitment $100,000,000.
                         Facility B Tranche 1 Commitments:
                          (a)     in relation to an original lender, the amount in the base currency set opposite its
                                  name under the heading “Facility B Tranche 1 Commitment” in Part II of
                                  Schedule 1 and the amount of any other Facility B Tranche 1 Commitment
                                  transferred to it under the Global DIP Agreement; and

                          (b)     in relation to any other lender, the amount in the base currency of any Facility B
                                  Tranche 1 Commitment transferred to it under the Global DIP Agreement,

                         Facility B Tranche 2 Commitments:
                          (a)     in relation to an original lender, the amount in the base currency set opposite its
                                  name under the heading “Facility B Tranche 2 Commitment” in Part II of
                                  Schedule 1 and the amount of any other Facility B Tranche 2 Commitment
                                  transferred to it under the Global DIP Agreement; and

                          (b)     in relation to any other lender, the amount in the base currency of any Facility B
                                  Tranche 2 Commitment transferred to it under the Global DIP Agreement.

                          See Global DIP Credit Agreement § 1.1.
  Interest Rates          The Margin (as defined in the DIP Facilities) are:
  Bankruptcy Rule
                                a) Facility A Tranche 1, two point six per cent. (2.6%) per annum + LIBOR.
  4001(c)(1)(B)
  Local Rule 4001-              b) Facility A Tranche 2, three point five per cent. (3.5%) per annum+ LIBOR.
  2(a)(ii)
                                c) Facility B margin, three point five percent (3.5%) per annum+ LIBOR.
                          Default Interest.

                          (2%) Two percent. per annum higher than:

                           a.      in respect of a loan, the rate which would have been payable if the overdue
                                   amount had, during the period of non-payment, constituted a loan under the
                                   relevant Facility in the currency of the overdue amount for successive Interest



                                                        29
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                              Pg 30 of 692



      Bankruptcy                                  Global DIP Revolving Credit Facility
    Code/Local Rule
                                                       Summary of Material Terms
                                  Periods, each of a duration selected by the facility agent (acting reasonably; and

                           b.     in respect of an overdraft facility, the rate which would have been payable if the
                                  overdue amount had, during the period of non-payment, constituted an overdraft
                                  facility of the type to which the overdue amount relates in the currency of the
                                  overdue.

                          See Global DIP Credit Agreement § 1.1, 11.1-4.
  Milestones              Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
                          See Global DIP Credit Agreement § 24.40 and Schedule 20
  4001(c)(1)(B)
  Local Rule 4001-
  2(a)(ii)
  Challenge Period        Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(l)(B)
  Local Rule 4001-
  2(a)(i)(B)
  Use of DIP Financing    Each Borrower shall apply all amounts borrowed by it under the DIP Facilities in a
  Facility and Cash       manner consistent with the terms of the Budget (provided that any net underspend may
  Collateral              be carried forward) or as otherwise agreed in advance in writing by the facility agent
  Bankruptcy Rule         (acting on the instructions of the majority lenders) from time to time towards:
  4001(b)(l)(B)(ii)       (i)    financing any and all working capital needs and for any other general corporate
  Local Rule 4001-               purposes, including without limitation, to finance the Debtors’ purchase,
  2(a)(ii)                       transportation, storage, hedging and sale of eligible inventory and accounts
                                 receivable;
                          (ii)   provision for letters of credit;
                          (iii) payment of related transaction costs, fees, premiums, liabilities and expenses and
                                 administration costs incurred in connection with the Cases and the commitment,
                                 negotiation, syndication, documentation, execution and closing of the Amendment
                                 and restatement agreement and the U.S. DIP Agreement;
                          (iv) payment of any other fees, costs and expenses payable hereunder; and
                          (v)    in addition in relation to Facility B only, financing payments to FX hedging
                                 providers in respect of its obligations under a master agreement in respect of an
                                 FX hedging provider hedging transaction.

                          The credit instruments shall be used for general corporate purposes.

                          See Global DIP Credit Agreement § 3.1.
  Stipulations to         Same as U.S. DIP Revolving Credit Facility.
  Prepetition Liens and
  Claims
  Bankruptcy Rule
  4001(c)(1)(B)(iii)
  Local Rule 4001-
  2(a)(i)(B)


  Waiver/Modification     Same as U.S. DIP Revolving Credit Facility.



                                                       30
18-13374-mew         Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18                       Main Document
                                           Pg 31 of 692



      Bankruptcy                                Global DIP Revolving Credit Facility
    Code/Local Rule
                                                     Summary of Material Terms
  of Applicability of
  Nonbankruptcy Law
  Relating to
  Perfection or
  Enforceability of
  Liens
  Bankruptcy Rule
  4001(c)(1)(B)(vii)
  Repayment Features    (a)    Each Borrower which has drawn a loan shall repay that Loan on the last day of
  Local Rule 4001-             its Interest Period.
  2(a)(i)(E)            (b)    Without prejudice to clauses 7.2(b) and 25.3(e) of the Global DIP Agreement,
                               each overdraft facility shall be repayable on demand and if not demanded shall
                               be repayable on the Termination Date.

                        See Global DIP Credit Agreement § 7.1, 7.2; Interim Order ¶¶ F(ix), 1.5.
  Fees                  Up-Front Fee:
  Bankruptcy Rule
                        (a)    The Company shall pay to the facility agent an up-front fee in an aggregate
  4001(c)(1)(B)
                               amount of US$4,500,000 (being an amount equal to one point five (1.5%) per
  Local Rule 4001-
                               cent. of the Total Commitments in respect of Facility A Tranche 2 and Facility B
  2(a)(ii)
                               Tranche 2 as at the Effective Date) for the account of each lender in proportion
                               to its Commitment in Facility A Tranche 2 and Facility B Tranche 2.
                        (b)    The up-front fee is payable on the Effective Date.


                        Agency Fee:
                        The Company shall pay to the facility agent (a) (for the account of the facility agent and
                        security agent) an agency fee of US$10,000 in aggregate and; (b) (for the account of the
                        collateral management agent) an agency fee of US$65,000, in each case payable on the
                        Effective Date and Monthly thereafter until the end of the joint security period.
                        Facility B Fee:
                        The Company shall pay the relevant Issuing Bank (for the account of each relevant
                        Facility B Lender) fees in Dollars calculated at the following rates:
                        (a) in respect of each documentary letter of credit issued by an issuing bank, 3.50% flat
                             per annum or part thereof of the value of the letter of credit or the amount of the
                             drawings honoured thereunder, whichever is higher, payable upon maturity;
                        (b) in respect of each standby letter of credit issued by an issuing bank, 3.50% flat per
                            annum or part thereof of the value of the standby letter of credit or the amount paid
                            in cancellation of the standby letter of credit, whichever is higher, payable upon
                            maturity; and
                        (c) in respect of each guarantee issued by an issuing bank, 3.50% per annum of the
                            maximum amount of the guarantee payable upon issuance of the guarantee.
                        Fronting Fee Facility B Tranche 2:
                        In relation to Facility B Tranche 2, the Borrowers shall pay to the Issuing Bank (for its
                        own account) a fronting fee of 0.20% per annum on the average daily Facility B Trance 2
                        Outstandings




                                                      31
18-13374-mew          Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                             Pg 32 of 692



      Bankruptcy                                  Global DIP Revolving Credit Facility
    Code/Local Rule
                                                       Summary of Material Terms
                         See Global DIP Credit Agreement § 14.
  Budget                 DIP Budget. The Global DIP Budget is attached as Exhibit D to the Interim Order.
  Bankruptcy Rule 4001
                         Beginning on the Interim Order Entry Date, in the case of the initial DIP Budget
  (c)(1)(B)
                         delivered as a condition to the closing (the “Global DIP Budget”), a statement of cash
  Local Rule 4001-
                         sources and uses of all free cash flow for the next full 13 weeks of the Debtors (on a
  2(a)(ii)
                         consolidated basis) broken down by week, including the anticipated uses of the DIP
                         Facilities for such period, and at the end of every fourth week thereafter.
                         See Global DIP Credit Schedule 18; Interim Order ¶ F(vi), Exhibit D.
  Variance Covenant      Commencing after the conclusion of the fourth full week after the Petition Date, the
  Bankruptcy Rule        Debtors’ total cumulative operating disbursements since the Petition Date will not
  4001(c)(l)(B)          exceed 105% of the amount set forth in the approved Budget(s) covering such cumulative
  Local Rule 4001-       period (which amount, for the avoidance of doubt, shall take into account any positive
  2(a)(ii)               or negative variances—i.e., the amount by which total operating disbursements is less or
                         greater than 100% of the budgeted amount—from any prior testing period that may be
                         carried forward and applied to the current period), unless the Majority Lenders have
                         provided a written waiver of such excess.
                         See Global DIP Credit Agreement § 23(a).
  Liens and Priorities   Same as U.S. DIP Revolving Credit Facility.
  Bankruptcy Rule
  4001(c)(l)(B)(i)
  Local Rule 4001-
  2(a)(i)(D) and (G),
  4001-2(a)(ii)
  Liens on Avoidance     Same as U.S. DIP Revolving Credit Facility.
  Actions
  Local Rule 4001-
  2(a)(i)(D)
  Events of Default      The occurrence of (a) any “Event of Default” as that term is defined in each of the DIP
  Bankruptcy Rule        Loan Agreements; (b) any failure to meet or satisfy any Milestone in accordance with
  4001(c)(l)(B)          the applicable DIP Loan Agreement; (c) the Maturity Date under any DIP Loan
  Local Rule 4001-       Agreement; and/or (d) any violation, breach or default by any Debtor with respect to any
  2(a)(ii)               of its obligations under the Interim Order, shall constitute a “DIP Termination Event”
                         hereunder unless waived in writing by the applicable DIP Secured Parties and in
                         accordance with the applicable DIP Loan Documents.
                         See Global DIP Credit Agreement Clause 26; Interim Order ¶ 3.1.
  Indemnification        The Debtors are authorized to indemnify and hold harmless the DIP Agents, each DIP
  Bankruptcy Rule        Lender and, solely in their capacities as such, each of their respective successors, assigns,
  4001(c)(1)(B)(ix)      affiliates, parents, subsidiaries, partners, controlling persons, representatives, agents,
                         attorneys, advisors, financial advisors, consultants, professionals, officers, directors,
                         members, managers, shareholders and employees, past, present and future, and their
                         respective heirs, predecessors, successors and assigns, in accordance with, and subject
                         to, the DIP Loan Agreements, which indemnification is hereby authorized and approved.
                         See Interim Order   ¶ 1.8
  Conditions of          Same as U.S. DIP Revolving Credit Facility.
  Borrowing



                                                        32
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                             Pg 33 of 692



         Bankruptcy                              Global DIP Revolving Credit Facility
       Code/Local Rule
                                                     Summary of Material Terms
  Bankruptcy Rule        See Global DIP Credit Agreement Schedule 2.
  4001(c)(1)(B)
  Local Rule 4001-
  2(a)(ii)


 IV.       Concise Statement Regarding the ABB and NBG Adequate Protection Orders.

           9.     The below chart contains a summary of the material terms of the proposed ABB

 and NBG Adequate Protection Orders, together with references to the applicable sections of the

 relevant source documents, as required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B) and

 Local Rule 4001-2.

         Bankruptcy                          ABB and NBG Adequate Protection Orders
       Code/Local Rule
                                                     Summary of Material Terms
  Parties with an        ABB Adequate Protection Order. Aegean Baltic Bank S.A., as agent, HSH Nordbank
  Interest in Cash       AG, and other secured parties in each case to that certain 2005 Newbuilding Secured
  Collateral             Term Loan, 2006 Newbuilding Secured Term Loan, Third 2006 Newbuilding Secured
  Bankruptcy Rule        Term Loan, and 2008 Newbuilding Secured Term Loan.
  4001(b)(1)(B)(i)
                         See ABB Adequate Protection Order     ¶ I.
                         NBG Adequate Protection Order. National Bank of Greece S.A., as lender.
                         See NBG Adequate Protection Order     ¶ I.
  Purposes for Use of    Limitations on Use of ABB and NBG Term Cash Collateral.
  Cash Collateral
                         No portion of the proceeds of the ABB or NBG Collateral may be used for the payment
  Bankruptcy Rule
                         of professional fees, disbursements, costs, or expenses incurred by any person in
  4001(b)(1)(B)(ii)
                         connection with:
                           a.   incurring indebtedness other than as expressly permitted under the Interim
                                Adequate Protection Orders,

                           b.   preventing, hindering, impeding, or delaying any of the ABB Party’s or NBG’s
                                enforcement or realization upon, or exercise of rights in respect of any of the ABB
                                or NBG Collateral (including any ABB or NBG Prepetition Collateral),

                           c.   seeking to amend or modify any of the rights or interests granted to any ABB
                                Party or NBG under the Interim Adequate Protection Orders or the respective
                                ABB and NBG Secured Term Loan Documents, including seeking to use the
                                ABB or NBG Term Cash Collateral on a contested basis,

                           d.   asserting, commencing, or prosecuting any claims or causes of action, including,
                                without limitation, any challenge or any other action under chapter 5 of the
                                Bankruptcy Code (or any similar law), against any of the former, current and
                                future ABB Party or NBG, or any of their respective former, current and future



                                                      33
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                       Main Document
                                               Pg 34 of 692



      Bankruptcy                                ABB and NBG Adequate Protection Orders
    Code/Local Rule
                                                        Summary of Material Terms
                                  officers, employees, directors, agents, representatives, owners, members,
                                  partners, financial and other advisors and consultants, legal advisors,
                                  shareholders, managers, consultants, accountants, attorneys, affiliates, and
                                  predecessors and successors in interest (each of the foregoing, solely in their
                                  capacities as such), or

                             e.   asserting, joining, commencing, supporting, investigating, or prosecuting any
                                  challenge, or any other action for any claim, counterclaim, action, cause of action,
                                  proceeding, application, motion, objection, defense, or other contested matter
                                  seeking any order, judgment, determination, or similar relief against, or adverse
                                  to the material interests of any ABB Party or NBG, arising out of, in connection
                                  with, or relating to the ABB or NBG Secured Term Loan Documents, or the
                                  transactions contemplated thereunder, including, without limitation, (i) any action
                                  arising under the Bankruptcy Code, (ii) any so-called “lender liability” claims and
                                  causes of action, (iii) any action with respect to the validity and extent of the ABB
                                  or NBG Prepetition Term Obligations or the validity, extent, perfection and
                                  priority of the ABB or NBG Prepetition Term Liens, (iv) any action seeking to
                                  invalidate, set aside, avoid, reduce, set off, offset, recharacterize, subordinate
                                  (whether equitable, contractual, or otherwise), recoup against, disallow, impair,
                                  raise any defenses, cross-claims, or counterclaims, or raise any other challenges
                                  under the Bankruptcy Code or any other applicable domestic or foreign law or
                                  regulation against, or with respect to, the ABB or NBG Prepetition Term Liens,
                                  in whole or in part, (v) appeal or otherwise challenge any order giving effect to
                                  the Interim Adequate Protection Orders or (vi) any action that has the effect of
                                  preventing, hindering, impeding or delaying (whether directly or indirectly) the
                                  ABB Parties or NBG in respect of the ABB and NBG Prepetition Term Liens,
                                  ABB and NBG Prepetition Term Obligations, Adequate Protection Liens or
                                  Adequate Protection Superpriority Claims or any of their rights, powers, or
                                  benefits hereunder or in the ABB or NBG Secured Term Loan Documents
                                  anywhere in the world; provided that no more than $25,000 in the aggregate may
                                  be used by any Committee solely to investigate (but not prosecute or challenge)
                                  the Stipulations.

                          See ABB and NBG Adequate Protection Orders ¶ 11.
  Budget                  ABB and NBG Term Cash Collateral is to be used in the ordinary course of business.
  Bankruptcy Rule
  4001(b)(1)(B)(ii)
  Termination             Remedies upon a Termination Date.
  Date/Remedies
                             a.     The Debtors’ authorization to use ABB and NBG Term Cash Collateral shall
  Bankruptcy Rule
                                    automatically terminate on the date (the “Termination Date”), that is (i) five (5)
  4001(b)(l)(B)(iii)
                                    days from the date (the “Termination Notice Date”) on which written notice (a
                                    “Termination Notice”) of the occurrence of a DIP Termination Event is given
                                    (which notice may be given electronically) by or on behalf of the ABB Parties
                                    or NBG to counsel for the Debtors (such period commencing on the
                                    Termination Notice Date and ending five (5) days later, the “Termination
                                    Notice Period”) or (ii) the effective date of any plan of reorganization. The
                                    rights and remedies of ABB Parties or NBG specified in the Interim Adequate
                                    Protection Orders are cumulative and not exclusive of any rights or remedies
                                    that they may otherwise have. The only permissible basis for the Debtors or
                                    any party-in-interest to contest, challenge or object to a Termination Notice



                                                         34
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                       Main Document
                                              Pg 35 of 692



      Bankruptcy                              ABB and NBG Adequate Protection Orders
    Code/Local Rule
                                                       Summary of Material Terms
                                   shall be solely with respect to the validity of the DIP Termination Event(s)
                                   giving rise to such Termination Notice (i.e., whether such DIP Termination
                                   Event or Events validly occurred and have not been cured or waived in
                                   accordance with the Interim Adequate Protection Orders).
                            b.     Upon and after delivery of the Termination Notice, the Debtors and the ABB
                                   Parties or NBG consent to a hearing on an expedited basis to consider whether
                                   the automatic stay may be lifted so that the ABB Parties or NBG may exercise
                                   any and all of their respective rights set forth in the Interim Order or in the ABB
                                   or NBG Secured Term Loan Documents.
                            c.     During the Termination Notice Period, the Debtors’ right to use ABB or NBG
                                   Term Cash Collateral pursuant to the Interim Adequate Protection Orders shall
                                   be limited to the payment of any other critical business-related expenses
                                   necessary to operate the Debtor Borrowers’ or Debtor Other Obligors’ business
                                   or preserve ABB or NBG Prepetition Collateral, including but not limited to
                                   payments in respect of health or human safety, in each case with prior notice to
                                   the ABB Parties or NBG.
                            d.     The delay or failure to exercise rights and remedies under the Interim Adequate
                                   Protection Orders or any Newbuilding Secured Term Loan Document shall not
                                   constitute a waiver of the ABB Parties’ or NBG’s rights under the Interim
                                   Adequate Protection Orders, thereunder or otherwise. The occurrence of the
                                   Termination Date or a DIP Termination Event shall not affect the validity,
                                   priority or enforceability of any and all rights, remedies, benefits and
                                   protections provided to the ABB Parties and NBG under the Interim Adequate
                                   Protection Orders, which rights, remedies, benefits and protections shall
                                   survive the Termination Date.
                            e.     The automatic stay imposed under Bankruptcy Code section 362(a) upon the
                                   Petition Date is hereby modified as necessary, without further order or notice
                                   of the Court, to (i) permit the Debtors to grant the Adequate Protection Liens
                                   and Adequate Protection Superpriority Claims and to incur all liabilities and
                                   obligations to the ABB Parties or NBG under the Interim Adequate Protection
                                   Orders, and (ii) authorize the ABB Parties and NBG to retain any applicable
                                   payments thereunder.
                            f.     Nothing included herein shall prejudice, impair, or otherwise affect ABB’s
                                   rights to seek any other or supplemental relief in respect of the Debtors
                                   (including any other or additional adequate protection and/or relief from stay).
                    2.    See ABB and NBG Adequate Protection Order        ¶ 4.
  Termination Events 3.   The occurrence of any of the following events set forth in clauses (a) through (q) below
  Bankruptcy Rule         shall constitute a “Termination Event” unless waived in writing by the ABB lenders or
  4001(b)(l)(B)(iii)      NBG:
                            a.     the Interim Order shall cease to be in full force and effect for any reason;
                            b.     an order approving the relief requested in the Motion on a final basis (in form
                                   and substance satisfactory to the ABB lenders or NBG shall not have been
                                   entered by the Court on or before 45 days following entry of the Interim
                                   Adequate Protection Orders, unless an extension is otherwise agreed to in
                                   writing by the ABB Agents (as defined in Annex A to the respective orders);
                            c.     any of the Chapter 11 Cases shall be dismissed or converted to a case under
                                   chapter 7 of the Bankruptcy Code, a chapter 11 trustee or examiner with


                                                        35
18-13374-mew     Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                     Main Document
                                        Pg 36 of 692



     Bankruptcy                         ABB and NBG Adequate Protection Orders
   Code/Local Rule
                                                Summary of Material Terms
                             expanded powers pursuant to section 1106(b) of the Bankruptcy Code shall be
                             appointed in any of the Chapter 11 Cases, or any of the Debtors shall seek, or
                             shall support (in any such case by way of, inter alia, any motion or pleading
                             filed with this Court or any other writing to another party in interest executed
                             by or on behalf of any Debtor) any person’s motion or other pleading seeking
                             any of the foregoing relief;
                      d.     an order shall have been entered (or any of the Debtors shall seek an order)
                             reversing, amending, supplementing, extending, staying, vacating, or otherwise
                             modifying the Interim Adequate Protection Orders without the prior written
                             consent of the ABB Parties or NBG;
                      e.     any modification shall be made to the DIP Orders or otherwise to the DIP
                             financing that could reasonably be expected to result in nonpayment of the
                             Adequate Protection Payments granted hereunder, or otherwise adversely
                             impacts the ABB Parties or NBG (including, without limitation, any
                             amendment that contravenes or modifies, or attempts to contravene or modify,
                             the provisions of paragraph 12 of the Interim Adequate Protection Orders)
                             without the prior written consent of the ABB Parties or NBG;
                      f.     the Debtors shall file, or the Court shall grant, any application, motion or
                             borrowing request seeking (i) to incur indebtedness from any party secured by
                             a lien on, or otherwise having a claim against or recourse to, as the case may
                             be, any Debtor Borrowers or Debtor Other Obligors, the ABB or NBG
                             Prepetition Collateral other than the Junior DIP Liens without the prior written
                             consent of the ABB Parties or NBG, or (ii) the use of the ABB or NBG Term
                             Cash Collateral on a nonconsensual basis;
                      g.     the Court shall grant any application by any party seeking payment of any claim
                             on a superpriority administrative claim basis pari passu with, or senior to, the
                             Adequate Protection Superpriority Claims without the written consent of the
                             ABB Lenders or NBG;
                      h.    the entry of an order by this Court or any other court having jurisdiction to do
                            so granting relief from or modifying the automatic stay applicable under section
                            362 of the Bankruptcy Code upon the Petition Date to allow a holder or holders
                            of any lien or security interest (including, without limitation, any DIP Agent or
                            other DIP Secured Party in respect of the Junior DIP Liens) to foreclose on or
                            otherwise enforce remedies against and/or realize upon their liens or security
                            interests in respect of any ABB or NBG Collateral;
                      i.    any Prepetition Term Obligor breaches any material covenant or undertaking
                            (after any applicable cure period set forth in the ABB or NBG Secured Term
                            Loan Documents) in any of the ABB or NBG Secured Term Loan Documents
                            relating to insurance, operation, management and maintenance of any vessel that
                            is ABB or NBG Prepetition Vessel Collateral, including, without limitation, any
                            breach in connection with expropriation, arrest, detention, capture,
                            condemnation, confiscation, requisition, purchase, seizure, or forfeiture of or
                            any taking title to, the applicable vessel that is ABB or NBG Prepetition Vessel
                            Collateral;
                      j.    any Debtor shall sell (including, without limitation, any sale and leaseback
                            transaction), transfer (including any assignment of rights), lease, encumber or
                            otherwise dispose of any portion of the ABB or NBG Collateral, except as
                            expressly permitted by the Interim Adequate Protection Orders and the ABB or
                            NBG Secured Term Loan Documents, or this Court or any other court having


                                                 36
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                       Main Document
                                            Pg 37 of 692



      Bankruptcy                            ABB and NBG Adequate Protection Orders
    Code/Local Rule
                                                     Summary of Material Terms
                                jurisdiction to do so shall enter an order authorizing any sale or disposition of
                                any Collateral, in each case without the prior written consent of the ABB Parties
                                or NBG;
                          k.    any Debtor shall transfer ABB or NBG Term Cash Collateral to an account in
                                the name of a Debtor that is not a Debtor Borrower or Debtor Other Obligor or
                                that is not maintained with an ABB Party or NBG or subject to an ABB Party or
                                NBG’s control; provided that, notwithstanding the foregoing, the Debtors may
                                continue making transfers or payments in the ordinary course consistent with
                                past practice, including, but not limited to, any such management fee or service
                                fee payments; provided further that the rights of the ABB Parties or NBG with
                                respect to any such management fee or service fee payment or payments
                                (including all rights to object to the payment of any particular fee) are preserved.
                          l.    subject to a five (5) day grace period, the Debtors shall fail to make any
                                Adequate Protection Payment when due;
                          m.    the entry of an order of this Court or any other court having jurisdiction to do so
                                avoiding, disgorging, or requiring repayment of any portion of the Adequate
                                Protection Payments made by or on behalf of the Debtor obligors hereunder;
                          n.    the entry of an order of this Court or any other court having jurisdiction to do so
                                approving any claims for recovery of amounts under section 506(c) of the
                                Bankruptcy Code or otherwise arising from the preservation or disposition of
                                ABB or NBG Prepetition Collateral;
                          o.    any Debtor shall assert (or shall support any other person in asserting) the
                                invalidity, non-perfection or unenforceability of any of the Adequate Protection
                                Liens or the invalidity and unenforceability of the Adequate Protection
                                Superpriority Claims;
                          p.    any Debtor shall seek, or shall support (in any such case by way of, inter alia,
                                any motion or pleading filed with this Court or any other writing to another party
                                in interest executed by or on behalf of any Debtor) any person’s motion, to
                                disallow or subordinate (whether equitably, contractually or otherwise) in whole
                                or in part any of the ABB Parties’ or NBG’s claims in respect of the ABB or
                                NBG Prepetition Term Obligations or to challenge the validity, enforceability,
                                perfection or priority of any liens or security interests in favor of any ABB Party
                                or NBG (including with, without limitation, any ABB or NBG Prepetition Term
                                Lien); or
                          q.    the Debtors shall fail to comply with any provision of the Interim Order in any
                                material respect.
                 4.     See ABB and NBG Adequate Protection Order        ¶ I.
  Adequate Protection   Under the agreed ABB and NBG Adequate Protection Orders and as described more
  Bankruptcy Rules      fully therein, the Debtors propose to provide a variety of adequate protection to protect
  4001(b)(l)(B)(ii)     the ABB Parties and NBG from any diminution in value of their Prepetition Term
                        Collateral resulting from the use of such collateral by the Debtors and the imposition of
                        the automatic stay as follows:
                          a.    solely to the extent of, and in an aggregate amount equal to, any diminution in
                                value of the ABB Parties’ and NBG’s respective interests in the applicable
                                Prepetition Term Collateral resulting from, among other things, the use, sale or
                                lease by the Debtors of such ABB Prepetition Collateral (including the use of
                                the applicable ABB and NBG Prepetition Cash Collateral) and/or the imposition


                                                      37
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                              Pg 38 of 692



      Bankruptcy                               ABB and NBG Adequate Protection Orders
    Code/Local Rule
                                                        Summary of Material Terms
                                  or enforcement of the automatic stay provided for under section 362(a) of the
                                  Bankruptcy Code from and after the Petition Date, the ABB Parties and NBG
                                  are granted security interests and liens pursuant to sections 361(2), 363(c)(2),
                                  and 363(e) of the Bankruptcy Code;
                            b.    superpriority administrative claims under section 503(b) and 507(b) of the
                                  Bankruptcy Code;
                            c.    payment of interest and fees at non-default rates under the applicable Prepetition
                                  Term Loan Documents (it being understood that interest shall accrue at the
                                  default rate to the fullest extent permitted under the Bankruptcy Code, with all
                                  rights to object thereto fully preserved); and
                            d.    payment of the fees and expenses of the ABB Parties’ and NBG’s professionals.
                          See ABB and NBG Adequate Protection Order         ¶ 5.
  Waiver/Modification     The automatic stay under Bankruptcy Code section 362(a) is modified as necessary to
  of the Automatic Stay   effectuate all of the terms and provisions of the Interim Adequate Protection Orders,
  Bankruptcy Rule         including, without limitation, to: (a) permit the Debtors to grant (or continue to grant, as
  4001(c)(1)(B)(iv)       applicable) the Adequate Protection Liens and incur the Adequate Protection
                          Superpriority Claims; (b) permit the Debtors to perform such acts as may be needed to
                          assure the perfection and priority of the liens granted thereunder; (c) permit the Debtors
                          to incur all liabilities and obligations under the terms herein; (d) authorize the Debtors to
                          pay, and the respective ABB Agents or NBG to retain and apply, any payments made in
                          accordance with the terms of the Interim Adequate Protection Orders and the ABB or
                          NBG Secured Term Loan Documents; and (e) permit the ABB Parties or NBG, to
                          terminate the use of the ABB and NBG Term Cash Collateral in accordance with the
                          Interim Adequate Protection Order.
                          See ABB and NBG Adequate Protection Order         ¶ 24.
  Carve Out               The Carve Out shall be senior to all liens and claims securing the DIP Credit Facilities,
  Bankruptcy Rule         including the Junior DIP Liens, and any and all other forms of adequate protection, liens,
  4001(c)(1)(B)           or claims securing the DIP Obligations, but shall not be senior to the Adequate Protection
  Local Rule 4001-        Liens, the Adequate Protection Superpriority Claims, the ABB and NBG Prepetition
  2(a)(i)(f)              Term Liens and the ABB and NBG Prepetition Term Obligations, and the Adequate
                          Protection Liens, the Adequate Protection Superpriority Claims, the ABB and NBG
                          Prepetition Term Liens and the ABB and NBG Prepetition Term Obligations shall not
                          be subject to the Carve Out.
                          See ABB and NBG Adequate Protection Order         ¶ 9.
  506(c) Waiver           Subject to the entry of the Final Order, no costs or expenses of administration that have
  Bankruptcy Rule         been or may be incurred in any of the Chapter 11 Cases or any Successor Cases at any
  4001(c)(l)(B)(x)        time shall be charged against the ABB Parties or NBG, any of their respective claims,
  Local Rule 4001-        any ABB and NBG Prepetition Term Obligations, any Adequate Protection Liens, any
  2(a)(i)(C)              Adequate Protection Superpriority Claims, any ABB or NBG Prepetition Term Liens or
                          any ABB or NBG Prepetition Collateral, including any ABB and NBG Term Cash
                          Collateral, pursuant to sections 506(c) or 105(a) of the Bankruptcy Code, or otherwise,
                          without the prior written consent of the ABB Agents or NBG. Nothing contained in the
                          Interim Order shall be deemed a consent by the ABB Parties or NBG to any charge, lien,
                          assessment or claim against, or in respect of, the ABB Prepetition Collateral, including
                          the ABB and NBG Term Cash Collateral, under section 506(c) or 105(a) of the
                          Bankruptcy Code, or otherwise.




                                                         38
18-13374-mew            Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                                  Pg 39 of 692



      Bankruptcy                                   ABB and NBG Adequate Protection Orders
    Code/Local Rule
                                                            Summary of Material Terms
                           See ABB and NBG Adequate Protection Order ¶ 19.
  Section 552(b)           The ABB Parties and NBG shall each be entitled to all of the rights and benefits of
  Bankruptcy Rule          section 552(b) of the Bankruptcy Code, including, for the avoidance of doubt, that
  4001(c)(l)(B)            postpetition revenues and payments in connection with any ABB and NBG Prepetition
  Local Rule 4001-         Collateral (including (i) postpetition payments generated by operation of vessels that are
  2(a(i)(h)                ABB and NBG Prepetition Vessel Collateral on and after the Petition Date and under
                           any contracts in respect thereof in effect on and after the Petition Date and (ii) all
                           postpetition revenues deposited into earnings or operating accounts associated with or
                           related to any ABB or NBG Prepetition Vessel Collateral and owned by a Debtor
                           Borrower under the applicable ABB or NBG Prepetition Term Facility under which such
                           ABB Party or NBG is a party) are proceeds under section 552(b), in each case to the
                           extent such ABB Party or NBG was granted an assignment, pledge or other transfer of
                           legal or beneficial title or interest in respect of, or security interest in, or a lien on, such
                           ABB or NBG Prepetition Collateral (including, without limitation, contracts, payments
                           or revenues in respect thereof under the applicable ABB or NBG Prepetition Term
                           Facility). Subject to entry of the Final Order, the “equities of the case” exception under
                           section 552(b) of the Bankruptcy Code shall not apply to any of the ABB Parties with
                           respect to proceeds, product, offspring or profits of any of the ABB or NBG Prepetition
                           Collateral.
                           See ABB and NBG Adequate Protection Order           ¶ 17.
  Stipulations of the      The Interim Adequate Protection Orders contain certain stipulations by the Debtors,
  Debtors                  among other things, to negotiate in good faith regarding stipulations to be included in the
  Bankruptcy Rule          Final Order related to:
  4001(c)(1)(B)(iii)
                             (i)      the validity, enforceability, allowability, priority, secured status, or amount of
  Local Rule 4001-
                                      the ABB and NBG Prepetition Term Obligations and ABB and NBG
  2(a)(i)(B)
                                      Prepetition Term Liens,
                             (ii)     liabilities to third parties,
                             (iii)    claims and causes of action, and
                             (iv)     related releases and indemnities, and regarding the ability of parties-in-interest
                                      to challenge such stipulations and the timing for and scope of any such
                                      challenge in connection therewith.
  Waiver/Modification      The Interim Adequate Protection Orders shall be sufficient and conclusive evidence of
  of Applicability of      the validity, perfection, enforceability and priority of the Adequate Protection Liens
  Nonbankruptcy Law        without the necessity of filing or recording any financing statement, deed of trust,
  Relating to              mortgage, security agreement, notice of liens, or other similar instrument or document
  Perfection or            which may otherwise be required under the law of any jurisdiction or the taking of any
  Enforceability of        other action to validate or perfect the Adequate Protection Liens or to entitle the
  Liens                    Adequate Protection Liens to the priorities granted herein.
  Bankruptcy Rule
                           See ABB and NBG Adequate Protection Order ¶ 5(d).
  4001(c)(1)(B)(vii)
  Fees                     Adequate Protection Payments.
  Bankruptcy Rule
                             (i)      The ABB Agents (on behalf of the respective ABB Parties) and NBG shall each
  4001(c)(1)(B)
                                      receive from the Debtors (a) within five (5) business days following the entry of
  Local Rule 4001-
                                      the Interim Adequate Protection Orders, cash payment of all accrued and unpaid
  2(a)(ii)
                                      interest (whether accrued prior to or after the Petition Date) on the applicable
                                      ABB or NBG Prepetition Term Obligations at the non-default rates provided for
                                      in the respective ABB or NBG Secured Term Loan Documents (it being


                                                             39
18-13374-mew        Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                               Pg 40 of 692



      Bankruptcy                                ABB and NBG Adequate Protection Orders
    Code/Local Rule
                                                        Summary of Material Terms
                                   understood that interest shall accrue at the default rate to the fullest extent
                                   permitted under the Bankruptcy Code, with all rights to object thereto fully
                                   preserved), and all accrued and unpaid fees and costs (whether accrued prior to
                                   or after the Petition Date) owing to the ABB Parties and NBG under the
                                   respective ABB and NBG Secured Term Loan Documents, and (b) thereafter, as
                                   and when due under the respective ABB and NBG Secured Term Loan
                                   Documents, cash payment of all accrued and unpaid interest, at the applicable
                                   non-default rates provided in the respective ABB and NBG Secured Term Loan
                                   Documents (it being understood that interest shall accrue at the default rate to
                                   the fullest extent permitted under the Bankruptcy Code, with all rights to object
                                   thereto fully preserved), and any fees and costs due and payable under the
                                   respective ABB and NBG Secured Term Loan Documents, including, without
                                   limitation, any accrued fees owing to the ABB Parties and NBG under the
                                   respective ABB and NBG Secured Term Loan Documents.
                           (ii)    The Debtors shall pay in full, in cash and in immediately available funds, all
                                   reasonable and documented fees, costs and expenses (whether incurred prior to,
                                   on or after the Petition Date) of the ABB Agents (on behalf of the respective
                                   ABB Parties) and NBG owing to the ABB Agents and/or the other ABB Parties
                                   and NBG under the respective ABB and NBG Secured Term Loan Documents,
                                   including all reasonable and documented professional and advisory fees, costs
                                   and expenses of their legal, financial and other professionals, including,
                                   White & Case LLP and any financial advisor and any other local, foreign or
                                   regulatory counsel as may at any time be necessary (collectively,
                                   the “ABB/NBG Professionals”), (x) promptly upon the entry of the Interim
                                   Adequate Protection Orders in the full amounts set forth in any outstanding
                                   invoices from the ABB Agents and/or the other ABB Parties and NBG and
                                   ABB/NBG Professionals received by the Debtors at least two (2) business days
                                   prior to the entry of the Interim Order; and (y) thereafter, within ten (10) business
                                   days after the presentment of any such invoices to the Debtors (which invoices
                                   shall include reasonable supporting detail in the form of standard detailed
                                   invoices, which may be redacted to protect privileged, confidential, or
                                   commercially or strategically sensitive information). The ABB Agents and/or
                                   the ABB Parties and NBG and ABB/NBG Professionals shall not be required to
                                   comply with the U.S. Trustee fee guidelines or file any fee applications with the
                                   Court, but shall provide copies of their invoices (which may be redacted as set
                                   forth above) to the U.S. Trustee and any Committee upon written request.
                         See ABB and NBG Adequate Protection Order ¶ 5(g).
  Liens and Priorities   The Adequate Protection Liens shall not be (i) subject or subordinate to (A) any lien or
  Bankruptcy Rule        security interest that is avoided and preserved for the benefit of the Debtor Borrowers
  4001(c)(l)(B)(i)       and their estates under section 551 of the Bankruptcy Code or (B) any lien or security
  Local Rule 4001-       interest arising after the Petition Date, including, for the avoidance of doubt, the Junior
  2(a)(i)(D) and (G),    DIP Liens and the Carve Out, or (ii) except as expressly set forth in in the Interim
  4001-2(a)(ii)          Adequate Protection Orders (or the Final Adequate Protection Orders), subordinated to
                         or made pari passu with any other lien or security interest under sections 363 or 364 of
                         the Bankruptcy Code or otherwise. The Adequate Protection Liens shall be in addition
                         to all valid and enforceable liens and security interests now existing in favor of the ABB
                         Parties or NBG or for the benefit of the ABB Parties or NBG and not in substitution
                         therefor.
                         See ABB and NBG Adequate Protection Order ¶ 5(c).




                                                         40
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                            Pg 41 of 692



        Bankruptcy                           ABB and NBG Adequate Protection Orders
      Code/Local Rule
                                                     Summary of Material Terms
  Liens on Avoidance     ABB Collateral shall not include any of the claims and causes of action by the estates of
  Actions                the Debtor Borrowers for preferences, fraudulent conveyances, and other avoidance
  Local Rule 4001-       power claims under sections 544, 545, 547, 548, 550 and 553 of the Bankruptcy Code or
  2(a)(i)(D)             any proceeds thereof.
                         See ABB and NBG Adequate Protection Order ¶ 5(b).



                                                Background

 I.       The Debtors’ Prepetition Capital Structure.

          10.    As of the date hereof (the “Petition Date”), the Debtors’ capital structure consisted

 of outstanding funded-debt obligations in the aggregate principal amount of approximately

 $854 million arising under the Prepetition Credit Facilities (as defined herein), ten secured term

 loan credit facilities, and two issuances of unsecured convertible bonds. The following table

 summarizes the Debtors’ outstanding funded-debt obligations.




                                                      41
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 42 of 692



                     Indebtedness                                    Balance Outstanding
  Global Prepetition Credit Facility                                                $249,569,260
  U.S. Prepetition Credit Facility                                                  $131,688,116
  2017 Secured Term Loan                                                              $13,500,000
  2017 South Africa Secured Term Loan                                                  $5,984,585
  2015 Fujairah Secured Term Loan Facility                                            $90,335,430
  2008 Newbuilding Secured Term Loan                                                  $18,717,000
  2007 Newbuilding Secured Term Loan                                                   $9,158,800
  First 2006 Newbuilding Secured Term Loan                                            $33,459,740
  Second 2006 Newbuilding Secured Term Loan                                            $6,564,000
  Third 2006 Newbuilding Secured Term Loan                                            $12,200,500
  2005 Newbuilding Secured Term Loan                                                  $11,670,000
  2018 Barge Secured Term Loan                                                         $5,000,000
  4.00% Convertible Unsecured Notes due 2018                                          $94,550,000
  4.25% Convertible Unsecured Notes due 2021                                        $172,500,000
                                             Total                                  $854,898,171

        A.      The Prepetition Credit Facilities.

        11.     Global Prepetition Credit Facility. As of the Petition Date, the Debtors had a total

 of $249,569,260 aggregate principal amount outstanding under that certain Facility Agreement for

 a Borrowing Base Facility, dated as of November 30, 2017 (as amended, restated, modified, or

 supplemented from time to time), by and among Aegean Marine Petroleum S.A., Aegean

 Petroleum International Inc., Aegean NWE N.V., Aegean Bunkering Germany GmbH, OBAST

 Bunkering & Trading GmbH and Aegean Petroleum Uruguay S.A., as co-borrowers and

 guarantors, Aegean Marine, as guarantor, ABN AMRO Bank N.V., as arranger, documentation

 bank, facility agent, collateral management agent, security agent, and certain financial institutions,

 as lender, issuing banks, and overdraft banks thereto (the “Global Prepetition Credit Facility”).

 Borrowings under the Global Prepetition Credit Facility will mature, and lending commitments

 thereunder will terminate on, November 30, 2020, and all obligations and the guarantees of those

 obligations are secured by a first priority lien on certain assets of each co-borrower that make up



                                                  42
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 43 of 692


 the borrowing base assets, including certain inventory, receivables and goods as well as the

 assignment of documents and agreements and pledge of certain accounts of the co-borrowers.

        12.     U.S. Prepetition Credit Facility. As of the Petition Date, the Debtors had a total of

 $131,688,116 aggregate principal amount outstanding under the U.S. Prepetition Credit Facility,

 by and among Aegean Bunkering (USA) LLC, as borrower, ABN AMRO Capital USA, as

 administrative agent, collateral agent, syndication agent, a lender, an issuing lender, the swing line

 lender, and the daylight overdraft lender, BNP Paribas, as documentation agent and a lender, and

 the lenders party thereto (the “U.S. Prepetition Credit Facility,” and together with the Global

 Prepetition Credit Facility, the “Prepetition Credit Facilities”). Borrowings under the U.S. Credit

 Facility will mature, and lending commitments thereunder will terminate, on November 8, 2018,

 and all obligations under the U.S. Credit Facility are secured by a first priority lien on all of the

 assets of Aegean Bunkering (USA) LLC as well as a pledge of 100% of the equity of Aegean

 Bunkering (USA) LLC owned by its parent, AMPNI Holdings Co. Limited.

        B.      The Prepetition Secured Term Loan Facilities.

        13.     2017 Secured Term Loan. As of the Petition Date, the Debtors had a total of

 $13,500,000 aggregate principal outstanding under that certain Loan Agreement, dated as of

 November 30, 2017 (as amended, restated, modified, or supplemented from time to time), by and

 among Aegean Bunkering Services Inc., as borrower, Aegean Marine, Amorgos Maritime Inc.,

 Kimolos Maritime Inc., Milos Shipping (Pte.) Ltd., Mykonos I Maritime Limited and Tinos

 Marine Inc., as co-guarantors, and Piraeus Bank S.A., as lender (the “2017 Secured Term Loan”).

 The 2017 Secured Term Loan matures on November 30, 2022, and all obligations under the 2017

 Secured Term Loan matures on November 30, 2022, and all obligations under the 2017 Secured

 Term Loan are secured by a first priority mortgage on certain vessels—Amorgos, Kimolos, Milos,

 Mykonos and Syros—as well as a pledge of certain earning and retention accounts.


                                                  43
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 44 of 692


        14.    2017 South Africa Secured Term Loan. As of the Petition Date, the Debtors had

 a total of $5,984,585 aggregate principal outstanding under that certain Loan Agreement, dated as

 of November 20, 2017 (as amended, restated, modified, or supplemented from time to time), by

 and among Aegean Bunkering Services Inc. and Nevado Navigation S.A., as co-borrowers,

 Aegean Marine, Aegean Management Services M.C., Aegean Ship III Maritime Company,

 Aegean Ship VIII Maritime Company, Aegean Ace Maritime Company and Aegean Tanking S.A.,

 as co-guarantors, and Piraeus Bank S.A., as lender (the “2017 South Africa Secured Term Loan”).

 The 2017 South Africa Secured Term Loan matures three years from the Drawdown Date (as that

 term is defined in the 2017 South Africa Secured Term Loan Agreement), and all obligations under

 the 2017 South Africa Secured Term Loan are secured by a first priority mortgage on certain

 vessels—Aegean III, Aegean VIII, Aegean Ace, Nevado, and Umnenga I—as well as a pledge of

 certain earnings accounts and specific assignments of charterparty documents.

        15.    2015 Fujairah Secured Term Loan Facility. As of the Petition Date, the Debtors

 had a total of $90,335,430 aggregate principal outstanding under that certain Term Loan Facility

 Agreement, dated as of October 7, 2015 (as amended, restated, modified, or supplemented from

 time to time), by and among Aegean Oil Terminal Corporation, as borrower, Aegean Marine, as

 guarantor, United Arab Bank P.J.S.C., as agent, security agent and lender thereto (the “2015

 Fujairah Secured Term Loan”). The 2015 Fujairah Secured Term Loan matures on September 30,

 2023, and all obligations under the 2015 Fujairah Term Loan Facility are secured by substantially

 all of the assets of Aegean Oil Terminal Corporation, including AMPNI’s equity interest in Aegean

 Oil Terminal Corporation.

        16.    2008 Newbuilding Secured Term Loan. As of the Petition Date, the Debtors had

 a total of $18,717,000 aggregate principal amount outstanding under that certain Loan Agreement,




                                                44
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                          Pg 45 of 692


 dated as of April 24, 2008 (as amended, restated, modified, or supplemented from time to time),

 by and among Kassos Navigation S.A., Symi Navigation S.A., Halki Navigation S.A. and Tilos

 Shipping (PTE.) LTD., as co-borrowers, Aegean Marine and Aegean Shipholdings Inc., as

 co-guarantors, Aegean Baltic Bank S.A., as arranger, agent, security agent, account bank, and

 lender thereto (the “2008 Newbuilding Secured Term Loan”). The 2008 Newbuilding Secured

 Term Loan matures on June 30, 2020, and all obligations under the 2008 Newbuilding Secured

 Term Loan are secured by a first priority mortgage on certain vessels—Kassos, Tilos, Halki, and

 Symi— as well as a pledge of certain operating accounts and assignments of certain contracts and

 refund guarantees.

        17.    2007 Newbuilding Secured Term Loan. As of the Petition Date, the Debtors had

 a total of $9,158,800 million aggregate principal amount outstanding under that certain Loan

 Agreement, dated as of July 5, 2007 (as amended, restated, modified, or supplemented from time

 to time), by and among Andros Marine Inc., Dilos Marine Inc., Ios Shipping Ltd, Sifnos Marine

 Inc. and Aegean VII Shipping Ltd., as co-borrowers, Aegean Marine, as guarantor, and Orix

 Investment and Management Private Ltd., as lender thereto (the “2007 Newbuilding Secured Term

 Loan”). The 2007 Newbuilding Secured Term Loan matures in part on February 3, 2020, May 4,

 2020 and September 7, 2020, and all obligations under the 2007 Newbuilding Secured Term Loan

 are secured by a first priority mortgage on certain vessels—Andros, Dilos, Ios I, Anafi and

 Sikinos—as well as a pledge of certain operating accounts, and assignments of certain contracts

 and refund guarantees.

        18.    First 2006 Newbuilding Secured Term Loan. As of the Petition Date, the Debtors

 had a total of $33,459,740 aggregate principal amount outstanding under that certain Loan

 Agreement, dated as of October 1, 2006 (as amended, restated, modified, or supplemented from




                                               45
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 46 of 692


 time to time), by and among Kerkyra Marine S.A., Ithaki Marine S.A., Cephallonia Marine S.A.,

 Paxoi Marine S.A., Zakynthos Marine S.A., Ios Marine Inc. and Kythira Marine S.A., as

 co-borrowers, Aegean Marine, Aegean Shipholdings Inc., Aegean Breeze Maritime Company and

 Aegean Tiffany Maritime Company, as co-guarantors, Aegean Baltic Bank S.A., as arranger,

 agent, security agent, account bank, and lender thereto (the “First 2006 Newbuilding Secured Term

 Loan”). The First 2006 Newbuilding Secured Term Loan matures on December 31, 2019, and all

 obligations under the First 2006 Newbuilding Secured Term Loan are secured by a first priority

 mortgage on certain vessels—Kerkyra, Ithaki, Kefalonia, Paxoi, Zakynthos, Lefkas, Kythira,

 Aegean Tiffany, and Aegean Breeze—as well as a pledge of certain operating accounts, and

 assignments of certain contracts and refund guarantees.

        19.    Second 2006 Newbuilding Secured Term Loan. As of the Petition Date, the

 Debtors had a total of $6,564,000 aggregate principal amount outstanding under that certain Loan

 Agreement, dated as of October 27, 2006 (as amended, restated, modified, or supplemented from

 time to time), by and among Tasman Seaways Inc. and Santon Limited, as co-borrowers, Aegean

 Marine and Aegean Bunkering Services Inc., as co-guarantors, and the National Bank of Greece

 S.A., as lender thereto (the “Second 2006 Newbuilding Secured Term Loan”). The Second 2006

 Newbuilding Secured Term Loan matures in part on November 30, 2018 and April 30, 2020, and

 all obligations under the Second 2006 Newbuilding Secured Term Loan are secured by a first

 priority mortgage on certain vessels—Kalymnos and Leros—as well as certain operating account

 pledges, and assignments of certain contracts and refund guarantees.

        20.    Third 2006 Newbuilding Secured Term Loan. As of the Petition Date, the Debtors

 had a total of $12,200,500 aggregate principal amount outstanding under that certain Loan

 Agreement, dated as of October 25, 2006 (as amended, restated, modified, or supplemented from




                                                46
18-13374-mew       Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                          Pg 47 of 692


 time to time), by and among Eton Marine LTD., Benmore Services S.A. and Ingram Enterprises

 Co., as co-borrowers, Aegean Marine, Aegean Shipholdings Inc. and Sealand Navigation Inc., as

 co-guarantors, and Aegean Baltic Bank S.A. as arranger, agent, security agent, account bank, and

 lender thereto (the “Third 2006 Newbuilding Secured Term Loan”). The Third 2006 Newbuilding

 Secured Term Loan matures on December 31, 2019, and all obligations under the Third 2006

 Newbuilding Secured Term Loan are secured by a first priority mortgage on certain vessels—

 Patmos, Nisyros, and Karpathos—as well as certain operating account pledges, and assignments

 of certain contracts and refund guarantees.

        21.     2005 Newbuilding Secured Term Loan. As of the Petition Date, the Debtors had

 a total of $11,670,000 aggregate principal amount outstanding under that certain Loan Agreement,

 dated as of August 30, 2005 (as amended, restated, modified, or supplemented from time to time),

 by and among Kithnos Maritime Inc., Lefkas Marine S.A., Paros Maritime Inc., Santorini I

 Maritime Limited and Serifos Shipping (Pte.) Ltd., as co-borrowers, Aegean Marine, Aegean

 Shipholdings Inc., Aegean Bunkering Services Inc. and Tempest Shiptrade Ltd., as co-guarantors,

 and Aegean Baltic Bank S.A. as arranger, agent, security agent, account bank, and lender thereto

 (the “2005 Newbuilding Secured Term Loan,” together with all the loans provided for above,

 the “Prepetition Term Facilities”). The 2005 Newbuilding Secured Term Loan matures on

 January 7, 2019, and all obligations under the Third 2005 Newbuilding Secured Term Loan are

 secured by a first priority mortgage on certain vessels—Kithnos, Naxos, Paros I, Santorini and

 Serifos—as well as certain operating account pledges, and assignments of certain contracts and

 refund guarantees.

        22.     2018 Barge Secured Term Loan. As of the Petition Date, the Debtors had a total

 of $5,000,000 aggregate principal amount outstanding under that certain Loan Agreement, dated




                                               47
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                           Pg 48 of 692


 as of September 7, 2018 (as amended, restated, modified, or supplemented from time to time), by

 and among AMPSA, as borrower, Aegean Marine and I.C.S. Petroleum Limited, as co-guarantors,

 and Mercuria Energy Trading S.A., as lender thereto (the “2018 Barge Secured Term Loan”). The

 2018 Barge Secured Loan matures on January 31, 2019, and all obligations under the 2018 Barge

 Secured Term Loan are secured by a first priority mortgage on certain vessels—PT22 and PT40.

        C.      The Convertible Senior Unsecured Notes.

        23.     4.00% Convertible Senior Unsecured Notes due 2018.               The Debtors have

 approximately $94,550,000 principal amount outstanding 4.00% convertible senior unsecured

 notes due 2018, issued pursuant to that certain Senior Indenture, dated as of October 23, 2013 (as

 amended, restated, modified, or supplemented from time to time), by and among Aegean Marine,

 as issuer, and Deutsche Bank Trust Company Americas, as trustee (the “4.00% Convertible

 Notes”). The 4.00% Convertible Notes mature on November 1, 2018 and require semi-annual

 coupon payments at an interest rate of 4.00% per year.

        24.     4.25% Convertible Senior Unsecured Notes due 2021.               The Debtors have

 approximately $172,500,000 principal amount outstanding 4.25% convertible senior unsecured

 notes due 2021, issued pursuant to that certain Indenture, dated as of December 19, 2016 (as

 amended, restated, modified, or supplemented from time to time), by and among Aegean Marine,

 as issuer, and U.S. Bank National Association, as trustee (the “4.25% Convertible Notes” and

 together with the 4.00% Convertible Notes, the “Convertible Senior Unsecured Bonds”). The

 4.25% Convertible Notes matured on December 15, 2021 and require semi-annual coupon

 payments at an interest rate of 4.25% per year.

 II.    The Debtors’ Immediate Need to Use Cash Collateral and Access Financing.

        25.     The Debtors’ need to commence these chapter 11 cases was the result of numerous

 factors, including rising commodity prices, limited available liquidity after the Prepetition Secured


                                                   48
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 49 of 692


 Parties reduced the borrowing limits under the Prepetition Credit Facilities and imposed other

 conditions further limiting borrowing capacity, changes in trade terms provided by certain fuel

 vendors, the announcement that approximately $200 million of accounts receivables would likely

 be written off because the underlying transactions were likely without economic substance, and

 pressure from the recent November 1, 2018 maturity date of the 4.00% Convertible Notes. These

 and other factors, discussed in further detail in the Hede First Day Declaration, forced the Debtors’

 business into a negative feedback loop that proved insurmountable absent additional funding and

 a chapter 11 process. See Hede First Day Decl. ¶ 5.

         26.      In connection with their liquidity struggles and the prospect of a chapter 11 filing,

 the Debtors, with the assistance of their advisors, analyzed their cash needs and determined that

 use of the Cash Collateral,7 alone, was insufficient to operate their business, and that additional

 funding was necessary due to, among other factors, (a) the contraction of borrowing base capacity

 discussed above; (b) a need for additional liquidity to address anticipated vendor contraction and

 demands for adequate protection from the Term Loan Lenders; (c) a desire to send a strong market

 signal that these chapter 11 cases are well-funded, which is particularly important given foreign

 vendor, customer, and employee concerns regarding the Debtors’ restructuring efforts and the

 impact those efforts will have on the business; and (d) the obligation to satisfy any administrative

 expenses to be incurred.

         27.      After analyzing their projected cash needs, the Debtors, with the assistance of their

 advisors, prepared preliminary budgets outlining funding that will be critical in the initial

 thirteen weeks post-filing (the “DIP Budgets”). The DIP Budgets are annexed to the Interim Order

 as Exhibits C and D. The Debtors believe that the DIP Budgets projections provide an accurate


 7   “Cash Collateral” means both the ABL Cash Collateral and the Prepetition Term Cash Collateral.



                                                       49
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                            Pg 50 of 692


 reflection of their funding requirements over the identified period, and are reasonable and

 appropriate under the circumstances. See Hede First Day Decl. ¶ 24.

        28.     As set forth in the Hede First Day Declaration, the Debtors require immediate

 access to both Cash Collateral and incremental liquidity to stave off what would be substantial

 damage to their operations. See id. Access to the ABL Cash Collateral and new capital under the

 DIP Facilities, both on an interim basis and throughout these chapter 11 cases, is necessary to

 ensure the Debtors have sufficient funds to preserve and maximize the value of their estates,

 responsibly administer these chapter 11 cases, and bridge to a sale.

 III.   The Proposed DIP Facilities Represent the Best Available Financing Option for the
        Debtors’ Businesses.

        29.     Substantially all of the Debtors’ assets are encumbered under their existing capital

 structure, which, along with the Debtors’ uncertain financial condition, restricts the availability of,

 and options for, postpetition financing. See Jamal Decl. ¶ 13. Additionally, due to the Debtors’

 high level of existing secured debt obligations, the Debtors could not provide evidence or certainty

 of a sufficient equity cushion to allow for debtor-in-possession financing that would prime existing

 lenders’ liens over their objections. See id. For the same reason, the Debtors anticipated that

 almost all third-party lenders would be unwilling to provide actionable debtor-in-possession

 financing junior to the Debtors’ existing lenders. Notwithstanding these considerations, the

 Debtors, with the assistance of their advisors, solicited proposals for third-party

 debtor-in-possession asset-based lending and term loan financing.

        30.     Specifically, beginning in September 2018, Moelis, the Debtors’ investment

 banker, compiled materials to commence the marketing process for a debtor-in-possession

 financing facility. In October, Moelis reached out to and engaged with 24 potential financing

 sources beyond the Prepetition Secured Parties, including nine traditional institutions and 15



                                                   50
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                            Pg 51 of 692


 alternative lenders, to gauge their interest in providing postpetition financing to the Debtors.

 Moelis identified these potential lenders based on a number of factors, including, among other

 things, such potential lenders’ ability to complete diligence quickly, experience or interest in

 providing debtor-in-possession financing, knowledge of the Debtors’ business operations, and

 ability to commit to financing on an expedited basis. Out of the 24 potential financing sources,

 nine were willing to engage with the Debtors and sign non-disclosure statements in order to

 continue negotiations. Out of the nine, six parties expressed an interest in continuing the process

 and potentially providing financing. None of the six potential new sources of financing has

 submitted a proposal for debtor-in-possession funding, and no parties were willing to provide

 credit on a junior basis to the Prepetition Credit Facilities.

         31.     In parallel with the solicitation of proposals from new sources of financing, the

 Debtors and their advisors continued negotiating with their current lenders to provide the

 debtor-in-possession loans. The lenders under the Prepetition Credit Facilities agreed to continue

 to lend on terms substantially similar to those under the Debtors’ existing asset-based lending

 facilities, thereby essentially “rolling up” the Debtors’ obligations under the Prepetition Credit

 Facilities. They also agreed to provide a new term loan facility to address the Debtors’ need for

 even further liquidity to satisfy needs not covered by the revolving credit facility.

         32.     In addition, in the last two weeks prior to filing, certain members of an ad hoc group

 of unsecured noteholders under the 4.00% Convertible Notes (the “Convertible Noteholders”)

 submitted a proposal to provide the postpetition financing necessary for the Debtors to operate in

 chapter 11. The proposal included a new asset-based revolving facility provided by a third party

 sufficient to refinance the existing credit facilities, including: (a) a first-in-last-out new money

 $175 million debtor-in-possession term loan facility and (b) a $40 million debtor-in-possession




                                                   51
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                           Pg 52 of 692


 second lien term loan fully backstopped by certain holders of the 4.00% and 4.25% Convertible

 Notes. The Debtors capitalized on these competing proposals to maintain competitive tension

 between both parties and to extract favorable DIP financing terms, including intercreditor

 dynamics, on behalf of the Debtors. See id. ¶¶ 16-18.

        33.     Ultimately, the Debtors, in their business judgment, and with the assistance of their

 advisors, determined that the DIP financing proposal advanced by the Prepetition Credit Facility

 Lenders provided the Debtors with the best available offer. The proposed DIP financing represents

 a negotiated resolution with the Prepetition Secured Parties, where the Debtors are able to obtain

 a substantial financing package without the risk of a priming fight and with a clear path to

 emergence.

        34.     The Convertible Noteholders’ proposal, on the other hand, was subject to

 significant conditions, including, among other things, completion of due diligence, an exclusivity

 period pending close, a commitment by the third party vessel lenders to extend financing

 agreements, and agreement on the part of the third party to actually commit to refinancing the

 Prepetition Credit Facility—all of which needed to be complete prior to or reasonably soon after

 the maturity date of the 4% Convertible Notes on November 1, 2018. See Jamal Decl. ¶ 18.

 Moreover, the proposal did not include sufficient funding to purchase the inventory owned by

 Mercuria but used by the Debtors in their business to access fuel inventory under the “sleeving”

 structure described in the Baron First Day Declaration. See Baron First Day Decl. ¶ 24. Since

 discussions with the Convertible Noteholders first began, the Debtors have continued to provide

 significant due diligence in order to allow all potential lenders to firm up their proposed financing

 packages. Ultimately, given the execution risk attendant with the Convertible Noteholders’

 proposal, the necessity of commencing these chapter 11 cases prior to or reasonably soon after the




                                                  52
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 53 of 692


 aforementioned maturity dates, the benefits afforded by the DIP Facilities, and the Convertible

 Noteholders’ inability to obtain the committed financing from the third party required to actually

 provide the debtor-in-possession financing prior to the Petition Date, the Debtors had no choice

 but to proceed with the financing provided by the Prepetition Credit Facility Lenders.

                                          Basis for Relief

 I.     The Debtors Should Be Authorized to Obtain Postpetition Financing Through the
        DIP Loan Documents.

        A.      Entry into the DIP Loan Documents Is an Exercise of the Debtors’ Sound
                Business Judgment.

        35.     The Bankruptcy Court should authorize the Debtors, as an exercise of their sound

 business judgment, to enter into the DIP Loan Documents, obtain access to the DIP Facilities, and

 continue using the Cash Collateral. Section 364 of the Bankruptcy Code authorizes a debtor to

 obtain secured or superpriority financing under certain circumstances discussed in detail below.

 Courts grant a debtor-in-possession considerable deference in acting in accordance with its

 business judgment in obtaining postpetition secured credit, so long as the agreement to obtain such

 credit does not run afoul of the provisions of, and policies underlying, the Bankruptcy Code.

 See In re Barbara K. Enters., Inc., Case No. 08-11474, 2008 WL 2439649, at *14

 (Bankr. S.D.N.Y. June 16, 2008) (explaining that courts defer to a debtor’s business judgment “so

 long as a request for financing does not ‘leverage the bankruptcy process’ and unfairly cede control

 of the reorganization to one party in interest”); In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40

 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s discretion under section 364

 [of the Bankruptcy Code] is to be utilized on grounds that permit [a debtor’s] reasonable business

 judgment to be exercised so long as the financing agreement does not contain terms that leverage

 the bankruptcy process and powers or its purpose is not so much to benefit the estate as it is to




                                                 53
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 54 of 692


 benefit a party-in-interest.”); see also In re Republic Airways Holdings Inc., No. 16-10429 (SHL),

 2016 WL 2616717, at *11 (Bankr. S.D.N.Y. May 4, 2016) (“In determining whether to authorize

 post-petition financing, bankruptcy courts will generally defer to the debtor’s business

 judgment.”).

        36.     Specifically, to determine whether the business judgment standard is met, a court

 need only “examine whether a reasonable business person would make a similar decision under

 similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also

 In re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should

 not second guess a debtor’s business decision when that decision involves “a business judgment

 made in good faith, upon a reasonable basis, and within the scope of [the debtor’s] authority under

 the [Bankruptcy] Code”).

        37.     Furthermore, in considering whether the terms of postpetition financing are fair and

 reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

 the potential lender. In re Farmland Indus. 294 B.R. at 886; see also Unsecured Creditors’ Comm.

 Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Elingsen McLean Oil Co., Inc.),

 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have to enter into “hard

 bargains” to acquire funds for its reorganization); Hr’g Tr. at 734-35:24, In re Lyondell Chem. Co.,

 No. 09-10023 (Bankr. S.D.N.Y. Feb. 27, 2009) (recognizing that “the terms that are now available

 for DIP financing in the current economic environment aren’t as desirable” as in the past). The

 Bankruptcy Court may also appropriately take into consideration non-economic benefits to the

 Debtors offered by a proposed postpetition facility. For example, in In re ION Media Networks.

 Inc., the bankruptcy court for the Southern District of New York held that:




                                                 54
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 55 of 692


                Although all parties, including the Debtors and the Committee, are
                naturally motivated to obtain financing on the best possible terms, a
                business decision to obtain credit from a particular lender is almost
                never based purely on economic terms. Relevant features of the
                financing must be evaluated, including non-economic elements such
                as the timing and certainty of closing, the impact on creditor
                constituencies and the likelihood of a successful reorganization.
                This is particularly true in a bankruptcy setting where cooperation
                and establishing alliances with creditor groups can be a vital part of
                building support for a restructuring that ultimately may lead to a
                confirmable reorganization plan. That which helps foster consensus
                may be preferable to a notionally better transaction that carries the
                risk of promoting unwanted conflict.

 Case No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009) (emphasis added).

        38.     The Debtors’ determination to move forward with the DIP Facilities is an exercise

 of their sound business judgment following an arm’s-length process and careful evaluation of

 available alternatives. Specifically, and as further discussed supra, the Debtors and their advisors

 determined that postpetition financing is required to ensure the Debtors are able to continue

 operating and administering their chapter 11 cases through emergence. See Jamal Decl. ¶ 23.

        39.     The proposed DIP financing is inextricably intertwined with the Debtors’ parallel

 efforts to sell substantially all of their assets. The DIP Lenders are willing not only to provide

 desperately needed financing to fund an orderly sale and chapter 11 process, but also to serve as a

 stalking horse bidder, which is essential to the Debtors’ ability to maximize value, as it will ensure

 that they begin the cases with a viable offer in hand that sets a floor for any auction. As part of

 the inducement to the DIP Lenders to serve these multiple roles, the Debtors agreed that the DIP

 financing would be contingent upon the Debtors’ moving forward with an expeditious sale process.

 The DIP Milestones reflect this interdependent relationship, requiring the Debtors to (a) file a sale

 motion and the accompanying stalking horse agreement with the DIP Lenders within 24 hours

 following entry of the Interim DIP Order, and (b) obtain the entry of an order approving the bid

 protections for the benefit of the DIP Lenders as sale bidder within 30 days following the Petition


                                                  55
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 56 of 692


 Date. Meeting these obligations is important to the Debtors’ entire restructuring efforts. The

 Debtors and their advisors, therefore, have determined that the DIP Facilities, which preserve the

 stalking horse bid, are integral and necessary to maintain, preserve, and maximize the value of the

 DIP Collateral and to ensure the Debtors are able to continue operating and administer their chapter

 11 cases through emergence.

        40.     The Debtors negotiated the DIP Credit Agreements and other DIP Loan Documents

 with the DIP Lenders in good faith, at arm’s length, and with the assistance of their advisors. See

 id. ¶¶ 17, 19. The Debtors believe that they have obtained the best financing available because:

 (a) the DIP Facilities permit the Debtors to avoid a value-destructive priming fight; (b) third-party

 lenders were unwilling to provide viable debtor-in-possession financing junior to the secured

 parties under the revolving Prepetition Credit Facilities due to the Debtors’ high level of existing

 secured debt obligations; and (c) the DIP Facilities present the best and only financing available

 to the Debtors, with significant availability, competitive pricing, a six-month maturity date, and an

 actual commitment to fund on substantially completed credit facilities. Accordingly, the Court

 should authorize the Debtors’ entry into the DIP Loan Documents, as it is a reasonable exercise of

 the Debtors’ business judgment.

        B.      The Debtors Should Be Authorized to Grant Liens and Superpriority Claims
                to the DIP Lenders.

        41.     The Debtors propose to obtain financing under the DIP Facilities by providing

 security interests and liens as set forth in the DIP Loan Documents pursuant to section 364(c) of

 the Bankruptcy Code. Specifically, the Debtors propose to provide to the DIP Lenders continuing,

 valid, binding, enforceable, non-avoidable, and automatically and properly perfected postpetition

 security interests in and liens on the DIP Collateral, subject to the Carve Out.




                                                  56
18-13374-mew         Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 57 of 692


        42.     The statutory requirement for obtaining postpetition credit under section 364(c) is

 a finding, made after notice and hearing, that a debtor is “unable to obtain unsecured credit

 allowable under Section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C. § 364(c);

 see In re Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (secured credit under

 section 364(c) of the Bankruptcy Code is authorized, after notice and hearing, upon showing that

 unsecured credit cannot be obtained); see also Pearl-Phil GMT (Far East) Ltd. v. Caldor Corp.,

 266 B.R. 575, 584 (S.D.N.Y. 2001) (superpriority administrative expenses authorized where

 debtor could not obtain credit as an administrative expense). Courts have articulated a three-part

 test to determine whether a debtor is entitled to financing under section 364(c) of the Bankruptcy

 Code. Specifically, courts look to whether:

                e.      the debtor is unable to obtain unsecured credit under section 364(b) of the
                        Bankruptcy Code, i.e., by allowing a lender only an administrative claim;

                f.      the credit transaction is necessary to preserve the assets of the estate; and

                g.      the terms of the transaction are fair, reasonable, and adequate, given the
                        circumstances of the debtor-borrower and proposed lenders.

 See In re Ames Dep’t Stores, 115 B.R. at 37–40; see also In re St. Mary Hosp., 86 B.R. 393, 401-02

 (Bankr. E.D. Pa. 1988); Crouse Grp., 71 B.R. at 549.

        43.     The Debtors meet each part of this test. As described above and as set forth in the

 Jamal Declaration, only the existing Prepetition ABL Lenders were able to offer feasible

 postpetition financing. See Jamal Decl. ¶ 18. Absent the DIP Facilities, which will provide

 certainty that the Debtors will have sufficient liquidity to administer these chapter 11 cases and

 conduct a sale of assets, the value of the Debtors’ estates would be significantly impaired to the

 detriment of all stakeholders. Given the Debtors’ circumstances, the Debtors believe that the terms

 of the DIP Facilities, as set forth in the DIP Loan Agreements, are fair, reasonable, and adequate,




                                                  57
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 58 of 692


 all as more fully set forth below. For all these reasons, the Debtors submit that they have met the

 standard for obtaining postpetition financing.

         44.     In the event that a debtor is unable to obtain unsecured credit allowable as an

 administrative expense under section 503(b)(1) of the Bankruptcy Code, section 364(c) provides

 that a court “may authorize the obtaining of credit or the incurring of debt (1) with priority over

 any or all administrative expenses of the kind specified in section 503(b) or 507(b) of [the

 Bankruptcy Code]; (2) secured by a lien on property of the estate that is not otherwise subject to a

 lien; or (3) secured by a junior lien on property of the estate that is subject to a lien.” As described

 above, the Debtors are unable to obtain unsecured credit. Therefore, approving superpriority

 claims in favor of the DIP Lenders is reasonable and appropriate.

         45.     Further, section 364(d) of the Bankruptcy Code provides that a debtor may obtain

 credit secured by a senior or equal lien on property of the estate already subject to a lien, after

 notice and a hearing, where the debtor is “unable to obtain such credit otherwise” and “there is

 adequate protection of the interest of the holder of the lien on the property of the estate on which

 such senior or equal lien is proposed to be granted.” 11 U.S.C. § 364(d)(1). Accordingly, the

 Debtors may incur “priming” liens under the DIP Credit Facilities if either (a) the Prepetition

 Secured Parties have consented or (b) the Prepetition Secured Parties’ interests in collateral are

 adequately protected. What constitutes adequate protection is decided on a case-by-case basis,

 and adequate protection may be provided in various forms, including payment of adequate

 protection fees, payment of interest, or granting of replacement liens or administrative claims. In

 re Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y. 1996) (“[T]he determination of adequate

 protection is a fact-specific inquiry . . . left to the vagaries of each case.”); In re Realty Sw. Assocs.,

 140 B.R. 360, 366 (Bankr. S.D.N.Y. 1992) (“‘Adequate protection’ is a question of fact because




                                                     58
18-13374-mew       Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                              Pg 59 of 692


 it has as its linchpin the concept of value, and therefore is determined on a case-by-case basis.”)

 (citation omitted); In re Beker Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986) (the

 application of adequate protection “is left to the vagaries of each case, but its focus is protection

 of the secured creditor from diminution in the value of its collateral during the reorganization

 process”) (citation omitted).

        46.     Here, the DIP Lenders are not seeking, and the Interim Order does not provide for,

 priming liens on the Prepetition Term Collateral, and the Prepetition ABL Lenders have consented

 to the priming of their liens through the DIP Facilities. Therefore, the relief requested pursuant to

 section 364(d)(1) of the Bankruptcy Code is appropriate.

        C.      No Comparable Alternative to the DIP Facilities Is Reasonably Available.

        47.     A debtor need only demonstrate “by a good faith effort that credit was not available

 without” the protections afforded to potential lenders by sections 364(c) of the Bankruptcy Code.

 In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber

 Prods., Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). Moreover, in circumstances where only

 a few lenders likely can or will extend the necessary credit to a debtor, “it would be unrealistic and

 unnecessary to require [the debtor] to conduct such an exhaustive search for financing.” In re Sky

 Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d sub nom. Anchor Sav. Bank

 FSB v. Sky Valley, Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989); see also In re Ames Dep’t Stores,

 115 B.R. at 37–39 (debtor must show that it made reasonable efforts to seek other sources of

 financing under section 364(a) and (b)) (citing Snowshoe Co., 789 F.2d at 1088 (demonstrating

 that credit was unavailable absent the senior lien by establishment of unsuccessful contact with

 other financial institutions in the geographic area)); In re Stanley Hotel, Inc., 15 B.R. 660, 663

 (D. Colo. 1981) (bankruptcy court’s finding that two national banks refused to grant unsecured

 loans was sufficient to support conclusion that section 364 requirement was met); In re Ames Dep’t


                                                  59
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 60 of 692


 Stores, 115 B.R. at 37–39 (debtor must show that it made reasonable efforts to seek other sources

 of financing under section 364(a) and (b)); see also In re 495 Central Park Ave. Corp.,

 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992) (debtor testified to numerous failed attempts to procure

 financing from various sources, explaining that “most banks lend money only in return for a senior

 secured position”).

        48.     As noted above, comparable alternative sources of financing are not currently

 available given the realities imposed by the Debtors’ existing capital structure and the Debtors’

 unsuccessful solicitation of viable alternative financing proposals in the timeframe needed.

 Substantially all of the Debtors’ existing assets, including Cash Collateral, are encumbered and

 the Debtors conducted a fulsome marketing process to gauge interest in providing postpetition

 financing.

        49.     Although the Debtors received a bid from the ad hoc group of Convertible

 Noteholders shortly before the Petition Date, ultimately the ad hoc group of Convertible

 Noteholders couldn’t obtain the committed third party financing necessary to make their proposal

 viable. In addition, their proposal was subject to significant conditions, including completion of

 due diligence, an exclusivity period pending close, and a commitment by the third party vessel

 lenders to extend financing agreements—all of which needed to be complete prior to the Petition

 Date. See Jamal Decl. ¶ 18. Moreover, the proposal did not include sufficient funding to purchase

 the inventory owned by Mercuria but used by the Debtors in their business to access fuel inventory

 under the “sleeving” structure. See Baron First Day Decl. ¶ 24.

        50.     Thus, the Debtors determined that the DIP Facilities provide the best opportunity

 available to the Debtors under the circumstances to fund these chapter 11 cases, see Jamal




                                                60
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 61 of 692


 Decl. ¶ 19, and the requirement of section 364 of the Bankruptcy Code that alternative credit on

 more favorable terms be unavailable to the Debtors is satisfied.

 II.    The Debtors Should Be Authorized to Use the ABL Cash Collateral.

        51.     Section 363 of the Bankruptcy Code generally governs the use of estate property.

 Section 363(c)(2)(A) permits a debtor in possession to use cash collateral with the consent of the

 secured party. Here, the Prepetition Secured Lenders consent to the Debtors’ use of the ABL Cash

 Collateral, subject to the terms and limitations set forth in the Interim Order.

        52.     Section 363(e) provides for adequate protection of interests in property when a

 debtor uses cash collateral. Further, section 362(d)(1) of the Bankruptcy Code provides for

 adequate protection of interests in property due to the imposition of the automatic stay. See In re

 Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc).              While section 361 of the

 Bankruptcy Code provides examples of forms of adequate protection, such as granting

 replacement liens and administrative claims, courts decide what constitutes sufficient adequate

 protection on a case-by-case basis. In re Mosello, 195 B.R. at 289 (“[T]he determination of

 adequate protection is a fact-specific inquiry . . . left to the vagaries of each case.”); In re Realty

 Sw. Assocs., 140 B.R. at 366 (“‘Adequate protection’ is a question of fact because it has as its

 linchpin the concept of value, and therefore is determined on a case-by-case basis.”) (citation

 omitted); In re Beker Indus. Corp., 58 B.R. at 736 (the application of adequate protection “is left

 to the vagaries of each case, but its focus is protection of the secured creditor from diminution in

 the value of its collateral during the reorganization process”) (citation omitted).

        53.     As set forth above and in the Interim Order, the Debtors propose to provide the

 Prepetition Secured Parties with a variety of adequate protection to protect against any diminution

 in value of the Prepetition ABL Collateral resulting from the use of the ABL Cash Collateral by




                                                   61
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                                Pg 62 of 692


 the Debtors and the imposition of the automatic stay (the “ABL Adequate Protection

 Obligations”):

                     Valid and automatically perfected replacement liens and security interests in and
                      upon the DIP Collateral;

                     superpriority administrative claims under section 507(b) of the Bankruptcy Code;

                     payment of the fees and expenses of the DIP Lenders’ professionals and any
                      applicable trustees;

                     payment of interest and fees; and

                     periodic interest payments under the applicable Prepetition Credit Facility.

            54.       The Debtors submit that this package is more than sufficient to constitute adequate

 protection as “[a]dequate protection, not absolute protection, is the statutory standard.” In re Beker

 Indus. Corp., 58 B.R. at 741 (citation omitted).

            55.       Therefore, the Debtors submit that the proposed ABL Adequate Protection

 Obligations are sufficient to protect the Prepetition ABL Lenders from any diminution in value to

 the ABL Cash Collateral and the Prepetition ABL Collateral. The Prepetition Lenders agree. In

 light of the foregoing, the Debtors further submit that the proposed ABL Adequate Protection

 Obligations to be provided for the benefit of the Prepetition Secured Parties are appropriate.8 Thus,

 the Debtors’ provision of the ABL Adequate Protection Obligations is not only necessary to protect

 against any diminution in value but is fair and appropriate under the circumstances of these chapter

 11 cases to ensure the Debtors are able to continue using the ABL Cash Collateral, subject to the

 terms and limitations set forth in the Interim Order, for the benefit of all parties in interest and their

 estates.




 8   Pursuant to the Interim Order, the Prepetition Secured Parties are permitted to seek additional adequate protection
     in accordance with the terms thereof.



                                                          62
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 63 of 692


 III.   The Debtors Should Be Authorized to Use Prepetition Term Cash Collateral and
        Make Adequate Protection Payments in Connection Therewith.

        56.     As discussed, Aegean Marine Petroleum Network, Inc. and certain affiliated

 Debtors are party to ten secured prepetition term loan facilities (collectively, the “Prepetition Term

 Loan Facilities”) (each as amended, modified, supplemented, or waived from time to time, and

 together with all ancillary documents, agreements, and notes executed by the obligors in

 connection therewith, the “Prepetition Term Loan Documents” and the obligations thereunder,

 the “Term Obligations”).

        57.     The Prepetition Term Loan Facilities are secured by, among other things, the

 Prepetition Term Cash Collateral and certain vessels mortgaged pursuant to such facilities (such

 vessels, collectively with the Prepetition Term Cash Collateral and the other collateral granted to

 the Prepetition Term Parties under the Newbuilding Secured Documents, the “Prepetition Term

 Collateral”). As discussed in further detail in the Baron Declaration, the Debtors comprise one of

 the largest physical suppliers of marine fuel with a sizable modern fleet of bunkering vessels

 utilized to carry out such operations.       See Baron Decl. ¶ 20.        There are approximately

 40 vessel-owning entities in the Debtors’ corporate structure, all of which are Debtors in these

 chapter 11 cases. See Baron Decl. ¶ 21. Loss of any vessels in the Debtors’ fleet would be

 detrimental to continuing operations in the ordinary course of business and would result in a loss

 of value to the estates. With this in mind, the Debtors proposed prepetition stipulations with all of

 the secured lenders under the Prepetition Term Loan Facilities (collectively, the “Prepetition Term

 Parties”) to ensure that such parties would not foreclose on the vessels upon filing.

        A.      The Consensual Adequate Protection Stipulations Are Reasonable and
                Necessary for the Debtors to Continue Operations.

        58.     ABB Adequate Protection. The Debtors were ultimately able to come to the terms

 of a consensual agreement regarding the use of the vessels and related cash collateral with certain


                                                  63
18-13374-mew         Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 64 of 692


 of the Prepetition Term Parties under four of the Prepetition Term Loan Facilities, including HSH

 Nordbank AG, as lender (holding in excess of 60% of the aggregate Prepetition Term Loan

 Debt), and Aegean Baltic Bank, as lender and agent (together with the other secured parties under

 such Prepetition Term Loan Facilities, collectively, the “ABB Parties”). Under the agreed ABB

 Adequate Protection Order (as defined below) and as described more fully therein, the Debtors

 propose to provide a variety of adequate protection to protect the ABB Parties from any diminution

 in value of their Prepetition Term Collateral resulting from the use of such collateral by the Debtors

 and the imposition of the automatic stay (collectively, the “ABB Adequate Protection”) as follows:

                a.      solely to the extent of, and in an aggregate amount equal to, any diminution
                        in value of the ABB Parties’ respective interests in the applicable
                        Prepetition Term Collateral resulting from, among other things, the use, sale
                        or lease by the Debtors of such ABB Prepetition Collateral (including the
                        use of the applicable ABB Prepetition Cash Collateral) and/or the
                        imposition or enforcement of the automatic stay provided for under section
                        362(a) of the Bankruptcy Code from and after the Petition Date, the ABB
                        Parties are granted security interests and liens pursuant to sections 361(2),
                        363(c)(2), and 363(e) of the Bankruptcy Code;

                b.      superpriority administrative claims under section 503(b) and 507(b) of the
                        Bankruptcy Code;

                c.      payment of interest and fees at non-default rates under the applicable
                        Prepetition Term Loan Documents (it being understood that interest shall
                        accrue at the default rate to the fullest extent permitted under the
                        Bankruptcy Code, with all rights to object thereto fully preserved); and

                d.      payment of the fees and expenses of the ABB Parties’ professionals.

 A more detailed description of the ABB Adequate Protection can be found in the Interim Order

 (I) Granting Adequate Protection to Aegean Baltic Bank S.A., as Agent (II) Authorizing Use of

 Cash Collateral, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief, filed

 contemporaneously herewith (the “ABB Adequate Protection Order”), a form of which is attached

 hereto as Exhibit C.




                                                  64
18-13374-mew         Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 65 of 692


        59.     NBG Adequate Protection. In addition to the ABB Adequate Protection Order, the

 Debtors were ultimately able to come to the terms of a consensual agreement regarding the use of

 the vessels and related cash collateral with the National Bank of Greece S.A. (“NBG”), as lender

 to the Second 2006 Newbuilding Secured Term Loan Agreement, on substantially similar terms

 as the ABB Parties. As one of the Prepetition Term Loan Facilities, NBG holds the Prepetition

 Term Collateral that is subject to the secured loan facility relating to the Second 2006 Newbuilding

 Secured Term Loan Agreement. Under the agreed stipulation with NBG (the “NBG Stipulation”)

 and as described more fully in the Interim NBG Adequate Protection Order (as defined below),

 the Debtors propose to provide a variety of adequate protection to protect NBG from any

 diminution in value of the Prepetition Term Collateral secured by NBG resulting from the use of

 such collateral by the Debtors and the imposition of the automatic stay, subject, in each case, to

 the Carve Out (collectively, the “NBG Adequate Protection”) as follows:

                a.      solely to the extent of, and in an aggregate amount equal to, any diminution
                        in value of NBG’s respective interests in the applicable Prepetition Term
                        Collateral resulting from, among other things, the use, sale or lease by the
                        Debtors of such NBG Prepetition Collateral (including the use of the
                        applicable NBG Prepetition Cash Collateral) and/or the imposition or
                        enforcement of the automatic stay provided for under section 362(a) of the
                        Bankruptcy Code from and after the Petition Date, NBG (or the respective
                        agent on its behalf) is granted security interests and liens pursuant to
                        sections 361(2), 363(c)(2), and 363(e) of the Bankruptcy Code;

                b.      superpriority administrative claims under section 503(b) and 507(b) of the
                        Bankruptcy Code;

                c.      payment of interest and fees at non-default rates under the applicable
                        Prepetition Term Loan Documents; and

                d.      payment of the fees and expenses of the NBG’s professionals and any
                        applicable trustees.

 A more detailed description of the NBG Adequate Protection can be found in the Interim Order

 (I) Granting Adequate Protection to National Bank of Greece S.A., (II) Authorizing Use of Cash



                                                 65
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 66 of 692


 Collateral, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief, filed

 contemporaneously herewith (the “NBG Adequate Protection Order”), and attached hereto as

 Exhibit D.

        60.     The critical liquidity provided by the proposed DIP Facilities not only permits the

 Debtors to continue as a going concern, but also grants additional adequate protection to the

 Prepetition Term Parties. Cf. In re Salem Plaza Assocs., 135 B.R. at 758 (holding that debtor’s

 use of cash collateral from shopping center to pay operating expenses, thereby “preserv[ing] the

 base that generates the income stream,” provided adequate protection to the secured creditor);

 In re Constable Plaza Assocs., L.P., 125 B.R. at 104–05 (finding equity cushion alone was

 adequate protection when cash collateral was used to preserve value of a building pledged as

 collateral and noting such use would “preserve or enhance the value of the building which, in turn,

 will protect the collateral covered by [the] mortgage”). As set forth in the Jamal Declaration, the

 Debtors believe the likely alternative available to these chapter 11 cases would be a liquidation of

 the Debtors’ assets, rather than the Debtors’ continued operation. See Jamal Decl. ¶ 12.

        61.     Courts have held enhancement of collateral is a critical component of adequate

 protection and have considered “whether the value of the debtor’s property will increase as a result

 of the” use of the collateral. In re 495 Cent. Park Ave. Corp., 136 B.R. 626 (Bankr. S.D.N.Y.

 1992) (finding that improvements to collateral financed by postpetition financing proceeds would

 improve collateral value in excess of loans and, therefore, provided adequate protection); see In re

 Hubbard Power & Light, 202 B.R. 680 (Bankr. E.D.N.Y. 1996) (approving postpetition financing

 to be used, in part, to fund cleanup costs of encumbered property anticipated to improve the value

 of the collateral, thereby serving the goal of adequate protection).




                                                  66
18-13374-mew         Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                            Pg 67 of 692


        62.     The Debtors’ core business involves the physical supply of marine fuel via

 vessel-to-vessel delivery. See Baron Decl. ¶ 22. Accordingly, the Debtors will be unable to

 conduct a pivotal part of their businesses if they are unable to use the vessels provided as collateral

 under the Prepetition Term Loan Facilities. Indeed, absent the granting of the ABB and NBG

 Adequate Protection, the ABB Parties and NBG are likely to foreclose on their collateral or take

 other action detrimental to the value of the enterprise. See Baron Decl. ¶ 81. For these reasons,

 the Debtors submit that it is in their best interest and appropriate in these circumstances to grant

 the requested HSH-ABB and NBG Adequate Protection in favor of the ABB Parties and NBG.

        B.      The Remaining Prepetition Term Parties Should Also be Provided Adequate
                Protection.

        63.     As discussed, foreclosure of any vessels by the Prepetition Term Parties would

 result in critical disruption to the Debtors’ operations. Although the Debtors have not entered into

 consensual stipulations with the remaining Prepetition Term Parties, it is crucial to the Debtors’

 continued operations that the Court allow the Debtors to continue to use the vessels and any related

 Prepetition Term Cash Collateral in exchange for the following:

                a.      cash payment of all accrued and unpaid interest, at the applicable
                        non-default rates provided in the respective Prepetition Term Loan
                        Documents; and

                b.      continued maintenance of and appropriate insurance on the applicable
                        collateral in amounts consistent with the Debtors’ prepetition practices as
                        set forth in the applicable Prepetition Term Loan Documents.

        64.     The purpose of adequate protection is to protect a preexisting lienholder against a

 decrease in the value of its collateral. See In re Hubbard Power & Light, 202 B.R. 680, 685 (Bankr.

 E.D.N.Y. 1996). Courts have held that the prepetition lender’s secured interest is adequately

 protected even with a priming postpetition loan when the enhanced value from postpetition

 financing would improve the value of the collateral and provide adequate protection. See In re



                                                   67
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 68 of 692


 Charles J. Mosello, 195 B.R. 377 (S.D.N.Y. 1996). Here, the DIP Lenders are not priming the

 Prepetition Term Parties; instead, they are agreeing to take junior liens on the Prepetition Term

 Collateral and provide the liquidity necessary for the Debtors to continue performing under the

 Prepetition Term Loan Documents. The Prepetition Term Parties’ interests in the Prepetition Term

 Collateral will be enhanced by the DIP Facilities, which provide the estates with additional value

 that will enable continued performance under the Prepetition Term Loan Documents.

        65.     In addition, absent continued performance under the Prepetition Term Loan

 Documents, there is a material risk that the Prepetition Term Parties will foreclose on the vessels

 subject to their collateral packages. See Baron Decl. ¶ 81. Because many of the other Prepetition

 Term Parties do not have a presence in the United States, and because most of the vessels are

 located in jurisdictions that neither recognize the Bankruptcy Code nor the automatic stay, there is

 a risk that the Debtors will not be able to protect their vessels from seizure and/or deterioration in

 value. This risk will increase if the Debtors are unable to continue making regularly scheduled

 payments under the relevant Prepetition Term Loan Documents in the ordinary course of business,

 or if the Debtors fail to comply with the terms of the Prepetition Term Loan Documents (such as

 by, for example, failing to maintain the vessels in operating condition).

        66.     Such an outcome would, in turn, undoubtedly decrease the value available for all

 stakeholders. Thus, the Debtors should be permitted to continue cash interest payments and

 maintain the applicable Prepetition Term Collateral, and such payments and maintenance should

 be deemed sufficient protection of the Prepetition Term Parties’ collateral to enable the Debtors to

 continue utilizing the Prepetition Term Collateral, including the Prepetition Term Cash Collateral.




                                                  68
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                            Pg 69 of 692


         67.     For these reasons, the Debtors submit that the adequate protection as described

 herein is fair and reasonable, and is sufficient to satisfy the requirements of section 363(c)(2) of

 the Bankruptcy Code.

 IV.     The Debtors Should Be Authorized to Pay the Fees Required by the DIP Agents and
         the DIP Lenders Under the DIP Loan Documents.

         68.     Under the DIP Loan Documents, the Debtors have agreed, subject to Bankruptcy

 Court approval, to pay certain fees to the DIP Agents and the DIP Lenders (together, the “DIP

 Parties”). The Debtors and the DIP Parties agree that these fees are an integral component of the

 overall terms of the DIP Facilities, and required by the applicable DIP Parties as consideration for

 the extension of postpetition financing. See Jamal Decl. ¶ 24. In addition, the Debtors considered

 the fees when determining, in their sound business judgment, that the DIP Documents constituted

 the best terms on which the Debtors could obtain the postpetition financing necessary to continue

 their operations and prosecute their chapter 11 cases. They determined that paying these fees in

 order to obtain the DIP Financing is in the best interests of the Debtors’ estates, creditors, and other

 parties in interest. Accordingly, the Bankruptcy Court should authorize the Debtors to pay the fees

 provided under the DIP Loan Documents in connection with entering into those agreements.

 V.      The Debtors’ Proposed Repayment of Prepetition Indebtedness Should Be
         Approved.

         69.     As set forth above, the Prepetition Secured Parties—as part of the DIP Facilities—

 have agreed to continue lending on terms similar to those of the Prepetition ABL Agreements on

 a postpetition basis. As a condition to this borrowing, the Prepetition Secured Parties will continue

 lending on these terms only upon entry of an Interim Order and approval of an ABL DIP Facility

 that authorize the Debtors to (a) immediately upon entry of the Interim Order, convert 50% of the

 Prepetition Secured Obligations to DIP Obligations, (b) between entry of the Interim Order and

 entry of the Final Order, deem all post-petition collections of U.S. Prepetition ABL Collateral and


                                                   69
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                           Pg 70 of 692


 DIP U.S. ABL Collateral to pay down the U.S. Prepetition Credit Facility on a dollar-for-dollar

 basis and, contemporaneously therewith, increase availability under the U.S. DIP Revolving Credit

 Facility, subject to compliance with any applicable borrowing base limitations as set forth herein,

 by a corresponding amount, (c) between entry of the Interim Order and entry of the Final Order,

 deem post-petition collections of Global Prepetition ABL Collateral and the DIP Global ABL

 Collateral to pay-down the Global Prepetition Credit Facility on a dollar-for-dollar basis and,

 contemporaneously therewith, increase availability under the Global DIP Revolving Credit

 Facility, subject to compliance with any applicable borrowing base limitations as set forth herein,

 by a corresponding amount, and (d) upon entry of the Final Order, convert any outstanding

 Prepetition ABL Obligations to DIP Obligations.

        70.      The DIP Lenders made it clear that they were unwilling to continue to lend

 postpetition without the repayment of their prepetition claims in the amounts and at the intervals

 set forth in the Interim Order and herein. Moreover, the Debtors’ agreement to “roll-up” the

 Prepetition ABL Facilities will benefit the Estates by, among other things, creating greater

 availability under the DIP Facilities—including up to $72 million in new-money financing—and

 facilitating the DIP Lenders’ agreement to make certain revisions to the borrowing base and waive

 certain defaults. Further, the Debtors were unable to obtain an offer for debtor-in-possession

 financing on similar terms that did not provide for the repayment of the Prepetition ABL Facilities

 in full. Thus, after careful consideration of all available alternatives, the Debtors determined that

 such repayments were necessary to obtain access to the DIP Facilities which will benefit all

 stakeholders.

        71.      Courts consider a number of factors when determining whether to authorize

 repayment of prepetition debt into postpetition financing facilities, including whether: (a) the




                                                  70
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                            Pg 71 of 692


 proposed financing is an exercise of sound and reasonable business judgment; (b) no alternative

 financing is available on any other basis; (c) the financing is in the best interests of the estate and

 its creditors; (d) no better offers, bids, or timely proposals are before the court; (e) the credit

 transaction is necessary to preserve the assets of the estate; (f) the terms of the transaction are fair,

 reasonable, and adequate, given the circumstances of the debtor and proposed lender(s); (g) the

 financing is necessary, essential, and appropriate for the continued operating of the debtors’

 business and the preservation of their estates; and (h) the financing agreement was negotiated in

 good faith and at arm’s-length between the debtors and the proposed lenders. See In re Farmland

 Indus., Inc., 294 B.R. at 879–80.

         72.     Without the incremental liquidity under the DIP Loans Facility to pay down the

 postpetition indebtedness under the DIP Facilities, and the continued access to an asset-based

 lending facility to fund the administration of these chapter 11 cases, support foreign operations,

 finance operational restructuring and cost-savings initiatives, and, importantly, make payments to

 the Debtors’ vendors and other participants in the Debtors’ supply chain to support the Debtors in

 their businesses, the Debtors’ businesses would seize and it would likely be forced to liquidate.

 Maintaining the ability to continue as a going concern is of immense benefit to the Debtors’ estates

 and will maximize value for the benefit of all of its stakeholders. See Jamal Decl. ¶¶ 11, 12.

         73.     Recognizing exigent circumstances like those described above, courts in this

 district, as well as elsewhere, have approved repayments funded by debtor-in-possession financing

 proceeds in recent chapter 11 cases on an interim and final basis. See, e.g., In re BCBG Max Azria

 Global Holdings, LLC, Case No. 17-10466 (SCC) (Bankr. S.D.N.Y. Mar. 2, 2017) (approving

 interim roll-up of $35 million); In re Avaya Inc., Case No. 17-10089 (SMB) (Bankr. S.D.N.Y. Jan.

 23, 2017) (approving interim roll-up of $105 million); In re Aéropostale, Inc., Case No. 16-11275




                                                    71
18-13374-mew           Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                                 Pg 72 of 692


 (Bankr. S.D.N.Y. May 6, 2016) (approving interim roll-up of $78 million); In re Chassix Holdings,

 Inc., Case No. 15-10578 (MEW) (Bankr. S.D.N.Y. Mar. 13, 2015) (approving interim roll-up of

 $135 million); In re United Retail Grp, Inc., Case No. 12-10405 (SMB) (Bankr. S.D.N.Y. Feb. 3,

 2012) (approving interim roll-up of $11.5 million); In re Uno Rest. Holdings Corp., Case

 No. 10-10209 (MG) (Bankr. S.D.N.Y. Feb. 18, 2010) (approving interim roll-up of

 $33.9 million).9

           74.      Importantly, the Interim Order provides that the portion of the Roll-Up effective

 upon entry of the Interim Order is subject to Local Rule 4001-2(g)(5), which reserves the right of

 the Court to unwind or partially unwind the pay down of the prepetition debt in the event there is

 a timely and successful challenge to the validity, enforceability, extent, perfection or priority of a

 prepetition lender’s claims or liens, or a determination that prepetition debt was undersecured as

 of the petition date, and the cross-collateralization or rollup unduly advantaged the lender.

           75.      Consistent with this authority, the Debtors respectfully submit that the Bankruptcy

 Court should approve the Debtors’ decision to enter into the DIP Facilities, including the required

 repayment of the Prepetition ABL Obligations.

 VI.       The Debtors Should Be Authorized to Provide the Superpriority Claims Pursuant to
           Section 364 of the Bankruptcy Code.

           76.      Section 364 of the Bankruptcy Code authorizes a debtor to obtain “credit” on a

 superpriority or senior secured basis when obtaining such credit on other terms is unavailable.

 11 U.S.C. §§ 364(c), (d). Courts generally afford debtors considerable deference to determine, in

 their business judgment, the terms under which they obtain postpetition secured credit. See, e.g.,




 9     Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
       Copies of these orders are available upon request of the Debtors’ proposed counsel.



                                                          72
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                            Pg 73 of 692


 In re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011); In re Curlew Valley Assocs.,

 14 B.R. 506, 513-14 (Bankr. D. Utah 1981).

         77.     To provide the necessary comfort to the Hedging Counterparties that the Debtors

 will be able to honor commitments under the Postpetition Hedging Practices, the Debtors seek

 authority to provide the Superpriority Claims on account of the Postpetition Hedging Obligations.

 Courts in various jurisdictions have approved similar relief. See, e.g., In re PES Holdings, LLC,

 Case No. 18-10122 (KG) (Bankr. D. Del. Feb. 26, 2018); In re Linn Energy, LLC, Case No.

 16-60040 (DRJ) (Bankr. S.D. Tex. May 17, 2016); In re Penn Va. Corp., et al., Case No. 16-32395

 (KLP) (Bankr. E.D. Va. May 13, 2016); In re Energy Future Holdings Corp., Case No. 14-10979

 (CSS) (Bankr. D. Del. June 30, 2014); In re Calpine Corp., Case No. 05-60200 (BRL)

 (Bankr. S.D.N.Y. Dec. 21, 2005).

         78.     Providing the Superpriority Claims is not unduly burdensome on the Debtors, and

 the Debtors believe these grants are necessary to commence the Postpetition Hedging Practices,

 which are essential both to the stability of the Debtors’ businesses and the success of the Debtors’

 restructuring. In light of the foregoing, the Debtors believe that authorizing the Debtors to provide

 the Superpriority Claims on account of the Postpetition Hedging Practices will preserve the value

 of the Debtors’ estates and is, therefore, appropriate and in the best interests of the Debtors, their

 estates, and all parties in interest in these chapter 11 cases.

 VII.    The DIP Lenders Should Be Deemed Good-Faith Lenders Under Section 364(e)

         79.     Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

 collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

 authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

 appeal. Section 364(e) of the Bankruptcy Code provides that:




                                                    73
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                           Pg 74 of 692


                The reversal or modification on appeal of an authorization under this
                section [364 of the Bankruptcy Code] to obtain credit or incur debt,
                or of a grant under this section of a priority or a lien, does not affect
                the validity of any debt so incurred, or any priority or lien so granted,
                to an entity that extended such credit in good faith, whether or not
                such entity knew of the pendency of the appeal, unless such
                authorization and the incurring of such debt, or the granting of such
                priority or lien, were stayed pending appeal.

        80.     As one court in this district explained, “the misconduct that would destroy a

 purchaser’s good faith status at a judicial sale involves fraud, collusion between the purchaser and

 other bidders or the trustee, or an attempt to take grossly unfair advantage of other bidders.”

 In re Pan Am Corp., Case No. 91 CIV. 8319 (LMM), 1992 WL 154200, at *4 (S.D.N.Y. June 18,

 1992) (citing In re Rock Indus. Mach. Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)); accord In re

 Gen. Growth Properties, Inc., 423 B.R. 716, 722 (S.D.N.Y. 2010).

        81.     As explained herein, and in the Baron First Day Declaration, the DIP Loan

 Documents are the result of: (a) the Debtors’ reasonable and informed determination that the DIP

 Lenders offered the most favorable terms on which to obtain vital postpetition financing, and

 (b) arm’s-length, good-faith negotiations between the Debtors and the DIP Agents and

 DIP Lenders. See Baron First Day Decl. ¶ 7; Jamal Decl. ¶ 17, 18. The Debtors submit that the

 terms and conditions of the DIP Loan Documents are reasonable and appropriate under the

 circumstances, and the proceeds of the DIP Facilities will be used only for purposes that are

 permissible under the Bankruptcy Code. Further, no consideration is being provided to any party

 to the DIP Loan Documents other than as described herein. Accordingly, the Bankruptcy Court

 should find that the DIP Lenders are “good faith” lenders within the meaning of section 364(e) of

 the Bankruptcy Code and are entitled to all of the protections afforded by that section.




                                                   74
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 75 of 692


 VIII. The Automatic Stay Should Be Modified on a Limited Basis.

        82.     The proposed Interim Order provides that the automatic stay provisions of

 section 362 of the Bankruptcy Code will be modified to allow the DIP Lenders to file any financing

 statements, security agreements, notices of liens, and other similar instruments and documents to

 validate and perfect the liens and security interests granted to them under the Interim Order. The

 proposed Interim Order further provides that the automatic stay is modified as necessary to permit

 the Debtors to grant the DIP Liens to the DIP Lenders and to incur all liabilities and obligations

 set forth in the Interim Order. Finally, the proposed Interim Order provides that, following the

 occurrence of an Event of Default, the automatic stay shall be vacated and modified to the extent

 necessary to permit the DIP Agents to exercise all rights and remedies in accordance with the DIP

 Loan Documents, or applicable law.

        83.     Stay modifications of this kind are ordinary and standard features of

 debtor-in-possession financing arrangements, and, in the Debtors’ business judgment, are

 reasonable and fair under the circumstances of these chapter 11 cases. See, e.g., In re BCBG Max

 Azria Global Holdings, LLC, Case No. 17-10466 (SCC) (Bankr. S.D.N.Y. Mar. 28, 2017); In re

 Avaya, Inc., Case No. 17-10089 (SMB) (Bankr. S.D.N.Y. Mar. 10, 2017); In re Dacco

 Transmission Parts (NY), Inc., Case No. 16-13245 (MKV) (Bankr. S.D.N.Y. December 23, 2016);

 In re Breitburn Energy Partners LP, Case No. 16-11390 (SMB) (Bankr. S.D.N.Y. August 19,

 2016); In re Aéropostale, Inc., Case No. 16-11275 (SHL) (Bankr. S.D.N.Y. June 13, 2016).

 IX.    Failure to Obtain Immediate Interim Access to the DIP Facilities and
        Cash Collateral Would Cause Immediate and Irreparable Harm.

        84.     Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

 obtain credit pursuant to section 364 of the Bankruptcy Code or to use cash collateral pursuant to

 section 363 of the Bankruptcy Code may not be commenced earlier than 14 days after the service



                                                75
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                            Pg 76 of 692


 of such motion. Upon request, however, the Bankruptcy Court may conduct a preliminary,

 expedited hearing on the motion and authorize the obtaining of credit and use of cash collateral to

 the extent necessary to avoid immediate and irreparable harm to a debtor’s estate.

        85.     For the reasons noted above, the Debtors have an immediate postpetition need to

 use the Cash Collateral and to borrow up to $532 million under the DIP Loan Documents. The

 Debtors anticipate that the commencement of these chapter 11 cases will significantly and

 immediately increase the demands on its liquidity as a result of, among other things, the costs of

 administering these chapter 11 cases, implementing critical restructuring initiatives, and

 addressing key constituents’ concerns regarding the Debtors’ financial health and ability to

 continue operations in light of these chapter 11 cases. Said differently, the Debtors cannot

 maintain the value of their estates during the pendency of these chapter 11 cases without access to

 liquidity and cannot otherwise fund these chapter 11 cases without access to Cash Collateral and

 the DIP Facilities. In short, the Debtors’ ability to administer these chapter 11 cases through the

 use of Cash Collateral is vital to preserve and maximize the value of the Debtors’ estates, and

 without access to the DIP Facilities and Cash Collateral, they would suffer immediate and

 irreparable harm to the detriment of all creditors and parties in interest.

        86.     The Debtors request that the Bankruptcy Court hold and conduct a hearing to

 consider entry of the Interim Order authorizing the Debtors, from and after entry of the Interim

 Order until the Final Hearing, to receive initial funding under the DIP Facilities. Accordingly, the

 Debtors believe that this relief will enable it to preserve and maximize value and, therefore, avoid

 immediate and irreparable harm and prejudice to the Debtors’ estates and all parties in interest,

 pending the Final Hearing. See Jamal Decl. ¶ 11.




                                                   76
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                            Pg 77 of 692


                                      Request for Final Hearing

         87.     Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

 the Bankruptcy Court set a date for the Final Hearing that is as soon as practicable, and in no event

 after 25 days after the Petition Date, and fix the time and date prior to the Final Hearing for parties

 to file objections to this Motion.

                         Waiver of Bankruptcy Rule 6004(a) and 6004(h)

         88.     To implement the foregoing successfully, the Debtors request that the Court enter

 an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

 that the Debtors have established cause to exclude such relief from the 14-day stay period under

 Bankruptcy Rule 6004(h).

                                           Motion Practice

         89.     This Motion includes citations to the applicable rules and statutory authorities upon

 which the relief requested herein is predicated and a discussion of their application to this Motion.

 Accordingly, the Debtors submit that this Motion satisfies Local Rule 9013-1(a).

                                                 Notice

         90.     Notice of the hearing on the relief requested in the Motion has been provided by

 the Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as the

 Local Rules, and is sufficient under the circumstances. Without limiting the forgoing, due notice

 was afforded, whether by facsimile, electronic mail, overnight courier or hand delivery, to

 parties-in-interest, including (a) the United States Trustee for the Southern District of New York;

 (b) entities listed as holding the 30 largest unsecured claims against the Debtors (on a consolidated

 basis); (c) the agents for each of the Debtors’ prepetition secured credit facilities; (d) the indenture

 trustee for each of the Debtors’ unsecured notes; (e) the DIP Agents; (f) counsel to the parties

 referenced in clauses (c) through (e); (g) counsel to the ad hoc group of holders of convertible


                                                   77
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                           Pg 78 of 692


 unsecured notes; (h) counsel to Mercuria US Asset Holdings LLC; (i) counsel to Mercuria Energy

 Trading S.A.; (j) the United States Attorney’s Office for the Southern District of New York; (k) the

 Internal Revenue Service; (l) the United States Securities and Exchange Commission; (m) the

 Environmental Protection Agency and all similar state environmental agencies for states in which

 the Debtors conduct business; (n) the attorneys general in the states where the Debtors conduct

 their business operations; (o) counsel for the Prepetition Term Parties, (p) any other notice parties

 required under any Prepetition Term Loan Document; (q) all parties which, to the best of the

 Debtors’ knowledge, information, and belief, have asserted or may assert a lien in the Debtors’

 assets; and (r) any party that has requested notice pursuant to Bankruptcy Rule 2002 (collectively,

 the “Notice Parties”). The Debtors submit that, in light of the nature of the relief requested, no

 other or further notice need be given.

                                          No Prior Request

        91.     No prior request for the relief sought in this Motion has been made to this or any

 other court.

                            [Remainder of page intentionally left blank.]




                                                  78
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 79 of 692


        WHEREFORE, the Debtors respectfully request that the Court enter the Orders, granting

 the relief requested in this Motion and granting such other and further relief as is appropriate under

 the circumstances.

 New York, New York                              /s/ Jonathan S. Henes, P.C.
 Dated: November 6, 2018                         James H.M. Sprayregen, P.C.
                                                 Jonathan S. Henes, P.C.
                                                 Cristine Pirro Schwarzman
                                                 KIRKLAND & ELLIS LLP
                                                 KIRKLAND & ELLIS INTERNATIONAL
                                                 LLP
                                                 601 Lexington Avenue
                                                 New York, New York 10022
                                                 Telephone:      (212) 446-4800
                                                 Facsimile:      (212) 446-4900
                                                 - and -
                                                 Marc Kieselstein, P.C.
                                                 Ross M. Kwasteniet, P.C. (pro hac vice pending)
                                                 Adam C. Paul, P.C. (pro hac vice pending)
                                                 W. Benjamin Winger (pro hac vice pending)
                                                 KIRKLAND & ELLIS LLP
                                                 KIRKLAND & ELLIS INTERNATIONAL
                                                 LLP
                                                 300 North LaSalle Street
                                                 Chicago, Illinois 60654
                                                 Telephone:      (312) 862-2000
                                                 Facsimile:      (312) 862-2200

                                                 Proposed Counsel to the Debtors and Debtors in
                                                 Possession
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                     Pg 80 of 692


                               EXHIBIT A to the DIP Motion

                                  Proposed Interim Order
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                               Pg 81 of 692


                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK

                                                              )
 In re:                                                       )       Chapter 11
                                                              )
 AEGEAN MARINE PETROLEUM                                      )       Case No. 18-13374 ([ ])
 NETWORK INC., et al.,1
                                                              )
                                    Debtors.                  )       (Joint Administration Requested)
                                                              )

                     INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105,
                      361, 362, 363, 364, 503 AND 507 (I) AUTHORIZING
                  THE DEBTORS TO OBTAIN SENIOR SECURED PRIMING
              SUPERPRIORITY POSTPETITION FINANCING, (II) GRANTING
           LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
            (III) AUTHORIZING USE OF CASH COLLATERAL, (IV) GRANTING
           ADEQUATE PROTECTION, (V) MODIFYING THE AUTOMATIC STAY;
     (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors-in-

 possession (collectively, the “Debtors”) pursuant to sections 105, 361, 362, 363, 364(c)(1),

 364(c)(2) and 364(c)(3), 364(d), 364(e), and 507 of title 11 of the United States Code (the

 “Bankruptcy Code”), Rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy

 Procedure (as amended, the “Bankruptcy Rules”), and Rules 2002-1, 4001-2, 9006-1, 9013-1,

 9014-1 and 9014-2 of the Local Bankruptcy Rules (the “Local Rules”) for the United States

 Bankruptcy Court for the Southern District of New York (this “Court”), inter alia requesting,

 among other things:

          (1)      authorization for the Borrowers (as defined in DIP Loan Agreements) to obtain

 postpetition financing pursuant to the DIP Facilities (defined below), and for each of the Debtors

 1    A complete list of such information may be obtained on the website of the Debtors’ proposed claims and
      noticing agent at http://dm.epiq11.com/aegean.

 2    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion or DIP
      Loan Documents (as defined herein), as applicable.
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 82 of 692


 to guarantee unconditionally (the “Guarantors”), on a joint and several basis, and subject to the

 terms and limitations set forth in the DIP Loan Documents in all respects the Borrowers’

 obligations in connection with the DIP Facilities, consisting of:

         a) a senior secured super-priority multiple delayed draw term loan credit facility (the
            “DIP Term Loan Facility”), on the terms and conditions to be set forth in the U.S.
            DIP Agreement (as defined below), in an aggregate principal amount of $72,000,000
            in term loan commitments (the “DIP Term Loan Commitment”) which shall be
            available as term loans (the “DIP Term Loans”) to the U.S. Borrower upon entry of
            the Interim Order, and subject to the Closing Date (as defined in the U.S. DIP
            Agreement), in an amount not to exceed $40,000,000 (the “Initial DIP Term Loan”)
            and the maximum amount allowed to be drawn by the U.S. Borrower for such period
            consistent with the U.S. DIP Credit Agreement.

         b) a senior secured super-priority asset-based revolving credit facility (the “U.S. DIP
            Revolving Credit Facility,” and together with the DIP Term Loan Facility, the “U.S.
            DIP Credit Facilities”), on the terms and conditions to be set forth in a Superpriority
            Secured Debtor-In-Possession Credit Agreement substantially in the form annexed
            hereto as Exhibit A (as the same may be amended, restated, supplemented, waived,
            extended or otherwise modified from time to time, the “U.S. DIP Agreement,” and
            together with any other related agreements, documents, security agreements, or
            pledge agreements, the “U.S. DIP Documents”), by and among Aegean Bunkering
            (USA) LLC, as U.S. Borrower, the Guarantors, ABN AMRO Capital USA LLC, as
            Administrative Agent, Collateral Agent, Swing Line Lender and Issuing Bank, and
            Mercuria US Asset Holdings LLC, as U.S. Lender, in an initial aggregate principal
            amount (subject to availability), and together with the outstanding amounts under the
            U.S. Prepetition Credit Facility (as defined in the Motion), of $160,000,000 in
            revolving commitments (the “U.S. Revolving Commitments”, and the loans
            outstanding under the U.S. Revolving Commitments from time to time, the “U.S.
            Revolving Loans”), including a $50,000,000 million sublimit for the issuance of
            letters of credit (“U.S. Letters of Credit”) and Swing Line Loans (as defined in US
            DIP Credit Facilities), available from time to time until the maturity date of the U.S.
            DIP Revolving Credit Facility; and

         c) a senior secured super-priority asset-based revolving credit facility (the “Global DIP
            Revolving Credit Facility,” and together with the U.S. DIP Credit Facilities, the “DIP
            Facilities”), on the terms and conditions to be set forth in an Amendment and
            Restatement Agreement substantially in the form annexed as Exhibit B hereto (as the
            same may be amended, restated, supplemented, waived, or otherwise modified from
            time to time, the “Global DIP Agreement,”3 and together with any other related
            agreements, documents, security agreements, or pledge agreements, the “Global DIP

 3   The Global DIP Agreement and the U.S. DIP Agreement are referred to collectively herein as the “DIP Loan
     Agreements.”




                                                       2
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                            Pg 83 of 692


              Documents”), by and among the Global Borrowers, the Guarantors, non-debtor
              guarantors party thereto, ABN AMRO Bank, N.V., as Facility Agent, Collateral
              Management Agent, Security Agent, Issuing Bank and Overdraft Bank, and Mercuria
              Energy Trading S.A., as Lender, in an initial aggregate principal amount (subject to
              availability), together with the outstanding amounts under the Global Prepetition
              Credit Facility (as defined in the Motion and, together with the U.S. Prepetition
              Credit Facility, the “Prepetition Credit Facilities”), of $300,000,000 in revolving
              commitments (the “Global Revolving Commitments” and the loans outstanding under
              the Global Revolving Commitments from time to time, the “Global Revolving
              Loans,” together with the U.S. Revolving Loans, the “Revolving Loans”), including a
              $100,000,000 million sublimit for the issuance of letters of credit (“Global Letters of
              Credit” and, together with the U.S. Letters of Credit, collectively, the “Letters of
              Credit”), available from time to time until the maturity date under the Global DIP
              Revolving Credit Facility; and

        d) a Roll-Up (as defined below) of the Prepetition Secured Obligations (as defined
           below) whereby the Prepetition Secured Obligations shall become DIP Obligations
           (as defined below) in the amounts and at the intervals set forth herein, and subject to
           the terms and conditions hereof and as set forth in the DIP Loan Documents (as
           defined below).

        (2)      authorization for Debtors to execute, deliver, and enter into the U.S. DIP

 Documents and the Global DIP Documents (collectively, the “DIP Loan Documents”) and to

 perform all of the Debtors’ respective obligations thereunder, and such other and further acts as

 may be required in connection with the DIP Loan Documents;

        (3)      authorization for the Debtors to pay all amounts, obligations, and liabilities owing

 or payable to any agents under the DIP Loan Documents (collectively, the “DIP Agents”) and the

 issuing banks, swing line lenders, and any other lenders from time to time thereunder

 (collectively, the “DIP Lenders” and together with the DIP Agents, the “DIP Secured Parties”)

 under the DIP Facilities pursuant to the DIP Loan Documents, including, without limitation, any

 principal, interest, fees, commitment fees, administrative agent fees, audit fees, closing fees,

 service fees, facility fees, or other fees, costs, expenses, charges and disbursements of the

 respective DIP Secured Parties (including the reasonable and documented fees and expenses of

 each of the DIP Secured Parties’ attorneys, advisors, accountants and other consultants), any




                                                   3
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                            Pg 84 of 692


 obligations in respect of indemnity claims, whether contingent or absolute, including, without

 limitation, any and all obligations in connection with any interest rate, currency swap or other

 hedging agreement or arrangement (including, without limitation, any such agreement or

 arrangement designed to, among other things, hedge against fluctuations in commodity prices) in

 each case constituting (a) all “Obligations” as defined in the U.S. DIP Agreement, (b) all

 “Outstandings” as defined in the Global DIP Agreement; and (c) all other Debtor and/or

 Guarantor obligations of any kind under the DIP Loan Documents (collectively, the “DIP

 Obligations”);

        (4)       authorization for the Debtors, immediately upon entry of this interim order (this

 “Interim Order”), to use proceeds of the DIP Facilities (collectively the “DIP Loan Proceeds”) as

 permitted in the DIP Loan Documents and consistent with this Interim Order and the applicable

 Approved Budget;

        (5)       authorization for the Debtors to implement a “roll-up” of the Prepetition ABL

 Obligations as follows: (a) immediately upon entry of this Interim Order, 50% of the Prepetition

 Secured Obligations (as defined herein) shall become DIP Obligations; (b) between entry of the

 Interim Order and entry of the Final Order, all cash proceeds of U.S. Priority Collateral securing

 U.S. Secured Obligations (each as defined in the DIP Intercreditor Agreement) shall be deemed

 to pay down outstanding obligations under the U.S. Prepetition Credit Facility on a dollar-for-

 dollar basis and, contemporaneously therewith, increase availability under the U.S. DIP

 Revolving Credit Facility, subject to compliance with any applicable borrowing base limitations

 as set forth herein, by a corresponding amount; (c) between entry of the Interim Order and entry

 of the Final Order, all cash proceeds of Global Prepetition ABL Collateral securing Global

 Secured Obligations (each as defined in the DIP Intercreditor Agreement) shall be deemed to




                                                  4
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18        Main Document
                                             Pg 85 of 692


 pay-down outstanding obligations under the Global Prepetition Credit Facility on a dollar-for-

 dollar basis and, contemporaneously therewith, increase availability under the Global DIP

 Revolving Credit Facility, subject to compliance with any applicable borrowing base limitations

 as set forth herein, by a corresponding amount; and (d) upon entry of the Final Order, all

 outstanding Prepetition ABL Obligations shall become DIP Obligations ((a) through (d), the

 “Roll-Up”).

         (6)     the grant and approval of superpriority administrative expense claim status,

 pursuant to sections 364(c)(1), 507(b) and 503(b)(1) of the Bankruptcy Code, to the DIP Agents,

 for the benefit of themselves and the other DIP Secured Parties, in respect of all DIP Obligations

 (as defined below), subject to the Carve Out (as defined below);

         (7)     granting the DIP Secured Parties valid, enforceable, non-avoidable, automatically

 and fully perfected DIP Liens (as defined below) in all DIP Collateral (as defined below),

 including, without limitation, all property constituting ABL Cash Collateral (as defined below),

 to secure the DIP Obligations, which DIP Liens shall be subject to the relative rankings and

 priorities set forth herein;

         (8)     providing adequate protection to each of the Prepetition Secured Parties (as

 defined below) of their security interests in the collateral securing the Prepetition Credit

 Facilities, as applicable (including, without limitation, ABL Cash Collateral), and equal in

 amount to, any diminution in the value of such prepetition security interests of such Prepetition

 Secured Parties calculated in accordance with section 506(a) of the Bankruptcy Code

 (“Diminution in Value”), whether or not the Diminution in Value results from the sale, lease or

 use by the Debtors of the Prepetition ABL Collateral (as defined herein), the priming of the




                                                 5
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 86 of 692


 prepetition security interests of such Prepetition Secured Parties or the stay of enforcement of

 any prepetition security interests arising from section 362 of the Bankruptcy Code, or otherwise;

        (9)     providing adequate protection to the secured parties (the “Prepetition Term

 Parties”) under the Prepetition Term Loan Facilities (as defined in the Motion) of their security

 interests in Prepetition Term Collateral, including Prepetition Term Cash Collateral, (the

 “Prepetition Term Liens”) and equal in amount to, any Diminution in the Value of such

 prepetition security interests of such Prepetition Term Parties, subject in all respects to any

 subsequent orders of this Court including but not limited to that certain Interim Order

 (I) Granting Adequate Protection to Aegean Baltic Bank S.A., as Agent, (II) Authorizing Use of

 Cash Collateral, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief and

 Interim Order (I) Granting Adequate Protection to National Bank of Greece S.A.,

 (II) Authorizing Use of Cash Collateral, (III) Modifying the Automatic Stay, and (IV) Granting

 Related Relief, each filed contemporaneously herewith (in respect of each of the Prepetition

 Term Parties identified in such interim order, a “Prepetition Term Adequate Protection Order”

 and collectively with any other order granting adequate protection to a Prepetition Term Party,

 the “Prepetition Term Adequate Protection Orders”);

        (10)    authorization for the Debtors to use ABL Cash Collateral and all other Prepetition

 ABL Collateral in which any of the Prepetition Secured Parties have an interest consistent with

 this Interim Order and providing adequate protection to the Prepetition Secured Parties to the

 extent set forth herein, including authorization for the Debtors to apply ABL Cash Collateral to

 permanently and indefeasibly pay the Prepetition ABL Obligations;




                                                 6
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 87 of 692


        (11)    the modification of the automatic stay imposed by section 362 of the Bankruptcy

 Code to the extent necessary to implement and effectuate the terms and provisions of this Interim

 Order and the other DIP Loan Documents to the extent hereinafter set forth;

        (12)    subject to entry of a final order granting the relief requested in the Motion on a

 final basis (the “Final Order”), a waiver of the Debtors’ ability to surcharge against any DIP

 Collateral pursuant to section 506(c) of the Bankruptcy Code and any right of the Debtors under

 the “equities of the case” exception in section 552(b) of the Bankruptcy Code;

        (13)    the scheduling of a final hearing on the Motion (the “Final Hearing”) to consider

 entry of the Final Order granting the relief requested in the Motion on a final basis, and

 approving the form of notice with respect to the Final Hearing; and

        (14)    granting the Debtors such other and further relief as is just and proper.

 The initial hearing on the Motion having been held by this Court on November [__], 2018 (the

 “Interim Hearing”), and upon the record made by the Debtors at the Interim Hearing, including

 the Motion, the Declaration of Andrew D. Hede (I) in Support of Chapter 11 Petitions and First

 Day Pleadings and (II) Pursuant to Local Bankruptcy Rule 1007-2, the Declaration of Tyler

 Baron, Director of Aegean Marine Petroleum Network Inc., in Support of Chapter 11 Petitions

 and First Day Motions, the Declaration of Zul Jamal in Support of Motion of the Debtors for

 Entry of Interim and Final Orders (I) Authorizing the Debtors to Obtain Postpetition Financing,

 (II) Granting Liens and Superpriority Administrative Expense Claims, and (III) Authorizing Use

 of ABL Cash Collateral, (IV) Granting Adequate Protection, (V) Scheduling a Final Hearing,

 and (VI) Granting Related Relief (“the Jamal Declaration”), any exhibits in connection with the

 foregoing, and the filings and pleadings in the above-captioned Cases (collectively, the “Cases”),

 the Court having found that the relief requested in the Motion is fair and reasonable and is in the




                                                  7
18-13374-mew            Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                  Pg 88 of 692


 best interests of Debtors, their Estates (defined below), their stakeholders and other parties in

 interest, and represents a sound exercise of the Debtors’ business judgment and is essential for

 the continued operation of the Debtors’ businesses; it appearing to the Court that granting the

 interim relief requested in the Motion is necessary to avoid immediate and irreparable harm to

 the Debtors and their Estates pending the Final Hearing; and appropriate notice of the Motion,

 the relief requested therein, and the Interim Hearing (the “Notice”) was adequate under the

 circumstances; and the Notice having been served by the Debtors in accordance with Bankruptcy

 Rules 4001 and 9014 and the Local Rules on (a) the United States Trustee for the Southern

 District of New York (the “U.S. Trustee”); (b) entities listed as holding the 30 largest unsecured

 claims against the Debtors (on a consolidated basis) (the “30 Largest Unsecured Creditors”);

 (c) the agents for each of the Debtors’ prepetition secured credit facilities (the “Prepetition

 Agents”);4 (d) the indenture trustee for each of the Debtors’ unsecured notes; (e) the DIP Agents;

 (f) counsel to the parties referenced in clauses (c) through (e); (g) counsel to the ad hoc group of

 holders of convertible unsecured notes; (h) counsel to Mercuria US Asset Holdings LLC;

 (i) counsel to Mercuria Energy Trading S.A.; (j) the United States Attorney’s Office for the

 Southern District of New York; (k) the Internal Revenue Service; (l) the United States Securities

 and Exchange Commission; (m) the Environmental Protection Agency and all similar state

 environmental agencies for states in which the Debtors conduct business; (n) the attorneys

 general in the states where the Debtors conduct their business operations; (o) counsel for the

 Prepetition Term Parties, (p) any other notice parties required under any Prepetition Term Loan

 Document; (q) all parties which, to the best of the Debtors’ knowledge, information, and belief,

 have asserted or may assert a lien in the Debtors’ assets; and (r) any party that has requested


 4   The Prepetition Agents are the U.S. Prepetition Agent and the Global Prepetition Agent.




                                                            8
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 89 of 692


 notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”); and the opportunity

 for a hearing on the Motion was appropriate and no other notice need be provided; and all

 objections, if any, to the relief requested in the Motion having been withdrawn, resolved or

 overruled by the Court; and after due deliberation sufficient cause appearing therefor;

        THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

 CONCLUSIONS OF LAW:

        A.      Petition Date. On November 6, 2018 (the “Petition Date”), each Debtor filed a

 voluntary petition (each, a “Petition”) under chapter 11 of the Bankruptcy Code. The Debtors

 continue to operate their businesses and manage their properties as debtors-in-possession

 pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

 appointed in any of the Cases.

        B.      Jurisdiction and Venue.     This Court has jurisdiction over these proceedings

 pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C.

 § 157(b). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The

 statutory and legal predicates for the relief sought herein are sections 105, 361, 362, 363, 364 and

 507 of the Bankruptcy Code and Bankruptcy Rules 2002, 4001, 9013 and 9014 and Local Rules

 2002-1, 4001-2, 9006-1, 9013-1, 9014-1 and 9014-2.

        C.      Committee Formation. As of the date hereof, no official committee of unsecured

 creditors under section 1102 of the Bankruptcy Code (the “Committee”) or any other statutory

 committee has been appointed in the Cases.

        D.      Notice. The Notice was given in the manner described in the Motion. Under the

 circumstances, the Notice given by the Debtors of the Motion, the Interim Hearing and the relief




                                                  9
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                               Pg 90 of 692


 granted under this Interim Order constitutes due and sufficient notice thereof and complies with

 Bankruptcy Rule 4001 and the Local Rules.

         E.       Parties’ Acknowledgments, Agreements, and Stipulations. In requesting the DIP

 Facilities, and in exchange for and as a material inducement to the DIP Lenders to agree to

 provide the DIP Facilities and access to the ABL Cash Collateral, and as a condition to providing

 financing under the DIP Facilities, subject to the rights of the parties set forth in section 4.1, the

 Debtors, the Prepetition Obligors (as defined in the Motion),5 and any other non-Debtor affiliates

 of the Debtors (the “Non-Debtor Affiliates”)6 receiving the benefits of the DIP Facilities

 permanently and irrevocably admit, stipulate, acknowledge and agree, as follows:

                  (i)      U.S. Prepetition Loan Documents.               The Debtors and the Prepetition

 Obligors admit, stipulate, acknowledge and agree that prior to the Petition Date, the “Secured

 Parties” (as defined in the U.S. Prepetition Credit Facility, and referred to herein as the “U.S.

 Prepetition Secured Parties”) made loans, advances and/or provided other financial

 accommodations and/or services to Aegean Bunkering (USA) LLC (the “U.S. Borrower”)

 pursuant to the terms and conditions set forth in (a) the U.S. Prepetition Credit Agreement; and

 (b) all other agreements, documents and instruments executed and/or delivered with, to, or in

 favor of the agent or agents under the U.S. Prepetition Credit Agreement (the “U.S. Prepetition

 Agent”) or any other Secured Party in connection with the U.S. Prepetition Credit Agreement,

 including, without limitation, all security agreements, notes, guarantees, mortgages, Uniform

 Commercial Code financing statements and all other related agreements, documents and


 5   For the avoidance of doubt, all references to the Prepetition Obligors include all non-debtor affiliates of the
     Debtors, the Borrowers, and the Guarantors who are obligors under any of the Prepetition Credit Facilities,
     Prepetition Loan Documents, and the Prepetition ABL Obligations.

 6   Aegean Bunkering Germany GmbH, OBAST Bunkering & Trading GmbH, and Aegean Petroleum Uruguay
     S.A. are non-Debtor affiliates of the Debtors.




                                                        10
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 91 of 692


 instruments executed and/or delivered in connection therewith or related thereto (all of the

 foregoing, together with the U.S. Prepetition Credit Agreement, as all of the same have

 heretofore been amended, supplemented, modified, extended, renewed, restated and/or replaced

 at any time prior to the Petition Date, collectively, the “U.S. Prepetition Loan Documents”).

 Aegean Marine Petroleum Network, Inc. (the “U.S. Guarantor”) is jointly and severally liable for

 the U.S. Borrower’s obligations under the U.S. Prepetition Loan Documents.

               (ii)    U.S. Prepetition ABL Obligations.       The Debtors and the Prepetition

 Obligors admit, stipulate, acknowledge and agree, that as of the Petition Date, the U.S. Borrower

 and the U.S. Guarantor were jointly and severally indebted to the U.S. Prepetition Secured

 Parties under the U.S. Prepetition Loan Documents in respect of Revolving Loans, outstanding

 Letters of Credit, and Swing Line Loans in an aggregate outstanding principal amount of not less

 than approximately $131,688,116, plus interest accrued and accruing thereon, together with all

 costs, fees, expenses and other charges accrued, accruing or chargeable with respect thereto in

 accordance with the U.S. Prepetition Loan Documents (collectively, the “U.S. Prepetition ABL

 Obligations”). Subject to Section 4.1 hereof, the U.S. Prepetition ABL Obligations constitute

 allowed, legal, valid, binding, enforceable and non-avoidable obligations of the U.S. Borrower

 and the U.S. Guarantor, and are not subject to any offset, defense, counterclaim, avoidance,

 recharacterization, recoupment, or subordination pursuant to the Bankruptcy Code or any other

 applicable law or any other claim or cause of action of any nature, and the Debtors and

 Prepetition Obligors do not possess, shall not assert, hereby forever release, and are forever

 barred from bringing any claim, cause of action, counterclaim, setoff or defense of any kind,

 nature or description which would in any way affect the validity, enforceability and non-




                                                11
18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                     Main Document
                                               Pg 92 of 692


 avoidability of any of the U.S. Prepetition ABL Obligations or the Prepetition Liens (as defined

 below) on the U.S. Prepetition ABL Collateral (as defined below).

                  (iii)    U.S. Prepetition ABL Collateral.               The Debtors and the Prepetition

 Obligors admit, stipulate, acknowledge and agree, that as of the Petition Date, the U.S.

 Prepetition ABL Obligations were fully secured pursuant to the U.S. Prepetition Loan

 Documents by valid, perfected, enforceable and non-avoidable, first-priority liens on and

 security interests in all of the U.S. Borrower’s assets constituting “Collateral” (as defined in the

 U.S. Prepetition Loan Documents (all such Collateral in existence on the Petition Date, or the

 identifiable proceeds thereof, the “U.S. Prepetition ABL Collateral”), subject only to the liens

 and security interests permitted under the U.S. Prepetition Credit Agreement to the extent that

 such security interests, liens or encumbrances are valid, perfected and non-avoidable security

 interests, liens or encumbrances existing as of the Petition Date. The Debtors and the Prepetition

 Obligors do not possess and will not assert any claim, cause of action, counterclaim, setoff or

 defense of any kind, nature or description which would in any way affect the validity,

 enforceability and non-avoidability of any of the U.S. Prepetition Agent’s and the U.S.

 Prepetition Lenders’ liens, claims or security interests in the U.S. Prepetition ABL Collateral.

                  (iv)     Global Prepetition Loan Documents. The Debtors and the Prepetition

 Obligors admit, stipulate, acknowledge and agree that prior to the Petition Date, the “Secured

 Parties” (as defined in the Global Prepetition Credit Facility, and referred to herein as the

 “Global Prepetition Secured Parties,”7 and together with the U.S. Prepetition Secured Parties, the

 “Prepetition Secured Parties”) made loans, advances and/or provided other financial

 accommodations and/or services to Aegean Marine Petroleum S.A., Aegean Petroleum

 7   The Global Prepetition Secured Parties includes the agent or agents under the Global Prepetition Credit Facility
     (the “Global Prepetition Agent”).




                                                         12
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 93 of 692


 International Inc., Aegean NWE N.V., Aegean Bunkering Germany GmbH, OBAST Bunkering

 & Trading GmbH, and Aegean Petroleum Uruguay S.A. (collectively, the “Global Borrowers”)8

 pursuant to the terms and conditions set forth in (a) the Global Prepetition Credit Facility; and

 (b) all other agreements, documents and instruments executed and/or delivered with, to, or in

 favor of the Global Prepetition Agent or any other Secured Party in connection with the Global

 Prepetition Credit Facility, including, without limitation, all documents defined as “Finance

 Documents” in the Global Prepetition Credit Facility, and all security agreements, notes,

 guarantees, mortgages, financing statements and all other related agreements, documents and

 instruments executed and/or delivered in connection therewith or related thereto (all of the

 foregoing, together with the Global Prepetition Credit Facility, as all of the same have heretofore

 been amended, supplemented, modified, extended, renewed, restated and/or replaced at any time

 prior to the Petition Date, collectively, the “Global Prepetition Loan Documents”).9                      Aegean

 Marine Petroleum S.A., Aegean Petroleum International Inc., Aegean NWE N.V., Aegean

 Bunkering Germany GmbH, OBAST Bunkering & Trading GmbH, Aegean Petroleum Uruguay

 S.A., and Aegean Marine Petroleum Network Inc. (together, the “Global Guarantors” and each, a

 “Global Guarantor”) are jointly and severally liable for the Global Borrowers’ obligations under

 the Global Prepetition Loan Documents.

                 (v)      Global Prepetition ABL Obligations. The Debtors and the Prepetition

 Obligors admit, stipulate, acknowledge and agree that as of the Petition Date, the Global

 Borrowers and each of the other Global Guarantors were jointly and severally indebted under the



 8   Aegean Bunkering Germany GmbH, OBAST Bunkering & Trading GmbH, Aegean NWE N.V. and Aegean
     Petroleum Uruguay S.A. are non-Debtor affiliates of the Debtors.

 9   The U.S. Prepetition Loan Documents and the Global Prepetition Loan Documents are collectively, the
     “Prepetition Loan Documents”).




                                                       13
18-13374-mew          Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                                Pg 94 of 692


 Global Prepetition Loan Documents in respect of Global Revolving Loans,10 outstanding Global

 Letters of Credit, Overdraft Facilities (each as defined in the Global Prepetition Credit Facility)

 and all other Credit Instruments (as defined in the Global Prepetition Credit Facility) in an

 aggregate outstanding principal amount of not less than approximately $249,569,260, plus

 interest accrued and accruing thereon, together with all costs, fees, expenses and other charges

 accrued, accruing or chargeable with respect thereto in accordance with the Global Prepetition

 Loan Documents (collectively, the “Global Prepetition ABL Obligations,” and together with the

 U.S. Prepetition ABL Obligations, the “Prepetition Secured Obligations”). Subject to Section

 4.1 hereof, the Global Prepetition ABL Obligations constitute allowed, legal, valid, binding,

 enforceable and non-avoidable obligations of the Global Borrowers and the Global Guarantors,

 and are not subject to any offset, defense, counterclaim, avoidance, recharacterization,

 recoupment, or subordination pursuant to the Bankruptcy Code or any other applicable law or

 any other claim or cause of action of any nature, and the Debtors and the Prepetition Obligors do

 not possess, shall not assert, hereby forever release, and are forever barred from bringing any

 claim, counterclaim, cause of action, setoff or defense of any kind, nature or description which

 would in any way affect the validity, enforceability and non-avoidability of any of the Global

 Prepetition ABL Obligations or the Prepetition Liens on the Global Prepetition ABL Collateral.

                   (vi)     Global Prepetition ABL Collateral. The Debtors and the Prepetition

 Obligors admit, stipulate, acknowledge and agree that as of the Petition Date, the Global

 Prepetition ABL Obligations were fully secured pursuant to the Global Prepetition Loan

 Documents by valid, perfected, enforceable and non-avoidable, first-priority liens on and


 10   For the avoidance of doubt, the Global Revolving Loans shall include that certain over-advance provided to the
      Debtors on or about October 31, 2018 to fund certain working capital amounts needed to enable the Debtors to
      prepare for an orderly chapter 11 filing.




                                                         14
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                            Pg 95 of 692


 security interests in all of the “Transaction Security” (as defined in the Global Prepetition Loan

 Documents) (all such Transaction Security in existence on the Petition Date, or the identifiable

 proceeds thereof, the “Global Prepetition ABL Collateral” and collectively with the U.S.

 Prepetition ABL Collateral, the “Prepetition ABL Collateral”), and subject only to the liens and

 other security interests specifically permitted under the Global Prepetition Loan Documents to

 the extent that such security interests, liens or encumbrances are valid, perfected and non-

 avoidable security interests, liens or encumbrances existing as of the Petition Date. The Debtors

 do not possess and will not assert any claim, counterclaim, setoff or defense of any kind, nature

 or description which would in any way affect the validity, enforceability and non-avoidability of

 any of the Global Prepetition Secured Parties’ liens, claims or security interests in the Global

 Prepetition ABL Collateral.

                 (vii)   Validity of Prepetition Liens and Prepetition Secured Obligations. The

 Debtors and the Prepetition Obligors admit, stipulate, acknowledge and agree that: (a) the

 Prepetition Secured Obligations constitute legal, valid, enforceable, non-avoidable and binding

 obligations of certain of the Debtors; (b) no offsets, challenges, objections, defenses, claims,

 causes of action, or counterclaims of any kind or nature whatsoever to the Prepetition Secured

 Obligations or Prepetition Liens exist, and no portion of the Prepetition Secured Obligations or

 Prepetition Liens is subject to any offsets, challenges, objections, defenses, claims or

 counterclaims of any kind or nature whatsoever including, without limitation, avoidance,

 disallowance,    reduction,   surcharge,   disgorgement,   recharacterization,   recoupment,   or

 subordination, whether pursuant to the Bankruptcy Code or applicable non-bankruptcy law or

 any other claim or cause of action of any nature; (c) the Prepetition Loan Documents are valid

 and enforceable by the Prepetition Secured Parties against each of the applicable Debtors (other




                                                15
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 96 of 692


 than in respect of the stay of enforcement arising under section 362 of the Bankruptcy Code);

 and (d) the Prepetition Liens were fully perfected as of the Petition Date and constitute legal,

 valid, binding, enforceable and perfected liens in and to the Prepetition ABL Collateral and are

 not subject to avoidance, disallowance, reduction, surcharge, disgorgement, recharacterization,

 recoupment, or subordination, whether pursuant to the Bankruptcy Code or applicable non-

 bankruptcy law.

                (viii)   Sale and Credit Bidding. The Debtors and the Prepetition Obligors admit,

 stipulate, acknowledge and agree that any of the DIP Lenders, DIP Agents, or Prepetition

 Secured Parties, as applicable, may credit bid the entirety of (or any portion of) the Prepetition

 Secured Obligations, or the DIP Obligations.

                (ix)     Release. As a condition to obtaining the financing available under the DIP

 Facilities, and subject only to Section 4.1, each of the Debtors, their Estates, the Borrowers, the

 Guarantors, and the Prepetition Obligors hereby forever, unconditionally, permanently, and

 irrevocably release, discharge and acquit each of the DIP Secured Parties, each of the Prepetition

 Secured Parties and each of their respective successors, assigns, affiliates, parents, subsidiaries,

 partners, controlling persons, representatives, agents, attorneys, advisors, financial advisors,

 consultants, professionals, officers, directors, members, managers, shareholders, and employees,

 past, present and future, and their respective heirs, predecessors, successors and assigns

 (collectively, the “Released Parties”) of and from any and all claims, controversies, disputes,

 liabilities, obligations, demands, damages, expenses (including, without limitation, attorneys’

 fees), debts, liens, actions and causes of action of any and every nature whatsoever, whether

 arising in law or otherwise, and whether known or unknown, matured or contingent, arising

 under, in connection with or relating to the Prepetition Secured Obligations, the Prepetition Loan




                                                 16
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                           Pg 97 of 692


 Documents, the DIP Facilities or the DIP Loan Documents, including, without limitation, (a) any

 so-called “lender liability” or equitable subordination claims or defenses, (b) any and all claims

 (as defined in the Bankruptcy Code) and causes of action arising under the Bankruptcy Code,

 and (c) any and all offsets, defenses, claims, counterclaims, set off rights, objections, challenges,

 causes of action and/or choses in action of any kind or nature whatsoever, whether arising at law

 or in equity, including any recharacterization, recoupment, subordination, avoidance, or other

 claim or cause of action arising under or pursuant to section 105 or chapter 5 of the Bankruptcy

 Code or under any other similar provisions of applicable state, federal, or foreign law, including,

 without limitation, any right to assert any disgorgement or recovery, in each case, with respect to

 the extent, amount, validity, enforceability, priority, security and perfection of any of the

 Prepetition Secured Obligations, the Prepetition Loan Documents or the Prepetition Liens, and

 further waive and release any defense, right of counterclaim, right of setoff or deduction to the

 payment of the Prepetition Secured Obligations that the Debtors now have or may claim to have

 against the Released Parties, arising under, in connection with, based upon or released to any and

 all acts, omissions, conduct undertaken or events occurring prior to entry of this Interim Order.

                (x)     ABL Cash Collateral. The Debtors admit, stipulate, acknowledge and

 agree that all of the cash of the Debtors who were obligors under the Prepetition Credit Facilities

 (the “Debtor ABL Obligors”), wherever located, and all cash equivalents, including any cash in

 deposit accounts of the Debtor ABL Obligors, whether as Prepetition ABL Collateral or which

 represent income, proceeds, products, rents, or profits of other Prepetition ABL Collateral,

 constitutes “cash collateral” of the Prepetition Secured Parties within the meaning of section

 363(a) of the Bankruptcy Code (the “ABL Cash Collateral”).




                                                  17
18-13374-mew           Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                             Pg 98 of 692


                 (xi)     Term Loan Cash Collateral. The Debtors admit, stipulate, acknowledge

 and agree that all of the cash of the Debtors who were borrowers under the Prepetition Term

 Loan Facilities, wherever located, and all cash equivalents, including any cash in deposit

 accounts of the Debtors who were borrowers under the Prepetition Term Loan Facilities, whether

 as Prepetition Term Collateral or which represent income, proceeds, products, rents, or profits of

 other Prepetition Term Collateral, constitutes “cash collateral” of the Prepetition Term Loan

 Parties within the meaning of section 363(a) of the Bankruptcy Code (the “Term Loan Cash

 Collateral”).

        F.       Findings Regarding the Postpetition Financing.

                 (i)      Postpetition Financing. The Debtors have requested from each of the DIP

 Secured Parties, and the DIP Secured Parties are willing, subject to the terms of this Interim

 Order, to extend certain loans, advances and other financial accommodations on the terms and

 conditions set forth in this Interim Order, the DIP Loan Agreements and the other DIP Loan

 Documents, respectively (the “DIP Loans”).

                 (ii)     Need for Postpetition Financing.    The Debtors do not have sufficient

 liquidity, including cash collateral, to operate their businesses in the ordinary course of business

 without the financing requested in the Motion.        The Debtors’ ability to maintain business

 relationships with their vendors, suppliers and customers, to pay their employees, pay certain

 fees and expenses as set forth herein, and to otherwise fund their operations is essential to the

 Debtors’ continued viability as the Debtors seek to maximize the value of the assets of the

 Estates for the benefit of all creditors of the Debtors. The ability of the Debtors to obtain

 sufficient working capital and liquidity through the proposed postpetition financing arrangements

 with the DIP Secured Parties as set forth in this Interim Order, the DIP Loan Agreements, and




                                                 18
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                           Pg 99 of 692


 other DIP Loan Documents, as applicable, is vital to the preservation and maintenance of the

 going concern value of each Debtor. Accordingly, the Debtors have an immediate need to obtain

 the postpetition financing to, among other things, permit the orderly continuation of the

 operation of their businesses, minimize the disruption of their business operations, and preserve

 and maximize the value of the assets of the Debtors’ bankruptcy estates (as defined under

 section 541 of the Bankruptcy Code, the “Estates”) to maximize the recovery to all creditors of

 the Estates.

                (iii)   Priming of Prepetition Liens. The Debtors believe that the priming of the

 liens granted in favor of each of the Prepetition Secured Parties in the Prepetition ABL Collateral

 under section 364(d)(1) of the Bankruptcy Code, by the DIP Facility, as contemplated by the DIP

 Loan Documents and this Interim Order, will enable the Debtors to continue to operate their

 businesses for the benefit of their Estates and stakeholders.

                (iv)    Stalking Horse Bid. Certain of the Debtors intend to enter into that certain

 Asset Purchase Agreement (as amended, restated, modified, or supplemented, from time to time,

 the “Stalking Horse Agreement”) to purchase all or substantially all of the DIP Collateral (as

 defined below) on the terms and conditions set forth therein (collectively, the “Stalking Horse

 Bid”). The Stalking Horse Bid is integral to the value provided to the DIP Secured Parties under

 the DIP Facilities and necessary to maintain, preserve, and maximize the value of the DIP

 Collateral and the Debtors’ operations pending the consummation of the transactions

 contemplated by the Stalking Horse Agreement.

                (v)     No Credit Available on More Favorable Terms. The Debtors are unable to

 procure financing in the form of unsecured credit allowable as an administrative expense under

 sections 364(a), 364(b), or 503(b)(1) of the Bankruptcy Code or in exchange for the grant of a




                                                  19
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                            Pg 100 of 692


 superpriority administrative expense, junior liens on encumbered property of the Estates, or liens

 on property of the Estates not subject to a lien pursuant to § 364(c)(1), 364(c)(2) or 364(c)(3) of

 the Bankruptcy Code. The Debtors assert in the Motion and in the Jamal Declaration, and

 demonstrated at the Interim Hearing, that they have been unable to procure the necessary

 financing on terms more favorable, taken as a whole, than the financing offered by each of the

 DIP Secured Parties pursuant to the DIP Loan Documents. Additionally, the Debtors have

 asserted that should the DIP Facilities not be approved, the Stalking Horse Bid in connection

 with the sale of certain of the Debtors’ assets shall be withdrawn. In light of the foregoing, and

 considering all alternatives, the Debtors have properly concluded, in the exercise of their sound

 business judgment, that the DIP Facilities represent the best financing available to them at this

 time, and are in the best interests of all of their stakeholders. After considering all alternatives,

 the Debtors have properly concluded, in the exercise of their sound business judgment, that the

 DIP Facilities represent the best financing available to them at this time, and are in the best

 interests of all of their stakeholders.

                 (vi)    Budget. The Debtors have prepared and delivered to the DIP Secured

 Parties initial budgets (the “Initial Budgets”), copies of which are attached hereto as Exhibits C

 and D.     The Initial Budgets reflect the Debtors’ anticipated cash receipts and anticipated

 disbursements for each calendar week during the period from the Petition Date through and

 including the end of the thirteenth (13th) calendar week following the Petition Date (the Initial

 Budgets and each subsequent approved Budget then in effect, an “Approved Budget”). The

 Debtors believe that the Initial Budgets are reasonable under the facts and circumstances. The

 DIP Secured Parties are relying upon the Debtors’ agreement to comply with the Approved

 Budget, the other DIP Loan Documents, and this Interim Order in determining to enter into the




                                                  20
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                         Pg 101 of 692


 postpetition financing arrangements provided for herein.      For the avoidance of doubt, all

 references to the Initial Budgets or the Approved Budget shall be subject in all respects to the

 Permitted Variance (as defined in the DIP Loan Documents).

               (vii)   Certain Conditions to DIP Facilities. The DIP Lenders’ willingness to

 make the DIP Loans is conditioned upon, among other things, (a) the Debtors obtaining Court

 approval to enter into the DIP Loan Documents and to incur all of their obligations thereunder,

 and to confer upon the DIP Secured Parties all rights, powers and remedies thereunder; (b) the

 provision of adequate protection of the Prepetition Secured Parties’ interests in the Prepetition

 ABL Collateral pursuant to sections 361, 363, and 364 of the Bankruptcy Code, subject to the

 terms and conditions of the Prepetition Term Adequate Protection Orders; (c) the DIP Secured

 Parties being granted, as security for the prompt payment of the DIP Facility and all other

 obligations of the Debtors under the DIP Loan Documents: (i) superpriority perfected security

 interests in and liens upon all of the Prepetition ABL Collateral and any unencumbered assets

 other than Excluded Assets (as defined in the applicable DIP Loan Agreement), (ii) perfected

 security interests in and junior liens upon the remaining Debtors’ assets, including, without

 limitation, the Prepetition Term Collateral (collectively hereinafter referred to as the “DIP

 Collateral,” and for avoidance of doubt, the DIP Collateral shall include (w) all advances under

 the DIP Facilities, (x) the proceeds of the Litigation Claims (as defined in the U.S. DIP

 Agreement), (y) subject to entry of the Final Order, the proceeds of any claim or cause of action

 arising under or pursuant to chapter 5 of the Bankruptcy Code or under any other similar

 provisions of applicable state, federal, or foreign law (including any other avoidance actions

 under the Bankruptcy Code) (collectively, the “Avoidance Actions”), (z) 100% of the Equity

 Interests (as defined in the DIP Loan Agreements) of any Borrower, any Debtor, or any




                                                21
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                          Pg 102 of 692


 Guarantor owned (directly or indirectly), beneficially or of record, by the Borrower, any Debtor,

 or any Guarantor other than Aegean Oil Terminal Corp.; and (aa) 100% of the Equity Interests

 that any Borrower, any Debtor, or any Guarantor may own, beneficially or of record, directly or

 indirectly, other than Aegean Oil Terminal Corp. (i) in any subsidiary thereof (whether or not

 such entity is wholly owned or immaterial) and (ii) in any corporation, partnership (limited or

 general), joint venture, limited liability company, business trust, association or other legally

 recognized entity (a “Person” as defined in the DIP Loan Agreements), including joint venture

 interests and majority and minority interests in any Person owned by any Borrower, any Debtor

 and any Guarantor; and (d) approval of the Stalking Horse Bid.

                (viii)   Business Judgment and Good Faith Pursuant to Section 364(e). Based

 upon the pleadings and proceedings of record in the Cases, (a) the terms of the DIP Loan

 Documents (including, without limitation, the Roll-Up) and this Interim Order are fair, just and

 reasonable under the circumstances, are ordinary and appropriate for secured financing to

 debtors-in-possession, reflect the Debtors’ exercise of their prudent business judgment consistent

 with their fiduciary duties, and are supported by reasonably equivalent value and fair

 consideration; (b) the terms and conditions of the DIP Loan Documents and this Interim Order

 have been negotiated in good faith and at arms’ length by and among the Debtors and DIP

 Secured Parties, with all parties being represented by counsel. Any credit extended, loans made

 and other financial accommodations extended to the Debtors by the DIP Secured Parties,

 including, without limitation, pursuant to this Interim Order, have been extended, issued or

 made, as the case may be, in “good faith” within the meaning of section 364(e) of the

 Bankruptcy Code and in express reliance upon the protections offered by Bankruptcy Code

 section 364(e), and the DIP Facilities, the DIP Liens and the DIP Superpriority Claims shall be




                                                22
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 103 of 692


 entitled to the full protection of Bankruptcy Code section 364(e) in the event that this Interim

 Order or any provision hereof is vacated, reversed or modified, on appeal or otherwise.

                (ix)    Roll-Up of Prepetition Secured Obligations. Upon entry of this Interim

 Order, without further action by the Debtors or any other party, (a) the letters of credit issued

 under the U.S. Prepetition Credit Facility and the Global Prepetition Credit Facility (collectively,

 the “Prepetition Letters of Credit”) shall become Letters of Credit under the DIP Obligations;

 (b) 50% of the Prepetition Secured Obligations shall become DIP Obligations; (c) all cash

 proceeds of U.S. Priority Collateral securing U.S. Secured Obligations (each as defined in the

 DIP Intercreditor Agreement) shall be deemed to pay down outstanding obligations under the

 U.S. Prepetition Credit Facility on a dollar-for-dollar basis and, contemporaneously therewith,

 increase availability under the U.S. DIP Revolving Credit Facility, subject to compliance with

 any applicable borrowing base limitations as set forth herein, by a corresponding amount; and

 (d) all cash proceeds of Global Prepetition ABL Collateral securing Global Secured Obligations

 (each as defined in the DIP Intercreditor Agreement) shall be deemed to pay-down outstanding

 obligations under the Global Prepetition Credit Facility on a dollar-for-dollar basis and,

 contemporaneously therewith, increase availability under the Global DIP Revolving Credit

 Facility, subject to compliance with any applicable borrowing base limitations as set forth herein,

 by a corresponding amount.       The replacement and refinancing of the Prepetition Secured

 Obligations shall be authorized as compensation for, and in consideration for, and solely on

 account of, the agreement of the DIP Lenders to fund the DIP Loans and to provide other

 consideration to the Debtors and the other borrowers under the DIP Facilities. The Prepetition

 Secured Parties would not otherwise consent to the use of their Cash Collateral or the

 subordination of their liens to the DIP Liens, and the DIP Secured Parties would not be willing to




                                                 23
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 104 of 692


 provide the DIP Facilities or extend credit to the Debtors thereunder without the inclusion of the

 Roll-Up in the DIP Obligations. Moreover, the replacement and refinancing (pursuant to the

 Roll-Up) will (a) create greater availability under the DIP Facilities, (b) benefit the Debtors and

 their estates as a result of the DIP Lenders’ agreement to make certain revisions to the borrowing

 base and waiver certain defaults, and (c) will enable the Debtors to obtain urgently needed

 financing to administer these cases.

                (x)     Credit Bidding. Upon entry of this Interim Order, but subject to section

 4.1 herein, the DIP Lenders, DIP Agents, and Prepetition Secured Parties, as applicable, shall

 have the right to credit bid the entirety of (or any portion of) the full amount of the DIP

 Obligations and/or Prepetition Secured Obligations (as applicable) in connection with any asset

 sale process, including without limitation, sales pursuant to section 363 of the Bankruptcy Code

 or included as part of any plan of reorganization subject to confirmation under section 1129 of

 the Bankruptcy Code, and such right to credit bid shall not be subject to challenge or objection.

                (xi)    Debtors Will Not Challenge Credit Bid Rights. No Debtor or Debtor’s

 affiliate shall object to any DIP Lender’s, DIP Agent’s, Prepetition Secured Parties’ right to

 credit bid up to the full amount of its DIP Obligations and/or Prepetition Secured Obligations, in

 each case including, without limitation, any accrued interest and expenses, in any sale, as

 applicable, whether such sale is effectuated through section 363 of the Bankruptcy Code, in a

 chapter 11 or chapter 7 proceeding, under section 1129 of the Bankruptcy Code, by a chapter 7

 or chapter 11 trustee, or otherwise, provided that any proceeds of any sale be applied in

 accordance with the waterfall set forth in the applicable DIP Loan Documents.

                (xii)   Sections 506(c) and 552(b). Subject to entry of a Final Order, the Debtors

 have agreed as a condition to obtaining financing under the DIP Facilities that as a material




                                                 24
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                           Pg 105 of 692


 inducement to the DIP Secured Parties to agree to provide the DIP Facilities, and in exchange for

 (a) the DIP Secured Parties’ willingness to provide the DIP Facilities to the extent set forth

 herein, (b) the DIP Agents’ and DIP Lenders’ agreement to subordinate their liens and

 superpriority claims to the Carve Out, and (c) the consensual use of ABL Cash Collateral

 consistent with the Approved Budget and the terms of this Interim Order, and subject to the Final

 Order, each of the DIP Secured Parties and the Prepetition Secured Parties are entitled to receive,

 (1) a waiver of any equities of the case exceptions or claims under section 552(b) of the

 Bankruptcy Code and a waiver of unjust enrichment and similar equitable relief as set forth

 below, and (2) a waiver of the provisions of section 506(c) of the Bankruptcy Code subject to the

 terms hereof.

                 (xiii)   Good Cause. Good cause has been shown for the entry of this Interim

 Order. The relief requested in the Motion is necessary, essential and appropriate, and is in the

 best interest of and will benefit the Debtors, their creditors and their Estates, as its

 implementation will, among other things, provide the Debtors with the necessary liquidity to

 (1) minimize disruption to the Debtors’ businesses and on-going operations, (2) preserve and

 maximize the value of the Debtors’ Estates for the benefit of all the Debtors’ creditors, and

 (3) avoid immediate and irreparable harm to the Debtors, their creditors, their businesses, their

 employees, and their assets. The terms of the DIP Facilities (including the Roll-Up) are fair and

 reasonable, reflect each Debtor’s exercise of its business judgment, and are supported by

 reasonably equivalent value and fair consideration.

                 (xiv)    Adequate Protection. The Prepetition Secured Parties are entitled pursuant

 to sections 361, 362, 363 and 364 of the Bankruptcy Code, to receive adequate protection against




                                                  25
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 106 of 692


 any Diminution in Value of their respective interests in the Prepetition ABL Collateral (including

 ABL Cash Collateral), to the extent set forth in this Interim Order.

                (xv)    Immediate Entry.     Sufficient cause exists for immediate entry of this

 Interim Order pursuant to Bankruptcy Rule 4001(c)(2). No party appearing in the Cases has

 filed or made an objection to the relief sought in the Motion or the entry of this Interim Order, or

 any objections that were made (to the extent such objections have not been withdrawn, waived,

 resolved, or settled) are hereby overruled on the merits.

        Based upon the foregoing, and upon the record made before the Court at the Interim

 Hearing, and after due consideration and good cause appearing therefor;

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

 Section 1.     Authorization and Conditions to Financing.

                1.1     Motion Granted. The Motion is granted to the extent provided in this

 Interim Order. Any objections to the entry of this Interim Order that has not been withdrawn,

 waived, resolved or settled, and all reservations of rights included therein, are hereby denied and

 overruled on the merits.

                1.2     Authorization of DIP Financing. The Debtors are hereby authorized and

 empowered to immediately borrow, incur and guarantee (as applicable), (a) pursuant to the terms

 and conditions of the U.S. DIP Agreement, (i) loans under the U.S. Revolving Credit Facility, up

 to an initial aggregate principal amount, together with the outstanding amounts under the U.S.

 Prepetition Credit Facility, of $160,000,000 in U.S. Revolving Commitments, of which up to

 $50,000,000 shall constitute a sublimit for the issuance of U.S. Letters of Credit and Swing Line

 Loans; (ii) DIP Term Loans, pursuant to the terms and conditions of the U.S. DIP Agreement, in

 an aggregate principal amount not to exceed $40,000,000 prior to the entry of the Final Order to

 the U.S. Borrower, and the loans advanced under the DIP Loan Documents from time to time to



                                                 26
18-13374-mew        Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 107 of 692


 the U.S. Borrower, with the right of the U.S. Borrower to make available, through approved

 inter-company loans, transfers and investments, such funds to the Global Borrowers, consistent

 with the applicable Approved Budget and (b) loans under the Global DIP Revolving Credit

 Facility, pursuant to the Global DIP Agreement, a committed senior secured super-priority asset-

 based credit facility will be made available to the Global Borrowers in an initial aggregate

 principal amount, together with the outstanding amounts under the Global Prepetition Credit

 Facility, of $300,000,000 in Global Revolving Commitments, of which up to $100,000,000 shall

 constitute a sublimit for the issuance of the Global Letters of Credit.

                  1.3   The DIP Facilities may be borrowed by Debtors during the Interim

 Financing Period (as defined below) in accordance with the DIP Loan Documents, plus all

 interest, costs, and fees, accrued or accruing under the DIP Loan Agreements and other DIP

 Loan Documents, all pursuant to the terms and conditions of this Interim Order, the DIP Loan

 Agreement and the other DIP Loan Documents, in each case during the period commencing on

 the date of this Interim Order through and including the entry of the Final Order (the “Interim

 Financing Period”). Subject to the terms and conditions contained in this Interim Order and the

 DIP Loan Documents, the Debtors shall use the proceeds of the DIP Facilities pursuant to the

 terms and conditions consistent with the Approved Budget, DIP Loan Documents and this

 Interim Order.

                  1.4   Financing Documents

                        (a)     Authorization. The Debtors are hereby authorized and directed to

 enter into, execute, deliver, and perform all obligations under the DIP Loan Documents. Subject

 to Section 4.1 hereof, no obligation, payment, transfer or grant of security hereunder or under the

 DIP Loan Documents shall be stayed, restrained, voidable, avoidable, or recoverable under the




                                                  27
18-13374-mew         Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 108 of 692


 Bankruptcy Code or under any applicable state, federal, or foreign law (including, without

 limitation, under chapter 5 of the Bankruptcy Code or under any applicable state Uniform

 Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, or similar statute or common

 law), or be subject to any defense, reduction, setoff, counterclaim, recoupment, offset,

 recharacterization, subordination (whether equitable, contractual or otherwise), cross-claims, or

 any other challenge under the Bankruptcy Code or any applicable law, rule or regulation by any

 person or entity.

                        (b)    Approval; Evidence of Borrowing Arrangements.            All terms,

 conditions and covenants set forth in the DIP Loan Documents (including, without limitation,

 each of the DIP Loan Agreements) are approved. All such terms, conditions and covenants shall

 be sufficient and conclusive evidence of (i) the borrowing arrangements by and among the

 Debtors, the DIP Agents and the DIP Lenders, and (ii) each Debtor’s assumption and adoption

 of, and agreement to comply with, all the terms, conditions, and covenants of each DIP Loan

 Agreement and the other DIP Loan Documents for all purposes, including, without limitation, to

 the extent applicable, the payment of all DIP Obligations arising thereunder, including, without

 limitation, all principal, interest, fees and other expenses, including, without limitation, all of

 each DIP Agent’s and DIP Lender’s closing, arranger and administrative fees, consultant fees,

 professional fees, attorney fees and legal expenses, as more fully set forth in the DIP Loan

 Documents.      Upon effectiveness thereof, the DIP Loan Documents shall evidence the

 DIP Obligations, which DIP Loan Documents and DIP Obligations shall be valid, binding and

 enforceable against the Debtors, their Estates and any successors thereto, including, without

 limitation, any trustee appointed in any of these Cases or any case under chapter 7 of the

 Bankruptcy Code upon the conversion of any of these Cases (collectively, the “Successor




                                                 28
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                         Pg 109 of 692


 Cases”), and their creditors and other parties-in-interest, in each case, in accordance with the

 terms of this Interim Order and the DIP Loan Documents.

                       (c)    Payment of DIP Premiums and Other Expenses. Any and all fees

 and expenses payable pursuant to the DIP Loan Documents (including, for the avoidance of any

 doubt, any original issue discount) (collectively, any and all such fees and expenses, the “DIP

 Fees”) are hereby approved, and the Debtors are authorized to and shall pay the DIP Fees as set

 forth in the applicable DIP Loan Documents. The Debtors are also authorized and directed to

 pay, in cash and on a current basis, all reasonable and documented out-of-pocket costs,

 disbursements, and expenses of the DIP Agents and the DIP Lenders incurred at any time, as

 provided by the DIP Loan Documents and this Interim Order in accordance with Section 6.14

 hereof.   The DIP Fees shall not be subject to any offset, defense, claim, counterclaim or

 diminution of any type, kind or nature whatsoever.

                       (d)    Non-Material Amendments to DIP Loan Documents. Subject to

 the terms and conditions of the applicable DIP Loan Documents, the Debtors and the applicable

 DIP Secured Parties may make ministerial amendments, modifications, or supplements to any

 DIP Loan Document, and the DIP Agents and the DIP Lenders may waive any provisions in the

 DIP Loan Documents, without further approval of the Bankruptcy Court; provided that Debtors

 shall file a notice on the Court’s docket of any such ministerial amendment, modification, or

 supplement, or waiver, not more than three (3) Business Days after the effective date thereof.

 Any amendments, modifications or supplements to any DIP Loan Documents, other than as set

 forth in the preceding sentence (collectively, “Material DIP Amendments”), shall be filed with

 the Court, and the Debtors shall provide prior written notice of the Material DIP Amendment to

 (i) counsel to the DIP Agents; (ii) counsel to the DIP Lenders, (iii) counsel for each of the




                                               29
18-13374-mew       Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                         Pg 110 of 692


 Prepetition Term Parties; (iv) counsel to the Committee, or in the event no such Committee is

 appointed at the time of such Material DIP Amendment, the 30 Largest Unsecured Creditors, and

 (v) the U.S. Trustee. If no party in interest files an objection to the Material DIP Amendment

 with the Court within three (3) Business Days from the date the notice of the Material DIP

 Amendment is filed with the Court in accordance with this Section 1.4, the Debtors and the

 applicable DIP Secured Parties are authorized and empowered to implement, in accordance with

 the terms of the applicable DIP Loan Documents, such Material DIP Amendment, without

 further notice, hearing or approval of this Court. Any Material DIP Amendment subject to a

 timely and unresolved objection must be approved by the Court to be effective.

                1.5    Payments and Application of Payments.

                       (a)     All proceeds of the Prepetition ABL Collateral received by any

 Prepetition Secured Parties, or by any of the Debtors, and any other amounts or payments

 received by the DIP Agents, any DIP Lender or any of the Debtors in respect of the DIP

 Obligations, shall be applied or deemed to be applied on a dollar-for dollar basis by the DIP

 Agents first to repayment of the remaining Prepetition ABL Obligations, then to the repayment

 in full of the DIP Obligations until indefeasibly paid in full in accordance with the DIP Loan

 Agreements, the other DIP Loan Documents, and this Interim Order; provided that any

 repayment of the Prepetition ABL Obligations shall be subject to the terms of this remainder of

 this Interim Order and Section 4.1(a) hereof.

                       (b)     Upon entry of this Interim Order, without further action by the

 Debtors or any other party, (i) the Prepetition Letters of Credit shall become Letters of Credit

 under the DIP Obligations; (ii) 50% of the Prepetition Secured Obligations shall become DIP

 Obligations; (iii) all cash proceeds of U.S. Priority Collateral securing U.S. Secured Obligations




                                                 30
18-13374-mew       Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                         Pg 111 of 692


 (each as defined in the DIP Intercreditor Agreement) shall be deemed to pay down outstanding

 obligations under the U.S. Prepetition Credit Facility on a dollar-for-dollar basis and,

 contemporaneously therewith, increase availability under the U.S. DIP Revolving Credit Facility,

 subject to compliance with any applicable borrowing base limitations as set forth herein, by a

 corresponding amount; (iv) all cash proceeds of Global Prepetition ABL Collateral securing

 Global Secured Obligations (each as defined in the DIP Intercreditor Agreement) shall be

 deemed to pay-down outstanding obligations under the Global Prepetition Credit Facility on a

 dollar-for-dollar basis and, contemporaneously therewith, increase availability under the Global

 DIP Revolving Credit Facility, subject to compliance with any applicable borrowing base

 limitations as set forth herein, by a corresponding amount; provided, however, that (i) and (ii)

 hereof shall be subject to section 4.1 of this Interim Order and Local Rule 4001-2(g)(5).

                 1.6   Continuation of Prepetition Procedures. Except to the extent expressly set

 forth in the Prepetition Loan Documents and DIP Loan Documents, all prepetition practices and

 procedures for the payment and collection of proceeds of the Prepetition ABL Collateral,

 sleeving, the turnover of cash, the delivery of property to the U.S. Prepetition Agents and the

 U.S. Prepetition Lenders, including the Deposit Account Control Agreements (as such term is

 defined in the U.S. Prepetition Credit Agreement) and any other similar lockbox or blocked

 depository bank account arrangements, are hereby approved and shall continue without

 interruption.

                 1.7   Indemnification.    The Debtors are authorized to indemnify and hold

 harmless the DIP Agents, each DIP Lender and, solely in their capacities as such, each of their

 respective successors, assigns, affiliates, parents, subsidiaries, partners, controlling persons,

 representatives, agents, attorneys, advisors, financial advisors, consultants, professionals,




                                                 31
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18         Main Document
                                           Pg 112 of 692


 officers, directors, members, managers, shareholders and employees, past, present and future,

 and their respective heirs, predecessors, successors and assigns (each, an “Indemnified Party”),

 in accordance with, and subject to, the DIP Loan Documents, which indemnification is hereby

 authorized and approved.

 Section 2.     Postpetition Lien; Superpriority Administrative Claim Status.

                2.1     Postpetition Lien.

                        (a)     Postpetition DIP Lien Granting.     To secure performance and

 payment when due (whether at the stated maturity, by acceleration or otherwise) of any and all

 DIP Obligations of Debtors to the DIP Secured Parties of whatever kind, nature or description,

 absolute or contingent, now existing or hereafter arising, the DIP Agents, for the benefit of

 themselves and the DIP Lenders, shall have and is hereby granted, effective as of the Petition

 Date, continuing, valid, binding, enforceable, non-avoidable, and automatically and properly

 perfected security interests in and liens (collectively, the “DIP Liens”, and together with the

 Prepetition Liens on the DIP Collateral, the “DIP Liens”) in and upon all DIP Collateral, subject

 to the priority set forth in Section 2.1(b), below.

                        (b)     DIP Lien Priority in Collateral. The DIP Liens securing all DIP

 Obligations shall be first and senior in priority to all other interests and liens of every kind,

 nature and description, whether created consensually, by an order of the Court or otherwise,

 including, without limitation, liens or interests granted in favor of third parties in conjunction

 with sections 363, 364 or any other section of the Bankruptcy Code or other applicable law;

 provided, however, that the DIP Liens on the (i) DIP Collateral shall be subject to the Carve Out

 and Permitted Liens (as defined in the applicable DIP Loan Agreement) and (ii) Prepetition Term

 Collateral shall be subject to the Carve Out, Permitted Liens, Prepetition Term Liens, and any

 adequate protection liens or claims granted pursuant to the Prepetition Term Adequate Protection



                                                   32
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                          Pg 113 of 692


 Orders (the “Prepetition Term Adequate Protection Liens and Claims”); provided, for the

 avoidance of doubt, the Prepetition Term Adequate Protection Liens and Claims shall be limited

 to the (i) prepetition collateral granted to any Prepetition Term Party under the respective

 Prepetition Term Loan Documents (as defined in the Motion) and (ii) the borrowers under the

 applicable Prepetition Term Loan Facility under which such Prepetition Term Party is a party

 and any other Debtor against whom such Prepetition Term Party has a Prepetition Term Lien.

                        (c)     Postpetition Lien Perfection. This Interim Order shall be sufficient

 and conclusive evidence of the priority, perfection and validity of the DIP Liens and security

 interests granted herein, effective as of the Petition Date, without any further act and without

 regard to any other federal, state or local requirements or law requiring notice, filing,

 registration, recording or possession of the DIP Collateral, or other act to validate or perfect such

 security interest or lien, including without limitation, control agreements with any financial

 institution(s) party to a Deposit Account Control Agreement or other depository account

 consisting of DIP Collateral (a “Perfection Act”). Notwithstanding the foregoing, if either DIP

 Agent, shall, in its sole discretion, elect for any reason to file, record or otherwise effectuate any

 Perfection Act, then such DIP Agent is authorized to perform such act, and the Debtors and

 Guarantors are authorized and directed to perform such act to the extent necessary or required by

 the DIP Loan Documents, which act or acts shall be deemed to have been accomplished as of the

 date and time of entry of this Interim Order notwithstanding the date and time actually

 accomplished, and in such event, the subject filing or recording office is authorized to accept, file

 or record any document in regard to such act in accordance with applicable law. The DIP Agents

 may choose to file, record or present a certified copy of this Interim Order in the same manner as

 a Perfection Act, which shall be tantamount to a Perfection Act, and, in such event, the subject




                                                  33
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                          Pg 114 of 692


 filing or recording office is authorized to accept, file or record such certified copy of this Interim

 Order in accordance with applicable law. Should either DIP Agent so choose and attempt to file,

 record or perform a Perfection Act, no defect or failure in connection with such attempt shall in

 any way limit, waive or alter the validity, enforceability, attachment, or perfection of the

 postpetition liens and security interests granted herein by virtue of the entry of this Interim

 Order.

                        (d)     To the extent that any applicable non-bankruptcy law otherwise

 would restrict the granting, scope, enforceability, attachment, or perfection of the DIP Agents’

 and the DIP Lenders’ liens and security interests granted and created by this Interim Order or

 otherwise would impose filing or registration requirements with respect to such liens and

 security interests, such law is hereby pre-empted to the maximum extent permitted by the

 Bankruptcy Code, applicable federal or foreign law, and the judicial power and authority of the

 United States Bankruptcy Court. By virtue of the terms of this Order, to the extent that any DIP

 Agent has filed Uniform Commercial Code financing statements, mortgages, deeds of trust, or

 other security or perfection documents under the names of any of the Debtors (including all

 Guarantors), such filings shall be deemed to properly perfect its liens and security interests

 granted and confirmed by this Order without further action by the applicable DIP Agent.

                        (e)     The DIP Liens and the DIP Superpriority Claims (i) shall not be

 made subject to or pari passu with (A) any lien, security interest or claim heretofore or

 hereinafter granted in any of these Cases or any Successor Cases and shall be valid and

 enforceable against the Debtors, their Estates, any trustee or any other estate representative

 appointed or elected in these Cases or any Successor Cases and/or upon the dismissal of any of

 these Cases or any Successor Cases, (B) any lien that is avoided and preserved for the benefit of




                                                  34
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 115 of 692


 the Debtors and their Estates under section 551 of the Bankruptcy Code or otherwise, and (C)

 any intercompany or affiliate lien or claim; and (ii) shall not be subject to sections 510, 549, 550

 or 551 of the Bankruptcy Code; provided, however, that notwithstanding the foregoing, the DIP

 Liens and DIP Superpriority Claims shall be subject to the Carve Out, the Prepetition Term

 Liens, and Prepetition Term Adequate Protection Liens and Claims; provided further that the

 DIP Lenders intend to require that the Final Order shall provide, and the Debtors have agreed as

 a condition to obtaining financing under the DIP Facilities, to seek Court approval at the Final

 Hearing that the DIP Liens and DIP Superpriority Claims shall not be subject to section 506(c) of

 the Bankruptcy Code.

                2.2     Superpriority Administrative Expenses.

                        (a)    DIP Loans. For all DIP Obligations now existing or hereafter

 arising pursuant to this Interim Order, the DIP Loan Documents or otherwise, the DIP Agents,

 for the benefit of themselves and the DIP Lenders, are granted an allowed superpriority

 administrative claim pursuant to section 364(c)(1) of the Bankruptcy Code, having priority in

 right of payment over any and all other obligations, liabilities and indebtedness of Debtors (other

 than the Carve Out, Prepetition Term Liens, and Prepetition Term Adequate Protection Liens and

 Claims), whether now in existence or hereafter incurred by the Debtors, and over any and all

 administrative expenses or priority claims of the kind specified in, or ordered pursuant to, inter

 alia, sections 105, 326, 328, 330, 331, 364(c)(1), 503(b), 507(a), 507(b), 546(c), 1113 or 1114 of

 the Bankruptcy Code (other than the Carve Out and Prepetition Term Adequate Protection Liens

 and Claims), whether or not such expenses or claims may become secured by a judgment lien or

 other non-consensual lien, levy or attachment, which allowed superpriority administrative claim

 shall be payable from and have recourse to all prepetition and postpetition property of the




                                                 35
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 116 of 692


 Debtors and all proceeds thereof (other than the Carve Out, the Prepetition Term Liens and the

 proceeds of avoidance actions under chapter 5 of the Bankruptcy Code) (the “DIP Superpriority

 Claims”); provided, however, that notwithstanding the foregoing, the DIP Superpriority Claims

 shall be subject to the Carve Out, the Prepetition Term Liens, and the Prepetition Term Adequate

 Protection Liens and Claims.

                2.3     Carve Out.

                        (a)     Carve Out. The “Carve Out” means the sum of (i) all fees required

 to be paid to the Clerk of the Court and to the Office of the U.S. Trustee under section 1930(a) of

 title 28 of the United States Code plus interest at the statutory rate (without regard to the notice

 set forth in (iii) below); (ii) all reasonable fees and expenses up to $50,000 incurred by a trustee

 under section 726(b) of the Bankruptcy Code (without regard to the notice set forth in

 (iii) below); (iii) to the extent allowed at any time, whether by interim order, procedural order, or

 otherwise, all unpaid fees and expenses (the “Allowed Professional Fees”) incurred by persons or

 firms retained by the Debtors pursuant to section 327, 328, or 363 of the Bankruptcy Code (the

 “Debtor Professionals”) and the Committee (if appointed) pursuant to section 328 or 1103 of the

 Bankruptcy Code (the “Committee Professionals” and, together with the Debtor Professionals,

 the “Professional Persons”) at any time before or on the first Business Day following delivery by

 either DIP Agent of a Carve Out Trigger Notice (as defined below), whether allowed by the

 Court prior to or after delivery of a Carve Out Trigger Notice; provided, however, that the Carve

 Out shall not include amounts related to any completion fee, success fee, restructuring fee, or

 similar such fee or compensation in respect of any Professional Persons; and (iv) Allowed

 Professional Fees of Professional Persons in an aggregate amount not to exceed $2,500,000

 incurred after the first Business Day following delivery by either DIP Agent of the Carve Out




                                                  36
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                         Pg 117 of 692


 Trigger Notice, to the extent allowed at any time, whether by interim order, procedural order, or

 otherwise (the amounts set forth in this clause (iv) being the “Post-Carve Out Trigger Notice

 Cap”). For purposes of the foregoing, “Carve Out Trigger Notice” shall mean a written notice

 delivered by email (or other electronic means) by either DIP Agent to the Debtors, their lead

 restructuring counsel, the U.S. Trustee, and counsel to the Committee, which notice may be

 delivered following the occurrence and during the continuation of an Event of Default and

 acceleration of an obligation under the applicable DIP Facility stating that the Post-Carve Out

 Trigger Notice Cap has been invoked.

                       (b)    Carve Out Reserves. On the day on which a Carve Out Trigger

 Notice is given by the DIP Agent to the Debtors with a copy to counsel to the Committee (the

 “Termination Declaration Date”), the Carve Out Trigger Notice shall (i) be deemed a draw

 request and notice of borrowing by the Debtors for both revolving and any outstanding delayed

 draw term loans under the DIP Facilities (on a pro rata basis based on the then outstanding U.S.

 Revolving Commitments, DIP Term Loan Commitment, or Global Revolving Commitments

 (together, the “Commitments”)), in an amount equal to the then unpaid amounts of the Allowed

 Professional Fees (any such amounts actually advanced shall constitute DIP Loans) and (ii) also

 constitute a demand to the Debtors to utilize all cash on hand as of such date and any available

 cash thereafter held by any Debtor to fund a reserve in an amount equal to the then unpaid

 amounts of the Allowed Professional Fees. The Debtors shall deposit and hold such amounts in

 a segregated account at the DIP Agent in trust to pay such then unpaid Allowed Professional

 Fees (the “Pre-Carve Out Trigger Notice Reserve”) prior to any and all other claims. On the

 Termination Declaration Date, the Carve Out Trigger Notice shall also (i) be deemed a request

 by the Debtors for both revolving and any outstanding delayed draw term loans under the DIP




                                                37
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                          Pg 118 of 692


 Facilities (on a pro rata basis based on the then outstanding Commitments), in an amount equal

 to the Post-Carve Out Trigger Notice Cap (any such amounts actually advanced shall constitute

 DIP Loans) and (ii) constitute a demand to the Debtors to utilize all cash on hand as of such date

 and any available cash thereafter held by any Debtor, after funding the Pre-Carve Out Trigger

 Notice Reserve, to fund a reserve in an amount equal to the Post-Carve Out Trigger Notice Cap.

 The Debtors shall deposit and hold such amounts in a segregated account at the DIP Agent in

 trust to pay such Allowed Professional Fees benefiting from the Post-Carve Out Trigger Notice

 Cap (the “Post-Carve Out Trigger Notice Reserve” and, together with the Pre-Carve Out Trigger

 Notice Reserve, the “Carve Out Reserves”) prior to any and all other claims. On the first

 business day after the DIP Agent gives such notice to such DIP Lenders, notwithstanding

 anything in the DIP Facilities to the contrary, including with respect to the existence of a Default

 (as defined in the applicable DIP Facility) or Event of Default (as defined in the applicable DIP

 Facility), the failure of the Debtors to satisfy any or all of the conditions precedent for any of the

 DIP Loans under any of the DIP Facilities, any termination of the Commitments following an

 Event of Default, or the occurrence of the Maturity Date (as defined in the applicable DIP

 Facility), each DIP Lender with an outstanding Commitment (on a pro rata basis based on the

 then outstanding Commitments) shall make available to the DIP Agent such DIP Lender’s pro

 rata share with respect to such borrowing in accordance with the applicable DIP Facility. All

 funds in the Pre-Carve Out Trigger Notice Reserve shall be used first to pay the obligations set

 forth in clauses (i) through (iii) of the definition of Carve Out set forth above (the “Pre-Carve

 Out Amounts”), but not, for the avoidance of doubt, the Post-Carve Out Trigger Notice Cap,

 until paid in full, and then, to the extent the Pre-Carve Out Trigger Notice Reserve has not been

 reduced to zero, to pay the DIP Agents for the benefit of the DIP Lenders, unless all DIP




                                                  38
18-13374-mew       Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                         Pg 119 of 692


 Obligations have been indefeasibly paid in full, in cash, and all Commitments have been

 terminated, in which case any such excess shall be paid to the Prepetition Secured Parties (as

 defined in the Motion), in accordance with their rights and priorities as of the Petition Date. All

 funds in the Post-Carve Out Trigger Notice Reserve shall be used first to pay the obligations set

 forth in clause (iv) of the definition of Carve Out set forth above (the “Post-Carve Out

 Amounts”), and then, to the extent the Post-Carve Out Trigger Notice Reserve has not been

 reduced to zero, to pay the DIP Agents for the benefit of the DIP Lenders, unless the DIP

 Obligations have been indefeasibly paid in full, in cash, and all Commitments have been

 terminated, in which case any such excess shall be paid to the Prepetition Secured Parties in

 accordance with their rights and priorities as of the Petition Date. Notwithstanding anything to

 the contrary in the DIP Loan Documents, or this Interim Order, if either of the Carve Out

 Reserves is not funded in full in the amounts set forth in this Section 2.3, then, any excess funds

 in one of the Carve Out Reserves following the payment of the Pre-Carve Out Amounts and

 Post-Carve Out Amounts, respectively, shall be used to fund the other Carve Out Reserve, up to

 the applicable amount set forth in this Section 2.3, prior to making any payments to the DIP

 Agents or the Prepetition Secured Parties, as applicable. Notwithstanding anything to the

 contrary in the DIP Loan Documents or this Interim Order, following delivery of a Carve Out

 Trigger Notice, the DIP Agents and the Prepetition Agents shall not sweep or foreclose on cash

 (including cash received as a result of the sale or other disposition of any assets) of the Debtors

 until the Carve Out Reserves have been fully funded, but shall have a security interest in any

 residual interest in the Carve Out Reserves, with any excess paid to the DIP Agent for

 application in accordance with the DIP Loan Documents. Further, notwithstanding anything to

 the contrary in this Interim Order, (i) disbursements by the Debtors from the Carve Out Reserves




                                                 39
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                           Pg 120 of 692


 shall not constitute Loans (as defined in the DIP Loan Agreements) or increase or reduce the DIP

 Obligations, (ii) the failure of the Carve Out Reserves to satisfy in full the Allowed Professional

 Fees shall not affect the priority of the Carve Out, and (iii) in no way shall the Initial Budget,

 Approved Budget, Carve Out, Post-Carve Out Trigger Notice Cap, Carve Out Reserves, or any

 of the foregoing be construed as a cap or limitation on the amount of the Allowed Professional

 Fees due and payable by the Debtors. For the avoidance of doubt and notwithstanding anything

 to the contrary in this Interim Order, the DIP Facilities, or in any Prepetition Credit Facilities, the

 Carve Out shall be senior to all liens and claims securing all of the DIP Facilities, the Prepetition

 Replacement Liens, and any and all other forms of adequate protection, liens, or claims securing

 the DIP Obligations or the Prepetition Secured Obligations. For the avoidance of doubt, the

 Carve Out shall not be senior to the Prepetition Term Liens or the Prepetition Term Adequate

 Protection Liens and Claims.

                        (c)     Payment of Allowed Professional Fees Prior to the Termination

 Declaration Date. Any payment or reimbursement made prior to the occurrence of the

 Termination Declaration Date in respect of any Allowed Professional Fees shall not reduce the

 Carve Out.

                        (d)     No Direct Obligation To Pay Allowed Professional Fees. None of

 the DIP Agent, DIP Lenders, the Prepetition Secured Parties, or the Prepetition Term Parties

 shall be responsible for the payment or reimbursement of any fees or disbursements of any

 Professional Person incurred in connection with these Cases or any Successor Cases under any

 chapter of the Bankruptcy Code. Nothing in this Interim Order or otherwise shall be construed

 to obligate the DIP Agent, the DIP Lenders, the Prepetition Secured Parties, or the Prepetition

 Term Parties in any way, to pay compensation to, or to reimburse expenses of, any Professional




                                                   40
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 121 of 692


 Person or to guarantee that the Debtors have sufficient funds to pay such compensation or

 reimbursement.

                        (e)     Payment of Carve Out On or After the Termination Declaration

 Date. Any payment or reimbursement made on or after the occurrence of the Termination

 Declaration Date in respect of any Allowed Professional Fees shall permanently reduce the

 Carve Out on a dollar-for-dollar basis. Any funding of the Carve Out shall be added to, and

 made a part of, the DIP Obligations secured by the DIP Collateral and shall be otherwise entitled

 to the protections granted under this Interim Order, the DIP Loan Documents, the Bankruptcy

 Code, and applicable law.

                2.4     Excluded Professional Fees. Notwithstanding anything to the contrary in

 this Interim Order, none of the (i) Carve Out, (ii) DIP Facilities, (iii) DIP Collateral, Prepetition

 ABL Collateral, DIP Loans, ABL Cash Collateral, Revolving Loans, Letters of Credit, or

 (iv) any other credit or financial accommodations provided under or in connection with any of

 the DIP Loan Documents, nor the proceeds of any of the foregoing may be used to pay any

 Allowed Professional Fees or any other fees or expenses incurred by any Professional Person,

 directly or indirectly, or by any of the Debtors, the Committee, if any, or any trustee or other

 estate representative appointed in these Cases or any Successor Cases or any other person or

 entity (or to pay any professional fees, disbursements, costs or expenses incurred in connection

 therewith) in connection with any of the following unless, with respect to (ii)-(iv), agreed to in

 writing by the DIP Lenders:

                        (a)     an assertion or joinder in any claim, counter-claim, action,

 proceeding, application, motion, objection, defense or other contested matter seeking any order,

 judgment, determination or similar relief: (i) challenging the legality, validity, priority,




                                                  41
18-13374-mew       Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                         Pg 122 of 692


 perfection, or enforceability of the (A) Prepetition Secured Obligations or Prepetition Secured

 Parties’ liens on and security interests in the Prepetition ABL Collateral, and (B) the

 DIP Obligations or any DIP Agent’s or DIP Lender’s liens on and security interests in the

 DIP Collateral; (ii) invalidating, setting aside, avoiding or subordinating, in whole or in part,

 (A) the Prepetition Secured Obligations or Prepetition Secured Parties’ liens on and security

 interests in the Prepetition ABL Collateral, and (B) the DIP Obligations or any DIP Agent’s or

 DIP Lender’s liens on and security interests in the DIP Collateral; or (iii) preventing, hindering

 or delaying either DIP Agent’s or DIP Lenders’ enforcement of any lien, claim, right or security

 interest or realization upon any DIP Collateral in accordance with the terms and conditions of

 either DIP Loan Agreement or any DIP Loan Documents, respectively, and this Interim Order;

                       (b)     (i) to use or seek to use ABL Cash Collateral; (ii) except as

 permitted by the DIP Loan Documents, to sell or otherwise dispose of the DIP Collateral (or any

 portion thereof) other than in accordance with the terms of this Interim Order; (iii) except to the

 extent permitted by the DIP Loan Documents, to use or seek to use any insurance proceeds

 constituting DIP Collateral without the consent of the DIP Agents and the applicable Required

 DIP Lenders (as defined in the applicable DIP Loan Document); (iv) except to the extent

 expressly permitted by the DIP Loan Documents, to seek authorization to incur Indebtedness or

 Financial Indebtedness (as defined in the applicable DIP Loan Agreements) or to incur liens or

 security interests; (v) to object to or challenge in any way the rights granted or provided to the

 DIP Secured Parties under the terms of this Interim Order or the Bankruptcy Code, the DIP

 Liens, DIP Obligations, Prepetition Liens, Prepetition Secured Obligations, DIP Collateral

 (including ABL Cash Collateral or Prepetition ABL Collateral or any other claims or liens held

 by or on behalf of any of the DIP Agents, the DIP Lenders or the Prepetition Secured Parties,




                                                 42
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 123 of 692


 respectively, (vi) to prosecute or support any plan of liquidation or reorganization that crams

 down or reinstates the Prepetition Secured Obligations, (vii) to investigate (including by way of

 examinations or discovery proceedings, whether formal or informal), prepare, assert, join,

 commence, support or prosecute any action for any claim, counter-claim, action, proceeding,

 application, motion, objection, defense, or other contested matter seeking any order, judgment,

 determination or similar relief against, or adverse to the interests of, in any capacity, against any

 of the Released Parties with respect to any transaction, occurrence, omission, action or other

 matter arising under, in connection with or related to this Interim Order, the DIP Facility, the

 DIP Loan Documents, the Prepetition Loan Documents or the transactions contemplated therein

 or thereby, including, without limitation, (A) any claims or causes of action arising under

 chapter 5 of the Bankruptcy Code, (B) any so-called “lender liability” claims and causes of

 action, (C) any challenge to, claim, or cause of action with respect to the validity, enforceability,

 priority and extent of, or asserting any defense, counterclaim, or offset to, the DIP Obligations,

 the DIP Superpriority Claims, the DIP Liens, the DIP Loan Documents, the Prepetition Loan

 Documents or the Prepetition Secured Obligations, (D) any claim or cause of action seeking to

 challenge, invalidate, modify, set aside, avoid, marshal, limit, restrict, subordinate, disallow, or

 recharacterize in whole or in part, the DIP Obligations, the DIP Liens, the DIP Superpriority

 Claim, the DIP Collateral, the Prepetition ABL Collateral, the Prepetition Secured Obligations,

 (E) any action seeking to modify any of the rights, remedies, priorities, privileges, protections

 and benefits granted to either the DIP Agents or the DIP Lenders hereunder or under any of the

 DIP Loan Documents, the Prepetition Secured Parties under any of the Prepetition Loan

 Documents (in each case, including, without limitation, claims, proceedings or actions that might

 prevent, hinder or delay any of the DIP Agent’s or the DIP Lenders’ assertions, enforcements,




                                                  43
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 124 of 692


 realizations or remedies on or against the DIP Collateral in accordance with the applicable DIP

 Loan Documents and this Order and/or the Final Order (as applicable) (provided, however, that

 an amount no more than, $50,000 in the aggregate, to be incurred solely by the Committee (the

 “Investigation Budget Amount”) of the DIP Collateral or proceeds from the borrowings under

 the DIP Facilities or any other amounts, may be used for allowed fees and expenses in

 investigating (but not objecting to, challenging, litigating (including by way of discovery),

 opposing, or seeking to subordinate or recharacterize) the validity, enforceability, perfection,

 priority or extent of the Prepetition Liens, the Prepetition Loan Documents, or the Prepetition

 Secured Obligations, within the applicable challenge period as set forth in Section 4.1.

                        (c)    any act which has or could adversely modify or compromise the

 rights and remedies of any DIP Secured Party and/or Prepetition Secured Party under this Interim

 Order, including, without limitation, a challenge to the ability of any DIP Secured Party or

 Prepetition Secured Party to credit bid in connection with the sale of any assets of the Debtors, or

 which directly results in the occurrence of a DIP Termination Event under any DIP Loan

 Documents, or this Interim Order.

                2.5     Use of ABL Cash Collateral; Adequate Protection.

                        (a)    Authorization to Use ABL Cash Collateral. Subject to the terms

 and conditions of this Interim Order and the DIP Loan Documents, and consistent with the

 Approved Budget, the Debtors shall be and are hereby authorized to use the ABL Cash Collateral

 (as defined in section 363 of the Bankruptcy Code) for the period commencing on the date of this

 Interim Order and terminating upon the occurrence of a DIP Termination Event. Nothing in this

 Interim Order shall authorize the disposition of any assets of the Debtors or their Estates outside

 the ordinary course of business, or any Debtor’s use of ABL Cash Collateral or other proceeds




                                                 44
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 125 of 692


 resulting therefrom, except as expressly permitted in this Interim Order, the DIP Loan

 Documents and compliance with the Approved Budget. Any failure by the Debtors on or after

 the Petition Date to comply with the segregation requirements of section 363(c)(4) of the

 Bankruptcy Code in respect of any ABL Cash Collateral shall not be used as a basis to challenge

 any of the Prepetition Secured Obligations, or the extent, validity, enforceability or perfected

 status of any of the Prepetition Liens.

                        (b)     Prepetition Replacement Liens. As adequate protection for the

 Diminution in Value of their interests in the Prepetition ABL Collateral (including ABL Cash

 Collateral) and the subordination to the Carve Out, the Prepetition Secured Parties for the benefit

 of themselves and the Prepetition Lenders, are hereby granted pursuant to sections 361 and 363

 of the Bankruptcy Code, and solely to the extent of the Diminution in Value, valid, binding,

 enforceable and perfected replacement liens upon and security interests in all DIP Collateral (the

 “Prepetition Replacement Lien”).          The Prepetition Replacement Lien shall be junior and

 subordinate only to (i) the Carve Out, (ii) the Permitted Liens (as defined in the DIP Loan

 Agreements) (iii) Prepetition Secured Parties and Prepetition Lenders’ liens on the DIP

 Collateral to secure the Prepetition ABL Obligations, and (iv) the DIP Agents’ and DIP Lenders’

 DIP Lien on the DIP Collateral.

                        (c)     Prepetition 507(b) Priority Claims.       As additional adequate

 protection for the Diminution in Value, the Prepetition Secured Parties for the benefit of

 themselves and the Prepetition Lenders, are hereby granted as and to the extent provided by

 section 507(b) of the Bankruptcy Code, and solely to the extent of the Diminution in Value, an

 allowed superpriority administrative expense claim in each of these Cases and any successor

 bankruptcy cases (the “Prepetition Adequate Protection Superpriority Claim”). The Prepetition




                                                   45
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 126 of 692


 Adequate Protection Superpriority Claim shall be junior only to (i) the Carve Out, and (ii) the

 DIP Superpriority Claim, and (iii) the Prepetition Term Adequate Protection Liens and Claims,

 and shall otherwise have priority over all administrative expense claims and unsecured claims

 against Debtors and their Estates now existing or hereafter arising, of any kind or nature

 whatsoever.

                        (d)     Fees and Expenses.         The Prepetition Secured Parties for

 themselves and for the benefit of the applicable Prepetition Lenders, shall receive from the

 Debtors current cash payments of all reasonable and documented out-of-pocket fees and

 expenses (whether incurred prepetition or post-petition) of Allen & Overy LLP; Willkie Farr &

 Gallaher LLP; Milbank, Tweed, Hadley & McCloy LLP; Norton Rose Fulbright LLP and such

 other local counsels and advisors as may be required thereby (the “Creditor’s Counsel”);

 provided, that any invoices submitted to, and payments made by, the Debtors under this Section

 2.5(d) shall be subject to the procedures set forth in Section 5.14 of this Interim Order.

                        (e)     Adequate Protection Payments. The Prepetition Secured Parties for

 themselves and for the benefit of the applicable Prepetition Lenders, shall receive from the

 Debtors periodic adequate protection payments (the “Adequate Protection Payments”) in an

 amount resulting from applying a per annum rate equal to the non-default interest rate under the

 applicable Prepetition Credit Facility to the aggregate outstanding amount of Prepetition Secured

 Obligations as of the Petition Date in respect of such relevant periods ending after the Petition

 Date (and not, for the avoidance of doubt, at any different rate set forth in any of the applicable

 Prepetition Credit Facilities); provided, however, that any Adequate Protection Payment shall be

 without prejudice, and with a full reservation of rights, as to whether such payment should be

 recharacterized or reallocated pursuant to section 506(b) of the Bankruptcy Code as principal




                                                  46
18-13374-mew       Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18        Main Document
                                            Pg 127 of 692


 payments under the applicable Prepetition Credit Facilities (whether as to principal, interest or

 otherwise). The Adequate Protection Payments will be calculated on a monthly basis, and be

 due and payable on the first business day of each month occurring after the first full month

 following the Petition Date.

                       (f)       Adequate Protection Reservation. The receipt by the Prepetition

 Secured Parties of the adequate protection provided pursuant to paragraph 2.5 of this Interim

 Order shall not be deemed an admission that the interests of the Prepetition Secured Parties are

 indeed adequately protected. Further, nothing contained in this Interim Order shall prejudice or

 limit the rights of the Prepetition Secured Parties, subject to the Prepetition Intercreditor

 Agreements, to seek additional relief with respect to the use of ABL Cash Collateral or for

 additional adequate protection.

 Section 3.     Default; Rights and Remedies; Relief from Stay.

                3.1    Events of Default. The occurrence of (a) any “Event of Default” as that

 term is defined in each of the DIP Loan Agreements; (b) any failure to meet or satisfy any

 Milestone in accordance with the applicable DIP Loan Agreement; (c) the Maturity Date under

 any DIP Loan Agreement; and/or (d) any violation, breach or default by any Debtor with respect

 to any of its obligations under this Interim Order, shall constitute a “DIP Termination Event”

 hereunder unless waived in writing by the applicable DIP Secured Parties and in accordance with

 the applicable DIP Loan Documents.

                3.2    Rights and Remedies upon a DIP Termination Event.

                       (a)       Subject to the terms and provisions of the Prepetition Term

 Adequate Protection Orders, upon the occurrence of and during the continuance of a DIP

 Termination Event, the DIP Agents shall be entitled to take any act or exercise any right or

 remedy as provided in this Interim Order or any DIP Loan Document, as applicable, including,



                                                 47
18-13374-mew       Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                         Pg 128 of 692


 without limitation, (i) declare all DIP Obligations owing under their respective DIP Loan

 Documents to be immediately due and payable; (ii) terminate, reduce or restrict any commitment

 to extend additional credit to the Debtors to the extent any such commitment remains (including

 provision of any Letters of Credit); (iii) terminate the DIP Facilities and any DIP Loan

 Document as to any future liability or obligation of the DIP Secured Parties, but without

 affecting any of the DIP Obligations or the DIP Liens securing the DIP Obligations;

 (iv) terminate and/or revoke the Debtors’ right, if any, under this Interim Order and the other DIP

 Loan Documents to use any ABL Cash Collateral and all authority to use ABL Cash Collateral

 shall cease, subject to section 3.2(b); (v) invoke the right to charge interest at the default rate

 under the DIP Loan Documents; (vi) freeze monies or balances in the Debtors’ accounts

 constituting Collateral; (vii) immediately setoff any and all amounts in accounts maintained by

 the Debtors with the applicable DIP Agents or the DIP Lenders against the DIP Obligations;

 (viii) otherwise enforce any and all rights against the DIP Collateral in the possession of any of

 the applicable DIP Lenders, including, without limitation, disposition of the DIP Collateral for

 application towards the DIP Obligations, subject to section 3.2(b); and (A) take any other actions

 or exercise any other rights or remedies permitted under this Order, the DIP Loan Documents or

 applicable law; provided, however, that prior to the exercise of any right set forth in this

 paragraph, the applicable DIP Agent shall be required to provide three (3) Business Days’

 written notice to counsel to the Debtors, counsel to the Committee and the U.S. Trustee of its

 intent to exercise its rights and remedies (the “Enforcement Notice Period”) other than with

 respect to funding of the Carve Out. The DIP Secured Parties shall have no obligation to lend or

 advance any additional funds to or on behalf of Debtors, or provide any other financial

 accommodations to Debtors, immediately upon or after the occurrence of a DIP Termination




                                                 48
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 129 of 692


 Event, or upon the occurrence of any act, event, or condition that, with the giving of notice or the

 passage of time, or both, would constitute a DIP Termination Event. For the avoidance of doubt,

 notwithstanding the forgoing, the Debtors may use ABL Cash Collateral for (i) the Carve Out

 Reserves, as set forth in Section 2.3; and (ii) subject to the Approved Budget, amounts that the

 Debtors have determined in good faith are, in the ordinary course, critical to the preservation of

 the Debtors and their Estates and have approved in advance in writing by the applicable

 Required DIP Lenders.

                        (b)    Unless during such Enforcement Notice Period the Court

 determines that a DIP Termination Event has not occurred, the DIP Agents and the DIP Lenders

 shall be deemed to have received relief from the automatic stay, and subject in each case to the

 terms and conditions of the Prepetition Term Adequate Protection Orders, may (unless stayed)

 foreclose on all or any portion of the DIP Collateral, collect accounts receivable, and apply the

 proceeds thereof to the DIP Obligations, occupy the Debtor ABL Obligors’ premises to sell or

 otherwise dispose of the DIP Collateral, or otherwise exercise all rights and remedies available

 against the DIP Collateral permitted by the DIP Loan Documents in accordance with applicable

 law or equity, without further notice to, hearing of, or order from this Court, and without

 restriction or restraint by any stay under sections 105 or 362 of the Bankruptcy Code, or

 otherwise. During the Enforcement Notice Period, the Debtors may use ABL Cash Collateral to

 pay, subject to the Approved Budget, only the following amounts and expenses: (i) the Carve

 Out Reserves, as set forth in section 2.3; and (ii) subject to the Approved Budget, amounts that

 the Debtors have determined in good faith are, in the ordinary course, critical to the preservation

 of the Debtors and their Estates and have approved in advance in writing by the applicable

 Required DIP Lenders. The Debtors shall reasonably cooperate with the DIP Agents and the




                                                 49
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 130 of 692


 DIP Lenders in their exercise of rights and remedies, whether against the DIP Collateral or

 otherwise, and the Debtors shall waive any right to seek relief under the Bankruptcy Code,

 including under section 105 thereof, to the extent such relief would restrict or impair the rights

 and remedies of the DIP Agents and the DIP Lenders set forth in this Interim Order and in the

 DIP Loan Documents, other than to dispute whether a DIP Termination Event has in fact

 occurred; provided, however, that none of the DIP Secured Parties shall object to a request by the

 Debtors for an expedited hearing before the Court to contest whether a DIP Termination Event

 has in fact occurred.

                3.3      Modification of Automatic Stay.

                         (a)    The automatic stay provisions of section 362 of the Bankruptcy

 Code and any other restriction imposed by an order of the Court or applicable law are hereby

 modified without further notice, application or order of the Court to the extent necessary to

 (i) permit the DIP Agents to perform any act authorized or permitted under or by virtue of this

 Interim Order, the DIP Loan Agreements, the DIP Security Agreements, or the other DIP Loan

 Documents, as applicable, including, without limitation, (A) to implement the postpetition

 financing arrangements authorized by this Interim Order, (B) to take any act to create, validate,

 evidence, attach or perfect any lien, security interest, right or claim in the DIP Collateral, (C) to

 assess, charge, collect, advance, deduct and receive payments with respect to the Prepetition

 ABL Obligations and DIP Obligations (or any portion thereof), including, without limitation, all

 interests, fees, costs and expenses permitted under any of the DIP Loan Documents and apply

 such payments to the Prepetition ABL Obligations, and (D) immediately following the expiration

 of the Enforcement Notice Period (as referred to above), unless stayed, to take any action and

 exercise all rights and remedies provided to it by this Interim Order, the DIP Loan Documents or




                                                  50
18-13374-mew       Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                         Pg 131 of 692


 applicable law; provided that the authorization set forth in this paragraph 3.3(a) shall be subject

 in each case to the terms and conditions of the Prepetition Term Adequate Protection Orders and

 (ii) to permit the Stalking Horse Bidder to terminate the Stalking Horse Agreement in accordance

 with its terms and to deliver any notice or election contemplated thereunder.

 Section 4.     Representations; Covenants; and Waivers.

                4.1    Reservation of Third Party Challenge Rights.

                       (a)     Objections to Prepetition ABL Obligations.          Notwithstanding

 anything to the contrary in the Interim Order, any action, claim, defense, complaint, motion or

 other written opposition (hereinafter, a “Prepetition Objection”) that seeks to object to,

 challenge, contest or otherwise invalidate or reduce, whether by setoff, recoupment,

 counterclaim, deduction, disgorgement or claim of any kind regarding: (i) the existence, validity

 or amount of the Prepetition ABL Obligations, as of the Petition Date, (including as to the value

 of a secured claim of the Prepetition Agent and Prepetition Lenders solely with respect to

 Prepetition ABL Obligations, pursuant to section 506(a) of the Bankruptcy Code) or (ii) the

 extent, legality, validity, perfection or enforceability of the Prepetition Secured Parties and

 Prepetition Lenders’ respective prepetition liens and security interests in the Prepetition ABL

 Collateral solely with respect to Prepetition ABL Obligations, shall be properly filed with the

 Court (x) by the Committee, if a Committee is appointed and if the Court grants the Committee

 the requisite standing, within sixty (60) calendar days from the date of entry of the Final Order

 (the “Committee Challenge Period”), or (y) if no Committee is appointed, by any party in

 interest with requisite standing within seventy-five (75) calendar days from the date of entry of

 the Final Order (such period, together with the Committee Challenge Period, the “Challenge

 Periods” and each, a “Challenge Period”); provided, however, that nothing herein shall permit

 any party to challenge the extent or validity of the DIP Obligations or any liens that secure such



                                                 51
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 132 of 692


 DIP Obligations or provide standing to any such party; provided further however, that the

 portion of the Roll-Up effective immediately upon entry of this Order shall be subject to Local

 Rule 4001-2(g)(5). If any such Prepetition Objection is timely and properly filed and a final,

 non-appealable order is entered by a court of competent jurisdiction sustaining and ordering

 some or all of the relief requested in such Prepetition Objection, nothing in this Interim Order

 shall prevent the Court from granting appropriate relief with respect to the Prepetition ABL

 Obligations or the Prepetition Secured Parties or the Prepetition Lenders’ liens on the Prepetition

 ABL Collateral. If no Prepetition Objection is timely and properly filed, or if a Prepetition

 Objection is timely and properly filed but denied, (i) the Prepetition ABL Obligations shall be

 deemed allowed in full, shall not be subject to any setoff, recoupment, counterclaim, deduction

 or claim of any kind, and shall not be subject to any further objection or challenge by any party

 at any time, and the Prepetition Secured Parties and the Prepetition Lenders’ prepetition liens on

 and security interest in the Prepetition ABL Collateral shall be deemed legal, valid, perfected,

 enforceable, and non-avoidable for all purposes, and (ii) the Prepetition Secured Parties and the

 Prepetition Lenders, and each of their respective participants, agents, officers, directors,

 employees, attorneys, professionals, successors, and assigns (each in their respective capacities

 as such) shall be deemed released and discharged from any and all claims and causes of action

 related to or arising out of the Prepetition Loan Documents and the Prepetition ABL Obligations,

 and shall not be subject to any further objection or challenge relating thereto or arising therefrom

 by any party at any time. The stipulations set forth in Section E of this Interim Order shall be

 binding upon each party in interest, including the Committee (if appointed) unless the Committee

 or any other party in interest with the requisite standing, (i) timely files a Prepetition Objection

 pursuant to Section 4.1(a)(x) or 4.1(a)(y) above, as applicable, and (ii) such Prepetition




                                                 52
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                         Pg 133 of 692


 Objection is sustained by a final and non-appealable order.          Nothing contained in this

 Section 4.1(a) or otherwise shall or shall be deemed or construed to impair, prejudice or waive

 any rights, claims or protections afforded to Prepetition Secured Parties or any Prepetition

 Lenders in connection with all postpetition Revolving Loans and Letters of Credit, and any other

 postpetition financial and credit accommodations provided by Prepetition Secured Parties to

 Debtors in reliance on section 364(e) of the Bankruptcy Code and in accordance with the terms

 and provisions of this Interim Order and the Prepetition Loan Documents. Nothing contained in

 this Section 4.1(a) or otherwise shall or shall be deemed or construed to impair, prejudice or

 waive any rights, claims or protections afforded to the DIP Agents or DIP Lenders in connection

 with all postpetition financial and credit accommodations provided by the DIP Agents or DIP

 Lenders in reliance on section 364(e) of the Bankruptcy Code and in accordance with the terms

 and provisions of this Interim Order and the DIP Loan Documents.

                       (b)     Nothing in this Interim Order vests or confers on the Committee or

 any person (as defined in the Bankruptcy Code) standing or authority to pursue any cause of

 action belonging to the Debtors or their Estates, and all rights to object to such standing are

 expressly reserved.

                       (c)     If the DIP Facilities are not approved on a final basis due to the

 existence and approval of competing or alternative debtor-in-possession financing (a “Competing

 DIP Facility”), the Debtors, Guarantors, and Prepetition Obligors shall pay in cash within 15

 days all amounts, obligations, and liabilities owing or payable to any Prepetition Secured Parties

 Prepetition Lenders, DIP Agents, or DIP Lenders, including any counsel or professionals

 retained by such Prepetition Secured Parties, Prepetition Lenders, DIP Agents, or DIP Lenders

 under the Prepetition Loan Documents or DIP Loan Documents including, without limitation, (i)




                                                53
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                           Pg 134 of 692


 any and all DIP Obligations and (ii) any principal, interest, fees, commitment fees,

 administrative agent fees, audit fees, closing fees, service fees, facility fees, or other fees, costs,

 expenses, charges and disbursements of the respective Prepetition Secured Parties (including the

 reasonable and documented fees and expenses of each of the Prepetition Secured Parties’

 attorneys, advisors, accountants and other consultants), any obligations in respect of indemnity

 claims, whether contingent or absolute, in each case constituting all “Obligations” as defined in

 the Prepetition Loan Documents. For the avoidance of doubt, the “DIP Obligations” set forth in

 this Interim Order will include reasonable and documented fees and expenses incurred by the

 DIP Secured Parties in connection with the negotiation and preparation of the Stalking Horse Bid

 and any related documents.

                4.2     Debtors’ Waivers. Prior to the payment in full of all Prepetition ABL

 Obligations and all DIP Obligations, any request by the Debtors with respect to the following

 shall also constitute a DIP Termination Event: (a) to use ABL Cash Collateral of DIP Agents,

 the DIP Lenders, or the Prepetition Secured Parties under section 363 of the Bankruptcy Code;

 (b) to obtain post-petition loans or other financial accommodations pursuant to section 364(c) or

 364(d) of the Bankruptcy Code, other than as provided in this Interim Order or as may be

 otherwise permitted pursuant to the DIP Loan Documents; (c) to challenge the application of any

 payments authorized by this Interim Order as pursuant to section 506(b) of the Bankruptcy Code,

 or to assert that the value of the Prepetition ABL Collateral is less than the Prepetition ABL

 Obligations; (d) to propose, support or have a plan of reorganization or liquidation that does not

 provide for the payment in cash in full and satisfaction of all DIP Obligations on the effective

 date of such plan in accordance with the terms and conditions set forth in the DIP Loan

 Documents; (e) to propose or support any challenge by any party in interest to seek to limit or




                                                   54
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                         Pg 135 of 692


 prevent the DIP Lenders or the Prepetition Lenders from exercising their credit bid rights in

 connection with the sale of any Assets of the Debtors; or (f) to seek relief under the Bankruptcy

 Code, including without limitation, under section 105 of the Bankruptcy Code, to the extent any

 such relief would restrict or impair (i) the rights and remedies of any of the DIP Agents or the

 DIP Lenders against the Debtors as provided in this Interim Order or any of the DIP Loan

 Documents or (ii) the exercise of such rights or remedies by any of the DIP Agents or the DIP

 Lenders against the Debtors in accordance with the DIP Loan Agreements or this Interim Order

 (other than to object to the exercise of the rights and remedies within the Enforcement Notice

 Period on the grounds set forth in Section 3.2 of this Interim Order); provided, however, that the

 DIP Agents may otherwise consent in writing, but no such consent shall be implied from any

 other action, inaction, or acquiescence by DIP Agents or any DIP Lender.

                4.3    Collateral Rights.    Until all Prepetition ABL Obligations and DIP

 Obligations shall have been paid in full in accordance with the terms of the Prepetition Loan

 Documents and DIP Loan Documents, it shall be a DIP Termination Event pursuant to section

 3.1 of this Interim Order if any Debtor takes any of the following actions, except to the extent

 permitted by, and subject in all respects to, the DIP Loan Documents and the Prepetition Term

 Adequate Protection Orders: take any action to foreclose upon or recover, in connection with the

 liens granted thereto pursuant to the Prepetition Loan Documents, this Interim Order, or

 otherwise seek or exercise any enforcement rights or remedies against any DIP Collateral or in

 connection with the debt and obligations underlying the Prepetition Loan Documents or the

 Adequate Protection Liens, including, without limitation, in respect of the occurrence or

 continuance of any DIP Termination Event.




                                                55
18-13374-mew        Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 136 of 692


 Section 5.     Prepetition Term Lender Adequate Protection Liens and Claims

                5.1     As adequate protection for the Prepetition Term Parties’ respective

 interests in their respective Prepetition Term Collateral, pursuant to section 361 and 363(e) of the

 Bankruptcy Code, and as a condition for the Debtors’ use of their Prepetition Term Collateral,

 including any Prepetition Term Cash Collateral, each of the Prepetition Term Parties is granted

 the adequate protection set forth in (a) the relevant Prepetition Term Adequate Protection Order

 or (b) if no Prepetition Term Adequate Protection Order has been entered with respect to any

 Prepetition Term Party, (i) cash payment of all accrued and unpaid interest, at the applicable

 non-default rates provided in the respective Prepetition Term Loan Document and (ii) continued

 maintenance of and appropriate insurance on the applicable collateral in amounts consistent with

 the Debtors’ prepetition practices as set forth in the applicable Prepetition Term Loan Document.

                5.2     Subject to the provision of the Prepetition Term Adequate Protection

 Liens and Claims, and the terms of the Prepetition Term Adequate Protection Orders, the

 Debtors are authorized to use the Prepetition Term Collateral, including the Prepetition Term

 Cash Collateral.

 Section 6.     Other Rights and DIP Obligations.

                6.1     No Modification or Stay of This Interim Order. The DIP Agents and the

 DIP Lenders have acted in good faith in connection with the DIP Facilities, the Interim

 Financing, and with this Interim Order, and their reliance on this Interim Order is in good faith.

 Based on the findings set forth in this Interim Order and the record made during the Interim

 Hearing, and in accordance with Section 364(e) of the Bankruptcy Code, in the event any or all

 of the provisions of this Interim Order are hereafter modified, reversed, amended or vacated by a

 subsequent order of the Court or any other court, the DIP Agents, the DIP Lenders, the

 Prepetition Secured Parties and the Prepetition Lenders are entitled to the protections provided in



                                                 56
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 137 of 692


 section 364(e) of the Bankruptcy Code. Notwithstanding (a) any stay, modification, amendment,

 supplement, vacating, revocation or reversal of this Interim Order, any of the DIP Loan

 Documents or any term hereunder or thereunder, (b) the failure to obtain a Final Order pursuant

 to Bankruptcy Rule 4001(c)(2), or (c) the dismissal or conversion of one or more of the Cases

 (each, a “Subject Event”), (x) the acts taken by each of the DIP Secured Parties in accordance

 with this Interim Order, and (y) the DIP Obligations incurred or arising prior to DIP Agents’

 actual receipt of written notice (email being sufficient) from the Debtors expressly describing the

 occurrence of such Subject Event shall, in each instance, be governed in all respects by the

 original provisions of this Interim Order, and the acts taken by each such DIP Secured Party in

 accordance with this Interim Order, and the liens granted to each DIP Secured Party in the DIP

 Collateral, and all other rights, remedies, privileges, and benefits in favor of each DIP Secured

 Party pursuant to this Interim Order and the DIP Loan Documents shall remain valid and in full

 force and effect pursuant to section 364(e) of the Bankruptcy Code. For purposes of this Interim

 Order, the term “appeal”, as used in section 364(e) of the Bankruptcy Code, shall be construed to

 mean any proceeding for reconsideration, amending, rehearing, or re-evaluating this Interim

 Order by this Court or any other tribunal.

                6.2    Rights of Access and Information. The Debtors shall comply with the

 rights of access and information afforded to any DIP Secured Party under the DIP Loan

 Documents, the Debtors shall be and hereby are required to afford representatives, agents and/or

 employees of the DIP Agents and the DIP Lenders reasonable access to the Debtors’ premises

 during normal business hours and without interference with the proper operation of the Debtors’

 businesses and their books and records, and shall reasonably cooperate, reasonably consult with,

 and reasonably provide to such persons all reasonable information as may be reasonably




                                                 57
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 138 of 692


 requested with respect to the business, results of operations and financial condition of any of the

 Debtors; provided that (a) the costs and expenses of only one inspection per month will be

 reimbursed (if such inspection is not conducted by the DIP Agents), (b) representatives of the

 Debtors and the DIP Agents shall have been provided a reasonable opportunity to be present

 during the inspection, and (c) in no event shall such inspection rights require the Debtors to

 provide any such information (i) in respect of which disclosure is prohibited by law or (ii) is

 subject to attorney-client privilege or constitutes attorney work-product.

                6.3     Power to Waive Rights; Duties to Third Parties. The DIP Agents shall

 have the right to waive any of the terms, rights and remedies provided or acknowledged in this

 Interim Order that are in favor of the DIP Lenders (the “DIP Lender Rights”), and shall have no

 obligation or duty to any other party with respect to the exercise or enforcement, or failure to

 exercise or enforce, any DIP Lender Right(s). Any waiver by the DIP Agents of any DIP Lender

 Rights shall not be or constitute a continuing waiver unless otherwise provided therein. Any

 delay in or failure to exercise or enforce any DIP Lender Right shall neither constitute a waiver

 of such DIP Lender Right, subject the DIP Agent or any DIP Lender to any liability to any other

 party, nor cause or enable any party other than the Debtors to rely upon or in any way seek to

 assert as a defense to any obligation owed by the Debtors to the DIP Agent or any DIP Lender.

                6.4     No Unauthorized Disposition of Collateral. The Debtors shall not sell,

 transfer, lease, encumber, use, or otherwise dispose of any portion of the DIP Collateral

 (including inventory and ABL Cash Collateral), other than pursuant to the terms of this Interim

 Order, the DIP Loan Documents, and the Prepetition Term Adequate Protection Orders.

                6.5     No Waiver. The failure of the DIP Lenders to seek relief or otherwise

 exercise their rights and remedies under the DIP Loan Documents, the DIP Facilities, or the




                                                 58
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 139 of 692


 Interim Order, as applicable, shall not constitute a waiver of any of the DIP Lenders’ rights

 hereunder, thereunder, or otherwise. Notwithstanding anything herein, the entry of this Interim

 Order is without prejudice to, and does not constitute a waiver of, expressly or implicitly, or

 otherwise impair the DIP Lenders under the Bankruptcy Code or under non-bankruptcy law,

 including without limitation, the rights of the DIP Lenders to: (a) request conversion of the Cases

 to cases under chapter 7, dismissal of the Cases, or the appointment of a trustee in the Cases; or

 (b) propose, subject to the provisions of section 1121 of the Bankruptcy Code, a plan; or

 (c) exercise any of the rights, claims, or privileges (whether legal, equitable, or otherwise) of the

 DIP Lenders.

                6.6     Maintenance of DIP Collateral. Unless the DIP Agents, acting at the

 direction of the applicable Required DIP Lenders, otherwise consent in writing, until (x) the

 payment in full or otherwise acceptable satisfaction of all DIP Obligations and (y) the

 termination of the DIP Agents’ and the DIP Lenders’ obligations to extend credit under the DIP

 Facilities, the Debtors shall continue to maintain all property, operational and other insurance as

 required and as specified in the DIP Loan Documents and in each case in accordance with the

 DIP Loan Documents. Upon entry of this Interim Order and to the fullest extent provided by

 applicable law, each of the DIP Agents (on behalf of the applicable DIP Lenders) shall be, and

 shall be deemed to be, without any further action or notice, named as additional insureds and loss

 payees on each insurance policy maintained by the Debtors that in any way relates to the DIP

 Collateral.

                6.7     Reservation of Rights.     The terms, conditions and provisions of this

 Interim Order are in addition to and without prejudice to the rights of each DIP Agent and DIP

 Lender to pursue any and all rights and remedies under the Bankruptcy Code, the DIP Loan




                                                  59
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 140 of 692


 Documents or any other applicable agreement or law, including, without limitation, rights to seek

 adequate protection and/or additional or different adequate protection, to seek relief from the

 automatic stay, to seek an injunction, to oppose any request for use of cash collateral or granting

 of any interest in the DIP Collateral, as applicable, or priority in favor of any other party, to

 object to any sale of assets, and to object to applications for allowance and/or payment of

 compensation of professionals or other parties seeking compensation or reimbursement from the

 Estates; provided, however, that all such rights shall be subject to the terms and conditions of the

 Prepetition Term Adequate Protection Orders.

                6.8     Binding Effect.

                        (a)    All of the provisions of this Interim Order and the DIP Loan

 Documents, the DIP Obligations, all Liens, and claims granted hereunder in favor of each of the

 DIP Secured Parties, and any and all rights, remedies, privileges, immunities and benefits in

 favor of each DIP Agent, DIP Lender, and Prepetition Secured Party set forth herein, including

 without limitation the parties’ acknowledgements, stipulations, and agreements in paragraph E of

 this Interim Order, subject to section 4.1 hereof (without each of which the DIP Secured Parties

 would not have entered into or provided funds under the DIP Loan Documents and the

 Prepetition Secured Parties would not have consented to the priming and use of ABL Cash

 Collateral provided for hereunder) provided or acknowledged in this Interim Order, and any

 actions taken pursuant thereto, shall be effective and enforceable immediately upon entry of this

 Interim Order notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h) and 7062, shall continue in

 full force and effect, and shall survive entry of any other order or action, including without

 limitation any order which may be entered confirming any chapter 11 plan providing for the

 refinancing, repayment, or replacement of the DIP Obligations, converting one or more of the




                                                 60
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 141 of 692


 Cases to any other chapter under the Bankruptcy Code, dismissing one or more of the Cases,

 approving any sale of any or all of the DIP Collateral or the Prepetition ABL Collateral, or

 vacating, terminating, reconsidering, revoking or otherwise modifying this Interim Order or any

 provision hereof; provided that in the event a Final Order is entered, the terms and conditions of

 such Final Order shall control over this Interim Order with respect to any DIP Obligations

 incurred by the Debtors upon or after entry of the Final Order.

                        (b)     Any order dismissing one or more of the Cases under section 1112

 or otherwise shall be deemed to provide (in accordance with §§ 105 and 349 of the Bankruptcy

 Code) that (i) the DIP Superpriority Claim and the DIP Agents’ and DIP Lenders’ liens on and

 security interests in the DIP Collateral and all other claims, liens, adequate protections and other

 rights granted pursuant to the terms of this Interim Order shall continue in full force and effect

 notwithstanding such dismissal until the DIP Obligations and Prepetition ABL Obligations are

 indefeasibly paid and satisfied in full, (ii) the DIP Superpriority Claim and DIP Agents’ and DIP

 Lenders’ liens on and security interests in the DIP Collateral and all other claims, liens, adequate

 protections and other rights granted pursuant to the terms of this Interim Order shall continue in

 full force and effect notwithstanding such dismissal until the DIP Obligations are indefeasibly

 paid and satisfied in full, and (iii) this Court shall retain jurisdiction, notwithstanding such

 dismissal, for the purposes of enforcing all such claims, liens, protections and rights.

                        (c)     In the event this Court modifies any of the provisions of this

 Interim Order or any of the DIP Loan Documents following a Final Hearing, such modifications

 shall not affect the rights or priorities of any DIP Agent or DIP Lender pursuant to this Interim

 Order with respect to the DIP Collateral or any portion of the DIP Obligations which arises or is

 incurred or is advanced prior to such modifications.




                                                  61
18-13374-mew       Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                         Pg 142 of 692


                       (d)     This Interim Order shall be binding upon Debtors, the Prepetition

 Obligors, all parties in interest in the Cases, and their respective successors and assigns,

 including, without limitation, (i) any trustee or other fiduciary appointed in the Cases or any

 subsequently converted bankruptcy case(s) of any Debtor and (ii) any liquidator, receiver,

 administrator, or similar such person or entity appointed in any jurisdiction or under any

 applicable law. This Interim Order shall also inure to the benefit of Debtors, DIP Agents, DIP

 Lenders, Prepetition Secured Parties, and each of their respective successors and assigns.

                6.9    Discharge. The DIP Obligations and the obligations of the Debtors with

 respect to adequate protection hereunder shall not be discharged by the entry of an order

 confirming any plan of reorganization in any of these Cases, notwithstanding the provisions of

 section 1141(d) of the Bankruptcy Code, unless such obligations have been indefeasibly paid in

 full in cash, on or before the effective date of such confirmed plan of reorganization, or each of

 the DIP Secured Parties has otherwise agreed in writing. Prior to the payment in full of either

 DIP Facility, it shall be a DIP Termination Event under such DIP Facility if the Debtors propose

 or support any Chapter 11 plan or sale of all or substantially all of the Debtors’ assets, or order

 confirming such plan or approving such sale, that is not conditioned upon the payment of the

 DIP Obligations (other than indemnities then due and payable) in full in cash and the payment of

 the Debtors’ obligations with respect to the adequate protection hereunder, in full in cash, within

 a commercially reasonable period of time, and in any event no later than the effective date of

 such Chapter 11 plan or sale, without the written consent of the DIP Agents and the applicable

 Required DIP Lenders.

                6.10   No Priming of Prepetition Secured Obligations. Notwithstanding anything

 to the contrary herein, from and after the entry of this Interim Order, absent the express written




                                                 62
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                         Pg 143 of 692


 consent of the Prepetition Lenders, no Debtor shall seek authorization from this Court to obtain

 or incur any Indebtedness or enter into a Competing DIP Facility seeking to impose liens on any

 Prepetition ABL Collateral ranking on a pari passu or priming basis with respect to the

 Prepetition Liens held by the Prepetition Lenders; provided, however, that nothing herein shall

 preclude the Debtors from seeking authorization to incur any Indebtedness or enter into any

 Competing DIP Facility that provides for the payment in full of the Prepetition Secured

 Obligations.

                6.11   Section 506(c) Waiver. Subject to the Final Order, the Debtors have

 agreed as a condition to obtaining financing under the DIP Facilities that in consideration for,

 among other things, the Carve Out and the payments to be made under the Approved Budget to

 administer these Cases with the use of ABL Cash Collateral, no costs or expenses of

 administration which have been or may be incurred in these Cases at any time (including,

 without limitation, any costs and expenses incurred in connection with the preservation,

 protection or enhancement of realization by the DIP Agents or the DIP Lenders upon the DIP

 Collateral, or by the Prepetition Secured Parties or the Prepetition Lenders upon the Prepetition

 ABL Collateral, as applicable) shall be charged against any of the DIP Agents, DIP Lenders,

 Prepetition Secured Parties or any Prepetition Lenders or any of the DIP Obligations or

 Prepetition Secured Obligations or the DIP Collateral or the Prepetition ABL Collateral pursuant

 to sections 105 or 506(c) of the Bankruptcy Code or otherwise without the prior express written

 consent of the affected DIP Secured Parties and/or affected Prepetition Secured Parties, in their

 sole discretion, and no such consent shall be implied, directly or indirectly, from any other

 action, inaction, or acquiescence by any such agents or creditors (including, without limitation,

 consent to the Carve Out or the approval of any budget hereunder).




                                                63
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 144 of 692


                6.12    Section 552(b) Waiver. Subject to the Final Order, the Debtors have

 agreed as a condition to obtaining financing under the DIP Facilities that the Prepetition Secured

 Parties and the Prepetition Lenders are and shall each be entitled to all of the rights and benefits

 of section 552(b) of the Bankruptcy Code and the “equities of the case” exception under section

 552(b) shall not apply to the DIP Agents, the DIP Lenders, the DIP Obligations, the Prepetition

 Secured Parties, the Prepetition Lenders or the Prepetition Secured Obligations.

                6.13    No Marshaling/Application of Proceeds. Subject to the Final Order, the

 Debtors have agreed as a condition to obtaining financing under the DIP Facilities that in no

 event shall the DIP Agents, the DIP Lenders, Prepetition Secured Parties or the Prepetition

 Lenders be subject to the equitable doctrine of “marshaling” or any similar doctrine with respect

 to the DIP Collateral or the Prepetition ABL Collateral, as applicable, and all proceeds shall be

 received and applied in accordance with the DIP Loan Documents and the Prepetition Loan

 Documents, as applicable.

                6.14    Right to Credit Bid. Subject to section 363(k) of the Bankruptcy Code,

 the terms of the DIP Loan Documents, the Final Order, the Prepetition Term Adequate

 Protection Orders, and section 4.1 hereof, (a) the DIP Agents, DIP Lenders, and each of the

 Prepetition Secured Parties shall have the right to credit bid as part of any asset sale process all

 or any portion of the full amount of the DIP Obligations, and (b) the Prepetition Secured Parties

 shall have the right to credit bid as part of any asset sale process all or any portion of the full

 amount of the Prepetition Secured Obligations including, without limitation, sales pursuant to

 section 363 of the Bankruptcy Code or included as part of any plan of reorganization subject to

 confirmation under section 1129(b)(2)(A)(ii)–(iii) of the Bankruptcy Code.




                                                 64
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                           Pg 145 of 692


                6.15    Payment of Lender Fees and Expenses. Each Debtor shall pay all fees and

 expenses that may be reasonably required or necessary for the Debtors’ performance of their

 obligations under the U.S. Prepetition Loan Documents, the Global Prepetition Loan Documents,

 DIP Facilities, the DIP Loan Agreements, or the DIP Loan Documents, as applicable, including,

 without limitation, the reasonable and documented fees and expenses reimbursable under the

 DIP Facilities, the DIP Loan Agreements, or the DIP Loan Documents, as applicable, whether

 incurred before or after the Petition Date as set forth in this Section 6.15:

                        (a)     All reasonable and documented out-of-pocket costs and expenses

 of the DIP Agents including, without limitation, reasonable and documented fees and

 disbursements of counsel to DIP Secured Parties and of counsel to the DIP Agents, incurred in

 connection with the enforcement or preservation of any rights under the DIP Facilities, the DIP

 Loan Agreements, or the DIP Loan Documents and any such other documents or any

 restructuring or “work-out” related hereto and thereto.

                        (b)     DIP Loan Documentation and Related Expenses. Section 6.15(c)

 notwithstanding, reasonable documented out-of-pocket costs and expenses (including legal fees

 and expenses) incurred by the DIP Agents or DIP Lenders, as the case may be, in connection

 with (i) negotiating, drafting, and otherwise documenting this Interim Order, any of the DIP

 Loan Documents, and any matters related to the foregoing and (ii) the commencement of these

 Cases (including matters and amounts relating to any “first day” filings or related relief)

 including prepetition discussions and actions relating to any prepetition financing, including any

 defaults related thereto, other financing issues, and contingency preparations, shall be due,

 owing, and payable by the Debtors immediately upon the entry of this Interim Order.




                                                   65
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 146 of 692


                        (c)     Payment of Certain Fees and Expenses. Under no circumstances

 shall professionals for any of the DIP Secured Parties be required to comply with the U.S.

 Trustee fee guidelines or otherwise file a fee or retention application with the Court; provided,

 however, the Debtors shall provide to the U.S. Trustee and the Committee (if appointed) a copy

 of any invoices received from the DIP Agents or the DIP Lenders for professional fees and

 expenses during the pendency of these Cases or under this Interim Order within two Business

 Days of the Debtors’ counsel’s receipt thereof. The Debtors shall promptly pay, and/or the DIP

 Agents are hereby authorized to make an advance under the DIP Loan Documents to timely pay,

 the submitted invoices for any of the DIP Secured Parties within the ten (10) calendar days of

 receipt of such invoices.

                6.16    Limits on Lender Liability.

                        (a)     In determining to make any loan under the DIP Loan Agreements

 or in exercising any rights or remedies as and when permitted pursuant to this Interim Order or

 the DIP Loan Documents, the DIP Agents and the DIP Lenders shall not be deemed to be in

 control of the operations of the Debtors or to be acting as a “responsible person” or “owner or

 operator” with respect to the operation or management of the Debtors, so long as the DIP

 Lenders’ actions do not constitute, within the meaning of 42 U.S.C. § 9601(20)(F), actual

 participation in the management or operational affairs of a vessel or facility owned or operated

 by a Debtor, or otherwise cause liability to arise to the federal or state government or the status

 of responsible person or managing agent to exist under applicable law (as such terms, or any

 similar terms, are used in the Internal Revenue Code, WARN Act, the United States

 Comprehensive Environmental Response, Compensation and Liability Act, 42 U.S.C. §§ 9601 et

 seq., as amended, or any similar federal or state statute).




                                                  66
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 147 of 692


                        (b)     Nothing in this Interim Order or the DIP Loan Documents shall

 permit the Debtors to violate 28 U.S.C. § 959(b).

                        (c)     As to the United States, its agencies, departments, or agents,

 nothing in this Interim Order or the DIP Loan Documents shall discharge, release or otherwise

 preclude any valid right of setoff or recoupment that any such entity may have.

                6.17    Survival. The provisions of this Interim Order and any actions taken

 pursuant hereto shall survive, and shall not be modified, impaired or discharged by, entry of any

 order that may be entered (a) confirming any plan of reorganization in any of these Cases,

 (b) converting any or all of these Cases to a case under chapter 7 of the Bankruptcy Code,

 (c) dismissing any or all of these Cases, or (d) pursuant to which the Court abstains from hearing

 any of these Cases. The terms and provisions of this Interim Order, including the claims, liens,

 security interests, and other protections (as applicable) granted to the DIP Agents, the DIP

 Lenders, the Prepetition Secured Parties and the Prepetition Lenders pursuant to this Interim

 Order, notwithstanding the entry of any such order, shall continue in any of these Cases,

 following dismissal of any of these Cases or any Successor Cases, and shall maintain their

 priority as provided by this Interim Order until (i) in respect of the DIP Facilities, all of the DIP

 Obligations, pursuant to the DIP Loan Documents and this Interim Order, have been indefeasibly

 paid in full in cash (such payment being without prejudice to any terms of provisions contained

 in the DIP Facilities which survive such discharge by their terms) and all commitments to extend

 credit under the DIP Facilities are terminated, and (ii) in respect of the Prepetition Secured

 Obligations, all of the adequate protection obligations owed to the Prepetition Secured Parties

 and the Prepetition Lenders provided for in this Interim Order have been indefeasibly paid in full

 in cash.




                                                  67
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                           Pg 148 of 692


                6.18    Proofs of Claim.        None of the Prepetition Secured Parties or the

 Prepetition Lenders shall be required to file proofs of claim in any of these Cases or subsequent

 cases of any of the Debtors under any chapter of the Bankruptcy Code, and the Debtors’

 Stipulations in this Order shall be deemed to constitute a timely filed proof of claim against the

 applicable Debtor(s). Notwithstanding the foregoing, any Prepetition Agent (on behalf of itself

 and the Prepetition Lenders) is hereby authorized and entitled, in its discretion, but not required,

 to file (and amend and/or supplement, as applicable) a master proof of claim for any claims of

 any of the Prepetition Secured Parties arising from the Prepetition Loan Documents or in respect

 of the Prepetition Secured Obligations; provided, however, that nothing in this Order shall waive

 the right of any Prepetition Lender to file its own proof of claim against any of the Debtors.

                6.19    No Third Party Rights. Except as specifically provided for herein, this

 Interim Order does not create any rights for the benefit of any third party, creditor, equity

 holders, or any direct, indirect, or incidental beneficiary.

                6.20    No Avoidance. Subject to section 4.1 hereof, no obligations incurred or

 payments or other transfers made by or on behalf of the Debtors on account of the DIP Facilities

 shall be avoidable or recoverable from the DIP Agents or the DIP Lenders under any section of

 the Bankruptcy Code, or any other federal, state, or other applicable law; provided, for the

 avoidance of doubt, all such payments or transfers shall be subject to the terms and provisions of

 the Prepetition Term Adequate Protection Orders.

                6.21    Reliance on Order.        All postpetition advances under the DIP Loan

 Documents are made in reliance on this Order.

                6.22    Entry of this Order/Waiver of Applicable Stay. This Interim Order shall

 be effective and enforceable upon its entry as of the Petition Date and not subject to any stay of




                                                   68
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 149 of 692


 execution or effectiveness (all of which are hereby waived), notwithstanding anything to the

 contrary contained in Bankruptcy Rule 4001(a)(3).

                6.23    Nunc Pro Tunc Effect of this Order. This Interim Order shall constitute

 findings of fact and conclusions of law and shall take effect and be fully enforceable nunc pro

 tunc to the Petition Date immediately upon entry thereof. Notwithstanding Bankruptcy Rules

 4001(a)(3), 6004(h), 6006(d), 7062 and 9024 or any other Bankruptcy Rule, or Rule 62(a) of the

 Federal Rules of Civil Procedure, this Order shall be immediately effective and enforceable upon

 its entry and there shall be no stay of execution or effectiveness of this Interim Order.

                6.24    Limited Effect.     In the event of a conflict between the terms and

 provisions of any of the DIP Loan Documents and this Interim Order, the terms and provisions

 of this Interim Order shall govern.

                6.25    Prepetition Term Adequate Protection Orders. The rights and remedies of

 the DIP Secured Parties under the DIP Loan Documents shall be subject in all respects to the

 terms and provisions of the Prepetition Term Adequate Protection Orders.

                6.26    Effect of Appeal. To the fullest extent permitted under Section 364(e) of

 the Bankruptcy Code, if any or all of the provisions of this Interim Order are hereafter modified,

 vacated, or stayed on appeal: (a) such stay, modification, or vacation shall not affect the validity

 of any obligation, indebtedness, or liability incurred or liens granted by the Debtors to any DIP

 Secured Party prior to the effective date of such stay, modification, or vacation, or the validity,

 enforceability or priority of any liens, rights, or claims authorized or created under the original

 provisions of this Interim Order or pursuant to any of the DIP Loan Documents; and (b) any

 indebtedness, obligation, or liability incurred by the Debtors to any DIP Secured Party under any

 DIP Loan Document prior to the effective date of such stay, modification, or vacation shall be




                                                  69
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 150 of 692


 governed in all respects by the original provisions of this Interim Order and the DIP Loan

 Documents, and each DIP Secured Party shall be entitled to all of the rights, remedies,

 privileges, and benefits, including the DIP Liens and priorities granted to or for its benefit herein

 or pursuant to the applicable DIP Loan Documents, with respect to any such indebtedness,

 obligation, or liability. All DIP credit extensions under the DIP Financing Documents are

 deemed to have been made in reliance upon this Interim Order, and, therefore, the indebtedness

 resulting from such DIP Facilities prior to the effective date of any stay, modification, or

 vacation of this Interim Order cannot as a result of any subsequent order in any of these Cases, or

 any Successor Case of a Debtor, be (i) subordinated or (ii) deprived of the benefit or priority of

 the DIP Liens and the Superpriority Claims granted to the DIP Secured Parties under this Interim

 Order or the DIP Loan Documents.

                6.27    General Authorization. The Debtors are authorized to take any and all

 actions necessary to effectuate the relief granted in this Interim Order.

                6.28    Retention of Exclusive Jurisdiction. This Court shall retain exclusive

 jurisdiction and power with respect to all matters arising from or related to the implementation or

 interpretation of this Interim Order, the DIP Loan Agreements, and the other DIP Loan

 Documents; provided, however, that no party shall be prevented from seeking relief from this

 Court to take proceedings relating to the DIP Loan Agreements and the other DIP Loan

 Documents in any other courts with jurisdiction in accordance with the terms of such

 agreements.

 Section 7.     Final Hearing and Response Dates.

        The Final Hearing on the Motion pursuant to Bankruptcy Rule 4001(c)(2) is scheduled

 for __________2018, at _____ __.m. (prevailing Eastern Time) before this Court. The Debtors

 shall promptly mail copies of this Interim Order to the Notice Parties, and to any other party that



                                                  70
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                         Pg 151 of 692


 has filed a request for notices with this Court and to any Committee after same has been

 appointed, or the Committee’s counsel, if same shall have filed a request for notice. The Debtors

 may serve the Motion and the Interim Order without the exhibits attached thereto as such

 exhibits are voluminous and available, free of charge, at http://dm.epiq11.com/aegean, and such

 notice is deemed good and sufficient and no further notice need be given. Any party in interest

 objecting to the relief sought at the Final Hearing shall serve and file written objections, which

 objections shall be served upon (a) proposed counsel to the Debtors, Kirkland & Ellis LLP, 601

 Lexington Avenue, New York, New York 10022, Attn: Jonathan S. Henes, P.C. and Cristine

 Pirro Schwarzman, and Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654,

 Attn: Marc Kieselstein, P.C., Ross M. Kwasteniet, P.C., Adam C. Paul, P.C., and W. Benjamin

 Winger; (b) counsel to the DIP Lenders, Milbank, 28 Liberty Street, New York, NY 10005, Attn:

 Lauren Doyle and Norton Rose Fulbright US LLP, 2200 Ross Avenue Suite 3600, Dallas, Texas

 75201, Attn: Louis R. Strubeck and Greg Wilkes; (c) counsel to Administrative Agents, Willkie

 Farr & Gallagher LLP, 787 Seventh Avenue, New York, NY 10019, Attn: Ana Alfonso;

 (d) counsel to any Committee; and (e) the U.S. Trustee, Attn: Brian Masumoto; and shall be filed

 with the Clerk of the United States Bankruptcy Court for the Southern District of New York, in

 each case, to allow actual receipt of the foregoing no later than 4:00 p.m. (prevailing Eastern

 Time), on ___________, 2018.



 Manhattan, New York
 Dated: ____________, 2018

                                               HONORABLE ______________________
                                               UNITED STATES BANKRUPTCY JUDGE




                                                71
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 152 of 692


                        EXHIBIT A to the Proposed Interim Order

                                  U.S. DIP Agreement
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                             Pg 153 of 692
                       .




               SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION CREDIT AGREEMENT

                                                 dated as of

                                             November __, 2018

                                                  between

                                   AEGEAN BUNKERING (USA) LLC,

                as a Debtor and Debtor-in-Possession under Chapter 11 of the Bankruptcy Code,

                                        The LENDERS Party Hereto,

                                                    and

                                     ABN AMRO CAPITAL USA LLC,

                       as Administrative Agent, Swing Line Lender and an Issuing Bank




 73531283.28
18-13374-mew     Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                       Pg 154 of 692


                                    TABLE OF CONTENTS

                                                                                            Page

                                           ARTICLE I

                                         DEFINITIONS

 SECTION 1.01    Defined Terms
                 1
 SECTION 1.02    Terms Generally
                 43
 SECTION 1.03    Rounding
                 44
 SECTION 1.04    Accounting Terms; Changes in GAAP
                 44
 SECTION 1.05    Rates
                 44
 SECTION 1.06    Letter of Credit Amounts
                 45
 SECTION 1.07    Times of Day; Time for Payment and Performance
                 45
 SECTION 1.08    Certifications
                 45
 SECTION 1.09    Belgian Terms. In this Agreement, where it relates to a Belgian party, a
 reference to:   45

                                          ARTICLE II

                       COMMITMENTS AND CREDIT EXTENSIONS

 SECTION 2.01    DIP Revolving Credit Facility
                 46
 SECTION 2.02    DIP Term Loan Facility
                 46
 SECTION 2.03    Loans and Borrowings.
                 47
 SECTION 2.04    Borrowing Requests.
                 47
 SECTION 2.05    Letters of Credit
                 47
 SECTION 2.06    Swing Line Loans
                 53
 SECTION 2.07    Funding of Borrowings
                 55
 SECTION 2.08    Interest Elections
                 56
 SECTION 2.09    Prepayments
                 57
 SECTION 2.10    Termination or Reduction of Commitments
                 59


                                                i
18-13374-mew    Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                      Pg 155 of 692


 SECTION 2.11   Repayment of Loans
                59
 SECTION 2.12   Interest
                59
 SECTION 2.13   Fees
                60
 SECTION 2.14   Evidence of Debt
                61
 SECTION 2.15   Payments Generally; Several Obligations of Lenders
                62
 SECTION 2.16   Sharing of Payments
                63
 SECTION 2.17   Compensation for Losses
                63
 SECTION 2.18   Increased Costs
                64
 SECTION 2.19   Taxes
                65
 SECTION 2.20   Inability to Determine Rates
                68
 SECTION 2.21   Illegality
                69
 SECTION 2.22   Mitigation Obligations; Replacement of Lenders
                69
 SECTION 2.23   Cash Collateral
                71
 SECTION 2.24   Reserves
                71
 SECTION 2.25   Defaulting Lenders
                71
 SECTION 2.26   Priority and Liens
                74
 SECTION 2.27   Guarantee Limitations (Morocco)
                75

                                       ARTICLE III

                         REPRESENTATIONS AND WARRANTIES

 SECTION 3.01   Existence, Qualification and Power
                76
 SECTION 3.02   Authorization; No Violation
                76
 SECTION 3.03   Governmental Authorization; Other Consents
                76
 SECTION 3.04   Execution and Delivery; Binding Effect
                77
 SECTION 3.05   Financial Statements Disclosure; No Material Adverse Effect
                77
 SECTION 3.06   No Material Adverse Change
                77


                                             ii
18-13374-mew    Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18        Main Document
                                     Pg 156 of 692


 SECTION 3.07   Orders
                77
 SECTION 3.08   Litigation
                77
 SECTION 3.09   No Material Adverse Effect; No Default
                78
 SECTION 3.10   Property
                78
 SECTION 3.11   Intellectual Property
                78
 SECTION 3.12   Taxes
                78
 SECTION 3.13   Disclosure
                79
 SECTION 3.14   Compliance with Laws
                79
 SECTION 3.15   ERISA Compliance
                79
 SECTION 3.16   Environmental Matters
                80
 SECTION 3.17   Federal Regulations
                81
 SECTION 3.18   Investment Company Act; Other Regulations
                81
 SECTION 3.19   Sanctions; Anti-Corruption
                81
 SECTION 3.20   Reserved
                82
 SECTION 3.21   No Burdensome Restrictions
                82
 SECTION 3.22   Subsidiaries
                82
 SECTION 3.23   Security Documents
                82
 SECTION 3.24   Labor Relations
                82
 SECTION 3.25   Insurance
                83
 SECTION 3.26   Maximum Position Limits; Risk Management Practices
                83
 SECTION 3.27   No Other Ventures
                83
 SECTION 3.28   Remittances
                83
 SECTION 3.29   Force Majeure
                83
 SECTION 3.30   Certain Indebtedness
                83
 SECTION 3.31   Commodity Accounts, Deposit Accounts and Securities Accounts
                83



                                           iii
18-13374-mew    Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18     Main Document
                                     Pg 157 of 692


                                       ARTICLE IV

                                      CONDITIONS

 SECTION 4.01   Effective Date
                84
 SECTION 4.02   Conditions to All Credit Extensions
                87

                                        ARTICLE V

                              AFFIRMATIVE COVENANTS

 SECTION 5.01   Reporting
                88
 SECTION 5.02   Certificates; Other Information
                89
 SECTION 5.03   Notices
                91
 SECTION 5.04   Conduct of Business; Preservation of Existence, Etc
                92
 SECTION 5.05   Maintenance of Properties
                92
 SECTION 5.06   Maintenance of Insurance
                92
 SECTION 5.07   Payment of Obligations
                93
 SECTION 5.08   Environmental Matters
                93
 SECTION 5.09   Books and Records
                93
 SECTION 5.10   Inspection Rights; Update Calls
                93
 SECTION 5.11   Use of Proceeds
                93
 SECTION 5.12   First and Second Day Orders
                94
 SECTION 5.13   Sanctions; Anti-Corruption Laws
                94
 SECTION 5.14   Required Milestones and Actions
                94
 SECTION 5.15   Periodic Audit of Borrowing Base
                94
 SECTION 5.16   Maximum Position Limits; Risk Management
                94
 SECTION 5.17   Notification of Account Debtors
                94
 SECTION 5.18   Taxes
                95
 SECTION 5.19   Additional Collateral; Further Assurances
                95


                                             iv
18-13374-mew    Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                     Pg 158 of 692


 SECTION 5.20   Stored Eligible Commodities
                96
 SECTION 5.21   Cash Management
                96
 SECTION 5.22   Hedging Policy
                97
 SECTION 5.23   Commodity Accounts, Deposit Accounts and Securities Accounts
                98

                                        ARTICLE VI

                                NEGATIVE COVENANTS

 SECTION 6.01   Indebtedness
                98
 SECTION 6.02   Liens
                99
 SECTION 6.03   Fundamental Changes
                100
 SECTION 6.04   Dispositions
                100
 SECTION 6.05   Payments
                101
 SECTION 6.06   Investments
                102
 SECTION 6.07   Use of Proceeds
                102
 SECTION 6.08   Transactions with Affiliates
                103
 SECTION 6.09   Certain Restrictive Agreements
                103
 SECTION 6.10   Changes in Fiscal Periods and Accounting
                103
 SECTION 6.11   Changes in Nature of Business
                103
 SECTION 6.12   Restriction on Use of Proceeds
                104
 SECTION 6.13   Budget Variance
                104
 SECTION 6.14   Sanctions; Anti-Corruption; Use of Proceeds
                104
 SECTION 6.15   Additional Bankruptcy Matters
                104
 SECTION 6.16   Limitation on Amendments to Organizational Documents
                104
 SECTION 6.17   Limitation on Speculative Transactions, Certain Futures, etc.
                104
 SECTION 6.18   Limitation on Cancellation of Indebtedness
                105
 SECTION 6.19   Limitation on Equity Interests and New Subsidiaries
                105


                                             v
18-13374-mew    Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18         Main Document
                                     Pg 159 of 692


 SECTION 6.20   Limitation on Modifications to Contractual Obligations
                105
 SECTION 6.21   Risk Management Practices
                105
 SECTION 6.22   Expenses
                105

                                       ARTICLE VII

                                 EVENTS OF DEFAULT

 SECTION 7.01   Events of Default
                105
 SECTION 7.02   Application of Payments
                109

                                      ARTICLE VIII

                                          AGENCY

 SECTION 8.01   Appointment and Authority
                110
 SECTION 8.02   Agent in Its Individual Capacity
                110
 SECTION 8.03   Exculpatory Provisions
                110
 SECTION 8.04   Reliance by Agents
                111
 SECTION 8.05   Delegation of Duties
                111
 SECTION 8.06   Successor Administrative Agent, Issuing Bank or Swing Line Lender
                111
 SECTION 8.07   Non-Reliance on Agents and Other Lenders
                112
 SECTION 8.08   Notice of Default
                113
 SECTION 8.09   Administrative Agent May File Proofs of Claim
                113
 SECTION 8.10   Indemnification
                114
 SECTION 8.11   Intercreditor Agreement
                114
 SECTION 8.12   Collateral Matters
                114

                                       ARTICLE IX

                                   MISCELLANEOUS

 SECTION 9.01   Waivers; Amendments
                115


                                            vi
18-13374-mew    Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                     Pg 160 of 692


 SECTION 9.02   Notices
                118
 SECTION 9.03   No Waiver; Cumulative Remedies.
                119
 SECTION 9.04   Survival of Representations and Warranties
                119
 SECTION 9.05   Release of Collateral and Guarantee Obligations.
                120
 SECTION 9.06   Payment of Expenses; Indemnity
                120
 SECTION 9.07   Successors and Assigns
                122
 SECTION 9.08   Adjustments; Set-off
                126
 SECTION 9.09   Counterparts; Integration; Effectiveness; Electronic Execution
                127
 SECTION 9.10   Severability
                127
 SECTION 9.11   GOVERNING LAW
                127
 SECTION 9.12   Submission to Jurisdiction.
                127
 SECTION 9.13   Acknowledgments.
                128
 SECTION 9.14   WAIVER OF JURY TRIAL
                128
 SECTION 9.15   Confidentiality
                128
 SECTION 9.16   Specified Laws
                130
 SECTION 9.17   Acknowledgement and Consent to Bail-In of EEA Financial Institutions.
                130
 SECTION 9.18   Acknowledgement of Security Interests
                130
 SECTION 9.19   Loan Documents.
                131
 SECTION 9.20   Payments Set Aside
                131
 SECTION 9.21   Spanish Formalities.
                131




                                           vii
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 161 of 692


 SCHEDULES

 SCHEDULE 1.1A      -    Approved Inventory Locations
 SCHEDULE 1.1B      -    Existing Letters of Credit
 SCHEDULE 1.1C      -    Financial Institutions
 SCHEDULE 1.1D      -    Non-Filing Entities
 SCHEDULE 1.1E      -    Certain Ownership
 SCHEDULE 1.1F      -    Non-Wholly Owned Subsidiaries
 SCHEDULE 2.01      -    Commitments and Lenders
 SCHEDULE 2.07      -    Funding Account
 SCHEDULE 3.03      -    FERC Contracts
 SCHEDULE 3.05(b)   -    Liabilities
 SCHEDULE 3.05(v)   -    Sales other than in the Ordinary Course
 SCHEDULE 3.08      -    Litigation
 SCHEDULE 3.10      -    Properties; Locations
 SCHEDULE 3.11      -    Intellectual Property
 SCHEDULE 3.16      -    Environmental Matters
 SCHEDULE 3.22      -    Subsidiaries
 SCHEDULE 3.23      -    Filings and Filing Offices
 SCHEDULE 3.25      -    Insurance
 SCHEDULE 3.27      -    Joint Ventures
 SCHEDULE 3.30      -    Certain Indebtedness
 SCHEDULE 4.02(e)        Lender Representatives

 SCHEDULE 5.14      -    Required Milestones
 SCHEDULE 6.01      -    Indebtedness
 SCHEDULE 6.02      -    Liens
 SCHEDULE 6.03      -    Fundamental Changes
 SCHEDULE 6.05(c)   -    Restricted Payment Exceptions
 SCHEDULE 6.06      -    Investments
 SCHEDULE 6.08      -    Transactions with Affiliates
 SCHEDULE 6.09      -    Certain Restrictive Agreements

 EXHIBITS

 EXHIBIT A          -    Form of Assignment and Assumption
 EXHIBIT B          -    Form of Borrowing Base Report
 EXHIBIT C          -    Form of Debtors’ Budget
 EXHIBIT D          -    Form of Interim DIP Order
 EXHIBIT E          -    Form of Marked to Market Report
 EXHIBIT F-1        -    Form of U.S. Tax Compliance Certificate
 EXHIBIT F-2        -    Form of U.S. Tax Compliance Certificate
 EXHIBIT F-3        -    Form of U.S. Tax Compliance Certificate
 EXHIBIT F-4        -    Form of U.S. Tax Compliance Certificate
 EXHIBIT G          -    Form of Position Report
 EXHIBIT H-1        -    Form of Borrowing Request
 EXHIBIT H-2        -    Form of Letter of Credit Request




                                           viii
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 162 of 692


         SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION CREDIT AGREEMENT

                 This SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION CREDIT
 AGREEMENT dated as of November [_], 2018 (this “Agreement”), among AEGEAN BUNKERING
 (USA) LLC, a limited liability company organized under the laws of Delaware (the “Borrower”) and a
 Debtor and Debtor-in-Possession under Chapter 11 of the Bankruptcy Code, the LENDERS from time to
 time party hereto, and ABN AMRO CAPITAL USA LLC, a Delaware limited liability company
 (“ABN”) as Administrative Agent, Swing Line Lender and an Issuing Bank.

                                      PRELIMINARY STATEMENTS

                  WHEREAS, on November [__], 2018 (the “Petition Date”), the Borrower and the other
 Debtors (as hereinafter defined) filed voluntary petitions with the Bankruptcy Court commencing their
 respective cases that are pending under Chapter 11 of the Bankruptcy Code (the cases of the Debtors,
 each a “Case” and collectively, the “Cases”) and have continued in the possession of their assets and in
 the management of their business pursuant to Sections 1107 and 1108 of the Bankruptcy Code;

                    WHEREAS, Borrower has requested that the Lenders extend credit to it in the form of a
 debtor-in-possession first-out revolving credit facility in an aggregate principal amount of up to
 $160,000,000 and a debtor-in-possession first-out multiple draw term credit facility in an aggregate
 principal amount of up to $72,000,000, subject to the conditions set forth herein. All of the Borrower’s
 obligations under the Facilities are to be guaranteed by Parent and each of the Guarantors (as defined
 herein). The Lenders are willing to extend such credit, and each of the Issuing Banks is willing to issue
 letters of credit, to the Borrower, in each case, on the terms and subject to the conditions set forth herein;

                   WHEREAS, a portion of the Prepetition Obligations in an amount equal to 50% of
 Prepetition Obligations are to be rolled up as of the Petition Date pursuant to the Interim DIP Order and to
 be deemed post Petition Date obligations, with additional rollup thereafter as proceeds of pre-petition
 accounts and proceeds of other assets (if any) are collected, and in the Final DIP Order the remaining
 amounts not then rolled up as post-petition obligations are to deemed, and will constitute, post-petition
 obligations of the Borrower, and be entitled to the rights and benefits of post bankruptcy petition
 obligations, all as set forth in the Interim DIP Order and the Final DIP Order; and

                  WHEREAS, the respective priorities of the Facility and the other Obligations with
 respect to the Collateral shall be as set forth in this Agreement, the Interim DIP Order and the Final DIP
 Order, in each case upon entry thereof (as applicable) by the Bankruptcy Court;

                 ACCORDINGLY, in consideration of the mutual agreements herein contained and other
 good valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties
 hereto hereby agree as follows:

                                                  ARTICLE I

                                                DEFINITIONS

               SECTION 1.01 Defined Terms. As used in this Agreement, the following terms have the
meanings specified below:

                  “ABN” has the meaning provided in the introductory paragraph of this Agreement.




 73531283.28
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 163 of 692


                 “ABN Representative” means, so long as ABN is the Administrative Agent hereunder,
 Melissa Moscola (melissa.moscola@abnamro.com), Martina Cherry (martina.cherry@abnamro.com)
 and/or any other Person designated from time to time by ABN by written notice to the Lenders.

                  “ABR” means, for any day, a rate per annum equal to the highest of (a) the Prime Rate in
 effect on such day, (b) the Federal Funds Effective Rate in effect on such day plus 0.50% and (c) the
 Adjusted LIBO Rate for a one-month term in effect on such day (taking into account any LIBO Rate floor
 under the definition of “Adjusted LIBO Rate”) plus 1.00%. Any change in the ABR due to a change in
 the Prime Rate, the Federal Funds Effective Rate or such Adjusted LIBO Rate shall be effective from and
 including the effective date of such change in the Prime Rate, the Federal Funds Effective Rate or such
 Adjusted LIBO Rate, respectively.

                 “ABR Borrowing” means, as to any Borrowing, the ABR Loans comprising such
 Borrowing.

                 “ABR Loan” means a Loan that bears interest based on the ABR.

                  “Acceptable Reorganization Plan” means a Debtor Relief Plan that provides for the
 termination of the Commitments and the payment in full of the Prepetition Obligations and the
 Obligations (other than contingent indemnification obligations not yet due and payable but which, for the
 avoidance of doubt, shall be preserved in such Debtor Relief Plan) in cash on the effective date of such
 Debtor Relief Plan, to the extent not previously paid from the proceeds from a sale under Section 363 of
 the Bankruptcy Code.

                “Account Control Agreements” with respect to any Deposit Account, Commodity
 Account or Securities Account, an account control agreement in form and substance satisfactory to the
 Required Lenders.

                 “Account Debtor” means a Person who is obligated to the Borrower under an Account
 Receivable of the Borrower.

                “Account Receivable” means an account, as defined in Section 9-102 of the UCC, or
 Payment Intangible of the Borrower.

                “Accounts” means the aggregate of the unpaid portions of Accounts Receivable arising
 from the Borrower’s sale of Eligible Inventory in the ordinary course of business.

                   “Adjusted LIBO Rate” means, as to any LIBO Rate Borrowing for any Interest Period,
 an interest rate per annum (rounded upwards, if necessary, to the next 1/100 of 1%) equal to (a) the LIBO
 Rate for such Interest Period divided by (b) one minus the Applicable Reserve Requirement.

                 “Administrative Agent” means ABN, in its capacity as administrative agent under any
 of the Loan Documents, or any successor administrative agent appointed in accordance with the terms
 herein.

                 “Administrative Agent’s Office” means the Administrative Agent’s address and, as
 appropriate, account as set forth in Section 9.02, or such other address or account as the Administrative
 Agent may from time to time notify to the Borrower and the Lenders.

                 “Administrative Questionnaire” means an Administrative Questionnaire in a form
 supplied by the Administrative Agent.

 73531283.28                                      2
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 164 of 692


                  “Affiliate” means, with respect to a specified Person, another Person that directly or
 indirectly through one or more intermediaries, Controls or is Controlled by or is under common Control
 with the Person specified.

                 “Agents” means the Administrative Agent and the Collateral Agent, and “Agent” means
 each of them, as the context requires.

                 “Agreement” means this Superpriority Secured Debtor-in-Possession Credit Agreement,
 as amended, restated, waived, modified or supplemented from time to time in accordance with the terms
 hereof.

                  “Anti-Terrorism Law” means any Requirement of Law relating to economic or trade
 sanctions, terrorism, corruption, bribery or money laundering.

                 “Applicable Law” means, as to any Person, all applicable Laws binding upon such
 Person or to which such a Person is subject.

              “Applicable Percentage” means, with respect to any Lender, the percentage of the total
 Revolving Commitments represented by such Lender’s Revolving Commitment. If the Revolving
 Commitments have terminated or expired, the Applicable Percentages shall be determined based upon the
 Revolving Commitments most recently in effect, giving effect to any assignments.

                 “Applicable Rate” means, a percentage per annum equal to (i) for LIBO Rate Loans that
 are Revolving Loans, 3.5% per annum, (ii) for ABR Loans that are Revolving Loans, 3.5% per annum,
 (iii) for LIBO Rate Loans that are Term Loans, 6.5% per annum, and (iv) for Letter of Credit Fees, [3.5]%
 per annum, and (v) for Swing Line Loans, [3.5]% per annum.

                  “Applicable Reserve Requirement” means, at any time for any LIBO Rate Loan, the
 maximum rate, expressed as a decimal, at which reserves (including, without limitation, any basic
 marginal, special, supplemental, emergency or other reserves) are required to be maintained with respect
 thereto against “Eurocurrency liabilities” (as such term is defined in Regulation D) under regulations
 issued from time to time by the Board of Governors of the Federal Reserve Board or other applicable
 banking regulator. Without limiting the effect of the foregoing, the Applicable Reserve Requirement shall
 reflect any other reserves required to be maintained by such member banks with respect to (a) any
 category of liabilities which includes deposits by reference to which includes deposits by reference to
 which the applicable LIBO Rate or any other interest rate of a Loan is to be determined, or (b) any
 category of extensions of credit or other assets which include LIBO Rate Loans. A LIBO Rate Loan shall
 be deemed to constitute Eurocurrency liabilities and as such shall be deemed subject to reserve
 requirements without benefits of credit for proration, exceptions or offsets that may be available from
 time to time to the applicable Lender. The Adjusted LIBO Rate for each outstanding LIBO Rate Loan
 shall be adjusted automatically on and as of the effective date of any change in the Applicable Reserve
 Requirement.

                   “Approved Brokerage Accounts” means brokerage accounts that (a) are maintained by
 the Borrower with SG Americas, Inc. or another Eligible Commodity Broker for the purpose of allowing
 the Borrower to engage in the purchase and sale of commodity futures, commodity options, forward or
 leverage contracts and/or actual or cash commodities, and subject to the Perfected First Lien, subject only
 to the applicable broker’s lien over the account securing only indebtedness of the Borrower to such broker
 relating to transactions in such account and Permitted Borrowing Base Liens, and (b) are subject to an
 Account Control Agreement among the Borrower, the Collateral Agent and such broker in form and
 substance acceptable to the Required Lenders.

 73531283.28                                     3
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 165 of 692


                  “Approved Foreign Inventory” means inventory that is (a) located in the United States
 Virgin Islands (but only if and to the extent that title to such inventory is immediately transferred to a
 purchaser thereof) or (b) in transit on a barge or other vessel and otherwise satisfies the requirements of
 Eligible Inventory – Tier 1 or Eligible Inventory – Tier 2.

                   “Approved Fund” means any Fund that is administered or managed by (a) a Lender,
 (b) an Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers or manages a
 Lender.

                   “Approved Inventory Location” means any pipeline, third-party carrier, terminal or other
 storage facility that has been notified of the Perfected First Lien on the inventory owned by Loan Parties
 located in or at such pipeline, third-party carrier, terminal or other storage facility, pursuant to a written
 notice in form and substance reasonably satisfactory to the Collateral Agent (at the direction of the Required
 Lenders), and, (a) if such pipeline, third-party carrier, terminal or other storage facility is located in the
 United States or Canada, which has been approved by the Collateral Agent (at the direction of the Required
 Lenders), (i) as of the Effective Date and set forth on Schedule 1.1A as an Approved Inventory Location
 or (ii) from time to time after the Effective Date and (b) if such pipeline, third-party carrier, terminal or
 other storage facility is located outside of the United States or Canada, the inventory located at such
 pipeline, third-party carrier, terminal or other storage facility constitutes Approved Foreign Inventory,
 provided that, in each case (with respect to clauses (a) and (b) above), at the request of the Collateral Agent
 (acting at the direction of the Required Lenders), each such storage facility, carrier, bailee or consignee
 shall also have delivered a written acknowledgment of such notice to the Collateral Agent. Schedule 1.1A
 shall be deemed amended to include any additional Approved Inventory Locations after the Effective Date
 without further action immediately upon the approval of the Collateral Agent (acting at the direction of the
 Required Lenders). The Collateral Agent will provide to each Lender, upon any Lender’s reasonable
 request, an updated Schedule 1.1A.

                  “Asset Purchase Agreement” means that agreement executed between one or more of
 the Debtors for the sale of the assets described therein to Mercuria Asset Holdings (Hong Kong) Limited,
 a company incorporated in Hong Kong with limited liability, dated November __, 2018.

                 “Assignment and Assumption” means an assignment and assumption entered into by a
 Lender and an Eligible Assignee (with the consent of any party whose consent is required by
 Section 9.07), and accepted by the Administrative Agent, in substantially the form of Exhibit A or any
 other form approved by the Administrative Agent.

                 “Assignment of Claims Act” means the Federal Assignment of Claims Act of 1940 (31
 U.S.C. §3727 et seq.), and any similar Laws.

                 “Attributable Indebtedness” means, as of any date of determination, (a) in respect of
 any Capitalized Lease of any Person, the capitalized amount thereof that would appear on a balance sheet
 of such Person prepared as of such date in accordance with GAAP, and (b) in respect of any Synthetic
 Lease Obligation, the capitalized amount of the remaining lease payments under the relevant lease that
 would appear on a balance sheet of such Person prepared as of such date in accordance with GAAP if
 such lease were accounted for as a capital lease.

                “Availability Period” means the period from and including the Effective Date to but
 excluding the Commitment Termination Date.

                 “Availability Reserve” means reserves in such amounts as Administrative Agent in its
 Permitted Discretion (acting at the written direction of the Required Lenders in the exercise of such

 73531283.28                                       4
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 166 of 692


 Permitted Discretion), and with two (2) Business Day’s prior written notice to the Borrower (and the
 Administrative Agent and Required Lenders shall be available to discuss any such reserves with the
 Borrower), may elect to impose from time to time as being appropriate to (i) reflect the impediments to
 the Administrative Agent’s ability to realize upon the Collateral, (ii) to reflect claims and liabilities,
 including liens and claims that may have (or may appear to have hereafter) priority over that of the
 Lenders, that the Required Lenders determine will need to be satisfied in connection with the realization
 upon the Collateral, (iii) reflect the risk that a jurisdiction outside the United States does not give
 extraterritorial application of orders of the Bankruptcy Court, including (without limitation) with respect
 to perfection or priority of Liens on assets in the Borrowing Base established by order thereof, (iv) to
 reflect criteria, events, conditions, contingencies or risks which adversely affect any component of the
 Borrowing Base, the Collateral, the creation, perfection or priority of Liens on Borrowing Base assets (or
 proceeds thereof), or the validity or enforceability of the Loan Documents or any remedies of the Secured
 Parties hereunder or thereunder, including (without limitation) matters related to the quality of inventory,
 rents and costs, taxes, senior obligations and other matters related to the calculation of the Borrowing
 Base, or (v) reflect Permitted Borrowing Base Liens and the impact thereof (including, without limiting
 the generality of the foregoing, to reflect the impact (1) on the priority of such Liens on Borrowing Base
 Assets, (2) of delays arising from such Liens that may impact the collection of Borrowing Base Assets,
 and (3) on the value of the Borrowing Base from such Liens).

                “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
 applicable EEA Resolution Authority in respect of any liability of an EEA Financial Institution.

                  “Bail-In Legislation” means, with respect to any EEA Member Country implementing
 Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the European
 Union, the implementing law for such EEA Member Country from time to time that is described in the
 EU Bail-In Legislation Schedule.

                  “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy”.

                 “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
 District of New York or any other court having jurisdiction over the Cases from time to time.

                  “Basel III” means all regulations, requests, rules, guidelines or directives promulgated by
 the Bank for International Settlements, the Basel Committee on Banking Supervision (or any successor or
 similar authority) or any United States or foreign regulatory authorities, in each case pursuant to “Basel
 III”, as amended from time to time.

                “Belgian Subsidiary” means Aegean NWE N.V., a corporation incorporated under the
 laws of Belgium.

                “Beneficial Ownership Certification” means a certification regarding beneficial
 ownership or control as required by the Beneficial Ownership Regulation.

                  “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

                  “Bidding Procedures Order” has the meaning given to such term in paragraph D of
 Schedule 5.14.

                 “Board” means the U.S. Board of Governors of the Federal Reserve System of the
 United States (or any successor).



 73531283.28                                      5
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 167 of 692
 .



                  “Borrower” has the meaning provided in the first paragraph hereof.

                  “Borrowing” means a Revolving Borrowing, a Swing Line Borrowing or a Term
 Borrowing.

                  “Borrowing Base” means, from time to time, the amount of the Borrowing Base as most
 recently specified in a written notice by the Required Lenders to the Administrative Agent. The Lenders
 shall determine the Borrowing Base, using Borrowing Base Reports and other information as permitted
 herein, as follows:

                      (a) 100% of Cash; plus

                      (b) 100% of Eligible Net Liquidity in Brokerage Accounts; plus

                      (c) 100% (or in the case of Eligible Accounts Receivable – Tier 1 supported by a letter
                          of credit or credit insurance, 90%) of Eligible Accounts Receivable – Tier 1; plus

                      (d) 95% (or in the case of Eligible Accounts Receivable – Tier 2 with Affiliates, 85%)
                          of Eligible Accounts Receivable – Tier 2; plus

                      (e) 90% of Eligible Unbilled Accounts Receivable; plus

                      (f) 90% of Income Tax Refunds; plus

                      (g) 90% of Eligible Inventory – Tier 1; plus

                      (h) 90% of Eligible Inventory – Tier 2; plus

                      (i) 75% of Eligible Inventory – Tier 3; plus

                      (j) 85% of Eligible LCs Covering Commodities Not Yet Delivered; less

                      (k) 100% of the First Purchaser Lien Amount; less

                      (l) 100% of the Indebtedness secured by Permitted Borrowing Base Liens; less

                      (m) 100% of the Estimated Excise Taxes Payable; less

                      (n) without duplications of any other Availability Reserve or other eligibility criteria,
                          any Availability Reserve.

          In no event shall any amounts described in categories (a) through (i) above which may fall into
 more than one of such categories be counted more than once when making the calculation under this
 definition. In calculating the Borrowing Base, the following adjustments shall be made:

                      (i) Any category of the Borrowing Base shall be calculated taking into account any
           elimination and reduction related to any potential offset to such asset category; and

                      (ii) if any of the information specified in the definition of “Borrowing Base Report”
           in Section 1.01 hereof is not delivered to the Administrative Agent when due in accordance with
           the terms hereof and such failure shall remain unremedied for a period of five (5) Business Days,
           the property of the Borrower related to such undelivered information shall be excluded from the

 73531283.28                                      6
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 168 of 692


           calculation of the Borrowing Base until the next Borrowing Base Date on which the
           Administrative Agent and the Lenders have received a Borrowing Base Report containing such
           information but the provisions of this paragraph (ii) shall not constitute a waiver of any Default
           or Event of Default hereunder.

          Promptly following receipt of each Borrowing Base Report required to be delivered hereunder, if
 the Required Lenders agree on the amount of the Borrowing Base, such Required Lenders shall notify the
 Administrative Agent in writing of such amount. If following receipt of a Borrowing Base Report
 required to be delivered hereunder, there is not agreement among the Required Lenders regarding the
 amount of the Borrowing Base, the Required Lenders shall notify the Administrative Agent in writing
 that the Borrowing Base is an amount equal to the weighted average (based on Commitment amount) of
 the amounts determined by the Lenders for the Borrowing Base.

           Notwithstanding anything to the contrary herein, in the event the Administrative Agent (acting at
 the direction of the Required Lenders) imposes any changes to the eligibility criteria or Availability
 Reserves as a result of changing or reducing credit limits imposed on any account debtor, such changes (i)
 shall be effective two (2) Business Days following written notice thereof to the Borrower (it being agreed
 any Accounts created after such notice in excess thereof, may be excluded from the Borrowing Base) and
 (ii) shall not apply to any Accounts in existence as of the date of imposition of such change.

               “Borrowing Base Availability” means at any time, the Borrowing Base at such time
 minus the Revolving Credit Exposure at such time minus the Prepetition Credit Exposure at such time.

                “Borrowing Base Date” means at any time, the most recent date as of which the
 Borrower has calculated a Borrowing Base Report delivered pursuant to Section 4.01(d).

                   “Borrowing Base Report” means a report certified as true and complete by a
 Responsible Person of the Borrower, substantially in the form of Exhibit B attached hereto, with
 appropriate insertions and schedules, showing the Borrowing Base and Revolving Credit Exposure as of
 the date set forth therein. Such report shall show the basis on which it was calculated, together with the
 following supporting information:

                  (a)      for Cash, copies of summary Deposit Account statements issued by ABN (in the
 case of the Wells Fargo Account) or the applicable Eligible Cash Management Bank where such assets are
 held, as of the applicable Borrowing Base Date;

                  (b)     a schedule listing each Eligible Account Receivable – Tier 1, Eligible Account
 Receivable – Tier 2 and Eligible Unbilled Account Receivable, the amount, the counterparty, the time
 outstanding, if applicable, all offsets, reductions and the contra account balance thereof and, if applicable,
 the marked-to-market losses, all margin monies received and/or paid and the details of any related letters
 of credit;

                  (c)     a list of those Eligible Unbilled Accounts Receivable converted into invoices
 unbilled (with associated invoice numbers);

                (d)     for Eligible Net Liquidity in Brokerage Accounts, statements for each Commodity
 Account issued by each Eligible Commodity Broker;

                  (e)       for Eligible Inventory – Tier 1, Eligible Inventory – Tier 2 and Eligible Inventory
 – Tier 3, a schedule listing inventory locations, Market Value and inventory volumes/quantities by location
 and type of Eligible Commodity, together with all supporting third party pipeline receipts, terminal tank

 73531283.28                                       7
18-13374-mew           Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 169 of 692


 receipts and/or inventory statements, and any additional statements issued by terminal/storage facilities to
 be delivered to the Administrative Agent promptly upon Borrower’s receipt, and in any event, no later than
 the date of delivery of the next Borrowing Base Report following such receipt;

                  (f)     for Eligible LCs Covering Commodities Not Yet Delivered, a schedule listing each
 Letter of Credit giving rise to Eligible LCs Covering Commodities Not Yet Delivered, the face amount of
 such Letter of Credit and the Market Value of the goods to be financed thereunder (and, if applicable, the
 maximum undrawn amount of such Letter of Credit after giving effect to any tolerance included therein,
 and the amount of such tolerance);

                 (g)      a schedule of the First Purchaser Lien Amount, if applicable, setting forth the
 holder of each First Purchaser Lien and the aggregate First Purchaser Lien Amount of such holder;

                 (h)     a schedule of the Permitted Borrowing Base Liens, if applicable, setting forth the
 holder of each Permitted Borrowing Base Lien and the aggregate amount of the Indebtedness secured by
 the Permitted Borrowing Base Liens;

                  (i)      a schedule showing the Estimated Excise Taxes Payable for the Borrower, together
 with a schedule setting forth the balance of any Controlled Account established for the purpose of depositing
 reserves for federal excise taxes and copies of the most recent bank statements for such accounts, to the
 extent not previously delivered;

                 (j)     such other detailed supporting information with respect to the such commodities
 as requested from time to time by the Required Lenders;

                 (k)      a summary report showing the total amount outstanding under each type of Credit
 Extension;

                 (l)     a schedule of all of the Borrower’s accounts payable (including unbilled and
 provisional accounts payable) listing such accounts payable on a creditor by creditor basis, which shall
 include an aging of such accounts payable, and specify the nature of such account payable, whether such
 account payable is due to an Affiliate, whether such account payable is supported by a Letter of Credit
 issued under the Credit Agreement, and such other supporting information with respect to such accounts
 payable as requested from time to time by the Required Lenders in their reasonable discretion;

                 (m)     a schedule listing each Account Receivable of the Borrower that is not included in
 the Borrowing Base, the amount, the counterparty, the days outstanding, if applicable, all offsets, reductions
 and the contra account balance thereof and, if applicable, the marked-to-market losses, all margin monies
 received and/or paid and the details of any related letters of credit; and

                 (n)      a schedule detailing all deposits to, withdrawals from or other activity in the Chase
 Account.

                 “Borrowing Date” means any Business Day specified (i) in a Borrowing Request as a
 date on which a Revolving Loan, Swing Line Loan or Term Loan is to be made or (ii) in a Letter of
 Credit Request as a date on which a Letter of Credit is to be issued, amended or extended.

               “Borrowing Request” means a request for a Revolving Loan, Swing Line Loan or a
 Term Loan, which in each case shall be substantially in the form of Exhibit H-1 attached hereto.




 73531283.28                                       8
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 170 of 692


                   “Budget” means the Debtors’ budget attached hereto as Exhibit C, setting forth (a) in
 reasonable detail the receipts and disbursements of the Debtors, on a weekly basis from the Effective
 Date through the immediately consecutive 13 weeks broken down by week, including the anticipated uses
 of the Facilities for such period, as such budget may be amended or modified from time to time by the
 Debtors, provided that the Required Lenders shall have provided prior written consent to any such
 amendment or modification, together with budgets for subsequent periods proposed by the Debtors and
 approved by the Required Lenders in their sole discretion.

                 “Business Day” means any day that is not a Saturday, Sunday or other day that is a legal
 holiday under the laws of the State of New York or is a day on which banking institutions in such state
 are authorized or required by Law to close; provided that, when used in connection with a LIBO Rate
 Loan, the term “Business Day” means any such day that is also a day on which dealings in Dollar
 deposits are conducted by and between banks in the London interbank market.

               “Capitalized Lease” means each lease that has been or is required to be, in accordance
 with GAAP, recorded as a capitalized lease.

                 “Carve Out” means the term “Carve Out” in the Final DIP Order, or, prior to the entry of
 the Final DIP Order, the Interim DIP Order.

                   “Carve Out Trigger Notice” has the meaning set forth in the Final DIP Order, or prior
 to the entry of the Final DIP Order, the Interim Order.

                  “Case” has the meaning provided in the recitals hereto.

                   “Cash” means at the time of any determination thereof, the balance in United States
 Dollars of collected funds of the Borrower on deposit in (i) a cash collateral account with the Collateral
 Agent, or (ii) an account maintained with an Eligible Cash Management Bank under arrangements
 satisfactory to the Required Lenders (including, without limitation, an executed Account Control
 Agreement in form and substance satisfactory to the Required Lenders), in each case subject to the
 Perfected First Lien and no other Liens, except Liens permitted under Section 6.02, provided that the
 aggregate amount of Cash, if any, included in the Borrowing Base shall be net of the aggregate amount
 secured by such Liens.

                   “Cash Collateral” means (a) with respect to the Borrower, cash or deposit account
 balances denominated in United States Dollars that have been pledged to the Collateral Agent, for the
 ratable benefit of the Secured Parties, to secure repayment of the Obligations, provided that the applicable
 deposit account is subject to an Account Control Agreement or is in the name, and under the exclusive
 control, of the Collateral Agent, and (b) with respect to any Defaulting Lender, cash or deposit account
 balances denominated in United States Dollars that have been pledged to the Collateral Agent, for the
 benefit of the Swing Line Lender or the Issuing Bank, as the case may be, pursuant to Section 2.25, as
 security for the obligation of such Defaulting Lender to fund participations in any requested or
 outstanding Swing Line Loans or Letters of Credit, as applicable; provided that the applicable deposit
 account is subject to an account control agreement in form and substance reasonably satisfactory
 Collateral Agent or is in the name, and under the exclusive control, of the Collateral Agent. For the
 avoidance of doubt, “Cash Collateral” shall include all proceeds of the foregoing.

                   “Cash Collateralize” means (a) with respect to the Borrower, to pledge and deposit with
 or deliver to the Collateral Agent, for the benefit of one or more of the Issuing Banks or Swing Line
 Lenders, Cash Collateral as collateral for L/C Obligations or in respect of Swing Line Loans, as
 applicable, and (b) with respect to any Defaulting Lender, to pledge and deposit with or deliver to the

 73531283.28                                      9
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 171 of 692


 Collateral Agent, for the benefit of one or more of the Issuing Banks or Swing Line Lenders, as
 applicable, Cash Collateral as security for the obligations of such Defaulting Lender to fund participations
 in respect of L/C Obligations or Swing Line Loans, as applicable, in each case pursuant to documentation
 in form and substance satisfactory to the Collateral Agent and each applicable Issuing Bank or Swing
 Line Lender, as applicable.

                 “Cash Equivalents” means:

                  (a)    direct obligations of, or obligations the principal of and interest on which are
 unconditionally guaranteed by, the United States of America (or by any agency thereof to the extent such
 obligations are backed by the full faith and credit of the United States of America), in each case maturing
 within one year from the date of acquisition thereof;

                  (b)     investments in commercial paper maturing within 270 days from the date of
 acquisition thereof and having, at such date of acquisition, the highest credit rating obtainable from a
 Credit Rating Agency;

                 (c)     investments in certificates of deposit, banker’s acceptances and time deposits
 maturing within 180 days from the date of acquisition thereof issued or guaranteed by or placed with, and
 money market deposit accounts issued or offered by, any domestic office of any commercial bank
 organized under the laws of the United States of America or any State thereof that has a combined capital
 and surplus and undivided profits of not less than $500,000,000;

                  (d)      fully collateralized repurchase agreements with a term of not more than 30 days
 for securities described in clause (a) above and entered into with a financial institution satisfying the
 criteria described in clause (c) above; and

                 (e)    money market funds that (i) comply with the criteria set forth in SEC Rule 2a-7
 under the Investment Company Act of 1940, (ii) are rated AAA and Aaa (or equivalent rating) by at least
 two Credit Rating Agencies and (iii) have portfolio assets of at least $5,000,000,000.

                  “Cash Management Order” means the Bankruptcy Court order, in form and substance
 reasonably satisfactory to the Administrative Agent and the Required Lenders, relating to the Debtors’
 cash management system and bank accounts.

                  “Change in Law” means the occurrence, after the date of this Agreement, of any of the
 following: (a) the adoption or taking effect of any law, rule, regulation or treaty, (b) any change in any
 law, rule, regulation or treaty or in the administration, interpretation, implementation or application
 thereof by any Governmental Authority, or (c) the making or issuance of any request, rule, guideline or
 directive (whether or not having the force of law) by any Governmental Authority; provided that
 notwithstanding anything herein to the contrary, (x) the Dodd-Frank Wall Street Reform and Consumer
 Protection Act and all requests, rules, guidelines or directives thereunder or issued in connection
 therewith and (y) all requests, rules, guidelines or directives promulgated by the Bank for International
 Settlements, the Basel Committee on Banking Supervision (or any successor or similar authority) or the
 United States or foreign regulatory authorities, in each case pursuant to Basel III, shall in each case be
 deemed to be a “Change in Law”, regardless of the date enacted, adopted or issued.

                   “Change of Control” means an event or series of events by which: (a) any “person” or
 “group” (as such terms are used in Sections 13(d) and 14(d) of the Securities Exchange Act of 1934, but
 excluding any employee benefit plan of such person or its Subsidiaries, and any person or entity acting in
 its capacity as trustee, agent or other fiduciary or administrator of any such plan) becomes the “beneficial

 73531283.28                                      10
18-13374-mew            Doc 17         Filed 11/06/18 Entered 11/06/18 07:04:18                            Main Document
                                                   Pg 172 of 692


 owner” (as defined in Rules 13d-3 and 13d-5 under the Securities Exchange Act of 1934, except that a
 person or group shall be deemed to have “beneficial ownership” of all securities that such person or group
 has the right to acquire, whether such right is exercisable immediately or only after the passage of time
 (such right, an “option right”)), directly or indirectly, of 35% or more of the Equity Interests of Parent
 entitled to vote for members of the board of directors or equivalent governing body of the Borrower on a
 fully-diluted basis (and taking into account all such securities that such person or group has the right to
 acquire pursuant to any option right); (b) the Direct Parent shall cease to own (directly or indirectly),
 beneficially and of record, and control, 100% of each class of outstanding Equity Interests of the
 Borrower free and clear of all Liens, charges or other encumbrances, other than Liens in favor of the
 Collateral Agent for the ratable benefit of the Secured Parties under the Loan Documents; or (c) Parent
 shall cease to own (directly or indirectly), beneficially and of record, and control, 100% of each class of
 outstanding Equity Interests of the Borrower, the Direct Parent and each other Person that is a Subsidiary
 on the Effective Date (except to the extent permitted hereunder), free and clear of all Liens, charges or
 other encumbrances, other than (i) Liens (w) in favor of the Collateral Agent for the ratable benefit of the
 Secured Parties under the Loan Documents, (x) in respect of the Carve Out, (y) contemplated by the
 Orders (including any adequate protection liens in favor of other lenders), and (z) nonconsensual
 Permitted Liens or (ii) as otherwise permitted under this Agreement. Notwithstanding the foregoing,
 ownership as set forth in Schedule 1.1E shall not constitute a Change of Control.

                     “Chase” means JPMorgan Chase Bank, N.A.

                     “Chase Account” means account number 580396377 maintained with Chase.

                “Class”, when used in reference to any Loan or Borrowing, refers to whether such Loan,
 or the Loans comprising such Borrowing, are Revolving Loans or Borrowings, Swing Line Loans or
 Borrowings or Term Loans or Borrowings.

                     “Code” means the Internal Revenue Code of 1986, as amended.

                 “Collateral” means, collectively, the Debtors’ Collateral, the Non-Debtors’ Collateral
 and the “Collateral” as defined or described in any Order.

                     “Collateral Account” has the meaning specified in Section 2.05(k).

                “Collateral Agent” means ABN, in its capacity as collateral agent under any of the Loan
 Documents, or any successor collateral agent.

                     “Combined Revolving Exposure Limit” means $160,000,000.

              “Commitment” means with respect to each Lender on any date, such Lender’s
 Revolving Commitment and Term Commitment.

                 “Commitment Termination Date” means the earliest of (i) [_______]1, 2019 (or if not a
 Business Day, the first subsequent Business Day); provided that if between [___]2, 2019 and [____]3, 201
 9 Borrower requests that the Commitment Termination Date be extended, then if on [_____]4, 2019, (a)
 no Event of Default is continuing and (b) there remains undrawn Term Commitments in an amount of at


 1 To be 120 days following the Petition Date (or if not a Business Day, the first subsequent Business Day).
 2 Ten days’ notice.
 3 Five days’ notice.
 4 To be 120 days following the Petition Date (or if not a Business Day, the first subsequent Business Day).



 73531283.28                                               11
18-13374-mew               Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18                            Main Document
                                                     Pg 173 of 692


 least $5,000,000, the Commitment Termination Date shall be extended to [         ], 20195; (ii) the effective
 date of any Plan of Reorganization; (iii) the date of the consummation of a sale of all or substantially all
 of the Debtors’ assets or capital stock under section 363 of the Bankruptcy Code; and (iv) the acceleration
 of the Loans and termination of the Commitments hereunder, whether pursuant to Section 7.01 or
 otherwise.

                       “Commodity Account” has the meaning provided in Section 9-102 of the UCC.

                  “Commodity Contract” means (a) a Physical Commodity Contract, (b) a Futures
 Contract, (c) any Commodity OTC Agreement or Financial OTC Agreement or (d) contract for the
 storage or transportation of any physical Eligible Commodity.

                 “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et
 seq.), as amended from time to time, and any successor statute.

                   “Commodity OTC Agreement”: (i) any forward commodity contracts, swaps, options,
 collars, caps, or floor transactions, in each case based on Eligible Commodities, (ii) any currency swaps,
 cross-currency note swaps, currency options, interest rate swaps, interest rate caps, or interest rate collars,
 in each case related to a transaction related to Eligible Commodities and (iii) any other similar transaction
 (including any option to enter into any of the foregoing) or any combination of the foregoing.

                        “Confidential Information” has the meaning specified in Section 9.15(a).

                “Connection Income Taxes” means Other Connection Taxes that are imposed on or
 measured by net income (however denominated) or that are franchise Taxes or branch profits Taxes.

                  “Contractual Obligation” means, as to any Person, any provision of any security issued
 by such Person or of any agreement, instrument or other undertaking to which such Person is a party or
 by which it or any of its property is bound.

                   “Control” means the possession, directly or indirectly, of the power to direct or cause the
 direction of the management or policies of a Person, whether through the ability to exercise voting power,
 by contract or otherwise. “Controlling” and “Controlled” have meanings analogous thereto. In relation
 to a Person organized under the laws of Spain this definition shall also include any of the circumstances
 set forth in Section 42 of the Spanish Commercial Code.

               “Controlled Account” means each Pledged Account that is subject to an Account
 Control Agreement.

                       “Credit Extension” means (a) a Borrowing or (b) an L/C Credit Extension.

                “Credit Rating” means a rating as determined by a Credit Rating Agency of the
 Borrower’s non-credit-enhanced, senior unsecured long-term indebtedness.

                  “Credit Rating Agency” means a nationally recognized credit rating agency that
 evaluates the financial condition of issuers of debt instruments and then assigns a rating that reflects its
 assessment of the issuer’s ability to make debt payments.




 5   To be 180 days following the Petition Date (or if not a Business Day, the first subsequent Business Day).

 73531283.28                                                 12
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                            Pg 174 of 692


                 “Crude Oil” means crude petroleum oil and all other hydrocarbons, regardless of gravity,
 produced at the well in liquid form by ordinary production methods.

                   “Debtor Relief Law” means the Bankruptcy Code of the United States of America, and
 all other liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium,
 rearrangement, receivership, insolvency, reorganization, or similar debtor relief Laws of the United States
 or other applicable jurisdictions from time to time in effect.

                “Debtor Relief Plan” means a plan of reorganization or plan of liquidation pursuant to
 any Debtor Relief Laws.

                  “Debtors” means the Borrower, Parent, and each Subsidiary of Parent that filed a
 voluntary petition for relief pursuant to chapter 11 of the Bankruptcy Code with the Bankruptcy Court on
 the Petition Date.

                   “Debtors’ Collateral” means, collectively, all real, personal, and mixed property
 (including Equity Interests) of the Debtors’ respective estates in the Cases, including, without limitation,
 all inventory, accounts receivable, general intangibles (including rights under intercompany loans),
 contracts, chattel paper, owned real estate, real property leaseholds, governmental approvals, licenses and
 permits, fixtures, machinery, equipment, deposit accounts, patents, copyrights, trademarks (other than any
 “intent to use” trademark applications for which a Statement of Use or Amendment to Allege Use, as
 applicable, as not been filed and accepted with the U.S. Patent and Trademark Office), trade names, rights
 under license agreements and other intellectual property, securities, partnership or membership interests
 in limited liability companies, and capital stock of any subsidiary of any of the Debtors, including,
 without limitation, the products and proceeds thereof, in each case excluding Excluded Collateral (as
 defined in the Security Documents).

                 “Default” means any event or condition that constitutes an Event of Default or that, with
 the giving of any notice, the passage of time, or both, would be an Event of Default.

                  “Default Rate” means an interest rate (before as well as after judgment) equal to (a) with
 respect to overdue principal, the applicable interest rate plus 2.0% per annum (provided that, with
 respect to a LIBO Rate Loan, the determination of the applicable interest rate is subject to Section 2.08(e)
 to the extent that LIBO Rate Loans may not be converted to, or continued as, LIBO Rate Loans, pursuant
 thereto) and (b) with respect to any other overdue amount (including overdue interest), the interest rate
 applicable to ABR Loans in the case of overdue interest or fee plus 2.0% per annum.

                   “Defaulting Lender” means, subject to Section 2.25(b), any Lender that (a) has failed to
 (i) fund all or any portion of its Loans within one Business Day of the date such Loans were required to
 be funded hereunder unless such Lender notifies the Administrative Agent and the Borrower in writing
 that such failure is the result of such Lender’s determination that one or more conditions precedent to
 funding (each of which conditions precedent, together with any applicable Default or Event of Default,
 shall be specifically identified in such writing) has not been satisfied, or (ii) pay to the Administrative
 Agent, the Swing Line Lender, any Issuing Bank or any other Lender any other amount required to be
 paid by it hereunder (including in respect of its participation in Letters of Credit or Swing Line Loans)
 within one Business Day of the date when due, (b) has notified the Borrower, the Administrative Agent,
 the Swing Line Lender or any Issuing Bank in writing that it does not intend to comply with its funding
 obligations hereunder, or has made a public statement to that effect (unless such writing or public
 statement relates to such Lender’s obligation to fund a Loan hereunder and states that such position is
 based on such Lender’s determination that a condition precedent to funding (which condition precedent,
 together with any applicable Default or Event of Default, shall be specifically identified in such writing or

 73531283.28                                      13
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 175 of 692


 public statement) cannot be satisfied), (c) has failed, within one Business Day after written request by the
 Administrative Agent or the Borrower, to confirm in writing to the Administrative Agent and the
 Borrower that it will comply with its prospective funding obligations hereunder (provided that such
 Lender shall cease to be a Defaulting Lender pursuant to this clause (c) upon receipt of such written
 confirmation by the Administrative Agent and the Borrower), or (d) has, or has a direct or indirect parent
 company that has, (i) become the subject of a proceeding under any Debtor Relief Law, (ii) had appointed
 for it a receiver, custodian, conservator, trustee, administrator, assignee for the benefit of creditors or
 similar Person charged with reorganization or liquidation of its business or assets, including the Federal
 Deposit Insurance Corporation or any other state or federal regulatory authority acting in such a capacity
 or (iii) become the subject of a Bail-In Action; provided that a Lender shall not be a Defaulting Lender
 solely as a result of the acquisition or maintenance of ownership of any Equity Interest in that Lender or
 any direct or indirect parent company thereof by a Governmental Authority so long as such ownership
 interest does not result in or provide such Lender with immunity from the jurisdiction of courts within the
 United States or from the enforcement of judgments or writs of attachment on its assets or permit such
 Lender (or such Governmental Authority) to reject, repudiate, disavow or disaffirm any contracts or
 agreements made with such Lender. Any determination by the Administrative Agent that a Lender is a
 Defaulting Lender under any one or more of clauses (a) through (d) above shall be conclusive and binding
 absent manifest error, and such Lender shall be deemed to be a Defaulting Lender (subject to
 Section 2.25(b)) upon delivery of written notice of such determination to the Borrower, the Swing Line
 Lender, each Issuing Bank and each Lender.

                “Deposit Account” as defined in Section 9-102 of the UCC, and with respect to Canada,
 any bank account with a comparable deposit function.

                 “Direct Parent” means AMPNI Holdings Co. Limited, a limited liability company
 incorporated under the laws of the Republic of Cyprus.

                 “Direct Parent Pledge Agreement” means that certain Pledge Agreement dated as of the
 date hereof by Direct Parent in favor of the Collateral Agent regarding pledge of all the Equity Interests
 owned by Direct Parent with respect to each Subsidiary thereof, including without limitation that of the
 Borrower.

                  “Disposition” or “Dispose” means the sale, transfer, license, lease or other disposition of
 any property by any Person (including any sale and leaseback transaction and any issuance of Equity
 Interests by a Subsidiary of such Person), including any sale, assignment, transfer or other disposal, with
 or without recourse, of any notes or accounts receivable or any rights and claims associated therewith.

                   “Disqualified Equity Interest” means any Equity Interest that, by its terms (or the terms
 of any security or other Equity Interests into which it is convertible or for which it is exchangeable), or
 upon the happening of any event or condition (a) matures or is mandatorily redeemable (other than solely
 for Equity Interests that are not Disqualified Equity Interests and cash in lieu of fractional shares),
 pursuant to a sinking fund obligation or otherwise (except as a result of a change of control, similar event
 or asset sale so long as any rights of the holders thereof upon the occurrence of a change of control,
 similar event or asset sale event shall be subject to the prior repayment in full of the Loans and all other
 Obligations that are accrued and payable and the termination of the Commitments), (b) is redeemable at
 the sole option of the holder thereof, in whole or in part (other than solely for Equity Interests that are not
 Disqualified Equity Interests and cash in lieu of fractional shares), (c) provides for scheduled payments of
 dividends in cash, or (d) is or becomes convertible into or exchangeable for Indebtedness or any other
 Equity Interests that would constitute Disqualified Equity Interests, in each case, prior to the date that is
 ninety-one days after the Commitment Termination Date; provided that if such Equity Interests are
 issued pursuant to a plan for the benefit of employees of the Borrower or any Subsidiary or by any such

 73531283.28                                      14
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 176 of 692


 plan to such employees, such Equity Interests shall not constitute Disqualified Equity Interests solely
 because they may be required to be repurchased by the Borrower or its Subsidiaries in order to satisfy
 applicable statutory or regulatory obligations or as a result of such employee’s termination, death or
 disability.

                   “Documentary Letter of Credit” means a Letter of Credit intended to be drawn as a
 means of payment upon the presentation of documents for Eligible Commodities purchased by the
 Borrower under any Commodity Contract, excluding any such Letter of Credit issued for the primary
 purpose of serving as a means of payment for or supporting payments for costs, charges or fees relating to
 transportation, transmission or storage services or similar services

                  “Dollar” and “$” mean lawful money of the United States.

               “ECP” means an “eligible contract participant” as defined in Section 1(a)(18) of the
 Commodity Exchange Act or any regulations promulgated thereunder and the applicable rules issued by
 the Commodity Futures Trading Commission and/or the SEC.

                  “EEA Financial Institution” means (a) any credit institution or investment firm
 established in any EEA Member Country that is subject to the supervision of an EEA Resolution
 Authority, (b) any entity established in an EEA Member Country that is a parent of an institution
 described in clause (a) of this definition, or (c) any financial institution established in an EEA Member
 Country that is a subsidiary of an institution described in clauses (a) or (b) of this definition and is subject
 to consolidated supervision with its parent.

                 “EEA Member Country” means any of the member states of the European Union,
 Iceland, Liechtenstein, and Norway.

                 “EEA Resolution Authority” means any public administrative authority or any person
 entrusted with public administrative authority of any EEA Member Country (including any delegee)
 having responsibility for the resolution of any EEA Financial Institution.

                  “Effective Date” means the first date all the conditions precedent in Section 4.01 are
 satisfied or waived in accordance with Section 9.01.

                   “Eligible Accounts Receivable – Tier 1” Accounts created by the Borrower (net of any
 credits, rebates, offsets (including, without limitation, any offset relating to any forward contract marked-
 to-market loss), holdbacks or other adjustments or commissions and reduced by any sales, use, excise or
 other taxes, imposts, levies or other governmental charges included therein) that satisfy such eligibility
 requirements as the Required Lenders may impose from time to time with at least two (2) Business Days
 prior written notice to the Borrower (and during such time the Administrative Agent and Required
 Lenders shall be available to discuss such changes), which shall at all times include the requirements that
 (a) the Borrower has legal, valid and absolute title to such Accounts, subject only to Permitted Borrowing
 Base Liens, and reasonably and in good faith determines such Accounts to be collectible in full and
 enforceable in accordance with their terms against the Account Debtors under such Accounts; provided
 that, the amount of the Eligible Account Receivable – Tier 1, if any, included in the Borrowing Base shall
 be net of the aggregate amount secured by such Permitted Borrowing Base Lien (except Liens in favor of
 the Collateral Agent for the ratable benefit of the Secured Parties under the Loan Documents); (b) such
 Accounts are either (i) fully supported by letters of credit on terms and conditions acceptable to the
 Required Lenders issued by a financial institution acceptable to the Required Lenders, (ii) owing to the
 Borrower from Account Debtors with an Investment Grade Rating, or (iii) approved for inclusion in
 Eligible Accounts Receivable – Tier 1 by the Required Lenders in writing; (c) the Account Debtors under

 73531283.28                                       15
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 177 of 692


 such Accounts: (i) are not affiliates of the Borrower, (ii) purchased the goods giving rise to the relevant
 Account in an arm’s length bona fide transaction conducted in the ordinary course of business in
 compliance with all applicable laws and regulations, (iii) are not insolvent or involved in any case or
 proceeding, whether voluntary or involuntary, under any bankruptcy, reorganization, arrangement,
 insolvency, adjustment of debt, dissolution, liquidation or similar law of any jurisdiction, (iv) are not the
 United States government or any department or agency thereof, or any state or municipal government or
 any department or agency thereof, except if the Borrower has complied in a manner satisfactory to the
 Required Lenders with the Assignment of Claims Act or any comparable state law, such Accounts as to
 which the Borrower has so complied shall not be excluded from Eligible Accounts Receivable – Tier 1 by
 this clause (iv), (v) are organized, located in and primarily conducting business in the United States or any
 country that is a member country of the Organization for Economic Cooperation and Development, (vi)
 are not determined by the Borrower or the Required Lenders in their sole judgment to be uncreditworthy,
 and (vii) have received notice (which may be stamped on the applicable invoices) of the Collateral
 Agent’s lien on the Account and instructions to make payments directly to the Wells Fargo Account; (d)
 such Accounts are in payment for goods actually delivered or services or obligations that have been fully
 performed and are not in dispute or subject to any other claim, defense, offset, reduction or counterclaim
 or any claim on the part of the Account Debtor denying liability under such Account, and such Accounts
 shall have been reduced by the amount of all obligations and liabilities of the Borrower to the Account
 Debtor; (e) such Accounts are not subject to any pledge, restriction, security interest or other lien or
 encumbrance other than those created by the Loan Documents, the Global Loan Documents or Permitted
 Borrowing Base Liens; (f) such Accounts are subject to a Perfected First Lien prior to the rights of, and
 enforceable as such against, any other Person, (g) such Accounts are not outstanding for more than 60
 days past the applicable original invoice date therefor; (h) [reserved]; (i) such Accounts represent legal,
 valid and binding obligations of the applicable Account Debtor, enforceable in accordance with their
 terms against the Account Debtor; (j) such Accounts are evidenced by an invoice rendered to the Account
 Debtor and not by any instrument or chattel paper, unless (i) there is only one original of such instrument
 or chattel paper, (ii) such original shall have been delivered to the Collateral Agent, and (iii) by virtue of
 such delivery the Collateral Agent shall have a Perfected First Lien on such instrument or chattel paper;
 (k) such Account arises from a completed sale (on an absolute basis and not on a consignment, sale-and-
 return, approval or bill and hold basis); (l) such Accounts are payable in U.S. Dollars; (m) such Accounts
 are not due from any single Account Debtor if more than twenty-five percent (25%) of the aggregate
 amount of all Accounts owing from such Account Debtor would otherwise not be eligible for inclusion in
 the Borrowing Base; and (n) such Account shall not be the subject of a Permitted Receivables Sales
 Transaction.

                  “Eligible Accounts Receivable – Tier 2” all Accounts created by the Borrower (net of
 any credits, rebates, offsets (including, without limitation, any offset relating to any forward contract
 marked-to-market loss), holdbacks or other adjustments or commissions and reduced by any sales, use,
 excise or other taxes, imposts, levies or other governmental charges included therein) which satisfy all of
 the requirements of Eligible Accounts Receivable - Tier 1 other than clause (b) of the definition thereof,
 provided that the Account Debtor shall have been approved in writing by the Required Lenders.
 Notwithstanding the foregoing, (a) the aggregate amount of Eligible Accounts Receivable - Tier 2 due
 from any Account Debtor and its Affiliates included in the Borrowing Base at any time, after giving effect
 to the applicable advance rate, shall not exceed 5.0% of the total aggregate amount of Eligible Accounts
 Receivable - Tier 1, Eligible Accounts Receivable - Tier 2 and Eligible Unbilled Accounts Receivable
 included in the Borrowing Base at such time, and (b) Eligible Accounts Receivable -Tier 2 due from
 Account Debtors that are Affiliates of the Borrower shall not be included in the Borrowing Base at any
 time.




 73531283.28                                      16
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 178 of 692


                 “Eligible Assignee” means any Person that meets the requirements to be an assignee
 under Section 9.07(b)(iii), (v) and (vi) (subject to such consents, if any, as may be required under
 Section 9.07(b)(iii)).

                   “Eligible Cash Management Bank” means any financial institution reasonably
 satisfactory to the Required Lenders. The financial institutions on Schedule 1.1C are satisfactory to the
 Required Lenders as of the Effective Date.

                   “Eligible Commodities” means bunker fuel, Crude Oil, fuel oil, gas oil, lubricants, and
 other petroleum products, and with the consent of the Required Lenders, any other energy commodities
 that are of the type which are purchased, sold or otherwise traded in physical, futures, forward or over the
 counter markets.

                  “Eligible Commodity Broker” means any commodity broker acceptable to the Required
 Lenders.

                  “Eligible Inventory” means, at the time of any determination thereof, all inventory of the
 Borrower’s consisting of Eligible Commodities that are acceptable to the Required Lenders, valued at
 Market Value. Eligible Inventory shall satisfy such eligibility requirements as the Required Lenders may
 impose from time to time on at least 2 Business Days prior written notice (during which time the
 Administrative Agent and the Required Lenders shall be available to discuss such matters), which shall at
 all times include the following:

                    (a)    such inventory was acquired by the Borrower in the ordinary course of business
          from a non-Affiliate, or if from an Affiliate, such Affiliate shall be a party to the Global DIP
          Facility Agreement and the Collateral Agent shall have received an express written release of
          lien, in form and substance satisfactory to the Required Lenders, duly executed and delivered by
          an authorized officer of the Facility Agent under the Global DIP Facility Agreement, and such
          inventory is merchantable and not obsolete, damaged or otherwise unfit for sale or further
          processing in the ordinary course of business;

                  (b)     the Borrower has legal and valid title to such inventory, free and clear of all
          Liens other than Perfected First Liens, Liens under the Global Documents or Permitted
          Borrowing Base Liens and the value of such inventory is reduced by both the Market Value of
          any net volumetric balance owed by the Borrower to a counterparty which is in possession of the
          inventory and the aggregate amount secured by such Permitted Borrowing Base Liens;

                   (c)     the Borrower has the full and unqualified right to assign and grant a Lien on such
          inventory to the Collateral Agent, for the ratable benefit of the applicable Agents and the Secured
          Parties, as security for the Obligations;

                 (d)    the inventory is subject to a Perfected First Lien, subject only to Permitted
          Borrowing Base Liens or Liens under the Global Documents;

                  (e)      none of such inventory is evidenced by bills of lading or other documents of title,
          whether negotiable or non-negotiable, unless such negotiable bill of lading or negotiable
          document of title has been issued and duly negotiated to the Collateral Agent or to order, or blank
          endorsed, and in the possession of the Collateral Agent, or such non-negotiable bill of lading or
          document of title has been issued in the name of and delivered to the Collateral Agent, and, in
          each case, the issuer is acceptable to the Required Lenders;


 73531283.28                                      17
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 179 of 692


                   (f)     such inventory is either (i) located in the United States at a third party storage
          facility acceptable to the Required Lenders and such storage facility has executed a control
          agreement with the Collateral Agent, satisfactory to the Required Lenders, or (ii) in transit on a
          barge or other vessel to a buyer in connection with a sale in the ordinary course of business and
          such inventory is (A) evidenced by 3/3 on board negotiable bills of lading that have been issued
          and duly negotiated to the Collateral Agent, or to order and blank endorsed and in the possession
          of the Collateral Agent and (B) located on a vessel chartered to the Borrower by a person
          acceptable to the Required Lenders;

                  (g)     none of such inventory has given rise to an Eligible Account Receivable – Tier 1,
          an Eligible Account Receivable – Tier 2 or an Unbilled Eligible Account Receivable; and

                  (h)     the inventory has not been identified to deliveries with the result that a buyer
          would have rights to the inventory that would be superior to the Perfected First Liens, nor shall
          such inventory have become the subject of a customer’s ownership or Lien.

                 Notwithstanding the foregoing, no inventory shall be excluded from Eligible Inventory
 solely because such inventory is subject to a Permitted Borrowing Base Lien or a Lien under the Global
 Loan Documents; provided that the amount of any such obligations has been deducted in determining the
 amount of Eligible Inventory.

                 “Eligible Inventory – Tier 1” means Eligible Inventory which meets all of the
 requirements set forth in the definition of Eligible Inventory (including, without limitation, clause (f)
 thereof).

                   “Eligible Inventory – Tier 2” means as of any date of determination, inventory of the
 Borrower in transit on a barge or other vessel which would constitute Eligible Inventory but for the failure
 to satisfy clauses (e) and (f) of the definition thereof, and is evidenced by copies of negotiable or non-
 negotiable documents of title issued to the Borrower or the Collateral Agent (and such copies are in the
 possession of the Collateral Agent), and which was purchased by the Borrower less than 45 days prior to
 its inclusion in the Borrowing Base (at any time) as Eligible Inventory – Tier 2. Notwithstanding the
 foregoing, the aggregate amount of Eligible Inventory – Tier 2 included in the Borrowing Base at any
 time, after giving effect to the applicable advance rate, shall not exceed $40,000,000.

                  “Eligible Inventory – Tier 3” means as of any date of determination, the purchase price
 of any Eligible Commodities contracted for purchase by the Borrower and actually paid for by the
 Borrower, but not yet received, provided that:

                   (a)     the applicable supplier has or is required to have title to such Eligible Commodities
          prior to delivery to the Borrower;

                 (b)      such Eligible Commodities were purchased and actually paid for by the Borrower
 less than 10 days prior to their inclusion in the Borrowing Base (at any time) as Eligible Inventory – Tier
 3;

                 (c)      such Eligible Commodities are not included as Eligible LCs Covering
 Commodities Not Yet Delivered, Eligible Inventory – Tier 1 or Eligible Inventory – Tier 2, in the
 Borrowing Base but, upon delivery to the Borrower, such Eligible Commodities will qualify as Eligible
 Inventory – Tier 1 or Eligible Inventory – Tier 2, as applicable; and




 73531283.28                                       18
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 180 of 692


                 (d)      the Borrower has the absolute and unqualified right to obtain such Eligible
 Commodities from the applicable seller or supplier, and the Borrower’s right is subject to the Perfected
 First Lien and no other equal or prior Liens (other than Permitted Borrowing Base Liens).

                  Notwithstanding the foregoing, the aggregate amount of Eligible Inventory – Tier 3
 included in the Borrowing Base at any time, after giving effect to the applicable advance rate, shall not
 exceed $7,000,000.

                 “Eligible LCs Covering Commodities Not Yet Delivered” means, as of any date of
 determination, the face amount of any Letter of Credit supporting the purchase price of any Eligible
 Commodities contracted for purchase by the Borrower, provided that:

               (a)      the applicable supplier has or is required to have title to such Eligible
 Commodities prior to delivery to the Borrower;

                 (b)      such Eligible Commodities are not included as Eligible Inventory – Tier 1 or
 Eligible Inventory – Tier 2, in the Borrowing Base but, upon delivery to the Borrower, such Eligible
 Commodities will qualify as Eligible Inventory – Tier 1 or Eligible Inventory – Tier 2, as applicable; and

                 (c)      the Borrower has the absolute and unqualified right to obtain such Eligible
 Commodities from the applicable seller or supplier, and the Borrower’s right is subject to the Perfected
 First Lien and no other equal or prior Liens (other than Permitted Borrowing Base Liens).

                  “Eligible Net Liquidity in Brokerage Accounts” means, as of any date of
 determination, the aggregate value of “net equity” or “net liquidity value” however designated of
 Approved Brokerage Accounts, not to exceed the amount that would be available for withdrawal upon
 closing such account and liquidation of all open positions at current market values, as reported in the
 account statements for the relevant Approved Brokerage Accounts, which are subject only to Perfected
 First Liens and the Liens of the Eligible Commodity Broker as provided for in the applicable Account
 Control Agreement as of such date, provided that, if any portion of the net equity is not represented by
 cash, the value of any such equity shall be determined by the Required Lenders and provided, further,
 that all amounts due to such broker secured by Permitted Borrowing Base Liens shall be deducted in
 calculating Eligible Net Liquidity in Brokerage Accounts.

                   “Eligible Unbilled Accounts Receivable” means all Accounts created by the Borrower
 (net of any credits, rebates, offsets (including, without limitation, any offset relating to any forward
 contract marked-to-market loss), holdbacks or other adjustments or commissions and reduced by any
 sales, use, excise or other taxes, imposts, levies or other governmental charges included therein) which
 would qualify as Eligible Accounts Receivable – Tier 1 or Eligible Accounts Receivable – Tier 2 but for
 the fact that an invoice has not yet been issued by the Borrower to the applicable Account Debtor,
 provided, that (a) even if no other services were performed or goods delivered to the Account Debtor, the
 Borrower has the right to issue an invoice to the Account Debtor for services performed or goods
 delivered prior to the date as of which Eligible Unbilled Accounts Receivable is determined, (b) no
 Eligible Unbilled Accounts Receivable shall be included in Eligible Accounts Receivable – Tier 1 or
 Eligible Accounts Receivable – Tier 2 and (c) upon the issuance of an invoice for any such Account, such
 Account shall no longer be an Eligible Unbilled Account Receivable. The amount of Eligible Unbilled
 Accounts Receivable shall be equal to the amount that would be included as Eligible Accounts
 Receivable – Tier 1 or Eligible Accounts Receivable – Tier 2 upon the issuance of an invoice therefor.
 Notwithstanding the foregoing, the aggregate amount of Eligible Unbilled Accounts Receivable included
 in the Borrowing Base at any time, after giving effect to the applicable advance rate, shall not exceed
 $20,000,000.

 73531283.28                                     19
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 181 of 692


                   “Environmental Laws” means any and all international, European Union, national,
 federal, state, provincial or local statutes, orders, regulations or other Law concerning protection of the
 environment or health and safety (to the extent regulating, relating to or imposing liability on standards of
 conduct concerning exposure to Materials of Environmental Concern) which are in existence now or in
 the future and are binding at any time on the Loan Parties or any of their respective Subsidiaries in the
 relevant jurisdiction in which such Loan Party or such Subsidiary has been or is operating (including by
 the export of its products or its waste to that jurisdiction).

                 “Environmental Permit” means any permit, license, consent, approval and other
 authorization and the filing of any notification, report or assessment required under any Environmental
 Law for the operation of the business of any Loan Party conducted on or from the properties owned or
 used by any Loan Party.

                  “Equity Interests” means, as to any Person, all of the shares of capital stock of (or other
 ownership or profit interests in) such Person, all of the warrants, options or other rights for the purchase
 or acquisition from such Person of shares of capital stock of (or other ownership or profit interests in)
 such Person, all of the securities convertible into or exchangeable for shares of capital stock of (or other
 ownership or profit interests in) such Person or warrants, rights or options for the purchase or acquisition
 from such Person of such shares (or such other interests), and all of the other ownership or profit interests
 in such Person (including partnership, member or trust interests therein), whether voting or nonvoting,
 and whether or not such shares, warrants, options, rights or other interests are outstanding on any date of
 determination.

                 “ERISA” means the Employee Retirement Income Security Act of 1974.

                 “ERISA Affiliate” means any trade or business (whether or not incorporated) under
 common control with the Borrower within the meaning of Section 414(b) or (c) of the Code (and
 Sections 414(m) and (o) of the Code for purposes of provisions relating to Section 412 of the Code or
 Section 302 of ERISA).

                   “ERISA Event” means (a) a Reportable Event with respect to a Pension Plan; (b) the
 failure by the Borrower or any ERISA Affiliate to meet all applicable requirements under the Pension
 Funding Rules or the filing of an application for the waiver of the minimum funding standards under the
 Pension Funding Rules; (c) the incurrence by the Borrower or any ERISA Affiliate of any liability
 pursuant to Section 4063 or 4064 of ERISA or a cessation of operations with respect to a Pension Plan
 within the meaning of Section 4062(e) of ERISA; (d) a complete or partial withdrawal by the Borrower or
 any ERISA Affiliate from a Multiemployer Plan or notification that a Multiemployer Plan is in
 reorganization or insolvent (within the meaning of Title IV of ERISA); (e) the filing of a notice of intent
 to terminate a Pension Plan under, or the treatment of a Pension Plan amendment as a termination under,
 Section 4041 of ERISA; (f) the institution by the PBGC of proceedings to terminate a Pension Plan;
 (g) any event or condition that constitutes grounds under Section 4042 of ERISA for the termination of,
 or the appointment of a trustee to administer, any Pension Plan; (h) the determination that any Pension
 Plan is in at-risk status (within the meaning of Section 430 of the Code or Section 303 of ERISA) or that a
 Multiemployer Plan is in endangered or critical status (within the meaning of Section 432 of the Code or
 Section 305 of ERISA); (i) the imposition or incurrence of any liability under Title IV of ERISA, other
 than for PBGC premiums due but not delinquent under Section 4007 of ERISA, upon the Borrower or
 any ERISA Affiliate; (j) the engagement by the Borrower or any ERISA Affiliate in a transaction that
 could be subject to Section 4069 or Section 4212(c) of ERISA; (k) the imposition of a lien upon the
 Borrower pursuant to Section 430(k) of the Code or Section 303(k) of ERISA; or (l) the making of an
 amendment to a Pension Plan that could result in the posting of bond or security under Section 436(f)(1)
 of the Code.

 73531283.28                                      20
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 182 of 692


                   “Estimated Excise Taxes Payable” means, as of any date of determination, the amount
 of the Borrower’s obligations to any Governmental Authority or taxing authority for sales, excise or other
 taxes, levies or governmental charges relating to the purchase or sale of its inventory, except to the extent
 deducted in calculating Eligible Accounts Receivable – Tier 1 or Eligible Accounts Receivable – Tier 2.

                 “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule
 published by the Loan Market Association (or any successor Person), as in effect from time to time.

                  “Event of Default” has the meaning specified in Article VII.

                  “Excluded Swap Obligation” means, with respect to any Guarantor, any Swap
 Obligation if, and to the extent that, all or a portion of the Guarantee of such Guarantor of, or the grant by
 such Guarantor of a security interest to secure, such Swap Obligation (or any Guarantee thereof) is or
 becomes illegal or unlawful under the Commodity Exchange Act or any rule, regulation or order of the
 Commodity Futures Trading Commission (or the application or official interpretation of any thereof) by
 virtue of such Guarantor’s failure for any reason to constitute an ECP at the time the Guarantee of such
 Guarantor or the grant of such security interest becomes or would become effective with respect to such
 Swap Obligation. If a Swap Obligation arises under a master agreement governing more than one swap,
 such exclusion shall apply only to the portion of such Swap Obligation that is attributable to swaps for
 which such Guarantee or security interest is or becomes illegal.

                   “Excluded Taxes” means any of the following Taxes imposed on or with respect to a
 Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes imposed on or
 measured by net income (however denominated), franchise Taxes, and branch profits Taxes, in each case,
 (i) imposed as a result of such Recipient being organized under the laws of, or having its principal office
 or, in the case of any Lender, its applicable lending office located in, the jurisdiction imposing such Tax
 (or any political subdivision thereof) or (ii) that are Other Connection Taxes, (b) in the case of a Lender,
 U.S. federal withholding Taxes imposed on amounts payable to or for the account of such Lender with
 respect to an applicable interest in a Loan or Commitment pursuant to a law in effect on the date on which
 (i) such Lender acquires such interest in the Loan or Commitment (other than pursuant to an assignment
 request by the Borrower under Section 2.22(b)) or (ii) such Lender changes its lending office, except in
 each case to the extent that, pursuant to Section 2.19, amounts with respect to such Taxes were payable
 either to such Lender's assignor immediately before such Lender became a party hereto or to such Lender
 immediately before it changed its lending office, (c) Taxes attributable to such Recipient’s failure to
 comply with Section 2.19(g) and (d) any withholding Taxes imposed under FATCA.

                  “Existing Letters of Credit” means the letters of credit listed on Schedule 1.1B.

                  “Extensions of Credit” means at any date, as to any Lender at any time, an amount equal
 to the sum of (a) the aggregate principal amount of all Revolving Loans made by such Lender then
 outstanding, plus (b) the aggregate principal amount of all Term Loans made by such Lender then
 outstanding, plus (c) the aggregate amount of such Lender’s participation, to the extent of its Applicable
 Percentage of each Letter of Credit, of the L/C Obligations then outstanding , plus (d) the aggregate
 principal amount of such Lender’s participation, to the extent of its Applicable Percentage of each Swing
 Line Loan, of the Swing Line Loans then outstanding.

                  “Facilities” mean the Revolving Facility and the Term Facility.

                “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this
 Agreement (or any amended or successor version that is substantively comparable and not materially
 more onerous to comply with), any current or future regulations or official interpretations thereof, any

 73531283.28                                      21
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 183 of 692


 agreements entered into pursuant to Section 1471(b)(1) of the Code and any fiscal or regulatory
 legislation, rules or practices adopted pursuant to any intergovernmental agreement, treaty or convention
 among Governmental Authorities and implementing such Sections of the Code.

                  “FCPA” has the meaning specified in Section 3.17(c).

                   “Federal Funds Effective Rate” means, for any day, the greater of (a) the rate calculated
 by the Federal Reserve Bank of New York based on such day’s Federal funds transactions by depositary
 institutions (as determined in such manner as the Federal Reserve Bank of New York shall set forth on its
 public website from time to time) and published on the next succeeding Business Day by the Federal
 Reserve Bank of New York as the Federal funds effective rate and (b) 0%.

                 “Federal Reserve Board” means the Board of Governors of the Federal Reserve System
 of the United States.

                  “FERC” means the U.S. Federal Energy Regulatory Commission.

                   “FERC Contract Collateral” means all contracts and the books and records related
 thereto that, by their nature, require a filing with the FERC for the Secured Party to be able to exercise
 remedies in respect thereof.

                   “Final DIP Order” means a Final Order substantially in the form and substance of the
 Interim DIP Order entered by the Bankruptcy Court, with only such modifications in form and substance
 that are either (x) not adverse to the Administrative Agent or the Lenders or (y) satisfactory to the
 Administrative Agent and the Required Lenders (as the same may be amended, supplemented, or
 modified from time to time after entry thereof with the written consent of the Administrative Agent and
 the Required Lenders in accordance with the terms herein) (i) authorizing the Debtors to (a) obtain post-
 petition secured financing pursuant to this Agreement and the other Loan Documents and (b) use cash
 collateral during the pendency of the Cases, and (ii) granting certain related relief.

                  “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or
 other court of competent jurisdiction with respect to the relevant subject matter that has not been reversed,
 stayed, modified, or amended, and as to which the time to appeal or seek certiorari has expired and no
 appeal or petition for certiorari has been timely taken, or as to which any appeal that has been taken or
 any petition for certiorari that has bene filed or may be filed has been resolved by the highest court to
 which the order or judgment could be appealed or from which certiorari could be sought or the new trial,
 reargument, or rehearing shall have been denied, resulted in no modification of such order, or has
 otherwise been dismissed with prejudice.

                  “Financial OTC Agreement”: means any currency swap, cross-currency rate swap,
 currency option, interest rate option, interest rate swap, cap or collar agreement or similar arrangement or
 any other similar transaction (including any option to enter into any of the foregoing) or any combination
 of the foregoing including, without limitation, any derivative relating to interest rate or currency rate risk,
 in each case which is not a Commodity OTC Agreement.

                  “First Day Orders” means all orders entered or to be entered by the Bankruptcy Court
 granting the relief requested in the motions filed with the Bankruptcy Court on the Petition Date and
 heard by the Bankruptcy Court at the initial hearing or thereafter, which orders shall each be in form and
 substance reasonably satisfactory to the Administrative Agent and the Required Lenders.




 73531283.28                                       22
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 184 of 692


               “First Purchaser Lien” means a so-called “first purchaser” Lien, as defined in Texas
 Bus. & Com. Code Section 9.343, comparable Laws of the states of Oklahoma, Kansas, Mississippi,
 Wyoming or New Mexico, or any other comparable Law.

                 “First Purchaser Lien Amount” means as of any Borrowing Base Date, in respect of
 any property of the Borrower subject to a First Purchaser Lien, the aggregate amount of the obligations
 outstanding as of such date giving rise to such First Purchaser Lien as of such date, less any portion of
 such obligations that are secured or supported by a Letter of Credit issued hereunder.

                 “Foreign Lender” means a Lender that is not a U.S. Person.

                “Foreign Plan” means any employee pension benefit plan, program, policy, arrangement
 or agreement maintained or contributed to by the Borrower or any Subsidiary with respect to employees
 employed outside the United States (other than any governmental arrangement).

                  “Foreign Subsidiary” means a Subsidiary that is organized under the laws of a
 jurisdiction other than the United States, any State thereof or the District of Columbia.

                 “Fronting Cap” means $50,000,000.

                  “Fronting Exposure” means, at any time there is a Defaulting Lender, (a) with respect to
 any Issuing Bank, such Defaulting Lender’s Applicable Percentage of the outstanding L/C Obligations
 with respect to Letters of Credit issued by such Issuing Bank other than L/C Obligations as to which such
 Defaulting Lender’s participation obligation has been reallocated to other Lenders or Cash Collateralized
 in accordance with the terms hereof, and (b) with respect to the Swing Line Lender, such Defaulting
 Lender’s Applicable Percentage of outstanding Swing Line Loans made by the Swing Line Lender other
 than Swing Line Loans as to which such Defaulting Lender’s participation obligation has been reallocated
 to other Lenders.

                   “Fund” means any Person (other than a natural Person) that is (or will be) engaged in
 making, purchasing, holding or otherwise investing in commercial loans, bonds and similar extensions of
 credit in the ordinary course of its activities.

                  “Futures Contract” means a contract for making or taking delivery of Eligible
 Commodities that is traded on a market-recognized commodity exchange, which contract meets the
 specification and delivery requirements of commodity futures contracts on such commodity exchange, the
 value of which shall be reflected in a Commodity Account.

                   “GAAP” means, subject to Section 1.04, United States generally accepted accounting
 principles as in effect as of the date of determination thereof.

               “German Subsidiary” means Aegean Bunkering Germany GmbH, a limited liability
 company incorporated under the laws of the Federal Republic of Germany.

                  “Global Prepetition Facility” means the Facility Agreement for a Borrowing Base
 Facility dated 30 November 2017, among Aegean Marine Petroleum S.A. as the “Company”, Aegean
 Marine Petroleum S.A., Aegean Petroleum International Inc., Aegean NEW N.V., Aegean Bunkering
 Germany GMBH, OBAST Bunkering & Trading GMBH and Aegean Petroleum Uruguay S.A. as the
 Borrowers, certain companies as guarantors, ABN AMRO Bank N.V. as Facility Agent, Collateral
 Management Agent, Security Agent, Documentation Bank, Active Bookrunning Mandated Lead Arranger
 and Co-Ordinator, as amended or modified from time to time.

 73531283.28                                     23
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 185 of 692


                  “Global DIP Facility Agreement” means the Superpriority Secured Debtor-In-
 Possession Facility Agreement For A Borrowing Base Facility dated as of 30 November 2017, as
 amended and restated pursuant to an amendment and restatement agreement dated November __, 2018,
 among Aegean Marine Petroleum S.A. as the Company, Aegean Marine Petroleum S.A., Aegean
 Petroleum International Inc., Aegean NWE N.V., Aegean Bunkering Germany GMBH and OBAST
 Bunkering & Trading GMBH as the Borrowers, certain companies as Guarantors, ABN AMRO Bank
 N.V. as Facility Agent, Collateral Management Agent, Security Agent, certain persons as Lenders,
 Issuing Banks and Overdraft Bank, and Mercuria Energy Trading S.A. as Co-Ordinator and as a Hedging
 Provider.

                   “Global DIP Loan Documents” has the meaning set forth in the Final DIP Order, or
 prior to the entry of the Final DIP Order, the Interim Order.

                  “Governmental Authority” means the government of the United States of America or
 any other nation, or of any political subdivision thereof, whether state, provincial or local, and any
 agency, authority, instrumentality, regulatory body, court, central bank or other entity exercising
 executive, legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to
 government (including any supra-national bodies such as the European Union or the European Central
 Bank).

                   “Guarantee” means, as to any Person, (a) any obligation, contingent or otherwise, of
 such Person guaranteeing or having the economic effect of guaranteeing any Indebtedness or other
 obligation payable by another Person (the “primary obligor”) in any manner, whether directly or
 indirectly, and including any obligation of such Person, direct or indirect, (i) to purchase or pay (or
 advance or supply funds for the purchase or payment of) such Indebtedness or other obligation, (ii) to
 purchase or lease property, securities or services for the purpose of assuring the obligee in respect of such
 Indebtedness or other obligation of the payment or performance of such Indebtedness or other obligation,
 (iii) to maintain working capital, equity capital or any other financial statement condition or liquidity or
 level of income or cash flow of the primary obligor so as to enable the primary obligor to pay such
 Indebtedness or other obligation or (iv) entered into for the purpose of assuring in any other manner the
 obligee in respect of such Indebtedness or other obligation of the payment or performance thereof or to
 protect such obligee against loss in respect thereof (in whole or in part) or (b) any Lien on any assets of
 such Person securing any Indebtedness of any other Person, whether or not such Indebtedness is assumed
 by such Person (or any right, contingent or otherwise, of any holder of such Indebtedness to obtain any
 such Lien); provided that the term “Guarantee” shall not include endorsements for collection or deposit
 in the ordinary course of business. The amount of any Guarantee shall be deemed to be the lower of (x)
 an amount equal to the stated or determinable amount of the related primary obligation, or portion thereof,
 in respect of which such Guarantee is made and (y) the maximum amount for which such guaranteeing
 person may be liable pursuant to the terms of the instrument embodying such Guarantee, or, if not stated
 or determinable, the maximum reasonably anticipated liability in respect thereof as determined by the
 guaranteeing Person in good faith. The term “Guarantee” as a verb has a corresponding meaning.

                 “Guarantor” means Parent, Direct Parent, each Subsidiary that is a party to the Guaranty
 on the date hereof and any other Person who becomes a party to the Guaranty pursuant to a joinder
 agreement and their respective successors and assigns.

                 “Guaranty” means the Guaranty, dated as of the date hereof, by the Guarantors in favor
 of the Secured Parties.




 73531283.28                                      24
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 186 of 692


                   “Hess Litigation” means the causes of action brought by the Borrower and the Parent, as
 Plaintiffs, against Hess Corporation, as Defendant, commenced in the Supreme Court of the State of New
 York, County of New York: Part 39, Index Number 653887/2014.

                 “Hess Litigation Proceeds” means any and all proceeds actually received by the
 Borrower in respect of the Hess Litigation whether as a judgment, settlement or otherwise, net of any
 documented costs, expenses and taxes directly related thereto and actually paid by the Borrower.

                  “ICE” means The Intercontinental Exchange, Inc. or any successor thereto.

                “Immaterial Subsidiary” means any Subsidiary that has neither (a) assets of fair market
 value exceeding $250,000 nor (b) net income before taxes exceeding $250,000 on an annualized basis.

                  “Indebtedness” means, as to any Person at a particular time, without duplication, all of
 the following:

                  (a)    all obligations of such Person for borrowed money and all obligations of such
          Person evidenced by bonds, debentures, notes, loan agreements or other similar instruments;

                   (b)     all direct or contingent obligations of such Person arising under (i) letters of
          credit (including standby and commercial), bankers’ acceptances and bank guaranties and
          (ii) surety bonds, performance bonds and similar instruments issued or created by or for the
          account of such Person;

                  (c)      net obligations of such Person under any Swap Contract;

                  (d)      all obligations of such Person to pay the deferred purchase price of property or
          services (other than trade accounts payable in the ordinary course of business);

                   (e)       indebtedness (excluding prepaid interest thereon) secured by a Lien on property
          owned or being purchased by such Person (including indebtedness arising under conditional sales
          or other title retention agreements), whether or not such indebtedness shall have been assumed by
          such Person or is limited in recourse;

                  (f)      all Attributable Indebtedness;

                  (g)      all obligations of such Person in respect of Disqualified Equity Interests; and

                  (h)      all Guarantees of such Person in respect of any of the foregoing.

 For all purposes hereof, the Indebtedness of any Person shall include the Indebtedness of any partnership
 or joint venture (other than a joint venture that is itself a corporation or limited liability company) in
 which such Person is a general partner or a joint venturer, unless such Indebtedness is expressly made
 non-recourse to such Person. Indebtedness of a Person shall exclude (i) trade accounts and accrued
 expenses payable in the ordinary course of business (except to the extent secured by Liens on assets of
 such Person), (ii) accruals for payroll and other liabilities accrued in the ordinary course of business, (iii)
 prepaid or deferred revenue arising in the ordinary course of business, and (iv) customary obligations
 under employment agreements and deferred compensation. The amount of any net obligation under any
 Swap Contract on any date shall be deemed to be the Swap Termination Value thereof as of such date.
 The amount of any Indebtedness of any Person for purposes of clause (e) that is expressly made non-
 recourse or limited-recourse (limited solely to the assets securing such Indebtedness) to such Person shall


 73531283.28                                       25
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 187 of 692


 be deemed to be equal to the lesser of (i) the aggregate principal amount of such Indebtedness and (ii) the
 fair market value of the property encumbered thereby as determined by such Person in good faith.

                  “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
 respect to any payment made by or on account of any obligation of the Borrower under any Loan
 Document and (b) to the extent not otherwise described in (a), Other Taxes.

                 “Indemnitee” has the meaning specified in Section 9.06(a).

                 “Intercreditor Agreement” means the Intercreditor Agreement, dated as of the date
 hereof, between the Administrative Agent and the Administrative Agent (as defined in the Global DIP
 Facility Agreement).

                “Interest Election Request” means a request by the Borrower to convert or continue a
 Borrowing in accordance with Section 2.08, which shall be in such form as the Administrative Agent
 may approve.

                  “Interest Payment Date” means (a) as to any ABR Loan, the first Business Day of each
 month and the Commitment Termination Date, (b) as to any LIBO Rate Loan, the last day of each Interest
 Period therefor and the Commitment Termination Date.

                  “Interest Period” means, as to any LIBO Rate Loan or Borrowing, the period
 commencing on the date of such Loan or Borrowing and ending on the numerically corresponding day in
 the calendar month that is one month thereafter, as specified in the applicable Borrowing Request or
 Interest Election Request; provided that (i) if any Interest Period would end on a day other than a
 Business Day, such Interest Period shall be extended to the next succeeding Business Day unless such
 next succeeding Business Day would fall in the next calendar month, in which case such Interest Period
 shall end on the next preceding Business Day, (ii) any Interest Period that commences on the last
 Business Day of a calendar month (or on a day for which there is no numerically corresponding day in the
 last calendar month of such Interest Period) shall end on the last Business Day of the last calendar month
 of such Interest Period and (iii) no Interest Period shall extend beyond the Commitment Termination
 Date. For purposes hereof, the date of a Loan or Borrowing initially shall be the date on which such Loan
 or Borrowing is made and thereafter shall be the effective date of the most recent conversion or
 continuation of such Loan or Borrowing.

                   “Interim DIP Order” means the interim order entered by the Bankruptcy Court (as the
 same may be amended, waived, supplemented, or modified from time to time after entry thereof, solely in
 the case of any amendment, waiver, supplement or modification that is not adverse to the rights or duties
 of the Secured Parties, with the consent of the Administrative Agent and the Required Lenders in their
 sole discretion) in the form set forth as Exhibit D, with changes to such form as are satisfactory to the
 Administrative Agent and the Required Lenders, in their sole discretion, (i) authorizing, on an inteirm
 basis, the Debtors to (a) obtain post-peititon secured financing pursuant to this Agreement and (b) use
 cash collateral during the pendency of the Cases, and (ii) granting certain related relief.

                   “Interpolated Rate” means, at any time, the rate per annum determined by the
 Administrative Agent (which determination shall be conclusive and binding absent manifest error) to be
 equal to the rate that results from interpolating on a linear basis between: (a) the rate as displayed on the
 applicable Reuters page (or on any successor or substitute page or service providing quotations of interest
 rates applicable to dollar deposits in the London interbank market comparable to those currently provided
 on such page, as determined by the Administrative Agent from time to time; in each case the “Screen
 Rate”) for the longest period (for which that Screen Rate is available) that is shorter than the Interest

 73531283.28                                      26
18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 188 of 692


 Period and (b) the Screen Rate for the shortest period (for which that Screen Rate is available) that
 exceeds the Interest Period, in each case, at approximately 11:00 a.m., London time, two Business Days
 prior to the commencement of such Interest Period.

                  “Investment” means, as to any Person, any acquisition or investment by such Person,
 whether by means of (a) the purchase or other acquisition of Equity Interests or debt or other securities of
 another Person, (b) a loan, advance or capital contribution to, Guarantee or assumption of debt of, or
 purchase or other acquisition of any other debt or equity participation or interest in, another Person,
 including any partnership or joint venture interest in such other Person, or (c) the purchase or other
 acquisition (in one transaction or a series of related transactions) of all or substantially all of the property
 and assets or business of another Person or assets constituting a business unit, line of business or division
 of such Person excluding in each case current trade and customer accounts receivables for inventory sold
 and services rendered in the ordinary course of busienss. For purposes of covenant compliance, the
 amount of any Investment shall be the amount actually invested, without adjustment for subsequent
 increases or decreases in the value of such Investment but giving effect to any returns or distributions of
 capital or repayment of principal actually received by such Person with respect thereto.

                   “Investment Grade Rating” means a long term senior unsecured non-credit enhanced
 credit rating of BBB- or higher by S&P or Baa3 or higher by Moody’s; provided that, in the event that
 the rating given by (or equivalent to) S&P or Moody’s is higher than the rating given by (or equivalent to)
 Moody’s or S&P, as applicable, the determination that such rating is an Investment Grade Rating shall be
 made based on the higher of the two ratings.

                  “IRS” means the United States Internal Revenue Service.

                 “ISP” means the International Standby Practices, International Chamber of Commerce
 Publication No. 590 (or such later version thereof as may be in effect at the applicable time).

                 “Issuing Bank” means ABN, in its capacity as issuer of Letters of Credit hereunder, and
 each other Lender (if any) as the Borrower may from time to time select as an Issuing Bank hereunder
 pursuant to Section 2.05; provided that such Lender has agreed to be an Issuing Bank.

                   “Laws” means, collectively, all international, foreign, federal, state and local statutes,
 treaties, rules, guidelines, regulations, ordinances, codes and administrative or judicial precedents or
 authorities, including the interpretation or administration thereof by any Governmental Authority charged
 with the enforcement, interpretation or administration thereof, and all applicable administrative orders,
 directed duties, requests, licenses, authorizations and permits of, and agreements with, any Governmental
 Authority.

                 “L/C Credit Extension” means, with respect to any Letter of Credit, the issuance or
 renewal thereof or the extension of the expiry date thereof, or the reinstatement or increase of the amount
 thereof.

                  “L/C Disbursement” means a payment made by an Issuing Bank pursuant to a Letter of
 Credit.

                “L/C Documents” means, as to any Letter of Credit, each application therefor and any
 other document, agreement and instrument entered into by the Borrower with or in favor of the applicable
 Issuing Bank and relating to such Letter of Credit.




 73531283.28                                       27
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                            Pg 189 of 692


                 “L/C Exposure” means, at any time, the sum of (a) the aggregate undrawn amount of all
 outstanding Letters of Credit at such time plus (b) the aggregate amount of all L/C Disbursements that
 have not yet been reimbursed by or on behalf of the Loan Parties at such time. The L/C Exposure of any
 Revolving Lender at any time shall be its Revolving Commitment Percentage of the total L/C Exposure at
 such time.

                 “L/C Fee” has the meaning specified in Section 2.13(b).

                   “L/C Obligations” means, at any time, the sum of (a) the aggregate maximum undrawn
 amount of all outstanding Letters of Credit at such time (after giving effect to any tolerance included
 therein, and the amount of such tolerance), including any scheduled increases provided for by the terms of
 such Letters of Credit, determined without regard to whether any conditions to drawing could be met at
 that time, plus (b) the aggregate amount of all L/C Disbursements that have not yet been reimbursed by or
 on behalf of the Borrower at such time. The L/C Obligations of any Lender at any time shall be its
 Applicable Percentage of the total L/C Obligations at such time. For all purposes of this Agreement, if on
 any date of determination a Letter of Credit has expired by its terms but any amount may still be drawn
 thereunder by reason of the operation of Article 29(a) of the UCP or Rule 3.13 or Rule 3.14 of the ISP or
 similar terms of the Letter of Credit itself, or if compliant documents have been presented but not yet
 honored, such Letter of Credit shall be deemed to be “outstanding” and “undrawn” in the amount so
 remaining available to be paid, and the obligations of the Borrower and each Lender shall remain in full
 force and effect until the Issuing Bank and the Lenders shall have no further obligations to make any
 payments or disbursements under any circumstances with respect to any Letter of Credit.

                 “L/C Reimbursement Obligation” means, for any Letters of Credit or letters of credit
 under the Prepetition Credit Facility, as the case may be, the obligations of any Person to pay any
 amounts due in connection therewith.

                “L/C Sublimit” means an amount equal to the lesser of (a) $50,000,000 and (b) the total
 amount of the Revolving Commitments. The L/C Sublimit is part of, and not in addition to, the
 Revolving Facility.

                  “Legal Reservation” means any restriction or qualification contained in any legal
 opinion of legal counsel to Borrower, in relation to matters of German or EC law, delivered to the
 Administrative Agent pursuant to Section 4.01(j).

                   “Lender Representive” means, with respect to any Lender, a representative (acceptable
 to the Swing Line Lender or applicable Issuing Bank or Agent, as the case may be, in its sole discretion)
 of such Lender duly authorized by such Lender to provide directions, instructions and approvals on behalf
 of such Lender to the Swing Line Lender, Issuing Banks and Agents pursuant to the Loan Documents;
 provided that each Person set forth on Schedule 4.02(e) on the Effective Date (or thereafter designated by
 Mercuria in accordance with Schedule 4.02(e)) is hereby approved by Mercuria to give any such
 directions, instructions and approvals to the Swing Line Lender, Issuing Banks and Agents pursuant to the
 Loan Documents and, in reliance on such approval by Mercuria, each such Person is acceptable to ABN
 in its capacities Swing Line Lender, Issuing Bank and Agent.

                 “Lenders” means the Persons listed on Schedule 2.01 and any other Person that shall
 have become party hereto pursuant to an effective Assignment and Assumption, other than any such
 Person that ceases to be a party hereto pursuant to an Assignment and Assumption, and shall include, as
 the context may require, each Issuing Bank and/or the Swing Line Lender.



 73531283.28                                    28
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 190 of 692


                “Letter of Credit” means any standby letter of credit or Documentary Letter of Credit
 issued hereunder.

                 “Letter of Credit Request” means a request for a Letter of Credit substantially in the
 form of Exhibit H-2 hereto.

                   “LIBO Rate” means, with respect to any LIBO Rate Loan for any Interest Period, the
 greater of (a) the rate appearing on the applicable Reuters page (or on any successor or substitute page or
 service providing quotations of interest rates applicable to dollar deposits in the London interbank market
 comparable to those currently provided on such page, as determined by the Administrative Agent from
 time to time) at approximately 11:00 a.m., London time, two Business Days prior to the commencement
 of such Interest Period, as the rate for dollar deposits with a maturity comparable to such Interest Period;
 provided that (i) if such rate is not available at such time for any reason, then the “LIBO Rate” with
 respect to such LIBO Rate Loan for such Interest Period shall be the Interpolated Rate, and (ii) if the
 Interpolated Rate is not available, the “LIBO Rate” with respect to such LIBO Rate Loan for such Interest
 Period shall be the offered quotation rate to first class banks in the London interbank market by the
 Person that is the Administrative Agent for deposits (for delivery on the first day of the relevant period) in
 Dollars of amounts in same day funds comparable to the principal amount of the applicable Loan of such
 Person, in its capacity as a Lender (or, if it is not a Lender of such Loan, in such amount determined by
 the Administrative Agent) for which the LIBO Rate is then being determined with maturities comparable
 to such Interest Period at approximately 11:00 a.m., London time, two Business Days prior to the
 commencement of such Interest Period and (b) 1.0%. A determination of the LIBO Rate shall be
 conclusive absent manifest error.

                “LIBO Rate Borrowing” means, as to any Borrowing, the LIBO Rate Loans comprising
 such Borrowing.

                 “LIBO Rate Loan” means a Loan that bears interest at a rate based on the “Adjusted
 LIBO Rate.”

                   “Lien” means any mortgage, pledge, hypothecation, collateral assignment, deposit
 arrangement, encumbrance, lien (statutory or other), charge, or preference, priority or other security
 interest or preferential arrangement of any kind or nature whatsoever having or intended to have similar
 effect (including any conditional sale or other title retention agreement, any easement, right of way or
 other encumbrance on title to real property, and any financing lease having substantially the same
 economic effect as any of the foregoing).

                   “Litigation Claims” means (i) claims of the Parent or any Subsidiary thereof, against any
 person and existing at any time, arising out of, in connection with, or relating to the events,
 circumstances, and conduct described in the June 4, 2018, Form 6-K disclosure of Aegean Marine
 Petroleum Network, Inc., concerning improper accounting for or recordation of accounts receivable, as
 well as the right of the Parent of any Subsidiary thereof to the proceeds of or recovery in any suit,
 prosecution, investigation, settlement, enforcement proceeding, fine, penalty, or other proceeding or
 action by any government or governmental agency in connection with the foregoing; (ii) claims of the
 Parent or any Subsidiary thereof, against any person and existing at any time, arising out of, in connection
 with, or relating to the construction and maintenance of the Aegean terminal in Fujairah, as well as the
 right of Grantors to the proceeds of or recovery in any suit, prosecution, investigation, settlement,
 enforcement proceeding, fine, penalty, or other proceeding or action by any government or governmental
 agency in connection with the foregoing, (iii) claims of the Parent or any Subsidiary thereof existing at
 any time, arising out of, in connection with, or relating to misstated accounting records, fraudulent
 misappropriation of funds by Dimitris Melissanidis, claims against auditors related to misappropriation of

 73531283.28                                      29
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                            Pg 191 of 692


 funds, related conspiracy to defraud investors in Aegean Marine Petroleum Network, Inc., and claims
 against Quality Solutions related to construction fraud or other fraud, (iv) claims brought by Aegean
 Marine Petroleum Network Inc. and the Company, as Plaintiffs, against Hess Corporation, as Defendant,
 commenced in the Supreme Court of the State of New York, County of New York: Part 39, Index
 Number 653887/2014, (v) claims of the Parent or any Subsidiary thereof, concerning unpaid invoices for
 marine fuels supplied through agreements entered into with O.W. Group and any affiliate thereof, (vi)
 claims of the Parent or any Subsidiary thereof, concerning HSFO product loaded from Petrotrin in
 Trinidad in December 2016; and (v) claims arising under Chapter 5 of the Bankruptcy Code.

               “Loan” means a loan by a Lender to the Borrower under Section 2.01(a) in the form of a
 Revolving Loan or Section 2.01(b) in the form of a Term Loan or Section 2.06 in the form of a Swing
 Line Loan.

                 “Loan Documents” means, collectively, this Agreement, any promissory notes issued
 pursuant to Section 2.14(b), the L/C Documents, the Interim DIP Order, the Final Order, the Security
 Documents, any agreement creating or perfecting rights in the Cash Collateral pursuant to the provisions
 of Section 2.23 and any other documents entered into in connection herewith.

                  “Loan Parties” means the Borrower and each Guarantor.

                  “Marked-to-Market Report” means a report, substantially in the form of Exhibit E, of
 the Borrower’s Eligible Commodities purchase and sale positions. Such report shall include all open
 fixed positions for all current and future time periods and cover all instruments and/or contracts that
 create either an obligation or a right under a Commodity Contract and/or that generate price exposure and
 shall include Marked-to-Market Value for each position considered. The instruments and/or contracts
 shall include but not be limited to contracts for spot and future deliveries of Eligible Commodities,
 exchanges, derivatives including Physical Commodity Contracts, Commodity OTC Agreements,
 Financial OTC Agreements and Futures Contracts (and options on such Futures Contracts).

                  “Marked-to-Market Value” with respect to any Commodity Contract of any Person on
 any date:

                  (a)     in the case of a Commodity Contract for the purchase, sale, transfer or exchange
          of any physical Eligible Commodities, the unrealized gain or loss on such Commodity Contract,
          determined by comparing (i) the amount to be paid or received under such Commodity Contract
          for such Eligible Commodities pursuant to the terms thereof to (ii) the Market Value of such
          Eligible Commodities on such date, and

                (b)     in the case of any other Commodity Contract, the unrealized gain or loss on such
 Commodity Contract determined by calculating the amount to be paid or received under such other
 Commodity Contract pursuant to the terms thereof as if the cash settlement of such other Commodity
 Contract were to be calculated on such date of determination by reference to the Market Value of the
 Eligible Commodities which is the subject of such other Commodity Contract;

 provided, that (i) in the case of any Commodity Contract that is, in whole or in part, an option by its
 terms, the amount so calculated shall reflect industry standard valuation models approved by the Required
 Lenders and any associated premium which remains unpaid and (ii) in the case of amounts due under any
 Forward Contract with a delivery date more than one year from the date of determination, each such
 amount shall be discounted to present value in a commercially reasonable manner unless otherwise
 discounted as part of the calculation referred to above.


 73531283.28                                    30
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 192 of 692


                   “Market Value” means, with respect to any Eligible Commodities on any date, the price
 at which such Eligible Commodities could be purchased or sold for delivery on that date or during the
 applicable period adjusted to reflect the specifications thereof and the location and transportation
 differential, and, without duplication, reduced by storage, transportation and other costs related to sale
 thereof. Such prices shall be determined by using prices (a) on the NYMEX, the COMEX, the New York
 Board of Trade, the International Petroleum Exchange, ICE, the Chicago Board of Trade, the Chicago
 Mercantile Exchange or, if a price for any such Eligible Commodities (or delivery period or location) is
 not available on such exchanges, such other markets or exchanges recognized as such in the commodities
 trading industry, including over-the-counter markets and private quotations, or as published in an
 independent industry recognized source, in each case reasonably selected by the Borrower and reasonably
 satisfactory to the Required Lenders, (b) if such a price for any such Eligible Commodities is not
 available in any market or exchange described in clause (a) above, any other exchange or market
 reasonably selected by the Borrower and reasonably satisfactory to the Required Lenders on such date or
 (c) if such a price for any such Eligible Commodities is not available in any market or exchange described
 in clauses (a) or (b) above, such other value determined pursuant to methodology reasonably selected by
 the Borrower and satisfactory to the Required Lenders.

                 “Margin Stock” means margin stock within the meaning of Regulations T, U and X.

                   “Material Adverse Effect” means any event or circumstance or series of events or
 circumstances, an effect which is materially adverse to either: (i) the business, operations, property or
 financial condition of Parent and its Subsidiaries, taken as a whole, (ii) the ability of Parent and its
 Subsidiaries, taken as a whole, to perform their material payment obligations under the Loan Documents
 entered into by each of them or (iii) the rights or remedies of the Agents, the Issuing Banks or the Lenders
 under the Loan Documents (in each case other than as a result of the filing of the cases, the events leading
 up to, and following commencement of a proceeding under chapter 11 of the Bankruptcy Code and the
 continuation and prosecution thereof, including circumstances or conditions resulting from, or incidental
 to, such events, commencement, continuation and prosecution, which shall not, individually or in the
 aggregate, constitute a Material Adverse Effect), and provided, further, that nothing disclosed in (1) any
 filings or written reports by the Debtors made publicly available through the Petition Date or disclosed to
 the Lenders prior to the Effective Date and/or (2) any written disclosure statement related to any plan of
 reorganization or liquidation of Debtors provided to the Administrative Agent on or prior to the Petition
 Date, shall, in any case, in and of itself and based solely on facts as disclosed therein (without giving
 effect to any developments not disclosed therein) constitute a Material Adverse Effect.

                 “Materials of Environmental Concern” means any gasoline or petroleum (including
 Crude Oil or any fraction thereof) or petroleum products or any pollutant, contaminant, dangerous good,
 hazardous substances, toxic substances, materials or wastes, defined or regulated as such in or under, or
 which form the basis of liability under, any Environmental Law or Environmental Permit due to their
 hazardous or dangerous properties or characteristics, including, without limitation, asbestos,
 polychlorinated biphenyls and urea-formaldehyde insulation, medical waste, mold, microbial matters,
 radioactive materials and electromagnetic fields.

                  “Maximum Position Limits” means the risk limits set forth in the trading guidelines of
 the Risk Management Practices as disclosed to the Lenders and in effect on the Effective Date or as in
 effect on such other date if approved in accordance with Section 5.16.

                 “Maximum Rate” has the meaning specified in Section 9.19.

                 “Mercuria” means Mercuria US Asset Holdings, LLC, a Delaware limited liability
 company.

 73531283.28                                     31
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 193 of 692


                  “Minimum Collateral Amount” means, at any time, (i) with respect to Cash Collateral
 consisting of cash or deposit account balances, an amount equal to 103% of the Fronting Exposure of all
 Issuing Banks with respect to Letters of Credit issued and outstanding at such time and (ii) otherwise, an
 amount determined by the Administrative Agent and the Issuing Banks in their sole discretion.

                  “Multiemployer Plan” means any employee benefit plan of the type described in
 Section 4001(a)(3) of ERISA, to which the Borrower or any ERISA Affiliate makes or is obligated to
 make contributions, during the preceding five plan years has made or been obligated to make
 contributions, or has any liability.

                “Multiple Employer Plan” means a Plan with respect to which the Borrower or any
 ERISA Affiliate is a contributing sponsor, and that has two or more contributing sponsors at least two of
 whom are not under common control, as such a plan is described in Section 4064 of ERISA.

                   “Net Proceeds” means, with respect to any event, (a) the cash proceeds received in
 respect of such event including (i) any cash received in respect of any non-cash proceeds (including any
 cash payments received by way of deferred payment of principal pursuant to a note or installment
 receivable or purchase price adjustment receivable or otherwise, but excluding any interest payments), but
 only as and when received, (ii) in the case of a casualty, insurance proceeds and (iii) in the case of a
 condemnation or similar event, condemnation awards and similar payments, minus (b) the sum of (i) all
 reasonable fees and out-of-pocket expenses paid or payable to third parties (other than controlled
 Affiliates) in connection with such event, (ii) in the case of a sale, transfer or other disposition of an asset
 (including pursuant to a sale and leaseback transaction or a casualty or a condemnation or similar
 proceeding), the amount of all payments required to be made as a result of such event to repay
 Indebtedness (other than Loans) secured by such asset or otherwise subject to mandatory prepayment as a
 result of such event, (iii) any funded escrow established pursuant to the documents evidencing any such
 sale or disposition to secure any indemnification obligations or adjustments to the purchase price
 associated with any such sale or disposition, (iv) in the case of any disposition by a non-wholly-owned
 Subsidiary, the pro rata portion of the Net Proceeds thereof (calculated without regard to this clause (iv))
 attributable to minority interests and not available for distribution to or for the account of the Borrower or
 a wholly-owned Subsidiary as a result thereof and (v) the amount of all taxes paid (or reasonably
 estimated to be payable) and the amount of any reserves established to fund contingent liabilities
 reasonably estimated to be payable, that are attributable to such event (as determined reasonably and in
 good faith by a Responsible Person of the Borrower) provided that, if the Borrower or its Subsidiaries use
 any portion of such proceeds to acquire, maintain, develop, construct, improve, upgrade or repair assets
 useful in the business of the Borrower or its Subsidiaries or to make capital expenditures or other
 permitted acquisitions or investments, in each case within 12 months of such receipt, such portion of such
 proceeds shall not constitute Net Proceeds except to the extent not, within 12 months of such receipt, so
 used or committed to be so used; provided, further, that no proceeds realized in a single transaction or
 series of related transactions shall constitute Net Proceeds unless such proceeds shall exceed $1,000,000
 (and thereafter only net cash proceeds in excess of such amount shall constitute Net Proceeds).

                 “Non-Consenting Lender” means any Lender that does not approve any consent, waiver
 or amendment that (a) requires the approval of all or all adversely affected Lenders in accordance with the
 terms of Section 9.01 and (b) has been approved by the Required Lenders or at least 50.1% of the
 adversely affected Lenders.

                 “Non-Debtors’ Collateral” means, collectively, all real, personal, and mixed property
 (including Equity Interests) of Loan Parties that are not Debtors, including, without limitation, all
 inventory, accounts receivable, general intangibles, contracts, chattel paper, owned real estate, real
 property leaseholds, governmental approvals, licenses and permits, fixtures, machinery, equipment,

 73531283.28                                       32
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 194 of 692


 deposit accounts, patents, copyrights, trademarks (other than any “intent to use” trademark applications
 for which a Statement of Use or Amendment to Allege Use, as applicable, as not been filed and accepted
 with the U.S. Patent and Trademark Office), trade names, rights under license agreements and other
 intellectual property, securities, partnership or membership interests in limited liability companies, and
 capital stock of any subsidiary of such Loan Parties, including, without limitation, the products and
 proceeds thereof in each case other than Excluded Collateral (as defined in the Security Documents).

                  “Non-Defaulting Lender” means, at any time, each Lender that is not a Defaulting
 Lender at such time.

                  “Non-Filing Entity” means, at any time, each Subsidiary of the Borrower set forth on
 Schedule 1.1D.

                   “NYMEX” means the New York Mercantile Exchange or any successor thereto; any
 reference in this Agreement to NYMEX Futures Contracts or options includes ICE future contracts or
 options of the same type.

                  “Obligations” means all advances to, and debts, liabilities, obligations, covenants and
 duties of, the Borrower arising under any Loan Document or otherwise with respect to any Loan or Letter
 of Credit, and all Swap Contract Obligations owing to a Lender or any Affiliate of a Lender, in each case
 whether direct or indirect (including those acquired by assumption), absolute or contingent, due or to
 become due, now existing or hereafter arising and including interest and fees that accrue after the
 commencement by or against the Borrower or any Affiliate thereof of any proceeding under any Debtor
 Relief Laws naming such Person as the debtor in such proceeding, regardless of whether such interest and
 fees are allowed claims in such proceeding. Without limiting the foregoing, the Obligations include
 (a) the obligation to pay principal, interest, Reimbursement Obligations, Letter of Credit commissions,
 charges, expenses, fees, indemnities and other amounts payable by the Borrower under any Loan
 Document and (b) the obligation of the Borrower to reimburse any amount in respect of any of the
 foregoing that the Administrative Agent or any Lender, in each case in its sole discretion, may elect to
 pay or advance on behalf of the Borrower in accordance with and subject to the terms herein; provided
 however, that solely to the extent required by Applicable Law, Obligations shall not include Excluded
 Swap Obligations.

                  “OFAC” has the meaning specified in Section 3.17(b).

                  “Operational Proceeds” has the meaning specified in Section 5.21(c).

                 “Orders” means, collectively, the Interim DIP Order, the Final DIP Order, the Cash
 Management Order, the First Day Orders and any other orders of the Bankruptcy Court authorizing and
 approving, on either an interim or final basis, the financing contemplated by this Agreement.

                   “Organizational Documents” means (a) as to any corporation, the charter or certificate
 or articles of incorporation and the bylaws, (b) as to any limited liability company, the certificate or
 articles of formation or organization and operating or limited liability agreement and (c) as to any
 partnership, joint venture, trust or other form of business entity, the partnership, joint venture or other
 applicable agreement of formation or organization and any agreement, instrument, filing or notice with
 respect thereto filed in connection with its formation or organization with the applicable Governmental
 Authority in the jurisdiction of its formation or organization and, if applicable, any certificate or articles
 of formation or organization of such entity and, in each case, any equivalent or comparable constitutive
 documents in any non-U.S. jurisdiction.


 73531283.28                                       33
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                            Pg 195 of 692


                  “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a
 result of a present or former connection between such Recipient and the jurisdiction imposing such Tax
 (other than connections arising from such Recipient having executed, delivered, become a party to,
 performed its obligations under, received payments under, received or perfected a security interest under,
 engaged in any other transaction pursuant to or enforced any Loan Document, or sold or assigned an
 interest in any Loan or Loan Document).

                  “Other Taxes” means all present or future stamp, court or documentary, intangible,
 recording, filing or similar Taxes that arise from any payment made under, from the execution, delivery,
 performance, enforcement or registration of, from the receipt or perfection of a security interest under, or
 otherwise with respect to, any Loan Document, except any such Taxes that are Other Connection Taxes
 imposed with respect to an assignment (other than an assignment made pursuant to Section 2.22(b)).

                 “Parent” means Aegean Marine Petroleum Network Inc., a corporation incorporated
 under the laws of the Marshall Islands.

                 “Participant” has the meaning specified in Section 9.07(d).

                 “Participant Register” has the meaning specified in Section 9.07(d).

                 “PATRIOT Act” means the USA PATRIOT Act (Title III of Pub. L. 107-56 (signed into
 law October 26, 2001)).

                 “Payment Intangible” has the meaning provided in Section 9-102 of the UCC.

                 “PBGC” means the Pension Benefit Guaranty Corporation.

                 “Pension Act” means the Pension Protection Act of 2006.

                  “Pension Funding Rules” means the rules of the Code and ERISA regarding minimum
 funding standards and minimum required contributions (including any installment payment thereof) to
 Pension Plans and Multiemployer Plans and set forth in, with respect to plan years ending prior to the
 effective date of the Pension Act, Section 412 of the Code and Section 302 of ERISA, each as in effect
 prior to the Pension Act and, thereafter, Sections 412, 430, 431, 432 and 436 of the Code and
 Sections 302, 303, 304 and 305 of ERISA.

                “Pension Plan” means any employee pension benefit plan (including a Multiple
 Employer Plan, but excluding a Multiemployer Plan) that is maintained or is contributed to by the
 Borrower or any ERISA Affiliate and is either covered by Title IV of ERISA or is subject to the
 minimum funding standards under Section 412 of the Code.

                “Perfection Certificate” means the Perfection Certificate, dated as of the date hereof, by
 each Loan Party organized under the laws of the United States, any State thereof or the District of
 Columbia.

                 “Permitted Borrowing Base Liens” means Liens of carriers, warehousemen, mechanics,
 materialmen, and any similar Lien arising by operation of Law securing obligations to pay or provide
 consideration for goods or services with respect to Eligible Commodities, which obligations are not past
 due, including, without limitation, with respect to Eligible Inventory (i) Liens in favor of the third party
 from whom the Borrower chartered, rented or leased the property on which such Eligible Inventory is
 located securing the charter, rent or lease obligations, (ii) Liens for taxes, assessments or governmental

 73531283.28                                      34
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                            Pg 196 of 692


 charges that are not overdue for a period of more than thirty (30) days, that are being contested in good
 faith and by appropriate actions or are otherwise not required to be paid hereunder and (iii) Liens arising
 from judgments or orders for the payment of money not constituting an Event of Default.

                  “Permitted Discretion” means a determination made by an Agent in good faith and in
 the exercise of reasonable (from the perspective of a secured asset-based lender) business judgment
 exercised in accordance with its customary practices in asset-based credit facilities, provided that an
 Agent may require at any time the direction of the Required Lenders as to any such determination.

                  “Perfected First Lien” means a valid and perfected first priority Lien granted by a Loan
 Party pursuant to a Security Document in favor of the Collateral Agent, for the ratable benefit of the
 Secured Parties (subject to Permitted Borrowing Base Liens or nonconsensual Permitted Liens);
 provided that, in the case of inventory that is not located in the United States of America or contracts,
 Accounts Receivable or Payment Intangibles not governed by Laws of the United States of America or
 any state or political subdivision thereof, the validity and priority of such Lien shall be confirmed by an
 opinion of special local counsel, the form and substance of which shall be reasonably satisfactory to the
 Required Lenders.

                 “Permitted Financial Management Liens” means Liens of an Eligible Cash
 Management Bank on currency or Cash Equivalents of the Borrower deposited in, or credited to, any
 Controlled Account (other than a Commodity Account) of the Borrower, provided that such Liens arise
 out of (i) amounts due to the applicable Eligible Cash Management Bank, in respect of customary fees
 and expenses for the routine maintenance and operation of such Controlled Account, (ii) the face amount
 of any checks which have been credited to such Controlled Account, but are subsequently returned unpaid
 because of uncollected or insufficient funds, or (iii) other returned items or mistakes made in crediting
 such Controlled Account, provided, further that such Liens are provided for in the related Account
 Control Agreement or arise by operation of Law.

                 “Permitted Liens” shall have the meaning provided in Section 6.02.

                  “Permitted Receivables Sales Transactions” means transactions under which the
 Borrower sells Accounts without recourse to the Borrower for the credit risk of the applicable Account
 Debtors, with respect to which (i) the purchase price is paid to the Borrower in cash directly to a deposit
 account that is subject to an Account Control Agreement, (ii) the discount rate applicable to the
 transaction is commercially reasonable and (iii) such purchase price shall promptly be used to repay
 Loans and/or Cash Collateralize Letters of Credit.

                  “Person” means any natural person, corporation, limited liability company, trust, joint
 venture, association, company, partnership, Governmental Authority or other entity.

                 “Petition Date” has the meaning assigned in the recitals.

                “Physical Commodity Contract” means a contract for the purchase, sale, transfer or
 exchange of any physical Eligible Commodity.

                 “Plan” means any employee benefit plan within the meaning of Section 3(3) of ERISA,
 maintained for employees of the Borrower, Parent or any Subsidiary, or any such plan to which the
 Borrower, Parent or any Subsidiary, is required to contribute on behalf of any of its employees or with
 respect to which the Borrower has any liability.




 73531283.28                                      35
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                               Pg 197 of 692


                     “Plan of Reorganization” means a plan of reorganization or plan of liquidation in the
 Cases.

                 “Pledged Account” means all Commodity Accounts, Deposit Accounts and Securities
 Accounts of the Loan Parties.

                     “Post Carve Out Trigger Notice Cap” means $2,500,000.

                  “Prepayment Event” means (a) any sale, transfer or other disposition (including
 pursuant to a sale and leaseback transaction) of any property or asset of any Loan Party, other than
 dispositions described in Section 6.04(a) through (g) and Section 6.04(i), any casualty or other insured
 damage to, or any taking under power of eminent domain or by condemnation or similar proceeding of,
 any property or asset of any Loan Party with a fair value immediately prior to such event equal to or
 greater than the $100,000.

                  “Prepayment Notice” means a notice by the Borrower to prepay Loans, which shall be
 in such form as the Administrative Agent may approve.

                     “Prepetition Agent” means the Administrative Agent (as defined in the Prepetition
 Credit Facility).

                 “Prepetition Credit Exposure” means the Total Extensions of Credit (as defined in the
 Prepetition Credit Facility).

                   “Prepetition Credit Facility” means the Second Amended and Restated Uncommitted
 Credit Agreement, dated as of August 3, 2017 (as amended, waived, supplemented or otherwise modified
 from time to time prior to the date hereof), among Aegean Bunkering (USA) LLC, the lenders party
 thereto, certain other parties and ABN, as administrative agent.

                  “Prepetition L/C Obligations” means all outstanding “L/C Obligations” as defined in
 the Prepetition Credit Facility.

                     “Prepetition Lenders” means the Lenders party to the Prepetition Credit Facility.

                 “Prepetition Obligations” means all outstanding “Obligations” as defined in the
 Prepetition Credit Facility.

                  “Prime Rate” means the rate of interest per annum publicly announced from time to time
 by Chase in New York City as its base or prime rate. The Prime Rate is a reference rate and does not
 necessarily represent the lowest or best rate actually charged to any customer. The Administrative Agent
 or any Lender may make commercial loans or other loans at rates of interest at, above or below the Prime
 Rate. Any change in the Prime Rate shall take effect at the opening of business on the day specified in
 the public announcement of such change.

                     “Recipient” means (a) the Administrative Agent, (b) any Lender or (c) any Issuing Bank,
 as applicable.

                     “Register” has the meaning specified in Section 9.07(c).

                 “Regulation D” means Regulation D of the Federal Reserve Board, as in effect from
 time to time and all official rulings and interpretations thereunder or thereof.


 73531283.28                                       36
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 198 of 692


                  “Regulation T” means Regulation T of the Federal Reserve Board, as in effect from time
 to time and all official rulings and interpretations thereunder or thereof.

                 “Regulation U” means Regulation U of the Federal Reserve Board, as in effect from
 time to time and all official rulings and interpretations thereunder or thereof.

                 “Regulation X” means Regulation X of the Federal Reserve Board, as in effect from
 time to time and all official rulings and interpretations thereunder or thereof.

                 “Reimbursement Obligations” means the obligation of the Borrower to reimburse an
 Issuing Bank, pursuant to Section 2.05 for Unreimbursed Amounts.

                  “Related Parties” means, with respect to any Person, such Person’s Affiliates and the
 partners, directors, officers, employees, agents, trustees, administrators, managers, advisors and
 representatives of such Person and of such Person’s Affiliates.

                 “Reportable Event” means any of the events set forth in Section 4043(c) of ERISA,
 other than events for which the 30-day notice period has been waived.

                  “Required Lenders” means, (a) at any time that Mercuria or any of its Affiliates that is
 a Lender is a Defaulting Lender, the Swing Line Lender and ABN in its capacity as Issuing Bank, and (b)
 at any other time, Lenders having Total Credit Exposures representing more than 50% of the Total Credit
 Exposures of all Lenders; provided, that in the case of this clause (b), the Total Credit Exposure of any
 Defaulting Lender shall be disregarded in determining Required Lenders for any purpose hereunder or
 under any other Loan Document at any time.

                   “Requirement of Law” means, as to any Person, any Law or determination of an
 arbitrator or a court or other Governmental Authority, in each case applicable to or binding upon such
 Person or any of its property or to which such Person or any of its property is subject.

                  Responsible Person” means with respect to any Loan Party, the chief executive officer,
 president, chairman, senior vice-president, executive vice-president, vice-president of finance or treasurer
 or other officer or manager (or similar title) of such Loan Party. Any document delivered hereunder that
 is signed by a Responsible Person of a Loan Party shall be conclusively presumed to have been
 authorized by all necessary corporate, partnership or other action on the part of such Loan Party and such
 Responsible Person shall be conclusively presumed to have acted on behalf of such Loan Party.

                  “Restricted Payment” means any dividend or other distribution (whether in cash,
 securities or other property) with respect to any Equity Interest of any Person, or any payment (whether in
 cash, securities or other property), including any sinking fund or similar deposit, on account of the
 purchase, redemption, retirement, acquisition, cancellation or termination of any such Equity Interest, or
 on account of any return of capital to such Person’s shareholders, partners or members (or the equivalent
 Persons thereof).

                 “Revolving”, when used in reference to any Loan or Borrowing, indicates that such
 Loan, or the Loans comprising such Borrowing, are made pursuant to Section 2.01.

                “Revolving Borrowing” means a borrowing consisting of simultaneous Revolving Loans
 of the same Type and, in the case of LIBO Rate Loans, having the same Interest Period made by the
 Lenders.



 73531283.28                                     37
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                              Pg 199 of 692


                 “Revolving Commitment” means the commitment of a Lender to make or otherwise
 fund any Revolving Loan and to acquire participations in L/C Obligations and Swing Line Loans
 hereunder, expressed as an amount representing the maximum possible aggregate amount of such
 Lender’s Revolving Credit Exposure hereunder, as such commitment may be (a) reduced from time to
 time pursuant to Section 2.10 or (b) reduced or increased from time to time pursuant to assignments by or
 to such Lender pursuant to Section 9.07. The initial amount of each Lender's Revolving Commitment is
 set forth on Schedule 2.01 or in the Assignment and Assumption pursuant to which such Lender shall
 have assumed its Revolving Commitment, as applicable. The aggregate amount of the Lenders' Revolving
 Commitments as of the Effective Date is $160,000,000.

                 “Revolving Commitment Percentage” means, with respect to any Revolving Lender at
 any time, the percentage of the aggregate Revolving Commitments represented by such Revolving
 Lender’s Revolving Commitment at such time. If the Revolving Commitments have terminated or
 expired, the Revolving Commitment Percentage shall be determined based on the Revolving
 Commitments most recently in effect, giving effect to any assignments. The initial Revolving
 Commitment Percentage of each Revolving Lender is set forth on Schedule 2.01 or in the Assignment
 and Assumption pursuant to which such Revolving Lender shall have assumed its Revolving
 Commitment, as applicable.

                “Revolving Credit Exposure” means, as to any Lender at any time, the aggregate
 principal amount at such time of its outstanding Loans and such Lender’s participation in L/C Obligations
 and Swing Line Loans.

                    “Revolving Facility” means the Revolving Commitments and all Credit Extensions
 thereunder.

                “Revolving Lender” means a Lender with a Revolving Commitment and/or Revolving
 Credit Exposure.

                    “Revolving Loan” means a loan made by a Lender to the Borrower pursuant to
 Section 2.01(a).

                  “Risk Management Practices” means practices adopted and implemented by the
 Borrower and satisfactory to the Collateral Agent (acting at the direction of the Required Lenders) for
 (a) the mitigation of risks including price, location, product grade and time risk associated with the
 Borrower’s Eligible Commodities trading and marketing activities and (b) the evaluation and mitigation
 of credit risk exposure of the Borrower to an Account Debtor and any counterparty party to a Commodity
 Contract. The Required Lenders, and the Collateral Agent (upon the instruction of the Required Lenders)
 confirm that the Risk Management Practices in effect as of the Effective Date are satisfactory to them.

                  “Sale Order” means [an order of the Bankruptcy Court approving and authorizing a sale
 pursuant to section 363 of the Bankruptcy Code of those assets set forth in the Asset Purchase
 Agreement].

                    “Sanctioned Country” has the meaning specified in Section 3.17(b).

                    “Sanctions” has the meaning specified in Section 3.17(b).

                 “Sanctions Provisions” means Sections 3.19, 5.13, and 6.14 of this Agreement, to the
 extent applicable to Sanctions.



 73531283.28                                      38
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                            Pg 200 of 692


                 “Screen Rate” has the meaning specified in the definition of the term “Interpolated
 Rate”.

                 “SEC” means the Securities and Exchange Commission, or any Governmental Authority
 succeeding to any of its principal functions.

                 “Secured Obligations” means the Obligations and the Prepetition Obligations.

                 “Secured Party” means (a) the Lender, (b) each Affiliate of the Lender that is a
 counterparty to any Swap Contract, (c) the beneficiaries of each indemnification obligation undertaken by
 any Loan Party under any Loan Document and (d) the permitted successors and assigns of each of the
 foregoing.

                 “Securities Account” as defined in Section 8-501 of the UCC.

                “Security Documents” means, collectively, the Orders, the US Facility US Security
 Agreement, the US Facility Global Security Agreement, the US Facility Canadian Security Agreement,
 the Spanish Security Documents, any Mortgages, and any other agreements, instruments and documents
 executed pursuant to this Agreement that are intended to create, perfect or evidence Liens to secure the
 Secured Obligations, including, without limitation, all other security agreements, pledge agreements, loan
 agreements, notes, guarantees, subordination agreements, and pledges.

                 “Specified Laws” means (i) the Trading with the Enemy Act and each of the
 foreign assets control regulations of the United States Treasury Department (31 C.F.R., Subtitle
 B, Chapter V) and any other enabling legislation or executive order relating thereto, and (ii) the
 USA PATRIOT Act.

                 “Spanish Certification” has the meaning specified Section 9.22(b).

                 “Spanish Civil Code” means the Spanish Código Civil, as amended from time to time.

                 “Spanish Commercial Code” means the Spanish Código de Comercio, as amended from
 time to time.

                 “Spanish Insolvency Law” means the Spanish Insolvency Law 22/2003, dated 9 July
 (Ley 22/2003, de 9 de julio, Concursal), as amended from time to time.

                 “Spanish Public Document” means any Spanish documento público, being either any
 escritura pública granted or any póliza intervened by a Spanish notary public.

                 “Spanish Royal Decree 5/2005” means means the Royal Decree Law 5/2005 of 11
 March 2005 of urgent reforms for the productivity and for the improvement of the public sector
 contracting (Real Decreto Ley 5/2005, de 11 de marzo, de reformas urgentes para el impulso de la
 productividad y para la mejora de la contratación pública), as amended from time to time.

                 “Spanish Security Documents” means any security agreement governed by Spanish
 law, including, without limitation, any prenda (con o sin de whitout limitation any prenda (con o sin
 desplazamiento posesorio), hipoteca, garantía financiera and any other garantía real o personal or other
 transaction having the same effect as each of the foregoing intented to secure the Obligations now or
 hereafter executed by any Loan Party and delivered to the Lender.


 73531283.28                                    39
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 201 of 692


                  “Spanish Subsidiary” means Aegean Bunkering Combustibles Las Palmas, S.A., a
 public limited company (sociedad anónima) incorporated under the laws of Spain.

                   “Subsidiary” of a Person means a corporation, partnership, limited liability company,
 association or joint venture or other business entity of which a majority of the Equity Interests having
 ordinary voting power for the election of directors or other governing body (other than stock, partnership,
 membership or such other ownership interests having such power only by reason of the happening of a
 contingency) to elect a majority of the board of directors or other managers of such corporation,
 partnership, limited liability company or other entity are at the time owned or the management of which is
 controlled, directly, or indirectly through one or more intermediaries, by such Person. Unless otherwise
 specified, all references herein to a “Subsidiary” or to “Subsidiaries” shall refer to a Subsidiary or
 Subsidiaries of any Loan Party.

                   “Swap Contract Obligations” means any and all obligations of the Loan Parties and
 their Subsidiaries, whether absolute or contingent and howsoever and whensoever created, arising,
 evidenced or acquired (including all renewals, extensions and modifications thereof and substitutions
 therefor), under (a) any and all Swap Contracts permitted hereunder with a Lender or an Affiliate of a
 Lender, and (b) any and all cancellations, buy backs, reversals, terminations or assignments of any Swap
 Contract transaction permitted hereunder with a Lender or an Affiliate of a Lender.

                 “Swap Obligation” means, with respect to any Guarantor, any obligation to pay or
 perform under any agreement, contract or transaction that constitutes a “swap” within the meaning of
 section 1a(47) of the Commodity Exchange Act or any rules or regulations promulgated thereunder.

                  “Swap Contract” means (a) any and all rate swap transactions, basis swaps, credit
 derivative transactions, forward rate transactions, commodity swaps, commodity options, forward
 commodity contracts, equity or equity index swaps or options, bond or bond price or bond index swaps or
 options or forward bond or forward bond price or forward bond index transactions, interest rate options,
 forward foreign exchange transactions, cap transactions, floor transactions, collar transactions, currency
 swap transactions, cross-currency rate swap transactions, currency options, spot contracts, or any other
 similar transactions or any combination of any of the foregoing (including any options to enter into any of
 the foregoing), whether or not any such transaction is governed by or subject to any master agreement,
 and (b) any and all transactions of any kind, and the related confirmations, that are subject to the terms
 and conditions of, or governed by, any form of master agreement published by the International Swaps
 and Derivatives Association, Inc., any International Foreign Exchange Master Agreement, or any other
 master agreement (any such master agreement, together with any related schedules, a “Master
 Agreement”), including any such obligations or liabilities under any Master Agreement.

                  “Swap Termination Value” means, as to any one or more Swap Contracts, after taking
 into account the effect of any legally enforceable netting agreement relating to such Swap Contracts,
 (a) for any date on or after the date such Swap Contracts have been closed out and termination value(s)
 determined in accordance therewith, such termination value(s), and (b) for any date prior to the date
 referenced in clause (a), the amount(s) determined as the mark-to-market value(s) for such Swap
 Contracts, as determined based upon one or more mid-market or other readily available quotations
 provided by any recognized dealer in such Swap Contracts (which may include a Lender or any Affiliate
 of a Lender).

                “Swing Line Borrowing” means a borrowing consisting of simultaneous Swing Line
 Loans. “Swing Line Lender” means ABN, in its capacity as provider of Swing Line Loans, or any
 successor swing line lender hereunder.


 73531283.28                                     40
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 202 of 692


                 “Swing Line Loan” has the meaning specified in Section 2.06(a).

                 “Swing Line Participation Amount” has the meaning specified in Section 2.06(c)(i).

                 “Swing Line Sublimit” means an amount equal to the lesser of (a) $30,000,000 and (b)
 the total amount of the Revolving Commitments. The Swing Line Sublimit is part of, and not in addition
 to, the Revolving Facility.

                  “Synthetic Lease Obligation” means the monetary obligation of a Person under (a) a
 lease or property, real or personal, the obligations of the lessee in respect of which are treated as an
 operating lease for financial accounting purposes in accordance with GAAP and indebtedness for federal
 tax purposes.

                 “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
 withholdings (including backup withholding), assessments, fees or other charges imposed by any
 Governmental Authority, including any interest, additions to tax or penalties applicable thereto.

                 “Term Commitment” means the commitment of a Lender to make Term Loans
 hereunder, as such commitment may be reduced or increased from time to time pursuant to assignments
 by or to such Lender pursuant to Section 9.07. The initial amount of each Lender's Term Commitment is
 set forth on Schedule 2.01 or in the Assignment and Assumption pursuant to which such Lender shall
 have assumed its Term Commitment, as applicable. The aggregate amount of the Lenders’ Term
 Commitments as of the Effective Date is $72,000,000.

               “Term”, when used in reference to any Loan or Borrowing, indicates that such Loan, or
 the Loans comprising such Borrowing, are made pursuant to Section 2.04.

                “Term Borrowing” means a borrowing consisting of simultaneous Term Loans of the
 same Type and, in the case of LIBO Rate Loans, having the same Interest Period made by the Lenders.

                 “Term Credit Exposure” means, as to any Lender at any time, the aggregate principal
          amount at such time of its outstanding Term Loans.

                 “Term Facility” means the Term Commitments and all Credit Extensions thereunder.

                 “Term Loan” means a loan made by a Lender to the Borrower pursuant to Section 2.04.

               “Total Credit Exposure” means, as to any Lender at any time, the unused
 Commitments, Revolving Credit Exposure and Term Credit Exposure of such Lender at such time.

                 “Trade Date” has the meaning specified in Section 9.07(b)(i)(B).

                  “Trading Business” means, with respect to each Lender, the day-to-day activities of
 such Lender or a division or Affiliate of such Lender relating to the proprietary purchase, sale, hedging
 and/or trading of commodities, including, without limitation, Eligible Commodities and any related
 derivative transactions.

                  “Type”, when used in reference to any Loan or Borrowing, refers to whether the rate of
 interest on such Loan, or on the Loans comprising such Borrowing, is determined by reference to the
 Adjusted LIBO Rate or the ABR.



 73531283.28                                     41
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 203 of 692


                   “UCC” means the Uniform Commercial Code as in effect in the State of New York;
 provided that, if perfection or the effect of perfection or non-perfection or the priority of any security
 interest in any Collateral is governed by the Uniform Commercial Code as in effect in a jurisdiction other
 than the State of New York, “UCC” means the Uniform Commercial Code as in effect from time to time
 in such other jurisdiction for purposes of the provisions hereof relating to such perfection, effect of
 perfection or nonperfection or priority.

                   “UCC Control” means (i) with respect to any Deposit Account, "control," within the
 meaning of Section 9-104 of the UCC, (ii) with respect to any Securities Account, Security Entitlement,
 Commodity Contract or Commodity Account, control within the meaning of Section 9-106 of the UCC,
 (iii) with respect to any Uncertificated Security, control within the meaning of Section 8-106(c) of the
 UCC, (iv) with respect to any Certificated Security, control within the meaning of Section 8-106(a) or (b)
 of the UCC, (v) with respect to any Electronic Chattel Paper, control within the meaning of Section 9-105
 of the UCC, (vi) with respect to Letter-of-Credit Rights, control within the meaning of Section 9-107 of
 the UCC and (vii) with respect to any "transferable record" (as that term is defined in Section 201 of the
 Federal Electronic Signatures in Global and National Commerce Act or in Section 16 of the Uniform
 Electronic Transactions Act as in effect in any relevant jurisdiction), control within the meaning of
 Section 201 of the Federal Electronic Signatures in Global and National Commerce Act or in Section 16
 of the Uniform Electronic Transactions Act as in effect in the jurisdiction relevant to such transferable
 record. Terms used in this definition and not defined herein shall have the meanings provided in the
 UCC.

                 “UCP” means the Uniform Customs and Practice for Documentary Credits, International
 Chamber of Commerce Publication No. 600 (or such later version thereof as may be in effect at the
 applicable time).

                 “United States” and “U.S.” mean the United States of America.

                 “Unreimbursed Amount” has the meaning specified in Section 2.05(f).

                  “US Facility Canadian Security Agreement” means the Security Agreement (Canada),
 dated as of the date hereof, executed and delivered by the Borrower to the Collateral Agent, as amended,
 modified or supplemented from time to time.

                  “US Facility Global Security Agreement” means the Security Agreement, dated as of
 the date hereof, executed and delivered by each Loan Party organized under a jurisdiction other than the
 United States, any State thereof or the District of Columbia to the Collateral Agent, as amended, modified
 or supplemented from time to time.

                   “US Facility US Security Agreement” means the Security Agreement, dated as of the
 date hereof, executed and delivered by each Loan Party that is organized under the laws of the United
 States, any state thereof or the District of Columbia to the Collateral Agent, as amended, modified or
 supplemented from time to time.

                 “U.S. Person” means any Person that is a “United States Person” as defined in
 Section 7701(a)(30) of the Code.

                 “U.S. Priority Collateral” has the meaning specified in the Intercreditor Agreement.

                 “U.S. Tax Compliance Certificate” has the meaning specified in Section 2.19(g).



 73531283.28                                    42
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 204 of 692


                  “Wells Fargo Account” means the following account and associated wire instructions:

                  BANK NAME: WELLS FARGO BANK, N.A.
                  ADDRESS (CITY STATE): SAN FRANCISCO, CA
                  ABA #: 121000248 SWIFT: WFBIUS6S
                  ACCOUNT NAME: ABN AMRO CAPITAL USA LLC, AS ADMINISTRATIVE
                  AGENT
                  ACCOUNT NUMBER: 4122099799
                  FURTHER CREDIT: HOUSE ACCOUNT A/C: 45000906

                  REFERENCE: AEGEAN BUNKERING (USA) LLC

                   “Wholly-Owned” means, as to a Subsidiary of a Person, a Subsidiary of such Person all
  of the outstanding Equity Interests of which (other than (a) director’s qualifying shares and (b) shares
  issued to foreign nationals to the extent required by Applicable Law) are owned by such Person and/or by
  one or more Wholly-Owned Subsidiaries of such Person.

                  “Withholding Agent” means the Borrower and the Administrative Agent.

                  “Write-Down and Conversion Powers” means, with respect to any EEA Resolution
  Authority, the write-down and conversion powers of such EEA Resolution Authority from time to time
  under the Bail-In Legislation for the applicable EEA Member Country, which write-down and conversion
  powers are described in the EU Bail-In Legislation Schedule.

                  SECTION 1.02 Terms Generally. The definitions of terms herein shall apply equally to
the singular and plural forms of the terms defined. Whenever the context may require, any pronoun shall
include the corresponding masculine, feminine and neuter forms. The words “include,” “includes” and
“including” shall be deemed to be followed by the phrase “without limitation.” The word “will” shall be
construed to have the same meaning and effect as the word “shall.” Unless the context requires otherwise
(a) any definition of or reference to any agreement, instrument or other document herein shall be construed
as referring to such agreement, instrument or other document as from time to time amended, waived,
restated, restructured, extended, renewed, supplemented or otherwise modified (subject to any restrictions
on such amendments, supplements, waivers, restatements, restructures, extensions, renewals or
modifications set forth herein), (b) any reference herein to any Person shall be construed to include such
Person’s permitted successors and assigns, (c) the words “herein,” “hereof” and “hereunder,” and words of
similar import, shall be construed to refer to this Agreement in its entirety and not to any particular
provision hereof, (d) all references herein to Articles, Sections, Exhibits and Schedules shall be construed to
refer to Articles and Sections of, and Exhibits and Schedules to, this Agreement, (e) any reference to any
law or regulation herein shall, unless otherwise specified, refer to such law or regulation as amended,
modified or supplemented from time to time, and (f) the words “asset” and “property” shall be construed to
have the same meaning and effect and to refer to any and all tangible and intangible assets and properties,
including cash, securities, accounts and contract rights. All references to “knowledge” of any Loan Party or
a Subsidiary means the actual knowledge of a Responsible Person. All references to “in the ordinary course
of business” of the Loan Parties or any Subsidiary thereof means (i) in the ordinary course of business of, or
in furtherance of an objective that is in the ordinary course of business of the Loan Party or such Subsidiary,
as applicable, (ii) customary and usual in the industry or industries of the Loan Party and its Subsidiaries in
the United States or any other jurisdiction in which the Loan Party or any Subsidiary does business, as
applicable or (iii) generally consistent with the past or current practice of the Borrower or such Subsidiary,
as applicable, or any similarly situated businesses in the United States or any other jurisdiction in which the
Loan Party or any Subsidiary does business, as applicable. In the case of any cure or waiver, the Borrower,
the applicable Loan Parties, the Lenders and the Agents shall be restored to their former positions and rights

  73531283.28                                      43
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 205 of 692


hereunder and under the other Credit Documents, and any Default or Event of Default cured or waived shall
be deemed to be cured and not continuing, it being understood that no such cure or waiver shall extend to
any subsequent or other Default or Event of Default or impair any right consequent thereon.

                 SECTION 1.03 Rounding. Any financial ratios required to be maintained by the Borrower
or the Parent pursuant to this Agreement shall be calculated by dividing the appropriate component by the
other component, carrying the result to one place more than the number of places by which such ratio is
expressed herein and rounding the result up or down to the nearest number (with a rounding up if there is no
nearest number).

                SECTION 1.04 Accounting Terms; Changes in GAAP.

                   (a)     Accounting Terms. Except as otherwise expressly provided herein, all
 accounting terms not otherwise defined herein shall be construed in conformity with GAAP. Financial
 statements and other information required to be delivered by the Borrower to the Lenders pursuant to
 Sections 5.01(a) and 5.01(b) shall be prepared in accordance with GAAP in all material respects as in
 effect at the time of such preparation. Notwithstanding the foregoing, for purposes of determining
 compliance with any covenant (including the computation of any financial covenant) contained herein,
 Indebtedness of the Borrower and its Subsidiaries shall be deemed to be carried at 100% of the outstanding
 principal amount thereof, and the effects of FASB ASC 825 and FASB ASC 470-20 on financial liabilities
 shall be disregarded.

                   (b)      Changes in GAAP. If the Borrower notifies the Administrative Agent that the
 Borrower requests an amendment to any provision hereof to eliminate the effect of any change occurring
 after the date hereof in GAAP or in the application thereof on the operation of such provision (or if the
 Administrative Agent notifies the Borrower that the Required Lenders request an amendment to any
 provision hereof for such purpose), regardless of whether any such notice is given before or after such
 change in GAAP or in the application thereof, then such provision shall be interpreted on the basis of
 GAAP as in effect and applied immediately before such change shall have become effective until such
 notice shall have been withdrawn or such provision amended in accordance herewith. If at any time any
 change in GAAP would affect the computation of any financial ratio or requirement set forth in any Loan
 Document, and either the Borrower or the Required Lenders shall so request, the Administrative Agent, the
 Lenders and the Borrower shall negotiate in good faith to amend such ratio or requirement to preserve the
 original intent thereof in light of such change in GAAP (subject to the approval of the Required Lenders);
 provided that, until so amended, (i) such ratio or requirement shall continue to be computed in accordance
 with GAAP prior to such change therein and (ii) the Borrower shall provide to the Administrative Agent
 and the Lenders financial statements and other documents required under this Agreement or as reasonably
 requested hereunder setting forth a reconciliation between calculations of such ratio or requirement made
 before and after giving effect to such change in GAAP. It is understood and agreed that any
 recharacterization of an accounting entry or term shall be permitted hereunder so long as the action relating
 to or underlying the entry or item as so recharacterized would have been permitted if it had originally been
 characterized in such manner. Notwithstanding any other provision contained herein, at the Borrower’s
 election (in its sole discretion) (a) any lease that is treated as an operating lease for purposes of GAAP as
 of the date hereof shall not be treated as Indebtedness and shall continue to be treated as an operating lease
 (and any future lease, if it were in effect on the date hereof, that would be treated as an operating lease for
 purposes of GAAP as of the date hereof shall be treated as an operating lease), in each case for purposes of
 this Agreement, notwithstanding any actual or proposed change in GAAP after the date hereof

                 SECTION 1.05 Rates. The Administrative Agent does not warrant or accept responsibility
for, and shall not have any liability with respect to, the administration, submission or any other matter



  73531283.28                                      44
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 206 of 692


related to the rates in the definition of “LIBO Rate” or with respect to any comparable or successor rate
thereto.

                 SECTION 1.06 Letter of Credit Amounts. Unless otherwise specified herein, the amount
of a Letter of Credit at any time shall be deemed to be the maximum undrawn amount of such Letter of
Credit at such time, including any scheduled increases provided for by the terms of such Letters of Credit,
determined without regard to whether any conditions to drawing could be met at that time; provided that
with respect to any Letter of Credit that, by its terms or the terms of any L/C Document related thereto,
provides for one or more automatic increases in the available amount thereof, the amount of such Letter of
Credit shall be deemed to be the maximum amount of such Letter of Credit after giving effect to all such
increases, whether or not such maximum amount is available to be drawn at such time.

                SECTION 1.07 Times of Day; Time for Payment and Performance

  . Unless otherwise specified, all references herein to times of day shall be references to Eastern time
  (daylight or standard, as applicable). When the payment of any obligation or the performance of any
  covenant, duty or obligation is stated to be due or performance required on (or before) a day which is not
  a Business Day, the date of such payment or performance shall extend to the immediately succeeding
  Business Day, and such extension of time shall be reflected in computing interest or fees, as the case may
  be.

                SECTION 1.08 Certifications

  . All certifications to be made hereunder by an officer or representative of a Loan Party shall be made by
  such a Person in his or her capacity solely as an officer or a representative of such Loan Party, on such
  Loan Party’s behalf and not in such Person’s individual capacity.

                SECTION 1.09 Belgian Terms. In this Agreement, where it relates to a Belgian party, a
reference to:

                (a)      “gross negligence” is a reference to zware fout/faute lourde and “wilful
 misconduct” is a reference to opzet/dol;

                  (b)      a “liquidator”, “trustee in bankruptcy”, “receiver”, “administrator” or similar
 officer includes any insolventiefunctionaris/praticien de l’insolvabilité, curator/curateur,
 vereffenaar/liquidateur, gedelegeerd rechter/juge délégué, ondernemingsbemiddelaar/médiateur
 d’entreprise, gerechtsmandataris/ mandataire de justice, voorlopig bewindvoerder/administrateur
 provisoire, gerechtelijk bewindvoerder/administrateur judiciaire, mandataris ad hoc/mandataire ad hoc and
 any sekwester/séquestre;

                  (c)    a “moratorium of any indebtedness”, or “reorganisation” includes any
 gerechtelijke reorganisatie/réorganisation judiciaire;

                  (d)     an “insolvency” includes any insolventieprocedure/procedure d’insolvabilité,
 gerechtelijke reorganisatie/réorganisation judiciaire, faillissement/faillite and any other concurrence
 between creditors (samenloop van schuldeisers/concours des créanciers);

                  (e)     a “security interest” includes a mortgage (hypotheek/hypothèque), a pledge
 (pand/gage), a transfer by way of security (overdracht ten titel van zekerheid/transfert à titre de garantie),
 any other proprietary security interest (zakelijke zekerheid/sûreté réelle), a mandate to grant a mortgage, a
 pledge or any other real surety, a privilege (voorrecht/privilège) and a retention of title
 (eigendomsvoorbehoud/réserve de propriété);

  73531283.28                                      45
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 207 of 692


                  (f)    a company being "incorporated" in Belgium or of which its "jurisdiction of
 incorporation" is Belgium, means that that company has its principal place of business (voornaamste
 vestiging/établissement principal) within the meaning of the Belgian Act of 16 July 2004 on the conflicts
 of law code) in Belgium;

                 (g)      "administration" or "dissolution" includes any vereffening/liquidation,
 ontbinding/dissolution, sluiting van een onderneming/fermeture d’entreprise and faillissement/faillite;

                  (h)     "attachment", "execution" or analogous procedures includes any uitvoerend
 beslag/saisie exécution and bewarend beslag/saisie conservatoire; and

                  (i)      an "amalgamation" or "merger" includes an overdracht van
 algemeenheid/transfert d’universalité, an overdracht van bedrijfstak/transfert de branche d’activité, a
 splitsing/scission and a fusie/fusion as well as assimilated transactions (gelijkgestelde
 verrichtingen/operations assimilées) in accordance with Articles 676 and 677 of the Belgian Companies
 Code.

                                                 ARTICLE II

                            COMMITMENTS AND CREDIT EXTENSIONS

                 SECTION 2.01 DIP Revolving Credit Facility. Subject to the terms and conditions set
forth herein and in the Interim DIP Order or the Final DIP Order (as applicable), each Lender severally
agrees to make Revolving Loans to the Borrower from time to time on any Business Day during the
Availability Period in an aggregate principal amount that will not result in (a) such Lender’s Revolving
Credit Exposure exceeding such Lender’s Revolving Commitment, (b) the sum of the total Revolving
Credit Exposures exceeding the total Revolving Commitments, (c) Borrowing Base Availability being less
than zero or (d) the sum of the Revolving Credit Exposure and the Prepetition Credit Exposure exceeding
the Combined Revolving Exposure Limit. Within the foregoing limits and subject to the terms and
conditions set forth herein, the Borrower may borrow, prepay and reborrow (without premium or penalty)
Revolving Loans. Revolving Loans may be ABR Loans or LIBO Rate Loans, as further provided herein.
Upon entry of the Interim DIP Order, and subject to the terms thereof, 50% of each Lender’s Prepetition
Credit Exposure, in the amount of $65,844,058, shall be deemed to be a Borrowing and Loan outstanding
hereunder, and such amount of the Prepetition Credit Exposure is thereby deemed paid or extinguished in
an order determined as provided in the Prepetition Credit Facility by extension of a Loan hereunder, and
such Prepetition Credit Exposure is thereby converted and included as part of the Obligations outstanding
hereunder, and further included as part of the Lender Superpriority Claim (the “Partial Roll Up DIP
Loan”). Such deemed borrowing by the Borrower of the Partial Roll Up DIP Loan shall not entitle the
Borrower to receive any cash from any Agent or any Lender and, notwithstanding that no such cash is
exchanged, the Borrower shall thereafter owe the aggregate amount of the Partial Roll Up DIP Loan to the
Lenders under the terms hereof and the Orders and not under the Prepetition Credit Facility.

                 SECTION 2.02 DIP Term Loan Facility. Subject to the terms and conditions set forth
herein and in the Interim DIP Order or the Final DIP Order, each Lender severally agrees to make Term
Loans to the Borrower from time to time on any Business Day during the Availability Period in an
aggregate principal amount that will not result in (a) such Lender’s Term Credit Exposure exceeding such
Lender’s Term Commitment or (b) the total Term Credit Exposures exceeding (i) (1) the total Term
Commitments minus (2) $2,500,000, or (ii) on the date of a proposed Term Borrowing, the Term Credit
Exposure specified for such week in the Budget (as increased for any amount unused in respect of one or
more prior weeks). Once repaid, the Term Loans may not be reborrowed. Term Loans shall be made only
as LIBO Rate Loans (or any replacement rate).


  73531283.28                                     46
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 208 of 692


               SECTION 2.03 Loans and Borrowings.

               (a)      Borrowings. Each Loan shall be made as part of a Revolving Borrowing or Term
Borrowing, as applicable, consisting of Loans of the same Class and Type made by the Lenders ratably in
accordance with their respective Revolving Commitments or Term Commitments, as applicable.

                (b)     Type of Loans. Subject to Section 2.20, each Borrowing shall be comprised
entirely of ABR Loans or LIBO Rate Loans as the Borrower may request in accordance herewith. Each
Swing Line Loan shall be an ABR Loan. Each Lender at its option may make any Loan by causing any
domestic or foreign branch or Affiliate of such Lender to make such Loan so long as such action is not
disadvantageous to the Borrower; provided that any exercise of such option shall not affect the obligation
of the Borrower to repay such Loan in accordance with the terms of this Agreement.

                  SECTION 2.04 Borrowing Requests.Notice by Borrower. Each Borrowing shall be
made upon the Borrower’s irrevocable notice to the Administrative Agent. Each such notice shall be in the
form of a written Borrowing Request, appropriately completed and signed by a Responsible Person of the
Borrower, or may be given by telephone to the Administrative Agent (if promptly confirmed by such a
written Borrowing Request consistent with such telephonic notice) and must be received by the
Administrative Agent not later than 11:00 a.m. (New York City time) (i) in the case of a LIBO Rate
Borrowing, three Business Days prior to the date of the requested Borrowing or (ii) in the case of an ABR
Borrowing, one Business Day prior to the date of the requested Borrowing; provided that the Borrower may
condition the initial Borrowing hereunder in such notice on the entry of the Interim DIP Order; provided
further that the Borrower may deliver new notices if such condition fails to be satisfied on a proposed
Borrowing Date.

                 (b)      Content of Borrowing Requests. Each Borrowing Request for a Borrowing shall
specify the following information in compliance with Section 2.03: (i) the aggregate amount of the
requested Borrowing; (ii) the date of such Borrowing (which shall be a Business Day); (iii) whether such
Borrowing is to be a Revolving Borrowing or a Term Borrowing (and if a Revolving Borrowing, shall be
accompanied by a Borrowing Base Report as required herein); (iv) whether such Borrowing is to be an
ABR Borrowing or a LIBO Rate Borrowing; (v) in the case of a LIBO Rate Borrowing, the Interest Period
therefor; and (v) the location and number of the Borrower’s account to which funds are to be disbursed.

               (c)     Notice by Administrative Agent to Lenders. Promptly following receipt of a
Borrowing Request, the Administrative Agent shall advise each Lender of the details thereof and the
amount of such Lender’s Loan to be made as part of the requested Borrowing.

                (d)   Failure to Elect. If no election as to the Type of a Borrowing is specified in the
applicable Borrowing Request with respect to Revolving Loans, then the requested Borrowing shall be an
ABR Borrowing. All Term Loans shall be LIBO Rate Loans.

                 (e)     Minimum Amounts; Limitation on Number of Borrowings. Each Term
Borrowing shall be in whole multiples of $500,000. Borrowings of more than one Type may be
outstanding at the same time; provided that there shall not be more than a total of ten LIBO Rate
Borrowings outstanding at any time.

               SECTION 2.05 Letters of Credit.

                 (a)      General. Subject to the terms and conditions set forth herein (including, without
limitation, the Borrower’s obligations in respect of unpaid L/C Reimbursement Obligations) and in the
Orders, in addition to the Loans provided for in Section 2.01, the Borrower may request any Issuing Bank,
in reliance on the agreements of the Lenders set forth in this Section, to issue, at any time and from time to

 73531283.28                                      47
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 209 of 692


time during the Availability Period, Letters of Credit denominated in Dollars for its own account in such
form as is acceptable to the Administrative Agent and such Issuing Bank in each case in its reasonable
determination. Letters of Credit issued hereunder shall constitute utilization of the Revolving
Commitments. The Borrower, the Lenders and the Issuing Banks hereby acknowledge and agree that, on
and after the Effective Date, all Existing Letters of Credit shall constitute Letters of Credit issued by ABN,
in its capacity as Issuing Bank hereunder, and all Prepetition L/C Obligations shall constitute L/C
Obligations under this Agreement, and all such Letters of Credit and L/C Obligations shall thereafter be
entitled to all of the rights and benefits under the Loan Documents associated therewith.

                  (b)      Notice of Issuance, Amendment, Extension, Reinstatement or Renewal. To
request the issuance of a Letter of Credit (or the amendment of the terms and conditions, extension of the
terms and conditions, extension of the expiration date, or reinstatement of amounts paid, or renewal of an
outstanding Letter of Credit), the Borrower shall deliver (or transmit by electronic communication, if
arrangements for doing so have been approved by the respective Issuing Bank) to an Issuing Bank selected
by it and to the Administrative Agent (reasonably in advance of the requested date of issuance,
amendment, extension, reinstatement or renewal) a Letter of Credit Request requesting the issuance of a
Letter of Credit, or identifying the Letter of Credit to be amended, extended, reinstated or renewed, and
specifying the date of issuance, amendment, extension, reinstatement or renewal (which shall be a
Business Day), the date on which such Letter of Credit is to expire (which shall comply with paragraph (d)
of this Section), the amount of such Letter of Credit, the name and address of the beneficiary thereof, the
purpose and nature of the requested Letter of Credit, the documents to be presented by the beneficiary
thereof in the case of a drawing or demand for payment thereunder, the delivery instructions for such
Letter of Credit and such other information as shall be necessary to prepare, amend, extend, reinstate or
renew such Letter of Credit. If requested by the respective Issuing Bank, the Borrower also shall submit a
letter of credit application and reimbursement agreement on such Issuing Bank’s standard form in
connection with any request for a Letter of Credit. In the event of any inconsistency between the terms
and conditions of this Agreement and the terms and conditions of any form of letter of credit application
and reimbursement agreement or other agreement submitted by the Borrower to, or entered into by the
Borrower with, an Issuing Bank relating to any Letter of Credit, the terms and conditions of this
Agreement shall control.

                  (c)      Limitations on Amounts, Issuance and Amendment. A Letter of Credit shall
be issued, amended, extended, reinstated or renewed only if (and upon issuance, amendment, extension,
reinstatement or renewal of each Letter of Credit the Borrower shall be deemed to represent and warrant
that), after giving effect to such issuance, amendment, extension, reinstatement or renewal (i) the aggregate
amount of L/C Obligations then outstanding shall not exceed (x) the L/C Sublimit, or (y) when taken
together with the aggregate principal amount of Swing Line Loans then outstanding, the Fronting Cap,
(ii) the Revolving Credit Exposure of any Lender shall not exceed its Revolving Commitment, (iii) the
sum of the total Revolving Credit Exposures shall not exceed the total Revolving Commitments, (iv) the
Revolving Credit Exposure plus the Prepetition Credit Exposure shall not exceed the Combined Revolving
Exposure Limit and (v) Borrowing Base Availability shall not be less than zero.

                  An Issuing Bank shall not be under any obligation to issue any Letter of Credit, including
 if:

                            (i)      any order, judgment or decree of any Governmental Authority or
          arbitrator shall by its terms purport to enjoin or restrain such Issuing Bank from issuing such
          Letter of Credit, or any Law applicable to such Issuing Bank shall prohibit, or request that such
          Issuing Bank refrain from, the issuance of letters of credit generally or such Letter of Credit in
          particular or shall impose upon such Issuing Bank with respect to such Letter of Credit any
          restriction, reserve or capital requirement (for which such Issuing Bank is not otherwise
          compensated hereunder) not in effect on the Effective Date, or shall impose upon such Issuing

 73531283.28                                      48
18-13374-mew         Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 210 of 692


          Bank any unreimbursed loss, cost or expense that was not applicable on the Effective Date and
          that such Issuing Bank in good faith deems material to it;

                          (ii)     such Letter of Credit is not in form and substance acceptable to such
          Issuing Bank in its reasonable determination and/or the issuance of such Letter of Credit would
          violate one or more policies of such Issuing Bank applicable to letters of credit generally;

                           (iii)    such Letter of Credit that has automatic extension provisions;

                          (iv)    except as otherwise agreed by the Administrative Agent and such Issuing
          Bank, such Letter of Credit will be a standby Letter of Credit in an initial amount less than
          $500,000; or

                           (v)      any Lender is at that time a Defaulting Lender, unless such Issuing Bank
          has entered into arrangements, including the delivery of Cash Collateral, satisfactory to such
          Issuing Bank (in its sole discretion) with the Borrower or such Lender to eliminate such Issuing
          Bank’s actual or potential Fronting Exposure (after giving effect to Section 2.25(a)(iv)) with
          respect to the Defaulting Lender arising from either such Letter of Credit then proposed to be
          issued or such Letter of Credit and all other L/C Obligations as to which such Issuing Bank has
          actual or potential Fronting Exposure, as it may elect in its sole discretion.

                 An Issuing Bank shall be under no obligation to amend any Letter of Credit if (A) such
 Issuing Bank would have no obligation at such time to issue the Letter of Credit in its amended form
 under the terms hereof, or (B) the beneficiary of the Letter of Credit does not accept the proposed
 amendment to the Letter of Credit.

                  (d)      Expiration Date. Each Letter of Credit shall have a stated expiration date no later
than the earlier of (i) the date 180 days after the date of the issuance of such Letter of Credit (or, in the case
of any extension of the expiration date thereof by amendment, twelve months after the then-current
expiration date of such Letter of Credit) and (ii) the Commitment Termination Date.

                 (e)      Participations. By the issuance of a Letter of Credit (or an amendment to a
Letter of Credit increasing the amount or extending the expiration date thereof), and without any further
action on the part of the applicable Issuing Bank or the Lenders, such Issuing Bank hereby grants to each
Lender, and each Lender hereby acquires from such Issuing Bank, a participation in such Letter of Credit
equal to such Lender’s Applicable Percentage of the aggregate amount available to be drawn under such
Letter of Credit. Each Lender acknowledges and agrees that its obligation to acquire participations
pursuant to this paragraph in respect of Letters of Credit is absolute, unconditional and irrevocable and
shall not be affected by any circumstance whatsoever, including any amendment, extension, reinstatement
or renewal of any Letter of Credit or the occurrence and continuance of a Default or reduction or
termination of the Commitments.

                 In consideration and in furtherance of the foregoing, each Lender hereby absolutely,
 unconditionally and irrevocably agrees to pay to the Administrative Agent, for account of the respective
 Issuing Bank, such Lender’s Applicable Percentage of each L/C Disbursement made by an Issuing Bank
 promptly following the written request of such Issuing Bank at any time from the time of such L/C
 Disbursement until such L/C Disbursement is reimbursed by the Borrower or at any time after any
 reimbursement payment is required to be refunded to the Borrower for any reason, including after the
 Commitment Termination Date. Such payment shall be made without any offset, abatement, withholding
 or reduction whatsoever. Such payment obligation shall bear interest at the rate applicable to ABR Loans
 until paid. Each such payment shall be made in the same manner as provided in Section 2.07 with respect
 to Loans made by such Lender (and Section 2.07 shall apply, mutatis mutandis, to the payment


 73531283.28                                       49
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 211 of 692


 obligations of the Lenders), and the Administrative Agent shall promptly pay to the respective Issuing
 Bank the amounts so received by it from the Lenders. Promptly following receipt by the Administrative
 Agent of any payment from the Borrower pursuant to Section 2.05(f), the Administrative Agent shall
 distribute such payment to the respective Issuing Bank or, to the extent that the Lenders have made
 payments pursuant to this paragraph to reimburse such Issuing Bank, then to such Lenders and such
 Issuing Bank as their interests may appear. Any payment made by a Lender pursuant to this paragraph to
 reimburse an Issuing Bank for any L/C Disbursement shall not constitute a Loan and shall not relieve the
 Borrower of its obligation to reimburse such L/C Disbursement.

                  Each Lender further acknowledges and agrees that its participation in each Letter of
 Credit will be automatically adjusted to reflect such Lender’s Applicable Percentage of the aggregate
 amount available to be drawn under such Letter of Credit at each time such Lender's Revolving
 Commitment is amended pursuant to Section 2.25 or as a result of an assignment in accordance with
 Section 9.07 or otherwise pursuant to this Agreement.

                 (f)      Reimbursement. If an Issuing Bank shall make any L/C Disbursement in respect
of a Letter of Credit, the Borrower shall reimburse such Issuing Bank in respect of such L/C Disbursement
by paying to the Administrative Agent an amount equal to such L/C Disbursement not later than
2:00 P.M., New York City time, on (i) the Business Day that the Borrower receives notice of such L/C
Disbursement, if such notice is received prior to 12:00 p.m., New York City time, or (ii) the Business Day
immediately following the day that the Borrower receives such notice if such notice is not received prior to
such time; provided that the Borrower may, subject to the conditions to borrowing set forth herein, request
in accordance with Section 2.03 that such payment be financed, if such L/C Disbursement is not less than
$1,000,000, with an ABR Borrowing (as a Revolving Loan), or if it is less than $1,000,000 with a Swing
Line Loan and, to the extent so financed, the Borrower’s obligation to make such payment shall be
discharged and replaced by the resulting ABR Borrowing or Swing Line Loan, as applicable. Such
reimbursement shall be made directly to the applicable Issuing Bank at its applicable lending office in
immediately available funds in U.S. Dollars, in an amount equal to (i) the amount so paid by such Issuing
Bank in connection with such drawing or payment and (ii) any taxes and any reasonable fees, charges or
other costs or expenses incurred in by such Issuing Bank (such amount prior to being reimbursed by the
Borrower, the “Unreimbursed Amount”).

                 (g)     If the Borrower fails to make such payment when due, the Administrative Agent
shall notify each Lender of the applicable L/C Disbursement, the payment then due from the Borrower in
respect thereof and such Lender’s Applicable Percentage thereof.

                 (h)      Obligations Absolute. The Borrower’s obligation to reimburse L/C
Disbursements as provided in paragraph (f) of this Section shall be absolute, unconditional and
irrevocable, and shall be performed strictly in accordance with the terms of this Agreement under any and
all circumstances whatsoever and irrespective of (i) any lack of validity or enforceability of this
Agreement or any Letter of Credit, or any term or provision herein or therein, (ii) any draft or other
document presented under a Letter of Credit proving to be forged, fraudulent or invalid in any respect or
any statement in such draft or other document being untrue or inaccurate in any respect, (iii) payment by
the respective Issuing Bank under a Letter of Credit against presentation of a draft or other document that
does not comply strictly with the terms of such Letter of Credit, or (iv) any other event or circumstance
whatsoever, whether or not similar to any of the foregoing, that might, but for the provisions of this
Section, constitute a legal or equitable discharge of, or provide a right of setoff against, the Borrower’s
obligations hereunder (other than payment or performance).

                  None of the Administrative Agent, the Lenders, any Issuing Bank, or any of their Related
 Parties shall have any liability or responsibility by reason of or in connection with the issuance or transfer


 73531283.28                                      50
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 212 of 692


 of any Letter of Credit by the respective Issuing Bank or any payment or failure to make any payment
 thereunder (irrespective of any of the circumstances referred to in the preceding sentence), or any error,
 omission, interruption, loss or delay in transmission or delivery of any draft, notice or other
 communication under or relating to any Letter of Credit (including any document required to make a
 drawing thereunder), any error in interpretation of technical terms, any error in translation or any
 consequence arising from causes beyond the control of the respective Issuing Bank; provided that the
 foregoing shall not be construed to excuse an Issuing Bank from liability to the Borrower to the extent of
 any direct damages (as opposed to consequential damages, claims in respect of which are hereby waived
 by the Borrower to the extent permitted by Applicable Law) suffered by the Borrower that are caused by
 such Issuing Bank’s failure to exercise due care when determining whether drafts and other documents
 presented under a Letter of Credit comply with the terms thereof. The parties hereto expressly agree that,
 in the absence of gross negligence or willful misconduct on the part of an Issuing Bank (as finally
 determined by a court of competent jurisdiction), an Issuing Bank shall be deemed to have exercised care
 in each such determination, and that:

                           (i)      an Issuing Bank may replace a purportedly lost, stolen, or destroyed
          original Letter of Credit or missing amendment thereto with a replacement marked as such or waive
          a requirement for its presentation;

                            (ii)   an Issuing Bank may accept documents that appear on their face to be in
          substantial compliance with the terms of a Letter of Credit without responsibility for further
          investigation, regardless of any notice or information to the contrary, and may make payment
          upon presentation of documents that appear on their face to be in substantial compliance with the
          terms of such Letter of Credit and without regard to any non-documentary condition in such
          Letter of Credit;

                          (iii)   an Issuing Bank shall have the right, in its sole discretion, to decline to
          accept such documents and to make such payment if such documents are not in strict compliance
          with the terms of such Letter of Credit; and

                         (iv)     this sentence shall establish the standard of care to be exercised by an
          Issuing Bank when determining whether drafts and other documents presented under a Letter of
          Credit comply with the terms thereof (and the parties hereto hereby waive, to the extent permitted
          by Applicable Law, any standard of care inconsistent with the foregoing).

                   Without limiting the foregoing, none of the Administrative Agent, the Lenders, any
 Issuing Bank, or any of their Related Parties shall have any liability or responsibility by reason of (i) any
 presentation that includes forged or fraudulent documents or that is otherwise affected by the fraudulent,
 bad faith, or illegal conduct of the beneficiary or other Person, (ii) an Issuing Bank declining to take-up
 documents and make payment (A) against documents that are fraudulent, forged, or for other reasons by
 which that it is entitled not to honor or (B) following a Borrower’s waiver of discrepancies with respect to
 such documents or request for honor of such documents or (iii) an Issuing Bank retaining proceeds of a
 Letter of Credit based on an apparently applicable attachment order, blocking regulation, or third-party
 claim notified to such Issuing Bank.

                   Unless otherwise expressly agreed by an Issuing Bank and the Borrower when a Letter of
 Credit is issued by it (including any such agreement applicable to an Existing Letter of Credit), (i) the
 rules of the ISP shall apply to each standby Letter of Credit, and (ii) the rules of the UCP shall apply to
 each commercial Letter of Credit. Notwithstanding the foregoing, no Issuing Bank shall be responsible to
 the Borrower for, and such Issuing Bank’s rights and remedies against the Borrower shall not be impaired
 by, any action or inaction of such Issuing Bank required or permitted under any law, order, or practice
 that is required or permitted to be applied to any Letter of Credit or this Agreement, including the Laws or

 73531283.28                                      51
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 213 of 692


 any order of a jurisdiction where such Issuing Bank or the beneficiary is located, the practice stated in the
 ISP or UCP, as applicable, or in the decisions, opinions, practice statements, or official commentary of
 the International Chamber of Commerce Banking Commission, the Bankers Association for Finance and
 Trade (BAFT), or the Institute of International Banking Law & Practice, whether or not any Letter of
 Credit chooses such laws or practice rules.

                  An Issuing Bank shall act on behalf of the Lenders with respect to any Letters of Credit
 issued by it and the documents associated therewith, and such Issuing Bank shall have all of the benefits
 and immunities (A) provided to the Administrative Agent in Article VIII with respect to any acts taken
 or omissions suffered by such Issuing Bank in connection with Letters of Credit issued by it or proposed
 to be issued by it and L/C Documents pertaining to such Letters of Credit as fully as if the term
 “Administrative Agent” as used in Article VIII included such Issuing Bank with respect to such acts or
 omissions, and (B) as additionally provided herein with respect to the such Issuing Bank.

                  (i)    Disbursement Procedures. The Issuing Bank for any Letter of Credit shall,
within the time allowed by applicable Laws or the specific terms of the Letter of Credit following its
receipt thereof, examine all documents purporting to represent a demand for payment under such Letter of
Credit. Such Issuing Bank shall, promptly after such examination, notify the Administrative Agent and the
Borrower in writing of such demand for payment if such Issuing Bank has made or will make an L/C
Disbursement thereunder; provided that any failure to give or delay in giving such notice shall not relieve
the Borrower of its obligation to reimburse such Issuing Bank and the Lenders with respect to any such
L/C Disbursement.

                  (j)     Interim Interest. If the Issuing Bank for any Letter of Credit shall make any L/C
Disbursement, then, unless the Borrower shall reimburse such L/C Disbursement in full on the date such
L/C Disbursement is made, the unpaid amount thereof shall bear interest, for each day from and including
the date such L/C Disbursement is made to but excluding the date that the Borrower reimburses such L/C
Disbursement, at the rate per annum then applicable to ABR Loans; provided that if the Borrower fails to
reimburse such L/C Disbursement when due pursuant to paragraph (f) of this Section, then Section 2.12(b)
shall apply. Interest accrued pursuant to this paragraph shall be for account of such Issuing Bank, except
that interest accrued on and after the date of payment by any Lender pursuant to paragraph (f) of this
Section to reimburse such Issuing Bank shall be for account of such Lender to the extent of such payment.

                  (k)     Replacement of an Issuing Bank. Any Issuing Bank may be replaced at any
time by written agreement between the Borrower, the Administrative Agent, the replaced Issuing Bank and
the successor Issuing Bank. The Administrative Agent shall notify the Lenders of any such replacement of
an Issuing Bank. At the time any such replacement shall become effective, the Borrower shall pay all
unpaid fees accrued for the account of the replaced Issuing Bank pursuant to Section 2.13(b). From and
after the effective date of any such replacement, (i) the successor Issuing Bank shall have all the rights and
obligations of an Issuing Bank under this Agreement with respect to Letters of Credit to be issued by it
thereafter and (ii) references herein to the term “Issuing Bank” shall be deemed to include such successor
or any previous Issuing Bank, or such successor and all previous Issuing Banks, as the context shall
require. After the replacement of an Issuing Bank hereunder, the replaced Issuing Bank shall remain a
party hereto and shall continue to have all the rights and obligations of an Issuing Bank under this
Agreement with respect to Letters of Credit issued by it prior to such replacement, but shall not be required
to issue additional Letters of Credit.

                   Any Issuing Bank may resign at any time by giving 30 days’ prior notice to the
 Administrative Agent, the Lenders and the Borrower. After the resignation of an Issuing Bank hereunder,
 the retiring Issuing Bank shall remain a party hereto and shall continue to have all the rights and
 obligations of an Issuing Bank under this Agreement and the other Loan Documents with respect to


 73531283.28                                      52
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 214 of 692


 Letters of Credit issued by it prior to such resignation, but shall not be required to issue additional Letters
 of Credit or to extend, reinstate, renew or increase any existing Letter of Credit.

                 (l)      Cash Collateralization. With respect to any outstanding Letter of Credit, upon
the demand at any time of (i) the Required Lenders or (ii) with the consent of the Required Lenders, the
Issuing Bank or the Administrative Agent (provided that, in the case of this clause (ii), if an Event of
Default has occurred and is continuing, the consent of the Required Lenders shall not be required in
connection with any such demand by the Issuing Bank or the Administrative Agent), in each case, the
Borrower shall immediately deposit into an account established and maintained on the books and records
of the Collateral Agent (the “Collateral Account”) Cash Collateral in an amount equal to 103% of the
total L/C Obligations as of such date plus any accrued and unpaid interest thereon. Such deposit shall be
held by the Collateral Agent as collateral for the payment and performance of the Obligations. In addition,
and without limiting the foregoing or paragraph (d) of this Section, if any L/C Obligations remain
outstanding after the expiration date specified in said paragraph (d), the Borrower shall immediately
deposit into the Collateral Account Cash Collateral in an amount equal to 103% of such L/C Obligations as
of such date plus any accrued and unpaid interest thereon. Cash Collateral (or the appropriate portion
thereof) provided in accordance herewith shall be released promptly following (i) the elimination of the
obligations giving rise thereto (including by the termination of Defaulting Lender status of the applicable
Lender (or, as appropriate, its assignee) or there is no longer existing an Event of Default) or (ii) the
determination by the Administrative Agent (in consultation with the Borrower) that there exists excess
Cash Collateral.

                   The Collateral Agent shall have exclusive dominion and control, including the exclusive
 right of withdrawal, over the Collateral Account. Other than any interest earned on the investment of
 such deposits, which investments shall be made at the option and reasonable discretion of the Collateral
 Agent and at the Borrower’s risk and expense and benefit, such deposits shall not bear interest. Interest or
 profits, if any, on such investments shall accumulate in the Collateral Account. Moneys in the Collateral
 Account shall be applied by the Collateral Agent to reimburse each Issuing Bank for L/C Disbursements
 for which it has not been reimbursed, together with related fees, costs, and customary processing charges,
 and, to the extent not so applied, shall be held for the satisfaction of the reimbursement obligations of the
 Borrower for the L/C Obligations at such time or, if the maturity of the Loans has been accelerated (but
 subject to the consent of Lenders with L/C Obligations representing at least two-thirds of the total L/C
 Obligations and each Issuing Bank), be applied to satisfy other Secured Obligations. If the Borrower is
 required to provide an amount of Cash Collateral hereunder, whether on demand or as a result of the
 occurrence or continuance of an Event of Default, such amount (to the extent not applied as aforesaid)
 shall be returned to the Borrower within three Business Days after all Events of Default have been cured
 or waived.

                SECTION 2.06 Swing Line Loans.

                  (a)     Amount of Swing Line Loan. Subject to the terms and conditions set forth
herein, the Swing Line Lender, in reliance upon the agreements of the other Lenders set forth in this
Section, may in its sole discretion make swing line loans (individually, a “Swing Line Loan” and,
collectively, the “Swing Line Loans”) to the Borrower on same day notice from time to time during the
Availability Period in an aggregate principal amount at any one time outstanding not to exceed (x) the
Swing Line Sublimit or (y) when taken together with the aggregate amount of L/C Obligations then
outstanding, the Fronting Cap; provided that the Borrower shall not request, and the Swing Line Lender
shall not make, any Swing Line Loan if, after giving effect to the making of such Swing Line Loan, (i) the
Swing Line Lender’s Revolving Credit Exposure exceeds its Revolving Commitment, (ii) the sum of the
total Revolving Credit Exposures exceeds the total Revolving Commitments, (iii) Borrowing Base
Availability is less than zero or (iv) the sum of the Revolving Credit Exposure and the Prepetition Credit

 73531283.28                                       53
18-13374-mew           Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 215 of 692


Exposure exceeds the Combined Revolving Exposure Limit. The Borrower may use the Swing Line
Sublimit by borrowing, repaying and reborrowing, all in accordance with the terms and conditions hereof,
including, without limitation, Section 2.09.

                (b)     Classification of Swing Line Loans. Swing Line Loans may be denominated
only in United States Dollars and shall be ABR Loans.

                 (c)     Refunding of Swing Line Loans.

                           (i)     If the Administrative Agent shall not have received full repayment in cash
          of any Swing Line Loan at or before 11:00 a.m. (New York City time) on the day that is five (5)
          Business Days after the making of such Swing Line Loan, the Swing Line Lender may, not later
          than 2:00 p.m. (New York City time), on such day, request on behalf of the Borrower (which hereby
          irrevocably authorizes the Swing Line Lender to act on its behalf), that each Revolving Lender
          make a Revolving Loan (which initially shall be an ABR Loan with an Interest Period ending the
          next Business Day) in an amount equal to such Lender’s Applicable Percentage of the outstanding
          amount of such Swing Line Loan (a “Refunded Swing Line Loan”). In accordance with clause
          (c)(ii) below, each Revolving Lender (other than Mercuria) shall make the proceeds of its
          Revolving Loan available to the Swing Line Lender for the account of the Swing Line Lender at
          the Swing Line Lender’s applicable lending office for ABR Loans prior to 11:00 a.m.
          (New York City time) in funds immediately available on the Business Day next succeeding the
          date such request is made; provided that, with respect to Mercuria, the Administrative Agent will
          advance Mercuria’s portion of such Revolving Loan on the Business Day next succeeding the date
          such request is made and, in accordance with clause (c)(ii) below, Mercuria shall be irrevocably
          obligated, regardless of whether it has affirmatively agreed to fund its Applicable Percentage of the
          related Revolving Loan, to pay to the Administrative Agent the amount of such Revolving Loan
          advanced by the Administrative Agent on Mercuria’s behalf, plus interest (at the rate applicable to
          the Swing Line Loan giving rise to such Revolving Loan) at the Administrative Agent’s Office
          prior to 2:00 p.m. (New York City time) on the date that is one (1) Business Day after such Business
          Day. The proceeds of such Revolving Loans shall be immediately applied to repay the Refunded
          Swing Line Loans.

                            (ii)   Immediately upon the making of a Swing Line Loan, and without any
          further action on the part of the Swing Line Lender or the Lenders, the Swing Line Lender hereby
          grants to each Lender, and each Lender hereby acquires from such Swing Line Lender, a
          participation in such Swing Line Loan equal to such Lender’s Applicable Percentage of the amount
          of such Swing Line Loan. If for any reason any Swing Line Loan cannot be refinanced with a
          Revolving Loan pursuant to clause (c)(i) above, each Lender shall, on the date such Revolving
          Loan was to have been made pursuant to the notice referred to in clause (c)(i) above, purchase for
          cash an undivided participating interest in the then outstanding Swing Line Loans by paying to the
          Swing Line Lender an amount (the “Swing Line Participation Amount”) equal to such Lender’s
          Applicable Percentage of the aggregate principal amount of Swing Line Loans then outstanding.
          Each Lender will immediately transfer to the Swing Line Lender, in immediately available funds,
          the amount of its Swing Line Participation Amount. Whenever, at any time after the Swing Line
          Lender has received from any Lender such Lender’s Swing Line Participation Amount, the Swing
          Line Lender receives any payment on account of the Swing Line Loans, the Swing Line Lender
          will distribute to such Lender its Swing Line Participation Amount (appropriately adjusted, in the
          case of interest payments, to reflect the period of time during which such Lender’s participating
          interest was outstanding and funded and, in the case of principal and interest payments, to reflect
          such Lender’s pro rata portion of such payment if such payment is not sufficient to pay the principal
          of and interest on all Swing Line Loans then due); provided that in the event that such payment


 73531283.28                                      54
18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 216 of 692


          received by the Swing Line Lender is required to be returned, such Lender will return to the Swing
          Line Lender any portion thereof previously distributed to it by the Swing Line Lender.

                            (iii)    Each Revolving Lender’s obligation to make Revolving Loans pursuant to
          clause (c)(i) above and to purchase participating interests pursuant to clause (c)(ii) above shall be
          absolute and unconditional and shall not be affected by any circumstance, including, without
          limitation, (i) any set-off, counterclaim, recoupment, defense or other right which such Lender may
          have against the Swing Line Lender, the Borrower, or any other Person for any reason whatsoever,
          (ii) the occurrence or continuance of a Default or an Event of Default, (iii) any failure to satisfy any
          condition precedent to extensions of credit set forth in Section 4.02, (iv) any adverse change in the
          condition (financial or otherwise) of any Loan Party, (v) any breach of this Agreement by any Loan
          Party or any other Lender or (vi) any other circumstance, happening or event whatsoever, whether
          or not similar to any of the foregoing.

                           (iv)    If any Lender fails to make available to the Administrative Agent, for the
          account of the Swing Line Lender, any amount required to be paid by such Lender pursuant to the
          foregoing provisions of this Section 2.06(c) by the time specified in clauses (c)(i) or (c)(ii) above,
          as applicable, the Swing Line Lender shall be entitled to recover from such Lender, on demand,
          such amount with interest thereon for the period from the date such payment is required to the date
          on which such payment is immediately available to the Swing Line Lender at a rate per annum
          equal to the ABR plus the Applicable Rate for Swing Line Loans, plus any administrative,
          processing or similar fees customarily charged by the Swing Line Lender in connection with the
          foregoing. If such Lender pays such amount (with interest and fees as aforesaid), the amount so
          paid shall constitute such Lender’s Revolving Loan or Swing Line Participation Amount, as the
          case may be. A certificate of the Swing Line Lender submitted to any Lender with respect to any
          amounts owing under this clause (iv) shall be presumed correct absent manifest error.

                 (d)     Making of Swing Line Loans. The Swing Line Lender shall not be under any
obligation to make Swing Line Loans, including if any order, judgment or decree of any Governmental
Authority or arbitrator shall by its terms purport to enjoin or restrain the Swing Line Lender from making
such Swing Line Loan, or any Law applicable to the Swing Line Lender shall prohibit, or request that the
Swing Line Lender refrain from, the extension of credit generally or such Swing Line Loan in particular or
shall impose upon the Swing Line Lender with respect to such Swing Line Loan any restriction, reserve or
capital requirement (for which the Swing Line Lender is not otherwise compensated hereunder) not in
effect on the Effective Date, or shall impose upon the Swing Line Lender any unreimbursed loss, cost or
expense that was not applicable on the Effective Date and that the Swing Line Lender in good faith deems
material to it.

                   (e)     Repayment of Swing Line Loans. At any time that there shall exist a Defaulting
Lender, (x) promptly upon the request of the Swing Line Lender, the Borrower shall repay the outstanding
Swing Line Loans made by the Swing Line Lender in an amount sufficient to eliminate any Fronting
Exposure in respect of such Swing Line Loans (which may be achieved with proceeds of Revolving
Loans) and (y) the Swing Line Lender shall not be required to fund any Swing Line Loan unless it is
satisfied that it will have no Fronting Exposure after giving effect to such Swing Line Loan.

                SECTION 2.07 Funding of Borrowings. Each Lender shall make the amount of each
Borrowing to be made by it hereunder available to the Administrative Agent in immediately available funds
at the Administrative Agent’s Office not later than 12:00 noon (New York City time) on the proposed date
thereof; provided that Swing Line Borrowings shall be made as provided in Section 2.06. Each such
borrowing will then be made available by the Administrative Agent to the Borrower one Business Day
following the Borrowing Date requested by the Borrower (or on the Borrowing Date requested by the
Borrower if, and only if, each of the Lenders is able to make the amount of its Applicable Percentage of

 73531283.28                                       55
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 217 of 692


such borrowing available to the Administrative Agent as set forth in the immediately preceding sentence
prior to 3:00 p.m. (New York City time) on such Borrowing Date) by wire transfer to the account of the
Borrower set forth on Schedule 2.07 (or such other accounts of the Borrower or other Person acceptable to
the Required Lenders in the United States as may be notified in writing by the Borrower to the
Administrative Agent from time to time) in like funds as received by the Administrative Agent; provided
that ABR Borrowings made to finance the reimbursement of an L/C Disbursement as provided in
Section 2.05(f) shall be remitted by the Administrative Agent to the respective Issuing Bank. If any Lender
notifies the Administrative Agent in writing that such Lender refuses to fund further borrowings, the
Administrative Agent shall notify the Borrower thereof.

                 SECTION 2.08 Interest Elections.

                   (a)      Elections by Borrower for Borrowings. The Loans comprising each Borrowing
 initially shall be of the Type specified in the applicable Borrowing Request and, in the case of a LIBO Rate
 Borrowing, shall have the Interest Period specified in such Borrowing Request. Thereafter, the Borrower
 may elect to convert such Borrowing to a Borrowing of a different Type or to continue such Borrowing as
 a Borrowing of the same Type and, in the case of a LIBO Rate Borrowing, may elect the Interest Period
 therefor, all as provided in this Section. The Borrower may elect different options with respect to different
 portions of the affected Borrowing, in which case each such portion shall be allocated ratably among the
 Lenders holding the Loans comprising such Borrowing, and the Loans comprising each such portion shall
 be considered a separate Borrowing. Notwithstanding anything to the contrary herein, (i) a Swing Line
 Loan may not be converted to a LIBO Rate Loan, and (ii) Term Loans are available only as LIBO Rate
 Borrowings.

                  (b)      Notice of Elections. Each such election pursuant to this Section shall be made
 upon the Borrower’s irrevocable notice to the Administrative Agent. Each such notice shall be in the form
 of a written Interest Election Request, appropriately completed and signed by a Responsible Person of the
 Borrower, or may be given by telephone to the Administrative Agent (if promptly confirmed in writing by
 delivery of such a written Interest Election Request consistent with such telephonic notice) and must be
 received by the Administrative Agent not later than the time that a Borrowing Request would be required
 under Section 2.04 if the Borrower were requesting a Borrowing of the Type resulting from such election
 to be made on the effective date of such election.

                  (c)      Content of Interest Election Requests. Each Interest Election Request pursuant
 to this Section shall specify the following information in compliance with Section 2.04:

                            (i)      the Borrowing to which such Interest Election Request applies and, if
           different options are being elected with respect to different portions thereof, the portions thereof
           to be allocated to each resulting Borrowing (in which case the information to be specified
           pursuant to clauses (iii) and (iv) below shall be specified for each resulting Borrowing);

                          (ii)     the effective date of the election made pursuant to such Interest Election
           Request, which shall be a Business Day; and

                          (iii)     whether the resulting Borrowing is to be an ABR Borrowing or LIBO
           Rate Borrowing.

                  (d)    Notice by Administrative Agent to Lenders. Promptly following receipt of an
 Interest Election Request, the Administrative Agent shall advise each Lender of the details thereof and
 such Lender’s portion of each resulting Borrowing.



  73531283.28                                       56
18-13374-mew           Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 218 of 692


                 (e)      Failure to Elect; Events of Default. If the Borrower fails to deliver a timely and
complete Interest Election Request with respect to a LIBO Rate Borrowing prior to the end of the Interest
Period therefor, then, unless such LIBO Rate Borrowing is repaid as provided herein, the Borrower shall
be deemed to have elected that such LIBO Rate Borrowing shall automatically be converted to an ABR
Borrowing at the end of such Interest Period. Notwithstanding any contrary provision hereof, if an Event
of Default has occurred and is continuing and the Administrative Agent, at the request of the Required
Lenders, so notifies the Borrower, then, so long as such Event of Default is continuing (i) no outstanding
Revolving Borrowing may be converted to or continued as a LIBO Rate Borrowing and (ii) unless repaid,
each LIBO Rate Borrowing shall automatically be converted to an ABR Borrowing at the end of the
Interest Period therefor.

                SECTION 2.09 Prepayments.

                 (a)     Optional Prepayments. The Borrower may, upon notice to the Administrative
Agent, at any time and from time to time prepay the Prepetition Obligations and the Obligations in whole
or in part without premium or penalty, and subject to the Orders, any such prepayments to be applied
pursuant to Section 7.02. On the date of the entry of the Final DIP Order (the “Entry Date”), as and to the
extent expressly provided therein, amounts expressly determined by the Bankruptcy Court in the Final DIP
Order to be post-Petition Date obligations shall be deemed a prepayment on the Entry Date of such
amounts of the Prepetition Obligations (and such prepayment shall be deemed applied on the Entry Date in
accordance with the terms of the Prepetition Credit Facility as set forth therein), and an amount equal to
such prepayment shall be deemed outstanding on the Entry Date as a Revolving Loan hereunder that is an
ABR Loan.

                 (b)     Mandatory Prepayments.

                          (i)     If, on any date, the sum of the Revolving Credit Exposure plus the
          Prepetition Credit Exposure exceeds the Borrowing Base, the Borrower shall make a payment to
          the Administrative Agent in the amount of such excess to be applied to the Prepetition Obligations
          and the Obligations pursuant to Section 7.02 no later than one (1) Business Day immediately
          following such date.

                          (ii)     If, on any date, the sum of the Revolving Credit Exposure plus the
          Prepetition Credit Exposure exceeds the Combined Revolving Exposure Limit, the Borrower shall
          make a payment to the Administrative Agent in the amount of such excess to be applied to the
          Prepetition Obligations and the Obligations pursuant to Section 7.02 no later than one (1) Business
          Day immediately following such date.

                         (iii)   If, on any date, the aggregate principal amount of Swing Line Loans then
          outstanding exceeds (x) the Swing Line Sublimit or (y) when taken together with the aggregate
          amount of L/C Obligations then outstanding, the Fronting Cap, the Borrower shall prepay Swing
          Line Loans in an aggregate principal amount equal to such excess no later than one (1) Business
          Day immediately following such date.

                           (iv)     If, on any date, the aggregate amount of L/C Obligations then outstanding
          exceeds (x) the L/C Sublimit, or (y) when taken together with the aggregate principal amount of
          Swing Line Loans then outstanding , the Fronting Cap, the Borrower shall Cash Collateralize,
          replace or decrease (if the beneficiary of such Letter of Credit agrees to such decrease) such Letters
          of Credit in an aggregate amount equal to such excess no later than three (3) Business Days
          immediately following such date.



 73531283.28                                       57
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 219 of 692


                          (v)      If, on any date, the Borrower shall receive any Hess Litigation Proceeds,
          the Borrower shall make a payment to the Administrative Agent in the amount of such excess to be
          applied to the Prepetition Obligations and the Obligations pursuant to Section 7.02 no later than
          three (3) Business Days immediately following such date.

                           (vi)    Without limiting the obligation to apply proceeds of Collateral as set forth
          in Section 7.02 hereof and subject to the terms of the Intercreditor Agreement, in the event and on
          each occasion that any Net Proceeds are received by or on behalf of any Loan Party in respect of
          any Prepayment Event, the Borrower shall, unless otherwise ordered by the Bankruptcy Court,
          make a payment to the Administrative Agent in the amount of such Net Proceeds to be applied to
          the Prepetition Obligations and the Obligations pursuant to Section 7.02 no later than three (3)
          Business Days immediately following the date on which such Net Proceeds are received.

 Notwithstanding any other provisions of this Section 2.09, to the extent that the repatriation to the United
 States of any or all of the Net Proceeds of any disposition by a Subsidiary of the Borrower that is not a
 Subsidiary organized under the Laws of the United States or any state thereof (a “Foreign Subsidiary”,
 and any such disposition, a “Foreign Disposition”) or the Net Proceeds of any casualty event incurred by
 a Foreign Subsidiary (“Foreign Casualty Event”) would be prohibited or delayed by applicable Law or
 (applicable material agreements (in the case of non-wholly owned Subsidiaries), an amount equal to the
 Net Proceeds that would be so affected were the Borrower to attempt to repatriate such cash will not be
 required to be applied to repay Term Loans at the times provided in this Section 2.09 so long, but only so
 long, as the applicable local law or applicable material constituent documents would not otherwise permit
 repatriation to the United States (the Borrower hereby agrees to use all commercially reasonable efforts to
 overcome or eliminate any such restrictions on repatriation even if the Borrower does not intend to actually
 repatriate such cash, so that an amount equal to the full amount of such Net Proceeds will otherwise be
 subject to repayment under this Section 2.09), and (ii) to, the extent that the Borrower has determined in
 good faith that repatriation of any of or all the Net Proceeds of any Foreign Disposition or Foreign Casualty
 Event is prohibited or delayed pursuant to this paragraph, the Borrower shall, promptly following the
 request of the Administrative Agent (pursuant to the demand of the Required Lenders) cause such proceeds
 to be applied prepay Indebtedness outstanding under the Global DIP Facility Agreement (with a permanent
 commitment reduction for any amounts applied in excess of $250,000). In the case of each of clauses (i)
 and (ii), such nonpayment prior to the time such amounts must be prepaid shall not constitute an Event of
 Default. For the avoidance of doubt, nothing in this Section 2.09 shall require the Borrower or any
 Subsidiary to cause any amounts to be repatriated to the United States (whether or not such amounts are
 used in or excluded from the determination of the amount of any mandatory prepayments hereunder).

                 (c)     Notices. Each such notice pursuant to clause (a) of this Section shall be in the
form of a written Prepayment Notice, appropriately completed and signed by a Responsible Person of the
Borrower, or may be given by telephone to the Administrative Agent (if promptly confirmed by such a
written Prepayment Notice consistent with such telephonic notice) and must be received by the
Administrative Agent (i) in the case of prepayment of a LIBO Rate Borrowing, not later than 11:00 a.m.
(New York City time) three Business Days before the date of prepayment, (ii) in the case of prepayment of
a ABR Borrowing, not later than 11:00 a.m. (New York City time) one Business Day before the date of
prepayment or (iii) in the case of a prepayment of a Swing Line Loan, not later than 11:00 a.m. (New York
City time) on the date of prepayment. Each Prepayment Notice shall specify (x) on the prepayment date
and (y) the principal amount of each Borrowing or portion thereof to be prepaid. Promptly following
receipt of any such notice relating to a Borrowing, the Administrative Agent shall advise the applicable
Lenders of the contents thereof. Each Prepayment Notice shall be irrevocable; provided that, if a notice of
prepayment is given in connection with a conditional notice of termination of the Commitments as
contemplated by Section 2.10, then such notice of prepayment may be revoked if such notice of
termination is revoked in accordance with Section 2.10.

 73531283.28                                      58
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 220 of 692


               SECTION 2.10 Termination or Reduction of Commitments.

                  (a)       Optional. The Borrower may, upon notice to the Administrative Agent, terminate
any unused portion of the Revolving Commitments without premium or penalty; provided that (a) each
such notice shall be in writing and must be received by the Administrative Agent at least three Business
Days prior to the effective date of such termination or reduction, and shall be irrevocable (provided that a
notice of termination of the Commitments may state that such notice is conditioned upon the effectiveness
of other credit facilities, or any other event, transaction or condition, in which case such notice may be
revoked by the Borrower (by notice to the Administrative Agent on or prior to the specified effective date)
if such condition is not satisfied), (b) any such partial reduction shall be in an aggregate amount of
$1,000,000 or a larger multiple of $500,000 and (c) the Borrower shall not terminate or reduce the
Revolving Commitments if, after giving effect thereto and to any concurrent prepayments hereunder, the
sum of the total Revolving Credit Exposures would exceed the total Revolving Commitments. Unless
previously terminated, the Commitments shall automatically terminate on the Commitment Termination
Date.

                 (b)      Application of Commitment Reductions. The Administrative Agent will
promptly notify the Lenders of any termination or reduction of the Revolving Commitments pursuant to
this Section. Upon any reduction of unused Revolving Commitments, the Revolving Commitment of each
Lender shall be reduced by such Lender’s ratable share of the amount of such reduction. Upon the
effective date of the termination of all of the Commitments, the Borrower shall Cash Collateralize all L/C
Obligations, and repay the outstanding principal balance of and all accrued unpaid interest on, all
Obligations, and the Lenders shall have such other rights of the Lenders, all in accordance with Section
7.01 (as if an Event of Default had occurred and was then continuing), and the amounts paid by Borrower
shall be applied in accordance with Section 7.02.

               SECTION 2.11 Repayment of Loans.

                (a)      Revolving Loans. The Borrower shall repay to the Administrative Agent for the
ratable account of the Lenders on the Commitment Termination Date the aggregate principal amount of all
Revolving Loans outstanding on such date.

                (b)      Term Loans. The Borrower shall repay to the Administrative Agent for the
ratable account of the Lenders on the Commitment Termination Date the aggregate principal amount of all
Term Loans outstanding on such date.

                 (c)    Swing Line Loans. The Borrower shall pay to the Administrative Agent for the
account of the Swing Line Lender the then unpaid principal amount of each Swing Line Loan owing to the
Swing Line Lender upon the demand of the Swing Line Lender or the Required Lenders, or if demand for
payment is not made prior thereto, by 11:00 a.m. (New York City time) on the day that is five (5) Business
Days following the Borrowing Date of such Swing Line Loan; provided that, the Borrower shall be
deemed to be in compliance with its obligations in this sentence in the event that such Swing Line Loan is
repaid with the proceeds of a Revolving Loan in accordance with Section 2.06(c).

               SECTION 2.12 Interest.

                (a)     Interest Rates and Charges. Subject to paragraph (b) of this Section, (i) each
ABR Loan that is a Revolving Loan or a Swing Line Loan shall bear interest at a rate per annum equal to
(A) the ABR plus the Applicable Rate for Revolving Loans or (B) the ABR plus the Applicable Rate for
Swing Line Loans (as applicable); (ii) each LIBO Rate Loan that is a Revolving Loan shall bear interest at
a rate per annum equal to the Adjusted LIBO Rate for the Interest Period therefor plus the Applicable


 73531283.28                                     59
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 221 of 692


Rate, and (iii) each LIBO Rate Loan that is a Term Loan shall bear interest at a rate per annum equal to the
Adjusted LIBO Rate for the Interest Period plus the Applicable Rate.

                   (b)    Default Interest. If any amount payable by the Borrower under this Agreement
or any other Loan Document (including principal of any Loan, interest, fees and other amount) is not paid
when due, whether at stated maturity, by acceleration or otherwise, such amount shall thereafter bear
interest at a rate per annum equal to the applicable Default Rate. Upon the request of the Required
Lenders (and effective from such request), while any Event of Default exists, the Borrower shall pay
interest on the principal amount of all Loans outstanding hereunder at a rate per annum equal to the
applicable Default Rate.

                  (c)      Payment Dates. Accrued interest on each Loan shall be payable in arrears on
each Interest Payment Date applicable thereto and at such other times as may be specified herein;
provided that (i) interest accrued pursuant to paragraph (b) of this Section shall be payable on demand,
(ii) in the event of any repayment or prepayment of any Loan the Swing Line Lender (in the case of any
Swing Line Loan) or the Administrative Agent (at the direction of the Required Lenders) may, in their sole
discretion, require the Borrower to pay accrued interest on the principal amount of such Loan so repaid or
prepaid on the date of such repayment or prepayment by providing written notice to the Borrower prior to
the time of such repayment or prepayment) and (iii) in the event of any conversion of any LIBO Rate
Borrowing prior to the end of the Interest Period therefor, accrued interest on such Borrowing shall be
payable on the effective date of such conversion.

                 (d)    Interest Computation. All interest hereunder shall be computed on the basis of a
year of 360 days, except that interest computed by reference to the ABR at times when the ABR is based
on the Prime Rate shall be computed on the basis of a year of 365 days (or 366 days in a leap year), and in
each case shall be payable for the actual number of days elapsed (including the first day but excluding the
last day). The applicable ABR or Adjusted LIBO Rate shall be determined by the Administrative Agent,
and such determination shall be conclusive absent manifest error.

               SECTION 2.13 Fees.

                 (a)     Commitment Fees. In consideration of the commitment by the Lenders to
provide Term Loans and to provide Revolving Loans hereunder, the Borrower agrees to pay to the
Administrative Agent for the account of each Lender commitment fees, (i) with respect to the Revolving
Facility, in an amount equal to the product obtained by multiplying 1.5% by the maximum amount of the
Commitment of each such Lender, and (ii) with respect to the Term Facility, in an amount equal to the
product obtained by multiplying 2.5% by the maximum amount of the Commitment of each such Lender.
Commitment fees shall be due and payable in full on the Effective Date, and Borrower shall be deemed to
have requested, and the Lenders shall be deemed to have funded, Term Loans on the Effective Date, in an
aggregate amount equal to the Commitment Fees set forth in this Section 2.13(a), in order to satisfy
Borrower’s obligation under this paragraph.

                 (b)      L/C Fees. The Borrower agrees to pay to the Administrative Agent for the
account of each Lender a Letter of Credit fee equal to the Applicate Rate with respect to its participations
in each outstanding Letter of Credit (the “L/C Fee”) on the daily maximum amount then available to be
drawn under such Letter of Credit, which shall accrue at a rate per annum equal to the Applicable Rate
during the period from and including the Effective Date to but excluding the later of the Commitment
Termination Date and the date on which such Lender ceases to have any L/C Obligations. Accrued L/C
Fees shall be payable in arrears on the first Business Day of each month, commencing on the first such
date to occur after the Effective Date, and on the Commitment Termination Date; provided that any such
fees accruing after the Commitment Termination Date shall be payable on demand.


 73531283.28                                     60
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 222 of 692


                 (c)     L/C Fronting Fees. The Borrower agrees to pay to each Issuing Bank for its own
account a fronting fee with respect to each Letter of Credit issued by such Issuing Bank at a rate per annum
equal to 0.20% on the daily undrawn amount of such Letter of Credit, during the period from and including
the Effective Date to but excluding the later of the Commitment Termination Date and the date on which
such Issuing Bank ceases to have any L/C Obligations. Accrued fronting fees shall be payable in arrears
on the first Business Day of each month, commencing on the first such date to occur after the Effective
Date, and on the Commitment Termination Date; provided that any such fees accruing after the
Commitment Termination Date shall be payable on demand. In addition, the Borrower agrees to pay to
each Issuing Bank for its own account the customary issuance, presentation, amendment and other
processing fees, and other standard costs and charges, of such Issuing Bank relating to letters of credit as
from time to time in effect (including, without limitation, an amendment fee of $200 for each amendment),
which fees, costs and charges shall be payable to such Issuing Bank within five days after its written
demand therefor and are nonrefundable.

                 (d)      Administrative Agent Fee. The Borrower agrees to pay to the Administrative
Agent, for its own account, a monthly agency fee of $75,000, which fee shall be due and payable monthly
in advance (i) on the date hereof in respect of the month ending on November 30, 2018 (pro-rated for this
month) and (ii) on the first day of each month commencing after the date hereof until all Obligations and
Prepetition Obligations have been indefeasibly paid in full in cash (other than indemnities and other
contingent obligations not then due and payable), the Commitments have expired or been terminated and
all Letters of Credit have expired, been cancelled or cash collateralized (without any pending drawings).

                 (e)      Fee Computation. All fees payable under this Section shall be computed on the
basis of a year of 360 days and in each case shall be payable for the actual number of days elapsed
(including the first day but excluding the last day). Each determination by the Administrative Agent of a
fee hereunder shall be conclusive absent manifest error.

                (f)     Other Fees. The Borrower shall pay to Mercuria, in consideration of services to
be provided to the Borrower by Mercuria from time to time until the Commitment Termination Date, a
monthly fee in the amount of $1,750,000, due and payable on the Effective Date and on the first Business
Day of each month thereafter until the Commitment Termination Date.

               SECTION 2.14 Evidence of Debt.

                 (a)     Maintenance of Records. Each Lender shall maintain in accordance with its
usual practice records evidencing the indebtedness of the Borrower to such Lender resulting from each
Credit Extension made by such Lender. The Administrative Agent shall maintain the Register in
accordance with Section 9.07(c). The entries made in the records maintained pursuant to this
paragraph (a) shall be prima facie evidence absent manifest error of the existence and amounts of the
obligations recorded therein. Any failure of any Lender or the Administrative Agent to maintain such
records or make any entry therein or any error therein shall not in any manner affect the obligations of the
Borrower under this Agreement and the other Loan Documents. In the event of any conflict between the
records maintained by any Lender and the records maintained by the Administrative Agent in such matters,
the records of the Administrative Agent shall control in the absence of manifest error.

                 (b)     Promissory Notes. Promptly following the request of any Lender made through
the Administrative Agent, the Borrower shall prepare, execute and deliver to such Lender a promissory
note of the Borrower payable to such Lender (or, if requested by such Lender, to such Lender and its
registered assigns) and in a form approved by the Administrative Agent and such Lender, which shall
evidence such Lender’s Loans of a particular Class in addition to such records.



 73531283.28                                     61
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 223 of 692


               SECTION 2.15 Payments Generally; Several Obligations of Lenders.

                  (a)      Payments by Borrower. All payments to be made by the Borrower hereunder
and the other Loan Documents shall be made without condition or deduction for any counterclaim,
defense, recoupment or setoff. Except as otherwise expressly provided herein, all such payments shall be
made to the Administrative Agent, for the account of the respective Lenders to which such payment is
owed, at the Administrative Agent’s Office in immediately available funds not later than 2:00 P.M. (New
York City time) on the date specified herein. All amounts received by the Administrative Agent after such
time on any date shall be deemed to have been received on the next succeeding Business Day and any
applicable interest or fees shall continue to accrue. The Administrative Agent will promptly distribute to
each Lender its ratable share (or other applicable share as provided herein) of such payment in like funds
as received by wire transfer to such Lender’s applicable lending office (or otherwise distribute such
payment in like funds as received to the Person or Persons entitled thereto as provided herein). If any
payment to be made by the Borrower shall fall due on a day that is not a Business Day, payment shall be
made on the next succeeding Business Day and such extension of time shall be reflected in computing
interest or fees, as the case may be; provided that, if such next succeeding Business Day would fall after
the Commitment Termination Date, payment shall be made on the immediately preceding Business Day.
Except as otherwise expressly provided herein, all payments hereunder or under any other Loan Document
shall be made in Dollars.

                 (b)      Presumptions by Administrative Agent. Unless the Administrative Agent shall
have received notice from the Borrower prior to the date on which any payment is due to the
Administrative Agent for the account of the Lenders or the Issuing Banks hereunder that the Borrower will
not make such payment, the Administrative Agent may assume that the Borrower has made such payment
on such date in accordance herewith and may, in reliance upon such assumption, distribute to the Lenders
or the Issuing Banks, as the case may be, the amount due. In such event, if the Borrower has not in fact
made such payment, then each of the Lenders or the Issuing Banks, as the case may be, severally agrees to
repay to the Administrative Agent forthwith on demand the amount so distributed to such Lender or
Issuing Bank, with interest thereon, for each day from and including the date such amount is distributed to
it to but excluding the date of payment to the Administrative Agent, at the greater of the Federal Funds
Effective Rate and a rate determined by the Administrative Agent in accordance with banking industry
rules on interbank compensation.

                   (c)    Deductions by Administrative Agent. If any Lender shall fail to make any
payment required to be made by it pursuant to Section 2.04(c), 2.05(e), 2.07, 2.16 or 9.08, then the
Administrative Agent may, in its discretion and notwithstanding any contrary provision hereof, (i) apply
any amounts thereafter received by the Administrative Agent for the account of such Lender for the benefit
of the Administrative Agent, or the applicable Issuing Bank, as applicable, to satisfy such Lender’s
obligations to the Administrative Agent, and such Issuing Bank until all such unsatisfied obligations are
fully paid or (ii) hold any such amounts in a segregated account as Cash Collateral for, and for application
to, any future funding obligations of such Lender under any such Section, in the case of each of clauses (i)
and (ii) above, in any order as determined by the Administrative Agent in its discretion.

                 (d)      Several Obligations of Lenders. The obligations of the Lenders hereunder to
make Loans, to fund participations in Letters of Credit and Swing Line Loans and to make payments
pursuant to Section 9.08 are several and not joint. The failure of any Lender to make any Loan or to fund
any such participation or to make any such payment on any date required hereunder shall not relieve any
other Lender of its corresponding obligation to do so on such date, and no Lender shall be responsible for
the failure of any other Lender to so make its Loan, to purchase its participations or to make its payment
under Section 9.08.



 73531283.28                                     62
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 224 of 692


                  SECTION 2.16 Sharing of Payments. If any Lender shall, by exercising any right of
setoff or counterclaim or otherwise, obtain payment in respect of any principal of or interest on any of its
Loans or participations in Letters of Credit and Swing Line Loans or other obligations hereunder resulting
in such Lender receiving payment of a proportion of the aggregate amount of its Loans or participations in
Letters of Credit and Swing Line Loans and accrued interest thereon or other such obligations greater than
its pro rata share thereof as provided herein, then the Lender receiving such greater proportion shall
(a) notify the Administrative Agent of such fact, and (b) purchase (for cash at face value) participations in
Letters of Credit and Swing Line Loans and such other obligations of the other Lenders, or make such other
adjustments as shall be equitable, so that the benefit of all such payments shall be shared by the Lenders
ratably in accordance with the aggregate amount of principal of and accrued interest on their respective
Loans and participations in Letters of Credit and Swing Line Loans and other amounts owing them;
provided that:

                            (i)      if any such participations are purchased and all or any portion of the
           payment giving rise thereto is recovered, such participations shall be rescinded and the purchase
           price restored to the extent of such recovery, without interest; and

                            (ii)     the provisions of this paragraph shall not be construed to apply to (x) any
           payment made by the Borrower pursuant to and in accordance with the terms of this Agreement
           or any other Loan Document (including the application of funds arising from the existence of a
           Defaulting Lender), (y) the application of Cash Collateral provided for in Section 2.23, or (z) any
           payment obtained by a Lender as consideration for the assignment of or sale of a participation in
           any of its Loans or participations in Letters of Credit and Swing Line Loans to any assignee or
           participant, other than to the Borrower or any Subsidiary thereof (as to which the provisions of
           this paragraph shall apply).

  The Borrower consents to the foregoing and agrees, to the extent it may effectively do so under
  Applicable Law, that any Lender acquiring a participation pursuant to the foregoing arrangements may
  exercise against the Borrower rights of setoff and counterclaim with respect to such participation as fully
  as if such Lender were a direct creditor of the Borrower in the amount of such participation.

                  SECTION 2.17 Compensation for Losses. In the event of (a) the payment of any
principal of any LIBO Rate Loan other than on the last day of an Interest Period applicable thereto
(including as a result of an Event of Default), (b) the conversion of any LIBO Rate Loan other than on the
last day of the Interest Period applicable thereto, (c) the failure to borrow, convert, continue or prepay any
LIBO Rate Loan on the date specified in any notice delivered pursuant hereto (regardless of whether such
notice may be revoked under Section 2.10(b) and is revoked in accordance therewith), (d) the assignment
of any LIBO Rate Loan other than on the last day of the Interest Period applicable thereto as a result of a
request by the Borrower pursuant to Section 2.22(b), then, in any such event, the Borrower shall
compensate each Lender for the loss, cost and expense attributable to such event. In the case of a LIBO
Rate Loan, such loss, cost or expense to any Lender shall be deemed to include an amount determined by
such Lender to be the excess, if any, of (i) the amount of interest that would have accrued on the principal
amount of such Loan had such event not occurred, at the Adjusted LIBO Rate that would have been
applicable to such Loan, for the period from the date of such event to the last day of the then current Interest
Period therefor (or, in the case of a failure to borrow, convert or continue, for the period that would have
been the Interest Period for such Loan), over (ii) the amount of interest that would accrue on such principal
amount for such period at the interest rate that such Lender would bid were it to bid, at the commencement
of such period, for dollar deposits of a comparable amount and period from other banks in the London
interbank eurodollar market. A certificate of any Lender setting forth in reasonable detail any amount or
amounts that such Lender is entitled to receive pursuant to this Section shall be delivered to the Borrower
and shall be conclusive absent manifest error. The Borrower shall pay such Lender the amount shown as

  73531283.28                                      63
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 225 of 692


due on any such certificate within 10 days after receipt thereof, except that such payment shall be due on
the next succeeding Business Day after delivery thereof to Borrower if such certificate is (A) delivered
before 12:00 noon Eastern time, and (B) delivered in connection with what the Required Lenders expect to
be the final payment of principal and interest hereunder and the termination of the Commitments.

                 SECTION 2.18 Increased Costs.

                  (a)     Increased Costs Generally. If any Change in Law shall:

                            (i)      impose, modify or deem applicable any reserve, special deposit,
           compulsory loan, insurance charge or similar requirement against assets of, deposits with or for
           the account of, or credit extended or participated in by, any Lender (except any reserve
           requirement reflected in the Adjusted LIBO Rate) or any Issuing Bank;

                           (ii)       subject any Recipient to any Taxes (other than (A) Indemnified Taxes,
           (B) Taxes described in clauses (b) through (d) of the definition of Excluded Taxes and
           (C) Connection Income Taxes) on its loans, loan principal, letters of credit, commitments, or
           other obligations, or its deposits, reserves, other liabilities or capital attributable thereto; or

                          (iii)    impose on any Lender or any Issuing Bank or the London interbank
           market any other condition, cost or expense (other than Taxes) affecting this Agreement or Loans
           made by such Lender or any Letter of Credit or participation therein;

  and the result of any of the foregoing shall be to increase the cost to such Lender or such other Recipient
  of making, converting to, continuing or maintaining any Loan or of maintaining its obligation to make
  any such Loan, or to increase the cost to such Lender, such Issuing Bank or such other Recipient of
  participating in, issuing or maintaining any Letter of Credit (or of maintaining its obligation to participate
  in or to issue any Letter of Credit), or to reduce the amount of any sum received or receivable by such
  Lender, Issuing Bank or other Recipient hereunder (whether of principal, interest or any other amount)
  then, promptly following written request of such Lender, Issuing Bank or other Recipient, the Borrower
  will pay to such Lender, Issuing Bank or other Recipient, as the case may be, such additional amount or
  amounts as will compensate such Lender, Issuing Bank or other Recipient, as the case may be, for such
  additional costs incurred or reduction suffered.

                  (b)      Capital Requirements. If any Lender or Issuing Bank determines that any
 Change in Law affecting any Lender or Issuing Bank or any lending office of such Lender or such
 Lender’s or Issuing Bank’s holding company, if any, regarding capital or liquidity requirements, has or
 would have the effect of reducing the rate of return on such Lender’s or Issuing Bank’s capital or on the
 capital of such Lender’s or Issuing Bank’s holding company, if any, as a consequence of this Agreement,
 the Commitments of such Lender or the Loans (including Swing Line Loans) made by, or participations in
 Letters of Credit or Swing Line Loans, or the Letters of Credit issued by any Issuing Bank, to a level
 below that which such Lender or Issuing Bank or such Lender’s or Issuing Bank’s holding company could
 have achieved but for such Change in Law (taking into consideration such Lender’s or Issuing Bank’s
 policies and the policies of such Lender’s or Issuing Bank’s holding company with respect to capital
 adequacy), then from time to time, promptly after written demand, the Borrower will pay to such Lender or
 Issuing Bank, as the case may be, such additional amount or amounts as will compensate such Lender or
 Issuing Bank or such Lender’s or Issuing Bank’s holding company for any such reduction suffered.

                   (c)    Certificates for Reimbursement. A certificate of a Lender or Issuing Bank
 setting forth the amount or amounts necessary to compensate such Lender or Issuing Bank or its holding
 company, as the case may be, as specified in paragraph (a) or (b) of this Section and delivered to the


  73531283.28                                       64
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 226 of 692


Borrower, shall be conclusive absent manifest error. The Borrower shall pay such Lender or Issuing Bank,
as the case may be, the amount shown as due on any such certificate within 10 days after receipt thereof.

                 (d)     Delay in Requests. Failure or delay on the part of any Lender or Issuing Bank to
demand compensation pursuant to this Section shall not constitute a waiver of such Lender’s or Issuing
Bank’s right to demand such compensation; provided that the Borrower shall not be required to
compensate a Lender or Issuing Bank pursuant to this Section for any increased costs incurred or
reductions suffered more than nine months prior to the date that such Lender or Issuing Bank, as the case
may be, notifies the Borrower of the Change in Law giving rise to such increased costs or reductions, and
of such Lender’s or Issuing Bank’s intention to claim compensation therefor (except that, if the Change in
Law giving rise to such increased costs or reductions is retroactive, then the nine-month period referred to
above shall be extended to include the period of retroactive effect thereof).

              (e)      Defined Terms. For purposes of this Section, the term “Lender” includes the
Swing Line Lender and the term “Loan” includes each Swing Line Loan.

               SECTION 2.19 Taxes.

              (a)     Defined Terms. For purposes of this Section, the term “Lender” includes the
Swing Line Lender and each Issuing Bank and the term “Applicable Law” includes FATCA.

                 (b)     Payments Free of Taxes. Any and all payments by or on account of any
obligation of the Borrower under any Loan Document shall be made without deduction or withholding for
any Taxes, except as required by Applicable Law. If any Applicable Law (as determined in the good faith
discretion of an applicable Withholding Agent) requires the deduction or withholding of any Tax from any
such payment by a Withholding Agent, then the applicable Withholding Agent shall be entitled to make
such deduction or withholding and shall timely pay the full amount deducted or withheld to the relevant
Governmental Authority in accordance with Applicable Law and, if such Tax is an Indemnified Tax, then
the sum payable by the Borrower shall be increased as necessary so that after such deduction or
withholding has been made (including such deductions and withholdings applicable to additional sums
payable under this Section) the applicable Recipient receives an amount equal to the sum it would have
received had no such deduction or withholding been made.

               (c)     Payment of Other Taxes by Borrower. The Borrower shall timely pay to the
relevant Governmental Authority in accordance with Applicable Law, or at the option of the
Administrative Agent timely reimburse it for the payment of, any Other Taxes.

                  (d)     Indemnification by Borrower. The Borrower shall indemnify each Recipient,
within 10 days after demand therefor, for the full amount of any Indemnified Taxes (including Indemnified
Taxes imposed or asserted on or attributable to amounts payable under this Section) payable or paid by
such Recipient or required to be withheld or deducted from a payment to such Recipient and any
reasonable out-of-pocket expenses arising therefrom or with respect thereto, whether or not such
Indemnified Taxes were correctly or legally imposed or asserted by the relevant Governmental Authority.
A certificate as to the amount of such payment or liability delivered to the Borrower by a Lender (with a
copy to the Administrative Agent), or by the Administrative Agent on its own behalf or on behalf of a
Lender, shall be conclusive absent manifest error.

                (e)      Indemnification by the Lenders. Each Lender shall severally indemnify the
Administrative Agent, within 10 days after demand therefor, for (i) any Indemnified Taxes attributable to
such Lender (but only to the extent that the Borrower has not already indemnified the Administrative
Agent for such Indemnified Taxes and without limiting the obligation of the Borrower to do so), (ii) any
Taxes attributable to such Lender’s failure to comply with the provisions of Section 9.07(d) relating to the

 73531283.28                                     65
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 227 of 692


maintenance of a Participant Register and (iii) any Excluded Taxes attributable to such Lender, in each
case, that are payable or paid by the Administrative Agent in connection with any Loan Document, and
any reasonable expenses arising therefrom or with respect thereto, whether or not such Taxes were
correctly or legally imposed or asserted by the relevant Governmental Authority. A certificate as to the
amount of such payment or liability delivered to any Lender by the Administrative Agent shall be
conclusive absent manifest error. Each Lender hereby authorizes the Administrative Agent to set off and
apply any and all amounts at any time owing to such Lender under any Loan Document or otherwise
payable by the Administrative Agent to the Lender from any other source against any amount due to the
Administrative Agent under this paragraph (e).

                 (f)     Evidence of Payments. As soon as practicable after any payment of Taxes by the
Borrower to a Governmental Authority pursuant to this Section, the Borrower shall deliver to the
Administrative Agent the original or a certified copy of a receipt issued by such Governmental Authority
evidencing such payment, a copy of the return reporting such payment or other evidence of such payment
reasonably satisfactory to the Administrative Agent.

                 (g)     Status of Lenders. (i) Any Lender that is entitled to an exemption from or
reduction of withholding Tax with respect to payments made under any Loan Document shall deliver to
the Borrower (or, when applicable, any Guarantor) and the Administrative Agent, at the time or times
reasonably requested by the Borrower (or, when applicable, any Guarantor) or the Administrative Agent,
such properly completed and executed documentation reasonably requested by the Borrower (or, when
applicable, any Guarantor) or the Administrative Agent as will permit such payments to be made without
withholding or at a reduced rate of withholding. In addition, any Lender, if reasonably requested by the
Borrower or the Administrative Agent, shall deliver such other documentation prescribed by Applicable
Law or reasonably requested by the Borrower or the Administrative Agent as will enable the Borrower or
the Administrative Agent to determine whether or not such Lender is subject to backup withholding or
information reporting requirements. Notwithstanding anything to the contrary in the preceding two
sentences, the completion, execution and submission of such documentation (other than such
documentation set forth in paragraphs (g)(ii)(A), (ii)(B) and (ii)(D) of this Section) shall not be required if
in the Lender’s reasonable judgment such completion, execution or submission would subject such Lender
to any material unreimbursed cost or expense or would materially prejudice the legal or commercial
position of such Lender.

                          (ii)    Without limiting the generality of the foregoing, in the event that the
          Borrower is a U.S. Person,

                                    (A)    any Lender that is a U.S. Person shall deliver to the Borrower
                  and the Administrative Agent on or about the date on which such Lender becomes a
                  Lender under this Agreement (and from time to time thereafter upon the reasonable
                  request of the Borrower or the Administrative Agent), executed copies of IRS Form W-9
                  certifying that such Lender is exempt from U.S. federal backup withholding tax;

                                    (B)    any Foreign Lender shall, to the extent it is legally entitled to do
                  so, deliver to the Borrower and the Administrative Agent (in such number of copies as
                  shall be requested by the recipient) on or about the date on which such Foreign Lender
                  becomes a Lender under this Agreement (and from time to time thereafter upon the
                  reasonable request of the Borrower or the Administrative Agent), whichever of the
                  following is applicable:

                                          a.       in the case of a Foreign Lender claiming the benefits of
                          an income tax treaty to which the United States is a party (x) with respect to
                          payments of interest under any Loan Document, executed copies of IRS

 73531283.28                                      66
18-13374-mew      Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                          Pg 228 of 692


                       Form W-8BEN or IRS Form W-8BEN-E establishing an exemption from, or
                       reduction of, U.S. federal withholding Tax pursuant to the “interest” article of
                       such tax treaty and (y) with respect to any other applicable payments under any
                       Loan Document, IRS Form W-8BEN or IRS Form W-8BEN-E establishing an
                       exemption from, or reduction of, U.S. federal withholding Tax pursuant to the
                       “business profits” or “other income” article of such tax treaty;

                                        b.       executed copies of IRS Form W-8ECI;

                                         c.       in the case of a Foreign Lender claiming the benefits of
                       the exemption for portfolio interest under Section 881(c) of the Code, (x) a
                       certificate substantially in the form of Exhibit F-1 to the effect that such Foreign
                       Lender is not a “bank” within the meaning of Section 881(c)(3)(A) of the Code, a
                       “10 percent shareholder” of the Borrower within the meaning of
                       Section 871(h)(3)(B) of the Code, or a “controlled foreign corporation” related to
                       the Borrower as described in Section 881(c)(3)(C) of the Code (a “U.S. Tax
                       Compliance Certificate”) and (y) executed copies of IRS Form W-8BEN or IRS
                       Form W-8BEN-E; or

                                         d.       to the extent a Foreign Lender is not the beneficial
                       owner, executed copies of IRS Form W-8IMY, accompanied by IRS Form W-
                       8ECI, IRS Form W-8BEN, IRS Form W-8BEN-E, a U.S. Tax Compliance
                       Certificate substantially in the form of Exhibit F-2 or Exhibit F-3, IRS Form W-
                       9, and/or other certification documents from each beneficial owner, as applicable;
                       provided that if the Foreign Lender is a partnership and one or more direct or
                       indirect partners of such Foreign Lender are claiming the portfolio interest
                       exemption, such Foreign Lender may provide a U.S. Tax Compliance Certificate
                       substantially in the form of Exhibit F-4 on behalf of each such direct and indirect
                       partner;

                                 (C)    any Foreign Lender shall, to the extent it is legally entitled to do
               so, deliver to the Borrower and the Administrative Agent (in such number of copies as
               shall be requested by the recipient) on or about the date on which such Foreign Lender
               becomes a Lender under this Agreement (and from time to time thereafter upon the
               reasonable request of the Borrower or the Administrative Agent), executed copies of any
               other form prescribed by Applicable Law as a basis for claiming exemption from or a
               reduction in U.S. federal withholding Tax, duly completed, together with such
               supplementary documentation as may be prescribed by Applicable Law to permit the
               Borrower or the Administrative Agent to determine the withholding or deduction
               required to be made; and

                                (D)     if a payment made to a Lender under any Loan Document would
               be subject to U.S. federal withholding Tax imposed by FATCA if such Lender were to
               fail to comply with the applicable reporting requirements of FATCA (including those
               contained in Section 1471(b) or 1472(b) of the Code, as applicable), such Lender shall
               deliver to the Borrower and the Administrative Agent at the time or times prescribed by
               law and at such time or times reasonably requested by the Borrower or the Administrative
               Agent such documentation prescribed by Applicable Law (including as prescribed by
               Section 1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably
               requested by the Borrower or the Administrative Agent as may be necessary for the
               Borrower and the Administrative Agent to comply with their obligations under FATCA

 73531283.28                                   67
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 229 of 692


                    and to determine that such Lender has complied with such Lender’s obligations under
                    FATCA or to determine the amount, if any, to deduct and withhold from such payment.
                    Solely for purposes of this clause (D), “FATCA” shall include any amendments made to
                    FATCA after the date of this Agreement.

                 Each Lender agrees that if any form or certification it previously delivered expires or
  becomes obsolete or inaccurate in any respect, it shall update such form or certification or promptly notify
  the Borrower and the Administrative Agent in writing of its legal inability to do so.

                               (iii)   On or prior to the date the Administrative Agent becomes a party to this
           Agreement, the Administrative Agent shall provide the Borrower with two duly completed copies
           of, if it is a U.S. Person, Internal Revenue Service Form W-9 certifying that it is exempt from U.S.
           federal backup withholding, or, if it is not a U.S. Person, (1) Internal Revenue Service Form W-
           8ECI with respect to payments to be received by it as a beneficial owner and (2) a U.S. branch
           withholding certificate on IRS Form W-8IMY or any successor thereto evidencing its agreement
           with the Borrower to be treated as a U.S. Person for U.S. federal withholding purposes with respect
           to payments to be received by it on behalf of the Lenders. At any time thereafter, the Agent shall,
           upon the reasonable request of the Borrower, provide updated documentation previously provided
           (or a successor form thereto) when any documentation previously delivered has expired or become
           obsolete or invalid.

                   (h)      Treatment of Certain Refunds. If any party determines, in its sole discretion
 exercised in good faith, that it has received a refund of any Taxes as to which it has been indemnified
 pursuant to this Section (including by the payment of additional amounts pursuant to this Section), it shall
 pay to the indemnifying party an amount equal to such refund (but only to the extent of indemnity
 payments made under this Section with respect to the Taxes giving rise to such refund), net of all
 reasonable out-of-pocket expenses (including Taxes) of such indemnified party and without interest (other
 than any interest paid by the relevant Governmental Authority with respect to such refund). Such
 indemnifying party, upon the request of such indemnified party, shall repay to such indemnified party the
 amount paid over pursuant to this paragraph (h) (plus any penalties, interest or other charges imposed by
 the relevant Governmental Authority) in the event that such indemnified party is required to repay such
 refund to such Governmental Authority. Notwithstanding anything to the contrary in this paragraph (h), in
 no event will the indemnified party be required to pay any amount to an indemnifying party pursuant to
 this paragraph (h) the payment of which would place the indemnified party in a less favorable net after-
 Tax position than the indemnified party would have been in if the Tax subject to indemnification and
 giving rise to such refund had not been deducted, withheld or otherwise imposed and the indemnification
 payments or additional amounts with respect to such Tax had never been paid. This paragraph shall not be
 construed to require any indemnified party to make available its Tax returns (or any other information
 relating to its Taxes that it deems confidential) to the indemnifying party or any other Person.

                 (i)     Survival. Each party’s obligations under this Section shall survive the resignation
 or replacement of the Administrative Agent or any assignment of rights by, or the replacement of, a
 Lender, the termination of the Commitments and the repayment, satisfaction or discharge of all obligations
 under any Loan Document.

                   SECTION 2.20 Inability to Determine Rates. If, on or prior to the first day of any
Interest Period:

                 (a)     the Administrative Agent determines (which determination shall be conclusive
 and binding on the Borrower) that, by reason of circumstances affecting the London interbank eurodollar
 market, the “LIBO Rate” cannot be determined pursuant to the definition thereof, or


  73531283.28                                      68
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 230 of 692


                  (b)      the Required Lenders determine that for any reason in connection with any
 request for a LIBO Rate Loan or a conversion thereto or a continuation thereof that (A) Dollar deposits are
 not being offered to banks in the London interbank eurodollar market for the applicable amount and
 Interest Period of such LIBO Rate Loan, or (B) the LIBO Rate for any requested Interest Period with
 respect to a proposed LIBO Rate Loan does not adequately and fairly reflect the cost to such Lenders of
 funding such Loan,

  the Administrative Agent will promptly so notify the Borrower and each Lender. Thereafter, the
  obligation of the Lenders to make or maintain LIBO Rate Loans shall be suspended until the
  Administrative Agent (upon the instruction of the Required Lenders) revokes such notice. Upon receipt
  of such notice, the Borrower may revoke any pending request for a borrowing of, conversion to or
  continuation of LIBO Rate Loans or, failing that, will be deemed to have converted such request into a
  request for ABR Loans in the amount specified therein.

                  SECTION 2.21 Illegality. If any Lender determines that any Law has made it unlawful, or
that any Governmental Authority has asserted that it is unlawful, for any Lender or its applicable lending
office to make, maintain, or fund Loans whose interest is determined by reference to the LIBO Rate, or to
determine or charge interest rates based upon the LIBO Rate, or any Governmental Authority has imposed
material restrictions on the authority of such Lender to purchase or sell, or to take deposits of, Dollars in the
London interbank market, then, upon written notice thereof by such Lender to the Borrower (through the
Administrative Agent), (a) any obligation of such Lender to make or continue LIBO Rate Loans or to
convert ABR Loans to LIBO Rate Loans shall be suspended, and (b) if such notice asserts the illegality of
such Lender making or maintaining ABR Loans the interest rate on which is determined by reference to the
LIBO Rate component of the ABR, the interest rate on which ABR Loans of such Lender shall, if necessary
to avoid such illegality, be determined by the Administrative Agent without reference to the LIBO Rate
component of the ABR, in each case until such Lender notifies the Administrative Agent and the Borrower
that the circumstances giving rise to such determination no longer exist. Upon receipt of such notice, (i) the
Borrower shall, promptly following written demand from such Lender (with a copy to the Administrative
Agent), prepay or, if applicable, convert all LIBO Rate Loans of such Lender to ABR Loans (the interest
rate on which ABR Loans of such Lender shall, if necessary to avoid such illegality, be determined by the
Administrative Agent without reference to the LIBO Rate component of the ABR), either on the last day of
the Interest Period therefor, if such Lender may lawfully continue to maintain such LIBO Rate Loans to
such day, or immediately, if such Lender may not lawfully continue to maintain such LIBO Rate Loans and
(ii) if such notice asserts the illegality of such Lender determining or charging interest rates based upon the
LIBO Rate, the Administrative Agent shall during the period of such suspension compute the ABR
applicable to such Lender without reference to the LIBO Rate component thereof until the Administrative
Agent is advised in writing by such Lender that it is no longer illegal for such Lender to determine or
charge interest rates based upon the LIBO Rate. Upon any such prepayment or conversion, the Borrower
shall also pay accrued interest on the amount so prepaid or converted, together with any additional amounts
required pursuant to Section 2.17.

                 SECTION 2.22 Mitigation Obligations; Replacement of Lenders.

                  (a)     Designation of a Different Lending Office. If any Lender requests
 compensation under Section 2.18, or requires the Borrower to pay any Indemnified Taxes or additional
 amounts to any Lender or any Governmental Authority for the account of any Lender pursuant to
 Sections 2.18 or 2.19, then such Lender shall (at the request of the Borrower) use reasonable efforts to
 designate a different lending office for funding or booking its Loans hereunder or to assign its rights and
 obligations hereunder to another of its offices, branches or affiliates, if, in the judgment of such Lender,
 such designation or assignment (i) would eliminate or reduce amounts payable pursuant to Section 2.18
 or 2.19, as the case may be, in the future, and (ii) would not subject such Lender to any unreimbursed cost

  73531283.28                                       69
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 231 of 692


or expense and would not otherwise be disadvantageous to such Lender. The Borrower hereby agrees to
pay all reasonable out-of-pocket costs and expenses incurred by any Lender in connection with any such
designation or assignment.

                   (b)      Replacement of Lenders. If any Lender requests compensation under
Section 2.18, or if the Borrower is required to pay any Indemnified Taxes or additional amounts to any
Lender or any Governmental Authority for the account of any Lender pursuant to Section 2.19 and, in
each case, such Lender has declined or is unable to designate a different lending office in accordance with
paragraph (a) of this Section, or if any Lender is a Defaulting Lender or a Non-Consenting Lender, then
the Borrower may, at its sole expense and effort, (i) terminate the Commitments of such Non-Consenting
Lender and repay on a non-pro rata basis such Loans as were made thereby, or (ii) upon notice to such
Lender and the Administrative Agent, require such Lender to assign and delegate, without recourse (in
accordance with and subject to the restrictions contained in, and consents required by, Section 9.07), all of
its interests, rights (other than its existing rights to payments pursuant to Section 2.18 or Section 2.19) and
obligations under this Agreement and the related Loan Documents to an Eligible Assignee that shall
assume such obligations (which assignee may be another Lender, if a Lender accepts such assignment);
provided that:

                          (i)      the assignment fee (if any) specified in Section 9.07 shall have been
          paid;

                           (ii)    such Lender shall have received payment of an amount equal to the
          outstanding principal of its Loans and participations in Letters of Credit and Swing Line Loans,
          accrued interest thereon, accrued fees and all other amounts payable to it hereunder and under the
          other Loan Documents (including any amounts under Section 2.17) from the assignee (to the
          extent of such outstanding principal and accrued interest and fees) or the Borrower (in the case of
          all other amounts);

                          (iii)    in the case of any such assignment resulting from a claim for
          compensation under Section 2.18 or payments required to be made pursuant to Section 2.19, such
          assignment will result in a reduction in such compensation or payments thereafter;

                          (iv)     such assignment does not violate any material Applicable Law; and

                         (v)     in the case of any assignment resulting from a Lender becoming a Non-
          Consenting Lender, the applicable assignee shall have consented to the applicable amendment,
          waiver or consent.

                   A Lender shall not be required to make any such assignment or delegation if, prior
 thereto, as a result of a waiver by such Lender or otherwise, the circumstances entitling the Borrower to
 require such assignment and delegation cease to apply.

                   Notwithstanding anything in this Section to the contrary, (i) any Lender that acts as an
 Issuing Bank may not be replaced hereunder at any time it has any Letter of Credit outstanding hereunder
 unless arrangements satisfactory to such Lender (including the furnishing of a backstop standby letter of
 credit in form and substance, and issued by an issuer, reasonably satisfactory to such Issuing Bank or the
 depositing of Cash Collateral into a cash collateral account in amounts and pursuant to arrangements
 reasonably satisfactory to such Issuing Bank) have been made with respect to such outstanding Letter of
 Credit and (ii) a Lender that acts as the Administrative Agent may not be replaced hereunder except in
 accordance with the terms of Section 8.06.




 73531283.28                                      70
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 232 of 692


                SECTION 2.23 Cash Collateral.

                  (a)      Obligation to Cash Collateralize. At any time that there shall exist a Defaulting
 Lender, within one Business Day following the written request of the Administrative Agent or any Issuing
 Bank (with a copy to the Administrative Agent), the Borrower shall Cash Collateralize the Issuing Banks’
 Fronting Exposure with respect to such Defaulting Lender (determined after giving effect to
 Section 2.25(a)(iv) and any Cash Collateral provided by such Defaulting Lender) in an amount not less
 than the Minimum Collateral Amount provided that if any portion of a Defaulting Lender’s pro rata share
 of any Letter of Credit is Cash Collateralized by the Borrower or reallocated to the other Revolving
 Lenders pursuant to Section 2.25, then the Borrower shall not be required to pay a Letter of Credit fee to
 such Defaulting Lender with respect to such portion of such Defaulting Lender’s pro rata share so long as
 it is Cash Collateralized by the Borrower or reallocated to the other Revolving Lenders.

                  (b)      Grant of Security Interest. The Borrower, and to the extent provided by any
 Defaulting Lender, such Defaulting Lender, hereby grants to the Administrative Agent, for the benefit of
 the Issuing Banks, and agrees to maintain, a first priority security interest in all such Cash Collateral as
 security for the Obligations and the Defaulting Lender’s obligation to fund participations in respect of
 Letters of Credit and Swing Line Loans, to be applied pursuant to clause (c) below. If at any time the
 Administrative Agent determines that Cash Collateral is subject to any right or claim of any Person other
 than the Administrative Agent and the Issuing Banks as herein provided, or that the total amount of such
 Cash Collateral is less than the Minimum Collateral Amount, the Borrower will, promptly following
 written demand by the Administrative Agent, pay or provide to the Administrative Agent additional Cash
 Collateral in an amount sufficient to eliminate such deficiency (after giving effect to any Cash Collateral
 provided by the Defaulting Lender).

                  (c)      Application. Notwithstanding anything to the contrary contained in this
 Agreement, Cash Collateral provided under this Section or Section 2.25 in respect of Letters of Credit
 shall be applied to the satisfaction of the Defaulting Lender’s obligation to fund participations in respect of
 Letters of Credit and Swing Line Loans (including, as to Cash Collateral provided by a Defaulting Lender,
 any interest accrued on such obligation) for which the Cash Collateral was so provided, and thereafter shall
 be applied in the order provided in Section 7.02.

                 (d)      Termination of Requirement. Cash Collateral (or the appropriate portion
 thereof) provided to reduce any Issuing Bank’s Fronting Exposure shall no longer be required to be held as
 Cash Collateral pursuant to this Section following (i) the elimination of the applicable Fronting Exposure
 (including by the termination of Defaulting Lender status of the applicable Lender), or (ii) the
 determination by the Administrative Agent and each Issuing Bank that there exists excess Cash Collateral;
 provided that, subject to Section 2.25 the Person providing Cash Collateral and each Issuing Bank may
 agree that Cash Collateral shall be held to support future anticipated Fronting Exposure or other
 obligations and provided further that to the extent that such Cash Collateral was provided by the
 Borrower, such Cash Collateral shall remain subject to the security interest granted pursuant to the Loan
 Documents.

                 SECTION 2.24 Reserves. Notwithstanding anything to the contrary, the Administrative
Agent (acting at the direction of the Required Lenders) may at any time and from time to time after two (2)
Business Days’ prior written notice, establish and increase or decrease the Availability Reserve in the
exercise of its Permitted Discretion. The Availability Reserve shall not duplicate eligibility criteria
contained in the definition of “Eligible Accounts Receivable – Tier 1” or “Eligible Accounts Receivable –
Tier 2.”




  73531283.28                                      71
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 233 of 692


                SECTION 2.25 Defaulting Lenders.

                 (a)    Defaulting Lender Adjustments. Notwithstanding anything to the contrary
contained in this Agreement, if any Lender becomes a Defaulting Lender, then, until such time as such
Lender is no longer a Defaulting Lender, to the extent permitted by Applicable Law:

                            (i)       Waivers and Amendments. Such Defaulting Lender’s right to approve
          or disapprove any amendment, waiver or consent with respect to this Agreement shall be
          restricted as set forth in the definition of Required Lenders and Section 9.01(a).

                             (ii)   Defaulting Lender Waterfall. Any payment of principal, interest, fees
          or other amounts received by the Administrative Agent for the account of such Defaulting Lender
          (whether voluntary or mandatory, at maturity, pursuant to Article VII or otherwise) or received
          by the Administrative Agent from a Defaulting Lender pursuant to Section 9.08 shall be applied
          at such time or times as may be determined by the Administrative Agent as follows: first, to the
          payment of any amounts owing by such Defaulting Lender to any Agent under the Loan
          Documents; second, to the payment on a pro rata basis of any amounts owing by such Defaulting
          Lender to the Swing Line Lender or any Issuing Bank; third, to Cash Collateralize the Issuing
          Banks’ Fronting Exposure with respect to such Defaulting Lender in accordance with
          Section 2.23; fourth, as the Borrower may request (so long as no Default or Event of Default
          exists), to the funding of any Loan in respect of which such Defaulting Lender has failed to fund
          its portion thereof as required by this Agreement, as determined by the Administrative Agent;
          fifth, if so determined by the Administrative Agent and the Borrower, to be held in a deposit
          account and released pro rata in order to (x) satisfy such Defaulting Lender’s potential future
          funding obligations with respect to Loans under this Agreement and (y) Cash Collateralize the
          Issuing Banks’ future Fronting Exposure with respect to such Defaulting Lender with respect to
          future Letters of Credit issued under this Agreement, in accordance with Section 2.23; sixth, to
          the payment of any amounts owing to the Swing Line Lender or the Issuing Banks or the other
          Lenders as a result of any judgment of a court of competent jurisdiction obtained by the Swing
          Line Lender, the Issuing Banks or the other Lenders against such Defaulting Lender as a result of
          such Defaulting Lender’s breach of its obligations under this Agreement; seventh, so long as no
          Default or Event of Default exists, to the payment of any amounts owing to the Borrower as a
          result of any judgment of a court of competent jurisdiction obtained by the Borrower against such
          Defaulting Lender as a result of such Defaulting Lender's breach of its obligations under this
          Agreement; and eighth, to such Defaulting Lender or as otherwise directed by a court of
          competent jurisdiction; provided that if (x) such payment is a payment of the principal amount of
          any Loans or L/C Disbursements in respect of which such Defaulting Lender has not fully funded
          its appropriate share, and (y) such Loans were made or the related Letters of Credit were issued at
          a time when the conditions set forth in Section 4.02 were satisfied or waived, such payment shall
          be applied solely to pay the Loans of, and L/C Disbursements owed to, all Non-Defaulting
          Lenders on a pro rata basis prior to being applied to the payment of any Loans of, or L/C
          Disbursements owed to, such Defaulting Lender until such time as all Loans and funded and
          unfunded participations in Letters of Credit and Swing Line Loans are held by the Lenders pro
          rata in accordance with the Commitments under the applicable Facilities without giving effect to
          clause (iv) below. Any payments, prepayments or other amounts paid or payable to a Defaulting
          Lender that are applied (or held) to pay amounts owed by a Defaulting Lender or to post Cash
          Collateral pursuant to this Section shall be deemed paid to and redirected by such Defaulting
          Lender, and each Lender irrevocably consents hereto.

                          (iii)    Commitment and L/C Fees. (A) No Defaulting Lender shall be entitled
          to receive any unused line fee for any period during which that Lender is a Defaulting Lender


 73531283.28                                      72
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 234 of 692


          (and the Borrower shall not be required to pay any such fee that otherwise would have been
          required to have been paid to that Defaulting Lender).

                                  (B)     Each Defaulting Lender shall be entitled to receive L/C Fees for
                  any period during which that Lender is a Defaulting Lender only to the extent allocable to
                  its Applicable Percentage of the stated amount of Letters of Credit for which it has
                  provided Cash Collateral pursuant to Section 2.23.

                                   (C)     With respect to any L/C Fee not required to be paid to any
                  Defaulting Lender pursuant to clause (A) or (B) above, the Borrower shall (x) pay to each
                  Non-Defaulting Lender that portion of any such fee otherwise payable to such Defaulting
                  Lender with respect to such Defaulting Lender’s participation in L/C Obligations and
                  Swing Line Loans that has been reallocated to such Non-Defaulting Lender pursuant to
                  clause (iv) below, (y) pay to each Issuing Bank or Swing Line Lender, as applicable, the
                  amount of any such fee otherwise payable to such Defaulting Lender to the extent
                  allocable to such Issuing Bank’s or Swing Line Lender’s Fronting Exposure to such
                  Defaulting Lender, and (z) not be required to pay the remaining amount of any such fee.

                           (iv)     Reallocation of Participations to Reduce Fronting Exposure. All or
          any part of such Defaulting Lender’s participation in L/C Obligations and Swing Line Loans shall
          be reallocated among the Non-Defaulting Lenders in accordance with their respective Applicable
          Percentages (calculated without regard to such Defaulting Lender’s Revolving Commitment) but
          only to the extent that such reallocation does not cause the aggregate Revolving Credit Exposure
          of any Non-Defaulting Lender to exceed such Non-Defaulting Lender’s Revolving Commitment.
          Subject to Section 9.17, no reallocation hereunder shall constitute a waiver or release of any
          claim of any party hereunder against a Defaulting Lender arising from that Lender having become
          a Defaulting Lender, including any claim of a Non-Defaulting Lender as a result of such Non-
          Defaulting Lender’s increased exposure following such reallocation.

                           (v)     Cash Collateral, If the reallocation described in clause (iv) above cannot,
          or can only partially, be effected, the Borrower shall, without prejudice to any right or remedy
          available to it hereunder or under law, (x) first, prepay Swing Line Loans and (y) second, Cash
          Collateralize the Issuing Banks’ Fronting Exposure in accordance with the procedures set forth in
          Section 2.23.

                 (b)      Defaulting Lender Cure. If the Borrower, the Administrative Agent, the Swing
Line Lender and the Issuing Banks agree in writing that a Lender is no longer a Defaulting Lender, the
Administrative Agent will so notify the parties hereto, whereupon as of the effective date specified in such
notice and subject to any conditions set forth therein (which may include arrangements with respect to any
Cash Collateral), that Lender will, to the extent applicable, purchase at par that portion of outstanding
Loans of the other Lenders or take such other actions as the Administrative Agent may determine to be
necessary to cause the Loans and funded and unfunded participations in Letters of Credit and Swing Line
Loans to be held pro rata by the Lenders in accordance with the Commitments under the applicable
Facility (without giving effect to paragraph (a)(iv) above), whereupon, such Lender will cease to be a
Defaulting Lender; provided that no adjustments will be made retroactively with respect to fees accrued or
payments made by or on behalf of the Borrower while that Lender was a Defaulting Lender; and provided,
further, that except to the extent otherwise expressly agreed by the affected parties, no change hereunder
from Defaulting Lender to Lender will constitute a waiver or release of any claim of any party hereunder
arising from that Lender’s having been a Defaulting Lender.

                (c)    Letters of Credit; Swing Line Loans. So long as any Lender is a Defaulting
Lender, no Issuing Bank shall be required to issue, extend, increase, reinstate or renew any Letter of Credit

 73531283.28                                      73
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 235 of 692


and the Swing Line Lender shall not be required to make a Swing Line Loan, in each case, unless it is
satisfied that it will have no Fronting Exposure after giving effect thereto.

                 (d)     Termination of Defaulting Lender. The Borrower may terminate the unused
amount of the Commitment or prepay on a non pro rata basis any outstanding Loans of any Lender that is a
Defaulting Lender upon not less than three Business Days’ prior notice to the Administrative Agent (which
shall promptly notify the Lenders thereof), and in such event the provisions of Section 2.25(a)(ii) will
apply to all amounts thereafter paid by the Borrower for the account of such Defaulting Lender under this
Agreement (whether on account of principal, interest, fees, indemnity or other amounts); provided that
(i) no Event of Default shall have occurred and be continuing, and (ii) such termination shall not be
deemed to be a waiver or release of any claim the Borrower, the Administrative Agent, the Swing Line
Lender, any Issuing Bank or any other Lender may have against such Defaulting Lender.

                SECTION 2.26 Priority and Liens.

                 (a)      The Obligations are, subject to the Carve Out and the Orders:

                            (i)     pursuant to section 364(c)(1) of the Bankruptcy Code, entitled (without
          the need to file a proof of claim) to a joint and several superpriority claim against the Debtors, with
          priority over any and all other obligations, liabilities, and indebtedness against the Debtors, now
          existing or hereafter arising, of any kind whatsoever, including on the Litigation Claims and all
          proceeds thereof (but subject to the Final DIP Order in the case of Litigation Claims), and including
          any and all administrative expenses or other claims of the kind specified in or arising under sections
          105, 326, 328, 330, 331, 503(b), 506(c) (following entry of the Final DIP Order), 507, 546(c), 547,
          548, 552(b), 726, 1113, or 1114 of the Bankruptcy Code, whether or not such expenses or claims
          may become secured by a judgment lien or other non-consensual lien, levy, or attachment, whether
          now in existence or hereafter incurred by the Debtors, and shall at all times be senior to the rights
          of the Debtors, each Debtor's estate and any successor trustee, estate representative, or any creditor,
          in any of the Cases or any subsequent cases or proceedings under the Bankruptcy Code (the
          “Lender Superpriority Claim”), and the Lender Superpriority Claim shall have recourse to and
          be payable from all prepetition and postpetition assets of the Debtors, including, but not limited to,
          the Debtors’ Collateral; provided, such Lender Superpriority Claim in respect of the Revolving
          Commitments and the Term Loans shall be pari passu, but any payments made on such claims
          pursuant hereto shall be distributed in accordance with Section 7.02;

                           (ii)      pursuant to section 364(c)(2) of the Bankruptcy Code, secured by a
          perfected first-priority lien on the Debtors’ Collateral, which shall include (1) all equity interests
          of Subsidiaries of the Parent owned by a Loan Party, and (2) all Collateral previously pledged to
          secure the Prepetition Obligations and Global Facility Collateral securing the Global Prepetition
          Loan Obligations under the Global Prepetition Facility to the extent such property is not otherwise
          subject to a Lien;

                           (iii)  pursuant to section 364(c)(3) of the Bankruptcy Code, secured by a
          perfected Lien on all Collateral of the Debtors to the extent that such assets are subject to valid,
          perfected and non-avoidable liens in favor of third parties in existence at the time of the
          commencement of the Cases or to valid Liens in existence at the time of such commencement that
          are perfected subsequent to such commencement as permitted by Section 546(b) of the Bankruptcy
          Code (other than property that is subject to the existing Liens that secure the Prepetition Obligations
          and Global Facility Obligations under the Global Prepetition Facility, which Liens shall be primed
          by the Liens securing the Obligations), subject as to priority to such Liens in favor of such third
          parties; and


 73531283.28                                       74
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 236 of 692


                            (iv)     pursuant to section 364(d) of the Bankruptcy Code, secured by a perfected
          first priority, senior priming lien on all Collateral of the Debtors (other than Liens on the Global
          Facility Collateral), including all capital stock of Subsidiaries of the Parent owned by a Loan Party
          and, to the extent that such assets are subject to valid, perfected and non- avoidable liens in favor
          of third parties as of the commencement of the Cases, including all accounts receivable, inventory,
          real and personal property, plant and equipment of the Debtors that secure the Prepetition
          Obligations.

                 (b)      The priorities set forth in the foregoing Section 2.26(a) are subject, in each case,
only to the Carve Out. All of the Liens and security interests described therein shall be effective and
perfected under U.S. Laws as of the date that the Bankruptcy Court enters the Interim DIP Order, without
the necessity of the execution of mortgages, security agreements, pledge agreements, financing statements,
or other agreements or documents. The Debtors shall, at Debtors’ expense, execute and deliver to the
Collateral Agent (for recordation or filing, as appropriate) Security Documents, and be authorized pursuant
to the Orders to file such financing statements and other instruments and documents, as shall be advisable
(as reasonably determined by Administrative Agent, acting at the direction of the Required Lenders) to
evidence and secure the Obligations in each case as contemplated herein.

                 (c)     The Obligations are further secured by perfected Liens on the Collateral, including
without limitation the Litigation Claims (subject to the Final DIP Order), pursuant to the Security
Documents, such Liens first in priority subject only to Permitted Liens.

                 (d)     The Borrower acknowledges that $2,500,000 has been allocated as a reserve
against the Term Facility in order to assure that funds remain available to discharge the Carve Out,
including in connection with the application of the Post Carve Out Trigger Notice Cap. The Borrower
shall not be permitted to draw such reserve until such time as the Post Carve Out Trigger Notice Cap
applies, and then shall do so for the sole purpose of satisfying and discharging the Carve Out by directing
the Lenders to remit such amounts to satisfy the Carve Out to the extent of such amount or such lesser
amount as may be owed by the Borrower with respect to the Carve Out.

                SECTION 2.27 Guarantee Limitations (Morocco)

                 (a)      The restrictions in this clause 2.27 (Guarantee Limitations (Morocco)) shall apply
 to any guarantee and indemnity (hereinafter the Moroccan Guarantee) granted by a Guarantor
 incorporated under the laws of Morocco as a limited liability company with a sole shareholder (SARLAU)
 (a Moroccan Guarantor) to secure liabilities of its direct or indirect shareholder(s) (upstream) (excluding,
 for the avoidance of doubt any direct subsidiary of such Moroccan Guarantor).

                  (b)     The Moroccan Guarantor shall not guarantee any liability of an Obligor which, if
 incurred, would constitute a misuse of corporate assets or powers within the meaning of article 107 of law
 n°5-96 relating to limited liability companies (sociétés à responsabilité limitée) or more generally, under
 any other applicable law or regulations having the same effect, as interpreted by Moroccan courts from time
 to time.

                 (c)     Any amount due under a guarantee agreement or security agreement by a
 Moroccan party to a non-Moroccan party may only be transferred outside Morocco if such payment is in
 compliance with the applicable Moroccan foreign exchange control regulations or has been expressly
 approved in advance and in written by the Moroccan Foreign Exchange Office (Office des Changes
 marocain). Any set-off between a Moroccan party and a non-Moroccan party located outside Morocco
 requires a prior express approval from the Moroccan Foreign Exchange Office (Office des Changes
 marocain).


 73531283.28                                      75
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 237 of 692


                    (d)     The Moroccan Guarantor's obligations under the Loan Documents will only be
  valid if limited to the amounts which are (i) on-lent or otherwise (directly or indirectly) made available to
  the relevant Moroccan Guarantor and (ii) are not repaid by the Moroccan Guarantor.

                   (e)    In the event that there is any inconsistency between the provisions of this Clause
  2.27 and any other provision of this Agreement or any other Loan Documents, the provisions of this Clause
  2.27 shall prevail.

                                                  ARTICLE III

                                REPRESENTATIONS AND WARRANTIES

                   The Borrower represents and warrants to the Administrative Agent and the Lenders that:

                 SECTION 3.01 Existence, Qualification and Power. Each Loan Party (a) is duly formed
or organized, validly existing and in good standing under the Laws of the jurisdiction of its organization (to
the extent the concept of good standing is applicable), (b) subject to entry and the terms of the orders of the
Bankruptcy Court and requirements of local law in respect of Foreign Subsidiaries to the extent
applicable has the corporate, limited liability company or partnership (or analogous) power and authority,
and the legal right, to own and operate its property, to lease the property it operates as lessee and to conduct
the business in which it is currently engaged, (c) is duly qualified as a foreign corporation, limited liability
company or partnership (as applicable) and in good standing under the Laws of each jurisdiction where
such qualification is required, except where the failure to be so qualified could not reasonably be expected
to have a Material Adverse Effect and (d) is in compliance with all Laws except to the extent that the failure
to comply therewith is stayed by the Bankruptcy Orders or could not, in the aggregate, reasonably be
expected to have a Material Adverse Effect.

                 SECTION 3.02 Authorization; No Violation. Each Loan Party has the corporate, limited
liability company or partnership (or analogous) power and authority, and subject to the entry and terms of
the Orders the legal right, to execute, deliver and perform the Loan Documents to which it is a party and, in
the case of the Borrower, to borrow and obtain Letters of Credit hereunder, and subject to the entry and
terms of the Orders and local laws to the extent applicable, has taken all necessary corporate, limited
liability company or partnership (or analogous) action to authorize the borrowings and Letters of Credit on
the terms and conditions of this Agreement and to authorize the execution, delivery and performance of the
Loan Documents to which it is a party. The execution, delivery and performance of the Loan Documents to
which each of the Loan Parties is a party, the borrowings hereunder and the use of the proceeds thereof and
the use of Letters of Credit subject to entry and the terms of the Orders and local laws to the extent
applicable (i) will not violate any Laws, including any rules or regulations promulgated by the FERC, in
each case to the extent applicable to or binding upon such Loan Party or its properties, (ii) will not violate
any post-petition Contractual Obligation of any Loan Party or any of their respective Subsidiaries, except
where such violation could not reasonably be expected to have a Material Adverse Effect, (iii) will not
violate the Organizational Documents of any Loan Party and (iv) will not result in, or require, the creation
or imposition of any Lien on any Loan Party’s or any of their respective Subsidiaries’ properties or
revenues pursuant to any such Law or Contractual Obligation (other than Liens created by the Security
Documents in favor of the Collateral Agent for the ratable benefit of the Secured Parties or other Liens
approved by order of the Bankruptcy Court).

                 SECTION 3.03 Governmental Authorization; Other Consents. Other than the Orders,
the transactions to be entered into and contemplated by the Loan Documents (including, without limiting
the generality of the foregoing, in connection with the borrowings or Letters of Credit hereunder or with the
execution, delivery, performance, validity or enforceability of the Loan Documents to which the Loan

  73531283.28                                      76
18-13374-mew          Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                               Pg 238 of 692


Parties are a party or the granting of Liens under the Security Documents) (a) do not require any consent or
approval of, registration or filing with, or any other action by, any Governmental Authority or any other
Person, including, without limitation, the FERC, except for such as (i) have been obtained or made and are
in full force and effect, or (ii) the failure of which to obtain would not reasonably be expected to result in a
Material Adverse Effect, and (b) will not violate in any material respect any Applicable Law or the
organizational documents of any Loan Party ; provided that, approval by the FERC may be required for the
transfer of direct or indirect ownership or control of FERC Contract Collateral; provided further, that, no
approval of the FERC is required for the granting of the security interest in the FERC Contract Collateral to
the Collateral Agent for the ratable benefit of the Secured Parties pursuant to the Security Documents. As
of the Effective Date, the only contracts comprising FERC Contract Collateral of any Loan Party as to
which further consent of the FERC may be required in connection with the exercise of remedies by the
Administrative Agent or the Collateral Agent under the Loan Documents are contracts for the transportation
of certain Eligible Commodities listed on Schedule 3.03.

                 SECTION 3.04 Execution and Delivery; Binding Effect. Subject to the entry and terms
of the Orders and application of applicable foreign law to Loan Parties that are formed under such foreign
laws, this Agreement constitutes, and each other Loan Document to which it is a party when executed and
delivered will constitute, a legal, valid and binding obligation of each Loan Party enforceable against such
Loan Party in accordance with its terms, subject to the effects, if any, of bankruptcy, insolvency,
reorganization, moratorium and other similar Laws relating to or affecting creditors’ rights generally, and
general equitable principles (whether considered in a proceeding in equity or at law).

                 SECTION 3.05 Financial Statements Disclosure; No Material Adverse Effect.

                  (a)      Financial Statements. The unaudited consolidated balance sheet of Parent and
 its consolidated Subsidiaries as at [__________] and the related unaudited consolidated statements of
 operations and cash flows for the Fiscal Quarter ended on such date, certified by a Responsible Person of
 the Borrower, copies of which have heretofore been furnished to each Lender, are complete and correct in
 all material respects and present fairly in all material respects the consolidated financial condition of the
 Parent and its Subsidiaries as at such date, and the consolidated results of their operations for the Fiscal
 Quarter then ended (subject to normal year-end audit adjustments and any notes therein). All such
 financial statements have been prepared in accordance with GAAP in all material respects (except for the
 absence of footnote disclosures and any notes therein).

                    (b)    Disclosure of Liabilities. The Parent and its Subsidiaries, taken together, do not
 have liabilities, including liabilities that are contingent and liabilities that are liquidated, that exceed, by
 more than $10,000,000, the liabilities of the Parent and its Subsidiaries as set forth in the disclosures filed
 with the Bankruptcy Court on the Petition Date or within 60 days thereafter.

                  SECTION 3.06 No Material Adverse Change. Since the Effective Date, there has been
    no event or circumstance that, either individually or in the aggregate, has had or could reasonably be
                                expected to have a Material Adverse Effect.

                  SECTION 3.07 Orders. The Interim DIP Order is (and the Final DIP Order when entered
will be) effective to create, in favor of the Collateral Agent, for the ratable benefit of the Secured Parties, a
legal, valid, binding, and enforceable perfected security interest in the Debtors’ Collateral and the proceeds
and products thereof without the necessity of the execution of mortgages, security agreements, pledge
agreements, financing statements, or other agreements or documents subject to applicable foreign laws with
respect to Loan Parties formed under such foreign laws.




  73531283.28                                       77
18-13374-mew           Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                                Pg 239 of 692


                  SECTION 3.08 Litigation. Other than the Cases and litigation stayed pursuant to the
Cases and litigation disclosed on Schedule 3.08, no litigation, investigation or proceeding of or before any
arbitrator or Governmental Authority is pending or, to the knowledge of any Loan Party, threatened in
writing by or against any Loan Party or any of their respective Subsidiaries or against any of their
respective properties or revenues (a) with respect to any of the Loan Documents, (b) with respect to any of
the transactions contemplated by or occurring simultaneously with the entering into of the Loan Documents
in which the litigation, investigation or proceeding is material and has a reasonable basis in fact, or
(c) which could reasonably be expected, individually or in the aggregate, to have a Material Adverse Effect.
All material litigation or proceedings pending as of the date hereof before any arbitrator or Governmental
Authority against any Loan Party or any of their respective Subsidiaries is set forth on Schedule 3.08.

                 SECTION 3.09 No Material Adverse Effect; No Default. Neither any Loan Party nor
any Subsidiary is in default under or with respect to any post-petition Contractual Obligation that, either
individually or in the aggregate, could reasonably be expected to have a Material Adverse Effect. No
Default or Event of Default has occurred and is continuing.

                 SECTION 3.10 Property.

                   (a)      Ownership of Properties. Each of the Loan Parties has good title in fee simple
 to, a valid leasehold interest in, or other rights in, all its real property, and good title to, or a valid leasehold
 interest in, or other rights in, all its other property necessary to operate the business or otherwise the failure
 to so maintain could not reasonably be expected to result in a Material Adverse Effect, and none of such
 property is subject to any Lien except as permitted by Section 6.02. Schedule 3.10 accurately lists as of
 the Effective Date:

                           (i)       all of the real property and leasehold interests in real property of each of
           the Loan Parties, and

                            (ii)     all locations where inventory of the Loan Parties is held on or expected to
           be held after the Effective Date (other than (i) in-transit inventory, or (ii) inventory out for repair
           or refurbishment or (iii) inventory in an amount not to exceed $250,000).

                 SECTION 3.11 Intellectual Property. Each of the Loan Parties owns, is licensed to use or
has a common law or contractual right to access and use, all trademarks, trade names, copyrights,
technology, know-how and processes necessary for the conduct of its business as currently conducted and
as proposed to be conducted except for those the failure to own or license which could not in the aggregate
reasonably be expected to have a Material Adverse Effect (the “Intellectual Property”). Except as set
forth on Schedule 3.11, no claim has been asserted or is pending by any Person challenging or questioning
the use of any such Intellectual Property or the validity or effectiveness of any such Intellectual Property,
nor does any Loan Party know of any valid basis for any such claim, except any claim that could not
reasonably be expected, individually or in the aggregate, to have a Material Adverse Effect. The use of
such Intellectual Property by any of the Loan Parties does not infringe on the rights of any Person, except
for such infringements that, in the aggregate, could not reasonably be expected to have a Material Adverse
Effect.

                 SECTION 3.12 Taxes.

                  (a)       Each Loan Party, and each Subsidiary have filed all material federal, state and
 other material Tax returns and reports required to be filed (after giving effect to extension), and have paid
 all material federal, state and other Taxes, assessments, fees and other governmental charges levied or
 imposed upon them or their properties, income or assets otherwise due and payable, except Taxes that are
 being (i) contested in good faith by appropriate proceedings diligently conducted, for which adequate

  73531283.28                                         78
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 240 of 692


 reserves are being maintained in accordance with GAAP, (ii) stayed by the Bankruptcy Court or (iii) does
 not exceed $400,000 at any time . Each Loan Party has complied in all material respects with all
 applicable Laws relating to the withholding and payment of Taxes and has timely withheld from employee
 wages and payments to any other Person and paid over to the proper Governmental Authorities all material
 amounts required to be so withheld and paid over for all periods under all applicable Laws. As of the
 Effective Date, no Tax return of any Loan Party or any of their respective Tax Affiliates is being audited
 by any Governmental Authority. There are no Liens for Taxes against the Collateral or any property of
 any Loan Party or any of their Subsidiaries and no claim is being asserted with respect to Taxes which
 could result in such Liens, except for (i) statutory liens for Taxes not yet due and payable or for Taxes the
 amount or validity of which are currently being contested in good faith by appropriate proceedings and, in
 each case, with respect to which reserves in conformity with GAAP have been provided on the books of
 such Loan Party (ii) Liens subject to stay of the Bankruptcy Court or (iii) Liens otherwise permitted
 hereunder.

                 SECTION 3.13 Disclosure. (a) All factual written information, reports and other papers
and data with respect to the Loan Parties or any of their respective Subsidiaries furnished, and all factual
written statements and representations made, to the Administrative Agent or the Lenders by any Loan Party,
or on behalf of any Loan Party (excluding any projections, estimates, forecasts, budgets and other forward
looking information and information of a general economic or industry nature, as to which no Loan Party
makes any representation), were, at the time the same were so furnished or made, when taken together with
all such other factual information, reports and other papers and data previously so furnished in connection
with this Agreement and the Extensions of Credit hereunder and all such other factual statements and
representations previously so made in connection with this Agreement and the Extensions of Credit
hereunder, complete and correct in all material respects, to the extent necessary to give the Agents and the
Lenders true and accurate knowledge of the subject matter thereof in all material respects, and did not as of
the date so furnished or made, contain any untrue statement of a material fact or omit to state any material
fact necessary in order to make the statements contained therein not materially misleading in light of the
circumstances in which the same were made.

          (b)      As of the Effective Date, to the best knowledge of the Borrower, the information included
  in the Beneficial Ownership Certification provided on or prior to the Effective Date to any Lender in
  connection with this Agreement is true and correct in all respects.

                  SECTION 3.14 Compliance with Laws. Each of the Loan Parties is in compliance with
the requirements of all Laws (including Environmental Laws) and all orders, writs, injunctions and decrees
applicable to it or to its properties, except in such instances in which (a) such requirement of Law or order,
writ, injunction or decree is being contested in good faith by appropriate proceedings diligently conducted
(b) the failure to so comply, either individually or in the aggregate, could not reasonably be expected to
have a Material Adverse Effect or (c) compliance is stayed pursuant to the Cases.

                SECTION 3.15 ERISA Compliance.

                   (a)     Except as could not reasonably be expected, either individually or in the
 aggregate, to have a Material Adverse Effect, (i) each Plan is in compliance with the applicable provisions
 of ERISA, the Code and other federal or state Laws and (ii) each Plan that is intended to be a qualified
 plan under Section 401(a) of the Code has received a favorable determination letter from the IRS to the
 effect that the form of such Plan is qualified under Section 401(a) of the Code and the trust related thereto
 has been determined by the IRS to be exempt from federal income tax under Section 501(a) of the Code, or
 an application for such a letter is currently being processed by the IRS, and, to the knowledge of the
 Borrower, nothing has occurred that would prevent or cause the loss of such tax-qualified status.


  73531283.28                                      79
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 241 of 692


                  (b)     There are no pending or, to the knowledge of the Borrower, threatened or
contemplated claims, actions or lawsuits, or action by any Governmental Authority, with respect to any
Plan that, either individually or in the aggregate, could reasonably be expected to have a Material Adverse
Effect. There has been no prohibited transaction or violation of the fiduciary responsibility rules with
respect to any Plan that, either individually or in the aggregate, has had or could reasonably be expected to
have a Material Adverse Effect.

                 (c)     No ERISA Event has occurred, and neither the Borrower nor any ERISA Affiliate
is aware of any fact, event or circumstance that, either individually or in the aggregate, could reasonably be
expected to constitute or result in an ERISA Event with respect to any Pension Plan that, either
individually or in the aggregate, has had or could reasonably be expected to have a Material Adverse
Effect.

                 (d)     Except to the extent that any such excess could not reasonably be expected to have
a Material Adverse Effect (or as otherwise disclosed in writing to the Lenders), the present value
(determined using actuarial and other assumptions which are reasonable in respect of the benefits provided
and the employees participating) of the liability of the Loan Parties and each Commonly Controlled Entity
for post-retirement benefits to be provided to their current and former employees under Plans which are
welfare benefit plans (as defined in Section 3(1) of ERISA) other than such liability disclosed in the
financial statements of the Loan Parties does not, in the aggregate, exceed the assets under all such Plans
allocable to such benefits.

                  (e)     To the extent applicable, each Foreign Plan has been maintained in compliance
with its terms and with the requirements of any and all applicable requirements of Law and has been
maintained, where required, in good standing with applicable regulatory authorities, except to the extent
that the failure so to comply could not reasonably be expected, either individually or in the aggregate, to
have a Material Adverse Effect. No Loan Party nor any Subsidiary has incurred any material obligation in
connection with the termination of or withdrawal from any Foreign Plan.

                 SECTION 3.16 Environmental Matters. Except as set forth on Schedule 3.16 and except
where liability would not exceed $2,000,000:

                  (a)      The facilities and properties owned, leased or operated by any Loan Party or any
of their respective Subsidiaries (the “Properties”) do not contain, and have not previously contained, any
Materials of Environmental Concern in amounts or concentrations which (i) constitute or constituted a
violation of, or (ii) could give rise to liability of the Loan Parties under any Environmental Law.

                  (b)     The Loan Parties, their respective Subsidiaries, the Properties and all operations at
the Properties are in compliance, and have, for the duration of their ownership, lease, or operation by the
Loan Parties and their respective Subsidiaries, been in compliance with all applicable Environmental
Laws, and there is no contamination at, under or about the Properties in violation of any Environmental
Law with respect to the Properties or the business operated by the Loan Parties or any of their respective
Subsidiaries (the “Business”). All Environmental Permits necessary in connection with the ownership and
operation of the Business of the Loan Parties and their respective Subsidiaries have been obtained and are
in full force and effect.

                 (c)      None of the Loan Parties or any of their respective Subsidiaries have received any
notice of violation, alleged violation, non-compliance, liability or potential liability or the incurrence of
costs by any Governmental Authority for remediation regarding environmental matters or compliance with
Environmental Laws with regard to any of the Properties or the Business, nor does the Borrower have
knowledge or reason to believe that any such notice will be received or is being threatened.


 73531283.28                                      80
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 242 of 692


                   (d)     Materials of Environmental Concern have not been transported or disposed of
 from the Properties in violation of, or in a manner or to a location which could give rise to liability under,
 any Environmental Law, nor have any Materials of Environmental Concern been generated, treated, stored
 or disposed of at, on or under any of the Properties in violation of, or in a manner that could give rise to
 liability under, any applicable Environmental Law.

                  (e)     No judicial proceeding or governmental or administrative action is pending or, to
 the knowledge of the Borrower, threatened, under any Environmental Law to which the Loan Parties or
 any of their respective Subsidiaries are or will be named as a party with respect to the Properties or the
 Business, nor are there any consent decrees or other decrees, consent orders, administrative orders or other
 orders, or other administrative or judicial requirements outstanding under any Environmental Law
 involving the Loan Parties with respect to the Properties or the Business.

                  (f)     There has been no release or threat of release of Materials of Environmental
 Concern at or from the Properties, or arising from or related to the operations of the Loan Parties or any of
 their respective Subsidiaries in connection with the Properties or otherwise in connection with the
 Business, in violation of or in amounts or in a manner that could give rise to liability of the Loan Parties
 under Environmental Laws.

                  SECTION 3.17 Federal Regulations. No part of the proceeds of any Loan or Letter of
Credit will be used for “purchasing” or “carrying” any Margin Stock within the respective meanings of each
of the quoted terms under Regulation U, or for any purpose which violates, the provisions of the regulations
of the Board. Following the application of the proceeds of each Borrowing or drawing under each Letter of
Credit, not more than 25% of the value of the assets (either of the Borrower only or of the Parent and its
Subsidiaries on a consolidated basis) will be Margin Stock. If requested by any Lender or the
Administrative Agent, the Borrower will furnish promptly to the Administrative Agent and each Lender a
statement to the foregoing effect in conformity with the requirements of FR Form G-3 or FR Form U-1
referred to in said Regulation U.

                  SECTION 3.18 Investment Company Act; Other Regulations. None of the Loan Parties
is an “investment company,” or a company “controlled” by an “investment company,” within the meaning
of the Investment Company Act of 1940. None of the Loan Parties is subject to regulation under any US
Federal or State statute or regulation (other than the Bankruptcy Code) which limits its ability to incur
Indebtedness or grant Liens on its assets. None of the Loan Parties or any of their Affiliates is subject to the
jurisdiction of the FERC or any rules and regulations promulgated thereby.

                 SECTION 3.19 Sanctions; Anti-Corruption.

                   (a)     Subject to the Legal Reservations, none of the Loan Parties or any of their
 respective Subsidiaries are, and none of their respective directors, officers, employees, agents or Affiliates
 are, in violation of any applicable Requirement of Law relating to economic or trade sanctions, terrorism,
 corruption, bribery or money laundering.

                   (b)      No Loan Party or Subsidiary, nor any director, officer, employee, agent, or
 Affiliate of any Loan Party or any of their Subsidiaries is an individual or entity (“person”) that is, or is
 owned 50 percent or more, individually or in the aggregate, directly or indirectly, or controlled by persons
 that are: (i) the subject of any sanctions administered or enforced by the U.S. Department of the
 Treasury’s Office of Foreign Assets Control (“OFAC”), the U.S. Department of State, the United Nations
 Security Council, the European Union, Global Affairs Canada, Justice Canada, or Her Majesty’s
 Treasury(collectively, “Sanctions”), or (ii) located, organized or resident in a country or territory that is, or
 whose government is, the subject of comprehensive Sanctions ( currently, Crimea, Cuba, Iran, North
 Korea and Syria) (each, a “Sanctioned Country”).

  73531283.28                                       81
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 243 of 692


                  (c)     Each Loan Party, their Subsidiaries and their respective directors, officers and
 employees and the agents of the Loan Parties and their Subsidiaries, are in compliance with all applicable
 Sanctions and with the Foreign Corrupt Practices Act of 1977, as amended, and the rules and regulations
 thereunder (the “FCPA”) and any other applicable anti-corruption law, in all material respects. The Loan
 Parties and their Subsidiaries have instituted and maintain policies and procedures designed to ensure
 continued compliance with applicable Sanctions, the FCPA and any other applicable anti-corruption laws
 that are required by Law.

                   (d)     No part of the proceeds of the Loans or the Letters of Credit will be used, directly
 or indirectly, for any payments, loans or contributions to or otherwise made available to any Person to fund
 any activities or business of or with any Person who is the subject of applicable Sanction, or to any
 governmental official or employee, political party, official of a political party, candidate for political
 office, or anyone else acting in an official capacity, in each case in material violation of any applicable
 Anti-Terrorism Law, or that could result in the violation by, or the imposition of Sanctions against, any
 party to this Agreement (including any Agent, any Issuing Bank or any Lender).

                SECTION 3.20 Reserved.

                SECTION 3.21 No Burdensome Restrictions. There is no Requirement of Law or post-
petition Contractual Obligation of any of the Loan Parties or any of their respective Subsidiaries,
compliance with which has had or could reasonably be expected to have a Material Adverse Effect.

                 SECTION 3.22 Subsidiaries. Schedule 3.22 sets forth as of the Effective Date the name
of each direct or indirect Subsidiary of each Loan Party, their respective forms of organization, their
respective jurisdictions of organization, the total number of issued and outstanding shares or other Equity
Interests thereof, the classes and number of issued and outstanding shares or other Equity Interests of each
such class, whether such Subsidiary is an Immaterial Subsidiary, and with respect to each Loan Party other
than Parent, the name of each holder of Equity Interests thereof and the number of shares or other Equity
Interests held by each such holder and the percentage of all outstanding shares or other interests of such
class of Equity Interests held by such holders. Subject to all required restrictions imposed by applicable
Laws and Schedule 5.14, each Subsidiary that is not the Borrower or an Immaterial Subsidiary is a Debtor
and a Guarantor and each Debtor is a Guarantor. The total book value (determined in accordance with
GAAP) of all assets of all Immaterial Subsidiaries that are not also Loan Parties does not exceed $2,750,000
in aggregate as of the Effective Date.

                   SECTION 3.23 Security Documents. Subject to the entry and terms of the Orders, the
provisions of the Security Documents (taken as a whole) are effective to create in favor of the
Administrative Agent for the ratable benefit of the Secured Parties a legal, valid and enforceable Lien in all
right, title and interest of the Borrower in the “Collateral” described therein. When proper UCC financing
statements or other applicable filings listed in Schedule 3.23 have been filed in the offices in the
jurisdictions listed in Schedule 3.23, the Security Documents shall create perfected Liens on all right, title
and interest of the Borrower in the Collateral described therein that can be perfected by such filing, prior
and superior in right to any other Person subject to any Permitted Borrowing Base Liens, in the case of
assets in the Borrowing Base, or Liens permitted under Section 6.02 in the case of other assets. When an
Account Control Agreement has been entered into with respect to each Pledged Account, the Security
Agreement shall constitute a Perfected First Lien on all right, title and interest of the Borrower in the
portion of the Collateral described therein that consists of Pledged Accounts, prior and superior in right to
any other Person subject to any Permitted Liens. Borrower has directed Chase to transfer at the close of
business on each Business Day, all amounts in excess of $500,000 from time to time deposited in the Chase
Account to the Wells Fargo Account, which direction remains in effect.



  73531283.28                                     82
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 244 of 692


                 SECTION 3.24 Labor Relations. As of the Effective Date, none of the Loan Parties or
any of their respective Subsidiaries is engaged in any unfair labor practice which could result in a Material
Adverse Effect. Except as would not reasonably be expected to result in a Material Adverse Effect, there is
(i) no unfair labor practice complaint pending or, to the knowledge of any Loan Party or any of their
respective Subsidiaries, threatened in writing against any Loan Party or any of their respective Subsidiaries
before the National Labor Relations Board and no grievance or arbitration proceeding arising out of or
under a collective bargaining agreement is so pending or to their knowledge threatened, (ii) no strike, labor
dispute, slowdown or stoppage pending or, to the knowledge of any Loan Party, threatened in writing
against any Loan Party and any of their respective Subsidiaries, and (iii) no union representation question
existing with respect to the employees of any Loan Party or any of their respective Subsidiaries and no
union organizing activities are taking place with respect to any thereof.

                 SECTION 3.25 Insurance. As of the Effective Date, each Loan Party and Subsidiary has,
with respect to its properties and business, insurance covering the risks, in the amounts, with the deductible
or other retention amounts, and with the carriers, listed on Schedule 3.25, which insurance meets the
requirements of Section 5.06 hereof and Section 3 of the Security Agreement. No property insurance
covering any of the Collateral names any loss payee or additional insured other than the Collateral Agent
for the ratable benefit of the Secured Parties or the Global Administrative Agent (as defined in the Global
DIP Facility Agreement) for the benefit of the Global Secured Parties (as defined in the Global DIP Facility
Agreement or any other existing creditor (as of the Petition Date) which has a Lien on such Collateral).
Except as set forth on Schedule 3.25 (as updated), no Loan Party has been refused insurance for which it
applied or had any policy of insurance terminated (other than at its request).

                  SECTION 3.26 Maximum Position Limits; Risk Management Practices. The
Maximum Position Limits and the Risk Management Practices have been duly adopted by the Borrower and
are in full force and effect and the Borrower conducts its business in compliance in all material respects
with the Maximum Position Limits and the Risk Management Practices.

                SECTION 3.27 No Other Ventures. Except as set forth in Schedule 3.27, none of the
Loan Parties or any of their respective Subsidiaries is engaged in any joint venture or partnership with any
other Person.

                  SECTION 3.28 Remittances. The Borrower has (i) instructed its Account Debtors in
respect of Accounts and each other Person who remits or is to remit payments to the Borrower to remit any
and all payments in respect of Accounts or by each such other Person solely to a Controlled Account and
(ii) given notice to each Account Debtor of the Lien of the Collateral Agent over Accounts owing from it.
All payments in respect of sales by the Borrower of Eligible Commodities are remitted directly to a
Controlled Account. Each bank which receives any payment made by any Account Debtor in respect of
Accounts or by any other Person making any payment to the Borrower has been instructed to transfer all
such payments immediately upon receipt.

                SECTION 3.29 Force Majeure. Except as would not reasonably be expected to result in a
Material Adverse Effect, neither the business nor the properties of the Loan Parties or any of their
respective Subsidiaries are affected by any fire, explosion, accident, strike, lockout or other labor dispute,
drought, storm, hail, earthquake, embargo, act of God or of a public enemy or other casualty.

                SECTION 3.30 Certain Indebtedness. Schedule 3.30 separately identifies all
Indebtedness of the Loan Parties and their respective Subsidiaries, which is (a) for borrowed money.

                SECTION 3.31 Commodity Accounts, Deposit Accounts and Securities Accounts.
Neither the Borrower nor any of its Subsidiaries maintains any Commodity Accounts, Deposit Accounts or

  73531283.28                                     83
18-13374-mew             Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                                 Pg 245 of 692


Securities Accounts other than the Chase Account, each other Controlled Account and any other
Commodity Account, Deposit Account or Securities Account established after the Effective Date with the
consent of the Administrative Agent acting at the direction of the Required Lenders; it being understood
and agreed that the Wells Fargo Account is maintained in the name of ABN and not in the name of the
Borrower.

                                                   ARTICLE IV

                                                  CONDITIONS

                SECTION 4.01 Effective Date. The obligation of each Lender (including each Issuing
Bank) to make Credit Extensions hereunder is subject to the satisfaction (or waiver in accordance with
Section 9.01) of the following conditions (and, in the case of each document specified in this Section to be
received by the Administrative Agent, such document shall be in form and substance satisfactory to the
Administrative Agent and each Lender):

                   (a)     Loan Documents. The Administrative Agent shall have received:

                          (i)     this Agreement, executed and delivered by a duly authorized officer of the
           Borrower with a counterpart or conformed copy for each Lender;

                            (ii)      the Guaranty (provided that the Guaranty shall not cover Excluded Swap
           Obligations);

                            (iii)     the Canadian Guaranty;

                            (iv)      the US Facility US Security Agreement;

                            (v)       the US Facility Global Security Agreement;

                            (vi)      the US Facility Canadian Security Agreement;

                            (vii)     the Intercreditor Agreement;

                            (viii)    the Perfection Certificate; and

                            (ix)      the Direct Parent Pledge Agreement.

                   (b)    Prepetition Credit Facility Documents. The Prepetition Agent shall have
           received the Reaffirmation, Confirmation and Ratification Agreement, dated the Effective Date,
           executed and delivered by a duly authorized officer of each of the Borrower, Parent and Direct
           Parent.

                    (c)     Secretary’s Certificates. The Administrative Agent shall have received a
           certificate of each Loan Party, dated the Effective Date, satisfactory in form and substance to the
           Administrative Agent, executed by a duly authorized officer of such Loan Party, or, if applicable,
           of the general partner or managing member or members of such Loan Party, on behalf of such
           Loan Party.

                   (d)     Borrowing Base Report. The Administrative Agent shall have received, with a
           counterpart for each Lender, a fully completed Borrowing Base Report showing the Borrowing
           Base as of the date hereof, executed by a Responsible Person of the Borrower in his or her
           capacity as a Responsible Person.


  73531283.28                                        84
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 246 of 692


                   (e)    Proceedings of the Loan Parties. The Administrative Agent shall have received
          a copy of the resolutions, in form and substance satisfactory to the Administrative Agent, of the
          Board of Directors (or analogous body) of each Loan Party authorizing (i) the execution, delivery
          and performance of this Agreement and the other Loan Documents to which it is a party, (ii) the
          borrowings and Extensions of Credit contemplated hereunder and (iii) the granting by it of the
          Liens created pursuant to the Security Documents, certified on behalf of such Loan Party by a
          duly authorized officer of such Loan Party, or, if applicable, of the general partner or managing
          member or members of such Loan Party, as of the Effective Date, which certification shall be
          included in the certificate delivered in respect of such Loan Party pursuant to Section 4.01(b),
          shall be in form and substance satisfactory to the Administrative Agent and shall state that the
          resolutions thereby certified have not been amended, modified, revoked or rescinded.]

                   (f)     Incumbency Certificates. The Administrative Agent shall have received a
          certificate of each Loan Party, dated the Effective Date, as to the incumbency and signature of the
          officers of such Loan Party or, if applicable, of the general partner or managing member or
          members of such Loan Party, executing any Loan Document, which certificate shall be
          satisfactory in form and substance to the Administrative Agent, and shall be executed by a duly
          authorized officer of such Loan Party, or, if applicable, of the general partner or managing
          member or members of such Loan Party, on behalf of such Loan Party.

                    (g)    Organizational Documents. The Administrative Agent shall have received as to
          each Loan Party true and complete copies of the Organizational Documents of such Loan Party,
          certified as of the Effective Date as complete and correct copies thereof by a duly authorized
          officer of such Loan Party, or, if applicable, of the general partner or managing member or
          members of such Loan Party, on behalf of such Loan Party, which certification shall be included
          in the certificate delivered in respect of such Loan Party pursuant to Section 4.01(c), and shall be
          in form and substance satisfactory to the Administrative Agent and the Lenders. With respect to
          the Spanish Subsidiary, the Parties agree that the delivery of an on-line registry excerpt (Nota
          Simple) issued by the commercial registry of incorporation of such Subsidiary will be sufficient to
          fulfill this condition precedent.

                   (h)     Good Standing Certificates. The Administrative Agent shall have received
          certificates dated as of a recent date from the Secretary of State or other appropriate authority,
          evidencing to the extent applicable) the good standing of each Loan Party in the jurisdiction of its
          organization. In relation to the Spanish Subsidiary, the Parties agree that the delivery of the
          document referred to in Section 4.01(c) above shall be sufficient to fulfill this condition
          precedent.

                   (i)     Borrower’s Certificate. The Administrative Agent shall have received a
          certificate signed by a Responsible Person of the Borrower, stating on behalf of the Borrower
          that:

                  (i) The representations and warranties contained in Article III are true and correct in all
                  material respects on and as of such date, as though made on and as of such date;

                  (ii) No Default or Event of Default exists; and

                  (iii) The Borrower is in compliance with the Maximum Position Limits as of the most
                  recent Business Day prior to the Effective Date.

                  (j)    Opinion of Counsel to Borrower. The Administrative Agent shall have received
          an opinion of Kirkland & Ellis, counsel to the Borrower, addressed to the Administrative Agent,


 73531283.28                                      85
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 247 of 692


          the Lenders, the Swing Line Lenders and the Issuing Banks and dated the Effective Date, in form
          and substance satisfactory to the Administrative Agent and the Required Lenders (and the
          Borrower hereby instructs such counsel to deliver such opinion to such Persons).

                 (k)     Fees and Expenses. To the extent invoiced at least one business day prior, all
invoiced costs, fees, expenses (including, without limitation, reasonable and documented out-of-pocket
legal fees) and other compensation contemplated by the Loan Documents to be payable to the
Administrative Agents and the Lenders in respect of the Facilities shall have been paid to the extent
earned, due and payable.

               (l)      Position Report. The Administrative Agent and the Lenders shall have received
from the Borrower a completed Position Report, substantially in the form of Exhibit G, certified by a
Responsible Person of the Borrower as of the date hereof.

                (m)      Financial Statements. The Administrative Agent and the Lenders shall have
received copies of the financial statements referred to in Section 3.05.

                (n)     Petition Date. The Petition Date with respect to each Debtor shall have occurred,
and the First Day Orders sought by the Debtors shall have been entered by the Bankruptcy Court and shall
have been in form and substance satisfactory to the Administrative Agent.

                (o)       No Prepetition Daylight Overdraft or Swing Line Loans. No Daylight
Overdraft Loans (as defined in the Prepetition Credit Facility) or Swing Line Loans (as defined in the
Prepetition Credit Facility) shall be outstanding under the Prepetition Credit Facility on the Petition Date.

                 (p)     Interim DIP Order. The Interim DIP Order shall have been entered by the
Bankruptcy Court in the Cases and shall have been in form and substance satisfactory to the
Administrative Agent and the Required Lenders and shall be in full force and effect and shall not have
been vacated, stayed, revised, modified, or amended in any manner without the prior written consent of the
Administrative Agent and the Required Lenders. The Debtors shall be in compliance in all material
respects with the material terms of the Interim DIP Order.

                  (q)    Cash Management. All orders entered by the Bankruptcy Court pertaining to
cash management (including the Cash Management Order), and all other motions and documents filed or
to be filed with, and submitted to, the Bankruptcy Court in connection therewith, shall be in form and
substance satisfactory to the Administrative Agent and the Required Lenders.

                (r)      Insurance. The Administrative Agent shall have received evidence in form and
substance reasonably satisfactory to the Required Lenders that all of the requirements of Section 5.06
hereof and Section 3 of the Security Agreement shall have been satisfied.

                 (s)    Request to Honor Oral and Telefax Instructions. The Administrative Agent
shall have received from the Borrower a completed request to honor oral and telefax instructions dated the
date hereof, executed by a Responsible Person of the Borrower.

                 (t)      Risk Management Practices. There shall have been delivered to the
Administrative Agent copies of the Risk Management Practices as in effect on the Effective Date, certified
as true and complete by a Responsible Person of the Borrower, and in form and substance satisfactory to
the Lenders in their sole discretion and to the Borrower.

                  (u)    Additional Matters. All corporate, limited liability company or partnership (as
          applicable) and other proceedings, and all documents, instruments and other legal matters in
          connection with the transactions contemplated by this Agreement and the other Loan Documents

 73531283.28                                      86
18-13374-mew          Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 248 of 692


           shall be satisfactory in form and substance to the Required Lenders, and the Administrative Agent
           shall have received such other documents and legal opinions in respect of any aspect or
           consequence of the transactions contemplated hereby or thereby as the Required Lenders shall
           reasonably request.

                    (v)    KYC Information. The Administrative Agent and each Lender shall have
           received, prior to the Effective Date, (i) all documentation and other information requested by the
           Administrative Agent or such Lender in connection with applicable “know your customer” and
           anti-money-laundering rules and regulations, including the PATRIOT Act, and (ii) a properly
           completed and signed IRS Form W-8 or W-9, as applicable, for each Loan Party; and (iii) to the
           extent the Borrower qualifies as a “legal entity customer” under the Beneficial Ownership
           Regulation, a Beneficial Ownership Certification in relation to the Borrower.

                    (w) Litigation. Except for the Cases, there shall not exist any pending or threatened
           litigation, proceeding, or investigation that (i) would prohibit, enjoin, or contest the transactions
           contemplated by the Loan Documents or (ii) could have a Material Adverse Effect.



                   Without limiting the generality of Section 9.01, for purposes of determining satisfaction
  of the conditions specified in this Section, each Lender that has signed this Agreement shall be deemed to
  have consented to, approved or accepted or to be satisfied with, each document or other matter required
  thereunder to be consented to or approved by or acceptable or satisfactory to a Lender unless the
  Administrative Agent shall have received notice from such Lender prior to the proposed Effective Date
  specifying its objection thereto.

                   The Borrower, by its signature to this Agreement, represents and warrants to the
  Administrative Agent and the Lenders that the conditions specified in Section 4.01 have been satisfied on
  and as of the Effective Date. Notwithstanding the foregoing, the obligations of the Lenders to make
  Credit Extensions hereunder shall not become effective unless each of the foregoing conditions is
  satisfied (or waived pursuant to Section 9.01) at or prior to 3:00 p.m. (New York City time) on
  [___], 2018 (and, in the event that such conditions are not so satisfied or waived, the Commitments shall
  terminate at such time).

                SECTION 4.02 Conditions to All Credit Extensions. The obligation of each Lender
(including the Swing Line Lender and each Issuing Bank) to make a Credit Extension (including its initial
Credit Extension) is additionally subject to the satisfaction (or waiver) of the following conditions:

                   (a)     the Administrative Agent and, if applicable, the Swing Line Lender or the
           applicable Issuing Bank shall have received a written Borrowing Request or Letter of Credit
           Request, as applicable, in accordance with the requirements hereof;

                    (b)    the representations and warranties of the Borrower set forth in this Agreement and
           in any other Loan Document shall be true and correct in all material respects (or, in the case of
           any such representation or warranty already qualified by materiality, in all respects) on and as of
           the date of such Credit Extension (or, in the case of any such representation or warranty expressly
           stated to have been made as of a specific date, as of such specific date);

                   (c)    the Borrower is in compliance with the covenants set forth herein, and no Default
           or Event of Default shall have occurred and be continuing or would result from such Credit
           Extension or from the application of proceeds thereof;


  73531283.28                                       87
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 249 of 692


                   (d)     in the case of any request for a Swing Line Loan or L/C Credit Extension, the
          Swing Line Lender or applicable Issuing Bank, as the case may be, shall have received (i) a
          Borrowing Request or Letter of Credit Request (as applicable) from the Borrower, and shall not
          have received from the Required Lenders written notice that a Default or Event of Default has
          occurred or is continuing and (ii) written approval of such Swing Line Loan or L/C Credit
          Extension from a Lender Representative of each Lender (it being agreed hereby that the approval
          of the Lender Representative shall not be withheld unless (i) a Default or Event of Default has
          occurred or would result from such Swing Line Loan or L/C Credit Extension, (ii) any of the
          covenants set forth herein have been breached or violated, or would be breached or violated by
          the making of such Swing Line Loan or L/C Credit Extension, or (iii) any of the conditions set
          forth in this Article IV have not been satisfied); provided, further, that nothing in this paragraph
          shall be deemed to limit the rights of the Issuing Banks under Section 2.05(f) or the Swing Line
          Lender under Section 2.06(c); and

                   (e)     in the case of any request for a Loan other than a Swing Line Loan, the
          Administrative Agent shall have received (i) a Borrowing Request from the Borrower, and shall
          not have received from the Required Lenders written notice that a Default or Event of Default has
          occurred or is continuing and (ii) written approval of such Loan from a Lender Representative of
          each Lender (it being agreed hereby that the approval of the Lender Representative shall not be
          withheld unless (i) a Default or Event of Default has occurred or would result from such Loan,
          (ii) any of the covenants set forth herein have been breached or violated, or would be breached or
          violated by the making of such Loan, or (iii) any of the conditions set forth in this Article IV have
          not been satisfied);.

                  Each Borrowing Request or Letter of Credit Request delivered, by the Borrower
 hereunder shall be deemed to constitute a representation and warranty by the Borrower on and as of the
 date of the applicable Credit Extension as to the matters specified in clauses (b) and (c) above in this
 Section.

                                                 ARTICLE V

                                      AFFIRMATIVE COVENANTS

                  Until the Commitments have expired or been terminated, all Obligations shall have been
 paid in full (other than contingent indemnification obligations not yet due and owing) and all Letters of
 Credit shall have expired or been canceled or collateralized in cash (without any pending drawings), the
 Borrower covenants and agrees with the Lenders that:

                 SECTION 5.01 Reporting. The Borrower will furnish to the Administrative Agent (for
distribution to each Lender):

                   (a)    as soon as available, but in any event not later than 30 days after the end of each
          fiscal month of Parent, (i) a copy of the unaudited consolidated balance sheets of Parent and its
          consolidated Subsidiaries as at the end of such fiscal month and the related unaudited
          consolidated statements of income and retained earnings for such fiscal month and the portion of
          the Fiscal Year through the end of such fiscal month, setting forth in each case in comparative
          form the figures for the previous Fiscal Year, certified by a Responsible Person of the Borrower,
          in his or her capacity as a Responsible Person, as fairly presenting in all material respects the
          Borrower’s and such Subsidiaries’ financial condition, results of operations and cash flows in
          accordance with GAAP, and (ii) the net book value, determined in accordance with GAAP, of all
          assets of the Immaterial Subsidiaries;

 73531283.28                                      88
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 250 of 692


                   (b)    The Borrower shall also provide on a weekly basis and on a roll forward basis a
          Budget variance report/reconciliation for each week (commencing on the date that is one week
          following the Petition Date) (delivered no later than the end of each week), (i) showing a
          statement of actual cash sources and uses of all free cash flow for the immediately preceding
          week, noting therein all material variances from values set forth for such historical periods in the
          Budget, and shall include explanations for all such variances, and (ii) accompanied by a
          certification by a Responsible Person of the Borrower (A) as to its reasonableness when made by
          the Borrower and (B) that the Borrower has not breached or violated Section 6.13 hereof; and

                  (c)    on each Tuesday and Friday (or, if any such day is not a Business Day, the next
          succeeding Business Day), the Borrower shall furnish to the Administrative Agent a Borrowing
          Base Report, calculated as of the close of business on the second Business Day immediately
          preceding such day and certified as true and complete by a Responsible Person of the Borrower.

 All such financial statements shall be complete and correct in all material respects and shall be prepared
 in reasonable detail and in the case of clauses (a) and (b) in accordance in all material respects with
 GAAP applied consistently throughout the periods reflected therein and with prior periods (except as
 approved by such accountants or officer, as the case may be, and disclosed therein).

               SECTION 5.02 Certificates; Other Information. The Borrower will deliver to the
Administrative Agent (for distribution to each Lender):

                    (a)    concurrently with the delivery of the financial statements referred to in
          Sections 5.01(b), a duly completed certificate signed by a Responsible Person of the Borrower
          (i) certifying as to whether a Default has occurred and, if a Default has occurred, specifying the
          details thereof and any action taken or proposed to be taken with respect thereto and (ii) setting
          forth reasonably detailed calculations demonstrating compliance with Sections 6.13;

                   (b)    as soon as practicable in advance of filing with the Bankruptcy Court, all motions,
          applications, pleadings, proposed orders, judicial or financial information, and other documents
          as soon as practical in advance of filing by or on behalf of the Debtors with the Bankruptcy Court
          or any court pleadings distributed to any official committee appointed in the Cases; provided that
          all pleadings and proposed orders and any other such filings that relate to the Loan Documents,
          the Obligations, the Final Order, bidding procedures, or any plan of reorganization or plan of
          liquidation, or any disclosure statement related thereto shall be in form and substance satisfactory
          to the Lenders.

                  (c)      promptly after the same are publicly available, copies of each annual report, proxy
          or financial statement or other report or communication sent to the shareholders of the Borrower,
          and copies of all annual, regular, periodic and special reports and registration statements that the
          Borrower or any Subsidiary may file or be required to file with the SEC or any Governmental
          Authority succeeding to any or all of the functions of the SEC, or with any national securities
          exchange, and not otherwise required to be delivered pursuant hereto;

                  (d)     promptly after the furnishing thereof, copies of any material request or notice
          received by the Parent or any Subsidiary, or any statement or report furnished by the Parent or
          any Subsidiary to any holder of debt securities with a principal amount in excess of $1,000,000 of
          the Parent or any Subsidiary, pursuant to the terms of any indenture, loan or credit or similar
          agreement and not otherwise required to be furnished pursuant hereto;

                  (e)     promptly after receipt thereof by the Parent or any Subsidiary, copies of each
          notice or other correspondence received from the SEC (or comparable agency in any applicable

 73531283.28                                      89
18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 251 of 692


          non-U.S. jurisdiction) concerning any investigation or possible investigation or other inquiry by
          such agency regarding financial or other operational results of the Parent or any Subsidiary;

                   (f)    promptly after receipt thereof by the Parent or any Subsidiary, copies of any
          detailed final audit reports, management letters or recommendations submitted to the board of
          directors (or the audit committee of the board of directors) of the Parent by independent
          accountants in connection with the accounts or books of the Parent or any Subsidiary, or any
          audit of any of them;

                  (g)   concurrently with the delivery of the financial statements referred to in
          Section 5.01(b), the Marked-to-Market Report, substantially in the form of Exhibit E, for the
          Borrower and for the Parent and its other Subsidiaries, certified by the Borrower;

                  (h)    during the first fiscal quarter of each fiscal year, a report of a reputable insurance
          broker with respect to the insurance maintained by or on behalf of the Parent and its Subsidiaries
          in accordance with Section 5.06 of this Agreement;

                  (i)     promptly, upon receipt thereof, copies of all final “management letters” submitted
          to the Parent or any Subsidiary by the independent public accountants referred to in Section
          5.01(a) above;

                   (j)   promptly following the reasonable request of the Administrative Agent or
          Required Lenders, a Position Report, substantially in the form of Exhibit G, for the Borrower, by
          commodity, location and time, which shall set forth in reasonable detail the information necessary
          to calculate compliance with the Maximum Position Limits;

                  (k)    promptly after delivery thereof to the lenders under the Global DIP Facility
          Agreement, copies of all financial statements, projections, forecasts, reconciliations and cash
          balance reports, borrowing base reports and/or other financial reporting delivered to the lenders
          under the Global DIP Facility Agreement,;

                   (l)     promptly, such information on the Hess Litigation as the Administrative Agent or
          any Lender may from time to time reasonably request; provided that such information is not (i)
          entitled to legal privilege such as attorney work product and attorney-client communications
          (unless such information is subject to a common interest) or (ii) otherwise subject to a
          confidentiality restriction that would prohibit Borrower from providing such information;

                  (m) promptly, copies of any account statements or reports as the Administrative Agent
          or any Lender may from time to time reasonably request that have been received by or are
          available to any Loan Party with respect to any Pledged Account;

                   (n)      on the last Business Day of each week (for written confirmation by the
          Administrative Agent to the Lenders), with respect to the Operational Proceeds applied in
          accordance with Section 5.21 during the previous week, a written summary (calculated as of the
          last day of the previous week) of (i) the unpaid principal balance of the Prepetition Credit
          Facility, (ii) the amount of Operational Proceeds applied during such week to payment and
          satisfaction of the Prepetition Credit Facility, (iii) the outstanding unpaid principal balance of the
          Loans under this Agreement; and

                   (o)    promptly, such additional financial and other information regarding the Loan
          Parties and their respective Subsidiaries as any Lender may from time to time reasonably request.



 73531283.28                                       90
18-13374-mew            Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 252 of 692


 In no event shall the requirements set forth in this Section 5.02 require the Loan Parties to provide any such
 information (i) in respect of which disclosure to the Administrative Agent or any Lender (or their respective
 representatives or contractors) is prohibited by Law or (ii) as is subject to attorney-client privilege or
 constitutes attorney work-product.

                 SECTION 5.03 Notices. The Borrower will promptly notify the Administrative Agent (for
distribution thereby to each Lender) upon obtaining knowledge of:

                  (a)     the occurrence of any Default or Event of Default;

                   (b)    any (i) default or event of default under any material post-petition Contractual
          Obligation of the Loan Parties or any of their respective Subsidiaries of more than $500,000 or
          that would reasonably be expected to result in a Material Adverse Effect, (ii) post-petition
          Contractual Obligation of the Loan Parties or their Subsidiaries of more than $500,000 or that
          would reasonably be expected to result in a Material Adverse Effect being declared or otherwise
          accelerated prior to its stated maturity or (iii) litigation, investigation or proceeding which may
          exist at any time between the Loan Parties or any of their respective Subsidiaries and any
          Governmental Authority;

                    (c)    any litigation or proceeding against any Loan Party or any of their respective
          Subsidiaries in which the amount involved is $100,000 or more or in which injunctive or similar
          relief is sought;

                  (d)     the occurrence of any ERISA Event that, either individually or together with any
          other ERISA Events, could reasonably be expected to result in liability of the Parent and its
          Subsidiaries in an aggregate amount that would reasonably be expected to have a Material
          Adverse Effect;

                   (e)    any time at which (i) Borrowing Base availability is less than zero, (ii) the
          aggregate outstanding amount of L/C Obligations exceeds the L/C Sublimit, (iii) any of the limits
          set forth in Sections 2.01 and 2.02 on total Revolving Credit Exposure, Prepetition Credit
          Exposure and Term Credit Exposure is exceeded, (iv) the aggregate principal amount of
          outstanding Swing Line Loans exceeds the Swing Line Sublimit, or (v) the aggregate amount of
          L/C Obligations then outstanding, when taken together with the aggregate principal amount of
          Swing Line Loans then outstanding, exceeds the Fronting Cap;

                  (f)    promptly upon the occurrence of any violation by the Borrower of the Maximum
          Position Limits, telephonic notice thereof to the Administrative Agent followed by a notice in
          writing the same Business Day, outlining actions taken or to be taken to remedy the violation;

                  (g)     notice of any action arising under any Environmental Law or of any
          noncompliance by the Parent or any Subsidiary with any Environmental Law or any permit,
          approval, license or other authorization required thereunder, in either case that, if adversely
          determined, would reasonably be expected to result in liability of the Borrower and its
          Subsidiaries in an aggregate amount exceeding $500,000 or have a Material Adverse Effect;

                  (h)     any change in accounting or financial reporting practices by the Parent or any
          Subsidiary;

                  (i)     any change in the information provided in the Beneficial Ownership Certification
          delivered to such Lender that would result in a change to the list of beneficial owners identified in
          such certification;


 73531283.28                                      91
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 253 of 692


                 (j)      any change in a Subsidiary of the Parent, such that it has become, or is no longer,
           an Immaterial Subsidiary;

                   (k)   any matter or development that has had or could reasonably be expected to have a
           Material Adverse Effect; and

                   (l)    promptly following any request thereof, information and documentation
           reasonably requested by the Administrative Agent or any Lender for purposes of compliance with
           applicable “know your customer” and anti-money laundering rules and regulations, including the
           PATRIOT Act and the Beneficial Ownership Regulation .

                   Each notice delivered under this Section shall be accompanied by a statement of a
  Responsible Person of the Borrower setting forth the details of the occurrence requiring such notice and
  stating what action the Borrower has taken and proposes to take with respect thereto, and the Borrower
  shall answer any and all questions of the Administrative Agent or the Required Lenders regarding same.

                  SECTION 5.04 Conduct of Business; Preservation of Existence, Etc. The Borrower
will, and will cause each Loan Party and Subsidiary to, continue to engage in the respective businesses of
the same general type as conducted by each of them on the Effective Date or reasonably related business or
extension thereof. The Borrower will, and will cause each Loan Party and Subsidiary to, (a) preserve,
renew and maintain in full force and effect its legal existence and good standing under the Laws of the
jurisdiction of its organization except in a transaction permitted by Section 6.03 or 6.04; (b) take all
reasonable action to maintain all rights, licenses, permits, privileges and franchises necessary or desirable in
the normal conduct of its business, except to the extent that failure to do so could not reasonably be
expected to have a Material Adverse Effect; (c) preserve or renew all of its registered patents, trademarks,
trade names and service marks, except to the extent that failure to do so could not reasonably be expected to
have a Material Adverse Effect; (d) preserve the goodwill and business of the customers, suppliers and
others having business relations with the Loan Parties or any of their respective Subsidiaries, except to the
extent that failure to do so could not reasonably be expected to have a Material Adverse Effect; (e) use
commercially reasonable efforts to keep available the services and goodwill of such of its present
employees as are, in the reasonable opinion of the Loan Parties or any of their respective Subsidiaries, as
applicable, necessary for the conduct of its business as it is currently conducted, except, with respect to any
Guarantor that is not a Loan Party, as otherwise permitted under the Global DIP Facility Agreement; (f)
perform and observe all the terms, covenants and conditions required to be performed and observed by it
under its post-petition Contractual Obligations and do all things necessary to preserve and keep unimpaired
its rights under such Contractual Obligations except to the extent failure to maintain such Contractual
Obligations would not reasonably be expected to result in a Material Adverse Effect; (g) perform and
observe in all material respects the terms, covenants and conditions set forth in material prepetition secured
Indebtedness in respect of the collateral securing such Indebtedness; and (h) comply with all Laws orders,
writs, injunctions and decrees applicable to it or to its business or property, except, with respect to any
Guarantor, as otherwise permitted under the Global DIP Facility Agreement, except as would not
reasonably be expected to result in a Material Adverse Effect, or except as stayed by the Cases.

                SECTION 5.05 Maintenance of Properties. The Borrower will, and will cause each Loan
Party and Subsidiary to keep all property necessary in their business in good working order and condition
(ordinary wear and tear, casualty and condemnation excepted).

                  SECTION 5.06 Maintenance of Insurance. The Borrower will, and will cause each Loan
Party and Subsidiary to, (a) maintain with financially sound and reputable insurance companies insurance
on all its property in at least such amounts and against at least such risks (but including in any event public
liability, product liability and business interruption) as are usually insured against in the same general area
by companies engaged in the same or a similar business all of which insurance shall name the Collateral

  73531283.28                                      92
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 254 of 692


Agent for the ratable benefit of the Secured Parties as lender loss payee and additional insured, in the case
of property or casualty insurance, and as an additional insured, in the case of liability insurance, as its
interests may appear (and in each case if another party is already named as lender loss payee and additional
insured, to the extent a second named Lender loss payee and additional insured is not prohibited by law or
contract); (b) furnish to the Administrative Agent, promptly following written request, full information as to
the insurance carried, a copy of the underlying policy, the related cover note and all addendums thereto; and
(c) promptly pay all insurance premiums covering the Collateral.

                  SECTION 5.07 Payment of Obligations. The Borrower will, and will cause each Loan
Party and Subsidiary to, pay, in all respects discharge or otherwise satisfy at or before maturity or before
they become delinquent, as the case may be, all its post-petition obligations of whatever nature, except
where the amount or validity thereof is currently being contested in good faith by appropriate proceedings
and reserves in conformity with GAAP with respect thereto have been provided on its books or where
failure to pay, discharge or satisfy would not reasonably be expected to result in a Material Adverse Effect.

                 SECTION 5.08 Environmental Matters. Except as could not reasonably be expected,
either individually or in the aggregate, to result in liabilities of $2,000,000 or more, the Borrower will, and
will cause each Loan Party and Subsidiary to:

                   (a)     Comply with, and cause compliance by all tenants and subtenants (if any) with, all
 applicable Environmental Laws and obtain and comply with and maintain, and use commercially
 reasonable efforts to ensure that all tenants and subtenants obtain and comply with and maintain, any and
 all licenses, approvals, notifications, registrations or permits required by applicable Environmental Laws.

                   (b)    Conduct and complete all investigations, studies, sampling and testing, and all
 remedial, removal and other actions, required under Environmental Laws and promptly comply with all
 lawful orders and directives of all Governmental Authorities regarding Environmental Laws, except to the
 extent that the same are being contested in good faith by appropriate proceedings, and for which adequate
 reserves have been established and maintained on the books and records of the applicable Loan Party and
 the applicable Subsidiary in accordance with GAAP.

                  (c)      Handle, transport and dispose of, and cause all subtenants to handle, transport and
 dispose of, all Materials of Environmental Concern in compliance with all applicable Environmental Laws.

                SECTION 5.09 Books and Records. The Borrower will, and will cause each Loan Party
and Subsidiary to, keep proper books of records and accounts in which complete and correct entries in
conformity in all material respects with GAAP and all requirements of Applicable Law, shall be made of all
dealings and transactions in relation to its business and activities.

                  SECTION 5.10 Inspection Rights; Update Calls. The Borrower will, and will cause each
Loan Party and Subsidiary to, permit (x) representatives and independent contractors of the Administrative
Agent or its Related Parties and (y) any representative selected by the Required Lenders, in each case to
visit and inspect any of its properties, to examine its corporate, financial and operating records, and make
copies thereof or abstracts therefrom, and to discuss its affairs, finances and accounts with its directors,
officers, advisors and independent public accountants, all at the expense of the Borrower and at such
reasonable times during normal business hours and as often as may be reasonably requested; provided that
(i) the costs and expenses of only one inspection per month will be reimbursed (if such inspection is not
conducted by the Administrative Agent or its Related Parties or independent contractors), (ii)
representatives of the Borrower, the Loan Parties and the Administrative Agent shall have been provided a
reasonable opportunity to be present during the inspection, and (iii) the information during such inspection
shall be limited to the extent provided in the last paragraph of Section 5.02.


  73531283.28                                      93
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 255 of 692


                  SECTION 5.11 Use of Proceeds. The Borrower will, and will cause each Loan Party and
Subsidiary to, use the proceeds of the Loans and the Letters of Credit to (a) pay reasonable costs, fees, and
expenses, including fees of the Agents, the Swing Line Lender, the Issuing Banks and the other Lenders,
associated with the transactions contemplated by this Agreement and the other Loan Documents, (b) pay for
fees, costs, and expenses incurred by persons or firms retained by the Loan Parties pursuant to section 327,
328, or 363 of the Bankruptcy Code, and (c) provide ongoing working capital requirements of the Loan
Parties and the Subsidiaries and to pay for fees, costs, and expenses relating to the Cases (other than fees,
costs, and expenses referred to in clause (b)), in each case consistent with the Budget. Proceeds of the
Loans and the Letters of Credit shall not be used (i) to permit any Loan Party, any Subsidiary or any of their
respective representatives to challenge or otherwise contest or institute any proceeding to determine (x) the
validity, perfection or priority of any security interest in favor of any of the Secured Parties, or (y) the
enforceability of the obligations of the Borrower of any Guarantor under this Agreement or (ii) to
investigate, commence, prosecute or defend any claim, motion, proceeding or cause of action against any of
the Lenders, each in such capacity, and their respective agents, attorneys, advisors or representatives,
including, without limitation, any lender liability, subordination or similar claims.

                SECTION 5.12 First and Second Day Orders. The Borrower shall cause all proposed
First Day Orders and, “second day” orders, to be reasonably acceptable to the Administrative Agent and the
Required Lenders in all respects.

                SECTION 5.13 Sanctions; Anti-Corruption Laws. The Borrower will, and will cause
each Loan Party and Subsidiary to, maintain in effect policies and procedures designed to promote
compliance by the Loan Parties, the Subsidiaries, and their respective directors, officers, employees, and
agents with applicable Sanctions and with the FCPA and any other applicable anti-corruption laws and
Anti-Terrorism Laws.

                  SECTION 5.14 Required Milestones and Actions. The Debtors shall comply with and
satisfy (by the occurrence thereof) each of the Required Milestones, and perform each of the actions, set
forth on Schedule 5.14 attached hereto, on or before the dates required for such compliance and actions as
set forth in such Schedule.

                  SECTION 5.15 Periodic Audit of Borrowing Base. The Borrower will, and will cause
each Loan Party and Subsidiary to, permit the Administrative Agent, its representatives or any other
designee of the Administrative Agent or the Required Lenders to perform, or to have an independent
inspector perform, at the cost and expense of the Borrower, (a) a collateral and risk management practices
review for the Loan Parties and Subsidiaries and (b) periodic due diligence inspections, tests and reviews of
all of the assets of the Loan Parties that comprise Collateral, each asset category set forth in the definition of
Borrowing Base, the Loan Parties’ and Subsidiaries’ other reporting under this Agreement and compliance
with the Risk Management Practices, once during the term of this Agreement (or more frequently as the
Administrative Agent or the Required Lenders may require if the Commitment Termination Date occurs
more than 120 days after the Effective Date) during business hours. The Administrative Agent will provide
copies of final reports prepared by independent inspectors to each Lender promptly following receipt by the
Administrative Agent thereof.

                 SECTION 5.16 Maximum Position Limits; Risk Management. The Borrower will, and
will cause each Loan Party and Subsidiary to, comply in all material respects with the Maximum Position
Limits and the Risk Management Practices, in each case, as in effect on the Effective Date. The Borrower
shall provide at least five (5) Business Days’ prior written notice to the Administrative Agent (for
distribution to each Lender) of any proposed material change to the Risk Management Practices. Any
change (whether material or immaterial) to the Risk Management Practices that relates to the Maximum


  73531283.28                                       94
18-13374-mew          Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 256 of 692


Position Limits (unless corresponding to a decrease) must be approved in advance by the Administrative
Agent and the Required Lenders.

                 SECTION 5.17 Notification of Account Debtors. The Borrower will notify each
Account Debtor and each other Person who remits or is to remit payments to the Borrower of the Perfected
First Lien of the Collateral Agent, and instruct each Account Debtor and each such other Person to make all
payments to the Borrower to a Controlled Account, without offset, defense or counterclaim of any kind,
nature or description whatsoever. The Borrower shall cause all payments in respect of sales by the
Borrower of Eligible Commodities to be remitted directly to a Controlled Account. The Borrower shall
instruct any bank at which it holds a Deposit Account of the Borrower that is not a Controlled Account to
immediately transfer payments received into such Deposit Account to a Controlled Account.

                  SECTION 5.18 Taxes. The Borrower will, and will cause each Loan Party and Subsidiary
to, timely file or cause to be filed all material income, franchise and other Tax returns required to be filed
by any of them and shall timely pay all material income, franchise and other Taxes due and payable (other
than any Taxes (i) the amount or validity of which are being contested in good faith by appropriate
proceedings, with respect to which reserves in conformity with GAAP have been provided on the books of
the Loan Parties and their respective Subsidiaries, as applicable, or (ii) where stayed by the Cases; provided
that, in the case of any Debtor, such payments shall be made in accordance with the Bankruptcy Code and
subject to any required approval by the Bankruptcy Court.

                 SECTION 5.19 Additional Collateral; Further Assurances.

                    (a)     The Borrower shall promptly cause each Subsidiary of Parent formed or acquired
           after the date of this Agreement, other than any Immaterial Subsidiary, to join the Guaranty and
           Security Documents pursuant to joinders in form satisfactory to the Required Lenders and subject
           to satisfaction of the requirements set forth in the last sentence of this clause (a). If and when any
           Subsidiary ceases to be an Immaterial Subsidiary, the Borrower shall promptly cause such
           Subsidiary to join the Guaranty and Security Documents pursuant to joinders in form reasonably
           satisfactory to the Required Lenders. The Administrative Agent and each Lender shall have
           received, prior to the effectiveness of any such joinder, (x) all documentation and other
           information regarding such Subsidiary requested by the Administrative Agent or such Lender in
           connection with applicable “know your customer” and anti-money laundering rules and
           regulations, including the PATRIOT Act, and (y) a properly completed and signed IRS Form W-8
           or W-9, as applicable, for such Subsidiary, and all such documentation and other information
           described in clauses (x) and (y) shall be acceptable to the Administrative Agent in its sole
           discretion.

                    (b)     With respect to any Collateral of a Loan Party as to which the Collateral Agent for
           the ratable benefit of the Secured Parties does not have a perfected lien, or, in the case of assets of
           Debtors already encumbered as of the Petition Date in favor of other creditors other than a
           Lender, a perfected junior lien, such Loan Party shall cause within 45 days of the date hereof (or
           60 Business Days in the case of Subsidiaries organized in South Africa), or in the case of after-
           acquired or after-arising Collateral, within 45 days of the date such Collateral is acquired or
           arises, such Debtor to (i) execute and deliver to the Collateral Agent (A) such amendments to the
           Security Agreement or such other documents necessary to grant to the Collateral Agent for the
           ratable benefit of the Secured Parties a perfected Lien in such Collateral not already encumbered
           as of the Petition Date in favor of a Lender, including the Equity Interests of all Subsidiaries of
           the Parent, and (B) security agreements, vessel mortgages and such other documents necessary or
           advisable to grant to the Collateral Agent for the ratable benefit of the Secured Parties a perfected
           lien in such Collateral as was already encumbered as of the Petition Date in favor of a Person

  73531283.28                                       95
18-13374-mew          Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 257 of 692


           other than a Lender, and (ii) take all other actions necessary to grant to the Collateral Agent for
           the ratable benefit of the Secured Parties (A) a perfected Lien in such property, including, without
           limitation, the filing of UCC financing statements in such jurisdictions as may be required by the
           Security Agreement or by Law or as may be requested by the Collateral Agent and (B) a
           perfected lien in such other Collateral as was already encumbered as of the Petition Date in favor
           of a Person other than a Lender, including, without limitation, the filing of UCC financing
           statements, vessel mortgages and other documents and the delivery of customary opinions of
           counsel and certificates of Loan Parties and public officials, in such jurisdictions as may be
           advisable or required by the Security Agreement or by Law or as may be requested by the
           Collateral Agent, provided that with respect to Loan Parties that are not U.S. Persons, and with
           respect to documents and actions necessary or advisable pursuant to the laws of jurisdictions
           outside of the United States and its States and territories, such obligation shall be subject to and in
           accordance with the Agreed Security Principles (as defined in the Global DIP Facility
           agreement). With respect to any Person that becomes a Loan Party after the Effective Date, or
           any Collateral of the Loan Parties acquired or arising after the Effective Date, the Borrower shall
           cause the execution, delivery and performance of the items required pursuant to the foregoing
           sentence within 60 days of the date that such Person becomes a Loan Party, or the date that such
           property arises or is acquired, as applicable.

                 SECTION 5.20 Stored Eligible Commodities. The Borrower will store all Eligible
Commodities in an Approved Inventory Location so long as whenever applicable, (i) such Eligible
Commodities are covered by an appropriate insurance policy that names the Collateral Agent for the ratable
benefit of the Secured Parties as additional insured and loss payee as their interests may appear, (ii) the
Collateral Agent shall have received such amendments to the Security Agreement or such other documents
and customary legal opinions as the Collateral Agent (acting at the direction of the Required Lenders)
deems necessary or advisable to grant the Collateral Agent for the ratable benefit of the Secured Parties a
perfected Lien in such Eligible Commodities and (iii) the Borrower shall take all actions necessary or
advisable to grant to the Collateral Agent for the ratable benefit of the Secured Parties a perfected Lien in
such property, including, without limitation, the filing of UCC or PPSA financing statements in such
jurisdiction as may be required by the Security Documents or by Law or as may be requested by the
Collateral Agent (acting at the direction of the Required Lenders); provided, however, that the Approved
Inventory Locations as of the Effective Date are acceptable to the Collateral Agent (acting at the direction
of the Required Lenders).

                SECTION 5.21 Cash Management. The Borrower hereby irrevocably authorizes, directs,
and agrees as follows:

                 (a)       On the Effective Date, (i) the Administrative Agent shall (and is hereby authorized
 and directed by the Required Lenders and the Borrower to) be deemed to have removed and applied all
 amounts on deposit in the Wells Fargo Account on the Effective Date, in accordance with Section 7.02
 hereof and in partial satisfaction of the Prepetition Credit Facility, (ii) the Borrower shall be deemed to
 have requested from the Lenders, and the Lenders shall be deemed to have made, a LIBOR Rate Loan, in
 accordance with Section 2.01 hereof to the Borrower in the amount deemed to have been applied
 hereinabove in accordance with Section 7.02, and (iii) the Administrative Agent shall (and is hereby
 authorized and directed by the Required Lenders and the Borrower to) be deemed to have deposited in the
 Wells Fargo Account on the same day as such application (pursuant to clause (a)(i) above) in accordance
 with Section 7.02 hereof an amount equal to such to such amount as was deemed removed therefrom (it
 being acknowledged hereby that all of the foregoing shall have been accomplished by bookkeeping entries,
 rather than physical movements of funds, on the Effective Date).



  73531283.28                                       96
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 258 of 692


                 (b)      On the Effective Date, (i) the Borrower shall be deemed to have obtained and
removed from each of the Controlled Accounts, the entire balance therein on the Effective Date, and (ii)
(A) the Administrative Agent shall (and is hereby authorized and directed by the Required Lenders and the
Borrower to) be deemed to have applied such balance amounts in accordance with Section 7.02 hereof and
(to the extent applicable) in partial satisfaction of the Prepetition Credit Facility and the Obligations, (B)
the Lenders shall be deemed, in accordance with Section 2.01 hereof (and subject to all other terms,
conditions and provisions hereof), to have made a LIBOR Rate Loan on the Effective Date to the Borrower
in the amount of such amounts applied pursuant to the foregoing clause (ii)(A) (and this direction shall be
accompanied by a Borrowing Request in accordance with Section 2.04 hereof) and (C) the Administrative
Agent shall (and is hereby authorized and directed by the Required Lenders and the Borrower to) be
deemed to have deposited, on the same day as such removal, in each of such Controlled Accounts an
amount, from the proceeds of such Loan, equal to such portion of such amount as was removed therefrom
pursuant to the foregoing (it being acknowledged hereby that all of the foregoing shall have been
accomplished by bookkeeping entries, rather than physical movements of funds, on the Effective Date).

                  (c)      So long as any unpaid balance remains outstanding with respect to the Prepetition
Credit Facility (or unless otherwise directed in writing by the Required Lenders), on each Business Day
(beginning with the Business Day immediately after the Effective Date), (i) as of the end of each such
Business Day, the Borrower shall identify in a written notice (the “Operational Proceeds Notice”) to the
Administrative Agent (and upon receipt the Administrative Agent shall promptly provide a copy of such
Operational Proceeds Notice to the Lenders) the amount on deposit in the Wells Fargo Account and in
each of the Controlled Accounts that constitutes proceeds from the sales of goods or other U.S. Priority
Collateral or the collection of accounts and other proceeds of U.S. Priority Collateral (“Operational
Proceeds”), (ii) the Borrower shall be deemed (without any further action needed), on the next succeeding
Business Day after the Borrower provided such written notice, to have transferred from each of the
Controlled Accounts to the Wells Fargo Account such Operational Proceeds as identified by the Borrower
in such notice, (iii) the Administrative Agent shall (and is hereby authorized and directed by the Required
Lenders and the Borrower to) be deemed, on the date of such transfer, to have obtained and removed from
the Wells Fargo Account, the balance equal to such Operational Proceeds deemed so transferred to the
Wells Fargo Account, (iv) the Administrative Agent shall (and is hereby authorized and directed by the
Required Lenders and the Borrower to) be deemed to have applied such amount of Operational Proceeds
deemed transferred to the Wells Fargo Account immediately upon receipt pursuant to the foregoing clause
(c)(iii) in accordance with Section 7.02 hereof, and the Lenders shall be deemed to have made a LIBOR
Rate Loan to the Borrower in the amount of such amount of Operational Proceeds deemed so applied and
(v) to the extent of the Loan described in the foregoing clause (iv), the Administrative Agent shall (and is
hereby authorized and directed by the Required Lenders and the Borrower to) be deemed to have
deposited, on the same day as such removal (or as promptly thereafter as is commercially practicable), in
each of such Controlled Accounts, or in the Wells Fargo Account, as applicable, an amount equal to such
to such amount as was transferred therefrom by the Borrower (it being acknowledged that all of the
foregoing deemed events shall be evidenced by bookkeeping entries, and shall not require the actual
transfer of funds); provided however, that the deemed application of funds and deemed making of Loans
under this Section 5.21(c) shall be suspended thereafter and without subsequent effect upon written notice
from the Administrative Agent (acting at the direction of the Required Lenders) stating that the operation
of Section 5.21(c) is suspended (but such suspension shall not affect any deemed applications of funds or
deemed Loans effected pursuant hereto prior to the date of such notice).

                (d)     Until the occurrence of an Event of Default, and subject in all respects to the
remedies of the Agents and the Lenders as are set forth herein or in any of the other Loan Document upon
an Event of Default, each Lender acknowledges and agrees that the Borrower shall be permitted to
withdraw amounts on deposit in any Controlled Account therein and in accordance with, and subject to,
the Budget) on any Business Day.

 73531283.28                                     97
18-13374-mew             Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 259 of 692


                (e)     Borrower shall take all actions necessary so that all Deposit Accounts (other than
 the Chase Account) shall be and remain Controlled Accounts.

                 SECTION 5.22 Hedging Policy. The Borrower shall adopt and implement, within ten
Business Days after the Effective Date, a commodity price hedging policy that is satisfactory to the
Required Lenders and consistent in all material respects with the commodity price hedging policies required
under the Global DIP Facility Agreement. The Borrower’s commodity price hedging policy shall be
designed and implemented no later than the tenth Business Day after the Effective Date, so as to hedge
against the economic impact of downward movements in the price for commodities purchased by the
Borrower, including fuels and other such assets as constitute a part of the inventory of the Borrower. The
Borrower shall execute hedges via Swap Contracts, and shall do so only with Lenders in order to satisfy the
obligations arising under this Section 5.22.

                SECTION 5.23 Commodity Accounts, Deposit Accounts and Securities Accounts.
Neither the Borrower nor any of its Subsidiaries shall open or maintain any Commodity Account, Deposit
Account or Securities Account other than the Chase Account, each other Controlled Account and any other
Commodity Account, Deposit Account or Securities Account established with the consent of the
Administrative Agent (acting upon instructions of the Required Lenders); it being understood and agreed
that the Wells Fargo Account is maintained in the name of ABN AMRO Capital USA LLC and not in the
name of the Borrower.

                                                 ARTICLE VI

                                         NEGATIVE COVENANTS

                  Until the Commitments have expired or been terminated, all Obligations (other than
  contingent indemnification obligation not due and owing) have been paid in full and all Letters of Credit
  have expired, been canceled or otherwise Cash Collateralized (without any pending drawings), the
  Borrower covenants and agrees with the Lenders that:

                  SECTION 6.01 Indebtedness. The Borrower will not, nor will it permit any Loan Party
to, create, incur, assume or suffer to exist any Indebtedness, except:

                   (a)     Indebtedness under the Loan Documents;

                    (b)     Indebtedness and Guaranty obligations outstanding on the date hereof and listed
           on Schedule 6.01 or any refinancings, renewals or extensions thereof (“Permitted Refinancing
           Indebtedness”) which do not result in an increase thereof provided that, (i) the amount of such
           Indebtedness is not increased at the time of such refinancing, refunding, renewal or extension,
           other than by an amount equal to accrued interest, fees and expenses incurred in connection
           therewith (ii) such refinancing, refunding, renewal or extended Indebtedness shall (A) not have a
           final maturity prior to the final maturity date of the Indebtedness being refinanced, refunded,
           renewed or extended and (B) have an average life to maturity (without giving effect to any
           prepayment) equal to or greater than such Indebtedness, (iii) the terms of such refinancing,
           refunding, renewal or extension shall not be more restrictive (taken as a whole) than the terms of
           such Indebtedness, (iv) any guarantee entered into in connection with such refinancing,
           refunding, renewal or extension that is not a refinancing of an existing guarantee of such
           Indebtedness shall not be permitted under this Section 6.01(b) and (v) if the Indebtedness being
           refinanced is subordinated, such Permitted Refinancing Indebtedness shall be subordinated to at
           least the same extent, and on terms at least as favorable to the Lenders, as the Indebtedness being
           refinanced;


  73531283.28                                      98
18-13374-mew             Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 260 of 692


                   (c)     Indebtedness under Commodity OTC Agreements and Financial OTC Agreements
           entered into in compliance with the Risk Management Practices;

                   (d)     Indebtedness in respect of performance bonds, bid bonds, appeal bonds, surety
           bonds and completion guarantees and similar obligations not in connection with money
           borrowed, in each case provided in the ordinary course of business, including those incurred to
           secure health, safety and environmental obligations in the ordinary course of business;

                   (e)     Indebtedness (i) resulting from a bank or other financial institution honoring a
           check, draft or similar instrument in the ordinary course of business or (ii) arising under or in
           connection with cash management services in the ordinary course of business;

                   (f)    Indebtedness (i) under the Global DIP Facility Agreement and the Loan
           Documents (as defined in the Global DIP Facility Agreement) and (ii) any Indebtedness
           permitted to be incurred or outstanding by the terms of the Global DIP Facility Agreement;

                   (g)     Indebtedness permitted by the Interim DIP Order;

                   (h)     Indebtedness owing by any Loan Party to any other Loan Party;

                   (i)     the Prepetition Obligations;

                   (j)     as permitted by the Cash Management Order; and

                   (k)   Indebtedness not otherwise permitted hereunder in an aggregate amount not to
           exceed $250,000 at any time outstanding.

                 SECTION 6.02 Liens. The Borrower will not, nor will it permit any Loan Party or
Subsidiary to, create, incur, assume or suffer to exist any Lien upon any of its property, assets or revenues,
whether now owned or hereafter acquired, other than the following (collectively, “Permitted Liens”):

                   (a)     Liens for taxes, assessments or governmental charges (including Liens in favor of
           customs and revenues authorities imposed by applicable Law arising in the ordinary course of
           business in connection with the importation of goods) or levies not yet due and payable or not
           then required to be paid hereunder;

                    (b)    carriers’, warehousemen’s, mechanics’, materialmen’s, repairmen’s, landlord’s,
           lessor’s or other similar Liens arising in the ordinary course of business which are not overdue for
           a period of more than 30 days or which are being contested in good faith by appropriate
           proceedings for which adequate reserves are maintained on its books and records in accordance
           with GAAP;

                   (c)    pledges or deposits in connection with workers’ compensation, unemployment
           insurance and other social security legislation;

                   (d)     deposits to secure the performance of bids, trade contracts (other than for
           borrowed money), leases, statutory obligations, surety and appeal bonds, performance bonds and
           other obligations of a like nature incurred in the ordinary course of business;

                   (e)     Permitted Borrowing Base Liens;

                   (f)     Permitted Financial Management Liens and Liens on Commodities Accounts in
           favor of Eligible Commodity Brokers permitted under the applicable Account Control
           Agreement;

  73531283.28                                       99
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                               Pg 261 of 692


                   (g)     easements, rights-of-way, restrictions and other similar title exceptions and
           encumbrances incurred in the ordinary course of business which, in the aggregate, are not
           substantial in amount, secure obligations that do not constitute Indebtedness, and which do not in
           any case materially detract from the value of the property subject thereto or materially interfere
           with the ordinary conduct of the business of the Loan Parties and their respective Subsidiaries;

                  (h)      Liens created pursuant to the Security Documents;

                  (i)      First Purchaser Liens;

                   (j)    Liens (i) listed on Schedule 6.02, including Liens securing the Prepetition
           Obligations, and (ii) securing the obligations under the Global DIP Loan Documents;

                   (k)    Liens securing judgments for the payment of money not constituting an Event of
           Default under Section 7.01(g);

                   (l)    Liens on cash deposited as collateral by the Borrower to secure the performance of
           Indebtedness permitted pursuant to Section 6.01(c), in an amount not to exceed that which is
           required by the contract with the applicable counterparty (or counterparties) thereto;

                   (m)     Liens arising pursuant to the Orders, First Day Orders and “second day” orders;

                   (n)     Liens securing Indebtedness (i) under the Global DIP Facility Agreement and the
           Loan Documents (as defined in the Global DIP Facility Agreement) and (ii) permitted to be
           incurred or outstanding by the terms of the Global DIP Facility Agreement;

                    (o)     Liens arising solely by virtue of any statutory or common law provisions relating
           to banker’s liens, liens in favor of securities intermediaries, rights of setoff or similar rights and
           remedies as to deposit accounts or securities accounts or other funds maintained with depository
           institutions or securities intermediaries;

                   (p)     any interest or title of a licensor, sublicensor, lessor or sublessor under any license
           or operating or true lease agreement incurred in the ordinary course of business;

                   (q)    security given to a public or private utility or any Governmental Authority as
           required in accordance with the First Day Orders or “second day” orders;

                  (r)    Liens in the nature of the right of setoff in favor of counterparties to contractual
           agreements with the Loan Parties in the ordinary course of business; and

                  (s)    Liens not otherwise permitted hereunder securing obligations in an aggregate
           amount outstanding at any time not to exceed $250,000.

                 SECTION 6.03 Fundamental Changes. The Borrower will not, nor will it permit any
Loan Party or Subsidiary to, enter into any merger, consolidation or amalgamation, or liquidate, wind up,
divide or dissolve itself (or suffer any liquidation, division or dissolution), or Dispose of all or substantially
all of the property, business or assets, without the prior written consent of the Required Lenders, except,(i)
to the extent permitted under the Global DIP Facility Agreement in respect of Guarantors, (ii) as described
on Schedule 6.03 (iii) mergers, consolidations or amalgamations between and among the Loan Parties, (iv)
liquidations and dissolutions of any Subsidiary so long as the assets are directly or indirectly transferred to a
Loan Party.

                 SECTION 6.04 Dispositions. The Borrower will not, and will not permit any Loan Party
or Subsidiary to, make any Disposition, except:

  73531283.28                                       100
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 262 of 692


                  (a)     Dispositions of obsolete or worn out property, whether now owned or hereafter
          acquired, in the ordinary course of business;

                  (b)     the sale of Eligible Commodities and other inventory in the ordinary course of
          business;

                  (c)     Dispositions by any Loan Party to any other Loan Party;

                 (d)      Dispositions in accordance with the Orders, the First Day Orders and “second
          day” Orders;

                   (e)    leases, subleases, licenses and sublicenses of real or personal property, in each
          case in the ordinary course of business (excluding any such transaction with a Subsidiary that is
          not a Loan Party);

                  (f)    any Disposition of property to a Governmental Authority as a result of a
          condemnation of such property where the book value of such property does not exceed $400,000
          in aggregate for all such Dispositions;

                  (g)     Transactions permitted under Section 6.02, 6.03, 6.05 and 6.06;

                 (h)     Dispositions not otherwise permitted hereunder in an aggregate book value
          amount not to exceed $400,000 in aggregate for all such Dispositions; and

                 (i)    Dispositions by parties to the Global DIP Facility Agreement permitted under the
          Global DIP Facility Agreement.

                SECTION 6.05 Payments.

                  (a)   The Borrower will not, and will not permit any Loan Party or Subsidiary to,
          declare or make any Restricted Payment except that, so long as no Event of Default shall have
          occurred and be continuing at the time of any action described below or would result therefrom:

                           (i)     each Subsidiary (excluding Borrower) may make Restricted Payments to
          Parent or any other Subsidiary and any other Person that owns an Equity Interest in such Subsidiary,
          ratably according to their respective holdings of such Equity Interests in respect of which such
          Restricted Payment is being made;

                           (ii)    Restricted Payments to the extent constituting Investments permitted
          hereunder;

                         (iii)   Restricted Payments provided for in the Orders; “First Day Orders” or
          “second day Orders”; and

                         (iv)      the Borrower and each Subsidiary may declare and make dividend
          payments or other distributions payable solely in common Equity Interests of such Person.

                   (b)    The Borrower will not, and will not permit any other Debtor to, make any
          payment to, or otherwise provide any adequate protection for, any prepetition creditors, other than
          pursuant to the Interim DIP Order, the Final DIP Order, the First Day Orders and other cash
          collateral orders acceptable to the Required Lenders or in accordance with the Budget.

                  (c)   The Borrower will not, and will not permit any Loan Party or Subsidiary to,
          prepay any prepetition Indebtedness (other than the Prepetition Obligations and other than, for the

 73531283.28                                     101
18-13374-mew            Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 263 of 692


          avoidance of doubt, any payments under any financial or physical trading transaction (including
          hedges), including commodities transactions), except as (i) pursuant to the First Day Orders or
          other Bankruptcy Court orders acceptable to the Required Lenders, (ii) as disclosed on Schedule
          6.05(c), (iii) as permitted under the Global DIP Facility Agreement, (iv) in accordance with the
          Budget and (v) any other order of the Bankruptcy Court.

                Anything contained in this Section 6.05, or any other covenant or other provision of this
 Agreement to the contrary notwithstanding, in no event shall the Borrower or any Loan Party make any
 Restricted Payment to any Subsidiary of Parent that is not a Guarantor or Borrower hereunder.

                 SECTION 6.06 Investments. The Borrower will not, and will not permit any Loan Party
or Subsidiary to, make any Investments, except:

                  (a)     Investments in the form of Cash Equivalents;

                (b)       Investments by any Loan Party or any of their respective Subsidiaries in the
          Borrower;

                  (c)   Investments consisting of cash and Cash Equivalents posted as collateral to satisfy
          margin requirements with counterparties of Commodity Contracts or Swap Contracts of the
          Borrower and its Subsidiaries;

                  (d)     Investments by Loan Parties (other than the Borrower) in other Loan Parties;

                 (e)  Investments by Loan Parties (other than the Borrower) in any direct or indirect
          Wholly-Owned Subsidiary of Parent;

                  (f)    Investments (including debt obligations and equity securities) received in
          connection with the bankruptcy or reorganization of suppliers and customers and in settlement of
          delinquent obligations of, and other disputes with, customers and suppliers arising in the ordinary
          course of business;

                  (g)   Investments by any Loan Party (other than the Borrower) to the extent permitted
          under the Global DIP Facility Agreement;

                 (h)    Investments made in accordance with the Orders, the First Day Orders or the
          “second day” Orders;

                  (i)     Intercompany loans and advances by Borrower to Loan Parties;

                  (j)     Investments permitted under Sections 6.01, 6.04 and 6.08;

                  (k)     Investments in an aggregate amount outstanding not to exceed $400,000; and

                  (l)    Investments in existence on the Effective Date and listed on Schedule 6.06,
          together with any renewals and extensions thereof so long as the principal amount of such
          renewal or extension does not exceed the original principal amount of such Investment.

                 Anything contained in this Section 6.06, or any other covenant or other provision of this
 Agreement to the contrary notwithstanding, in no event shall the Borrower or any Loan Party make Loans
 to or Investments in any Subsidiary of Parent that is not a Guarantor or Borrower hereunder, except to the
 extent permitted under Section 6.06(l) above.



 73531283.28                                     102
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 264 of 692


                SECTION 6.07 Use of Proceeds. The Borrower will not, and will not permit any Loan
Party or Subsidiary to, use the proceeds of Loans or Letters of Credit other than in accordance with this
Agreement, the Interim DIP Order, the Final DIP Order or such other order entered by the Bankruptcy
Court.

                  SECTION 6.08 Transactions with Affiliates. The Borrower will not, and will not permit
any Loan Party or Subsidiary to, engage or enter into any transaction or arrangement, including, without
limitation, any purchase, sale, transfer, lease or exchange of property or the rendering of any service, with
any Affiliate, other than (a) transactions of a type or nature that is described on Schedule 6.08; provided
that this clause (a) shall not permit the purchase of inventory by the Borrower from, or sale of inventory by
the Borrower to, any Affiliate (it being understood and agreed that such purchases and sales of inventory
are prohibited by this Agreement), (b) transactions among Loan Parties or among Subsidiaries that are not
Loan Parties, (c) transactions in accordance in all material respects with the Orders, (d) Investments
permitted under Section 6.06, (e) employment contracts with officers and management of the Loan Parties
and their Subsidiaries and payment of reasonable compensation to directors, officers and employees for
services actually rendered to any such Loan Party or any of its Subsidiaries and indemnification
arrangements, and (f) payment of director’s fees, expenses and indemnities, and (g) other transactions on an
arm’s length basis other than transactions among any one or more Loan Parties and any one or more
Subsidiaries that are not Loan Parties. The parties hereto acknowledge that as of the Effective Date no
Lender is an Affiliate of the Borrower.

                  SECTION 6.09 Certain Restrictive Agreements. The Borrower will not, and will not
permit any Loan Party or Subsidiary to, enter into any Contractual Obligation after the Petition Date (other
than this Agreement or any other Loan Document) that limits the ability of (a) any Subsidiary to make
Restricted Payments to Parent or any Subsidiary or to otherwise transfer property to Parent or any
Subsidiary, (b) Parent or any Subsidiary to Guarantee Indebtedness of Parent or any Subsidiary or (c) Parent
or any Subsidiary to create, incur, assume or suffer to exist Liens on property of such Person to secure the
Obligations except for any restrictions existing under or by reason of: (i) the Loan Documents, the Global
DIP Facility Agreement and Loan Documents (as defined in the Global DIP Facility Agreement), and the
Prepetition Credit Facility, (ii) any encumbrance or restriction pursuant to applicable Law or an agreement
in effect at or entered into on the Closing Date subject to the Bankruptcy Cases or other applicable order of
the Bankruptcy Court, (iii) any encumbrances or restrictions applicable solely to a Foreign Subsidiary and
contained in any credit facility extended to any Foreign Subsidiary that is otherwise permitted hereunder;
provided that such encumbrances and restrictions do not extend to any Subsidiary that is not a Foreign
Subsidiary, (iv) any restrictions (related to the assets being sold) imposed pursuant to an agreement that has
been entered into in connection with the disposition of assets of a Loan Party or a Subsidiary thereof to the
extent such disposition is permitted hereunder, (v) any encumbrance or restriction that restricts the
subletting, assignment, subleasing, sublicensing or transfer of any property or asset or right and is contained
in any lease, license or other contract entered into in the ordinary course of business (vi) as disclosed on
Schedule 6.09, and (vii) restrictions on transfers of assets pursuant to a Lien permitted by Section 6.02.

                  SECTION 6.10 Changes in Fiscal Periods and Accounting. The Borrower will not
(a) permit the last day of its or Parent’s fiscal year to end on a day other than December 31 or change the
Borrower’s method of determining its fiscal quarters, or (b) make any significant change in its accounting
treatment or reporting practices, except as required by GAAP, without providing the Administrative Agent
with at least ten days’ prior written notice of such change. At the end of any calendar quarter during which
any such change has occurred, the Borrower shall prepare and deliver to the Administrative Agent an
explanatory statement, in form and substance satisfactory to the Administrative Agent (acting at the
direction of the Required Lenders), reconciling the previous treatment or practice with the new treatment or
practice.


  73531283.28                                     103
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 265 of 692


                 SECTION 6.11 Changes in Nature of Business. The Borrower will not, and will not
permit any Loan Party or Subsidiary to, engage to any material extent in any business other than those
businesses conducted by the Loan Parties and Subsidiaries on the Effective Date or any business reasonably
related or incidental thereto or representing a reasonable expansion thereof, except as required by the
Bankruptcy Code or orders entered by the Bankruptcy Court.

                 SECTION 6.12 Restriction on Use of Proceeds. The Borrower will not use the proceeds
of any Credit Extension, whether immediately, incidentally or ultimately, to purchase or carry Margin
Stock, or to extend credit to others for the purpose of purchasing or carrying Margin Stock or to refund
indebtedness originally incurred for such purpose.

                  SECTION 6.13 Budget Variance. Commencing after the conclusion of the fourth full
week after the Petition Date as of the last day of each week thereafter, the Debtors’ total cumulative
operating disbursements since the Petition Date will not exceed 105% of the amount set forth in the
Approved Budget(s) covering such cumulative period (which amount, for the avoidance of doubt, shall take
into account any positive or negative variances—i.e., the amount by which total operating disbursements is
less or greater than 100% of the budgeted amount—from any prior testing period that may be carried
forward and applied to the current period), unless the Required Lenders have provided a written waiver of
such excess.

                 SECTION 6.14 Sanctions; Anti-Corruption; Use of Proceeds. The Borrower will not,
and will not permit any Loan Party or Subsidiary to, directly or indirectly, use the proceeds of the Loans or
use the Letters of Credit, or lend, contribute or otherwise make available such proceeds to any subsidiary,
joint venture partner or other Person, (i) in furtherance of an offer, payment, promise to pay, or
authorization of the payment or giving of money, or anything else of value, to any Person in violation of the
FCPA or any other applicable anti-corruption law, or (ii) (A) to fund any activities or business of or with
any Person, or in any Sanctioned Country, in each case that would result in a violation of applicable
Sanctions, or (B) in any other manner that would result in a violation of applicable Sanctions by any Person
(including any Person participating in the Loans or Letters of Credit, whether as Administrative Agent,
Collateral Agent, Swing Line Lender, Issuing Bank, Lender, underwriter, advisor, investor, or otherwise).

                SECTION 6.15 Additional Bankruptcy Matters.

                 (a)     The Borrower will not, nor will it permit any other Debtor to, file or support the
 confirmation of any Plan of Reorganization other than an Acceptable Reorganization Plan.

                  (b)      No Debtor shall consent to the termination or reduction of the Debtors’ exclusive
 plan filing and plan solicitation periods under section 1121 of the Bankruptcy Code (the “Exclusivity
 Periods”) or fail to object to any motion by a party in interest (other than a Lender or an Agent) seeking to
 terminate or reduce the Exclusivity Periods, in each case without the prior written consent of the
 Administrative Agent (acting at the direction of the Required Lenders).

                SECTION 6.16 Limitation on Amendments to Organizational Documents. The
Borrower shall not, nor shall it permit any Loan Party or Subsidiary to, amend its Organizational
Documents in any manner adverse to the Lenders except as required by law.

                SECTION 6.17 Limitation on Speculative Transactions, Certain Futures, etc. The
Borrower shall not, nor shall it permit any Loan Party or Subsidiary to, (a) purchase or sell Swap Contracts,
Futures Contracts or options on Futures Contracts except purchases or sales by the Borrower of energy
Swap Contracts, Futures Contracts or options on energy Futures Contracts on the NYMEX or ICE or any
commodity exchange acceptable to the Required Lenders in compliance with the Maximum Position Limits

  73531283.28                                    104
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 266 of 692


and for the sole purpose of hedging its Eligible Inventory or any risk exposure in connection with a
Commodity Contract; (b) engage in (i) any speculative transaction in respect of Eligible Commodities
which would at any time cause the Borrower to exceed the Maximum Position Limits or (ii) any other
speculative transaction which is not directly related to the Borrower’s usual Eligible Commodities trading
and marketing activities or has or may result in a Material Adverse Effect, or (c) obtain any credit from any
futures broker except with the prior written approval of the Required Lenders.

               SECTION 6.18 Limitation on Cancellation of Indebtedness. Cancel any claim or
Indebtedness owed to it except for (i) adequate consideration, (ii) as approved by an order of the
Bankruptcy Court or (iii) permitted hereby (including as required by the Asset Purchase Agreement).

                 SECTION 6.19 Limitation on Equity Interests and New Subsidiaries. The Borrower
shall not, nor shall it permit any Loan Party or Subsidiary to, (a) issue, agree to issue, or permit to be
transferred to any Person any shares of such Person’s Equity Interests which issuance or transfer results in a
Change of Control or (b) incorporate or otherwise organize any new Subsidiary which was not in existence
on the date hereof, unless (i) such new Subsidiary becomes a Guarantor in accordance with the terms hereof
and (ii) the Borrower, the Agents and the Required Lenders shall have entered into amendments to this
Agreement and the Loan Documents in accordance with the terms hereof, satisfactory to them in their sole
discretion.

                  SECTION 6.20 Limitation on Modifications to Contractual Obligations. The Borrower
shall not, nor shall it permit any Loan Party or Subsidiary to, amend, modify, rescind, terminate or waive
any of its rights under, any of their respective post-petition Contractual Obligations, except in the ordinary
course of business or where such action could not reasonably be expected to have a Material Adverse
Effect.

               SECTION 6.21 Risk Management Practices. The Borrower shall not, nor shall it permit
any Loan Party or Subsidiary to, amend, waive or modify the Risk Management Practices in any material
manner.

                 SECTION 6.22 Expenses. Subject to the Final Order, and except to the extent of the Carve
Out, no expenses of administration of the Cases or any future proceeding that may result therefrom,
including liquidation or other proceedings under the Bankruptcy Code, shall be charged against or
recovered from the Collateral, including, without limitation, pursuant to Bankruptcy Code Sections 105(a)
or 506(c), or any similar principle of law or equity, without the prior written consent of the Required
Lenders, and no such consent shall be implied from any other action, inaction, or acquiescence by any
Lender.

                                                 ARTICLE VII

                                           EVENTS OF DEFAULT

                SECTION 7.01 Events of Default. If any of the following events (each, an “Event of
Default”) shall occur:

                   (a)     the Borrower shall fail to pay any principal of any Loan or any reimbursement
           obligation in respect of any L/C Disbursement when and as the same shall become due and
           payable, whether at the due date thereof or at a date fixed for prepayment thereof or otherwise;

                   (b)    the Borrower shall fail to pay any interest on any Loan or any L/C Obligation, or
           any fee or any other amount (other than an amount referred to in clause (a) of this Section)

  73531283.28                                     105
18-13374-mew             Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 267 of 692


          payable under this Agreement or under any other Loan Document, when and as the same shall
          become due and payable, and such failure shall continue unremedied for a period of five (5) or
          more Business Days;

                   (c)    any representation or warranty made or deemed made by the Borrower or any
          other Loan Party herein or any other Loan Document or any amendment or modification hereof
          or thereof, or any waiver hereunder or thereunder, or in any report, certificate, financial statement
          or other document furnished pursuant to or in connection with this Agreement or any other Loan
          Document or any amendment or modification hereof or thereof, or any waiver hereunder or
          thereunder, shall prove to have been incorrect in any material respect (or, in the case of any such
          representation or warranty under this Agreement or any other Loan Document already qualified
          by materiality, such representation or warranty shall prove to have been incorrect) when made or
          deemed made;

                  (d)     the Borrower shall fail to observe or perform any covenant, condition or
          agreement contained in (i) Sections 5.01 (Reporting), and such default shall continue for two (2)
          Business Days, or (ii) Section 5.03(a), 5.04 (Notices), 5.04 (with respect to the Borrower’s
          existence), 5.12 (First and Second Day Orders), 5.15 (Periodic Audit of Borrowing Base) or in
          Article VI (Negative Covenants);

                   (e)    the Borrower or any other Loan Party shall fail to observe or perform any
          covenant, condition or agreement contained in this Agreement or any other Loan Document
          (other than those specified in clause (a), (b) or (d) of this Section) and such failure shall continue
          unremedied for a period of seven (7) or more Business Days after the earlier of any Loan Party’s
          knowledge thereof or written notice thereof by the Administrative Agent or the Required Lenders
          to the Borrower;

                   (f)     any Event of Default (as defined in the Global DIP Facility Agreement) shall
          occur;

                   (g)    there is entered against the Parent or any Subsidiary (i) a final judgment or order
          for the payment of money in an aggregate amount (as to all such judgments and orders) exceeding
          $2,500,000 (to the extent not covered by independent third-party insurance as to which the insurer
          has been notified of such judgment or order and has not denied coverage), or (ii) a non-monetary
          final judgment or order that, either individually or in the aggregate, has or could reasonably be
          expected to have a Material Adverse Effect and, in either case, (A) enforcement proceedings are
          commenced by any creditor upon such judgment or order, or (B) there is a period of
          30 consecutive days during which a stay of enforcement of such judgment, by reason of a
          pending appeal or otherwise, is not in effect;

                  (h)     an ERISA Event occurs with respect to a Pension Plan or Multiemployer Plan that
          has resulted or could reasonably be expected to result in liability of any Loan Party or Subsidiary
          under Title IV of ERISA to the Pension Plan, Multiemployer Plan or the PBGC that could
          reasonably be expected to have a Material Adverse Effect;

                   (i)     a Change of Control shall occur;

                   (j)     any material provision of any Loan Document, at any time after its execution and
          delivery and for any reason other than as permitted hereunder or thereunder (or as a result of
          action or inaction of the Administrative Agent, the Collateral Agent or Lenders) or satisfaction in
          full of all Obligations, ceases to be in full force and effect; or the Borrower or any other Person
          contests in writing the validity or enforceability of any provision of any such Loan Document; or


 73531283.28                                      106
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 268 of 692


          the Borrower or any Loan Party denies in writing that it has any or further liability or obligation
          under any Loan Document, or purports in writing to revoke, terminate or rescind any Loan
          Document;

                  (k)     any of the Cases shall be dismissed or converted to a case under Chapter 7 of the
          Bankruptcy Code or any Debtor shall file a motion or other pleading seeking the dismissal of any
          of the Cases under Section 1112 of the Bankruptcy Code or otherwise; a trustee under Chapter 7
          or Chapter 11 of the Bankruptcy Code, an examiner with enlarged powers relating to the
          operation of the business (powers beyond those set forth in Section 1106(a)(3) and (4) of the
          Bankruptcy Code) under Section 1106(b) of the Bankruptcy Code, a receiver, interim receiver,
          receiver or manager shall be appointed in any of the Cases and the order appointing such trustee,
          examiner, receiver, interim receiver or manager shall not be reversed or vacated within ten (10)
          days after the entry thereof;

                  (l)     any order by the Bankruptcy Court shall be entered, terminating or modifying the
          exclusivity right of any Debtor to file a Chapter 11 plan pursuant to section 1121 of the
          Bankruptcy Code;

                   (m) Any other material superpriority administrative expense claim or “claim” which is
          pari passu with or senior to the claims of the Secured Parties under the Facilities, as applicable
          (other than in each case the Carve Out or the Obligations) or any material lien that is pari passu
          with or senior to the liens of the Secured Parties under the Facilities shall be granted in any of the
          Cases;

                  (n)     the Bankruptcy Court shall enter an order granting relief from the automatic stay
          to any creditor or party in interest to permit foreclosure (or the granting of a deed in lieu of
          foreclosure or the like) on any asset of the Debtors of fair market value exceeding $1,500,000 in
          aggregate from or permit other actions that would reasonably be expected to result in a Material
          Adverse Effect;

                  (o)    an order shall be entered reversing, supplementing, staying for a period of three
          (3) Business Days or more, vacating or otherwise modifying the Interim DIP Order or the Final
          DIP Order in a manner that is materially adverse to the interests of the Secured Parties, or any
          Debtor shall apply for authority to do so, without the prior written consent of the Agents and the
          Required Lenders, or the Interim DIP order or Final DIP order shall cease to be in full force and
          effect;

                  (p)    the Bidding Procedures Order or Sale Order shall be reversed, supplemented,
          stayed, vacated or modified in a manner adverse to the Required Lenders without the consent of
          the Required Lenders;

                  (q)     a Debtor makes any payments relating to prepetition obligations other than in
          accordance with (i) a Bankruptcy Court order, (ii) the Interim DIP Order, (iii) the Final DIP
          Order, (iv) as agreed to by the Required Lenders, (v) contemplated by the Budget, or (vi) as
          otherwise permitted hereunder;

                   (r)    a plan shall be proposed by a Debtor in any of the Cases, that is not supported by
          the Lenders, that does not provide for (i) termination of the Commitments under the Facilities, (ii)
          the indefeasible payment in full in cash of the Obligations (other than indemnities and other
          contingent obligations not then due and payable), and (iii) payment in full in cash of the
          Prepetition Obligations (or other treatment agreed to by the Prepetition Lenders), in each case in
          the foregoing clauses (i)-(iii) on the effective date of such plan;


 73531283.28                                      107
18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 269 of 692


                   (s)    a plan is proposed by any person other than the Debtors, in any of the Cases that is
          not supported by the Lenders, including a plan that does not provide for (i) termination of the
          Commitments under the Facilities, as applicable, (ii) the indefeasible payment in full in cash of
          the Obligations (other than indemnities and other contingent obligations not then due and
          payable), and (iii) payment in full in cash of the Prepetition Obligations (or other treatment
          agreed to by the Prepetition Lenders), in each case in the foregoing clauses (i)-(iii) on the
          effective date of such plan, and such plan is confirmed; the Interim DIP Order or Final DIP
          Order, as applicable, shall fail to be in full force and effect, including by the entry of an order (i)
          reversing or vacating the Interim DIP Order or Final DIP Order, (ii) amending or modifying the
          Interim DIP Order or Final DIP Order in a manner that is adverse to the Secured Parties, or (iii)
          staying for a period in excess of seven days the Interim DIP Order or Final DIP Order (as
          applicable);

                  (t)    the Security Documents shall cease to create a valid and perfected lien on any
          material Collateral, solely to the extent required hereunder;

                   (u)    any Debtor shall fail to comply with the material terms of an Order in any material
          respect for a period of more than 5 Business Days;

                   (v)    any Debtor shall file a motion seeking, or take any action supporting a motion
          seeking, or the Bankruptcy Court shall enter, an order, authorizing the sale of all or substantially
          all of the Debtors' assets (unless, in the case of each of the foregoing, either (i) (A) the Required
          Lenders consent to the filing of such motion, and (B) any order approving the sale expressly
          provides for application of cash proceeds in accordance with the terms of this Agreement and is
          otherwise in form and substance acceptable to the Administrative Agent and the Required
          Lenders, or (ii) the order approving such sale contemplates payment in full in cash of the
          Obligations upon consummation of such sale);

                    (w) the Bankruptcy Court shall enter a Final Order that is adverse in any material
          respect to (i) the interests (when taken as a whole) of the Secured Parties in any of the Collateral,
          or (ii) the creation, perfection or priority of any of the Liens securing the Obligations; provided
          however, that this clause (x) will not apply to the termination of the use of cash collateral (which
          shall be governed exclusively by clause (x) below);

                 (x)     the use of cash collateral by a Debtor shall be terminated and a Debtor shall not
          have obtained use of cash collateral (consensually or non-consensually) pursuant to an order in
          form and substance acceptable to the Required Lenders;

                  (y)     the Loan Parties or any of their subsidiaries, or any Person claiming by or through
          the Loan Parties or any of their Subsidiaries, shall obtain court authorization to commence, or
          shall commence, join in, assist or otherwise participate as an adverse party in any suit or other
          proceeding against any of Secured Parties in any Case or case relating to the Facilities or any
          challenge to the validity, enforceability, priority or perfection of liens securing the Prepetition
          Obligations, as applicable; or

                   (z)    The filing of any equitable subordination or recharacterization claim by any of the
          Borrowers, seeking thereby to subordinate or recharacterize, by order of a court of competent
          jurisdiction, any of the rights to payment, or rights in collateral securing any such payment, of
          any indebtedness owed to any such Lender; or




 73531283.28                                      108
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 270 of 692


                   (aa) The entry of an order providing for the equitable subordination or
           recharacterization of any Lender’s rights to payment, or rights in Collateral securing any
           payment, or any Indebtedness owed to any Lender; or

                    (bb) The entry of an order that restricts any of the Lenders from credit bidding `in any
           sale of the assets of a Debtor under Section 363 of the Bankruptcy Code;

  then, and in every such event, subject to the Orders, and at any time thereafter during the continuance of
  such event, (provided however, that after giving such notice, no Loans shall be made hereunder and no
  Letters of Credit shall be issued), the Administrative Agent at the request of the Required Lenders shall,
  by notice to the Borrower, take any or all of the following actions, at the same or different times, subject
  in all respects to the terms, conditions and provisions of the DIP Order:

                           (i)     issue and deliver a Carve Out Trigger Notice;

                          (ii)    terminate the Commitments, and thereupon the Commitments shall
           terminate immediately;

                            (iii)   declare the Loans then outstanding to be due and payable in whole (or in
           part, in which case any principal not so declared to be due and payable may thereafter be declared
           to be due and payable), and thereupon the principal of the Loans so declared to be due and payable,
           together with accrued interest thereon and all fees and other Obligations of the Borrower accrued
           hereunder, shall become due and payable immediately, without presentment, demand, protest or
           other notice of any kind, all of which are hereby waived by the Borrower;

                           (iv)    require that the Borrower Cash Collateralize the L/C Obligations as
           provided in Section 2.05(l) or Section 2.23 as applicable; and

                          (v)      exercise on behalf of itself, the Lenders and the Issuing Banks all rights
           and remedies available to it, the Lenders and the Issuing Banks under the Loan Documents and
           Applicable Law.

                 SECTION 7.02 Application of Payments. Notwithstanding anything herein or in the
Prepetition Credit Facility to the contrary, all payments (including voluntary and mandatory prepayments,
but excluding any mandatory prepayment pursuant to Section 2.09(b)(iii)) and any payment of Cash
Collateral pursuant to Section 2.05(l) or Section 2.23, but subject to the terms, conditions and provisions of
the DIP Order) received on account of the Obligations or the Prepetition Obligations or as proceeds of any
Collateral shall be applied by the Administrative Agent as follows:

                   (a)     first, to the payment, pro rata, of all Obligations or obligations of the Lenders
 consisting of out of pocket costs, reasonable expenses, reasonable fees, indemnities and other amounts in
 each case payable to (x) the Agents in their respective capacities as such or incurred in connection with
 the administration, enforcement, preservation or exercise of any rights or remedies under this Agreement
 and the other Loan Documents or (y) the Swing Line Lender or any Issuing Bank (including, without
 limitation, principal of Reimbursement Obligations and obligations to Cash Collateralize Letters of Credit)
 in their respective capacities as such (in each case, including, without limitation, fees and disbursements
 and other charges of their respective counsel and agents payable under Section 9.06);

                 (b)      second, paid over to the Prepetition Agent to be applied to payment of the
 Prepetition Obligations in accordance with the terms of the Prepetition Credit Facility, until the Prepetition
 Obligations are repaid in full;



  73531283.28                                     109
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 271 of 692


                 (c)      third, to payment of all other Obligations constituting fees, indemnities and other
 amounts (other than principal, and interest) payable to the Lenders (including fees and disbursements and
 other charges of counsel payable under Section 9.06) arising under the Loan Documents, ratably among
 them in proportion to the respective amounts described in this clause (d) payable to them;

                (d)       fourth, to payment of that portion of the Obligations constituting unpaid principal
 of the Term Loans;

                (e)       fifth, to payment of that portion of the Obligations constituting unpaid principal of
 the Revolving Loans;

                  (f)     sixth, to the payment in full of all Swap Contract Obligations;

                (g)     seventh, to the payment in full of all other Obligations, in each case ratably
 among the Secured Parties based upon the respective aggregate amounts of all such Obligations owing to
 them in accordance with the respective amounts thereof then due and payable; and

                   (h)     finally, the balance, if any, after all Obligations have been indefeasibly paid in
 full, as directed by the Bankruptcy Court or as otherwise required by Law.

  If any amount remains on deposit as Cash Collateral after all Letters of Credit have either been fully
  drawn or expired (without any pending drawings) and all L/C Obligations have been paid in full in cash,
  such remaining amount shall be applied to the Prepetition Obligations and the other Obligations, if any, in
  the order set forth above.

                                                 ARTICLE VIII

                                                    AGENCY

                  SECTION 8.01 Appointment and Authority. Each Lender hereby irrevocably designates
and appoints the Agents as the agents of such Lender under this Agreement and the other Loan Documents,
and each such Lender irrevocably authorizes each Agent, in such capacity, to take such action on its behalf
under the provisions of this Agreement and the other Loan Documents and to exercise such powers and
perform such duties as are expressly delegated to such Agent by the terms of this Agreement and the other
Loan Documents, together with such other powers as are reasonably incidental thereto. Notwithstanding
any provision to the contrary elsewhere in this Agreement, no Agent shall have any duties or
responsibilities, except those expressly set forth herein, or any fiduciary relationship with any Lender, and
no implied covenants, functions, responsibilities, duties, obligations or liabilities shall be read into this
Agreement or any other Loan Document or otherwise exist against any Agent. Each Agent may execute
any of its duties under this Agreement and the other Loan Documents by or through agents or
attorneys-in-fact and shall be entitled to advice of counsel concerning all matters pertaining to such duties.
No Agent shall be responsible for the negligence or misconduct of any agents or attorneys-in-fact selected
by it with reasonable care.

                 SECTION 8.02 Agent in Its Individual Capacity. Each Agent and its Affiliates may
make loans and other extensions of credit to, accept deposits from and generally engage in any kind of
business with the Borrower and the other Loan Parties as though such Agent were not an Agent hereunder
and under the other Loan Documents. With respect to the Loans and other Extensions of Credit made by it,
if any, pursuant to the Loan Documents each Agent shall have the same rights and powers under this
Agreement and the other Loan Documents as any Lender and may exercise the same as though it were not
an Agent, and the terms “Lender” and “Lenders” shall include each Agent in its individual capacity.


  73531283.28                                      110
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 272 of 692


                 SECTION 8.03 Exculpatory Provisions. Notwithstanding anything to the contrary set
forth in this Agreement or any other Loan Document, neither any Agent nor any of its officers, directors,
employees, agents, attorneys-in-fact or Affiliates shall be (i) liable for any action taken or not taken by it
with the consent, instruction, direction, approval or at the request of the Required Lenders (or such other
number or percentage of Lenders as shall be necessary under the circumstances), (ii) otherwise liable for
any action lawfully taken or omitted to be taken by it or such Person under or in connection with this
Agreement or any other Loan Document (except to the extent that any of the foregoing are found by a final
and non-appealable decision of a court of competent jurisdiction to have resulted from its or such Person’s
own gross negligence or willful misconduct) or (ii) responsible in any manner to any of the Lenders for any
recitals, statements, representations or warranties made by any Loan Party or any officer thereof contained
in this Agreement or any other Loan Document or in any certificate, report, statement or other document
referred to or provided for in, or received by any Agent under or in connection with, this Agreement or any
other Loan Document (including, without limitation, in any audit or due diligence report prepared by the
internal auditor of any Agent or by any external experts or auditors of any Agent, each of which is to be
accepted by each Lender without representation or warranty by any Agent and without recourse to any
Agent) or for the value, validity, effectiveness, genuineness, enforceability or sufficiency of this Agreement
or any other Loan Document or for any failure of any Loan Party to perform its obligations hereunder or
thereunder. The Agents shall not be under any obligation to any Lender to ascertain or to inquire as to the
observance or performance of any of the agreements contained in, or conditions of, this Agreement or any
other Loan Document, or to inspect the properties, books or records of any Loan Party.

                 SECTION 8.04 Reliance by Agents. Each Agent shall be entitled to rely, and shall be
fully protected in relying, upon any writing, resolution, notice, consent, certificate, affidavit, letter,
electronic communication (including electronic mail), cablegram, telegram, telecopy, telex or teletype
message, statement, order or other document or conversation believed by it to be genuine and correct and to
have been signed, sent or made by the proper Person or Persons and upon advice and statements of legal
counsel (including, without limitation, counsel to the Loan Parties), independent accountants and other
experts selected by such Agent without gross negligence or willful misconduct. The Agents may deem and
treat the payee of any promissory note issued pursuant to Section 2.14(b) as the owner thereof for all
purposes unless a notice of assignment, negotiation or transfer thereof shall have been filed with such
Agent. Each Agent shall be fully justified in failing or refusing to take any action under this Agreement or
any other Loan Document unless it shall first receive such advice or concurrence of Required Lenders
(including in connection with any request by the Borrower for a Credit Extension), as it deems appropriate
or as otherwise required by Section 9.01 or it shall first be indemnified to its satisfaction by the Lenders
against any and all liability and expense which may be incurred by it by reason of taking or continuing to
take any such action. Each Agent shall in all cases be fully protected in acting, or in refraining from acting,
under this Agreement and the other Loan Documents in accordance with a request of the Required Lenders
(including in connection with any request by the Borrower for a Credit Extension), or as otherwise required
by Section 9.01 and such request and any action taken or failure to act pursuant thereto shall be binding
upon all of the Lenders and all future holders of the Loans and all other Obligations.

                SECTION 8.05 Delegation of Duties. Each Agent may execute any of its duties under this
Agreement and the other Loan Documents by or through agents or attorneys-in-fact and shall be entitled to
advice of counsel concerning all matters pertaining to such duties. No Agent shall be responsible for the
negligence or misconduct of any agents or attorneys-in-fact selected by it with reasonable care.

                SECTION 8.06 Successor Administrative Agent, Issuing Bank or Swing Line Lender.

                   (a)    The Administrative Agent may resign as Administrative Agent upon 30 days’
 prior notice to the Lenders. If the Administrative Agent shall resign as Administrative Agent under this
 Agreement and the other Loan Documents, then the Required Lenders shall appoint from among the

  73531283.28                                     111
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 273 of 692


 Lenders a successor Administrative Agent for the Lenders, which successor Administrative Agent shall be
 approved by the Borrower (unless an Event of Default shall have occurred and then be continuing),
 whereupon such successor Administrative Agent shall succeed to the rights, powers and duties of the
 Administrative Agent, and the term “Administrative Agent” shall mean such successor Administrative
 Agent effective upon such appointment and approval, and the former Administrative Agent’s rights,
 powers and duties as Administrative Agent shall be terminated, without any other or further act or deed on
 the part of such former Administrative Agent or any of the parties to this Agreement or any holders of the
 Loans or other Obligations. After any retiring Administrative Agent’s resignation as Administrative
 Agent, the provisions of this Article VIII shall inure to its benefit as to any actions taken or omitted to be
 taken by it while it was Administrative Agent under this Agreement and the other Loan Documents. If no
 successor Administrative Agent has accepted appointment as Administrative Agent by the date which is
 30 days following a retiring Administrative Agent’s notice of resignation, the retiring Administrative
 Agent’s resignation shall nevertheless thereupon become effective and the Lenders shall perform all of the
 duties of such Administrative Agent hereunder until such time, if any, as the Required Lenders appoint a
 successor agent as provided for above.

                  (b)      The Collateral Agent may, at any time, by notice to the Lenders and the
 Administrative Agent, resign as Collateral Agent hereunder, whereupon the duties, rights, obligations and
 responsibilities of the Collateral Agent hereunder shall automatically be assumed by, and inure to the
 benefit of, the Administrative Agent, without any further act by the Collateral Agent, the Administrative
 Agent or any Lender.

                    (c)     After any retiring Agent’s resignation as Agent, the provisions of this Article VIII
 shall inure to its benefit as to any actions taken or omitted to be taken by it while it was Agent under this
 Agreement and the other Loan Documents.

                  (d)      Any Issuing Bank may resign at any time by giving 30 days’ prior notice to the
 Administrative Agent, the Lenders and the Borrower. If and to the extent a resigning Issuing Bank has
 then outstanding Letters of Credit, then after the resignation of such Issuing Bank hereunder, the retiring
 Issuing Bank shall remain a party hereto and shall continue to have all the rights and obligations of an
 Issuing Bank under this Agreement and the other Loan Documents with respect to such outstanding Letters
 of Credit issued by it prior to such resignation, but shall not be required to issue additional Letters of
 Credit or to extend, renew or increase any existing Letter of Credit.

                  (e)     The Swing Line Lender may resign at any time by giving 30 days’ prior notice to
 the Administrative Agent, the Lenders and the Borrower. If and to the extent a resigning Swing Line
 Lender has then outstanding and unpaid Swing Line Loans, then after the resignation of such Swing Line
 Lender hereunder, the retiring Swing Line Lender shall remain a party hereto and shall continue to have all
 the rights and obligations of the Swing Line Lender under this Agreement and the other Loan Documents
 with respect to Swing Line Loans made by it prior to such resignation, but shall not be required to make
 any additional Swing Line Loans.

                 SECTION 8.07 Non-Reliance on Agents and Other Lenders. Each Lender expressly
acknowledges that none of the Agents nor any of their respective officers, directors, employees, agents,
attorneys-in-fact or Affiliates has made any representations or warranties to it and that no act by any Agent
hereinafter taken, including any review of the affairs of any Loan Party or any audit or due diligence review
prepared by the internal auditor or other employees or experts of any Agent, shall be deemed to constitute
any representation or warranty by any Agent to any Lender. Each Lender represents to the Agents that it
has, independently and without reliance upon any Agent or any other Lender, and based on such documents
and information as it has deemed appropriate, made its own appraisal of and investigation into the business,
operations, property, financial and other condition and creditworthiness of the Borrower and the other Loan
Parties and made its own decision to extend credit to the Borrower hereunder and enter into this Agreement.

  73531283.28                                     112
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 274 of 692


Each Lender also represents that it will, independently and without reliance upon any Agent or any other
Lender, and based on such documents and information as it shall deem appropriate at the time, continue to
make its own credit analysis, appraisals and decisions in taking or not taking action under this Agreement
and the other Loan Documents, and to make such investigation as it deems necessary to inform itself as to
the business, operations, property, financial and other condition and creditworthiness of the Loan Parties.
Except for notices, reports and other documents expressly required to be furnished to the Lenders by the
Administrative Agent hereunder or under the other Loan Documents, no Agent shall have any duty or
responsibility to provide any Lender with any credit or other information concerning the business,
operations, property, condition (financial or otherwise), prospects or creditworthiness of any Loan Party
which may come into the possession of such Agent or any of its officers, directors, employees, agents,
attorneys-in-fact or Affiliates, but to the extent any Agent does from time to time provide any such
information to any Lender, (x) such Agent shall be deemed to do so solely as an administrative convenience
to such Lender and (y) such Lender acknowledges and agrees that neither such Agent nor any of its officers,
directors, employees, agents, attorneys-in-fact or Affiliates has made, or will be deemed to make, any
representations or warranties to such Lender with respect thereto. Without limiting the generality of the
foregoing, no Agent shall have any duty to monitor or verify the Collateral used to calculate the Borrowing
Base or the reporting requirements or the contents of reports (including Borrowing Base Reports) delivered
by the Borrower , but to the extent that any Agent performs any such monitoring or verification, (a) such
Agent shall be deemed to do so solely as an administrative convenience to such Lender and (b) such Lender
acknowledges and agrees that neither such Agent nor any of its officers, directors, employees, agents,
attorneys-in-fact or Affiliates has made, or will be deemed to make, any representations or warranties to
such Lender with respect thereto. Each party to this Agreement acknowledges and agrees that the
Administrative Agent has no obligation to advise the Lenders of any Loan Party’s failure to deliver any
reports, notices and other information which any Loan Party is required to deliver to the Lenders under the
Loan Documents (it being understood and agreed that, in the event that the Administrative Agent in its sole
discretion does so from time to time, no course of dealing or implied duty to continue shall be deemed to
arise or thereafter apply). Each Lender assumes the responsibility of keeping itself informed at all times.

                  SECTION 8.08 Notice of Default. No Agent shall be deemed to have knowledge or notice
of the occurrence of any Default or Event of Default hereunder unless such Agent has received notice from
a Lender or the Borrower referring to this Agreement, describing such Default or Event of Default and
stating that such notice is a “notice of default.” In the event that the Administrative Agent receives such a
notice, the Administrative Agent shall give notice thereof to the Lenders. The Administrative Agent shall
take such action with respect to such Default or Event of Default as shall be reasonably directed by the
Required Lenders; provided that unless and until the Administrative Agent shall have received such
directions, the Administrative Agent may (but shall not be obligated to) take such action, or refrain from
taking such action, with respect to such Default or Event of Default as it shall deem advisable in the best
interests of the Lenders.

                 SECTION 8.09 Administrative Agent May File Proofs of Claim. In case of the
pendency of any proceeding under any Debtor Relief Law or any other judicial proceeding relative to the
Borrower, the Administrative Agent (irrespective of whether the principal of any Loan or L/C Obligation
shall then be due and payable as herein expressed or by declaration or otherwise and irrespective of whether
the Administrative Agent shall have made any demand on the Borrower) shall be entitled and empowered
(but not obligated) by intervention in such proceeding or otherwise:

                  (a)     to file and prove a claim for the whole amount of the principal and interest owing
 and unpaid in respect of the Loans, L/C Obligations and all other Obligations that are owing and unpaid
 and to file such other documents as may be necessary or advisable in order to have the claims of the
 Lenders, the Issuing Banks and the Administrative Agent (including any claim for the reasonable
 compensation, expenses, disbursements and advances of the Lenders, the Issuing Banks and the

  73531283.28                                    113
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 275 of 692


 Administrative Agent and their respective agents and counsel and all other amounts due the Lenders, the
 Issuing Banks and the Administrative Agent under Section 9.06) allowed in such judicial proceeding; and

                 (b)      to collect and receive any monies or other property payable or deliverable on any
 such claims and to distribute the same;

  and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in any such
  judicial proceeding is hereby authorized by each Lender and Issuing Bank to make such payments to the
  Administrative Agent and, in the event that the Administrative Agent shall consent to the making of such
  payments directly to the Lenders and the Issuing Banks, to pay to the Administrative Agent any amount
  due for the reasonable compensation, expenses, disbursements and advances of the Administrative Agent
  and its agents and counsel, and any other amounts due the Administrative Agent under Section 9.06.

                 SECTION 8.10 Indemnification. The Lenders (other than the Swing Line Lender and the
Issuing Banks) agree to indemnify each Agent, the Swing Line Lender and each Issuing Bank in its
respective capacity as such (to the extent not reimbursed by the Borrower and without limiting the
obligation of the Borrower to do so), ratably according to their respective Applicable Percentages in effect
on the date on which indemnification is sought, from and against any and all liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind whatsoever
which may at any time (including, without limitation, at any time following the payment of the Loans and
L/C Reimbursement Obligations and the Cash Collateralization of the L/C Obligations) be imposed on,
incurred by or asserted against such Agent, Swing Line Lender or Issuing Bank, as the case may be, in any
way relating to or arising out of this Agreement, any of the other Loan Documents or any documents
contemplated by or referred to herein or therein or the transactions contemplated hereby or thereby or any
action taken or omitted by such Agent, Swing Line Lender or Issuing Bank, as the case may be, under or in
connection with any of the foregoing; provided that, no such Lender shall be liable for the payment of any
portion of such liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses
or disbursements resulting solely from the gross negligence or willful misconduct of any Agent, the Swing
Line Lender or any Issuing Bank, as the case may be, as determined by a court of competent jurisdiction in
a final non-appealable order. The agreements in this Section 8.10 shall survive the payment of the Loans,
L/C Reimbursement Obligations, all other amounts payable hereunder and the Cash Collateralization of the
L/C Obligations.

                  SECTION 8.11 Intercreditor Agreement. Each Lender hereby (i) instructs and authorizes
the Collateral Agent to execute and deliver the Intercreditor Agreement on its behalf, (ii) authorizes and
directs the Administrative Agent to exercise all of the Administrative Agent’s rights and to comply with all
of its obligations under the Intercreditor Agreement, (iii) agrees that the Administrative Agent may take
actions on its behalf as is contemplated by the terms of the Intercreditor Agreement and (iv) understands,
acknowledges and agrees that at all times following the execution and delivery of the Intercreditor
Agreement such Lender (and each of its successors and assigns) shall be bound by the terms thereof.

                 SECTION 8.12 Collateral Matters.

                  (a)       The Collateral Agent is authorized on behalf of all of the Lenders, without the
 necessity of any notice to or further consent from the Lenders, from time to time to take any action with
 respect to any Collateral or the Loan Documents which may be necessary to perfect and maintain perfected
 the security interest in and Liens upon the Collateral granted pursuant to the Loan Documents; provided
 that except for notices, reports and other documents expressly required to be furnished to the Lenders by
 the Administrative Agent hereunder and under the other Loan Documents, the Administrative Agent shall
 not have any duty or responsibility to provide any Lender with any credit or other information concerning
 the business, operations, property, condition (financial or otherwise), prospects or creditworthiness of any

  73531283.28                                      114
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 276 of 692


Loan Party which may come into the possession of the Administrative Agent or any of its officers,
directors, employees, agents, attorneys-in-fact or Affiliates.

                 (b)      The Lenders irrevocably authorize the Collateral Agent, at its option, to release
any Lien granted to or held by the Collateral Agent upon any Collateral (i) upon termination of all
Commitments, the expiration or termination of all Letters of Credit and the payment in full of all Loans
and all other Obligations known to the Administrative Agent and payable under this Agreement or any
other Loan Document (except indemnification obligations for which no claim has been made and of which
no Responsible Person of any Loan Party has knowledge); (ii) constituting property sold or to be sold or
Disposed of as part of or in connection with any Disposition permitted hereunder; or (iii) if approved,
authorized or ratified in writing by all or the requisite number of the Lenders as set forth in Section 9.01.
Upon request by the Collateral Agent at any time, the Lenders will confirm in writing the Collateral
Agent’s authority to release particular types or items of Collateral pursuant to this Section 8.12; provided
that the absence of any such confirmation for whatever reason shall not affect the Collateral Agent’s rights
under this Section 8.12.

                (c)     The Collateral Agent may execute any of its duties under this Agreement and the
other Loan Documents by or through agents or attorneys in fact and shall be entitled to advice of counsel
concerning all matters pertaining to such duties. The Collateral Agent shall not be responsible for the
negligence or misconduct of any agents or attorneys in fact selected by it with reasonable care.

                   (d)      The Collateral Agent, the Swing Line Lender and the Issuing Banks shall be
entitled to all rights, indemnities and limitations on liability under this Article VIII available to the
Administrative Agent to the same extent as if each reference to the Administrative Agent in this Article
VIII were a reference to the Collateral Agent.

                                                ARTICLE IX

                                            MISCELLANEOUS

               SECTION 9.01 Waivers; Amendments.

                  (a)      No Waiver; Remedies Cumulative; Enforcement. No failure or delay by the
 Administrative Agent, the Collateral Agent any Issuing Bank or any Lender in exercising any right,
 remedy, power or privilege hereunder or under any other Loan Document shall operate as a waiver
 thereof, nor shall any single or partial exercise of any such right, remedy, power or privilege, or any
 abandonment or discontinuance of steps to enforce such a right remedy, power or privilege, preclude any
 other or further exercise thereof or the exercise of any other right remedy, power or privilege. The rights,
 remedies, powers and privileges of the Administrative Agent, the Collateral Agent, the Issuing Banks and
 the Lenders hereunder and under the Loan Documents are cumulative and are not exclusive of any rights,
 remedies, powers or privileges that any such Person would otherwise have.

                   Notwithstanding anything to the contrary contained herein or in any other Loan
 Document, the authority to enforce rights and remedies hereunder and under the other Loan Documents
 against the Borrower shall be vested exclusively in, and all actions and proceedings at law in connection
 with such enforcement shall be instituted and maintained exclusively by, the Administrative Agent in
 accordance with Section 8.01 for the benefit of all the Lenders and the Issuing Banks; provided that the
 foregoing shall not prohibit (i) the Administrative Agent or the Collateral Agent from exercising on its
 own behalf the rights and remedies that inure to its benefit (solely in its capacity as Administrative Agent
 or Collateral Agent, as applicable) hereunder and under the other Loan Documents, (ii) the Swing Line
 Lender and each Issuing Bank from exercising on its own behalf the rights and remedies that inure to its
 benefit (solely in its capacity as the Swing Line Lender or an Issuing Bank, as applicable) hereunder and

 73531283.28                                     115
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 277 of 692
 under the other Loan Documents, or (iii) any Lender from exercising setoff rights in accordance with
 Section 9.08 (subject to the terms of Section 2.16) or (iv) any Lender from filing proofs of claim or
 appearing and filing pleadings on its own behalf during the pendency of a proceeding relative to the
 Borrower under any Debtor Relief Law; provided, further, that if at any time there is no Person acting as
 Administrative Agent hereunder and under the other Loan Documents, then (x) the Required Lenders shall
 have the rights otherwise provided to the Administrative Agent pursuant to Section 8.01 and (y) in
 addition to the matters set forth in clauses (ii), (iii) and (iv) of the preceding proviso and subject
 to Section 2.16, any Lender may, with the prior written consent of the Required Lenders, enforce
 any rights or remedies available to it and as authorized by the Required Lenders.

                  (b)     Amendments, Etc. Except as otherwise expressly set forth in this Agreement, no
 amendment or waiver of any provision of this Agreement or any other Loan Document, and no consent to
 any departure by the Borrower therefrom, shall be effective unless in writing executed by the Borrower
 and the Required Lenders, and acknowledged by the Administrative Agent, or by the Borrower and the
 Administrative Agent with the consent of the Required Lenders, and each such waiver or consent shall be
 effective only in the specific instance and for the specific purpose for which given; provided that no such
 amendment, waiver or consent shall:




                  (i)      extend or increase any Commitment of any Lender without the written consent of
          such Lender (it being understood that a waiver of any condition precedent set forth in Article IV
          or the waiver of any Default shall not constitute an extension or increase of any Commitment of
          any Lender), provided however that any written waiver (executed by the Administrative Agent
          and the Required Lenders) of a mandatory prepayment or default interest would not be deemed to
          constitute an extension or an increase;

                   (ii)    reduce the principal of, or rate of interest specified herein on, any Loan or any
          L/C Disbursement, or any fees or other amounts payable hereunder or under any other Loan
          Document, without the written consent of each Lender directly and adversely affected thereby
          (provided that only the consent of the Required Lenders shall be necessary (x) to amend the
          definition of “Default Rate” or to waive the obligation of the Borrower to pay interest at the
          Default Rate or (y) to amend any financial covenant (or any defined term directly or indirectly
          used therein), even if the effect of such amendment would be to reduce the rate of interest on any
          Loan or other Obligation or to reduce any fee payable hereunder);

                  (iii)   postpone any date scheduled for any payment of principal of, or interest on, any
          Loan or any L/C Disbursement, or any fees or other amounts payable hereunder or under any
          other Loan Document, or reduce the amount of, waive or excuse any such payment, without the
          written consent of each Lender directly and adversely affected thereby; provided however that
          any such written postponement or waiver (executed by the Administrative Agent and the
          Required Lenders) of a payment would not be deemed to constitute an extension or an increase of
          any Commitment hereunder;

                  (iv)    change Section 2.16 in a manner that would alter the pro rata sharing of
          payments required thereby without the written consent of each Lender directly and adversely
          affected thereby;

                  (v)    waive any condition set forth in Section 4.01 without the written consent of each
          Issuing Bank and each Lender;




 73531283.28                                     116
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 278 of 692


                  (vi)     change Section 2.05(d) in a manner that would permit the expiration date of any
          Letter of Credit to occur after the Commitment Termination Date without the written consent of
          each Issuing Bank and each Lender;

                  (vii)   consent to the release by the Collateral Agent of any Collateral or release any
          Guarantor from its Guarantee Obligations under the Guarantee Agreement except as otherwise
          expressly permitted herein, without the written consent of the Required Lenders,

                    (viii) amend or modify (1) the definition of “Borrowing Base” (including any advance
          rate set forth therein) or the definition of any component of “Borrowing Base” without the written
          consent (which may be given by email) of all of the Lenders and, so long as ABN is the
          Administrative Agent hereunder, written evidence of such consent (including by email) to each
          ABN Representative, or (2) the definition of “Change of Control” without the consent of all of
          the Lenders; or

                   (ix)    amend, modify or waive any provision of Article VIII, or any other provision
          affecting the rights, duties or obligations of any Agent, without the written consent of any Agent
          directly affected thereby,

                   (x)      amend, modify or waive any provision of this Section or any provision setting
          forth the requisite Lenders for granting any consent or taking any action or change to the
          definition of “Cash”, “Cash Collateral”, “Cash Collateralize”, “Defaulting Lender”, “Mercuria”,
          “Required Lenders” (or any other provision hereof specifying the number or percentage of
          Lenders required to amend, waive or otherwise modify any rights hereunder or to make any
          determination or grant any consent hereunder) or in each case the definition of any term used
          therein, or consent to the assignment or transfer by any of the Borrower or any of the Guarantors
          of any of their rights and obligations under this Agreement and the other Loan Documents
          (except as expressly permitted hereby), in each case without the written consent of each Lender;
          or

                 (xi)     amend, modify or waive Sections 2.23 (Cash Collateral), 2.25 (Defaulting
          Lenders), 2.26 (Priority and Liens) (or otherwise subordinate or modify the priority of any Lender
          Superpriority Claim or any Lien granted by any Loan Party pursuant to the Loan Documents) or
          7.02 (Application of Payments) without the consent of the Swing Line Lender and each Issuing
          Bank;

 provided, further, that no such amendment, waiver or consent shall amend, modify or otherwise affect
 the rights or duties hereunder or under any other Loan Document of (A) any Agent, unless in writing
 executed by such Agent, (B) any Issuing Bank, (including any rights set forth in Sections 2.05, 9.06 or
 9.07) unless in writing executed by such Issuing Bank or (C) the Swing Line Lender (including any rights
 set forth in Sections 2.06, 9.06 or 9.07), unless in writing executed by the Swing Line Lender, in each
 case, in addition to the Borrower and the Lenders required above; provided, further, that, without limiting
 any consent rights that the Swing Line Lender or any Issuing Bank may otherwise have under this
 Section, any amendment, waiver or consent referred to in clause (i) through (iv) (in each case to the extent
 impacting the rights, duties or obligations of any such Person), (vii), (viii) (1) or (ix) shall require the
 consent of the Swing Line Lender and each Issuing Bank.

                  Notwithstanding anything herein to the contrary, no Defaulting Lender shall have any
 right to approve or disapprove any amendment, waiver or consent hereunder (and any amendment, waiver
 or consent that by its terms requires the consent of all the Lenders or each affected Lender may be
 effected with the consent of the applicable Lenders other than Defaulting Lenders, except that (x) the

 73531283.28                                     117
18-13374-mew          Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 279 of 692
 Commitment of any Defaulting Lender may not be increased or extended, or the maturity of any of its
 Loan may not be extended, the rate of interest on any of its Loans may not be reduced and the principal
 amount of any of its Loans may not be forgiven, in each case without the consent of such Defaulting
 Lender and (y) any amendment, waiver or consent requiring the consent of all the Lenders or each
 affected Lender that by its terms affects any Defaulting Lender more adversely than the other affected
 Lenders shall require the consent of such Defaulting Lender.

                  In addition, notwithstanding anything in this Section to the contrary, if the Administrative
 Agent and the Borrower shall have jointly identified an obvious error or any error or omission of a
 technical nature, in each case, in any provision of the Loan Documents, then the Administrative Agent
 and the Borrower shall be permitted to amend such provision, and, in each case, such amendment shall
 become effective without any further action or consent of any other party to any Loan Document if the
 same is not objected to in writing by the Required Lenders to the Administrative Agent within ten
 Business Days following receipt of notice thereof.

                  (c)      Notwithstanding anything to the contrary herein, any waiver or consent to any
 departure from, or amendment, supplement or modification of (i) any of the terms or conditions of this
 Agreement or any other Loan Document at any time that (A) there are any drawings under Letters of
 Credit that have not been reimbursed by the Borrower or Cash Collateralized by the Borrower or the
 Lenders in an amount equal to 103% thereof and (B) any Lender has not funded any portion of its
 participation therein, or (ii) any of the terms or conditions of this Agreement or any other Loan Document
 at any time that any Lender has not funded its participation in Swing Line Loans or (iii) an Event of
 Default under Section 7.01(a) or any of the terms or conditions of this Agreement or any other Loan
 Document at any time that any such Event of Default has occurred and is continuing (or any waiver,
 consent, amendment, supplement or modification that would permit a Credit Extension to be made
 hereunder notwithstanding the occurrence and continuance of any such Event of Default), in each case,
 shall require the consent of (x) in the case of clause (i), each Issuing Bank, (y) in the case of clause (ii),
 the Swing Line Lender, and (z) in the case of clause (iii), each Issuing Bank and the Swing Line Lender.




                SECTION 9.02 Notices; Public Information.

                (a)      Notices Generally. Except in the case of notices and other communications
expressly permitted to be given by telephone (and except as provided in paragraph (b) below), all notices
and other communications provided for herein shall be in writing and shall be delivered by hand or
overnight courier service, mailed by certified or registered mail or sent by facsimile or email as follows:

                          (i)   if to the Borrower, to it at _____________, Attention of ____________
          (Facsimile No. ___________; Telephone No. __________; Email: __________);

                            (ii)    if to any Agent, the Swing Line Lender or ABN in its capacity as Issuing
          Bank, to it at:




 73531283.28                                      118
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 280 of 692


                                                   ABN AMRO Capital USA LLC
                                                   100 Park Avenue
                                                   New York, New York 10017
                                                   Attention: ECT Group
                                                   Fax: (917) 284-6697

                                                   with a copy to:

                                                   Willkie Farr & Gallagher LLP
                                                   787 Seventh Avenue
                                                   New York, NY 10019
                                                   Attention: Ana Alfonso
                                                   Fax: (212) 728-9244
                                                   Email: aalfonso@willkie.com


                           (iii)  if to a Lender, to any Lender Representative of such Lender or to its
          address (or facsimile number or email address) set forth in its Administrative Questionnaire.

 Notices sent by hand or overnight courier service, or mailed by certified or registered mail, shall be
 deemed to have been given when received; notices sent by facsimile shall be deemed to have been given
 when sent (except that, if not given during normal business hours for the recipient, shall be deemed to
 have been given at the opening of business on the next business day for the recipient). Notices delivered
 through electronic communications, to the extent provided in paragraph (b) below, shall be effective as
 provided in said paragraph (b).

                 (b)      Limited Use of Electronic Communications. Electronic mail and internet and
intranet websites may be used only to distribute routine communications, such as financial statements and
other information required to be delivered pursuant hereto, and to distribute Loan Documents for execution
by the parties thereto, and may not be used to deliver any notice hereunder.

                (c)      Reliance by Agents and Lenders. Each Agent and Lender shall be entitled to
rely and act upon any notices (including telephonic and electronic mail notices) believed in good faith by
such Agent or Lender, as applicable, to be given by or on behalf of the Borrower even if (i) such notices
were not made in a manner specified herein, were incomplete or were not preceded or followed by any
other form of notice specified herein, or (ii) the terms thereof, as understood by the recipient, varied from
any confirmation thereof. The Borrower shall indemnify each Agent and each Lender from all losses,
costs, expenses and liabilities resulting from the reliance by such Person on each notice believed in good
faith by such Agent or Lender, as applicable, to be given by or on behalf of the Borrower.

                (d)     Change of Address, etc. Any party hereto may change its address or facsimile
number for notices and other communications hereunder by notice to the other parties hereto.

               SECTION 9.03 No Waiver; Cumulative Remedies.

 No failure to exercise and no delay in exercising, on the part of any Agent or any Lender, any
 right, remedy, power or privilege hereunder or under the other Loan Documents shall operate as
 a waiver thereof; nor shall any single or partial exercise of any right, remedy, power or privilege
 hereunder preclude any other or further exercise thereof or the exercise of any other right,
 remedy, power or privilege. No notice to or demand on the Borrower in any case shall entitle the
 Borrower to any notice or demand in similar or other circumstances, except as specifically

 73531283.28                                     119
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 281 of 692


  required hereby. The rights, remedies, powers and privileges herein provided are cumulative and
  not exclusive of any rights, remedies, powers and privileges provided by Law.

                 SECTION 9.04 Survival of Representations and Warranties. All covenants,
agreements, representations and warranties made by the Borrower herein and in any Loan Document or
other documents delivered in connection herewith or therewith or pursuant hereto or thereto shall be
considered to have been relied upon by the other parties hereto and shall survive the execution and delivery
hereof and thereof and the making of the Credit Extensions hereunder, regardless of any investigation made
by any such other party or on its behalf and notwithstanding that the Administrative Agent, any Issuing
Bank or any Lender may have had notice or knowledge of any Default at the time of any Credit Extension,
and shall continue in full force and effect as long as any Loan or any other Obligation hereunder shall
remain unpaid or unsatisfied or any Letter of Credit shall remain outstanding and so long as the
Commitments have not expired or been terminated. The provisions of Sections 2.17 (Compensation for
Losses), 2.18 (Increased Costs), 9.03 (No Waiver; Cumulative Remedies) and 9.15 (Confidentiality)
and Article VIII (Agency) shall survive and remain in full force and effect regardless of the consummation
of the transactions contemplated hereby, the payment in full of the Obligations, the expiration or
termination of the Letters of Credit and the Commitments or the termination of this Agreement or any
provision hereof.

                SECTION 9.05 Release of Collateral and Guarantee Obligations.

                  (a)      Upon any sale or other transfer of any Collateral that is permitted under the Loan
 Documents by any Loan Party or upon the effectiveness of any written consent to the release of the Lien
 granted hereby in any Collateral pursuant to Section 9.05 hereof, or if in accordance with the Intercreditor
 Agreement and Orders, the Lien in such Collateral (but not the proceeds thereof) shall automatically
 terminate after application of such proceeds in accordance with the Loan Documents and any guarantee
 obligations under any Loan Document of any Person being Disposed of in such Disposition shall
 automatically terminate, in each case, to the extent necessary to permit consummation of such Disposition
 in accordance with the Loan Documents.

                  (b)       Notwithstanding anything to the contrary contained herein or any other Loan
 Document, when all Obligations have been paid in full in cash, and all Letters of Credit shall have
 terminated or expired, upon request of the Borrower, the Collateral Agent shall (without notice to, or vote
 or consent of, any Lender) take such actions as shall be required to release (without recourse to or
 representation or warranty by any Agent) its security interest in all Collateral, and to release all guarantee
 obligations under any Loan Document. Any such release of guarantee obligations shall be deemed subject
 to the provision that such guarantee obligations shall be reinstated if after such release any portion of any
 payment in respect of the Obligations guaranteed thereby shall be rescinded or must otherwise be restored
 or returned upon the insolvency, bankruptcy, dissolution, liquidation or reorganization of the Borrower or
 any Guarantor, or upon or as a result of the appointment of a receiver, intervenor or conservator of, or
 trustee or similar officer for, the Borrower or any Guarantor or any substantial part of its property, or
 otherwise, all as though such payment had not been made.

                 (c)      With respect to the Spanish Security Documents, the Lenders shall appear, or,
 where applicable, shall instruct the Collateral Agent to appear, before a Spanish Notary Public in order to
 formalize in Spanish Public Document the release of the Spanish Security Document and / or the
 Guarantee granted by the Spanish Subsidiary (or any other Subsidiary incorporated and existing under the
 laws of Spain acceding to this Agreement) within ten (10) business days from the date in which such
 release is deemed to have taken place pursuant to the terms set out in this Agreement.




  73531283.28                                     120
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 282 of 692


                SECTION 9.06 Payment of Expenses; Indemnity.

                  (a)      Costs and Expenses. The Borrower shall, (a) pay or reimburse each Agent, for
all its reasonable and documented out-of-pocket costs and expenses (including, without limitation,
reasonable out-of-pocket legal fees and expenses, and printing, reproduction and document delivery
expenses) incurred in connection with the syndication, development, preparation, negotiation, execution,
delivery and administration of, and any amendment, supplement or modification to, this Agreement and
the other Loan Documents and any other documents prepared in connection herewith or therewith, and the
consummation and administration of the transactions contemplated hereby and thereby, including, without
limitation, the reasonable and documented fees and disbursements of counsel to the Agents, (b) to pay or
reimburse each Lender, the Issuing Banks and each Agent for all its documented costs and expenses
incurred in connection with the enforcement or preservation of any rights under this Agreement, the other
Loan Documents and any such other documents or any restructuring or “work-out” related hereto and
thereto, including, without limitation, the reasonable and documented fees and disbursements of counsel to
the Lenders and of counsel to the Agents, (c) to pay or reimburse each Agent for its documented costs and
expenses incurred in connection with inspections performed pursuant to Section 5.10, and any other due
diligence performed in connection with this Agreement and the other Loan Documents, including (i) the
documented fees and disbursements of counsel to the Agents, and (ii) the costs and expenses associated
with lien searches, and (d) to pay, indemnify, and hold each Lender, the Issuing Banks and each Agent
harmless from, any and all recording and filing fees and any and all liabilities with respect to, or resulting
from any delay in paying, stamp, excise and other similar taxes, if any, which may be payable or
determined to be payable in connection with the execution and delivery of, or consummation or
administration of any of the transactions contemplated by, or any amendment, supplement or modification
of, or any waiver or consent (including the determination of whether or not any such waiver or consent is
required) under or in respect of, this Agreement, the other Loan Documents and any such other documents,
and (e) to pay, indemnify, and hold each Lender, the Issuing Banks and each Agent, and each of their
respective officers, employees, directors, trustees, agents, advisors, affiliates and controlling persons (each,
an “Indemnitee”), harmless from and against any and all other liabilities, obligations, losses, damages,
penalties, actions, judgments, suits, costs, expenses or disbursements of any kind or nature whatsoever
(including, without limitation, reasonable and documented legal fees) with respect to the execution,
delivery, enforcement, performance and administration of this Agreement, the other Loan Documents, and
any such other documents, including, without limitation, any of the foregoing relating to the violation of,
noncompliance with or liability under, any Environmental Law applicable to the operations of any Loan
Party or any of their respective Subsidiaries, or any of the Properties (all the foregoing in this clause (e),
collectively, the “Indemnified Liabilities”); provided that, the Borrower shall have no obligation hereunder
to any Indemnitee with respect to Indemnified Liabilities, to the extent such Indemnified Liabilities (i) are
found by a final, non-appealable judgment of a court of competent jurisdiction to have resulted from the
intentional breach, gross negligence or willful misconduct of such Indemnitee, or (ii) result from a claim
brought by the Borrower or any other Loan Party against an Indemnitee for breach in bad faith of such
Indemnitee’s obligations hereunder or under any other Loan Document, if the Borrower or such Loan
Party has obtained a final, non-appealable judgment in its favor on such claim as determined by a court of
competent jurisdiction. The Borrower also agrees that no Indemnitee shall have any liability (whether
direct or indirect, in contract, tort, equity or otherwise) to the Borrower or the Borrower’s Subsidiaries or
Affiliates or to the Borrower’s or its equity holders or creditors arising out of, related to or in connection
with any aspect of this Agreement, the Loan Documents or any of the transactions contemplated hereby,
except to the extent of direct (as opposed to special, indirect, consequential or punitive) damages
determined in a final non-appealable judgment by a court of competent jurisdiction to have resulted
directly from such Indemnitee’s gross negligence or willful misconduct. It is further agreed that the
Indemnitees shall have liability only to the Borrower (as opposed to any other person). Notwithstanding
any other provision of this Agreement, no party hereto shall be liable for any damages arising from the use
by others of information or other materials obtained through electronic telecommunications or other

 73531283.28                                      121
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 283 of 692


information transmission systems, except to the extent such damages are found by a final, non-appealable
judgment of a court of competent jurisdiction to arise directly from the gross negligence, bad faith,
intentional breach or willful misconduct of such Indemnitee. The agreements in this Section 9.06 shall
survive repayment of the Loans, Reimbursement Obligations and all other amounts payable hereunder and
termination of this Agreement. This Section 9.06(a) shall not apply with respect to Taxes other than any
Taxes that represent losses, claims, damages, etc. arising from any non-Tax claim.

                  (b)     Reimbursement by Lenders. To the extent that the Borrower for any reason
fails to indefeasibly pay any amount required under paragraph (a) or (b) of this Section to be paid by it to
the Administrative Agent (or any sub-agent thereof), any Issuing Bank, or any Related Party of any of the
foregoing, each Lender severally agrees to pay to the Administrative Agent (or any such sub-agent), such
Issuing Bank, or such Related Party, as the case may be, such Lender’s pro rata share (determined as of the
time that the applicable unreimbursed expense or indemnity payment is sought based on each Lender’s
Applicable Percentage at such time) of such unpaid amount (including any such unpaid amount in respect
of a claim asserted by such Lender); provided that the unreimbursed expense or indemnified loss, claim,
damage, liability or related expense, as the case may be, was incurred by or asserted against the
Administrative Agent (or any such sub-agent), such Issuing Bank or against any Related Party of any of
the foregoing acting for the Administrative Agent (or any such sub-agent), such Issuing Bank in
connection with such capacity. The obligations of the Lenders under this paragraph (c) are subject to the
provisions of Section 2.15(d).

                 (c)     Waiver of Consequential Damages, Etc. To the fullest extent permitted by
Applicable Law, no party hereto shall assert, and each party hereto hereby waives, any claim against any
other party hereto, on any theory of liability, for special, indirect, consequential or punitive damages (as
opposed to direct or actual damages) arising out of, in connection with, or as a result of, this Agreement,
any other Loan Document or any agreement or instrument contemplated hereby, the transactions
contemplated hereby or thereby, any Loan or Letter of Credit, or the use of the proceeds thereof. No
Indemnitee referred to in paragraph (b) above shall be liable for any damages arising from the use by
unintended recipients of any information or other materials distributed by it through telecommunications,
electronic or other information transmission systems in connection with this Agreement or the other Loan
Documents or the transactions contemplated hereby or thereby.

                 (d)     Payments. All amounts due under this Section shall be payable promptly, and in
any event not later than seven Business Days after demand therefor.

                 (e)    Survival. Each party’s obligations under this Section shall survive the
termination of the Loan Documents and payment of the obligations hereunder.

              (f)         Defined Terms. For purposes of this Section, the term “Lender” includes the
Swing Line Lender.

               SECTION 9.07 Successors and Assigns.

                 (a)      Successors and Assigns Generally. The provisions of this Agreement shall be
binding upon and inure to the benefit of the parties hereto and their respective successors and assigns
permitted hereby, except that the Borrower may not assign or otherwise transfer any of its rights or
obligations hereunder without the prior written consent of the Administrative Agent and each Lender, and
no Lender may assign or otherwise transfer any of its rights or obligations hereunder except (i) to an
assignee in accordance with the provisions of paragraph (b) of this Section, (ii) by way of participation in
accordance with the provisions of paragraph (d) of this Section, or (iii) by way of pledge or assignment of
a security interest subject to the restrictions of paragraph (e) of this Section (and any other attempted
assignment or transfer by any party hereto shall be null and void). Nothing in this Agreement, expressed

 73531283.28                                     122
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 284 of 692


or implied, shall be construed to confer upon any Person (other than the parties hereto, their respective
successors and assigns permitted hereby, Participants to the extent provided in paragraph (d) of this
Section and, to the extent expressly contemplated hereby, the Related Parties of each of the Administrative
Agent and the Lenders) any legal or equitable right, remedy or claim under or by reason of this Agreement.

                 (b)     Assignments by Lenders. Any Lender may at any time assign to one or more
Eligible Assignees all or a portion of its rights and obligations under this Agreement (including all or a
portion of its Revolving or Term Commitments and the Revolving or Term Loans at the time owing to it);
provided that any such assignment shall be subject to the following conditions:

                          (i)      Minimum Amounts.

                                   (A)     in the case of an assignment of the entire remaining amount of
                  the assigning Lender’s Revolving or Term Commitment and/or the Revolving or Term
                  Loans at the time owing to it or contemporaneous assignments to related Approved Funds
                  (determined after giving effect to such assignments) that equal at least the amount
                  specified in paragraph (b)(i)(B) of this Section in the aggregate or in the case of an
                  assignment to a Lender, an Affiliate of a Lender or an Approved Fund, no minimum
                  amount need be assigned; and

                                    (B)     in any case not described in paragraph (b)(i)(A) of this Section,
                  the aggregate amount of a Revolving Commitment (which for this purpose includes
                  Revolving Loans outstanding thereunder) or, if the Revolving Commitment is not then in
                  effect, the principal outstanding balance of the Loans of the assigning Lender subject to
                  each such assignment (determined as of the date the Assignment and Assumption with
                  respect to such assignment is delivered to the Administrative Agent or, if “Trade Date”
                  is specified in the Assignment and Assumption, as of the Trade Date) assigned shall not
                  be less than $10,000,000, unless each of the Administrative Agent and, so long as no
                  Event of Default has occurred and is continuing, the Borrower otherwise consents (each
                  such consent not to be unreasonably withheld or delayed).

                                   (C)     in any case not described in paragraph (b)(i)(A) of this Section,
                  the aggregate amount of a Term Commitment (which for this purpose includes Term
                  Loans outstanding thereunder) or, if the Term Commitment is not then in effect, the
                  principal outstanding balance of the Term Loans of the assigning Lender subject to each
                  such assignment (determined as of the date the Assignment and Assumption with respect
                  to such assignment is delivered to the Administrative Agent or, if “Trade Date” is
                  specified in the Assignment and Assumption, as of the Trade Date) assigned shall not be
                  less than $10,000,000, unless each of the Administrative Agent and, so long as no
                  payment Event of Default has occurred and is continuing, the Borrower otherwise
                  consents (each such consent not to be unreasonably withheld or delayed).

                          (ii)    Proportionate Amounts. Each partial assignment shall be made as an
          assignment of a proportionate part of all the assigning Lender’s rights and obligations under this
          Agreement with respect to the Loan or the Commitment assigned.

                          (iii)   Required Consents. No consent shall be required for any assignment
          except to the extent required by paragraph (b)(i)(B) or (b)(i)(C) of this Section however, and, in
          addition:

                                 (A)     the consent of the Borrower (such consent not to be
                  unreasonably withheld or delayed) shall be required unless (x) a payment Event of

 73531283.28                                     123
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                             Pg 285 of 692


                  Default has occurred and is continuing at the time of such assignment, (y) such
                  assignment is to a Lender, an Affiliate of a Lender or an Approved Fund or (z) such
                  assignment occurs on or after the date that is six months after the Effective Date;
                  provided that the Borrower shall be deemed to have consented to any such assignment
                  unless it shall object thereto by written notice to the Administrative Agent within ten
                  Business Days after having received written notice thereof;

                                  (B)      the consent of the Administrative Agent (such consent not to be
                  unreasonably withheld or delayed) shall be required for assignments to a Person that is
                  not a Lender, an Affiliate of such Lender or an Approved Fund with respect to such
                  Lender; and

                                   (C)     the consent of the Swing Line Lender and each Issuing Bank
                  shall be required (such consent not to be unreasonably withheld or delayed).

                             (iv)    Assignment and Assumption. The parties to each assignment shall
          execute and deliver to the Administrative Agent an Assignment and Assumption, together with a
          processing and recordation fee of $3,500; provided that the Administrative Agent may, in its sole
          discretion, elect to waive such processing and recordation fee in the case of any assignment. The
          assignee, if it is not a Lender, shall deliver to the Administrative Agent an Administrative
          Questionnaire.

                           (v)      No Assignment to Certain Persons. No such assignment shall be made
          to (A) the Borrower or any of the Borrower’s controlled Affiliates or Subsidiaries, (B) to any
          Defaulting Lender or any of its Subsidiaries, or any Person who, upon becoming a Lender
          hereunder, would constitute a Defaulting Lender or a Subsidiary thereof, or (C) any other Person
          that is not a commercial bank or a Person that has an Investment Grade Rating, except in the case
          of this clause (C) with the consent of the Swing Line Lender and each Issuing Bank.

                           (vi)     No Assignment to Natural Persons. No such assignment shall be made
          to a natural Person (or a holding company, investment vehicle or trust for, or owned and operated
          for the primary benefit of, a natural Person).

                           (vii)     Certain Additional Payments. In connection with any assignment of
          rights and obligations of any Defaulting Lender hereunder, no such assignment shall be effective
          unless and until, in addition to the other conditions thereto set forth herein, the parties to the
          assignment shall make such additional payments to the Administrative Agent in an aggregate
          amount sufficient, upon distribution thereof as appropriate (which may be outright payment,
          purchases by the assignee of participations or subparticipations, or other compensating actions,
          including funding, with the consent of the Borrower and the Administrative Agent, the applicable
          pro rata share of Loans previously requested but not funded by the Defaulting Lender, to each of
          which the applicable assignee and assignor hereby irrevocably consent), to (x) pay and satisfy in
          full all payment liabilities then owed by such Defaulting Lender to the Administrative Agent,
          each Issuing Bank, the Swing Line Lender and each other Lender hereunder (and interest accrued
          thereon), and (y) acquire (and fund as appropriate) its full pro rata share of all Loans and
          participations in Letters of Credit and Swing Line Loans in accordance with its Applicable
          Percentage. Notwithstanding the foregoing, in the event that any assignment of rights and
          obligations of any Defaulting Lender hereunder shall become effective under Applicable Law
          without compliance with the provisions of this paragraph, then the assignee of such interest shall
          be deemed to be a Defaulting Lender for all purposes of this Agreement until such compliance
          occurs.


 73531283.28                                     124
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 286 of 692


 Subject to acceptance and recording thereof by the Administrative Agent pursuant to paragraph (c) of this
 Section, from and after the effective date specified in each Assignment and Assumption, the assignee
 thereunder shall be a party to this Agreement and, to the extent of the interest assigned by such
 Assignment and Assumption, have the rights and obligations of a Lender under this Agreement, and the
 assigning Lender thereunder shall, to the extent of the interest assigned by such Assignment and
 Assumption, be released from its obligations under this Agreement (and, in the case of an Assignment
 and Assumption covering all of the assigning Lender’s rights and obligations under this Agreement, such
 Lender shall cease to be a party hereto) but shall continue to be entitled to the benefits of Sections 2.17
 (Compensation for Losses), 2.18 (Increased Costs) and 9.03 (No Waiver; Cumulative Remedies)with
 respect to facts and circumstances occurring prior to the effective date of such assignment; provided, that
 except to the extent otherwise expressly agreed by the affected parties, no assignment by a Defaulting
 Lender will constitute a waiver or release of any claim of any party hereunder arising from that Lender’s
 having been a Defaulting Lender. Any assignment or transfer by a Lender of rights or obligations under
 this Agreement that does not comply with this paragraph shall be treated for purposes of this Agreement
 as a sale by such Lender of a participation in such rights and obligations in accordance with paragraph (d)
 of this Section.

                  (c)     Register. The Administrative Agent, acting solely for this purpose as an agent of
the Borrower, shall maintain at one of its offices in New York a copy of each Assignment and Assumption
delivered to it and a register for the recordation of the names and addresses of the Lenders, and the
Commitments of, and principal amounts (and stated interest) of the Loans owing to, each Lender pursuant
to the terms hereof from time to time (the “Register”). The entries in the Register shall be conclusive
absent manifest error, and the Borrower, the Administrative Agent and the Lenders shall treat each Person
whose name is recorded in the Register pursuant to the terms hereof as a Lender hereunder for all purposes
of this Agreement. The Register shall be available for inspection by the Borrower and any Lender, at any
reasonable time and from time to time upon reasonable prior notice.

                 (d)     Participations. Any Lender may at any time, without the consent of, or notice to,
the Borrower or the Administrative Agent, sell participations to any Person (other than a Defaulting
Lender, a natural Person, or a holding company, investment vehicle or trust for, or owned and operated for
the primary benefit of, a natural Person, or the Borrower or any of the Borrower’s Affiliates or
Subsidiaries) (each, a “Participant”) in all or a portion of such Lender’s rights and/or obligations under
this Agreement (including all or a portion of its Commitment and/or the Loans owing to it); provided that
(i) such Lender’s obligations under this Agreement shall remain unchanged, (ii) such Lender shall remain
solely responsible to the other parties hereto for the performance of such obligations, and (iii) the
Borrower, the Administrative Agent, the Issuing Banks, the Swing Line Lender and the other Lenders shall
continue to deal solely and directly with such Lender in connection with such Lender’s rights and
obligations under this Agreement. For the avoidance of doubt, each Lender shall be responsible for the
indemnity under Section 9.06(b) with respect to any payments made by such Lender to its Participant(s).

                  Any agreement or instrument pursuant to which a Lender sells such a participation shall
 provide that such Lender shall retain the sole right to enforce this Agreement and to approve any
 amendment, modification or waiver of any provision of this Agreement; provided that such agreement or
 instrument may provide that such Lender will not, without the consent of the Participant, agree to any
 amendment, modification or waiver described in Section 9.01(b)(i) through (xi) that affects such
 Participant. The Borrower agrees that each Participant shall be entitled to the benefits of Sections 2.17
 (Compensation for Losses), 2.18 (Increased Costs) and 2.19 (Taxes) (subject to the requirements and
 limitations therein, including the requirements under Section 2.19(g) (it being understood that the
 documentation required under Section 2.19(g) shall be delivered to the participating Lender)) to the same
 extent the Lender had acquired its interest by assignment pursuant to paragraph (b) of this Section;
 provided that such Participant (A) agrees to be subject to the provisions of Section 2.22 as if it were an

 73531283.28                                    125
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 287 of 692


 assignee under paragraph (b) of this Section; and (B) shall not be entitled to receive any greater payment
 under Section 2.18 or 2.19, with respect to any participation, than its participating Lender would have
 been entitled to receive. Each Lender that sells a participation agrees, at the Borrower's request and
 expense, to use reasonable efforts to cooperate with the Borrower to effectuate the provisions of
 Section 2.22(b) with respect to any Participant. To the extent permitted by law, each Participant also
 shall be entitled to the benefits of Section 9.08 as though it were a Lender; provided that such Participant
 agrees to be subject to Section 2.16 as though it were a Lender. Each Lender that sells a participation
 shall, acting solely for this purpose as a non-fiduciary agent of the Borrower, maintain a register on which
 it enters the name and address of each Participant and the principal amounts (and stated interest) of each
 Participant’s interest in the Loans or other obligations under the Loan Documents (the “Participant
 Register”); provided that no Lender shall have any obligation to disclose all or any portion of the
 Participant Register (including the identity of any Participant or any information relating to a Participant's
 interest in any commitments, loans, letters of credit or its other obligations under any Loan Document) to
 any Person except to the extent that such disclosure is necessary to establish that such commitment, loan,
 letter of credit or other obligation is in registered form under Section 5f.103-1(c) of the United States
 Treasury Regulations. The entries in the Participant Register shall be conclusive absent manifest error,
 and such Lender shall treat each Person whose name is recorded in the Participant Register as the owner
 of such participation for all purposes of this Agreement notwithstanding any notice to the contrary. For
 the avoidance of doubt, the Administrative Agent (in its capacity as Administrative Agent) shall have no
 responsibility for maintaining a Participant Register.

                  (e)      Certain Pledges. Any Lender may at any time pledge or assign a security interest
in all or any portion of its rights under this Agreement to secure obligations of such Lender, including any
pledge or assignment to secure obligations to a Federal Reserve Bank; provided that no such pledge or
assignment shall release such Lender from any of its obligations hereunder or substitute any such pledgee
or assignee for such Lender as a party hereto.

                  (f)      Assignments by Lenders in Spain. The Lenders shall only notarize any
assignment of rights and obligations under this Agreement, or under the Spanish Security Documents or
any lien, charge or guarantee in connection with this Agreement, in a Spanish Public Document provided
that this notarization in a Spanish Public Document (including any ratification of powers of attorney
granted to the Agents or any ancillary documents as it may be necessary) does not entail an expense or an
increase of costs for the Loan Parties.

               SECTION 9.08 Adjustments; Set-off

                 (a)      Subject to the Intercreditor Agreement and Interim Order and Final DIP Order, if
any Lender (a “Benefited Lender”) shall at any time receive any payment of all or part of its Loans or
Reimbursement Obligations, or interest thereon, or receive any Collateral in respect thereof (whether
voluntarily or involuntarily, by set-off, pursuant to events or proceedings of the nature referred to in any
bankruptcy proceeding referred to in Section 7.01, or otherwise), in excess of the amount such Benefited
Lender is otherwise entitled to hereunder, as applicable at such time, such Benefited Lender shall purchase
for cash from the other Lenders a participating interest in such portion of each such other Lender’s Loan,
or shall provide such other Lenders with the benefits of any such collateral, or the proceeds thereof, as
shall be necessary to cause such Benefited Lender to share the excess payment or benefits of such
collateral or proceeds ratably with each of the Lenders; except that with respect to any Lender that is a
Defaulting Lender by virtue of such Lender failing to fund its required share (if any) of any Revolving
Credit Loan, Swing Line Loan or L/C Obligation, such Defaulting Lender’s pro rata share of the excess
payment shall be allocated to the Lender (or the Lenders, pro rata) that funded such Defaulting Lender’s
required share or, if no Lender funded such Defaulting Lender’s required share, the Swing Line Lender or
Issuing Bank, as the case may be, to whom such required share is owed; provided, however, that (i) if all


 73531283.28                                     126
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 288 of 692


 or any portion of such excess payment or benefits is thereafter recovered from such Benefited Lender, such
 purchase shall be rescinded, and the purchase price and benefits returned, to the extent of such recovery,
 but without interest and (ii) the provisions of this Section 9.08(a) shall not be construed to apply to (x) any
 payment made pursuant to and in accordance with the express terms of this Agreement (including, without
 limitation, the application of funds arising from the existence of a Defaulting Lender) or (y) any payment
 obtained by a Lender as consideration for the assignment or sale of a participation in or other interest in
 any of its Loans and reimbursement obligations arising under Section 2.05(f). The Borrower agrees that
 each Lender so purchasing a portion of another Lender’s Loan may exercise all rights of payment
 (including, without limitation, rights of set-off) with respect to such portion as fully as if such Lender were
 the direct holder of such portion.

                   (b)     Subject to the Intercreditor Agreement and Interim Order and Final DIP Order, in
 addition to any rights and remedies of the Lenders provided by Law, each Lender shall have the right,
 without prior notice to the Borrower, any such notice being expressly waived by the Borrower to the extent
 permitted by applicable Law, during the existence of an Event of Default, upon any amount becoming due
 and payable by the Borrower hereunder (whether at the stated maturity, by acceleration, demand or
 otherwise) to set-off and appropriate and apply against such amount any and all deposits (general or
 special, time or demand, provisional or final) (other than trustor payroll accounts), in any currency, and
 any other credits, indebtedness or claims, in any currency, in each case whether direct or indirect, absolute
 or contingent, matured or unmatured, at any time held or owing by such Lender or any branch or agency
 thereof to or for the credit or the account of the Borrower. Each Lender agrees promptly to notify the
 Borrower and the Administrative Agent after any such set-off and application made by such Lender;
 provided that, the failure to give such notice shall not affect the validity of such set-off and application.

                SECTION 9.09 Counterparts; Integration; Effectiveness; Electronic Execution.

                 (a)      Counterparts; Effectiveness. This Agreement and the other Loan Documents
 may be executed by one or more of the parties to this Agreement and such other Loan Documents, as
 applicable, on any number of separate counterparts (including by facsimile transmission or electronic mail
 transmission with pdf of signature pages hereto and thereto), and all of said counterparts taken together
 shall be deemed to constitute one and the same instrument. Delivery of an executed signature page of this
 Agreement and the other Loan Documents by facsimile transmission or by electronic mail with pdf
 attachment shall be effective as delivery of a manually executed counterpart hereof. A set of the copies of
 this Agreement and the other Loan Documents signed by all the parties shall be lodged with the Borrower
 and the Administrative Agent.

                   (b)     Electronic Execution of Assignments. The words “execution,” “signed,”
 “signature,” and words of like import in any Assignment and Assumption shall be deemed to include
 electronic signatures or the keeping of records in electronic form, each of which shall be of the same legal
 effect, validity or enforceability as a manually executed signature or the use of a paper-based
 recordkeeping system, as the case may be, to the extent and as provided for in any Applicable Law,
 including the Federal Electronic Signatures in Global and National Commerce Act, the New York State
 Electronic Signatures and Records Act, or any other similar state laws based on the Uniform Electronic
 Transactions Act.

                 (c)     Integration. This Agreement and the other Loan Documents represent the
 agreement of the Borrower, the Agents and the Lenders with respect to the subject matter hereof, and there
 are no promises, undertakings, representations or warranties by any Agent or any Lender relative to subject
 matter hereof not expressly set forth or referred to herein or in the other Loan Documents.

                SECTION 9.10 Severability. Any provision of this Agreement which is prohibited or
unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such

  73531283.28                                     127
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 289 of 692


prohibition or unenforceability without invalidating the remaining provisions hereof, and any such
prohibition or unenforceability in any jurisdiction shall not invalidate or render unenforceable such
provision in any other jurisdiction.

                SECTION 9.11 GOVERNING LAW.

                  (a)     Governing Law. EXCEPT TO THE EXTENT GOVERNED BY THE
 BANKRUPTCY CODE, THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE
 PARTIES HEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN
 ACCORDANCE WITH, THE LAW OF THE STATE OF NEW YORK WITHOUT REGARD TO
 CONFLICTS OF LAWS PRINCIPLES (provided, that solely with respect to Subsidiaries doing business
 in Morocco, this Agreement shall not apply such laws to so govern or construe this Agreement and such
 rights and obligations to the extent such application would violate Moroccan public policy rules
 (dispositions d’ordre public)).

                SECTION 9.12 Submission to Jurisdiction.

                  The Borrower, hereby irrevocably and unconditionally, for itself and for each Loan Party:

                   (a)     submits for itself and each Loan Party and their respective property in any legal
 action or proceeding relating to this Agreement and the other Loan Documents to which it is a party, or for
 recognition and enforcement of any judgment in respect thereof, to the non-exclusive general jurisdiction
 of the courts of the State of New York, the courts of the United States of America for the Southern District
 of New York, and appellate courts from any thereof;

                  (b)     consents that any such action or proceeding may be brought in such courts and
 waives any objection that it may now or hereafter have to the venue of any such action or proceeding in
 any such court or that such action or proceeding was brought in an inconvenient court and agrees not to
 plead or claim the same;

                  (c)     agrees that service of process in any such action or proceeding may be effected by
 mailing a copy thereof by registered or certified mail (or any substantially similar form of mail), postage
 prepaid, to the Loan Parties as the case may be, at the address set forth in Section 9.02 or at such other
 address of which the Administrative Agent shall have been notified pursuant thereto;

                (d)     agrees that nothing herein shall affect the right to effect service of process in any
 other manner permitted by Law or shall limit the right to sue in any other jurisdiction; and

                   (e)     waives, to the maximum extent not prohibited by Law, any right it may have to
 claim or recover in any legal action or proceeding referred to in this Section 9.12 any special, exemplary,
 punitive or consequential damages. The Borrower irrevocably and unconditionally waives, to the fullest
 extent permitted by Applicable Law, any objection that it may now or hereafter have to the laying of venue
 of any action or proceeding arising out of or relating to this Agreement or any other Loan Document in any
 court referred to in paragraph (b) of this Section. Each of the parties hereto hereby irrevocably waives, to
 the fullest extent permitted by Applicable Law, the defense of an inconvenient forum to the maintenance
 of such action or proceeding in any such court.

                SECTION 9.13 Acknowledgments.

                  The Borrower, hereby acknowledges, for itself and for each Loan Party, that:

                (a)     it has been advised by counsel in the negotiation, execution and delivery of this
 Agreement and the other Loan Documents;

  73531283.28                                     128
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 290 of 692


                 (b)     none of the Agents nor any Lender has any fiduciary relationship with or duty to
the Loan Parties arising out of or in connection with this Agreement or any of the other Loan Documents,
and the relationship between the Borrower and the other Loan Parties, on one hand, and the Agents and
Lenders, on the other hand, in connection herewith or therewith is solely that of debtor and creditor; and

                 (c)       no joint venture is created hereby or by the other Loan Documents or otherwise
exists by virtue of the transactions contemplated hereby among the Lenders or among the Loan Parties and
the Lenders.

           SECTION 9.14 WAIVER OF JURY TRIAL. THE BORROWER, THE BORROWER
ON BEHALF OF THE LOAN PARTIES, THE AGENTS AND THE LENDERS HEREBY
IRREVOCABLY AND UNCONDITIONALLY WAIVE TRIAL BY JURY IN ANY LEGAL ACTION
OR PROCEEDING RELATING TO THIS AGREEMENT (TO THE EXTENT PERMITTED BY
APPLICABLE LAW) OR ANY OTHER LOAN DOCUMENT AND FOR ANY COUNTERCLAIM
THEREIN.

               SECTION 9.15 Confidentiality.

                 (a)      Each Agent and Lender shall: (i) keep confidential, and to cause its directors,
officers, employees, representatives, branches, teams, agents or auditors (collectively, “Representatives”)
to keep confidential) all information that such Agent or Lender receives from or on behalf of the Loan
Parties other than information that is identified by the Loan Parties as being non-confidential information
(all such information that is not so identified being “Confidential Information”); provided that, nothing in
this Section 9.15 shall prevent any Agent or any Lender from disclosing for any purpose, subject to the
terms and requirements of this Section 9.15, such information to an Affiliate or its Representatives, (ii) use
Confidential Information solely for purposes of evaluating and administering the Loans and the Loan
Documents (including by sharing and discussing such Confidential Information with existing and
prospective Lenders) or enforcing its rights hereunder or under any other Loan Document or in connection
with a workout or other insolvency event of the Borrower or any Affiliate of the Borrower and (iii) subject
to Section 9.15(d), not disclose Confidential Information to Representatives of its Trading Business. Each
Agent and Lender shall have satisfied its confidentiality obligations under this Section if such Person
accords such information the same care as it does for its own confidential information.

                 (b)     Notwithstanding anything in this Section 9.15 to the contrary, any Confidential
Information may be disclosed by any Lender (the affected Lender being, the “Disclosing Party”) (i) if the
Disclosing Party is compelled by judicial process or is required by Law or regulation or is requested to do
so by any examiner or any other regulatory authority or recognized self-regulatory organization including,
without limitation, the Financial Industry Regulatory Authority, the New York Stock Exchange, the
Federal Reserve Board, the New York State Banking Department and the SEC, in each case having or
asserting jurisdiction over the Disclosing Party or (ii) in connection with any pledge or assignment by a
Disclosing Party of any Loan or promissory note issued in connection therewith to any Federal Reserve
Bank or any other central bank to the extent permitted hereunder.

                   (c)    The obligations of each Lender and its Representatives under this Section 9.15
with respect to Confidential Information shall not apply to (i) any Confidential Information which, as of
the date of disclosure to such Lender or its Representatives is in the public domain or subsequently comes
into the public domain (including as a result of any public filing with the United States Bankruptcy Court)
other than as a result of a breach of the obligations of any Lender or its Representatives hereunder, (ii) any
information that was or becomes available to such Lender or its Representatives from a person or source
that is not, to the knowledge of such Lender or its Representatives, bound by a confidentiality agreement
with the Loan Parties or otherwise prohibited from transferring such information to such Lender or its
Representatives, (iii) any information which was or becomes available to such Lender or its

 73531283.28                                     129
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                               Pg 291 of 692


 Representatives without any obligation of confidentiality prior to or after its disclosure by or on behalf of
 the Loan Parties or (iv) any information which is developed independently by such Lender or its
 Representatives, if such independently developed information is not based on Confidential Information.

                  (d)      Notwithstanding anything herein to the contrary, each Lender may disclose
 Confidential Information to those Representatives of its Trading Business, solely to the extent (i) such
 disclosure is (A) advisable, in the good faith discretion of such Lender, to assist such Lender in protecting
 and enforcing its rights under the Loan Documents and other credit facilities with which such Lender or its
 Affiliates has with the Borrower (or their Affiliates) and (B) relevant to such assistance, (ii) such
 Representatives have been advised of, and agree to, the confidential nature, and restrictions on use, of such
 Confidential Information and need to know same in connection with providing such assistance, and
 (iii) such Confidential Information is not used for any purpose other than that set forth in this Section 9.15.

                   (e)     Notwithstanding anything herein to the contrary, each Lender may disclose
 Confidential Information to any Participant or Assignee (each a “Transferee”), any prospective Transferee
 and any direct, indirect, actual or prospective counterparty (and its advisor) to any swap, derivative or
 securitization transaction related to the Obligations; provided that such Transferee, prospective Transferee,
 counterparty or advisor shall have agreed to be bound by the provisions of this Section 9.15 or
 substantially equivalent provisions.

                 SECTION 9.16 Specified Laws. Each Lender and the Administrative Agent (for itself and
not on behalf of any Lender) hereby notifies the Borrower that pursuant to the requirements of the Specified
Laws, it is required to obtain, verify and record information that identifies the Borrower and the Guarantors,
which information includes the names and addresses of the Borrower and the Guarantors and other
information that will allow such Lender or Administrative Agent, as applicable, to identify the Borrower
and the Guarantors in accordance with the Specified Laws.

                 SECTION 9.17 Acknowledgement and Consent to Bail-In of EEA Financial
Institutions. . Notwithstanding anything to the contrary in any Loan Document or in any other agreement,
arrangement or understanding among any of the parties thereto, each of the Borrower and the Secured
Parties acknowledges that any liability of any EEA Financial Institution arising under any Loan Document,
to the extent such liability is unsecured, may be subject to the write-down and conversion powers of an
EEA Resolution Authority and agrees and consents to, and acknowledges and agrees to be bound by:

                 (a)      the application of any Write-Down and Conversion Powers by an EEA Resolution
 Authority to any such liabilities arising hereunder which may be payable to it by any party hereto that is an
 EEA Financial Institution; and

                  (b)      the effects of any Bail-In Action on any such liability, including, if applicable:

                            (i)      a reduction in full or in part or cancellation of any such liability;

                            (ii)   a conversion of all, or a portion of, such liability into shares or other
           instruments of ownership in such EEA Financial Institution, its parent undertaking, or a bridge
           institution that may be issued to it or otherwise conferred on it, and that such shares or other
           instruments of ownership will be accepted by it in lieu of any rights with respect to any such liability
           under this Agreement or any other Loan Document; or

                          (iii)  the variation of the terms of such liability in connection with the exercise
           of the Write-Down and Conversion Powers of any EEA Resolution Authority.

                 SECTION 9.18 Acknowledgement of Security Interests.


  73531283.28                                       130
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 292 of 692


                  (a)     The Borrower hereby acknowledges, confirms and agrees that the Collateral
 Agent has had and shall on and after the date hereof continue to have, for itself and the ratable benefit of
 the Lenders, a security interest in and lien upon the Collateral granted to the Collateral Agent (or its
 predecessors in whatever capacity) pursuant to the Loan Documents to secure the Obligations.

                 (b)      The Liens and security interests of the Collateral Agent in the Collateral shall be
 deemed to be continuously granted and perfected from the earliest date of the granting and perfection of
 such Liens and security interests to the Collateral Agent, whether under this Agreement or any of the other
 Loan Documents.

                  (c)      The Liens and security interests and the administrative priority and Lien priority
 specified above hereof may be independently granted by the Loan Documents and by other Loan
 Documents hereafter entered into. This Agreement, the Orders and such other Loan Documents
 supplement each other, and the grants, priorities, rights and remedies of the Administrative Agent and the
 Lenders hereunder and thereunder are cumulative; provided that to the extent of conflict the Interim DIP
 Order (or, as applicable, the Final DIP Order) controls.

                  (d)      Notwithstanding anything herein to the contrary, (i) the Lien and security interest
 granted to the Collateral Agent pursuant to the Security Documents and the exercise of any right or remedy
 by the Collateral Agent thereunder are subject to the provisions of the Intercreditor Agreement and the
 Orders and (ii) to the extent of conflict, the Interim DIP Order (or, as applicable, the Final DIP Order) shall
 control. In the event of any conflict between the terms of the Security Documents and the Intercreditor
 Agreement, the terms of the Intercreditor Agreement shall govern and control.

                SECTION 9.19 Loan Documents.

                   (a)     Notwithstanding anything herein to the contrary, if at any time the interest rate
 applicable to any Loan, together with all fees, charges and other amounts that are treated as interest on
 such Loan under Applicable Law (collectively, “charges”), shall exceed the maximum lawful rate (the
 “Maximum Rate”) that may be contracted for, charged, taken, received or reserved by the Lender holding
 such Loan in accordance with Applicable Law, the rate of interest payable in respect of such Loan
 hereunder, together with all charges payable in respect thereof, shall be limited to the Maximum Rate. To
 the extent lawful, the interest and charges that would have been paid in respect of such Loan but were not
 paid as a result of the operation of this Section shall be cumulated and the interest and charges payable to
 such Lender in respect of other Loans or periods shall be increased (but not above the amount collectible at
 the Maximum Rate therefor) until such cumulated amount, together with interest thereon at the Federal
 Funds Effective Rate for each day to the date of repayment, shall have been received by such Lender. Any
 amount collected by such Lender that exceeds the maximum amount collectible at the Maximum Rate
 shall be applied to the reduction of the principal balance of such Loan or refunded to the Borrower so that
 at no time shall the interest and charges paid or payable in respect of such Loan exceed the maximum
 amount collectible at the Maximum Rate.

                 SECTION 9.20 Payments Set Aside. To the extent that any payment by or on behalf of
the Borrower is made to the Administrative Agent, any Issuing Bank or any Lender, or the Administrative
Agent, any Issuing Bank or any Lender exercises its right of setoff, and such payment or the proceeds of
such setoff or any part thereof is subsequently invalidated, declared to be fraudulent or preferential, set
aside or required (including pursuant to any settlement entered into by the Administrative Agent, such
Issuing Bank or such Lender in its discretion) to be repaid to a trustee, receiver or any other party, in
connection with any proceeding under any Debtor Relief Law or otherwise, then (a) to the extent of such
recovery, the obligation or part thereof originally intended to be satisfied shall be revived and continued in
full force and effect as if such payment had not been made or such setoff had not occurred, and (b) each
Lender and each Issuing Bank severally agrees to pay to the Administrative Agent upon demand its

  73531283.28                                     131
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 293 of 692


applicable share (without duplication) of any amount so recovered from or repaid by the Administrative
Agent, plus interest thereon from the date of such demand to the date such payment is made at a rate per
annum equal to the Federal Funds Effective Rate from time to time in effect.

                 SECTION 9.21 Spanish Formalities.

                 (a)      This Agreement shall be raised, if requested by the Agents as soon as possible
  upon the occurrence of an Event of Default. For such purposes, the Agents shall appear, and require the
  Spanish Subsidiary to appear, before a Spanish Notary Public in Spain in order to formalize this Agreement
  as Spanish Public Document for the purposes of giving compliment to Section 517 of the Spanish Civil
  Procedure Law.

                    (b)       For purposes of the provisions of Section 571 et seq. of the Spanish Civil Procedure
  Law: (i) the amounts due and payable by the Spanish Subsidiary (or any other Subsidiary validly existing
  under the laws of Spain acceding to this Agreement) under this Agreement that may be claimed in any
  executive proceeding brought before any Spanish court shall be those specified in the relevant internal
  accounts of the Agent (or relevant Lender, as the case may be) which is opened and maintained in the name
  of the Spanish Subsidiary and on which they will record the amounts owed in concept of principal, ordinary
  interest, default interest, fees, expenses, additional costs and any other amounts that are due by the Spanish
  Subsidiary under this Agreement from time to time so that the balance shown in such accounts represents
  at all times (and unless manifest calculation error) the total amount owed by the Spanish Subsidiary under
  this Agreement; and at any given time, the Administrative Agent or the applicable Lender will close and
  settle such account and determine the balance and issue a certificate for enforcement purposes (the
  “Spanish Certification”); (ii) upon the occurrence of an Event of Default which is continuing, the Agent
  or the applicable Lender may cause the Spanish Certification to be notarized; and (iii) the Agent will be
  entitled to determine the amounts which are due and payable pursuant to this Agreement and the other Loan
  Documents in the Spanish Certification. In order for the Agent to exercise an executive action in Spain, the
  presentation of the following documents shall suffice: (a) an original notarial copy of this Agreement and/or
  the Loan Document (as appropriate) complying with the formalities of Sections 517.2.4º or 517.2.5º of the
  Spanish Civil Procedure Law, as the case may be; (b) the Spanish Certification reflecting the amounts due
  and payable by the Spanish Subsidiary, together with an extract from the credit and debit entries made by
  the Agent (or relevant Lender, as the case may be) in respect of the Spanish Subsidiary; (c) a notarial
  document attesting that the calculation of outstanding amounts set forth in the Spanish Certification; and
  (d) a notarial certificate evidencing that the Spanish Subsidiary, has been duly served notice of the amount
  that is due and payable hereunder.

                  (c)     The Spanish Subsidiary hereby expressly authorizes the Agent (and each of the
  Lenders, as appropriate) to request and obtain certificates and documents issued by the notary who has
  formalized this Agreement and/or any other Loan Document as a Spanish Public Document in order to
  evidence its compliance with the entries of his registry-book and the relevant entry date for the purpose of
  number 4º and/or 5º (as applicable) of Section 517.2, of the Spanish Law of Civil Procedure.




  73531283.28                                      132
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                         Pg 294 of 692


                 IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
 executed by their respective authorized officers as of the day and year first above written.

                                             AEGEAN BUNKERING (USA) LLC


                                             By_________________________
                                               Name:
                                               Title:




              Superpriority Secured Debtor-in-Possession Credit Agreement
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18         Main Document
                                    Pg 295 of 692


                                       AGENT:

                                       ABN AMRO CAPITAL USA LLC,
                                         as Issuing Bank and Administrative Agent


                                       By_________________________
                                         Name:
                                         Title:




          Superpriority Secured Debtor-in-Possession Credit Agreement
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18        Main Document
                                    Pg 296 of 692



                                       LENDERS:

                                       MERCURIA US ASSET HOLDINGS LLC



                                       By_________________________
                                         Name:
                                         Title:




          Superpriority Secured Debtor-in-Possession Credit Agreement
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18        Main Document
                                    Pg 297 of 692


                                                                           Schedule 1.1A

                            Approved Inventory Locations




          Superpriority Secured Debtor-in-Possession Credit Agreement
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 298 of 692


                                                                      Schedule 1.1B

                              Existing Letters of Credit
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 299 of 692


                                                                      Schedule 1.1C

                                     Financial Institutions
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 300 of 692


                                                                      Schedule 1.1D

                                     Non-Filing Entities
18-13374-mew     Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18    Main Document
                                       Pg 301 of 692


                                                                          Schedule 2.01

                                    Commitments and Lenders

  Name of Lender                      Revolving Commitment    Term Commitment
  Mercuria US Asset Holdings, LLC     $160,000,000            $72,000,000
  TOTAL                               $160,000,000            $72,000,000
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 302 of 692


                                                                      Schedule 2.07

                                 Funding Account




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 303 of 692


                                                                      Schedule 3.03

                                 FERC Contracts




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 304 of 692


                                                                    Schedule 3.05(b)

                                    Liabilities




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 305 of 692


                                                                    Schedule 3.05(v)

                        Sales other than in the Ordinary Course




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 306 of 692


                                                                      Schedule 3.08

                                    Litigation




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 307 of 692


                                                                      Schedule 3.10

                                Properties; Locations




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 308 of 692


                                                                      Schedule 3.11

                                Intellectual Property




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 309 of 692


                                                                      Schedule 3.16

                               Environmental Matters




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 310 of 692


                                                                      Schedule 3.20

                                   Subsidiaries




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 311 of 692


                                                                      Schedule 3.23

                              Filings and Filing Offices




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 312 of 692


                                                                      Schedule 3.25

                                    Insurance




 73531283.28
18-13374-mew    Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                     Pg 313 of 692
 NRF Draft 11/5/18

                                                                       Schedule 3.27

                                   Joint Ventures




 73531283.28
18-13374-mew    Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                     Pg 314 of 692
 NRF Draft 11/5/18

                                                                       Schedule 3.30

                                 Certain Indebtedness




 73531283.28
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 315 of 692


                                                                                    Schedule 4.02(e)

                                       Lender Representatives

 In the case of Mercuria:
 1. John Etheridege (jetheridge@mercuria.com)
 2. Marty Bredehoft (mbredehoft@mercuria.com)
 3. Any other Person designated from time to time by John Etheridege or Marty Bredehoft (or any
 successor thereto designated in accordance herewith) by written notice (including by email) to, so
 long as ABN is the Administrative Agent hereunder, each ABN Representative.




 73531283.28
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 316 of 692


                                                                                               Schedule 5.14

                                            Required Milestones


 1.      On the Petition Date, the Debtors shall file a motion seeking approval of the facility evidenced by
 the Facilities and the Term Facility.

 2.      On or before three (3) business days after the Petition Date, the Interim DIP Order shall have
 been entered by the Bankruptcy Court.

 3.      Each Loan Party shall have executed and/or delivered with respect to all Collateral, within 45
 days of the Effective Date (other than in respect of (i) any Person organized under the laws of South
 Africa, or (ii) any pledge of Equity Interests of a Person that is not a Loan Party, in each case which shall
 be 60 days), all new security agreements, pledge agreements, vessel mortgages, control agreements,
 financing statements, legal opinions, filings to perfect liens under applicable law, and such other
 documents and agreements as the Administrative Agent and the Required Lenders may require (including
 amendments to the then-existing forms, if any, of such security agreements, pledge agreements, vessel
 mortgages, control agreements, financing statements, filings to perfect liens under applicable law and
 other documents) so as to create and perfect, or in connection with the creation and perfection of, liens
 upon and security interests in all of the Collateral of AMPNI and the other Loan Parties to secure the
 Secured Obligations, including without limitation with respect to all Collateral of Loan Parties that are
 U.S. Persons:

          a.       an Account Control Agreement with respect to each Deposit Account, Commodity
          Account and Securities Account and such other documents or actions as may be necessary to
          establish UCC Control with respect to any Collateral over which UCC Control may be
          established pursuant to the UCC; and

          b.      the Borrower shall have notified each storage facility, carrier, bailee or consignee holding
          inventory of any Loan Party of the Collateral Agent’s security interest in such inventory (and
          provided to the Administrative Agent a copy of such notice) and Borrower shall use
          commercially reasonable efforts to obtain from each such storage facility, carrier, bailee or
          consignee a written acknowledgement of such notice;

 provided that with respect to Loan Parties that are not U.S. Persons, and with respect to documents and
 actions necessary or advisable pursuant to the laws of jurisdictions outside of the United States and its
 States and territories, such obligation shall be subject to and in accordance with the Agreed Security
 Principles (as defined in the Global DIP Facility agreement).

 4.       On or before 45 days after the Petition Date, the Final Order authorizing and approving the
 Facilities on a final basis shall have been entered by the Bankruptcy Court.

 5.        Not later than one day after entry by the Bankruptcy Court of the Interim DIP Order, the Debtors
 shall have filed with the Bankruptcy Court a motion (the “Sale Motion” and the date of such filing, the
 “Sale Motion Filing Date”) seeking (i) entry of an order, in form and substance acceptable to the
 Lenders, approving a sale under section 363 of the Bankruptcy Code, of all or substantially all of the
 Borrowers’ assets (including, without limitation the Collateral) (the “Sale”); (ii) approval of bidding and
 sale procedures in form and substance acceptable to the Lenders (the “Bidding Procedures”); (iii)
 approval of (A) an agreement, in form and substance acceptable to the Lenders, for the Sale, and (B) such
 other agreements contemplated in the foregoing agreement of Sale as the Lenders may require, and (v) as
 to the stalking horse bidder providing its bid for the Sale (the “Sale Bidder”), approving bid protections
 for such Sale Bidder (the “Bid Protections”).
 73531283.28
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 317 of 692


 6.        Promptly following exchange control approval from the Financial Surveillance Department of the
 South African Reserve Bank, and in any event within 40 Business Days of the entry of the Interim DIP
 Order, the Borrower shall cause Aegean Bunkering Marine Services Proprietary Limited, a limited
 liability company incorporated in South Africa, to join the Guaranty and Security Documents and deliver
 such other documents and information as is contemplated by clauses (a) and (b) of Section 5.19. The
 Borrower shall (and shall procure that Aegean Bunkering Marine Services Proprietary Limited) use its
 best efforts to obtain such exchange control approval as soon as possible for the purpose of becoming an
 Additional Guarantor.

 7.      Within thirty (30) calendar days after the Petition Date, the Bankruptcy Court shall have entered
 an order (the “Bidding Procedures Order”), in form and substance acceptable to the Lenders, approving
 the Bidding Procedures and the Bid Protections and setting related deadlines;

 8.      The Bidding Procedures Order shall provide that bids shall be due within [seventy (70)] calendar
 days after entry of the Bidding Procedures Order (the “Bid Deadline”);

 9.      Within five (5) business days of the Bid Deadline, the Debtors shall conduct the auction, if
 necessary, pursuant to the Bidding Procedures Order;

 10.    Within ten (10) business days of the Bid Deadline, the Bankruptcy Court shall enter an order, in
 form and substance acceptable to the Lenders and the Sale Bidder, approving the Sale; and

 11.     On the date of the closing of the Sale, the proceeds of the Sale shall have been used to repay the
 Obligations, the Prepetition Obligations in full in cash and to pay any break-up fee required in the
 purchase agreement signed by any of the Debtors and any of the Lenders.
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 318 of 692


                                                                      Schedule 6.01

                                   Indebtedness




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 319 of 692


                                                                      Schedule 6.02

                                      Liens




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 320 of 692


                                                                      Schedule 6.06

                                   Investments




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 321 of 692


                                                                      Schedule 6.08

                             Transaction with Affiliates




 73531283.28
18-13374-mew             Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18                             Main Document
                                                   Pg 322 of 692
                                                                                                                       EXHIBIT A

                                   [FORM OF ASSIGNMENT AND ASSUMPTION]


                 This Assignment and Assumption (the “Assignment and Assumption”) is dated as of the
 Effective Date set forth below and is entered into by and between [the][each]6 Assignor identified in item 1
 below ([the][each, an] “Assignor”) and [the][each] 7 Assignee identified in item 2 below ([the][each, an]
 “Assignee”). [It is understood and agreed that the rights and obligations of [the Assignors][the Assignees]8
 hereunder are several and not joint.]9 Capitalized terms used but not defined herein shall have the meanings
 given to them in the Credit Agreement identified below (as amended, the “Credit Agreement”), receipt of a
 copy of which is hereby acknowledged by [the][each] Assignee. The Standard Terms and Conditions set
 forth in Annex 1 attached hereto are hereby agreed to and incorporated herein by reference and made a part
 of this Assignment and Assumption as if set forth herein in full.

                   For an agreed consideration, [the][each] Assignor hereby irrevocably sells and assigns to
 [the Assignee][the respective Assignees], and [the][each] Assignee hereby irrevocably purchases and
 assumes from [the Assignor][the respective Assignors], subject to and in accordance with the Standard Terms
 and Conditions and the Credit Agreement, as of the Effective Date inserted by the Administrative Agent as
 contemplated below (i) all of [the Assignor’s][the respective Assignors’] rights and obligations in [its
 capacity as a Lender][their respective capacities as Lenders] under the Credit Agreement and any other
 documents or instruments delivered pursuant thereto to the extent related to the amount and percentage
 interest identified below of all of such outstanding rights and obligations of [the Assignor][the respective
 Assignors] under the respective facilities identified below (including any letters of credit, guarantees, and
 swingline loans included in such facilities), and (ii) to the extent permitted to be assigned under Applicable
 Law, all claims, suits, causes of action and any other right of [the Assignor (in its capacity as a Lender)][the
 respective Assignors (in their respective capacities as Lenders)] against any Person, whether known or
 unknown, arising under or in connection with the Credit Agreement, any other documents or instruments
 delivered pursuant thereto or the loan transactions governed thereby or in any way based on or related to any
 of the foregoing, including contract claims, tort claims, malpractice claims, statutory claims and all other
 claims at law or in equity related to the rights and obligations sold and assigned pursuant to clause (i) above
 (the rights and obligations sold and assigned by [the][any] Assignor to [the][any] Assignee pursuant to
 clauses (i) and (ii) above being referred to herein collectively as [the][an] “Assigned Interest”). Each such
 sale and assignment is without recourse to [the][any] Assignor and, except as expressly provided in this
 Assignment and Assumption, without representation or warranty by [the][any] Assignor. Assignee
 represents and warrants that it is not a Defaulting Lender.

 1.        Assignor[s]:        _________________________________________

                     _________________________________________

 2.        Assignee[s]:        _________________________________________

                     _________________________________________

           [Assignee is an [Affiliate][Approved Fund] of [identify Lender]

 3.        Borrower(s):        _________________________________________


 6 For bracketed language here and elsewhere in this form relating to the Assignor(s), if the assignment is from a single Assignor,
 choose the first bracketed language. If the assignment is from multiple Assignors, choose the second bracketed language.
 7 For bracketed language here and elsewhere in this form relating to the Assignee(s), if the assignment is to a single Assignee,

 choose the first bracketed language. If the assignment is to multiple Assignees, choose the second bracketed language.
 8 Select as appropriate.
 9 Include bracketed language if there are either multiple Assignors or multiple Assignees.

 73531283.28
18-13374-mew            Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18                          Main Document
                                                  Pg 323 of 692

 4.          Administrative Agent: ABN AMRO CAPITAL USA LLC, as the administrative agent under the
             Credit Agreement

 5.          Credit Agreement: The Superpriority Secured Debtor-in-Possession Credit Agreement dated as of
             [November __], 2018 among Aegean Bunkering (USA) LLC, the Lenders parties thereto, and ABN
             AMRO CAPITAL USA LLC, as Administrative Agent

 6.          Assigned Interest[s]:

                                                  Aggregate
                                                  Amount of                                     Percentage
                                                Commitment/Loa   Amount of                      Assigned of
  Assignor[s] Assignee[s]         Facility         ns for all   Commitment/                    Commitment/           CUSIP
        10             11        Assigned12        Lenders13   Loans Assigned8                   Loans14             Number
                                                $                      $                                 %
                                                $                      $                     %
                                                $                      $                     %

 [7.         Trade Date:                ______________]15

                                                           [Page break]




 10 List each Assignor, as appropriate.
 11 List each Assignee, as appropriate.
 12 Fill in the appropriate terminology for the types of facilities under the Credit Agreement that are being assigned under this

 Assignment.
 13 Amount to be adjusted by the counterparties to take into account any payments or prepayments made between the Trade Date

 and the Effective Date.
 14 Set forth, to at least 9 decimals, as a percentage of the Commitment/Loans of all Lenders thereunder.
 15 To be completed if the Assignor(s) and the Assignee(s) intend that the minimum assignment amount is to be determined as of the

 Trade Date.
 73531283.28                                             -2-
18-13374-mew            Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18                           Main Document
                                                  Pg 324 of 692

 Effective Date: _____________ ___, 20___ [TO BE INSERTED BY ADMINISTRATIVE AGENT AND
 WHICH SHALL BE THE EFFECTIVE DATE OF RECORDATION OF TRANSFER IN THE
 REGISTER THEREFOR.]

 The terms set forth in this Assignment and Assumption are hereby agreed to:

                                                            ASSIGNOR[S]16
                                                            [NAME OF ASSIGNOR]


                                                            By:_________________________________
                                                              Title:


                                                            [NAME OF ASSIGNOR]


                                                            By:_________________________________
                                                              Title:


                                                            ASSIGNEE[S]17
                                                            [NAME OF ASSIGNEE]


                                                            By:_________________________________
                                                              Title:


                                                            [NAME OF ASSIGNEE]


                                                            By:_________________________________
                                                              Title:


 [Consented to and]18 Accepted:

 [NAME OF ADMINISTRATIVE AGENT], as
   Administrative Agent


 By: _________________________________

 Title:




 16 Add additional signature blocks as needed. Include both Fund/Pension Plan and manager making the trade (if applicable).
 17 Add additional signature blocks as needed. Include both Fund/Pension Plan and manager making the trade (if applicable).
 18 To be added only if the consent of the Administrative Agent is required by the terms of the Credit Agreement.

 73531283.28                                              -3-
18-13374-mew               Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18                             Main Document
                                                     Pg 325 of 692

 [Consented to:]19

 [NAME OF RELEVANT PARTY]


 By: ________________________________

 Title:




 19   To be added only if the consent of the Issuing Bank is required by the terms of the Credit Agreement.
 73531283.28                                                 -4-
18-13374-mew           Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 326 of 692


                                                                                                     ANNEX 1

        Superpriority Secured Debtor-in-Possession Credit Agreement dated as of [October __], 2018

                                STANDARD TERMS AND CONDITIONS FOR
                                    ASSIGNMENT AND ASSUMPTION

                  1.      Representations and Warranties.

                   1.1      Assignor[s]. [The][Each] Assignor (a) represents and warrants that (i) it is the
 legal and beneficial owner of [the][the relevant] Assigned Interest, (ii) [the][such] Assigned Interest is
 free and clear of any lien, encumbrance or other adverse claim, (iii) it has full power and authority, and
 has taken all action necessary, to execute and deliver this Assignment and Assumption and to
 consummate the transactions contemplated hereby and (iv) it is not a Defaulting Lender; and (b) assumes
 no responsibility with respect to (i) any statements, warranties or representations made in or in connection
 with the Credit Agreement or any other Loan Document, (ii) the execution, legality, validity,
 enforceability, genuineness, sufficiency or value of the Loan Documents [or any collateral thereunder],
 (iii) the financial condition of the Borrower, any of its Subsidiaries or Affiliates or any other Person
 obligated in respect of any Loan Document, or (iv) the performance or observance by the Borrower, any
 of its Subsidiaries or Affiliates or any other Person of any of their respective obligations under any Loan
 Document.

                    1.2     Assignee[s]. [The][Each] Assignee (a) represents and warrants that (i) it has full
 power and authority, and has taken all action necessary, to execute and deliver this Assignment and
 Assumption and to consummate the transactions contemplated hereby and to become a Lender under the
 Credit Agreement, (ii) it meets all the requirements to be an assignee under Section 9.07 of the Credit
 Agreement (subject to such consents, if any, as may be required thereunder), (iii) from and after the
 Effective Date, it shall be bound by the provisions of the Credit Agreement as a Lender thereunder and, to
 the extent of [the][the relevant] Assigned Interest, shall have the obligations of a Lender thereunder, (iv) it
 is sophisticated with respect to decisions to acquire assets of the type represented by the Assigned Interest
 and either it, or the Person exercising discretion in making its decision to acquire the Assigned Interest, is
 experienced in acquiring assets of such type, (v) it has received a copy of the Credit Agreement, and has
 received or has been accorded the opportunity to receive copies of the most recent financial statements
 delivered pursuant to Section 5.01 thereof, as applicable, and such other documents and information as it
 deems appropriate to make its own credit analysis and decision to enter into this Assignment and
 Assumption and to purchase [the][such] Assigned Interest, (vi) it has, independently and without reliance
 upon the Administrative Agent or any other Lender and based on such documents and information as it
 has deemed appropriate, made its own credit analysis and decision to enter into this Assignment and
 Assumption and to purchase [the][such] Assigned Interest, and (vii) if it is a Foreign Lender attached to
 the Assignment and Assumption is any documentation required to be delivered by it pursuant to the terms
 of the Credit Agreement, duly completed and executed by [the][such] Assignee; and (b) agrees that (i) it
 will, independently and without reliance on the Administrative Agent, [the][any] Assignor or any other
 Lender, and based on such documents and information as it shall deem appropriate at the time, continue
 to make its own credit decisions in taking or not taking action under the Loan Documents, and (ii) it will
 perform in accordance with their terms all of the obligations which by the terms of the Loan Documents
 are required to be performed by it as a Lender.

                    2.     Payments. From and after the Effective Date, the Administrative Agent shall
 make all payments in respect of [the][each] Assigned Interest (including payments of principal, interest,
 fees and other amounts) to [the][the relevant] Assignor for amounts that have accrued to but excluding the
 Effective Date and to [the][the relevant] Assignee for amounts that have accrued from and after the
 Effective Date. Notwithstanding the foregoing, the Administrative Agent shall make all payments of
 interest, fees or other amounts paid or payable in kind from and after the Effective Date to [the][the relevant]
 Assignee.
 73531283.28
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 327 of 692


                  3.        General Provisions. This Assignment and Assumption shall be binding upon, and
 inure to the benefit of, the parties hereto and their respective successors and assigns. This Assignment and
 Assumption may be executed in any number of counterparts, which together shall constitute one instrument.
 Delivery of an executed counterpart of a signature page of this Assignment and Assumption by telecopy
 shall be effective as delivery of a manually executed counterpart of this Assignment and Assumption. This
 Assignment and Assumption shall be governed by, and construed in accordance with, the law of the State
 of New York.




 73531283.28                                     -2-
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 328 of 692


                                                                       EXHIBIT B

                        FORM OF BORROWING BASE REPORT

                                    [To come]




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 329 of 692


                                                                       EXHIBIT C

                                DEBTORS’ BUDGET

                                    [Attached]




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 330 of 692


                                                                       EXHIBIT D

                               INTERIM DIP ORDER

                                    [Attached]




 73531283.28
18-13374-mew   Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                     Pg 331 of 692


                                                                         EXHIBIT E

                        FORM OF MARKED TO MARKET REPORT

                                     [To come]




 73531283.28                         -2-
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 332 of 692


                                                                                                  EXHIBIT F-1

                                                  [FORM OF

                                U.S. TAX COMPLIANCE CERTIFICATE
           (For Foreign Lenders That Are Not Partnerships For U.S. Federal Income Tax Purposes)


                 Reference is hereby made to the Superpriority Secured Debtor-in-Possession Credit
 Agreement dated as of [October __], 2018 (as amended, supplemented or otherwise modified from time
 to time, the “Credit Agreement”) among Aegean Bunkering (USA) LLC, the Lenders parties thereto,
 and ABN AMRO CAPITAL USA LLC, as Administrative Agent.

                     Pursuant to the provisions of Section 2.19 of the Credit Agreement, the undersigned
 hereby certifies that (i) it is the sole record and beneficial owner of the Loan(s) in respect of which it is
 providing this certificate, (ii) it is not a “bank” within the meaning of Section 881(c)(3)(A) of the Code,
 (iii) it is not a “ten percent shareholder” of the Borrower within the meaning of Section 871(h)(3)(B) of
 the Code and (iv) it is not a “controlled foreign corporation” related to the Borrower as described in
 Section 881(c)(3)(C) of the Code.

                    The undersigned has furnished the Administrative Agent and the Borrower with a
 certificate of its non-U.S. Person status on IRS Form W-8BEN or IRS Form W-8BEN-E. By executing
 this certificate, the undersigned agrees that (1) if the information provided in this certificate changes, the
 undersigned shall promptly so inform the Borrower and the Administrative Agent, and (2) the
 undersigned shall have at all times furnished the Borrower and the Administrative Agent with a properly
 completed and currently effective certificate in either the calendar year in which each payment is to be
 made to the undersigned, or in either of the two calendar years preceding such payments.

                 Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
 shall have the meanings given to them in the Credit Agreement.

 [NAME OF LENDER]



 By:_________________________________
 Name:
 Title:

 Date: ________ __, 20[ ]




 73531283.28
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 333 of 692


                                                                                                  EXHIBIT F-2

                                                   [FORM OF

                                U.S. TAX COMPLIANCE CERTIFICATE
        (For Foreign Participants That Are Not Partnerships For U.S. Federal Income Tax Purposes)


                 Reference is hereby made to the Superpriority Secured Debtor-in-Possession Credit
 Agreement dated as of [October __], 2018 (as amended, supplemented or otherwise modified from time
 to time, the “Credit Agreement”) among Aegean Bunkering (USA) LLC, the Lenders parties thereto,
 and ABN AMRO CAPITAL USA LLC, as Administrative Agent.

                     Pursuant to the provisions of Section 2.19 of the Credit Agreement, the undersigned
 hereby certifies that (i) it is the sole record and beneficial owner of the participation in respect of which it
 is providing this certificate, (ii) it is not a “bank” within the meaning of Section 881(c)(3)(A) of the Code,
 (iii) it is not a “ten percent shareholder” of the Borrower within the meaning of Section 871(h)(3)(B) of
 the Code and (iv) it is not a “controlled foreign corporation” related to the Borrower as described in
 Section 881(c)(3)(C) of the Code.

                 The undersigned has furnished its participating Lender with a certificate of its non-
 U.S. Person status on IRS Form W-8BEN or IRS Form W-8BEN-E. By executing this certificate, the
 undersigned agrees that (1) if the information provided in this certificate changes, the undersigned shall
 promptly so inform such Lender in writing, and (2) the undersigned shall have at all times furnished such
 Lender with a properly completed and currently effective certificate in either the calendar year in which
 each payment is to be made to the undersigned, or in either of the two calendar years preceding such
 payments.

                 Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
 shall have the meanings given to them in the Credit Agreement.

 [NAME OF PARTICIPANT]



 By:_________________________________
 Name:
 Title:

 Date: ________ __, 20[ ]




 73531283.28
18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 334 of 692


                                                                                                  EXHIBIT F-3

                                                   [FORM OF

                                 U.S. TAX COMPLIANCE CERTIFICATE
           (For Foreign Participants That Are Partnerships For U.S. Federal Income Tax Purposes)


                 Reference is hereby made to the Superpriority Secured Debtor-in-Possession Credit
 Agreement dated as of [October __], 2018 (as amended, supplemented or otherwise modified from time
 to time, the “Credit Agreement”) among Aegean Bunkering (USA) LLC, the Lenders parties thereto,
 and ABN AMRO CAPITAL USA LLC, as Administrative Agent.

                    Pursuant to the provisions of Section 2.19 of the Credit Agreement, the undersigned
 hereby certifies that (i) it is the sole record owner of the participation in respect of which it is providing
 this certificate, (ii) its direct or indirect partners/members are the sole beneficial owners of such
 participation, (iii) with respect such participation, neither the undersigned nor any of its direct or indirect
 partners/members is a “bank” extending credit pursuant to a loan agreement entered into in the ordinary
 course of its trade or business within the meaning of Section 881(c)(3)(A) of the Code, (iv) none of its
 direct or indirect partners/members is a “ten percent shareholder” of the Borrower within the meaning of
 Section 871(h)(3)(B) of the Code and (v) none of its direct or indirect partners/members is a “controlled
 foreign corporation” related to the Borrower as described in Section 881(c)(3)(C) of the Code.

                   The undersigned has furnished its participating Lender with IRS Form W-8IMY
 accompanied by one of the following forms from each of its partners/members that is claiming the
 portfolio interest exemption: (i) an IRS Form W-8BEN or IRS Form W-8BEN-E or (ii) an IRS Form W-
 8IMY accompanied by an IRS Form W-8BEN or IRS Form W-8BEN-E from each of such
 partner’s/member’s beneficial owners that is claiming the portfolio interest exemption. By executing this
 certificate, the undersigned agrees that (1) if the information provided in this certificate changes, the
 undersigned shall promptly so inform such Lender and (2) the undersigned shall have at all times
 furnished such Lender with a properly completed and currently effective certificate in either the calendar
 year in which each payment is to be made to the undersigned, or in either of the two calendar years
 preceding such payments.

                 Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
 shall have the meanings given to them in the Credit Agreement.

 [NAME OF PARTICIPANT]



 By:_________________________________
 Name:
 Title:

 Date: ________ __, 20[ ]




 73531283.28
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 335 of 692


                                                                                                 EXHIBIT F-4

                                                  [FORM OF

                                  U.S. TAX COMPLIANCE CERTIFICATE
               (For Foreign Lenders That Are Partnerships For U.S. Federal Income Tax Purposes)


                 Reference is hereby made to the Superpriority Secured Debtor-in-Possession Credit
 Agreement dated as of [October __], 2018 (as amended, supplemented or otherwise modified from time
 to time, the “Credit Agreement”) among Aegean Bunkering (USA) LLC, the Lenders parties thereto,
 and ABN AMRO CAPITAL USA LLC, as Administrative Agent.

                     Pursuant to the provisions of Section 2.19 of the Credit Agreement, the undersigned
 hereby certifies that (i) it is the sole record owner of the Loan(s) in respect of which it is providing this
 certificate, (ii) its direct or indirect partners/members are the sole beneficial owners of such Loan(s),
 (iii) with respect to the extension of credit pursuant to this Credit Agreement or any other Loan
 Document, neither the undersigned nor any of its direct or indirect partners/members is a “bank”
 extending credit pursuant to a loan agreement entered into in the ordinary course of its trade or business
 within the meaning of Section 881(c)(3)(A) of the Code, (iv) none of its direct or indirect
 partners/members is a “ten percent shareholder” of the Borrower within the meaning of
 Section 871(h)(3)(B) of the Code and (v) none of its direct or indirect partners/members is a “controlled
 foreign corporation” related to the Borrower as described in Section 881(c)(3)(C) of the Code.

                   The undersigned has furnished the Administrative Agent and the Borrower with IRS
 Form W-8IMY accompanied by one of the following forms from each of its partners/members that is
 claiming the portfolio interest exemption: (i) an IRS Form W-8BEN or IRS Form W-8BEN-E or (ii) an
 IRS Form W-8IMY accompanied by an IRS Form W-8BEN or IRS Form W-8BEN-E from each of such
 partner’s/member’s beneficial owners that is claiming the portfolio interest exemption. By executing this
 certificate, the undersigned agrees that (1) if the information provided in this certificate changes, the
 undersigned shall promptly so inform the Borrower and the Administrative Agent, and (2) the
 undersigned shall have at all times furnished the Borrower and the Administrative Agent with a properly
 completed and currently effective certificate in either the calendar year in which each payment is to be
 made to the undersigned, or in either of the two calendar years preceding such payments.

                 Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
 shall have the meanings given to them in the Credit Agreement.

 [NAME OF LENDER]



 By:_________________________________
 Name:
 Title:

 Date: ________ __, 20[ ]




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 336 of 692


                                                                       EXHIBIT G

                            FORM OF POSITION REPORT

                                    [To come]




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 337 of 692


                                                                      EXHIBIT H-1

                         FORM OF BORROWING REQUEST




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 338 of 692


                                                                      EXHIBIT H-2

                        FORM OF LETTER OF CREDIT REQUEST




 73531283.28
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 339 of 692


                  EXHIBIT B to the Proposed Interim Order

                             Global DIP Agreement
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                           Pg 340 of 692




                             Dated 30 November 2017 as amended
                                 and restated pursuant to an
                                 amendment and restatement
                               agreement dated            2018




                             AEGEAN MARINE PETROLEUM S.A.
                                     as the Company

                         AEGEAN MARINE PETROLEUM S.A.
                      AEGEAN PETROLEUM INTERNATIONAL INC.
                                AEGEAN NWE N.V.
                      AEGEAN BUNKERING GERMANY GMBH and
                        OBAST BUNKERING & TRADING GMBH
                                 as the Borrowers

                                    CERTAIN COMPANIES
                                       as Guarantors

                                  ABN AMRO BANK N.V.
            as Facility Agent, Collateral Management Agent and Security Agent

                                   CERTAIN PERSONS
                       as Lenders, Issuing Banks and Overdraft Bank

                           MERCURIA ENERGY TRADING S.A.
                         as Co-Ordinator and as a Hedging Provider




                        SUPERPRIORITY SECURED DEBTOR-
                       IN-POSSESSION FACILITY AGREEMENT
                         FOR A BORROWING BASE FACILITY




  BD-#32148460-v3
18-13374-mew                Doc 17            Filed 11/06/18 Entered 11/06/18 07:04:18                                             Main Document
                                                          Pg 341 of 692


                                                                       Contents
  Clause                                                                                                                                              Page

  Section 1 Interpretation............................................................................................................................6

  1        Definitions and Interpretation.........................................................................................................6

  Section 2 The Facility ............................................................................................................................45

  2        The Facilities ............................................................................................................................... 45

  3        Purpose ....................................................................................................................................... 48

  4        Conditions of Utilisation ...............................................................................................................48

  Section 3 Utilisation ............................................................................................................................... 51

  5        Utilisation ..................................................................................................................................... 51

  6        Fronted Facilities .........................................................................................................................54

  Section 4 Repayment, Prepayment and Cancellation ...........................................................................64

  7        Repayment .................................................................................................................................. 64

  8        Voluntary prepayment and cancellation ......................................................................................65

  9        Mandatory prepayment and cancellation.....................................................................................66

  10       Restrictions.................................................................................................................................. 68

  Section 5 Costs of Utilisation .................................................................................................................70

  11       Interest......................................................................................................................................... 70

  12       Interest Periods ...........................................................................................................................71

  13       Changes to the Calculation of Interest ........................................................................................72

  14       Fees............................................................................................................................................. 73

  Section 6 Additional Payment Obligations.............................................................................................75

  15       Tax Gross Up and Indemnities ....................................................................................................75

  16       Increased Costs...........................................................................................................................80

  17       Other Indemnities ........................................................................................................................81

  18       Mitigation by the Lenders ............................................................................................................84

  19       Costs and Expenses....................................................................................................................84

  Section 7 Guarantee.............................................................................................................................. 87

  20       Guarantee and Indemnity ............................................................................................................87

  Section 8 Representations, Undertakings and Events of Default ..........................................................95



  BD-#32148460-v3                                                         1
18-13374-mew                Doc 17            Filed 11/06/18 Entered 11/06/18 07:04:18                                            Main Document
                                                          Pg 342 of 692


  21       Representations ..........................................................................................................................95

  22       Information Undertakings ..........................................................................................................102

  23       Budget variance.........................................................................................................................111

  24       General Undertakings................................................................................................................111

  25       Bank Accounts...........................................................................................................................125

  26       Events of Default .......................................................................................................................128

  Section 9 Changes to Parties ..............................................................................................................136

  27       Changes to the Lenders ............................................................................................................136

  28       Restriction on Debt Purchase Transactions ..............................................................................140

  29       Changes to the Obligors............................................................................................................141

  Section 10 The Finance Parties...........................................................................................................145

  30   Role of the Facility Agent, the Collateral Management Agent, the Issuing Bank, the Overdraft
  Bank and Others.................................................................................................................................. 145

  31       The Security Agent ....................................................................................................................156

  32       Conduct of Business by the Finance Parties.............................................................................168

  33       Sharing among the Finance Parties ..........................................................................................169

  Section 11 Administration ....................................................................................................................171

  34       Payment mechanics ..................................................................................................................171

  35       Set-Off ....................................................................................................................................... 175

  36       Notices....................................................................................................................................... 175

  37       Calculations and Certificates .....................................................................................................178

  38       Partial Invalidity .........................................................................................................................179

  39       Remedies and Waivers .............................................................................................................179

  40       Amendments and Waivers ........................................................................................................179

  41       Confidentiality ............................................................................................................................181

  42       Counterparts.............................................................................................................................. 184

  Section 12 Governing Law and Enforcement ......................................................................................185

  43       Governing Law ..........................................................................................................................185

  44       Enforcement .............................................................................................................................. 185

  45       Bail-in Clause ............................................................................................................................187




  BD-#32148460-v3                                                        2
18-13374-mew               Doc 17           Filed 11/06/18 Entered 11/06/18 07:04:18                                         Main Document
                                                        Pg 343 of 692


  46       Resolution Stay .........................................................................................................................188

  Schedule 1 The Original Parties ..........................................................................................................190

  Part I The Obligors............................................................................................................................... 190

  Part II The Original Lenders.................................................................................................................192

  Schedule 2 Conditions precedent........................................................................................................193

  Part I Conditions precedent to initial Utilisation ...................................................................................193

  Part II Conditions precedent required to be delivered by an Additional Obligor ..................................197

  Part III Conditions precedent required to be delivered in connection with Sensitive Zones ................198

  Part IV Spanish Pledgor conditions precedent ....................................................................................198

  Schedule 3 Utilisation Request............................................................................................................200

  Schedule 4 Form of Transfer Certificate..............................................................................................203

  Schedule 5 Form of Assignment Agreement .......................................................................................205

  Schedule 6 Form of Compliance Certificate ........................................................................................208

  Schedule 7 Timetables ........................................................................................................................209

  Schedule 8 Forms of Notifiable Debt Purchase Transaction Notice....................................................210

  Part I Form of Notice on Entering into Notifiable Debt Purchase Transaction.....................................210

  Part II Form of Notice on Termination of Notifiable Debt Purchase Transaction / Notifiable Debt
  Purchase Transaction ceasing to be with Parent Affiliate....................................................................211

  Schedule 9 Form of Accession Letter..................................................................................................212

  Schedule 10 Form of Resignation Letter .............................................................................................213

  Schedule 11 Borrowing Base Amount .................................................................................................214

  Schedule 12 Form of Borrowing Base Report .....................................................................................221

  Schedule 13 Approved Suppliers ........................................................................................................223

  Schedule 14 Permitted Financial Indebtedness ..................................................................................224

  Schedule 15 Form of New Lender Spanish Power of Attorney ...........................................................226

  Schedule 16 Form of Deed of Undertaking .........................................................................................229

  Schedule 17 Form of Lender utilisation report.....................................................................................234

  Schedule 18 Debtors’ Budget ..............................................................................................................235

  Schedule 19 Interim DIP Order............................................................................................................236

  Schedule 20 - Required Milestones.....................................................................................................237




  BD-#32148460-v3                                                      3
18-13374-mew               Doc 17           Filed 11/06/18 Entered 11/06/18 07:04:18                                        Main Document
                                                        Pg 344 of 692


  Schedule 21 - Agreed Security Principles ...........................................................................................239

  SIGNATURES ..................................................................................................................................... 242




  BD-#32148460-v3                                                     4
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 345 of 692


  THIS AGREEMENT is dated 30 November 2017 as amended and restated pursuant to an
  amendment and restatement agreement dated          2018 and made between:

  (1)    AEGEAN MARINE PETROLEUM S.A. a corporation incorporated under the laws of Liberia with
         registered office at 80 Broad Street, Monrovia, Republic of Liberia (the Company);

  (2)    AEGEAN PETROLEUM INTERNATIONAL INC., a corporation incorporated under the laws of
         the Marshall Islands with registered office at Trust Company Complex, Ajeltake Road, Ajeltake
         Island, Majuro, MH96960, Marshall Islands (APII);

  (3)    AEGEAN NWE N.V., a limited liability company incorporated under the laws of Belgium having
         its registered office at Ruiterijschool 1, 2930 Brasschaat, Belgium, registered under company
         number BTW BE 0412.527.142 RPR/RPM Antwerp (section Antwerp) (ANNV);

  (4)    AEGEAN BUNKERING GERMANY GMBH, a limited liability company incorporated under the
         laws of the Federal Republic of Germany, having its business address at Holstenwall 5, 20355
         Hamburg, Germany which is registered in the commercial register (Handelsregister) kept at the
         local court (Amtsgericht) of Kiel under registration number HRB 16326 KI (ABGG);

  (5)    OBAST BUNKERING & TRADING GMBH, a limited liability company incorporated under the
         laws of the Federal Republic of Germany, having its business address at Dalwitzhofer Weg 22
         a, 18055 Rostock, Germany which is registered in the commercial register (Handelsregister)
         kept at the local court (Amtsgericht) of Rostock under registration number HRB 13560 (OBTG);

  (6)    THE COMPANIES listed in Part I (The Obligors) of Schedule 1 (The Original Parties) as
         guarantors (the Guarantors);

  (7)    THE PERSONS listed in Part II (The Original Lenders) of Schedule 1 (The Original Parties) as
         lenders (the Original Lenders);

  (8)    ABN AMRO BANK N.V. as facility agent of the other Finance Parties (the Facility Agent);

  (9)    ABN AMRO BANK N.V. as collateral management agent of the other Finance Parties (the
         Collateral Management Agent);

  (10)   ABN AMRO BANK N.V. as security trustee for the Secured Parties (the Security Agent);

  (11)   MERCURIA ENERGY TRADING S.A. (METSA) as co-ordinator (the Co-Ordinator);

  (12)   ABN AMRO BANK N.V. as Facility B Tranche 1 issuing bank (the Facility B Tranche 1
         Issuing Bank);

  (13)   ABN AMRO BANK N.V. as Facility B Tranche 2 issuing bank (the Facility B Tranche 2
         Issuing Bank);

  (14)   ABN AMRO BANK N.V. as overdraft bank (the Overdraft Bank); and

  (15)   MERCURIA ENERGY TRADING S.A. (METSA) as hedging provider (a Hedging Provider).

  WHEREAS:

  (A)    On ___ November 2018 (the Petition Date), the Parent and the other Debtors filed voluntary
         petitions with the Bankruptcy Court commencing their respective cases that are pending under
         Chapter 11 of the Bankruptcy Code (the cases of the relevant Borrowers and the Guarantors,
         each a Case and together, the Cases) and have continued in the possession of their assets
         and in the management of their business pursuant to Sections 1107 and 1108 of the Bankruptcy
         Code.

  (B)    The Obligors have requested that the Lenders extend credit to them in the form of a debtor-in-
         possession first-out revolving credit facility in an aggregate principal amount of up to


  BD-#32148460-v3                                5
18-13374-mew                Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                  Pg 346 of 692


              $300,000,000, subject to the conditions set out in this Agreement. All of the Borrowers’
              obligations under the Facility are to be guaranteed by the Parent and certain of its Subsidiaries
              (subject to the terms of this Agreement). The Lenders are willing to extend such credit, and the
              Issuing Bank is willing to issue letters of credit, to the relevant Borrowers, in each case, on the
              terms and subject to the conditions set out in this Agreement.

  (C)         The respective priorities of each Facility and the other Secured Obligations shall be as set out in
              this Agreement, the Interim DIP Order and the Final DIP Order, in each case upon entry thereof
              (as applicable) by the Bankruptcy Court.

  IT IS AGREED as follows:

                                                      Section 1
                                                    Interpretation

  1           Definitions and Interpretation
        1.1         Definitions

              In this Agreement (including the Recitals):

              Acceptable Bank means:

              (a)    ABN AMRO Bank N.V.;

              (b)    a bank or financial institution which:

                     (i)     has a rating for its long-term unsecured and non-credit-enhanced debt obligations
                             of BBB- or higher by Standard & Poor's Rating Services or Fitch Ratings Ltd or
                             Baa3 or higher by Moody's Investors Service Limited or a comparable rating from
                             an internationally recognised credit rating agency; and

                     (ii)    (other than when used in the definitions of “Cash” and “Cash Equivalent
                             Investments”) has been approved in writing by the Issuing Bank; and/or

              (c)    any other bank or financial institution approved by the Facility Agent and the Issuing
                     Banks.

              Acceptable Reorganization Plan means a Debtor Relief Plan that provides for the termination
              of the Commitments and the payment in full of the Prepetition Obligations and the Secured
              Obligations (other than contingent indemnification obligations not yet due and payable but
              which, for the avoidance of doubt, shall be preserved in such Debtor Relief Plan) in cash on the
              effective date of such Debtor Relief Plan to the extent not previously paid from the proceeds
              from a sale under Section 363 of the Bankruptcy Code

              Accession Letter means a document substantially in the form set out in Schedule 9 (Form of
              Accession Letter)

              Account Bank means the Collateral Management Agent

              Accounting Principles means generally accepted accounting principles in The United States
              of America

              Accounting Reference Date means 31 December

              Account Pledge Agreements means the pledge agreement dated on or about 30 November
              2017 between the Borrowers as pledgors and the Security Agent as pledgee, pursuant to which
              the Borrowers pledge, inter alia, all amounts standing to the credit of the Collection Accounts
              and the Facility Accounts in favour of the Security Agent to secure the First Secured Obligations



  BD-#32148460-v3                                         6
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                           Pg 347 of 692


        Additional Borrower means any company which becomes an Additional Borrower in
        accordance with clause 29 (Changes to the Obligors)

        Additional Guarantor means any company which becomes an Additional Guarantor in
        accordance with clause 29 (Changes to the Obligors)

        Additional Obligor means an Additional Borrower or an Additional Guarantor

        Affiliate means, in relation to any person, a Subsidiary of that person or a Holding Company of
        that person or any other Subsidiary of that Holding Company provided that, in relation to any
        Obligor or other Group member, the term shall not include Mercuria Energy Group Limited or
        any MEGL Affiliate from time to time

        Agent’s Rate of Exchange means the Facility Agent’s spot rate of exchange for the purchase
        of the relevant currency with the Base Currency in the London foreign exchange market at or
        about 11:00 a.m. on the date of the most recently delivered Borrowing Base Report

        Agreed Security Principles means the agreed security principles set out in Schedule 21
        (Agreed Security Principles)

        Amendment and Restatement Agreement means the amendment and restatement
        agreement in relation to this Agreement dated on the date set out above and entered into
        between the Parties

        AOTC means Aegean Oil Terminal Corporation, a company duly incorporated in the Marshall
        Islands with its registered address at PO Box 1405, Majuro, Marshall Islands

        Applicable KYC Procedures means any applicable “know your customer” checks or similar
        identification procedures, or equivalent internal policies of a Lender, or any equivalent
        procedures required by applicable law or regulations (including the Money laundering and anti-
        terrorism Act (Wet ter voorkoming van witwassen en financieren terrorisme))

        Applicable Law means:

        (a)    in relation to any jurisdiction or to the European Union, any law, regulation, treaty,
               directive, decision, rule, regulatory requirement, judgment, order, ordinance, request,
               guideline or direction or any other act of any government entity of such jurisdiction or of
               any EU Institution whether or not having the force of law and with which any Party is
               required to comply, or with which it would, in the normal course of its business, comply;
               and

        (b)    in relation to any Lender, any Basel II Regulation applicable to that Lender

        Approved Suppliers means:

        (a)    the suppliers listed in Schedule 13 (Approved Suppliers);

        (b)    any refinery in compliance with the terms and conditions of clause 22.13 (Proof of Origin);
               and

        (c)    any other supplier which is approved in writing by the Company and the Facility Agent
               (acting on the instructions of the Majority Lenders),

        but in each case only to the extent of any supply contracts entered into in respect of the
        Sensitive Zone and provided that an Approved Supplier shall cease to be an Approved Supplier
        on the date on which:

        (i) the Facility Agent (acting on the instructions of the Majority Lenders) so directs in writing to
        the Company; and/or




  BD-#32148460-v3                                 7
18-13374-mew          Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 348 of 692


        (ii) any Lender so directs in writing to the Facility Agent and the Company on the basis of such
        Lender’s internal or external compliance requirements

        Asset Purchase Agreement means that agreement executed between one or more of the
        Debtors for the sale of the assets described therein to Mercuria Asset Holdings (Hong Kong)
        Limited, a company incorporated in Hong Kong with limited liability, dated ___ November 2018.

        Assignment Agreement means an agreement substantially in the form set out in Schedule 5
        (Form of Assignment Agreement) or any other form agreed between the relevant assignor and
        assignee

        Auditors means one of PricewaterhouseCoopers, Ernst & Young, KPMG or Deloitte & Touche

        Authorisation means an authorisation, consent, approval, resolution, licence, exemption, filing,
        notarisation or registration

        Availability Period means:

        (a)    in relation to Facility A, the period from and including the date of this Agreement to and
               including the date which is one (1) Month prior to the Termination Date provided that the
               Availability Period shall not extend beyond the Petition Date;

        (b)    in relation to Facility A Tranche 2, the period from and including the date of this
               Agreement to and including the Termination Date

        (c)    in relation to Facility B Tranche 1, the period from and including the date of this
               Agreement to and including the Termination Date provided that the Availability Period
               shall not extend beyond the Petition Date; and

        (d)    in relation to Facility B Tranche 2, the period from and including the date of this
               Agreement to and including the Termination Date

        Available Facility means, in relation to a Facility or Tranche, the aggregate for the time being
        of each Lender's Available Commitment in respect of that Facility or Tranche, subject to clause
        4.7 (Maximum Available Amount) and clause 4.8 (Fronting Bank Limit)

        Available Commitment means, subject to clause 14.4, in relation to a Facility and, where
        applicable, a Tranche:

        (a)    a Lender's Commitment under that Facility and Tranche provided that, in respect of
               Tranche 2 of each Facility, the Available Commitment shall not exceed the aggregate
               amount of Tranche 1 repayments or prepayments made in relation to that Facility in
               accordance with clauses 9.4 and 9.5 since the Effective Date including any repayments
               or prepayments to be netted off against the proceeds of the Loan to be made on the
               proposed Utilisation Date; minus

        (b)

               (i)     the Base Currency Amount of its participation in any outstanding Utilisations under
                       that Facility and Tranche; and

               (ii)    in relation to any proposed Utilisation, the Base Currency Amount of its
                       participation in any Utilisations that are due to be made under that Facility and
                       Tranche on or before the proposed Utilisation Date,

               other than that Lender's participation in any Utilisation that are due to be repaid, prepaid,
               reduced or cancelled on or before the proposed Utilisation Date

        Bail-In Action means the exercise of any Write-down and Conversion Powers




  BD-#32148460-v3                                  8
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                           Pg 349 of 692


        Bail-In Legislation means:

        (a)    in relation to an EEA Member Country which has implemented, or which at any time
               implements, Article 55 of Directive 2014/59/EU establishing a framework for the recovery
               and resolution of credit institutions and investment firms , the relevant implementing law
               or regulation as described in the EU Bail-In Legislation Schedule from time to time; and

        (b)    in relation to any other state, any analogous law or regulation from time to time which
               requires contractual recognition of any Write-down and Conversion Powers contained in
               that law or regulation

        Bankruptcy Code means Title 11 of the United States Code entitled “Bankruptcy”

        Bankruptcy Court means the United States Bankruptcy Court for the Southern District of New
        York or any other court having jurisdiction over the Cases from time to time

        Base Currency means Dollars

        Base Currency Amount means:

        (a)    in relation to a Utilisation, the amount specified in the Utilisation Request delivered by a
               Borrower for that Utilisation (or, if the amount requested is not denominated in the Base
               Currency, that amount converted into the Base Currency at the Agent's Rate of Exchange
               as at the date which is three (3) Business Days before the Utilisation Date or, if later, on
               the date the Facility Agent receives the Utilisation Request) adjusted to reflect any
               repayment, prepayment, consolidation or division of the Utilisation; and

        (b)    in relation to the calculation of any other amount which is not denominated in the Base
               Currency, that amount converted into the Base Currency at the Agent's Rate of Exchange
               as at the date which is three (3) Business Days before the relevant calculation date

        Basel II Accord means the “International Convergence of Capital Measurement and Capital
        Standards, a Revised Framework” published by the Basel Committee on Banking Supervision in
        June 2004 as updated prior to, and in the form existing on, the date of this Agreement,
        excluding any amendment thereto arising out of the Basel III Accord

        Basel II Approach means, in relation to any Finance Party, either the Standardised Approach
        or the relevant Internal Ratings Based Approach (each as defined in the Basel II Accord)
        adopted by that Finance Party (or any of its Affiliates) for the purposes of implementing or
        complying with the Basel II Accord

        Basel II Increased Cost means an Increased Cost which is attributable to the implementation
        or application of or compliance with any Basel II Regulation in force as at the date hereof
        (whether such implementation, application or compliance is by a government, regulator,
        Finance Party or any of its Affiliates)

        Basel II Regulation means:

        (a)    any Applicable Law in force as at the date hereof implementing the Basel II Accord
               (including the relevant provisions of directive 2013/36/EU (CRD IV) and regulation
               575/2013 (CRR) of the European Union); or

        (b)    any Basel II Approach adopted by a Finance Party or any of its Affiliates;

        but excludes any Applicable Law implementing the Basel III Accord save and to the extent that
        it is a re-enactment of any Applicable Law referred to in paragraph (a) of this definition

        Basel III Accord means, together:




  BD-#32148460-v3                                 9
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                           Pg 350 of 692


        (a)    the agreements on capital requirements, a leverage ratio and liquidity standards
               contained in “Basel III: A global regulatory framework for more resilient banks and
               banking systems”, “Basel III: International framework for liquidity risk measurement,
               standards and monitoring” and “Guidance for national authorities operating the
               countercyclical capital buffer” published by the Basel Committee on Banking Supervision
               in December 2010, each as amended, supplemented or restated;

        (b)    the rules for global systemically important banks contained in “Global systemically
               important banks: assessment methodology and the additional loss absorbency
               requirement - Rules text” published by the Basel Committee on Banking Supervision in
               November 2011, as amended, supplemented or restated; and

        (c)    any further guidance or standards published by the Basel Committee on Banking
               Supervision relating to “Basel III”

        Basel III Increased Cost means an Increased Cost which is attributable to the implementation
        or application of or compliance with any Basel III Regulation (whether such implementation,
        application or compliance is by a government, regulator, Finance Party or any of its Affiliates)

        Basel III Regulation means any Applicable Law implementing the Basel III Accord (including
        CRD IV and CRR) save and to the extent that it is re-enacts a Basel II Regulation

        Belgian Borrower means a Borrower incorporated under the laws of Belgium

        Belgian Obligor means an Obligor incorporated under the laws of Belgium

        Bidding Procedures has the meaning given to such term in Schedule 20

        Bidding Procedures Order has the meaning given to such term in Schedule 20

        Borrower means an Original Borrower or an Additional Borrower in each case unless it has
        ceased to be a Borrower in accordance with clause 29 (Changes to the Obligors)

        Borrowing Base means the aggregate of cash, inventory and receivables from time to time
        included in the Borrowing Base Report in accordance with Schedule 11 (Borrowing Base
        Amount)

        Borrowing Base Amount means at any time:

        (a) the Base Currency Amount of the aggregate of the Borrowing Base calculated pursuant to
        Schedule 11 (Borrowing Base Amount);

        less

        (b) the Outstandings

        Borrowing Base Audit Report means an audit report in respect of the Borrowing Base to be
        provided by the Company in accordance with the terms of this Agreement, provided by a report
        provider acceptable to the Collateral Management Agent (which shall not be a Borrower’s
        auditors) addressed to, on terms acceptable to, and capable of being replied upon by, the
        Collateral Management Agent

        Borrowing Base Report means a report substantially in the form set out in Schedule 12 (Form
        of Borrowing Base Report) and taking into account any additional requirements set out in
        Schedule 11 (Borrowing Base Amount), duly completed by the Company and signed on its
        behalf by two (2) authorised signatories

        Break Costs means the amount (if any) by which:




  BD-#32148460-v3                               10
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                           Pg 351 of 692


        (a)    the interest which a Lender should have received for the period from the date of receipt of
               all or any part of its participation in a Loan or Unpaid Sum to the last day of the current
               Interest Period in respect of that Loan or Unpaid Sum, had the principal amount or
               Unpaid Sum received been paid on the last day of that Interest Period;

        exceeds:

        (b)    the amount which that Lender would be able to obtain by placing an amount equal to the
               principal amount or Unpaid Sum received by it on deposit with a leading bank in the
               Relevant Interbank Market for a period starting on the Business Day following receipt or
               recovery and ending on the last day of the current Interest Period

        Bridge Financing means loan financing provided on a bilateral basis by any Lender to
        members of the Group for the purpose of financing working capital needs of the Group, with a
        maximum tenor (including any potential extensions and/or renewals) of 90 days and which is
        intended to be refinanced by Utilisations

        Budget means the Debtors’ budget delivered to the Facility Agent on or prior to the Effective
        Date, setting forth (a) in reasonable detail the receipts and disbursements of the Debtors on a
        weekly basis from the Effective Date through the immediately consecutive 13 weeks broken
        down by week, including the anticipated uses of the Facilities for such period, as such budget
        may be amended or modified from time to time by the Debtors provided that the Majority
        Lenders shall have provided prior written consent to any such amendment or modification,
        together with budgets for subsequent periods proposed by the Debtors and approved by the
        Majority Lenders in their sole discretion

        Business Day means a day (other than a Saturday or Sunday) on which banks are open for
        general business in London, Paris, Geneva, Amsterdam and New York City and (in relation to
        any date for payment or purchase of euro) any TARGET Day

        Canadian Barges means each of the following vessels registered in Vancouver, Canada:

        (a)    having official number 822652 and USCG VIN Number CG061360 and which, as at the
               date of the Amendment and Restatement Agreement, has vessel name “PT22”; and

        (b)    having official number 838658 and USCG VIN Number L838658 and which, as at the
               date of the Amendment and Restatement Agreement, has vessel name “PT40”

        Canadian Barges Loan means the loan provided by METSA to the Company pursuant to a
        loan agreement dated September 7, 2018 and made between METSA, the Company, the
        Parent and I.C.S. Petroleum Limited and secured by the Canadian Barges

        Canadian Security Agreement means the Security Agreement (Canada), dated on or about
        the date hereof, executed and delivered by Aegean Bunkering (USA) LLC to the Security Agent,
        as amended, modified or supplemented from time to time.

        Capital Stock means any and all shares, interests, participations or other equivalents (however
        designated) of capital stock, any and all equivalent ownership interests in any company,
        corporation, limited liability company, general partnerships, limited partnership, limited liability
        partnership, trust, estate, proprietorship, joint venture or other business organization and any
        and all warrants, rights or options to purchase any of the foregoing, but excluding any debt
        security convertible into or exchangeable for such interest

        Carve-Out means the term “Carve-Out” in the Final DIP Order, or, prior to the entry of the Final
        DIP Order, the Interim DIP Order

        Carve-Out Trigger Notice has the meaning set forth in the Final DIP Order, or prior to the entry
        of the Final DIP Order, the Interim Order

        Case has the meaning given to such term in the Recitals



  BD-#32148460-v3                                 11
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 352 of 692


        Cash means, at any time, cash in hand or at bank and (in the latter case) credited to an account
        in the name of a member of the Group with an Acceptable Bank and to which a member of the
        Group is alone (or together with other members of the Group) beneficially entitled and for so
        long as:

        (a)    that cash is repayable on demand;

        (b)    repayment of that cash is not contingent on the prior discharge of any other indebtedness
               of any member of the Group or of any other person whatsoever or on the satisfaction of
               any other condition;

        (c)    there is no Security over that cash except for Transaction Security or any Security
               permitted pursuant to clause 24.12 (Negative pledge) constituted by a netting or set-off
               arrangement entered into by members of the Group in the ordinary course of their
               banking arrangements; and

        (d)    the cash is freely and immediately available to be applied in repayment or prepayment of
               the Facilities

        Cash Equivalent Investments means at any time:

        (a)    certificates of deposit maturing within one year after the relevant date of calculation and
               issued by an Acceptable Bank;

        (b)    any investment in marketable debt obligations issued or guaranteed by the government of
               the United States of America, the United Kingdom, any member state of the European
               Economic Area or any Participating Member State or by an instrumentality or agency of
               any of them having an equivalent credit rating, maturing within one year after the relevant
               date of calculation and not convertible or exchangeable to any other security;

        (c)    commercial paper not convertible or exchangeable to any other security:

               (i)      for which a recognised trading market exists;

               (ii)     issued by an issuer incorporated in the United States of America, the United
                        Kingdom, any member state of the European Economic Area or any Participating
                        Member State;

               (iii)    which matures within one year after the relevant date of calculation; and

               (iv)     which has a credit rating of either A-1 or higher by Standard & Poor's Rating
                        Services or F1 or higher by Fitch Ratings Ltd or P-1 or higher by Moody's Investors
                        Service Limited, or, if no rating is available in respect of the commercial paper, the
                        issuer of which has, in respect of its long-term unsecured and non-credit enhanced
                        debt obligations, an equivalent rating;

        (d)    any investment in money market funds which (i) have a credit rating of either A-1 or
               higher by Standard & Poor's Rating Services or F1 or higher by Fitch Ratings Ltd or P-1
               or higher by Moody's Investors Service Limited, (ii) which invest substantially all their
               assets in securities of the types described in paragraphs (a) to (d) above and (iii) can be
               turned into cash on not more than thirty (30) days' notice; or

        (e)    any other debt security approved by the Majority Lenders,

        in each case, to which any member of the Group is alone (or together with other members of
        the Group beneficially entitled at that time and which is not issued or guaranteed by any
        member of the Group or subject to any Security (other than Security arising under the
        Transaction Security Documents)




  BD-#32148460-v3                                   12
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 353 of 692


        Cash Management Order means the Bankruptcy Court order, in form and substance
        reasonably satisfactory to the Facility Agent and the Majority Lenders, relating to the Debtors’
        cash management system and bank accounts

        Certificate of Origin means a certificate received from an Approved Supplier stating clearly the
        country of origin of the underlying goods

        Change of Control means an event or series of events by which:

        (a)    any “person” or “group” (as such terms are used in Sections 13(d) and 14(d) of the
               Securities Exchange Act of 1934, but excluding any employee benefit plan of such
               person or its Subsidiaries, and any person or entity acting in its capacity as trustee, agent
               or other fiduciary or administrator of any such plan) becomes the “beneficial owner” (as
               defined in Rules 13d-3 and 13d-5 under the Securities Exchange Act of 1934, except that
               a person or group shall be deemed to have “beneficial ownership” of all securities that
               such person or group has the right to acquire, whether such right is exercisable
               immediately or only after the passage of time (such right, an option right)), directly or
               indirectly, of 35% or more of the Equity Interests of any Holding Company of a Borrower
               entitled to vote for members of the board of directors or equivalent governing body of that
               Borrower on a fully-diluted basis (and taking into account all such securities that such
               person or group has the right to acquire pursuant to any option right); or

        (b)    the direct Holding Company of a Borrower shall cease to own (directly or indirectly),
               beneficially and of record, and control, 100% of each class of outstanding Equity Interests
               of that Borrower free and clear of all Security, charges or other encumbrances, other than
               Security in favour of the Security Agent for the ratable benefit of the Secured Parties
               and/or in favour of the US DIP Administrative Agent in respect of the Second Secured
               Obligations; or

        (c)    the Parent shall cease to own (directly or indirectly), beneficially and of record, and
               control, 100% of each class of outstanding Equity Interests of the Borrowers, the direct
               Holding Company of each Borrower and each other person that is a Subsidiary on the
               Effective Date (except to the extent permitted hereunder), free and clear of all Security,
               charges or other encumbrances, other than (i) Security (w) in favour of the Security Agent
               for the ratable benefit of the Secured Parties and/or in favour of the US DIP
               Administrative Agent in respect of the Second Secured Obligations, (x) in respect of the
               Carveout, and (y) contemplated by the Orders (including any adequate protection liens in
               favour of other lenders), or (ii) as otherwise permitted under this Agreement

        Notwithstanding the foregoing, ownership changes in the document entitled “1.1E Certain
        Ownership” delivered to the Facility Agent prior to the Effective Date shall not constitute a
        Change of Control

        Charged Property means all of the assets of the Obligors and any Spanish Pledgor (if any)
        which from time to time are, or are expressed to be, the subject of the Transaction Security

        Clearing Providers means ABN AMRO Clearing Bank N.V. (a company incorporated in the
        Netherlands) or any other clearing provider which is an Affiliate of a Facility B Lender and which
        is approved in writing by the Facility Agent and which enters into a Multi-Party TPA Agreement
        with the Company, and Clearing Provider means any of them as the case may be

        Clearing Provider Hedging Agreement means any document evidencing a Clearing Provider
        Hedging Transaction

        Clearing Provider Hedging Transactions has the meaning given to it in clause 2.4
        (Hedging/Clearing)

        Code means the US Internal Revenue Code of 1986




  BD-#32148460-v3                                 13
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                             Pg 354 of 692


        Collateral Management Agreement means a collateral management agreement in respect of
        inland storage to be entered into between the Security Agent, the relevant Borrower and the
        Collateral Manager in form and substance satisfactory to the Facility Agent acting on the
        instructions of all Lenders

        Collateral Manager means a collateral manager approved in writing by the Facility Agent acting
        on the instructions of all Lenders

        Collection Accounts means the bank accounts opened and maintained by each Borrower with
        the Account Bank in accordance with clause 25 (Bank Accounts) and includes any interest of
        the Borrowers in any replacement account or any sub-division or sub-account of any of these
        accounts

        Commitment means, in relation to a Lender, its Facility A Tranche 1 Commitment, Facility A
        Tranche 2 Commitment, Facility B Tranche 1 Commitment and/or Facility B Tranche 2
        Commitment (as the case may be)

        Commodities means bunker fuel, crude oil, fuel oil, gas oil, lubricants, and other petroleum
        products, and with the consent of the Majority Lenders, any other energy commodities that are
        of the type which are purchased, sold or otherwise traded in physical, futures, forward or over
        the counter markets

        Compliance Certificate means a certificate substantially in the form set out in Schedule 6
        (Form of Compliance Certificate)

        Compliance Policy means the policy of the Group, approved by the Board of Directors of the
        Company, in relation to operational control procedures related to product origin (traceability,
        compliance with United States of America, European Union and United Nations Sanctions or
        any other state or authority which has issued Sanctions with which a member of the Group is
        required to comply)

        Compliant Borrowing Base Report means a Borrowing Base Report showing a Borrowing
        Base Amount which is zero (0) or a positive number

        Compliant Cross-Check Borrowing Base Report means a Cross-Check Borrowing Base
        Report, the accuracy of which has been verified by the Majority Lenders based on the
        information provided by sources acceptable to the Majority Lenders and reflected therein
        relating to:

               (i)     the storage volumes at any inland storage facilities, leased or owned by the
                       Borrowers and any Spanish Pledgor (if any) and which have capacity equal to or in
                       excess of 50,000 metric tons; and

               (ii)    the storage volumes on any vessels leased or owned by the Borrowers and any
                       Spanish Pledgor (if any) which have capacity equal to or in excess of 15,000 metric
                       tons,

        and which shows a Borrowing Base, the Base Currency Amount of which is not less than ninety
        five per cent. (95%) of the Base Currency Amount of the Borrowing Base as reported in the
        most recent Compliant Borrowing Base Report

        Confidential Information means all information relating to any Obligor, the Group, the Finance
        Documents or a Facility of which a Finance Party becomes aware in its capacity as, or for the
        purpose of becoming, a Finance Party or which is received by a Finance Party in relation to, or
        for the purpose of becoming a Finance Party under, the Finance Documents or a Facility from
        either:

        (a)    any member of the Group or any of its advisers; or




  BD-#32148460-v3                                 14
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 355 of 692


        (b)    another Finance Party, if the information was obtained by that Finance Party directly or
               indirectly from any member of the Group or any of its advisers,

        in whatever form, and includes information given orally and any document, electronic file or any
        other way of representing or recording information which contains or is derived or copied from
        such information but excludes information that:

               (i)      is or becomes public information other than as a direct or indirect result of any
                        breach by that Finance Party of clause 41 (Confidentiality); or

               (ii)     is identified in writing at the time of delivery as non-confidential by any member of
                        the Group or any of its advisers; or

               (iii)    is known by that Finance Party before the date the information is disclosed to it in
                        accordance with paragraphs (a) or (b) above or is lawfully obtained by that Finance
                        Party after that date, from a source which is, as far as that Finance Party is aware,
                        unconnected with the Group and which, in either case, as far as that Finance Party
                        is aware, has not been obtained in breach of, and is not otherwise subject to, any
                        obligation of confidentiality

        Confidentiality Undertaking means a confidentiality undertaking substantially in a
        recommended form of the LMA from time to time or in any other form agreed between the
        Company and the Facility Agent

        Contractual Obligation means, as to any Person, any provision of any security issued by such
        Person or of any agreement, instrument or other undertaking to which such Person is a party or
        by which it or any of its property is bound

        Credit Instrument means any transaction-related standby or documentary letter of credit or
        guarantee issued, to be issued or deemed to be issued by an Issuing Bank under the relevant
        Tranche of Facility B and in such form requested by a Borrower which is acceptable to the
        relevant Issuing Bank in accordance with the terms of this Agreement including without
        limitation clause 5.3 (Completion of a Utilisation Request for Fronted Facilities) and clause 6
        (Fronted Facilities)

        Cross-Check Borrowing Base Report means a report duly completed by the Company and
        signed on its behalf by two (2) authorised signatories in the form required pursuant to clause
        22.7(c) (Borrowing Base Report)

        Current Assets means the aggregate (on a consolidated basis) of all inventory, work in
        progress, trade and other receivables of each member of the Group including prepayments in
        relation to operating items and sundry debtors (including Cash and Cash Equivalent
        Investments) expected to be realised within twelve (12) months from the date of computation
        but excluding amounts in respect of:

        (a)    receivables in relation to Tax;

        (b)    Exceptional Items and other non-operating items;

        (c)    insurance claims; and

        (d)    any interest owing to any member of the Group

        Debt Purchase Transaction means, in relation to a person, a transaction where such person:

        (a)    purchases by way of assignment or transfer;

        (b)    enters into any sub-participation in respect of; or




  BD-#32148460-v3                                   15
18-13374-mew         Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                           Pg 356 of 692


        (c)    enters into any other agreement or arrangement having an economic effect substantially
               similar to a sub-participation in respect of,

        any Commitment or amount outstanding under this Agreement

        Debtor Relief Laws means the Bankrupcty Code, and all other liquidation, conservatorship,
        bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement, receivership,
        insolvency, reorganisation, or similar debtor relief laws of the United States or other applicable
        jurisdictions from time to time in effect

        Debtor Relief Plan means a plan of reorganization or plan of liquidation pursuant to any Debtor
        Relief Laws

        Debtors means the Borrowers (other than ANNV, ABGG and OBTG), the Parent, and each
        other Subsidiary of the Parent that filed a voluntary petition for relief pursuant to chapter 11 of
        the Bankruptcy Code with the Bankruptcy Court on the Petition Date and each a Debtor

        Debtors’ Collateral means, collectively, all real, personal, and mixed property (including Equity
        Interests) of the Debtors’ respective estates in the Cases, including, without limitation, all
        inventory, accounts receivable, general intangibles (including rights under intercompany loans),
        contracts, chattel paper, owned real estate, real property leaseholds, governmental approvals,
        licenses and permits, fixtures, machinery, equipment, deposit accounts, patents, copyrights,
        trademarks (other than any “intent to use” trademark, applications for which a Statement of Use
        or Amendment to Allege Use, as applicable, has not been filed and accepted with the US Patent
        and Trademark Office or any similar authority in other jurisdictions), trade names, rights under
        license agreements and other intellectual property, securities, partnership or membership
        interests in limited liability companies, and capital stock of any subsidiary of any of the Debtors,
        including, without limitation, the products and proceeds thereof, in each case excluding any
        collateral that is described in any Transaction Security Document as being excluded collateral.

        Deed of Undertaking means a deed of undertaking in the form set out in Schedule 16 (Form of
        Deed of Undertaking) to be entered into between a third party, a Borrower and an Issuing Bank

        Default means an Event of Default or any event or circumstance specified in clause 26 (Events
        of Default) which would (with the expiry of a grace period, the giving of notice, the making of any
        determination under the Finance Documents or any combination of any of the foregoing) be an
        Event of Default

        Deficient Borrowing Base Report means a Borrowing Base Report immediately after delivery
        of which it appears that the Borrowing Base Amount is a negative number

        Deficient Cross-Check Borrowing Base Report means a Cross-Check Borrowing Base
        Report which is not a Compliant Cross-Check Borrowing Base Report

        Delegate means any delegate, agent, attorney or co-trustee appointed by the Security Agent

        Disruption Event means either or both of:

        (a)    a material disruption to those payment or communications systems or to those financial
               markets which are, in each case, required to operate in order for payments to be made in
               connection with the Facilities (or otherwise in order for the transactions contemplated by
               the Finance Documents to be carried out) which disruption is not caused by, and is
               beyond the control of, any of the Parties; or

        (b)    the occurrence of any other event which results in a disruption (of a technical or systems-
               related nature) to the treasury or payments operations of a Party preventing that, or any
               other Party:

               (i)    from performing its payment obligations under the Finance Documents; or




  BD-#32148460-v3                                 16
18-13374-mew          Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 357 of 692


               (ii)    from communicating with other Parties in accordance with the terms of the Finance
                       Documents,

        and which (in either such case) is not caused by, and is beyond the control of, the Party whose
        operations are disrupted

        Dormant Company means a company that is no longer operational and has no material assets
        or activities as specified in the Group Structure Chart as updated from time to time

        EEA Member Country means any member state of the European Union, Iceland, Liechtenstein
        and Norway

        Effective Date has the meaning given in the Amendment and Restatement Agreement

        Eligible LOI Counterparty means a person or their replacement notified from time to time by
        five (5) Business Days’ notice in writing by the Facility Agent (acting on the instructions of all
        Facility B Lenders) to the Company) and any other person approved by all Facility B Lenders to
        the relevant Tranche as being suitable to issue a letter of indemnity for presentation for payment
        under a Credit Instrument

        Eligible Receivables has the meaning given to in in Schedule 11 (Borrowing Base Amount)

        Environment means humans, animals, plants and all other living organisms including the
        ecological systems of which they form part and the following media:

        (a)    air (including, without limitation, air within natural or man-made structures, whether above
               or below ground);

        (b)    water (including, without limitation, territorial, coastal and inland waters, water under or
               within land and water in drains and sewers); and

        (c)    land (including, without limitation, land under water)

        Environmental Claim means any claim, proceeding, formal notice or investigation by any
        person in respect of any Environmental Law

        Environmental Law means any applicable law or regulation which relates to:

        (a)    the pollution or protection of the Environment;

        (b)    the conditions of the workplace; or

        (c)    the generation, handling, storage, use, release or spillage of any substance which, alone
               or in combination with any other, is capable of causing harm to the Environment,
               including, without limitation, any waste

        Environmental Permits means any permit and other Authorisation and the filing of any
        notification, report or assessment required under any Environmental Law for the operation of
        the business of any member of the Group conducted on or from the properties owned or used
        by any member of the Group

        Equity Interests means, as to any Person, all of the shares of capital stock of (or other
        ownership or profit interests in) such Person, all of the warrants, options or other rights for the
        purchase or acquisition from such Person of shares of capital stock of (or other ownership or
        profit interests in) such Person, all of the securities convertible into or exchangeable for shares
        of capital stock of (or other ownership or profit interests in) such Person or warrants, rights or
        options for the purchase or acquisition from such Person of such shares (or such other
        interests), and all of the other ownership or profit interests in such Person (including
        partnership, member or trust interests therein), whether voting or nonvoting, and whether or not




  BD-#32148460-v3                                 17
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                           Pg 358 of 692


        such shares, warrants, options, rights or other interests are outstanding on any date of
        determination

        EU Bail-In Legislation Schedule means the document described as such and published by the
        Loan Market Association (or any successor person) from time to time.

        Event of Default means any event or circumstance specified as such in clause 26 (Events of
        Default)

        Existing Security Holder means any person which holds directly Security which is permitted
        under and in accordance with clause 24.12 (Negative pledge)

        Expiry Date means, for a Fronted Facility, the last day of its Term

        Facility means Facility A or Facility B

        Facility Accounts means the bank accounts opened and maintained by each Borrower with
        the Account Bank in accordance with clause 25 (Bank Accounts) and includes any replacement
        account or any sub-division or sub-account of any of those accounts

        Facility A means together:

        (a)    Facility A Tranche 1; and

        (b)    Facility A Tranche 2

        Facility A Margin means in relation to the Facility A Tranche 1, the Facility A Tranche 1 Margin
        and in relation to the Facility A Tranche 2, the Facility A Tranche 2 Margin

        Facility A Tranche 1 means the secured committed multicurrency borrowing base revolving
        credit facility made available under this Agreement as described in clause 2.1(a)(i) (The
        Facilities)

        Facility A Tranche 1 Commitments means:

        (a)    in relation to an Original Lender, the amount in the Base Currency set opposite its name
               under the heading “Facility A Tranche 1 Commitment” in Part II of Schedule 1 (The
               Original Parties) and the amount of any other Facility A Tranche 1 Commitment
               transferred to it under this Agreement; and

        (b)    in relation to any other Lender, the amount in the Base Currency of any Facility A
               Tranche 1 Commitment transferred to it under this Agreement,

        to the extent not cancelled, reduced or transferred by it under this Agreement

        Facility A Tranche 1 Margin means two point six per cent. (2.6%) per annum

        Facility A Tranche 1 Total Commitments means the aggregate of the Facility A Tranche 1
        Commitments

        Facility A Tranche 2 means the secured committed multicurrency borrowing base revolving
        credit facility made available under this Agreement as described in clause 2.1(a)(ii) (The
        Facilities)

        Facility A Tranche 2 Commitments means:

        (a)    in relation to an Original Lender, the amount in the Base Currency set opposite its name
               under the heading “Facility A Tranche “ Commitment” in Part II of Schedule 1 (The




  BD-#32148460-v3                                 18
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                            Pg 359 of 692


               Original Parties) and the amount of any other Facility A Tranche 2 Commitment
               transferred to it under this Agreement; and

        (b)    in relation to any other Lender, the amount in the Base Currency of any Facility A
               Tranche 2 Commitment transferred to it under this Agreement,

        to the extent not cancelled, reduced or transferred by it under this Agreement

        Facility A Tranche 2 Margin means three point five per cent. (3.5%) per annum

        Facility A Tranche 2 Total Commitments means the aggregate of the Facility A Tranche 2
        Commitments

        Facility A Total Commitments means the aggregate of the Facility A Tranche 1 Commitments
        and the Facility A Tranche 2 Commitments, being $200,000,000 at the date of the Amendment
        and Restatement Agreement

        Facility B means together:

        (a)    Facility B Tranche 1; and

        (b)    Facility B Tranche 2

        Facility B Lender means in relation to a particular Tranche of Facility B, a Lender who has at
        any time a Facility B Tranche 1 Commitment or Facility B Tranche 2 Commitment

        Facility B Margin means three point five per cent. (3.5%) per annum

        Facility B Total Commitments means the aggregate of the Facility B Tranche 1 Commitments
        and the Facility B Tranche 2 Commitments, being US$100,000,000 at the date of the
        Amendment and Restatement Agreement

        Facility B Tranche 1 means a secured uncommitted multicurrency borrowing base revolving
        credit facility for the entry into or issue of Fronted Facilities which was in place on or prior to the
        Petition Date and as described in clause 2.1(b)(i) (The Facilities)

        Facility B Tranche 1 Commitments means:

        (a)    in relation to an Original Lender, the amount in the Base Currency set opposite its name
               under the heading “Facility B Tranche 1 Commitment” in Part II of Schedule 1 (The
               Original Parties), such amount having been adjusted in respect of Credit Instruments in
               accordance with clause 9.5 and the amount of any other Facility B Tranche 1
               Commitment transferred to it under this Agreement; and

        (b)    in relation to any other Lender, the amount in the Base Currency of any Facility B
               Tranche 1 Commitment transferred to it under this Agreement,

        to the extent not cancelled, reduced or transferred by it under this Agreement

        Facility B Tranche 1 Issuing Bank means each Party identified in the recitals to this
        Agreement as a Facility B Tranche 1 Issuing Bank and any Facility B Lender which has become
        a Facility B Tranche 1 Issuing Bank pursuant to clause 5.11(a) (Appointment of additional
        Issuing Banks) (and if there is more than one such Party, such Parties shall be referred to,
        whether acting individually or together, as the Facility B Tranche 1 Issuing Bank) provided
        that, in respect of a Credit Instrument issued or to be issued pursuant to the terms of this
        Agreement, the Facility B Tranche 1 Issuing Bank shall be the Facility B Tranche 1 Issuing
        Bank which has issued or agreed to issue that Credit Instrument under Facility B Tranche 1

        Facility B Tranche 1 Total Commitments means the aggregate of the Facility B Tranche 1
        Commitments


  BD-#32148460-v3                                  19
18-13374-mew        Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 360 of 692


        Facility B Tranche 2 means a secured committed multicurrency borrowing base revolving
        credit facility as described in clause 2.1(b)(ii) (The Facilities)

        Facility B Tranche 2 Commitments means:

        (a)    in relation to an Original Lender, the amount in the Base Currency set opposite its name
               under the heading “Facility B Tranche 2 Commitment” in Part II of Schedule 1 (The
               Original Parties) and the amount of any other Facility B Tranche 2 Commitment
               transferred to it under this Agreement; and

        (b)    in relation to any other Lender, the amount in the Base Currency of any Facility B
               Tranche 2 Commitment transferred to it under this Agreement,

        to the extent not cancelled, reduced or transferred by it under this Agreement

        Facility B Tranche 2 Issuing Bank means each Party identified in the recitals to this
        Agreement as a Facility B Tranche 2 Issuing Bank and any Facility B Lender which has become
        a Facility B Tranche 2 Issuing Bank pursuant to clause 5.11(a) (Appointment of additional
        Issuing Banks) (and if there is more than one such Party, such Parties shall be referred to,
        whether acting individually or together, as the Facility B Tranche 2 Issuing Bank) provided
        that, in respect of a Credit Instrument issued, to be issued or deemed to be issued pursuant to
        the terms of this Agreement, the Facility B Tranche 2 Issuing Bank shall be the Facility B
        Tranche 2 Issuing Bank which has issued, deemed to have issued or agreed to issue that Credit
        Instrument under Facility B Tranche 2

        Facility B Tranche 2 Total Commitments means the aggregate of the Facility B Tranche 2
        Commitments

        Facility B Utilisation means in relation to a particular Tranche of Facility B, a Utilisation made
        or to be made under the relevant Tranche of Facility B or the principal amount outstanding for
        the time being of that Utilisation

        Facility Office means:

        (a)    in respect of a Lender, Issuing Bank or Overdraft Bank, the office or offices notified by
               that Lender, Issuing Bank or Overdraft Bank to the Facility Agent in writing on or before
               the date it becomes a Lender, Issuing Bank or Overdraft Bank (or, following that date, by
               not less than five (5) Business Days' written notice) as the office or offices through which
               it will perform its obligations under this Agreement; or

        (b)    in respect of any other Finance Party, the office in the jurisdiction in which it is resident for
               tax purposes

        FATCA means:

        (a)    sections 1471 to 1474 of the Code or any associated regulations or other official
               guidance;

        (b)    any treaty, law, regulation or other official guidance enacted in any other jurisdiction, or
               relating to an intergovernmental agreement between the US and any other jurisdiction,
               which (in either case) facilitates the implementation of paragraph (a) above; or

        (c)    any agreement pursuant to the implementation of paragraphs (a) or (b) above with the
               US Internal Revenue Service, the US government or any governmental or taxation
               authority in any other jurisdiction

        FATCA Application Date means:




  BD-#32148460-v3                                   20
18-13374-mew        Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                             Pg 361 of 692


        (a)    in relation to a "withholdable payment" described in section 1473(1)(A)(i) of the Code
               (which relates to payments of interest and certain other payments from sources within the
               US), 1 July 2014;

        (b)    in relation to a "withholdable payment" described in section 1473(1)(A)(ii) of the Code
               (which relates to "gross proceeds" from the disposition of property of a type that can
               produce interest from sources within the US), 1 January 2019; or

        (c)    in relation to a "passthru payment" described in section 1471(d)(7) of the Code not falling
               within paragraphs (a) or (b) above, 1 January 2019,

        or, in each case, such other date from which such payment may become subject to a deduction
        or withholding required by FATCA as a result of any change in FATCA after the date of this
        Agreement

        FATCA Deduction means a deduction or withholding from a payment under a Finance
        Document required by FATCA

        FATCA Exempt Party means a Party that is entitled to receive payments free from any FATCA
        Deduction

        FATCA FFI means a foreign financial institution as defined in section 1471(d)(4) of the Code
        which, if any Finance Party is not a FATCA Exempt Party, could be required to make a FATCA
        Deduction

        Final DIP Order means a Final Order substantially in the form and substance of the Interim DIP
        Order entered by the Bankruptcy Court, with only such modifications in form and substance that
        are either (x) not adverse to the Secured Parties or (y) satisfactory to the Facility Agent (acting
        on the instructions of the Majority Lenders) as the same may be amended, supplemented, or
        modified from time to time after entry thereof with the written consent of the Facility Agent and
        the Majority Lenders, in accordance with the terms herein (i) authorizing the Debtors to (a)
        obtain post-petition secured financing pursuant to this Agreement and the other Finance
        Documents and (b) use cash collateral during the pendency of the Cases, and (ii) granting
        certain related relief

        Final Order means, as applicable, an order or judgment of the Bankruptcy Court or other court
        of competent jurisdiction with respect to the relevant subject matter that has not been reversed,
        stayed, modified, or amended, and as to which the time to appeal or seek certiorari has expired
        and no appeal or petition for certiorari has been timely taken, or as to which any appeal that has
        been taken or any petition for certiorari that has bene filed or may be filed has been resolved by
        the highest court to which the order or judgment could be appealed or from which certiorari
        could be sought or the new trial, reargument, or rehearing shall have been denied, resulted in
        no modification of such order, or has otherwise been dismissed with prejudice

        Finance Document means:

        (a)    this Agreement;

        (b)    the Intercreditor Agreement;

        (c)    any Compliance Certificate;

        (d)    any Accession Letter;

        (e)    any Resignation Letter;

        (f)    each Transaction Security Document;

        (g)    each Deed of Undertaking;




  BD-#32148460-v3                                21
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                           Pg 362 of 692


        (h)    each Borrowing Base Report;

        (i)    each Cross-Check Borrowing Base Report;

        (j)    any Hedging Agreement to which METSA is a party;

        (k)    the Amendment and Restatement Agreement;

        (l)    any Utilisation Request; and

        (m)    any other document designated as a "Finance Document" by the Facility Agent and the
               Company

        Finance Lease means any lease or hire purchase contract which would, in accordance with the
        Accounting Principles, be treated as a finance or capital lease

        Finance Party means the Facility Agent, the Collateral Management Agent, the Security Agent,
        the Co-Ordinator, the Account Bank, the Issuing Bank, the Overdraft Bank, a Lender or the
        Hedging Provider

        Financial Indebtedness means any indebtedness for or in respect of:

        (a)    moneys borrowed and debit balances at banks or other financial institutions;

        (b)    any acceptance under any acceptance credit or bill discounting facility (or dematerialised
               equivalent);

        (c)    any note purchase facility or the issue of bonds, notes, debentures, loan stock or any
               similar instrument;

        (d)    the amount of any liability in respect of Finance Leases;

        (e)    receivables sold or discounted (other than any receivables to the extent they are sold on
               a non-recourse basis and meet any requirement for de-recognition under the Accounting
               Principles);

        (f)    any Treasury Transaction (and, when calculating the value of that Treasury Transaction,
               only the marked to market value (or, if any actual amount is due as a result of the
               termination or close-out of that Treasury Transaction, that amount) shall be taken into
               account);

        (g)    any counter-indemnity obligation in respect of a guarantee, bond, standby or
               documentary letter of credit or any other instrument issued by a bank or financial
               institution;

        (h)    any amount raised by the issue of redeemable shares which are redeemable (other than
               at the option of the issuer) before the Termination Date or are otherwise classified as
               borrowings under the Accounting Principles);

        (i)    any amount of any liability under an advance or deferred purchase agreement if (i) one of
               the primary reasons behind entering into the agreement is to raise finance or to finance
               the acquisition or construction of the asset or service in question or (ii) the agreement is
               in respect of the supply of assets or services and payment is due more than ninety (90)
               days after the date of supply;

        (j)    any amount raised under any other transaction (including any forward sale or purchase,
               sale and sale back or sale and leaseback agreement) having the commercial effect of a
               borrowing or otherwise classified as borrowings under the Accounting Principles; and




  BD-#32148460-v3                                 22
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                           Pg 363 of 692


        (k)    the amount of any liability in respect of any guarantee or indemnity for any of the items
               referred to in paragraphs (a) to (j) above

        Financial Officer means, as to any Person, the chief financial officer, principal accounting
        officer, treasurer or controller of such Person

        Financial Year means each of the Company’s financial years ending on 31 December

        First Day Orders means all orders entered or to be entered by the Bankruptcy Court granting
        the relief requested in the motions filed with the Bankruptcy Court on the Petition Date and
        heard by the Bankruptcy Court at the initial hearing or thereafter, which orders shall each be in
        form and substance reasonably satisfactory to the Facility Agent (acting on the instructions of
        the Majority Lenders)

        First Secured Obligations means all obligations at any time due, owing or incurred by any
        Obligor or any Spanish Pledgor to any Secured Party under the First Finance Documents,
        including the obligations set out in clause 31.3 (Parallel Debt (Covenant to pay the Security
        Agent)) whether present or future, actual or contingent (and whether incurred solely or jointly
        and whether as principal or surety or in some other capacity)

        First Security means the Security created or expressed to be created in favour of the Security
        Agent pursuant to the First Security Documents

        First Security Documents means

        (a)    the Account Pledge Agreements;

        (b)    the Security Agreements;

        (c)    the Moroccan Pledge;

        (d)    the UAE Pledges;

        (e)    any Spanish Pledges and any Spanish Irrevocable Power of Attorney;

        (f)    the German Security Transfer Agreements;

        (g)    the South African Pledge;

        (h)    any Stock Monitoring Agreement;

        (i)    any Collateral Management Agreement;

        (j)    the Canadian Security Agreement;

        (k)    the US Security Agreement; and

        (l)    any documents in respect of which Security is granted to the Security Agent pursuant to
               clause 24.25 (Conditions Subsequent),

        together with any other document entered into by any Obligor or any Spanish Pledgor creating
        or expressed to create any Security over all or any part of its assets in respect of the obligations
        of any of the Obligors under any of the Finance Documents other than the Hedging Agreements

        First Security Period means the period terminating on the date on which the First Secured
        Obligations are unconditionally and irrevocably discharged in full

        Fronted Facilities means Overdraft Facilities and/or Credit Instruments issued (or deemed to
        have been issued) or entered into by Issuing Banks pursuant to this Agreement



  BD-#32148460-v3                                 23
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                            Pg 364 of 692


        Fronted Proportion means in relation to a Facility B Lender in respect of any Fronted Facility,
        the proportion (expressed as a percentage) which that Facility B Lender's Available
        Commitment bears to the Available Facility (in each case in respect of the relevant Tranche of
        Facility B) immediately prior to the issue of that Fronted Facility, adjusted to reflect any
        assignment or transfer under this Agreement to or by that Facility B Lender under the relevant
        Tranche and taking into account any change in a Lender’s proportion on or prior to the relevant
        date as a result of the provisions of this Agreement (including without limitation clause 9.5)

        Fronting Bank means the Issuing Bank and the Overdraft Bank provided that if a bank or
        financial institution (or a bank or financial institution and one of its Affiliates) is both an Issuing
        Bank and an Overdraft Bank in relation to a Tranche it shall be considered for the purposes of
        the Fronting Bank Limit calculation to be single Fronting Bank

        Fronting Bank Limit means, from time to time, in relation to each Fronting Bank in a particular
        Tranche, the amount which is:

        (i) the aggregate of the Commitments of each Facility B Lender in that Tranche

        divided by

        (ii) the total number of Fronting Banks in that Tranche

        FX Hedging Provider means any Lender which enters into a FX Hedging Provider Hedging
        Agreement with a Borrower

        FX Hedging Provider Hedging Agreement means any document evidencing a FX Hedging
        Provider Hedging Transaction

        FX Hedging Provider Hedging Transactions has the meaning given to it in clause 2.4
        (Hedging/Clearing)

        German Security Transfer Agreement means:

        (a)    the German law security transfer agreement entered into by ABGG in favour of the
               Security Agent; and

        (b)    the German law security transfer agreement entered into by OBTG in favour of the
               Security Agent

        Governmental Authority means the government of any nation, or of any political subdivision
        thereof, whether state, provincial or local, and any agency, authority, instrumentality, regulatory
        body, court, central bank or other entity exercising executive, legislative, judicial, taxing,
        regulatory or administrative powers or functions of or pertaining to government (including any
        supra-national bodies such as the European Union or the European Central Bank)

        Gross Assets means, in respect of an entity, all assets identified as such in that entity’s
        accounts

        Group means the Parent, the Company and each of their respective Subsidiaries from time to
        time

        Group Structure Chart means the group structure chart in the agreed form

        Guarantor means an Original Guarantor or an Additional Guarantor, unless in each case it has
        ceased to be a Guarantor in accordance with clause 29 (Changes to the Obligors)

        Hedging Agreement means a Hedging Provider Hedging Agreement, a Clearing Provider
        Hedging Agreement and a FX Hedging Provider Hedging Agreement




  BD-#32148460-v3                                  24
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 365 of 692


        Hedging Policy means the hedging policy delivered to the Facility Agent within 10 Business
        Days after the Effective Date as may be amended from time to time with the prior written
        approval of the Facility Agent (acting on the instructions of the Majority Lenders)

        Hedging Provider means:

        (a)    ABN AMRO Bank N.V.;

        (b)    Mercuria Energy Trading S.A.; or

        (c)    any other hedging provider which is an Affiliate of a Facility B Lender and which is
               approved in writing by the Facility Agent and which enters into a Multi-Party TPA
               Agreement with the Company

        Hedging Provider Hedging Agreement means any document evidencing a Hedging Provider
        Hedging Transaction

        Hedging Provider Hedging Transactions has the meaning given to it in clause 2.4 (Clearing)

        Hess Litigation means the causes of action brought by Aegean Bunkering (USA) LLC and the
        Parent, as plaintiffs, against Hess Corporation, as defendant, commenced in the Supreme Court
        of the State of New York, County of New York: Part 39, Index Number 653887/2014

        Holding Company means, in relation to a person, any other person in respect of which it is a
        Subsidiary

        Immaterial Subsidiary means any Subsidiary that has neither (a) assets of fair market value
        exceeding $250,000 nor (b) net income before taxes exceeding $250,000 on an annualized
        basis

        Impaired Agent means the Facility Agent at any time when:

        (a)    it has failed to make (or has notified a Party that it will not make) a payment required to
               be made by it under the Finance Documents by the due date for payment;

        (b)    the Facility Agent otherwise rescinds or repudiates a Finance Document; or

        (c)    an Insolvency Event has occurred and is continuing with respect to the Facility Agent;

        unless, in the case of paragraph (a) above:

        (i)    its failure to pay is caused by:

               (A)    administrative or technical error; or

               (B)    a Disruption Event,

        and payment is made within five (5) Business Days of its due date; or

        (ii)   the Facility Agent is disputing in good faith whether it is contractually obliged to make the
               payment in question

        Insolvency Event in relation to the Facility Agent means that the Facility Agent:

        (a)    is dissolved (other than pursuant to a consolidation, amalgamation or merger);

        (b)    becomes insolvent or is unable to pay its debts or fails or admits in writing its inability
               generally to pay its debts as they become due;




  BD-#32148460-v3                                  25
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 366 of 692


        (c)    makes a general assignment, arrangement or composition with or for the benefit of its
               creditors;

        (d)    institutes or has instituted against it, by a regulator, supervisor or any similar official with
               primary insolvency, rehabilitative or regulatory jurisdiction over it in the jurisdiction of its
               incorporation or organisation or the jurisdiction of its head or home office, a proceeding
               seeking a judgment of insolvency or bankruptcy or any other relief under any bankruptcy
               or insolvency law or other similar law affecting creditors' rights, or a petition is presented
               for its winding-up or liquidation by it or such regulator, supervisor or similar official;

        (e)    has instituted against it a proceeding seeking a judgment of insolvency or bankruptcy or
               any other relief under any bankruptcy or insolvency law or other similar law affecting
               creditors' rights, or a petition is presented for its winding-up or liquidation, and, in the case
               of any such proceeding or petition instituted or presented against it, such proceeding or
               petition is instituted or presented by a person or entity not described in paragraph (d)
               above and:

               (i)     results in a judgment of insolvency or bankruptcy or the entry of an order for relief
                       or the making of an order for its winding-up or liquidation; or

               (ii)    is not dismissed, discharged, stayed or restrained in each case within thirty (30)
                       days of the institution or presentation thereof;

        (f)    has exercised in respect of it one or more of the stabilisation powers pursuant to Part 1 of
               the Banking Act 2009 and/or has instituted against it a bank insolvency proceeding
               pursuant to Part 2 of the Banking Act 2009 or a bank administration proceeding pursuant
               to Part 3 of the Banking Act 2009;

        (g)    has a resolution passed for its winding-up, official management or liquidation (other than
               pursuant to a consolidation, amalgamation or merger);

        (h)    seeks or becomes subject to the appointment of an administrator, provisional liquidator,
               conservator, receiver, trustee, custodian or other similar official for it or for all or
               substantially all its assets (other than, for so long as it is required by law or regulation not
               to be publicly disclosed, any such appointment which is to be made, or is made, by a
               person or entity described in paragraph (d) above);

        (i)    has a secured party take possession of all or substantially all its assets or has a distress,
               execution, attachment, sequestration or other legal process levied, enforced or sued on
               or against all or substantially all its assets and such secured party maintains possession,
               or any such process is not dismissed, discharged, stayed or restrained, in each case
               within thirty (30) days thereafter;

        (j)    causes or is subject to any event with respect to it which, under the applicable laws of
               any jurisdiction, has an analogous effect to any of the events specified in paragraphs (a)
               to (i) above; or

        (k)    takes any action in furtherance of, or indicating its consent to, approval of, or
               acquiescence in, any of the foregoing acts

        Interim DIP Order means the interim order entered by the Bankruptcy Court (as the same may
        be amended, waived, supplemented, or modified from time to time after entry thereof, solely in
        the case of any amendment, waiver, supplement or modification that is not adverse to the rights
        or duties of the Finance Parties, with the consent of the Facility Agent and the Majority Lenders
        in their sole discretion) in the form provided to the Facility Agent prior to the Effective Date, with
        changes to such form as are satisfactory to the Facility Agent (acting on the instructions of the
        Majority Lenders, in their sole discretion), (i) authorizing, on an inteirm basis, the Debtors to (a)
        obtain post-petition secured financing pursuant to this Agreement and (b) use cash collateral
        during the pendency of the Cases, and (ii) granting certain related relief




  BD-#32148460-v3                                   26
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                           Pg 367 of 692


        Intercreditor Agreement means the intercreditor agreement entered into on or about the date
        of the Amendment and Restatement Agreement between, amongst others, the Facility Agent,
        the US DIP Administrative Agent and the Company

        Interest Period means, in relation to a Loan, each period determined in accordance with clause
        12 (Interest Periods) and, in relation to an Unpaid Sum, each period determined in accordance
        with clause 11.4 (Default interest)

        Interpolated Screen Rate means, in relation to LIBOR for any Loan, the rate (rounded to the
        same number of decimal places as the two relevant Screen Rates) which results from
        interpolating on a linear basis between:

        (a)    the applicable Screen Rate for the longest period (for which that Screen Rate is available)
               which is less than the Interest Period of that Loan; and

        (b)    the applicable Screen Rate for the shortest period (for which that Screen Rate is
               available) which exceeds the Interest Period of that Loan,

        each as of the Specified Time on the Quotation Day for the currency of that Loan.

        Investment means, as to any person, any acquisition or investment by such person, whether by
        means of (a) the purchase or other acquisition of Equity Interests or debt or other securities of
        another person, (b) a loan, advance or capital contribution to, guarantee or assumption of debt
        of, or purchase or other acquisition of any other debt or equity participation or interest in,
        another person, including any partnership or joint venture interest in such other person, or (c)
        the purchase or other acquisition (in one transaction or a series of related transactions) of all or
        substantially all of the property and assets or business of another person or assets constituting
        a business unit, line of business or division of such person excluding in each case current trade
        and customer accounts receivables for inventory sold and services rendered in the ordinary
        course of business. For purposes of covenant compliance, the amount of any Investment shall
        be the amount actually invested, without adjustment for subsequent increases or decreases in
        the value of such Investment but giving effect to any returns or distributions of capital or
        repayment of principal actually received by such person with respect thereto

        Investment Grade Rating means a long term senior unsecured non-credit enhanced credit
        rating of BBB- or higher by S&P or Baa3 or higher by Moody’s; provided that, in the event that
        the rating given by (or equivalent to) S&P or Moody’s is higher than the rating given by (or
        equivalent to) Moody’s or S&P, as applicable, the determination that such rating is an
        Investment Grade Rating shall be made based on the higher of the two ratings

        Issuing Bank means in relation to a particular Tranche of Facility B, the relevant Facility B
        Tranche 1 Issuing Bank or the Facility B Tranche 2 Issuing Bank.

        Joint Security Period means the period terminating upon the earlier of the end of the First
        Security Period and the end of the Second Security Period

        Joint Venture means any joint venture entity, whether a company, unincorporated firm,
        undertaking, association, joint venture or partnership or any other entity

        Legal Reservations means:

        (a)    the principle that equitable remedies may be granted or refused at the discretion of a
               court and the limitation of enforcement by laws relating to insolvency, reorganisation and
               other laws generally affecting the rights of creditors (including the principle that a
               Moroccan court may not recognize and award court costs for all costs and expenses
               incurred by the prevailing party in the proceedings in front of that court);

        (b)    the time barring of claims under the Limitation Acts, the possibility that an undertaking to
               assume liability for or indemnify a person against non-payment of UK stamp duty may be
               void and defences of set-off or counterclaim;



  BD-#32148460-v3                                 27
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                           Pg 368 of 692


        (c)    similar principles, rights and defences to the foregoing under the laws of any Relevant
               Jurisdiction;

        (d)    any restriction or qualification contained in any legal opinion in relation to matters of
               German or EC law delivered to the Facility Agent pursuant to paragraph 4 (Legal
               opinions) of Schedule 2 (Conditions precedent to the Effective Date) of the Amendment
               and Restatement Agreement;

        (e)    the principle that any Finance Document would require to be legalised and accompanied
               with a sworn translation into French or Arabic to be submitted as evidence in any action
               or proceeding before a Moroccan court and in order to be enforceable against third
               parties and when used with Moroccan public bodies and administrations for any
               purposes; and

        (f)    the principle that (i) any amount due under a guarantee agreement or security agreement
               by a Moroccan incorporated party to a non-Moroccan incorporated party may only be
               transferred outside Morocco if such payment is in compliance with the applicable
               Moroccan foreign exchange control regulations or has been expressly approved in
               advance and in written by the Moroccan Foreign Exchange Office (Office des Changes
               marocain). Any set-off between a Moroccan party and a non-Moroccan party located
               outside Morocco requires a prior express approval from the Moroccan Foreign Exchange
               Office (Office des Changes marocain), being specified that any amount due by the
               Moroccan Guarantor under the Moroccan Guarantee may be freely transferable to the
               Lenders on the ground of article 17 of the law No. 19-94 (Dahir No. 1-95-1 dated January
               26, 1995) applicable to free export zonesand (ii) any set-off between a Moroccan party
               and a counterparty located outside Morocco shall require a prior express approval of the
               Moroccan Foreign Exchange Office (Office des Changes marocain).

        Lender means:

        (a)    any Original Lender; and

        (b)    any bank, financial institution, trust, fund or other entity which has become a Party as a
               Lender in accordance with clause 27 (Changes to the Lenders),

        which in each case has not ceased to be a Lender in accordance with the terms of this
        Agreement

        Lender Discounting Facility means any trade receivables purchase facility entered into
        between a Lender and a Borrower on arm's length terms and for full market value providing for
        such Lender to discount trade receivables of the relevant Borrower represented by confirmed
        letters of credit on a non-recourse basis and meeting any requirement for de-recognition under
        the Accounting Principles

        Lender Superpriority Claim means pursuant to section 364(c)(1) of the Bankruptcy Code, the
        entitlement (without the need to file a proof of claim) to a joint and several superpriority claim
        against the Debtors, with priority over any and all other obligations, liabilities, and indebtedness
        against the Debtors, now existing or hereafter arising, of any kind whatsoever, including on the
        Litigation Claims and all proceeds thereof (but subject to the Final DIP Order in the case of
        Litigation Claims), and including any and all administrative expenses or other claims of the kind
        specified in or arising under sections 105, 326, 328, 330, 331, 503(b), 506(c) (following entry of
        the Final DIP Order), 507, 546(c), 552(b), 726, 1113, or 1114 of the Bankruptcy Code, whether
        or not such expenses or claims may become secured by a judgment lien or other non-
        consensual lien, levy, or attachment, whether now in existence or hereafter incurred by the
        Debtors, and shall at all times be senior to the rights of the Debtors, each Debtor's estate and
        any successor trustee, estate representative, or any creditor, in any of the Cases or any
        subsequent cases or proceedings under the Bankruptcy Code

        LIBOR means, in relation to any Loan:




  BD-#32148460-v3                                 28
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 369 of 692


        (a)    the applicable Screen Rate;

        (b)    (if no Screen Rate is available for the Interest Period of that Loan) the Interpolated
               Screen Rate for that Loan; or

        (c)    if:

               (i)     no Screen Rate is available for the currency of that Loan; or

               (ii)    no Screen Rate is available for the Interest Period of that Loan and it is not
                       possible to calculate an Interpolated Screen Rate for that Loan,

               the Reference Bank Rate,

        as of, in the case of paragraphs (a) and (c) above, the Specified Time on the Quotation Day for
        the currency of that Loan and a period equal in length to the Interest Period of that Loan and, if
        that rate is less than zero, LIBOR shall be deemed to be zero

        Litigation Claims means (i) claims of the Parent or any Subsidiary thereof, against any person
        and existing at any time, arising out of, in connection with, or relating to the events,
        circumstances, and conduct described in the 4 June 2018, Form 6-K disclosure of Aegean
        Marine Petroleum Network, Inc., concerning improper accounting for or recordation of accounts
        receivable, as well as the right of the Parent of any Subsidiary thereof to the proceeds of or
        recovery in any suit, prosecution, investigation, settlement, enforcement proceeding, fine,
        penalty, or other proceeding or action by any government or governmental agency in
        connection with the foregoing; (ii) claims of the Parent or any Subsidiary thereof, against any
        person and existing at any time, arising out of, in connection with, or relating to the construction
        and maintenance of the Aegean terminal in Fujairah, as well as the right of grantors to the
        proceeds of or recovery in any suit, prosecution, investigation, settlement, enforcement
        proceeding, fine, penalty, or other proceeding or action by any government or governmental
        agency in connection with the foregoing, (iii) claims of the Parent or any Subsidiary thereof
        existing at any time, arising out of, in connection with, or relating to misstated accounting
        records, fraudulent misappropriation of funds by Dimitris Melissanidis, claims against auditors
        related to misappropriation of funds, related conspiracy to defraud investors in Aegean Marine
        Petroleum Network, Inc., and claims against Quality Solutions related to construction fraud or
        other fraud, (iv) claims brought by Aegean Marine Petroleum Network Inc. and the Company, as
        Plaintiffs, against Hess Corporation, as Defendant, commenced in the Supreme Court of the
        State of New York, County of New York: Part 39, Index Number 653887/2014, (v) claims of the
        Parent or any Subsidiary thereof, concerning unpaid invoices for marine fuels supplied through
        agreements entered into with O.W. Group and any affiliate thereof, (vi) claims of the Parent or
        any Subsidiary thereof, concerning HSFO product loaded from Petrotrin in Trinidad in
        December 2016; and (v) claims arising under Chapter 5 of the Bankruptcy Code

        Limitation Acts means the Limitation Act 1980 and the Foreign Limitation Periods Act 1984

        LMA means the Loan Market Association

        Loan means a loan made or to be made under Facility A or the principal amount outstanding for
        the time being of that loan

        Majority Lenders means a Lender or Lenders whose Commitment aggregate more than 66 ⅔
        per cent. of the Total Commitments (or, if the Total Commitments have been reduced to zero,
        aggregated more than 66 ⅔ per cent. of the Commitments immediately prior to that reduction

        Margin means:

        (a)    in relation to Facility A, the Facility A Margin; and

        (b)    in relation to Facility B, the Facility B Margin




  BD-#32148460-v3                                   29
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 370 of 692


        Material Adverse Effect means in the opinion of the Majority Lenders a material adverse effect
        on:

        (a)    the business (including the production and export capacity), operations, property,
               condition (financial, legal or otherwise) or prospects of any Obligor or the Group taken as
               a whole; or

        (b)    the ability of an Obligor to perform its obligations under the Finance Documents; or

        (c)    the validity or enforceability of, or the effectiveness or ranking of any Security granted or
               purporting to be granted pursuant to any of, the Finance Documents or the rights or
               remedies of any Finance Party under any of the Finance Documents,

        (in each case other than as a direct result of the filing of the cases, the events leading up to,
        and following commencement of a proceeding under chapter 11 of the Bankruptcy Code and
        the continuation and prosecution thereof, including circumstances or conditions resulting directly
        from such events, commencement, continuation and prosecution, which shall not, individually or
        in the aggregate, constitute a Material Adverse Effect), and provided, further, that nothing
        disclosed in (1) any filings or written reports by the Debtors made publicly available through the
        Petition Date or disclosed to the Lenders prior to the Effective Date and/or (2) any written
        disclosure statement related to any plan of reorganization or liquidation of Debtors provided to
        the Facility Agent on or prior to the Petition Date, shall, in any case, in and of itself and based
        solely on facts as disclosed therein (without giving effect to any developments not disclosed
        therein) constitute a Material Adverse Effect

        Material Subsidiary means each member of the Group which is not a Dormant Company

        Maximum Available Amount means, at any time, the Base Currency Amount which is the
        lower of:

        (a)    the aggregate of the Total Commitments at such time; and

        (b)    the aggregate of the Borrowing Base Amount at such time

        MEGL Affiliate means a Subsidiary of Mercuria Energy Group Limited or a Holding Company
        of Mercuria Energy Group Limited or any other Subsidiary of that Holding Company

        Month means a period starting on one (1) day in a calendar month and ending on the
        numerically corresponding day in the next calendar month, except that:

        (a)    (subject to paragraph (c) below) if the numerically corresponding day is not a Business
               Day, that period shall end on the next Business Day in that calendar month in which that
               period is to end if there is one, or if there is not, on the immediately preceding Business
               Day;

        (b)    if there is no numerically corresponding day in the calendar month in which that period is
               to end, that period shall end on the last Business Day in that calendar month; and

        (c)    if an Interest Period begins on the last Business Day of a calendar month, that Interest
               Period shall end on the last Business Day in the calendar month in which that Interest
               Period is to end.

        The above rules will only apply to the last Month of any period. Monthly shall be construed
        accordingly

        Moroccan Pledge means the master pledge agreement (convention cadre de gage) and
        related pledge instrument entered into by the Company, the Lenders, the Security Agent and
        Horizon Tangiers Terminal S.A in respect of assets owned by the Company and located in
        Morocco




  BD-#32148460-v3                                 30
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 371 of 692


        Multi-Party TPA Agreements means each agreement entered into between the Company, a
        Hedging Provider or a Clearing Provider and the Security Agent (including any service or similar
        agreement related thereto between the Company and a Hedging Provider or a Clearing
        Provider (as the case may be)) complying with the provisions set out in clause 6.39 (Multi-Party
        TPA Agreements)

        New Lender has the meaning given to that term in clause 27 (Changes to the Lenders)

        Non-Acceptable Bank means a Facility B Lender which:

        (a)    is not an Acceptable Bank within the meaning of paragraph (a) of the definition of
               “Acceptable Bank”; or

        (b)    has failed to make (or has notified the Facility Agent that it will not make) a payment to be
               made by it under clause 6.11 (Indemnities) or clause 30.10 (Lenders' indemnity to the
               Facility Agent and the Collateral Management Agent) or 31.14 (Lenders’ indemnity to the
               Security Agent) or any other payment to be made by it under the Finance Documents to
               or for the account of any other Finance Party in its capacity as Lender by the due date for
               payment

        Non-Borrowing Base Receivables mean certain receivables currently recorded in the
        accounts of the Company with a book value of approximately $200,000,000 and owed to the
        Company by certain third parties

        Notifiable Debt Purchase Transaction has the meaning given to that term in paragraph (b) of
        clause 28.2 (Disenfranchisement on Debt Purchase Transactions entered into by Parent
        Affiliates)

        Obligor means a Borrower or a Guarantor and Obligors means each of them

        Obligors' Agent means the Company, appointed to act on behalf of each Obligor in relation to
        the Finance Documents pursuant to clause 2.3 (Obligors' Agent)

        OECD means Organisation for Economic Co-operation and Development

        Orders means, collectively, the Interim DIP Order, the Final DIP Order, the Cash Management
        Order, the First Day Orders and any other orders of the Bankruptcy Court authorizing and
        approving, on either an interim or final basis, the financing contemplated by this Agreement

        Original Borrowers means each of the Company, APII, ANNV, ABGG and OBTG, each as
        more particularly described in Part I (The Original Obligors) of Schedule 1 (The Original Parties)

        Original Financial Statements means in relation to each Obligor its audited financial
        statements for its Financial Year ended 31 December 2016

        Original Guarantors means each of the companies described in Part I (The Original Obligors)
        of Schedule 1 (The Original Parties)

        Original Jurisdiction means, in relation to an Obligor, the jurisdiction under whose laws that
        Obligor is incorporated as at the date of this Agreement, in relation to any Spanish Pledgor (if
        any), Spain and in relation to a South African Pledge Counterparty, the jurisdiction under whose
        laws that party is incorporated

        Outstandings means the aggregate of the Base Currency Amount of:

        (a)    the outstanding Loans;

        (b)    the maximum actual and contingent liabilities of the Borrowers in respect of any Overdraft
               Facilities; and




  BD-#32148460-v3                                 31
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                            Pg 372 of 692


        (c)    the maximum actual or contingent liabilities of the Lenders in respect of any Credit
               Instruments

        Overdraft Bank means each Party identified in the recitals to this Agreement as an Overdraft
        Bank

        Parent means Aegean Marine Petroleum Network Inc. of Trust Company Complex, Ajeltake
        Road, Ajeltake Island, Majuro, Marshall Islands MHJ96960

        Parent Affiliate means each Affiliate of the Parent

        Participating Member State means any member state of the European Union that has the
        euro as its lawful currency in accordance with legislation of the European Union relating to
        Economic and Monetary Union

        Party means a party to this Agreement

        Permitted Financial Management Liens means Security of a financial institution on currency
        or Cash Equivalent Investments of Aegean Bunkering (USA) LLC deposited in, or credited to,
        any account of the Borrower subject to Transaction Security, provided that such Security arise
        out of (i) amounts due to the relevant financial institution, in respect of customary fees and
        expenses for the routine maintenance and operation of such account, (ii) the face amount of
        any checks which have been credited to such account, but are subsequently returned unpaid
        because of uncollected or insufficient funds, or (iii) other returned items or mistakes made in
        crediting such account, provided, further that such Security is provided for in the related
        Transaction Security Document or arise by operation of law

        Petition Date means has the meaning given to such term in the Recitals

        Pre-Approved SBLC Beneficiary means such person notified or replaced from time to time by
        five (5) Business Days’ notice in writing by the Facility Agent (acting on the instructions of all
        Facility B Lenders) to the Company) and any other person approved as a beneficiary of a
        standby letter of credit by all Facility B Lenders under the Tranche to which such standby letter
        of credit is proposed to be issued.

        Prepetition Obligations has the meaning given to it in clause 2.2(e)

        Prohibited Person means a person that is:

        (a)    listed on, or owned or controlled by a person listed on, or acting on behalf of a person
               listed on, any Sanctions List;

        (b)    located in, incorporated under the laws of, or owned or (directly or indirectly) controlled
               by, or acting on behalf of, a person located in or organized under the laws of a country or
               territory that is the target of country-wide or territory-wide Sanctions; or

        (c)    otherwise a target of Sanctions (namely a person with whom a US person or other
               national under the jurisdiction of a Sanctions Authority would be prohibited or restricted
               by law from engaging in trade, business or other activities)

        Quarter Date means each of 31 March, 30 June, 30 September and 31 December

        Quasi-Security has the meaning given to that term in clause 24.12 (Negative pledge)

        Quotation Day means, in relation to any period for which an interest rate is to be determined:

        (a)    (if the currency is euro), two TARGET Days before the first day of that period; or

        (b)    (if the currency is Dollars), two Business Days before the first day of that period,




  BD-#32148460-v3                                  32
18-13374-mew        Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                             Pg 373 of 692


        unless market practice differs in the Relevant Interbank Market for a currency, in which case the
        Quotation Day for that currency will be determined by the Facility Agent in accordance with
        market practice in the Relevant Interbank Market (and if quotations would normally be given by
        leading banks in the Relevant Interbank Market on more than one (1) day, the Quotation Day
        will be the last of those days)

        Receiver means a receiver or receiver and manager or administrative receiver of the whole or
        any part of the Charged Property

        Reference Bank Rate means the arithmetic mean of the rates (rounded upwards to four
        decimal places) as supplied to the Facility Agent at its request by the Reference Banks as the
        rate at which the relevant Reference Bank could borrow funds in the London interbank market in
        the relevant currency and for the relevant period, were it to do so by asking for and then
        accepting interbank offers for deposits in reasonable market size in that currency and for that
        period

        Reference Banks means the principal London offices of ABN AMRO Bank N.V. or other banks
        as may be appointed by the Facility Agent in consultation with the Company

        Related Fund in relation to a fund (the first fund), means a fund which is managed or advised
        by the same investment manager or investment adviser as the first fund or, if it is managed by a
        different investment manager or investment adviser, a fund whose investment manager or
        investment adviser is an Affiliate of the investment manager or investment adviser of the first
        fund

        Relevant Interbank Market means in relation to Euro, the European interbank market, and in
        relation to any other currency, the London interbank market

        Relevant Jurisdiction means, in relation to an Obligor, any Spanish Pledgor and each South
        African Pledge Counterparty:

        (a)    its Original Jurisdiction;

        (b)    any jurisdiction where any asset subject to or intended to be subject to the Transaction
               Security to be created by it is situated;

        (c)    any jurisdiction where it conducts its business; and

        (d)    the jurisdiction whose laws govern the perfection of any of the Transaction Security
               Documents entered into by it

        Repeating Representations means each of the representations set out in clause 21.2 (Status)
        to clause 21.7 (Governing law and enforcement), clause 21.10 (No default), paragraph (d) of
        clause 21.11 (No misleading information), clause 21.19 (Ranking) to clause 21.21 (Legal and
        beneficial ownership), clause 21.25 (Centre of main interests and establishments) and clause
        21.27 (Pari Passu Ranking)

        Representative means any delegate, agent, manager, administrator, nominee, attorney,
        trustee or custodian

        Resignation Letter means a letter substantially in the form set out in Schedule 10 (Form of
        Resignation Letter)

        Responsible Person means with respect to any Obligor, the chief executive officer, president,
        chairman, senior vice-president, executive vice-president, vice-president of finance or treasurer
        or other officer or manager (or similar title) of such Obligor. Any document delivered under this
        Agreement that is signed by a Responsible Person of an Obligor shall be conclusively
        presumed to have been authorized by all necessary corporate, partnership or other action on
        the part of such Obligor and such Responsible Person shall be conclusively presumed to have
        acted on behalf of such Obligor



  BD-#32148460-v3                                 33
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                           Pg 374 of 692


        Resolution Authority means anybody which has authority to exercise any Write-down and
        Conversion Powers

        Restricted Payment means any dividend or other distribution (whether in cash, securities or
        other property) with respect to any Equity Interest of any person, or any payment (whether in
        cash, securities or other property), including any sinking fund or similar deposit, on account of
        the purchase, redemption, retirement, acquisition, cancellation or termination of any such Equity
        Interest, or on account of any return of capital to such person’s shareholders, partners or
        members (or the equivalent persons thereof)

        Rollover Loan means one or more Loans:

        (a)    made or to be made on the same day that a maturing Loan is due to be repaid;

        (b)    the aggregate amount of which is equal to or less than the amount of the maturing Loan;

        (c)    in the same currency as the maturing Loan; and

        (d)    made or to be made to the same Borrower for the purpose of refinancing a maturing Loan
               (as the case may be)

        Sale Order means an order of the Bankruptcy Court approving and authorizing a sale pursuant
        to section 363 of the Bankruptcy Code of those assets set forth in the Asset Purchase
        Agreement

        Sanctions means the economic sanctions laws, regulations, embargoes or restrictive measures
        administered, enacted or enforced by any Sanctions Authority (whether or not any Obligor, any
        other Group member or any Affiliate of any Group member is legally bound to comply with such
        laws, regulations, embargoes or measures)

        Sanctions Authority means any of:

        (a)    the United States government;

        (b)    the United Nations;

        (c)    the United Kingdom;

        (d)    Switzerland;

        (e)    the European Union or its Member States,

        and includes any government entity of any of the above, including, without limitation, the Office
        of Foreign Assets Control of the US Department of Treasury (OFAC), the United States
        Department of State, Her Majesty's Treasury (HMT) and the Swiss State Secretariat for
        Economic Affairs (SECO)

        Sanctions List means:

        (a)    the "Specially Designated Nationals and Blocked Persons" list maintained by OFAC;

        (b)    the Consolidated List of Financial Sanctions Targets and the Investment Ban List
               maintained by HMT; or

        (c)    any similar list maintained by, or public announcement of Sanctions designation made by,
               any other Sanctions Authority

        Screen Rate means the London interbank offered rate administered by ICE Benchmark
        Administration Limited (or any other person which takes over the administration of that rate) for



  BD-#32148460-v3                                34
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                           Pg 375 of 692


        the relevant currency and period displayed on pages LIBOR01 or LIBOR02 of the Reuters
        screen (or any replacement Reuters page which displays that rate) or on the appropriate page
        of such other information service which publishes that rate from time to time in place of Reuters.
        If such page or service ceases to be available, the Facility Agent may specify another page or
        service displaying the relevant rate after consultation with the Company

        SEC means the Securities and Exchange Commission, or any Governmental Authority
        succeeding to any of its principal functions

        Second Account Pledge Agreements means the pledge agreement to be entered into
        between the Company and APII as pledgors and the US DIP Administrative Agent as pledgee,
        pursuant to which the Company and APII pledge, inter alia, all amounts standing to the credit of
        the Collection Accounts and the Facility Accounts in favour of the US DIP Administrative Agent
        to secure the obligations of the relevant Obligors to the US DIP Creditors under any of the US
        DIP Finance Documents

        Second Secured Obligations means all obligations at any time due, owing or incurred by any
        Obligor or any Spanish Pledgor to the US Secured Parties under the US DIP Finance
        Documents whether present or future, actual or contingent (and whether incurred solely or
        jointly and whether as principal or surety or in some other capacity)

        Second Security Period means the period terminating on the date on which the Second
        Secured Obligations are unconditionally and irrevocably discharged in full

        Second Security means the Security created or expressed to be created in favour of the US
        DIP Administrative Agent pursuant to the Second Security Documents

        Second Security Agreements means:

        (a)    the English law security agreement to be entered into by the Company; and

        (b)    the English law security agreement to be entered into by APII;

        in each case, and in favour of the US DIP Administrative Agent

        Second Security Documents means

        (a)    the Second Account Pledge Agreements;

        (b)    the Second Security Agreements;

        together with any other document entered into by any Obligor creating or expressed to create
        any Security over all or any part of its assets in respect of the Second Secured Obligations

        Secured Obligations means the First Secured Obligations and the Second Secured
        Obligations

        Secured Parties means each Finance Party from time to time party to this Agreement and any
        Receiver or Delegate

        Security means a mortgage, charge, pledge, lien or other security interest securing any
        obligation of any person or any other agreement or arrangement having a similar effect

        Security Agreements means:

        (a)    the English law security agreement entered into by the Company in favour of the Security
               Agent in form and substance satisfactory to the Security Agent;

        (b)    the English law security agreement entered into by APII in favour of the Security Agent in
               form and substance satisfactory to the Security Agent;


  BD-#32148460-v3                                35
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 376 of 692


        (c)    the English law security agreement entered into by ANNV in favour of the Security Agent
               in form and substance satisfactory to the Security Agent;

        (d)    the English law security agreement entered into by ABGG in favour of the Security Agent
               in form and substance satisfactory to the Security Agent; and

        (e)    the English law security agreement entered into by OBTG in favour of the Security Agent
               in form and substance satisfactory to the Security Agent

        Sensitive Zone means:

        (a)    the territorial waters and shores of Kuwait, Saudi Arabia, Bahrain, Qatar, United Arab
               Emirates, Oman, Iraq, and any other relevant countries as determined by the Facility
               Agent (either in its sole discretion or as instructed by the Majority Lenders); and

        (b)    the international waters of the Persian Gulf.

        Single Purpose Ship Owning Company means a single purpose ship owning company whose
        business is solely ownership and operation of ships and who has obtained finance secured on
        such ships

        Single Purpose Terminal Owning Company means a single purpose company whose
        business is solely ownership and operation of terminals and who has obtained finance secured
        on such terminals

        South African Pledge means:

        (a)    the pledge and cession in security agreement in relation to certain goods located onboard
               floating storage (having official number 18329 and IMO Number 91737733 and which, as
               at the date of this Agreement, has vessel name “UMNENGA I”), entered or to be entered
               into between the Company and the Security Agent, and shall include the letter agreement
               or side letter entered into in relation thereto between the Security Agent, the Company
               and the relevant South African Pledge Counterparties;

        (b)    any replacement pledge and cession in security agreement for that described in
               paragraph (a) above in relation to a floating storage vessel which may replace the m.t.
               “UMNENGA I”, entered or to be entered into between the Company and the Security
               Agent, which shall include the letter agreement or side letter entered into in relation
               thereto between the Security Agent, the Company and the relevant South African Pledge
               Counterparties; and

        (c)    any pledge and cession in security agreement in relation to other goods located in South
               Africa entered into between, amongst others, a Borrower and the Security Agent,
               including any letter agreement or side letter in relation thereto

        South African Pledge Counterparties means:

        (a)    Aegean Tanking S.A., a company incorporated under the laws of the Republic of Liberia,
               with its registered office at 80 Broad Street, Monrovia, Republic of Liberia, and Aegean
               Bunkering Marine Services Proprietary Limited, a private company duly incorporated
               under South African law, with registration number 2013/191834/07, and with registered
               offices at 26 Waverley Drive, Mill Park, Port Elizabeth 6000, South Africa; and

        (b)    any other entity which is party to a South African Pledge (including, in each case, a letter
               agreement or side letter) other than the Borrower which owns the relevant pledged goods

        (and each shall be a South African Pledge Counterparty)




  BD-#32148460-v3                                 36
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                            Pg 377 of 692


        Spanish Capital Companies Law means Real Decreto Legislativo 1/2010, de 2 de Julio, por el
        que se aprueba el texto refundido de la Ley de Sociedades de Capital, as amended from time
        to time

        Spanish Civil Code means the Spanish Código Civil, as amended from time to time

        Spanish Civil Procedural Law means Ley 1/2000, de 7 de enero, de Enjuiciamiento Civil, as
        amended from time to time

        Spanish Commercial Code means the Spanish Código de Comercio, as amended from time
        to time

        Spanish Irrevocable Power of Attorney means any irrevocable power of attorney which is
        granted by a Spanish Pledgor in favour of the Security Agent and/or the US DIP Administrative
        Agent as a consequence of and in relation to any Spanish Pledge.

        Spanish Obligor means an Obligor incorporated under the laws of the Kingdom of Spain.

        Spanish Pledges means any non-possessory pledge agreement which the Facility Agent
        (acting on the instructions of the Majority Lenders) may from time to time agree is to be entered
        into between a Spanish Pledgor and the Security Agent, the US DIP Administrative Agent and
        certain other Finance Parties or US DIP Finance Parties by virtue of which that Spanish Pledgor
        grants an in rem right of security over oil-derived products inventory or other assets and shall
        include any deed of amendment, extension and/or ratification thereof

        Spanish Pledgor means any person which enters into a Spanish Pledge under or in connection
        with this Agreement

        Spanish Public Document means any Spanish documento público, being either any escritura
        pública granted or any póliza intervened by a Spanish notary public.

        Specified Time means a time determined in accordance with Schedule 7 (Timetables)

        Stock Monitoring Agreement means a stock monitoring agreement in respect of floating
        storage to be entered into between the Security Agent, the relevant Borrower and the Stock
        Monitoring Inspector in form and substance satisfactory to the Facility Agent acting on the
        instructions of all Lenders

        Stock Monitoring Inspector means a stock surveillance or inspection company approved in
        writing by the Facility Agent acting on the instructions of all Lenders

        Subsidiary means any person (referred to as the first person) in respect of which another
        person (referred to as the second person):

        (a)    holds a majority of the voting rights in that first person or has the right under the
               constitution of the first person to direct the overall policy of the first person or alter the
               terms of its constitution; or

        (b)    is a member of that first person and has the right to appoint or remove a majority of its
               board of directors or equivalent administration, management or supervisory body; or

        (c)    has the right to exercise a dominant influence (which must include the right to give
               directions with respect to operating and financial policies of the first person which its
               directors are obliged to comply with whether or not for its benefit) over the first person by
               virtue of provisions contained in the articles (or equivalent) of the first person or by virtue
               of a control contract which is in writing and is authorised by the articles (or equivalent) of
               the first person and is permitted by the law under which such first person is established;
               or




  BD-#32148460-v3                                  37
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 378 of 692


        (d)    is a member of that first person and controls alone, pursuant to an agreement with other
               shareholders or members, a majority of the voting rights in the first person or the rights
               under its constitution to direct the overall policy of the first person or alter the terms of its
               constitution; or

        (e)    has the power to exercise, or actually exercises dominant influence or control over the
               first person; or

        (f)    together with the first person are managed on a unified basis,

        and, for the purposes of this definition, a person shall be treated as a member of another person
        if any of that person's Subsidiaries is a member of that other person or if any shares in that
        other person are held by a person acting on behalf of it or any of its Subsidiaries

        TARGET2 means the Trans-European Automated Real-time Gross Settlement Express
        Transfer payment system which utilises a single shared platform and which was launched on 19
        November 2007

        TARGET Day means any day on which TARGET2 is open for the settlement of payments in
        euro

        Tax means any tax, levy, impost, duty or other charge or withholding of a similar nature
        (including any penalty or interest payable in connection with any failure to pay or any delay in
        paying any of the same)

        Term means each period determined under this Agreement for which a relevant Facility B
        Lender is under a liability under a Fronted Facility

        Termination Date means the earliest of:

        (a)   [_______] , 2019 (or if not a Business Day, the first subsequent Business Day); provided
              that if between [___] , 2019 and [____] , 2019 Borrower requests that the Termination
              Date be extended, then if on [_____] , 2019:

               (i)     no Event of Default is continuing; and
               (ii)    there remain undrawn “Term Commitments” as defined in the US DIP Credit
                       Facility Agreement in an amount of at least $5,000,000,

               the Termination Date shall be extended to [      ], 2019;

        (b)    the effective date of any plan of reorganization or plan of liquidation in the Cases;

        (c)    the date of the consummation of a sale of all or substantially all of the Debtors’ assets or
               capital stock under section 363 of the Bankruptcy Code;

        (d)    the date on which any Financial Indebtedness, or any commitment for any Financial
               Indebtedness, of any member of the Group under the US DIP Credit Facility Agreement
               is:

               (i)     declared to be or otherwise becomes due and payable prior to its specified
                       maturity; or

               (ii)    cancelled or suspended by a creditor of any member of the Group,

               as a result of an event of default (however described).

        Total Commitment means the aggregate of the Facility A Total Commitments and the Facility B
        Total Commitments



  BD-#32148460-v3                                   38
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 379 of 692


        Tranches means each of Facility A Tranche 1, Facility A Tranche 2, Facility B Tranche 1 and
        Facility B Tranche 2

        Transaction Security means:

        (a)    the First Security; and

        (b)    the Second Security

        Transaction Security Documents means each of:

        (a)    the First Security Documents; and

        (b)    the Second Security Documents

        Transfer Certificate means a certificate substantially in the form set out in Schedule 4 (Form of
        Transfer Certificate) or any other form agreed between the Facility Agent and the Company

        Transfer Date means, in relation to an assignment or a transfer, the later of:

        (a)    the proposed Transfer Date specified in the relevant Assignment Agreement or Transfer
               Certificate; and

        (b)    the date on which the Facility Agent executes the relevant Assignment Agreement or
               Transfer Certificate

        Treasury Transactions means any derivative transaction entered into in connection with
        protection against or benefit from fluctuation in any rate or price

        UAE Pledges means:

        (a)    the pledge over moveables located at the Fujairah Freezone, Emirate of Fujairah, UAE
               entered or to be entered into between the Company, AOTC (as bailee) and the Security
               Agent (the Company UAE Pledge);

        (b)    the pledge over moveables located at the Fujairah Freezone, Emirate of Fujairah, UAE
               entered or to be entered into between APII, AOTC (as bailee) and the Security Agent (the
               APII UAE Pledge);

        (c)    any bailee agreement and/or addendum issued pursuant to or in connection with the
               Company UAE Pledge; and

        (d)    any bailee agreement and/or addendum issued pursuant to or in connection with the APII
               UAE Pledge

        Unpaid Sum means any sum due and payable but unpaid by an Obligor under the Finance
        Documents

        US DIP Administrative Agent ABN AMRO Capital USA LLC as administrative agent and
        collateral agent under the US DIP Credit Facility Agreement

        US DIP Credit Facility Agreement means the superpriority secured debtor-in-possession
        credit agreement dated on or about the date of the Amendment and Restatement Agreement
        and made between (among others) Aegean Bunkering (USA) LLC as borrower and the US DIP
        Administrative Agent

        US DIP Credit Facilities means the superpriority secured debtor-in-possession credit facilities
        provided pursuant to the US DIP Credit Facility Agreement




  BD-#32148460-v3                                  39
18-13374-mew             Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                                 Pg 380 of 692


           US DIP Finance Documents has the meaning given to the term “Loan Documents” in the US
           DIP Credit Facility Agreement

           US Prepetition Credit Facility means the Second Amended and Restated Uncommitted Credit
           Agreement, dated August 3, 2017, among Aegean Bunkering (USA) LLC, the lenders party
           thereto, certain other parties and ABN AMRO Capital USA LLC, as administrative agent

           US Secured Parties has the meaning given to the term “Secured Party” in the US DIP Credit
           Facility

           US Security Agreement means the security agreement, dated on or about the date hereof,
           executed and delivered by certain of the Guarantors to the Security Agent, as amended,
           modified or supplemented from time to time

           US Tax Obligor means:

           (a)    an Obligor which is resident for tax purposes in the United States of America; or

           (b)    an Obligor some or all of whose payments under the Finance Documents are from
                  sources within the United States for US federal income tax purposes

           Utilisation means a utilisation of a Facility (by way of a Loan or Fronted Facility)

           Utilisation Date means the date on which a Utilisation is, or is to be, made

           Utilisation Request means a notice substantially in the relevant form set out in Schedule 3
           (Utilisation Request)

           VAT means:

           (a)    any tax imposed in compliance with the Council Directive of 28 November 2006 on the
                  common system of value added tax (EC Directive 2006/112); and

           (b)    any other tax of a similar nature, whether imposed in a member state of the European
                  Union in substitution for, or levied in addition to, such tax referred to in paragraph (a)
                  above, or imposed elsewhere.

           Write-down and Conversion Powers means:

           (a)     in relation to any Bail-In Legislation described in the EU Bail-In Legislation Schedule
           from time to time, the powers described as such in relation to that Bail-In Legislation in the EU
           Bail-In Legislation Schedule.; and

           (b)    in relation to any other applicable Bail-In Legislation:

                  (i)     any powers under that Bail-In Legislation to cancel, transfer or dilute shares issued
                          by a person that is a bank or investment firm or other financial institution or affiliate
                          of a bank, investment firm or other financial institution, to cancel, reduce, modify or
                          change the form of a liability of such a person or any contract or instrument under
                          which that liability arises, to convert all or part of that liability into shares, securities
                          or obligations of that person or any other person, to provide that any such contract
                          or instrument is to have effect as if a right had been exercised under it or to
                          suspend any obligation in respect of that liability or any of the powers under that
                          Bail-In Legislation that are related to or ancillary to any of those powers; and

                  (ii)    any similar or analogous powers under that Bail-In Legislation

     1.2         Construction

           (a)    Unless a contrary indication appears, a reference in this Agreement to:


  BD-#32148460-v3                                        40
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                               Pg 381 of 692


               (i)       the Facility Agent, the Collateral Management Agent, any Finance Party, any
                         Issuing Bank, any Lender, any Obligor, the Hedging Provider, any Overdraft
                         Bank, any Party, any Secured Party, the Security Agent or any other person
                         shall be construed so as to include its successors in title, permitted assigns and
                         permitted transferees to, or of, its rights and/or obligations under the Finance
                         Documents and, in the case of the Security Agent, any person for the time being
                         appointed as Security Agent or Security Agents in accordance with the Finance
                         Documents;

               (ii)      a document in agreed form is a document which is previously agreed in writing by
                         or on behalf of the Company and the Facility Agent or, if not so agreed, is in the
                         form specified by the Facility Agent;

               (iii)     assets includes present and future properties, revenues and rights of every
                         description;

               (iv)      a Finance Document or any other agreement or instrument is a reference to that
                         Finance Document or other agreement or instrument as amended, novated,
                         supplemented, extended or restated;

               (v)       a group of Lenders includes all the Lenders;

               (vi)      guarantee means (other than in clause 20 (Guarantee and Indemnity)) any
                         guarantee, letter of credit, bond, indemnity or similar assurance against loss, or
                         any obligation, direct or indirect, actual or contingent, to purchase or assume any
                         indebtedness of any person or to make an investment in or loan to any person or to
                         purchase assets of any person where, in each case, such obligation is assumed in
                         order to maintain or assist the ability of such person to meet its indebtedness;

               (vii)     indebtedness includes any obligation (whether incurred as principal or as surety)
                         for the payment or repayment of money, whether present or future, actual or
                         contingent;

               (viii)    a person includes any individual, firm, company, corporation, government, state or
                         agency of a state or any association, trust, joint venture, consortium, partnership or
                         other entity (whether or not having separate legal personality);

               (ix)      a regulation includes any regulation, rule, official directive, request or guideline
                         (whether or not having the force of law) of any governmental, intergovernmental or
                         supranational body, agency, department or of any regulatory, self-regulatory or
                         other authority or organisation;

               (x)       including means including without limitation;

               (xi)      a provision of law is a reference to that provision as amended or re-enacted;

               (xii)     a time of day is a reference to Central European Time;

               (xiii)    the Interest Period of a Credit Instrument will be construed as a reference to the
                         Term of that Credit Instrument;

               (xiv) an amount borrowed includes any amount utilised by way of a Fronted Facility;

               (xv)      a Utilisation made or to be made to a Borrower includes a Fronted Facility entered
                         into or issued on its behalf;

               (xvi) a Lender funding its participation in a Utilisation includes a Lender issuing or
                     entering into or participating in a Fronted Facility;




  BD-#32148460-v3                                    41
18-13374-mew          Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 382 of 692


               (xvii) amounts outstanding under this Agreement include amounts outstanding under or
                      in respect of a Fronted Facility;

               (xviii) an outstanding amount of a Fronted Facility at any time is the maximum amount
                       that is or may be payable by a Borrower in respect of that Fronted Facility at that
                       time;

               (xix) a Borrower repaying or prepaying a Credit Instrument means:

                       (A)   that Borrower providing cash cover for that Credit Instrument;

                       (B)   the maximum amount payable under the Credit Instrument being reduced in
                             accordance with its terms; or

                       (C)   the Issuing Bank which issued the Credit Instrument being satisfied that it
                             has no further liability under that Credit Instrument,

                       and the amount by which a Credit Instrument is repaid or prepaid under sub-
                       clauses (A) and (B) above is the amount of the relevant cash cover or reduction;
                       and

               (xx)    a Borrower providing cash cover for a Credit Instrument means that Borrower
                       paying an amount equal to the maximum actual and contingent liabilities of the
                       relevant Lender under such Credit Instruments in the currency of the Credit
                       Instrument to an interest-bearing account in the name of that Borrower and the
                       following conditions are met:

                       (A)   the account is with the relevant Issuing Bank which issued the Credit
                             Instrument;

                       (B)   cash cover in the form of deposits shall not bear interest other than any
                             interest earned on the investment of such deposits, which investments shall
                             be made at the option and sole discretion of the Issuing Bank and at the
                             Borrowers’ risk and expense;

                       (C)   withdrawals from the account may only be made to pay a Finance Party
                             amounts due and payable to it under this Agreement in respect of that Credit
                             Instrument until no amount is or may be outstanding under that Credit
                             Instrument; and

                       (D)   the Borrower has executed a security document, in form and substance
                             satisfactory to the Facility Agent and the Issuing Bank with which that
                             account is held, creating a first ranking security interest over that account;
                             and

               (xxi) a Lender's participation in relation to a Fronted Facility shall be construed as a
                     reference to the relevant amount that is or may be payable by a Lender in relation
                     to that Fronted Facility.

        (b)    In determining the amount of the Available Facility for the purposes of this Agreement the
               Commitment of a Lender will be calculated ignoring any cash cover provided for
               outstanding Credit Instruments.

        (c)    Section, clause and Schedule headings are for ease of reference only.

        (d)    Unless a contrary indication appears, a term used in any other Finance Document or in
               any notice given under or in connection with any Finance Document has the same
               meaning in that Finance Document or notice as in this Agreement.




  BD-#32148460-v3                                 42
18-13374-mew               Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                    Pg 383 of 692


           (e)         A Default (other than an Event of Default) is continuing if it has not been remedied or
                       waived and an Event of Default is continuing if it has not been waived.

           (f)         A Borrower’s obligation on Utilisations becoming due and payable includes the Borrower
                       repaying any Credit Instrument in accordance with paragraph (a)(xix) above.

     1.3           Belgian terms

                 where it relates to a Belgian Obligor, a reference to :

                 (a)      “gross negligence” is a reference to zware fout/faute lourde and “wilful misconduct”
                          is a reference to opzet/dol;

                 (b)      a “liquidator”, “compulsory manager”, “receiver”, “administrative receiver”,
                          “administrator” or similar officer includes any insolventiefunctionaris/praticien de
                          l’insolvabilité, curator/curateur, vereffenaar/liquidateur, gedelegeerd rechter/juge
                          délégué, ondernemingsbemiddelaar/médiateur d’entreprise, gerechtsmandataris/
                          mandataire de justice, voorlopig bewindvoerder/administrateur provisoire, gerechtelijk
                          bewindvoerder/administrateur judiciaire, mandataris ad hoc/mandataire ad hoc and
                          any sekwester/séquestre;

                 (c)      a “suspension of payments”, “moratorium of any indebtedness”, or
                          “reorganisation” includes any gerechtelijke reorganisatie/réorganisation judiciaire;

                 (d)      an “insolvency” includes any insolventieprocedure/procedure d’insolvabilité,
                          gerechtelijke reorganisatie/réorganisation judiciaire, faillissement/faillite and any other
                          concurrence between creditors (samenloop van schuldeisers/concours des
                          créanciers);

                 (e)      a “security interest” includes a mortgage (hypotheek/hypothèque), a pledge
                          (pand/gage), a transfer by way of security (overdracht ten titel van zekerheid/transfert
                          à titre de garantie), any other proprietary security interest (zakelijke zekerheid/sûreté
                          réelle), a mandate to grant a mortgage, a pledge or any other real surety, a privilege
                          (voorrecht/privilège) and a retention of title (eigendomsvoorbehoud/réserve de
                          propriété);

                 (f)      an Obligor being "incorporated" in Belgium or of which its "jurisdiction of
                          incorporation" is Belgium, means that that Obligor has its principal place of business
                          (voornaamste vestiging/établissement principal) within the meaning of the Belgian Act
                          of 16 July 2004 on the conflicts of law code) in Belgium;

                 (g)      a person being "unable to pay its debts" is that person being in a state of cessation
                          of payments (staking van betaling/cessation de paiements);

                 (h)      a "composition" includes any minnelijk akkoord met schuldeisers/accord amiable
                          avec des créanciers or any gerechtelijke reorganisatie/réorganisation judiciaire;

                 (i)      "winding-up", "administration" or "dissolution" includes any vereffening/liquidation,
                          ontbinding/dissolution, sluiting van een onderneming/fermeture d’entreprise and
                          faillissement/faillite;

                 (j)      "attachment", "sequestration", "distress", "execution" or analogous procedures
                          includes any uitvoerend    beslag/saisie exécution and bewarend beslag/saisie
                          conservatoire;



  BD-#32148460-v3                                         43
18-13374-mew               Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                    Pg 384 of 692


                 (k)      an "amalgamation", "demerger", "merger" or "corporate reconstruction" includes
                          an overdracht van algemeenheid/transfert d’universalité, an overdracht van
                          bedrijfstak/transfert de branche d’activité, a splitsing/scission and a fusie/fusion as well
                          as assimilated transactions (gelijkgestelde verrichtingen/operations assimilées) in
                          accordance with Articles 676 and 677 of the Belgian Companies Code; and

                 (l)      a "group for VAT purposes" refers to a BTW-eenheid/unité TVA and a reference to
                          the "representative member" of such group has the same meaning as the term
                          vertegenwoordiger/représentant in the Belgian Royal Decree No. 55 of 9 March 2007.

     1.4           Currency symbols and definitions

           (a)         $, USD and dollars denote the lawful currency of the United States of America;

           (b)         €, EUR, EURO and euro denote the single currency of the Participating Member States.

     1.5           Third party rights

           (a)         Other than the US DIP Administrative Agent and otherwise unless expressly provided to
                       the contrary in a Finance Document, a person who is not a Party has no right under the
                       Contracts (Rights of Third Parties) Act 1999 (the Third Parties Act) to enforce or enjoy
                       the benefit of any term of this Agreement.

           (b)         Notwithstanding any term of any Finance Document, the consent of any person who is
                       not a Party is not required to rescind or vary this Agreement at any time.

     1.6           Joint and Several Liability

           All obligations of the Borrowers under this Agreement shall be assumed jointly and severally.
           Any payment obligations of ABGG and OBTG that are not repayment obligations with respect to
           any Utilisations that such Borrower has made itself shall be limited by the restrictions set out in
           clause 20.10 (Guarantee Limitations - Germany) applied mutatis mutandis.

     1.7           Release from restrictions

           Any person authorizing any other person or granting to any other person a power of attorney,
           releases such other person from any restrictions of double representation or self-dealing under
           any applicable law, including, but not limited to, such restrictions pursuant to Section 181 of the
           German Civil Code (Bürgerliches Gesetzbuch).

     1.8           Agreed Security Principles

           Any provision contemplating or requiring the creation and/or perfection of any Security and
           anything related to the terms of any document relating to or governing the terms and conditions
           of such Security shall be subject to the Agreed Security Principles.




  BD-#32148460-v3                                          44
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                 Pg 385 of 692


                                                     Section 2
                                                    The Facility

  2         The Facilities
      2.1         The Facilities

            Subject to the terms of this Agreement and in the Interim DIP Order or the Final DIP Order, the
            Lenders make available to the Borrowers a secured multicurrency borrowing base facility
            comprising:

            (a)    Facility A in an aggregate amount equal to:

                   (i)     the Facility A Tranche 1 Total Commitments; and

                   (ii)    the Facility A Tranche 2 Total Commitments.

            (b)    Facility B in an aggregate amount equal to:

                   (i)     the Facility B Tranche 1 Total Commitments; and

                   (ii)    the Facility B Tranche 2 Total Commitments.

      2.2         Finance Parties' rights and obligations

            (a)    The obligations of each Finance Party under the Finance Documents are several. Failure
                   by a Finance Party to perform its obligations under the Finance Documents does not
                   affect the obligations of any other Party under the Finance Documents. No Finance Party
                   is responsible for the obligations of any other Finance Party under the Finance
                   Documents.

            (b)    The rights of each Finance Party under or in connection with the Finance Documents are
                   separate and independent rights and any debt arising under the Finance Documents to a
                   Finance Party from an Obligor shall be a separate and independent debt.

            (c)    A Finance Party may, except as otherwise stated in the Finance Documents, separately
                   enforce its rights under the Finance Documents.

            (d)

                   (i)     Notwithstanding any other provision of this Agreement, the issue or making
                           available of Fronted Facilities shall be entirely in the discretion of the Issuing Bank
                           or Overdraft Bank (as the case may be) and the Borrowers acknowledge that no
                           Issuing Bank or Overdraft Bank shall have any obligation or commitment to make
                           Fronted Facilities available to the Borrowers and the making of a Utilisation
                           pursuant to Facility B shall not be deemed to be a commitment to make any other
                           Utilisation under Facility B available by way of a Fronted Facility.

                   (ii)    An Issuing Bank and an Overdraft Bank shall be entitled to decline a particular
                           Utilisation Request under Facility B on a case-by-case basis without prejudicing its
                           ability to agree to subsequent Facility B Utilisation Requests.

            (e)    The obligations of the Borrowers under the Finance Documents, subject to the Carve-Out
                   and the Orders:

                   (i)     include paying or procuring the payment of the Lender Superpriority Claims, and
                           the Lender Superpriority Claims shall have recourse to and be payable from all
                           prepetition and postpetition assets of the Debtors, including, but not limited to, the




  BD-#32148460-v3                                       45
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                 Pg 386 of 692


                           Debtors’ Collateral provided that any claims pursuant hereto shall be distributed in
                           accordance with clause 34.6;

                  (ii)     pursuant to section 364(c)(2) of the Bankruptcy Code, are secured by a perfected
                           first-priority lien on substantially all now owned or hereafter acquired assets and
                           property of the Debtors, including, for the avoidance of doubt, (1) all equity
                           interests of Subsidiaries of the Parent and (2) all collateral previously pledged to
                           secure the obligations owed to the Finance Parties under this Agreement prior to
                           the Petition Date and obligations under the US Prepetition Credit Facility
                           (Prepetition Obligations);

                  (iii)    pursuant to section 364(c)(3) of the Bankruptcy Code, are secured by a perfected
                           lien on all assets of the Debtors to the extent that such assets are subject to valid,
                           perfected and non-avoidable liens in favor of third parties in existence at the time of
                           the commencement of the Cases or to valid liens in existence at the time of such
                           commencement that are perfected subsequent to such commencement as
                           permitted by Section 546(b) of the Bankruptcy Code (other than property that is
                           subject to the existing liens that secure the Prepetition Obligations and obligations
                           under the US Prepetition Credit Facility, which liens shall be primed by the liens
                           securing the Obligations); and

                  (iv)     pursuant to section 364(d) of the Bankruptcy Code, are secured by a perfected first
                           priority, senior priming lien on all assets of the Debtors (other than any Security in
                           favour of the US Secured Parties in respect of the US DIP Finance Documents)
                           including all capital stock of Subsidiaries of the Debtors and, to the extent that such
                           assets are subject to valid, perfected and non- avoidable liens in favor of third
                           parties as of the commencement of the Cases, including all accounts receivable,
                           inventory, real and personal property, plant and equipment of the Debtors that
                           secure the Prepetition Obligations.

           (f)    The priorities set forth in clause 2.2(e) are subject, in each case, only to the Carve-Out.
                  All of the Security and security interests described therein shall be effective and perfected
                  under US law as of the date that the Bankruptcy Court enters the Interim DIP Order,
                  without the necessity of the execution of mortgages, security agreements, pledge
                  agreements, financing statements, or other agreements or documents. The Debtors shall,
                  at the Debtors’ expense, execute and deliver to the Facility Agent (for recordation or
                  filing, as appropriate) Security Documents, and be authorized pursuant to the Orders to
                  file such financing statements and other instruments and documents, as shall be
                  advisable (as reasonably determined by Facility Agent) to evidence and secure the
                  obligations under this Agreement in each case as contemplated herein.

           (g)    The obligations of the Debtors to the Finance Parties under this Agreement are to be
                  further secured by perfected Security in the Debtor’s Collateral, including without
                  limitation the Litigation Claims (subject to the Final DIP Order), such Security ranking first
                  in priority subject only to Security permitted in accordance with the Finance Documents.

     2.3         Obligors' Agent

           (a)    Each Obligor (other than the Company) by its execution of this Agreement irrevocably
                  appoints the Company (acting through one or more authorised signatories) to act on its
                  behalf as its agent in relation to the Finance Documents and irrevocably authorises:

                  (i)      the Company on its behalf to supply all information concerning itself contemplated
                           by this Agreement to the Finance Parties and to give all notices and instructions
                           (including, in the case of the Borrowers, Utilisation Requests and any notices,
                           certificates or confirmations under any Finance Document), to make such
                           agreements and to effect the relevant amendments, supplements and variations
                           capable of being given, made or effected by any Obligor notwithstanding that they
                           may affect the Obligor, without further reference to or the consent of that Obligor;
                           and



  BD-#32148460-v3                                       46
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                 Pg 387 of 692


                  (ii)     each Finance Party to give any notice, demand or other communication to that
                           Obligor pursuant to the Finance Documents to the Company,

                  and in each case the Obligor shall be bound as though the Obligor itself had given the
                  notices and instructions (including, without limitation, any Utilisation Requests) or
                  executed or made the agreements or effected the amendments, supplements or
                  variations, or received the relevant notice, demand or other communication.

           (b)    Every act, omission, agreement, undertaking, settlement, waiver, amendment,
                  supplement, variation, notice or other communication given or made by the Obligors'
                  Agent or given to the Obligors' Agent under any Finance Document on behalf of another
                  Obligor or in connection with any Finance Document (whether or not known to any other
                  Obligor and whether occurring before or after such other Obligor became an Obligor
                  under any Finance Document) shall be binding for all purposes on that Obligor as if that
                  Obligor had expressly made, given or concurred with it. In the event of any conflict
                  between any notices or other communications of the Obligors' Agent and any other
                  Obligor, those of the Obligors' Agent shall prevail.

           (c)    The powers of the Company (as Obligors' Agent) under this clause 2.3 (Obligors’ Agent)
                  shall be no greater than as set out in this clause 2.3 (Obligors’ Agent) and shall remain
                  valid for so long as any amount is outstanding under the Finance Documents or any
                  Commitment is in force.

     2.4         Hedging/Clearing

           (a)    The Company may enter into commodity hedging transactions which have not been
                  cleared (the Hedging Provider Hedging Transactions) with the Hedging Providers for
                  the purpose of hedging the Company’s ongoing exposure to commodity prices. Such
                  Hedging Provider Hedging Transactions will be transacted under the 2002 Master
                  Agreement as published by the International Swaps and Derivatives Association Inc.
                  (Master Agreement).

           (b)    The Company may enter into cleared commodity hedging transactions (the Clearing
                  Provider Hedging Transactions) with the Clearing Providers. Such Clearing Provider
                  Hedging Transactions will be transacted pursuant to the Clearing Provider’s customary
                  terms of business.

           (c)    Each Borrower may enter into spot and forward foreign exchange hedging transactions
                  (the FX Hedging Provider Hedging Transactions) with the FX Hedging Providers for
                  the purpose of hedging the Borrowers’ ongoing exposure to foreign exchange risk
                  provided that:

                  (i)      any such hedging shall be directly linked to the acquisition of assets comprised in
                           the Borrowing Base;

                  (ii)     the Borrowers’ exposure under each hedging transaction shall have a maximum
                           tenor of 45 days; and

                  (iii)    such FX Hedging Provider Hedging Transactions will be transacted under a Master
                           Agreement.

           (d)    The Company may enter into Multi-Party TPA Agreements which comply with the terms
                  of this Agreement.

           (e)    No Borrower shall enter into any commodity hedging or clearing transactions or foreign
                  exchange hedging transactions or documents related to any of the same other than as
                  permitted by this clause 2.4.

           (f)    The Borrowers shall procure that all Hedging Agreements are entered into in compliance
                  with the Hedging Policy.



  BD-#32148460-v3                                     47
18-13374-mew               Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                   Pg 388 of 692


  3         Purpose
      3.1         Purpose

            (a)    Each Borrower shall apply all amounts borrowed by it under the Facilities in a manner
                   consistent with the terms of the Budget (provided that any net underspend may be carried
                   forward) or as otherwise agreed in advance in writing by the Facility Agent (acting on the
                   instructions of the Majority Lenders) from time to time towards:

                   (i)      financing any and all working capital needs and for any other general corporate
                            purposes, including without limitation, to finance the Debtors’ purchase,
                            transportation, storage, hedging and sale of Eligible Inventory and accounts
                            receivable;

                   (ii)     provision for letters of credit;

                   (iii)    payment of related transaction costs, fees, premiums, liabilities and expenses and
                            administration costs incurred in connection with the Cases and the commitment,
                            negotiation, syndication, documentation, execution and closing of the Amendment
                            and Restatement Agreement and the US DIP Credit Facility Agreement;

                   (iv)     payment of any other fees, costs and expenses payable hereunder; and

                   (v)      in addition in relation to Facility B only, financing payments to FX Hedging
                            Providers in respect of its obligations under a Master Agreement in respect of an
                            FX Hedging Provider Hedging Transaction.

            (b)    The Credit Instruments shall be used for general corporate purposes.

      3.2         Monitoring

            No Finance Party is bound to monitor or verify the application of any amount borrowed pursuant
            to this Agreement.

      3.3         The Borrowing Base

            Schedule 11 (Borrowing Base Amount) sets out the Parties’ understanding of the operation of
            the Borrowing Base.

  4         Conditions of Utilisation
      4.1         Initial conditions precedent

            (a)    No Borrower may deliver a Utilisation Request unless the Facility Agent has received all
                   of the documents and other evidence listed in Part I of Schedule 2 (Conditions precedent)
                   in form and substance satisfactory to the Facility Agent. The Facility Agent shall notify
                   the Company and the Lenders promptly upon being so satisfied.

            (b)    Other than to the extent that the Majority Lenders notify the Facility Agent in writing to the
                   contrary before the Facility Agent gives the notification described in paragraph (a) above,
                   the Lenders authorise (but do not require) the Facility Agent to give that notification. The
                   Facility Agent shall not be liable for any damages, costs or losses whatsoever as a result
                   of giving any such notification.

      4.2         Further conditions precedent

            (a)    Subject to clause 4.1 (Initial conditions precedent) and notwithstanding that the Issuing
                   Bank and Overdraft Bank shall at all times have full discretion whether to issue or enter
                   into any Fronted Facility, the Lenders will only be obliged to comply with clause 5.5



  BD-#32148460-v3                                          48
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                 Pg 389 of 692


                  (Lenders' participation in Loans) or issue or enter into a Fronted Facility if on the date of
                  the Utilisation Request and on the proposed Utilisation Date:

                  (i)      in the case of a Rollover Loan, no Event of Default is continuing or would result
                           from the proposed loan and, in the case of any other Loan, no Default is continuing
                           or would result from the proposed Utilisation;

                  (ii)     the Company has not issued a notice pursuant to clause 22.4(c) (Notification of
                           default and of expectation not to meet Budget) after the date of its last Compliance
                           Certificate (or if no Compliance Certificate has yet been provided), the date of this
                           Agreement;

                  (iii)    the Repeating Representations to be made by each Obligor are true;

                  (iv)     a Borrowing Base Report and a Cross-Check Borrowing Base Report have been
                           provided on the most recent reporting dates in accordance with clauses 22.7
                           (Borrowing Base Report);

                  (v)      no Obligor or their respective Subsidiaries, or any person claiming by or through
                           the Obligors or their respective Subsidiaries, shall have obtained court
                           authorization to commence, or shall have commenced, joined in, assisted or
                           otherwise participated as an adverse party in any suit or other proceeding against
                           any Finance Party in any Case or case relating to the Finance Documents seeking
                           to subordinate or challenging the validity, enforceability, priority or perfection of
                           Security securing the Secured Obligations;

                  (vi)     if a Borrowing Base Report was to be delivered on such date based on the
                           Borrowing Base as at that date, such Borrowing Base Report would be a
                           Compliant Borrowing Base Report; and

                  (vii)    the Majority Lenders have given their consent to the proposed Fronted Facility.

           (b)    The Lenders will only be obliged to comply with 34.10 (Change of currency) if, on the first
                  day of an Interest Period, no Default is continuing or would result from the change of
                  currency and the Repeating Representations to be made by each Obligor are true.

     4.3         Further conditions precedent for Sensitive Zones

           Without prejudice to clauses 4.1 (Initial conditions precedent) and 4.2 (Further conditions
           precedent) no Borrower may submit a Utilisation Request which relates to payments being
           made into, or investment or activity connected with, Sensitive Zones (including, without
           limitation, issuing Credit Instruments to entities established in or for the purposes of transactions
           in, or in connection with activities in, Sensitive Zones) unless the Facility Agent has received all
           of the documents and other evidence listed in Part III of Schedule 2 (Conditions precedent) in
           form and substance satisfactory to the Facility Agent.

     4.4         Further conditions precedent in relation to ABGG and OBTG

           Without prejudice to clauses 4.1 (Initial conditions precedent) and 4.2 (Further conditions
           precedent) ABGG and OBTG may not submit a Utilisation Request unless the Facility Agent
           and the Lenders have confirmed in writing that they have received evidence satisfactory to each
           such Party (including any legal opinions or other professional opinions) that there would be no
           tortious liability (for the avoidance of doubt, including liability arising under or in connection with
           creditor impairment (Gläubigergefährdung)) associated with lending to such Borrower or any
           other cost, loss or liability attributable to any breach of law or regulation.




  BD-#32148460-v3                                      49
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 390 of 692


     4.5         Further conditions precedent for issue of Credit Instruments in respect of third
                 parties

           Without prejudice to clauses 4.1 (Initial conditions precedent) and 4.2 (Further conditions
           precedent) no Borrower may submit a Utilisation Request for a Credit Instrument to be issued at
           the request of a third party unless both it and the third party have executed and delivered to the
           relevant Issuing Bank (with a copy to the Facility Agent) a Deed of Undertaking in respect of
           that Credit Instrument together with:

           (a)    such corporate and signing authorities; and

           (b)    such documentation and other evidence in order for the applicable Issuing Bank to carry
                  out and be satisfied it has complied with all necessary "know your customer" or other
                  similar checks under all applicable laws,

           as the Issuing Bank and/or the Facility Agent may reasonably request in connection therewith.

     4.6         Maximum number of Utilisations

           A Borrower (or the Company on its behalf) may not deliver a Utilisation Request if as a result of
           the proposed Utilisation the aggregate number of outstanding Loans would exceed ten (10).

     4.7         Maximum Available Amount

           A Borrower (or the Company on its behalf) may not deliver a Utilisation Request if as a result of
           the proposed Utilisation, the Outstandings (including any Outstandings which are to be incurred
           between the date of delivery of the relevant Utilisation Request and the proposed Utilisation
           Date) would exceed the Maximum Available Amount at such time.

     4.8         Fronting Bank Limit

           Each Issuing Bank and the Company shall ensure that the aggregate amount of Fronted
           Facilities in which each Fronting Bank is the Issuing Bank will not at any time exceed such
           Fronting Bank’s Fronting Bank Limit.




  BD-#32148460-v3                                   50
18-13374-mew               Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                                   Pg 391 of 692


                                                        Section 3
                                                        Utilisation

  5         Utilisation
      5.1         Delivery of a Utilisation Request and first Utilisations

            A Borrower may utilise a Facility by delivery from the Obligors’ Agent on behalf of that Borrower:

            (a)    to the Facility Agent (with a copy to the Collateral Management Agent and each Issuing
                   Bank) (in respect of any Loan under the Facilities); and

            (b)    to the Facility Agent for and on behalf of each Issuing Bank with a copy to the Collateral
                   Management Agent (in respect of a Fronted Facility),

            of a duly completed Utilisation Request not later than the Specified Time.

      5.2         Completion of a Utilisation Request for Loans

            (a)    Each Utilisation Request for a Loan under each of Facility A is irrevocable and will not be
                   regarded as having been duly completed unless:

                   (i)      it identifies the Tranche of Facility A to be utilised;

                   (ii)     it identifies the relevant Borrower in respect of whom the Utilisation request is
                            being made;

                   (iii)    the proposed Utilisation Date is a Business Day within the Availability Period
                            applicable to the relevant Tranche of Facility A;

                   (iv)     the currency and amount of the Utilisation comply with clause 5.4 (Currency and
                            amount); and

                   (v)      the proposed Interest Period complies with clause 12 (Interest Periods).

            (b)    Only one Loan may be requested in each Utilisation Request.

      5.3         Completion of a Utilisation Request for Credit Instruments

            Without prejudice to clauses 2.2(d)(i), 5.8(c) and 5.9, each Utilisation Request for a Credit
            Instrument is irrevocable and will not be regarded as having been duly completed unless:

            (a)    it specifies the proposed Fronted Facility and the applicable Tranche;

            (b)    it identifies the relevant Borrower;

            (c)    it identifies the proposed Issuing Bank which has agreed to enter into or issue the
                   Fronted Facility;

            (d)    the proposed Utilisation date is a Business Day within the Availability Period applicable to
                   the relevant Tranche of Facility B;

            (e)    the currency and amount of the Fronted Facility comply with clause 5.4 (Currency and
                   amount);

            (f)    (unless otherwise agreed by the Facility Agent and the Facility B Lenders) the Expiry
                   Date of the Fronted Facility falls on or before the Termination Date;




  BD-#32148460-v3                                         51
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                                 Pg 392 of 692


           (g)    the maximum contingent liability of the relevant Facility B Lender in respect of the Fronted
                  Facility is determinable at the time of issue or entry into of the Fronted Facility;

           (h)    the Term is specified and does not exceed the earlier of (i) ninety (90) days (unless
                  otherwise agreed by the Majority Lenders and the relevant Issuing Bank); and (ii) the date
                  that is five Business Days prior to the Termination Date; provided that at least five (5)
                  Business Days prior to the Termination Date, all Credit Instruments that expire after the
                  Termination Date shall be cash collateralized by the relevant Borrower in an amount
                  equal to 103% of the aggregate then undrawn and unexpired amount of each such Credit
                  Instrument;

           (i)    the maximum actual or contingent liability of the relevant Issuing Bank would (after
                  issuing such Credit Instrument) exceed $150,000,000.

           (j)    unless otherwise agreed by the Facility Agent and the relevant Issuing Bank, the form of
                  the Credit Instrument is attached and is in full compliance with this Agreement;

           (k)    the delivery instructions for the Credit Instrument are specified; and

           (l)    it identifies where the request is to issue a Credit Instrument at the request of a third
                  party;

           (m)    the identity of the beneficiary is:

                  (i)      in the case of a Credit Instrument other than a standby letter of credit to which
                           paragraph (B) below applies, approved by the Issuing Bank; and

                  (ii)     (unless approved all Facility B Lenders) in the case of a standby letter of credit in
                           an amount exceeding $5,000,000, a Pre-Approved SBLC Beneficiary (unless such
                           standby letter of credit is payable against a full set of original bills of lading); and

           (n)    where the Credit Instrument permits payment upon delivery of, amongst other things, a
                  letter of indemnity, the issuer of a letter of indemnity is an Eligible LOI Counterparty or
                  such letter of indemnity is countersigned by an Acceptable Bank which has agreed to
                  accept liability thereunder.

     5.4         Currency and amount

           (a)    The currency specified in a Utilisation Request must be the Base Currency or euro.

           (b)    The amount of the proposed Loan must be:

                  (i)      if the currency selected is the Base Currency, a minimum of $1,000,000 and
                           otherwise in multiples of $500,000 or, if less, the Available Facility;

                  (ii)     if the currency selected is euro, a minimum of €1,000,000 and otherwise in
                           multiples of €500,000 or, if less, the Available Facility; and

                  (iii)    in any event such that its Base Currency Amount is less than or equal to the
                           Available Facility.

           (c)    The amount of a proposed Fronted Facility must be, when aggregated with all other
                  outstanding Fronted Facilities under the relevant Tranche, less than or equal to the
                  Available Facility under that Tranche, and must not require any Lender to exceed, or
                  result in any Lender exceeding, its Available Commitment under the relevant Tranche.

           (d)    The amount of any proposed Loan or Fronted Facility must not be of an amount which
                  would, upon the Loan or Fronted Facility being made, result in a failure to comply with:

                  (i)      clause 4.7 (Maximum Facility Amount); or


  BD-#32148460-v3                                       52
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                 Pg 393 of 692


                  (ii)     clause 4.8 (Fronting Bank Limit).

           (e)    The amount of any proposed Utilisation must be such that, immediately following that
                  Utilisation, if a Borrowing Base Report was to be delivered based on the Borrowing Base
                  as at that date, such Borrowing Base Report would be a Compliant Borrowing Base
                  Report. It will be the sole responsibility of the Borrowers to ensure that this condition is
                  complied with.

     5.5         Lenders' participation in Loans and Fronted Facilities

           (a)    If the conditions set out in this Agreement have been met each Lender shall make its
                  participation in each Loan under the relevant Facility available by the Utilisation Date
                  through its Facility Office.

           (b)    The amount of each Lender's participation in each Loan under the relevant Facility will be
                  equal to the proportion borne by its Available Commitment in such Facility under the
                  applicable Tranche to the Available Facility immediately prior to making the Loan.

           (c)    The amount of each Facility B Lender's participation in each Fronted Facility will be equal
                  to its Fronted Proportion under the applicable Tranche, and such Fronted Facilities are
                  made available by the Issuing Bank and the Overdraft Bank against the Facility B
                  Lenders’ indemnity contained in clause 6.

     5.6         Role of Facility Agent and Issuing Bank

           The Facility Agent shall determine the Base Currency Amount of each Loan under any Facility
           which is to be made in euro and shall notify each relevant Lender of the amount, currency and
           the Base Currency Amount of each Loan and the amount of its participation in that Loan, in
           each case by the Specified Time.

     5.7         Cancellation of Commitment

           The Commitment in respect of a Facility which, at that time, are unutilised shall be immediately
           cancelled at the end of the Availability Period for that Facility.

     5.8         Issue of Credit Instruments

           (a)    Without prejudice to clause 2.2(d)(i), if the conditions set out in this Agreement have been
                  met, an Issuing Bank under a relevant Tranche may issue a Credit Instrument on its
                  Utilisation Date on behalf of the Facility B Lenders under the relevant Tranche.

           (b)    The Company shall procure that on the date of the Utilisation Request in respect of a
                  Credit Instrument and on the proposed Utilisation Date of that Credit Instrument:

                  (i)      the proposed Credit Instrument is on terms acceptable to the Issuing Bank;

                  (ii)     no Default is continuing or would result from the proposed Utilisation; and

                  (iii)    the Repeating Representations to be made by each Obligor are true in all material
                           respects.

           (c)    The Issuing Bank shall not comply with a Facility B Utilisation Request if it is aware, or
                  has received written confirmation from the Facility Agent (for the avoidance of doubt, the
                  Facility Agent has no duty to enquire as to or monitor compliance), that clauses 5.3 and
                  5.4 have not been complied with.

     5.9         Issue of or entry into Overdraft Facilities

                  The Overdraft Facility shall not be utilised or made available other than by operation of
                  clause 6.5.


  BD-#32148460-v3                                      53
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                Pg 394 of 692


      5.10         Fronted Facilities

             (a)    The Issuing Bank and Overdraft Bank has no duty to enquire of any person whether or
                    not any of the conditions set out in clauses 5.3, 5.4, and 5.8(b) above have been met.
                    The Issuing Bank and Overdraft Bank may assume that those conditions have been met
                    unless it is expressly notified to the contrary by the Facility Agent (for the avoidance of
                    doubt, the Facility Agent likewise has no duty to enquire, or monitor any such conditions).
                    The Issuing Bank will have no liability to any person for issuing or making available a
                    Fronted Facility based on such assumption.

             (b)    The Issuing Bank is solely responsible for the form of the Credit Instrument that it issues.
                    The Facility Agent has no duty to monitor the form of that document.

             (c)    Subject to clause 30.6(h) (Rights and discretions), each of the Issuing Bank, the
                    Overdraft Bank and the Facility Agent shall provide the other with any information
                    reasonably requested by the other and available to it that relates to a Fronted Facility and
                    its issue or granting.

             (d)    The Issuing Bank may issue a Credit Instrument in the form of a SWIFT message or
                    other form of communication customary in the relevant market but has no obligation to
                    issue that Credit Instrument in any particular form of communication.

      5.11         Appointment of additional Issuing Banks

             (a)    Subject to paragraph (b) below, any Lender which has agreed to the Company’s request
                    to be an Issuing Bank under a particular Tranche pursuant to the terms of this Agreement
                    shall become an Issuing Bank under that Tranche for the purposes of this Agreement
                    upon notifying the Facility Agent, each other Fronting Bank under the relevant Tranche
                    and the Company that it has so agreed to be an Issuing Bank and on making that
                    notification that Lender shall become bound by the terms of this Agreement as an Issuing
                    Bank.

             (b)    No person may become an Issuing Bank under this Agreement if immediately after
                    becoming the same the requirements of clause 4.8 would not be satisfied.

  6          Fronted Facilities
             Credit Instruments

       6.1         If a Credit Instrument or any amount outstanding under a Credit Instrument becomes
                   immediately payable under this Agreement, the relevant Borrower shall repay or prepay
                   that amount immediately.

       6.2         Each Borrower irrevocably and unconditionally authorises the Issuing Bank to pay any
                   claim made or purported to be made under a Credit Instrument requested by it and which
                   appears on its face to be in order (a claim).

       6.3         For the avoidance of doubt, where a Borrower requests the issue of a Credit Instrument at
                   the request of a third party then (without prejudice to clause 4.5 (Further conditions
                   precedent for issue of Credit Instruments in respect of third parties)) such Credit
                   Instrument shall be deemed to be a Utilisation of the relevant Borrower who shall be liable
                   for payments in respect of thereof in accordance with clause 6.4.

       6.4         Each Borrower which requested a Credit Instrument shall immediately on demand pay to
                   the Facility Agent for the Issuing Bank an amount equal to the amount of any claim under
                   that Credit Instrument.

       6.5         To the extent an Issuing Bank is required to make a payment in respect of a claim and that
                   Issuing Bank is also an Overdraft Bank, the amount of each such payment paid by the
                   Issuing Bank shall be converted into an Overdraft Facility with the relevant Borrower and


  BD-#32148460-v3                                      54
18-13374-mew           Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                               Pg 395 of 692


                 Issuing Bank (in its capacity as Overdraft Bank) on the date of the payment thereof without
                 the need for a Utilisation Request (notwithstanding that any conditions to the making of
                 Utilisations hereunder have not been satisfied) and the utilisation of such Overdraft Facility
                 shall be deemed to discharge the Borrower’s obligation under clause 6.4 to make payment
                 to the Issuing Bank in the amount of that claim.

     6.6         Each Borrower acknowledges that the Issuing Bank:

           (a)    is not obliged to carry out any investigation or seek any confirmation from any other
                  person before paying a claim; and

           (b)    deals in documents only and will not be concerned with the legality of a claim or any
                  underlying transaction or any available set-off, counterclaim or other defence of any
                  person.

     6.7         The obligations of a Borrower under this clause will not be affected by:

           (a)    the sufficiency, accuracy or genuineness of any claim or any other document; or

           (b)    any incapacity of, or limitation on the powers of, any person signing a claim or other
                  document.

           Credit Instruments extending beyond the Termination Date and reduction or expiry of
           Credit Instruments

     6.8         Each Borrower shall on the Termination Date provide cash cover for any Credit Instrument
                 in respect of which the Term expires after the Termination Date.

     6.9         If the amount of any Credit Instrument is wholly or partially reduced or it is repaid or
                 prepaid or it expires prior to its Expiry Date, the relevant Issuing Bank and the Borrower
                 that requested the issue of that Credit Instrument shall promptly notify the Collateral
                 Management Agent of the details upon becoming aware of them.

           Indemnities - Facility B

   6.10          Each Borrower shall immediately on demand indemnify the Issuing Bank or the Overdraft
                 Bank which has issued or entered into a Fronted Facility against any cost, loss or liability
                 incurred by that Issuing Bank or Overdraft Bank (otherwise than by reason of the that
                 Issuing Bank or Overdraft Bank’s gross negligence or wilful misconduct) in acting as an
                 Issuing Bank or Overdraft Bank under any Fronted Facility.

   6.11          Each Facility B Lender shall (according to its Fronted Proportion in a relevant Tranche)
                 immediately on demand indemnify the Issuing Bank against any cost, loss or liability
                 incurred by the Issuing Bank (otherwise than by reason of that Issuing Bank’s gross
                 negligence or wilful misconduct) in acting as the Issuing Bank under any Fronted Facility
                 under that Tranche (unless the Issuing Bank has been reimbursed by an Obligor pursuant
                 to a Finance Document). Notwithstanding any other provision of this Agreement, each
                 Facility B Lender acknowledges and agrees (for the benefit of the other Finance Parties
                 only) that:

           (a)    the Issuing Bank and the Overdraft Bank are not in a position to monitor Utilisations on a
                  live basis and accordingly, provided it complies with its own Fronting Bank Limit, a
                  Fronting Bank will be relying on (i) the Borrowers to ensure that Utilisations under Facility
                  B do not exceed the Facility B Total Commitments or the Available Facility from time to
                  time and (ii) the other Fronting Banks to ensure that they do not exceed their Fronting
                  Bank Limits; and accordingly

           (b)    it shall be liable for its proportionate share of any amount by which the Facility B Total
                  Commitments (or the applicable Facility B Tranche 1 Commitments or Facility B Tranche
                  2 Commitments) are exceeded in such manner and its indemnity to the Issuing Bank and



  BD-#32148460-v3                                    55
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 396 of 692


                 Overdraft Bank under the applicable Tranche (which is expressed to be subject to
                 absence of the relevant Issuing Bank’s or Overdraft Bank’s gross negligence or wilful
                 misconduct) which has remained within its Fronting Bank Limit will extend to cover any
                 such excess caused by another Fronting Bank exceeding its Fronting Bank Limit.

   6.12         The Borrower which requested a Fronted Facility shall immediately on demand reimburse
                any Lender for any payment it makes to the Issuing Bank under clause 6.11 in respect of
                that Fronted Facility.

   6.13         The obligations of each Lender or Borrower under this clause are continuing obligations
                and will extend to the ultimate balance of sums payable by that Lender or Borrower in
                respect of any Fronted Facility under the relevant Tranche of Facility B, regardless of any
                intermediate payment or discharge in whole or in part.

   6.14         If a Borrower has provided cash cover in respect of a Lender's participation in a Credit
                Instrument, the Issuing Bank shall seek reimbursement from that cash cover before
                making a demand of that Lender under clause 6.11 above. Any recovery made by an
                Issuing Bank pursuant to that cash cover will reduce that Lender's liability under clause
                6.11 above.

   6.15         The Borrowers’ obligations pursuant to clauses 6.12 to 6.14 above shall extend to cover
                any Lender liability under any arrangement entered into by the Finance Parties with HSH
                Nordbank AG substantially on the terms of clause 6.11 in respect of HSH Nordbank AG’s
                liabilities referred to in those clauses under the following credit instruments outstanding on
                the Effective Date:

                          Credit              Borrower         Outstanding          Expiry date
                          Instrument                           value

                          Letter         of   ABGG             EUR3,000,000         31 January 2019
                          guarantee

                          Letter         of   OBTG             EUR3,000,000         31 January 2019
                          guarantee

                          Letter of credit    OBTG             $2,580,000           7 February 2019




   6.16         The obligations of any Lender or Borrower under this clause 6 will not be affected by any
                act, omission, matter or thing which, but for this clause, would reduce, release or prejudice
                any of its obligations under this clause (without limitation and whether or not known to it or
                any other person) including:

          (a)    any time, waiver or consent granted to, or composition with, any Obligor, any beneficiary
                 under a Credit Instrument or any other person;

          (b)    the release of any other Obligor or any other person under the terms of any composition
                 or arrangement with any creditor or any member of the Group;

          (c)    the taking, variation, compromise, exchange, renewal or release of, or refusal or neglect
                 to perfect, take up or enforce, any rights against, or security over assets of, any Obligor,
                 any beneficiary under a Credit Instrument or other person or any non-presentation or
                 non-observance of any formality or other requirement in respect of any instrument or any
                 failure to realise the full value of any security;




  BD-#32148460-v3                                    56
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 397 of 692


          (d)    any incapacity or lack of power, authority or legal personality of or dissolution or change
                 in the members or status of an Obligor, any beneficiary under a Credit Instrument or any
                 other person;

          (e)    any amendment (however fundamental) or replacement of a Finance Document, any
                 Fronted Facility, any Credit Instrument or any other document or security;

          (f)    any unenforceability, illegality or invalidity of any obligation of any person under any
                 Finance Document, any Fronted Facility, any Credit Instrument or any other document or
                 security; or

          (g)    any insolvency or similar proceedings.

   6.17         Rights of contribution

          No Obligor will be entitled to any right of contribution or indemnity from any Finance Party in
          respect of any payment it may make under this clause 6.

          Cash collateral by Non-Acceptable Banks and Borrower's option to provide cash cover

   6.18         If, at any time, a Facility B Lender under a Credit Instrument is or becomes a Non-
                Acceptable Bank, the Issuing Bank and/or Overdraft Bank may, by notice to that Facility B
                Lender, request that Facility B Lender to pay and that Facility B Lender shall pay, on or
                prior to the date requested by the Issuing Bank, an amount equal to that Lender's Fronted
                Proportion of:

          (a)    the outstanding amount of a Credit Instrument;

          (b)    the maximum potential liability under an Overdraft Facility; and/or

          (c)    in the case of a proposed Credit Instrument, the amount of that proposed Credit
                 Instrument,

                and in the currency of that Fronted Facility to an interest-bearing account held in the name
                of that Facility B Lender with the Issuing Bank.

   6.19         The Facility B Lender to whom a request has been made in accordance with paragraph
                6.18 above shall enter into a security document or other form of collateral arrangement
                over the account, in form and substance satisfactory to the Issuing Bank and/or Overdraft
                Bank, as collateral for any amounts due and payable under this Agreement by that Facility
                B Lender to the Issuing Bank and/or Overdraft Bank in respect of that Fronted Facility.

   6.20         Subject to clause 6.23 below, withdrawals from such an account may only be made to pay
                the Issuing Bank and/or Overdraft Bank amounts due and payable to it under this
                Agreement by the Non-Acceptable Bank in respect of that Fronted Facility until no amount
                is or may be outstanding under that Fronted Facility.

   6.21         Each Facility B Lender shall notify the Facility Agent and the Company:

          (a)    on the date of this Agreement or on any later date on which it becomes such a Facility B
                 Lender if it is a Non-Acceptable Bank; and

          (b)    as soon as practicable upon becoming aware of the same, that it is a Non-Acceptable
                 Bank.

   6.22         Any notice received by the Facility Agent pursuant to clause 6.21 above shall constitute
                notice to the Issuing Bank and the Overdraft Bank of that Facility B Lender's status and the
                Facility Agent shall, upon receiving each such notice, promptly notify the Issuing Bank and
                the Overdraft Bank and each other Facility B Lender of that Lender's status as specified in
                that notice.


  BD-#32148460-v3                                   57
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                 Pg 398 of 692


   6.23         Notwithstanding clause 6.20 above, a Lender which has provided cash collateral in
                accordance with this clause 6 may, by notice to the Issuing Bank and the Overdraft Bank,
                request that an amount equal to the amount provided by it as collateral in respect of the
                relevant Fronted Facility (together with any accrued interest) be returned to it:

          (a)     to the extent that such cash collateral has not been applied in satisfaction of any amount
                  due and payable under this Agreement by that Lender to the Issuing Bank in respect of
                  the relevant Fronted Facility;

          (b)     if:

                  (i)      it ceases to be a Non-Acceptable Bank;

                  (ii)     its obligations in respect of the relevant Fronted Facility are transferred to another
                           Facility B Lender in accordance with the terms of this Agreement; or

                  (iii)    an Acceptable Bank has agreed to undertake that Facility B Lender's obligations in
                           respect of the relevant Fronted Facility in accordance with the terms of this
                           Agreement; and

          (c)     if no amount is due and payable by that Facility B Lender in respect of a Fronted Facility,

                and the Issuing Bank and the Overdraft Bank (as applicable) shall pay that amount to the
                Lender within three (3) Business Days of that Lender's request (and shall cooperate with
                the Lender in order to procure that the relevant security or collateral arrangement is
                released and discharged).

   6.24         To the extent that a Non-Acceptable Bank fails to provide cash collateral (or notifies the
                Issuing Bank that it will not provide cash collateral) in accordance with clauses 6.18 to 6.24
                in respect of a proposed Fronted Facility, the Issuing Bank shall promptly notify the
                Company (with a copy to the Collateral Management Agent) and the Borrower of that
                proposed Fronted Facility may, at any time before the proposed Utilisation Date of that
                Fronted Facility, provide cash cover to an account with the Issuing Bank in an amount
                equal to that Lender's Fronted Proportion of the amount of that proposed Fronted Facility.

   6.25         As an alternative to providing cash collateral under this clause 6, a Non-Acceptable Bank
                may satisfy its cash collateral obligations by providing to the Issuing Bank and/or the
                Overdraft Bank (as applicable) in a form and substance satisfactory to the Issuing Bank
                and/or the Overdraft Bank and the Facility Agent such security or other credit support as
                the Issuing Bank, Overdraft Bank and Facility Agent may require in support of such Non-
                Acceptable Bank’s obligations in respect of Fronted Facilities under the relevant Tranche
                of Facility B.

          Requirement for cash cover from Borrower

   6.26         If:

          (a)     a Non-Acceptable Bank fails to provide cash collateral or make a required payment (or
                  notifies the Issuing Bank and/or Overdraft Bank (as the case may be) that it will not
                  provide cash collateral or make such repayment) in accordance with clauses 6.18 to 6.24
                  (Cash collateral by Non Acceptable Lender and Borrower's option to provide cash cover)
                  in respect of a Fronted Facility that has been issued or made available;

          (b)     the Issuing Bank and/or the Overdraft Bank (as the case may be) notifies the Company
                  (with a copy to the Collateral Management Agent) that it requires the Borrower of the
                  relevant: (i) Credit Instrument to provide cash cover to an account with the Issuing Bank
                  in an amount equal to that Lender's Fronted Proportion of the outstanding amount of that
                  Credit Instrument; or (ii) Overdraft Facility to repay that Lender’s Fronted Proportion of
                  such Overdraft Facility; and




  BD-#32148460-v3                                      58
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                Pg 399 of 692


          (c)    that Borrower has not already provided such cash cover or repayment which (in the case
                 of cash cover) is continuing to stand as collateral,

                then that Borrower shall provide such cash cover and make such repayment within three
                (3) Business Days of the notice referred to in paragraph (b) above.

          Regulation and consequences of cash cover provided by Borrower

   6.27         Notwithstanding clause 1.2(a)(xx) (Construction), the relevant Borrower may request that
                an amount equal to the cash cover (together with any accrued interest) provided by it
                pursuant to clauses 6.18 to 6.24 (Cash collateral by Non-Acceptable Bank and Borrower's
                option to provide cash cover) or clause 6.26 (Requirement for cash cover from Borrower)
                be returned to it:

          (a)    to the extent that such cash cover has not been applied in satisfaction of any amount due
                 and payable under this Agreement by that Borrower to the Issuing Bank in respect of a
                 Credit Instrument;

          (b)    if:

                 (i)      the relevant Lender ceases to be a Non-Acceptable Bank;

                 (ii)     the relevant Lender's obligations in respect of the Credit Instrument are transferred
                          to another Facility B Lender under the same Tranche in accordance with the terms
                          of this Agreement; or

                 (iii)    an Acceptable Bank has agreed to undertake that Facility B Lender's obligations in
                          respect of the relevant Credit Instrument in accordance with the terms of this
                          Agreement;

          (c)    if no amount is due and payable by the relevant Lender in respect of the relevant Credit
                 Instrument; and

          (d)    if no Default is continuing,

                 and the Issuing Bank shall pay that amount to that Borrower within three (3) Business
                 Days of that Borrower's request.

   6.28         To the extent that a Borrower has provided cash cover pursuant to clauses 6.18 to 6.24
                (Cash collateral by Non-Acceptable Bank and Borrower's option to provide cash cover) or
                clause 6.26 (Requirement for cash cover from Borrower), the relevant Lender's Fronted
                Proportion in respect of that Credit Instrument will remain (but that Lender's obligations in
                relation to that Credit Instrument may be satisfied in accordance with clause 1.2(a)(xx)(B)
                (Construction)). However the relevant Borrower's obligation to pay any Credit Instrument
                fee in relation to the relevant Credit Instrument to the Collection Account (for the account of
                that Lender) in accordance with clause 14.2 (Facility B fees) will be reduced
                proportionately as from the date on which it provides that cash cover (and for so long as
                the relevant amount of cash cover continues to stand as collateral).

   6.29         The relevant Issuing Bank shall promptly notify the Collateral Management Agent of the
                extent to which a Borrower provides cash cover or repays an Overdraft Facility pursuant to
                clauses 6.18 to 6.24 (Cash collateral by Non-Acceptable Bank and Borrower's option to
                provide cash cover) or clause 6.26 (Requirement for cash cover from Borrower) and of any
                change in the amount of cash cover so provided.

          Utilisation of Fronted Facilities when a Lender is a Non-Acceptable Bank

   6.30         If, on the proposed Utilisation Date of a Fronted Facility, any Facility B Lender under the
                applicable Tranche is a Non-Acceptable Bank and:




  BD-#32148460-v3                                     59
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                               Pg 400 of 692


          (a)    that Lender has failed to provide cash collateral to the Issuing Bank in accordance with
                 clauses 6.18 to 6.24 (Cash collateral by Non-Acceptable L/C Lender and Borrower's
                 option to provide cash cover) or an alternative in accordance with clause 6.25; and

          (b)    the Borrower of that proposed Fronted Facility has not exercised its right to provide cash
                 cover to the Issuing Bank in accordance with clause 6.24 (Cash collateral by Non-
                 Acceptable L/C Lender and Borrower's option to provide cash cover),

                 the Issuing Bank may:

                 (i)     reduce the amount of that Fronted Facility by an amount equal to the amount of the
                         participation of that Non-Acceptable Bank in respect of that Fronted Facility and
                         that Non-Acceptable Bank shall be deemed not to have any participation (or
                         obligation to indemnify the Issuing Bank) in respect of that Credit Instrument for the
                         purposes of the Finance Documents; or

                 (ii)    proceed with the Utilisation of the Fronted Facility as requested by the Borrower on
                         the basis that each Facility B Lender excluding for this purpose any Non-
                         Acceptable Bank shall participate in such Utilisation on the basis of a Fronted
                         Proportion calculated as if the Non-Acceptable Bank had ceased to be a Facility B
                         Lender, and each such Facility B Lender shall (subject to not exceeding its
                         Available Commitment) be liable for such increased Fronted Proportion in relation
                         to the Fronted Facility in the event that the Non-Acceptable Bank fails to comply
                         with its obligations to provide cash collateral hereunder.

        The Issuing Bank shall notify the Collateral Management Agent and the Company of each
        reduction made pursuant to this clause 6.30. This clause 6.30 shall not affect the participation
        of each other Lender in that Credit Instrument.

          Role of the Issuing Bank and Overdraft Bank - Facility B

   6.31         Nothing in this Agreement constitutes an Issuing Bank or Overdraft Bank which has issued
                or entered into a Fronted Facility as a trustee or fiduciary of any other person.

   6.32         An Issuing Bank or Overdraft Bank which has issued or entered into a Fronted Facility:

          (a)    shall not be bound to account to any Lender for any sum or the profit element of any sum
                 received by it for its own account in respect of a Fronted Facility;

          (b)    may accept deposits from, lend money to and generally engage in any kind of banking or
                 other business with any Obligor;

          (c)    may rely on:

                 (i)     any representation, notice or document believed by it to be genuine, correct and
                         appropriately authorised; and

                 (ii)    any statement made by a director, authorised signatory or employee of any person
                         regarding any matters which may reasonably be assumed to be within his
                         knowledge or within his power to verify;

          (d)    may engage, pay for and rely on the advice or services of any lawyers, accountants,
                 surveyors or other experts;

          (e)    may act in relation to the Fronted Facility through its personnel and agents; and

          (f)    is not responsible for:

                 (i)     the adequacy, accuracy and/or completeness of any information (whether oral or
                         written) provided by the Facility Agent, any Party (including itself), or any other


  BD-#32148460-v3                                    60
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                               Pg 401 of 692


                         person under or in connection with the Fronted Facility, the transactions
                         contemplated by the Fronted Facility or any other agreement, arrangement or
                         document entered into, made or executed in anticipation of, under or in connection
                         with the Fronted Facility; or

                 (ii)    the legality, validity, effectiveness, adequacy or enforceability of the Fronted
                         Facility or any other agreement, arrangement or document entered into, made or
                         executed in anticipation of, under or in connection with the Fronted Facility.

          Exclusion of liability

   6.33         Without limiting clause 6.34 (Exclusion of liability) below, an Issuing Bank or Overdraft
                Bank which has issued or entered into a Fronted Facility will not be liable for any action
                taken by it under or in connection with that Fronted Facility, unless directly caused by its
                gross negligence or wilful misconduct.

   6.34         No Party (other than an Issuing Bank or Overdraft Bank which has issued or entered into a
                Fronted Facility) may take any proceedings against any officer, employee or agent of that
                Issuing Bank or Overdraft Bank in respect of any claim it might have against that Issuing
                Bank or in respect of any act or omission of any kind by that officer, employee or agent in
                relation to any Fronted Facility.

          Terms of Fronted Facilities

   6.35         Except as provided below, the terms of any Fronted Facility shall be those agreed by the
                relevant Issuing Bank or Overdraft Bank and the Company.

   6.36         Those terms:

          (a)    must be based upon normal commercial terms at that time (except as varied by this
                 Agreement);

          (b)    may allow only Borrowers to use Fronted Facilities; and

          (c)    must comply with the provisions of this Agreement including, without limitation, in relation
                 to Term, currency and amount.

   6.37         If there is any inconsistency or conflict between any term of a Fronted Facility and any term
                of this Agreement, this Agreement shall prevail.

          Amendments and Waivers - Fronted Facilities

   6.38         No amendment or waiver of a term of any Fronted Facility shall require the consent of any
                Finance Party other than the relevant Issuing Bank or Overdraft Bank unless such
                amendment or waiver itself relates to or gives rise to a matter which would require an
                amendment of or under this Agreement (including, for the avoidance of doubt, under this
                clause 6).

          Multi-Party TPA Agreements

   6.39         Each of the Borrowers agrees to procure that the terms of any Multi-Party TPA Agreement
                shall comply with this clause 6.39 (Multi-Party TPA Agreements) (and the execution by a
                Finance Party of a Multi-Party TPA Agreement which does not comply with this 6.39 (Multi-
                Party TPA Agreements) shall not be construed as a waiver thereof unless expressly
                confirmed in writing by the Facility Agent acting on the instructions of the Majority
                Lenders). Each Multi-Party TPA Agreement shall:

          (a)    be expressly capable of being assigned by the Company to the Security Agent pursuant
                 to the relevant Security Agreement (but not otherwise);




  BD-#32148460-v3                                   61
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                             Pg 402 of 692


          (b)    provide that payments for the account of the Company thereunder shall be paid to its
                 relevant Collection Account;

          (c)    contain any notices and acknowledgements of assignment required by each Security
                 Agreement;

          (d)    be governed by English or Dutch law; and

          (e)    not otherwise conflict with or cause the Company to breach the terms of this Agreement
                 and any other Finance Document.

   6.40         Pursuant to a Multi-Party TPA the Company may grant Security in favour of the Hedging
                Provider or Clearing Provider (as the case may be) in respect only of the Company’s rights
                under and in connection with the Hedging Provider Hedging Transaction or Clearing
                Provider Hedging Transaction but not, for the avoidance of doubt, in respect of any
                inventory pledged to the Security Agent pursuant to the Transaction Security Documents.

          Master Agreements for FX hedging

   6.41         Unless the Hedging Provider is METSA, each of the Borrowers agrees to procure that the
                terms of any FX Hedging Provider Hedging Agreement shall comply with this clause 6.41
                (Master Agreement for FX hedging) (and the execution by a Finance Party of a FX
                Hedging Provider Hedging Agreement which does not comply with this clause 6.41 (Master
                Agreement for FX hedging) shall not be construed as a waiver thereof unless expressly
                confirmed in writing by the Facility Agent acting on the instructions of the Majority
                Lenders). Each FX Hedging Provider Hedging Agreement shall:

          (a)    be expressly capable of being assigned by the Borrower to the Security Agent pursuant
                 to the relevant Security Agreement (but not otherwise);

          (b)    provide that payments for the account of the Borrower thereunder shall be paid to its
                 relevant Collection Account;

          (c)    contain any notices and acknowledgements of assignment required by each Security
                 Agreement;

          (d)    be governed by English law; and

          (e)    not otherwise conflict with or cause the Borrower to breach the terms of this Agreement
                 and any other Finance Document.

          Inconsistency and conflict

   6.42         If there is any inconsistency or conflict between any term of a Multi-Party TPA Agreement
                or a Deed of Undertaking or a FX Hedging Provider Hedging Agreement and any term of
                this Agreement, this Agreement shall prevail.

          Replacement of a Non-Acceptable Bank

   6.43         The Company may, at any time after a Lender has:

          (a)    become and continues to be a Non-Acceptable Bank; or

          (b)    failed (and continues to fail) to provide cash collateral (or has notified the Issuing Bank,
                 the Overdraft Bank or the Company (which has notified the Facility Agent) that it will not
                 provide cash collateral) in accordance with clauses 6.18 to 6.24 (Cash collateral by Non
                 Acceptable Lender and Borrower's option to provide cash cover),

                by giving ten (10) Business Days’ notice to the Facility Agent and such Lender, replace
                such Lender by requiring such Lender to (and, to the extent permitted by law, such Lender


  BD-#32148460-v3                                   62
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                              Pg 403 of 692


              shall) transfer pursuant to clause 27 (Changes to the Lenders) all (and not part only) of its
              rights and obligations under this Agreement to another Facility B Lender under the relevant
              Tranche which is an Acceptable Bank or (if no existing Facility B Lenders wish to acquire
              the same) to an Acceptable Bank designated by the Company, in each case in accordance
              with clause 27 (Changes to Lenders).

              Any transfer of rights and obligations of a Non-Acceptable Bank pursuant to this
              clause 6.43 shall be subject to the following conditions:

               (i)      the Company shall have no right to replace the Facility Agent, the Collateral
                        Management Agent or the Security Agent;

               (ii)     neither the Facility Agent nor the Non-Acceptable Bank shall have any obligation to
                        the Company to find a replacement lender;

               (iii)    the transfer must take place no later than 10 days after the Non-Acceptable Bank
                        received the notice referred to above;

               (iv)     in no event shall the Non-Acceptable Bank be required to pay or surrender to the
                        Replacement Lender any of the fees received by the Non-Acceptable Bank
                        pursuant to the Finance Documents; and

               (v)      the Non-Acceptable Bank shall only be obliged to transfer its rights and obligations
                        pursuant to this clause once it is satisfied that it has complied with all necessary
                        "know your customer" or other similar checks under all applicable laws and
                        regulations in relation to that transfer to the replacement lender. The Non-
                        Acceptable Bank shall perform such checks as soon as reasonably practicable and
                        shall notify the Facility Agent and the Company when it is satisfied that it has
                        complied with those checks.

          Reporting of Collection Account balances

   6.44       The Collateral Management Agent shall notify to all Lenders on each Business Day the
              opening balance on each Collection Account on such day.

          Reporting of margin balances

   6.45       The Collateral Management Agent shall deliver to all Lenders on each Business Day of
              any margin statement (containing details of, amongst other things, initial margin, variation
              margin and account status) issued to the Collateral Management Agent by a Clearing
              Provider or Hedging Provider on such day (provided it is received by the Collateral
              Management Agent prior to midday on such day).




  BD-#32148460-v3                                   63
18-13374-mew             Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                                   Pg 404 of 692


                                              Section 4
                                Repayment, Prepayment and Cancellation

  7         Repayment

      7.1         Repayment of Loans

            (a)   Each Borrower which has drawn a Loan shall repay that Loan on the last day of its
                  Interest Period.

            (b)   Without prejudice to each Borrower's obligation under paragraph (a) above, if:

                  (i)     one or more Loans are to be made available to a Borrower:

                          (A)    on the same day that a maturing Loan is due to be repaid by that Borrower;

                          (B)    in the same currency as the maturing Loan; and

                          (C)    in whole or in part for the purpose of refinancing the maturing Loan; and

                  (ii)    the proportion borne by each Lender's participation in the maturing Loan to the
                          amount of that maturing Loan is the same as the proportion borne by that Lender's
                          participation in the new Loans to the aggregate amount of those new Loans,

                  the aggregate amount of the new Loans shall, unless the relevant Borrower or the Parent
                  notifies the Facility Agent to the contrary in the relevant Utilisation Request, be treated as
                  if applied in or towards repayment of the maturing Loan so that:

                          (A)    if the amount of the maturing Loan exceeds the aggregate amount of the
                                 new Loans:

                                 (1)     the relevant Borrower will only be required to make a payment under
                                         clause 34.1 (Payments to the Facility Agent) in an amount in the
                                         relevant currency equal to that excess; and

                                 (2)     each Lender's participation in the new Loans shall be treated as
                                         having been made available and applied by the relevant Borrower in
                                         or towards repayment of that Lender's participation in the maturing
                                         Loan and that Lender will not be required to make a payment under
                                         clause 34.1 (Payments to the Facility Agent) in respect of its
                                         participation in the new Loans; and

                          (B)    if the amount of the maturing Loan is equal to or less than the aggregate
                                 amount of the new Loans:

                                 (1)     the relevant Borrower will not be required to make a payment under
                                         clause 34.1 (Payments to the Facility Agent); and

                                 (2)     each Lender will be required to make a payment under clause 34.1
                                         (Payments to the Facility Agent) in respect of its participation in the
                                         new Loans only to the extent that its participation in the new Loans
                                         exceeds that Lender's participation in the maturing Loan and the
                                         remainder of that Lender's participation in the new Loans shall be
                                         treated as having been made available and applied by the relevant
                                         Borrower in or towards repayment of that Lender's participation in the
                                         maturing Loan.




  BD-#32148460-v3                                       64
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                 Pg 405 of 692


      7.2         Repayment of Overdraft Facilities

            (a)    Without prejudice to clauses 7.2(b) and 25.3(e), each Overdraft Facility shall be
                   repayable on demand and if not demanded shall be repayable on the Termination Date.

            (b)    If an Overdraft Bank proposes to demand repayment of an Overdraft Facility it shall notify
                   the Facility Agent and the Company in writing of such proposal and:

                   (i)     the Facility Agent shall inform the Collateral Management Agent and the other
                           Lenders within one (1) Business Day of receipt thereof; and

                   (ii)    (subject to clause 7.2(d)) all Overdraft Facilities with that Overdraft Bank shall be
                           repayable on the date which is five (5) Business Days from the date of the Facility
                           Agent’s notice under clause 7.2(b)(i) (the Demand Repayment Date).

            (c)    Upon receipt by each other Lender of the Facility Agent’s notice referred to in paragraph
                   7.2(b)(ii), each other Overdraft Bank shall be entitled to demand repayment on the
                   Demand Repayment Date of all (but not part) of the Overdraft Facilities entered into
                   between it and the Borrowers and shall notify the Facility Agent and the Collateral
                   Management Agent if it wishes to do so (and the amounts to be repaid) no later than two
                   (2) Business Days prior to the Demand Repayment Date. The Facility Agent shall
                   promptly notify the Company which Overdraft Banks have demanded repayment and the
                   amounts to be repaid;

            (d)    Provided that no Event of Default has occurred and is continuing, on the Demand
                   Repayment Date the Collateral Management Agent shall apply all monies held on the
                   Collection Accounts towards the discharge of the amounts demanded and due on that
                   date in respect of Overdraft Facilities. To the extent any amounts remain outstanding
                   and provided that no Event of Default occurs and is continuing the Borrowers shall have a
                   further twenty (20) days to procure that all Overdraft Facilities which have been
                   demanded are repaid in full by application of monies received from third parties into the
                   Collection Account. Failure to pay all amounts due upon the expiry of the twenty (20) day
                   period shall constitute an Event of Default.

            (e)    No Lender shall be obliged to make any Utilisation on or prior to the date on which all
                   Overdraft Facilities which have been the subject of a demand have been repaid in full by
                   the Borrowers.

  8         Voluntary prepayment and cancellation
      8.1         Voluntary cancellation

            A Borrower (or the Company on its behalf) may, if it gives the Facility Agent not less than five
            (5) Business Days' (or such shorter period as the Majority Lenders may agree) prior notice,
            cancel the whole or any part (being a minimum amount of $5,000,000 or EUR5,000,000) of an
            Available Facility. Any cancellation under this clause 8.1 shall reduce the Commitments of the
            Lenders rateably under that Facility.

      8.2         Voluntary prepayment of Loans

            (a)    A Borrower may, if it (or the Company on its behalf) gives the Facility Agent not less than
                   five (5) Business Days' (or such shorter period as the Majority Lenders may agree) prior
                   notice, prepay the whole or any part of a Loan (but, if in part, being an amount that
                   reduces the amount of that Loan by a minimum amount of $5,000,000 or EUR5,000,000
                   (as applicable)).

            (b)    A Borrower may prepay the whole or any part of a Loan without notice and in any amount
                   if necessary for the purposes of compliance with clause 24.26 (Borrowing Base Amount)




  BD-#32148460-v3                                      65
18-13374-mew               Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                  Pg 406 of 692


                   and, for the purpose of any such prepayment, the restrictions set out in paragraph (a)
                   above shall not apply.

      8.3         Right of cancellation and repayment in relation to a single Lender, Issuing Bank or
                  Overdraft Bank

            (a)    If:

                   (i)      any sum payable to any Lender or Issuing Bank or Overdraft Bank by an Obligor is
                            required to be increased under paragraph (c) of clause 15.2 (Tax gross-up);

                   (ii)     any Lender, Issuing Bank or Overdraft Bank claims indemnification from the
                            Company or an Obligor under clause 15.3 (Tax indemnity) or clause 16.1
                            (Increased costs); or

                   (iii)    at any time on or after the date which is six (6) months before the earliest FATCA
                            Application Date for any payment by a Party to a Lender (or to the Facility Agent
                            for the account of that Lender), that Lender is not, or has ceased to be, a FATCA
                            Exempt Party and, as a consequence, a Party will be required to make a FATCA
                            Deduction from a payment to that Lender (or to the Facility Agent for the account of
                            that Lender) on or after that FATCA Application Date,

                   the Company may, whilst the circumstance giving rise to the requirement for that increase
                   or indemnification or FATCA Deduction continues, give the Facility Agent notice of
                   cancellation of the Commitment of that Lender and its intention to procure the repayment
                   of that Lender's participation or liability in the Utilisations and (if such circumstances
                   relate to the Issuing Bank or Overdraft Bank) of repayment of outstanding Fronted Facility
                   issued or made available by it and cancellation of its appointment as an Issuing Bank or
                   Overdraft Bank (as the case may be) under this Agreement in relation to any Fronted
                   Facilities to be issued in the future.

            (b)    On receipt of a notice referred to in paragraph (a) above in relation to a Lender, the
                   Commitment of that Lender shall immediately be reduced to zero.

            (c)    On the last day of each Interest Period which ends after the Company has given notice
                   under paragraph (a) above in relation to a Lender (or, if earlier, the date specified by the
                   Company in that notice), each Borrower, to which a loan is outstanding shall repay that
                   Lender's participation in that Loan together with all interest and other amounts accrued
                   under the Finance Documents.

      8.4         Right of cancellation in relation to a Non-Acceptable Bank

            (a)    If any Facility B Lender becomes a Non-Acceptable Bank, the Company may, at any time
                   whilst the Facility B Lender continues to be a Non-Acceptable Bank, give the Facility
                   Agent fifteen (15) Business Days' notice of cancellation of each Available Commitment of
                   that Lender.

            (b)    On the notice referred to in paragraph (a) above becoming effective, each Available
                   Commitment of the Non-Acceptable Bank shall immediately be reduced to zero.

            (c)    The Facility Agent shall as soon as practicable after receipt of a notice referred to in
                   paragraph (a) above, notify all the Lenders.

  9         Mandatory prepayment and cancellation
      9.1         Illegality

            If it is or becomes unlawful in any applicable jurisdiction for a Lender to perform any of its
            obligations as contemplated by this Agreement or to fund, issue or maintain its participation in
            any Utilisation including to leave outstanding any Fronted Facilities, that Lender shall promptly


  BD-#32148460-v3                                       66
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                 Pg 407 of 692


           notify the Facility Agent upon becoming aware of that event and, upon the Facility Agent
           notifying the Company (and if requested by the relevant Lender):

           (a)    the Available Commitment of that Lender will be immediately cancelled; and/or

           (b)    Company shall (or shall procure that the relevant Borrower shall) immediately provide full
                  cash cover in respect of that Lender's participation in any outstanding Credit Instrument;
                  and/or

           (c)    each Borrower shall repay that Lender's participation in the Utilisations made to that
                  Borrower on the last day of the Interest Period for each Utilisation occurring after the
                  Facility Agent has notified the Company or, if earlier, the date specified by the Lender in
                  the notice delivered to the Facility Agent (being no earlier than the last day of any
                  applicable grace period permitted by law),

           and that Lender's corresponding Commitment shall be cancelled in the amount of the
           participations repaid.

     9.2         Illegality in relation to Issuing Bank

           If it becomes unlawful for an Issuing Bank to issue or leave outstanding any Fronted Facility,
           then:

           (e)    that Issuing Bank shall promptly notify the Facility Agent upon becoming aware of that
                  event;

           (f)    any obligation of such Issuing Bank to issue any Credit Instrument will be immediately
                  cancelled; and

           (g)    the Company shall, or shall notify the relevant Borrower and upon such notice that
                  Borrower shall, use its best endeavours to procure the release of each Credit Instrument
                  issued by a relevant Issuing Bank and outstanding at such time and until such release
                  has been effected the Company shall (or shall procure that the relevant Borrower shall)
                  immediately provide full cash cover in respect of such Credit Instruments.

     9.3         Change of Control

           Upon the occurrence of:

           (a)    a Change of Control; or

           (b)    the sale of all or substantially all of the assets of the Group whether in a single
                  transaction or a series of related transactions,

                  (i)      the Company shall promptly notify the Facility Agent upon becoming aware of that
                           event;

                  (ii)     a Lender shall not be obliged to fund a Utilisation;

                  (iii)    a Lender shall not be obliged to enter into or issue a Fronted Facility; and

                  (iv)     if a Lender so requires and notifies the Facility Agent within twenty (20) days of the
                           Company notifying the Facility Agent of the event the Facility Agent shall, by not
                           less than twenty (20) days’ notice to the Company, cancel the Commitment of that
                           Lender and declare the participation or liability of that Lender in all outstanding
                           Utilisations, together with accrued interest, and all other amounts accrued under
                           the Finance Documents immediately due and payable, whereupon the
                           Commitment of that Lender will be cancelled and all such outstanding amounts will
                           become immediately due and payable, and the Company shall procure that the
                           relevant Borrower shall use its best endeavours to procure the release of each


  BD-#32148460-v3                                       67
18-13374-mew              Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                  Pg 408 of 692


                            Credit Instrument issued by that Lender and outstanding at that time and until such
                            release has been effected the Company shall procure that the relevant Borrower
                            shall immediately provide full cash cover in respect of such Credit Instruments.

     9.4         Facility Accounts sweep

           (a)           For so long as any amount is outstanding under Facility A Tranche 1 or Facility B
                         Tranche 1, and subject to prior payment of any other amounts then due and payable
                         under the Finance Documents, the Borrowers shall:

                  (i)       by no later than 14:00 on the next Business Day falling 14 days after the date of
                            this Agreement (and thereafter on each Business Day falling 14 days from the date
                            of the previous payment); and

                  (ii)      otherwise at such times as the Facility Agent (acting on the instructions of the
                            Majority Lenders) may by notice require,

                         prepay Facility A Tranche 1 and Facility B Tranche 1 on a pro rata basis in an
                         aggregate amount equal to that standing to the credit of the Facility Accounts.

           (b)           The Lenders shall apportion any such prepayments as between interest and principal
                         in accordance with clause 10.2 and shall notify the Facility Agent of such allocation
                         and the Facility Agent shall not be responsible for any calculation of interest and
                         principal upon such prepayments.

           (c)           Any prepayment to be made pursuant to paragraph (a) above shall be made by way of
                         set-off of the amount to be prepaid against a deemed Utilisation of Tranche 2 of the
                         corresponding Facilty. Such deemed Utilisation by a Borrower shall not entitle the
                         Borrower to receive any cash from the Facility Agent or any Lender and,
                         notwithstanding that no such cash is exchanged, the Borrower shall thereafter owe the
                         aggregate amount of the deemed Utilisations to the Lenders under the terms hereof
                         and the Orders and they shall not constitute Prepetition Obligations. The prepaid
                         amount of the Prepetition Obligations shall be deemed to have been finally discharged
                         as a consequence of the set-off.


     9.5         Tranche 1 prepayment – Orders and Credit Instruments

           (a)           If the Orders so require, Tranche 1 of each Facility shall be prepaid on the Effective
                         Date in the amount so required (or within any applicable timeframe and in such
                         amounts imposed by the Orders).

           (b)           Any prepayment to be made pursuant to paragraph (a) above shall be made by way of
                         set-off of the amount to be prepaid against a deemed Utilisation of Tranche 2 of the
                         corresponding Facilty. Such deemed Utilisation by a Borrower shall not entitle the
                         Borrower to receive any cash from the Facility Agent or any Lender and,
                         notwithstanding that no such cash is exchanged, the Borrower shall thereafter owe the
                         aggregate amount of the deemed Utilisations to the Lenders under the terms hereof
                         and the Orders and they shall not constitute Prepetition Obligations. The prepaid
                         amount of the Prepetition Obligations shall be deemed to have been finally discharged
                         as a consequence of the set-off.

           (c)           Any Credit Instruments issued by an Issuing Bank under Tranche 1 of Facility B which
                         are outstanding as at the Effective Date shall be deemed, from the Effective Date, to
                         have been issued under Tranche 2 of Facility B (and not under Tranche 1 of Facility B)
                         in the same amount and on the same terms and the outstanding Utilisations under
                         Tranche 1 and Tranche 2 shall be deemed adjusted accordingly.




  BD-#32148460-v3                                      68
18-13374-mew            Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                Pg 409 of 692


 10          Restrictions
      10.1         Notices of Cancellation or Prepayment

             Any notice of cancellation, prepayment, authorisation or other election given by any Party under
             clause 8 (Voluntary prepayment and cancellation) or clause 9 (Mandatory prepayment and
             cancellation) shall (subject to the terms of those clauses) be irrevocable and, unless a contrary
             indication appears in this Agreement, shall specify the date or dates upon which the relevant
             cancellation or prepayment is to be made and the amount of that cancellation or prepayment.

      10.2         Interest and other amounts

             Any prepayment under this Agreement shall be made together with accrued interest on the
             amount prepaid and, subject to any Break Costs, without premium or penalty.

      10.3         Prepayment in accordance with Agreement

             (a)    Unless a contrary indication appears in this Agreement, any part a Facility which is
                    prepaid or repaid may be reborrowed in accordance with the terms of this Agreement.

             (b)    The Borrowers shall not repay or prepay all or any part of the Loans or cancel all or any
                    part of the Commitments except at the times and in the manner expressly provided for in
                    this Agreement.

      10.4         No reinstatement of Commitments

             No amount of the Total Commitments cancelled under this Agreement may be subsequently
             reinstated.

      10.5         Facility Agent's receipt of Notices

             If the Facility Agent receives a notice under clause 8 (Voluntary prepayment and cancellation)
             or clause 9 (Mandatory prepayment and cancellation), it shall promptly forward a copy of that
             notice or election to the Company or the affected Lender(s), as appropriate.

      10.6         Effect of repayment and prepayment on Commitments

             If all or part of any Lender's participation in a Loan is repaid or prepaid and is not available for
             redrawing, an amount of that Lender's Commitment (equal to the Base Currency Amount of the
             participation which is repaid or prepaid) will be deemed to be cancelled on the date of
             repayment or prepayment.

      10.7         Effect of the Intercreditor Agreement

             Any obligation of any Obligor to make a mandatory prepayment under this Agreement shall be
             subject to the terms and conditions of the Intercreditor Agreement.




  BD-#32148460-v3                                      69
18-13374-mew             Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                  Pg 410 of 692


                                                     Section 5
                                                 Costs of Utilisation

 11          Interest
      11.1         Calculation of interest - Loans

             The rate of interest on each Loan for each Interest Period is the percentage rate per annum
             which is the aggregate of the applicable:

             (a)    Margin; and

             (b)    LIBOR.

      11.2         Calculation of interest – Overdraft Facilities

             The rate of interest on each Overdraft Facility is the percentage rate per annum which is the
             aggregate of:

             (a)    the Facility B Margin; and

             (b)    LIBOR.

      11.3         Payment of interest

             (a)    Loans

             On the last day of each Interest Period (and, if the Interest Period relating to Facility B is longer
             than one (1) Month, on the dates falling at Monthly intervals after the first day of the Interest
             Period) the Borrower to which a Loan has been made shall pay accrued interest on the Loan to
             which that Interest Period relates provided that in relation to Interest Periods relating to Facility
             A no payment shall be required to be made unless permitted by the Bankruptcy Court and, if not
             so permitted, interest shall accrue on a compounded basis until the Termination Date.

             (b)    Overdraft Facilities

             Interest in respect of Overdraft Facilities shall accrue on a daily basis and shall be calculated
             and payable within five (5) Business Days after the end of each calendar month
             (notwithstanding that the Overdraft Facility may have been cancelled and/or repaid during that
             month in accordance with its terms and/or with the terms of this Agreement). On the calculation
             date each Overdraft Bank shall notify the Company of any interest payable by the Borrowers as
             at that date. A failure by an Overdraft Bank to notify the Company of any interest payable
             hereunder shall not prejudice the Lenders’ rights to receive such interest. The amount of
             interest payable to an Overdraft Bank shall be payable from an Overdraft Facility with such
             Overdraft Bank without the need for a Utilisation Request provided the conditions in clauses
             5.4(b)(ii) to 5.4(e) are met (the Overdraft Bank is authorised and instructed to transfer the
             relevant funds directly to the Collection Account), failing which the Company shall instruct the
             payment and, if not done by the Company within three (3) Business Days, the Collateral
             Management Agent shall be authorised to debit the Collection Account (and the Borrowers shall
             immediately pay any shortfall to the extent all interest obligations are not satisfied therefrom).

      11.4         Default interest

             (a)    If an Obligor fails to pay any amount payable by it under a Finance Document on its due
                    date, interest shall accrue on the overdue amount from the due date up to the date of
                    actual payment (both before and after judgment) at a rate which, subject to paragraph (i)
                    below, is two (2) per cent. per annum higher than:




  BD-#32148460-v3                                      70
18-13374-mew               Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                  Pg 411 of 692


                    (i)     in respect of a Loan, the rate which would have been payable if the overdue
                            amount had, during the period of non-payment, constituted a Loan under the
                            relevant Facility in the currency of the overdue amount for successive Interest
                            Periods, each of a duration selected by the Facility Agent (acting reasonably; and

                    (ii)    in respect of an Overdraft Facility, the rate which would have been payable if the
                            overdue amount had, during the period of non-payment, constituted an Overdraft
                            Facility of the type to which the overdue amount relates in the currency of the
                            overdue.

                    Any interest accruing under this clause 11.4 shall be immediately payable by the Obligor
                    on demand by the Facility Agent.

             (b)    If any overdue amount consists of all or part of a Utilisation which became due on a day
                    which was not the last day of an Interest Period relating to that Utilisation:

                    (i)     the first Interest Period for that overdue amount shall have a duration equal to the
                            unexpired portion of the current Interest Period relating to that Utilisation; and

                    (ii)    the rate of interest applying to the overdue amount during that first Interest Period
                            shall be two (2) per cent. per annum higher than the rate which would have applied
                            if the overdue amount had not become due.

             (c)    Default interest (if unpaid) arising on an overdue amount will be compounded with the
                    overdue amount at the end of each Interest Period applicable to that overdue amount but
                    will remain immediately due and payable.

      11.5         Notification of rates of interest

             (a)    The Facility Agent shall promptly notify the relevant Lenders and the relevant Borrower
                    (or the Company) of the determination of a rate of interest under this Agreement in
                    respect of any Facility other than the Fronted Facilities.

             (b)    The relevant Overdraft Bank shall notify the relevant Borrower of a determination of a rate
                    of interest in respect of an Overdraft Facility.

 12          Interest Periods
      12.1         Selection of Interest Periods

             (a)    Subject to paragraph (b) below, a Borrower (or the Company on behalf of a Borrower)
                    may select an Interest Period relating to Facility A of three (3) Months or any other period
                    agreed between the Borrower (or the Company on its behalf) and the Facility Agent
                    (acting on the instructions of the Majority Lenders).

             (b)    An Interest Period for a Loan shall not extend beyond the Termination Date applicable to
                    its Facility.

             (c)    A Loan has one Interest Period only.

      12.2         Non-Business Days

             If an Interest Period would otherwise end on a day which is not a Business Day, that Interest
             Period will instead end on the next Business Day in that calendar month (if there is one) or the
             preceding Business Day (if there is not).




  BD-#32148460-v3                                       71
18-13374-mew               Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                  Pg 412 of 692


 13          Changes to the Calculation of Interest
      13.1         Absence of quotations

             Subject to clause 13.2 (Market disruption) if LIBOR is to be determined by reference to the
             Reference Banks but a Reference Bank does not supply a quotation by the Specified Time on
             the Quotation Day, the applicable LIBOR shall be determined on the basis of the quotations of
             the remaining Reference Banks.

      13.2         Market disruption

             (a)    If a Market Disruption Event occurs in relation to a Loan for any Interest Period, then the
                    rate of interest on each Lender's share of that Loan for the Interest Period shall be the
                    percentage rate per annum which is the sum of:

                    (i)     the Margin; and

                    (ii)    the rate notified to the Facility Agent by that Lender as soon as practicable and in
                            any event before interest is due to be paid in respect of that Interest Period, to be
                            that which expresses as a percentage rate per annum the cost to that Lender of
                            funding its participation in that Loan from whatever source it may reasonably
                            select.

             (b)    If:

                    (i)     the percentage rate per annum notified by a Lender pursuant to paragraph (a)(ii)
                            above is less than LIBOR; or

                    (ii)    a Lender has not notified the Facility Agent of a percentage rate per annum
                            pursuant to paragraph (a)(ii) above,

                    the cost to that Lender of funding its participation in that Loan for that Interest Period shall
                    be deemed, for the purposes of paragraph (a) above, to be LIBOR.

             (c)    If a Market Disruption Event occurs, the Facility Agent shall, as soon as is practicable,
                    notify the Company.

             (d)    In this Agreement:

                    Market Disruption Event means:

                    (i)     at or about noon on the Quotation Day for the relevant Interest Period LIBOR is to
                            be determined by reference to the Reference Banks and none or only one of the
                            Reference Banks supplies a rate to the Facility Agent to determine LIBOR for the
                            relevant currency and Interest Period; or

                    (ii)    before close of business in London on the Quotation Day for the relevant Interest
                            Period, the Facility Agent receives notifications from a Lender or Lenders (whose
                            participations in a Loan exceed twenty (20) per cent. of that Loan) that the cost to it
                            of funding its participation in that Loan from whatever source it may reasonably
                            select would be in excess of LIBOR.

      13.3         Alternative basis of interest or funding

             (a)    If a Market Disruption Event occurs and the Facility Agent (acting on the instructions of all
                    the Lenders) or the Company so requires, the Facility Agent and the Company shall enter
                    into negotiations (for a period of not more than thirty (30) days) with a view to agreeing a
                    substitute basis for determining the rate of interest.




  BD-#32148460-v3                                        72
18-13374-mew                Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                                   Pg 413 of 692


             (b)    Any alternative basis agreed pursuant to paragraph (a) above shall, with the prior consent
                    of all the Lenders and the Company, be binding on all Parties.

      13.4         Break Costs

             (a)    Each Borrower shall, within three Business Days of demand by a Finance Party, pay to
                    that Finance Party its Break Costs attributable to all or any part of a Loan or Unpaid Sum
                    being paid by that Borrower on a day other than the last day of an Interest Period for that
                    Loan or Unpaid Sum.

             (b)    Each Lender shall, as soon as reasonably practicable after a demand by the Facility
                    Agent, provide a certificate confirming the amount of its Break Costs for any Interest
                    Period in which they accrue.

 14          Fees
      14.1         Up-front fee

             (a)    The Company shall pay to the Facility Agent an up-front fee in an aggregate amount of
                    US$4,500,000 (being an amount equal to one point five (1.5%) per cent. of the Total
                    Commitments in respect of Facility A Tranche 2 and Facility B Tranche 2 as at the
                    Effective Date) for the account of each Lender in proportion to its Commitment in Facility
                    A Tranche 2 and Facility B Tranche 2.

             (b)    The up-front fee is payable on the Effective Date.

      14.2         Agency fee

                    The Company shall pay to the Facility Agent (a) (for the account of the Facility Agent and
                    Security Agent) an agency fee of US$10,000 in aggregate and; (b) (for the account of the
                    Collateral Management Agent) an agency fee of US$65,000, in each case payable on the
                    Effective Date and Monthly thereafter until the end of the Joint Security Period.

      14.3         Facility B fees

         (a)        The Company shall pay the relevant Issuing Bank (for the account of each relevant
                    Facility B Lender) fees in Dollars calculated at the following rates:

                    (i)      in respect of each documentary letter of credit issued by an Issuing Bank, 3.50%
                             flat per annum or part thereof of the value of the letter of credit or the amount of the
                             drawings honoured thereunder, whichever is higher, payable (subject to paragraph
                             (b) below) upon maturity;

                    (ii)     in respect of each standby letter of credit issued by an Issuing Bank, 3.50% flat per
                             annum or part thereof of the value of the standby letter of credit or the amount paid
                             in cancellation of the standby letter of credit, whichever is higher, payable (subject
                             to paragraph (b) below) upon maturity; and

                    (iii)    in respect of each guarantee issued by an Issuing Bank, 3.50% per annum of the
                             maximum amount of the guarantee payable (subject to paragraph (b) below) upon
                             issuance of the guarantee.

         (b)        Facility B fees payable to an Issuing Bank (other than fronting fees) shall be calculated
                    and payable within one Business Day after the end of each calendar month. On the
                    calculation date each Issuing Bank shall notify the Company of any fees (other than
                    fronting fees) payable by the Borrowers as at that date. A failure by an Issuing Bank to
                    notify the Company of any such fees shall not prejudice the Lenders’ rights to receive the
                    same. If the relevant Issuing Bank is also an Overdraft Bank, such fees shall be payable
                    from an Overdraft Facility with such Issuing Bank (in its capacity as Overdraft Bank)
                    without the need for a Utilisation Request provided the conditions in clauses 5.4(c) to


  BD-#32148460-v3                                         73
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 414 of 692


                5.4(e) are met (the Overdraft Bank is authorised and instructed to transfer the relevant
                funds directly to the Collection Account), failing which the Company shall instruct the
                payment and, if not done by the Company within three (3) Business Days, the Collateral
                Management Agent shall be authorised to debit the Collection Account (and the
                Borrowers shall immediately pay any shortfall to the extent all interest obligations are not
                satisfied therefrom).

   14.4        Fronting fees – Facility B Tranche 2

          The Borrowers shall pay to the Issuing Bank (for its own account) a fronting fee of 0.20% per
          annum on the average daily Facility B Tranche 2 Outstandings (including in respect of Credit
          Instruments deemed to have been issued under Facility B Tranche 2 pursuant to clause 9.5).
          Such fees are to be calculated and payable within one Business Day after the end of each
          calendar month. Such fees shall be payable from an Overdraft Facility with the relevant
          Overdraft Bank or (if it is also an Overdraft Bank) Issuing Bank (in its capacity as Overdraft
          Bank) without the need for a Utilisation Request provided the conditions in clauses 5.4(c) to
          5.4(e) are met (the Overdraft Bank is authorised and instructed to debit the relevant Overdraft
          Facility for its own account), failing which (including if the relevant Issuing Bank is not an
          Overdraft Bank) the Company shall instruct the payment and, if not done by the Company within
          three (3) Business Days, the Collateral Management Agent shall be authorised to debit the
          Collection Account for payment to the relevant Issuing Bank or Overdraft Bank (and the
          Borrowers shall immediately pay to the Issuing Bank or Overdraft Bank any shortfall to the
          extent such fronting fee is not satisfied therefrom).




  BD-#32148460-v3                                  74
18-13374-mew              Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                Pg 415 of 692


                                                 Section 6
                                      Additional Payment Obligations

 15          Tax Gross Up and Indemnities
      15.1         Definitions

             (a)    In this Agreement:

                    FATCA Payment means either:

                    (a)   the increase in a payment made by an Obligor to a Finance Party under clause
                          15.8 (FATCA Deduction and gross-up by Obligor) or clause 15.9 (FATCA
                          Deduction by Finance Party); or

                    (b)    a payment under clause 15.9 (FATCA Deduction by Finance Party).

                    Protected Party means a Finance Party which is or will be subject to any liability or
                    required to make any payment for or on account of Tax in relation to a sum received or
                    receivable (or any sum deemed for the purposes of Tax to be received or receivable)
                    under a Finance Document.

                    Tax Credit means a credit against, relief or remission for, or repayment of, any Tax.

                    Tax Deduction means a deduction or withholding for or on account of Tax from a
                    payment under a Finance Document, other than a FATCA Deduction.

                    Tax Payment means either the increase in a payment made by an Obligor to a Finance
                    Party under clause 15.2 (Tax gross-up) or a payment under clause 15.3 (Tax indemnity).

             (b)    Unless a contrary indication appears, in this clause 15 a reference to determines or
                    determined means a determination made in the absolute discretion of the person making
                    the determination.

      15.2         Tax gross-up

             (a)    Each Obligor shall make all payments to be made by it without any Tax Deduction, unless
                    a Tax Deduction is required by law.

             (b)    The Company shall promptly upon becoming aware that an Obligor must make a Tax
                    Deduction (or that there is any change in the rate or the basis of a Tax Deduction) notify
                    the Facility Agent accordingly. Similarly, a Lender, Overdraft Bank or Issuing Bank shall
                    notify the Facility Agent on becoming so aware in respect of a payment payable to that
                    Lender, Overdraft Bank or Issuing Bank. If the Facility Agent receives such notification
                    from a Lender, Overdraft Bank or Issuing Bank it shall notify the Company and that
                    Obligor.

             (c)    If a Tax Deduction is required by law to be made by an Obligor, the amount of the
                    payment due from that Obligor shall be increased to an amount which (after making any
                    Tax Deduction) leaves an amount equal to the payment which would have been due if no
                    Tax Deduction had been required.

             (d)    If an Obligor is required to make a Tax Deduction, that Obligor shall make that Tax
                    Deduction and any payment required in connection with that Tax Deduction within the
                    time allowed and in the minimum amount required by law.

             (e)    Within thirty (30) days of making either a Tax Deduction or any payment required in
                    connection with that Tax Deduction, the Obligor making that Tax Deduction shall deliver
                    to the Facility Agent for the Finance Party entitled to the payment evidence reasonably



  BD-#32148460-v3                                     75
18-13374-mew            Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                Pg 416 of 692


                 satisfactory to that Finance Party that the Tax Deduction has been made or (as
                 applicable) any appropriate payment paid to the relevant taxing authority.

   15.3         Tax indemnity

          (a)    The Company shall (within three Business Days of demand by the Facility Agent) pay to
                 a Protected Party an amount equal to the loss, liability or cost which that Protected Party
                 determines will be or has been (directly or indirectly) suffered for or on account of Tax by
                 that Protected Party in respect of a Finance Document.

          (b)    Paragraph (a) above shall not apply:

                 (i)     with respect to any Tax assessed on a Finance Party under the law of the
                         jurisdiction in which:

                         (A)    that Finance Party is incorporated or, if different, the jurisdiction (or
                                jurisdictions) in which that Finance Party is treated as resident for tax
                                purposes; or

                         (B)    that Finance Party's Facility Office is located in respect of amounts received
                                or receivable in that jurisdiction,

                         if that Tax is imposed on or calculated by reference to the net income received or
                         receivable (but not any sum deemed to be received or receivable) by that Finance
                         Party; or

                 (ii)    to the extent a loss, liability or cost:

                         (A)    is compensated for by an increased payment under clause 15.2 (Tax gross-
                                up), clause 15.8 (FATCA Deduction and gross-up by Obligor) or clause 15.9
                                (FATCA Deduction by Finance Party); or

                         (B)    is compensated for by a payment under clause 15.9 (FATCA Deduction by
                                Finance Party).

          (c)    A Protected Party making, or intending to make a claim under paragraph (a) above shall
                 promptly notify the Facility Agent of the event which will give, or has given, rise to the
                 claim, following which the Facility Agent shall notify the Company.

          (d)    A Protected Party shall, on receiving a payment from an Obligor under this clause 15.3,
                 notify the Facility Agent.

   15.4         Tax Credit

          If an Obligor makes a Tax Payment and the relevant Finance Party determines that:

          (a)    a Tax Credit is attributable to an increased payment of which that Tax Payment forms
                 part, to that Tax Payment or to a Tax Deduction in consequence of which that Tax
                 Payment was required; and

          (b)    that Finance Party has obtained, utilised and retained that Tax Credit,

          the Finance Party shall pay an amount to the Obligor which that Finance Party determines will
          leave it (after that payment) in the same after-Tax position as it would have been in had the Tax
          Payment not been required to be made by the Obligor.

   15.5         Stamp taxes

          The Company shall pay and, within three (3) Business Days of demand, indemnify each
          Secured Party against any cost, loss or liability that Secured Party incurs in relation to all stamp


  BD-#32148460-v3                                       76
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 417 of 692


          duty, registration and other similar Taxes payable in respect of any Finance Document,
          provided that this Clause shall not apply in respect of any stamp duty, registration or similar
          Taxes payable in respect of an assignment, sub-participation or transfer by a Secured Party of
          any of its rights or obligations under a Finance Document.

   15.6         VAT

          (a)   All amounts expressed to be payable under a Finance Document by any Party to a
                Finance Party which (in whole or in part) constitute the consideration for any supply for
                VAT purposes are deemed to be exclusive of any VAT which is chargeable on that
                supply, and accordingly, subject to paragraph (b) below, if VAT is or becomes chargeable
                on any supply made by any Finance Party to any Party under a Finance Document and
                such Finance Party is required to account to the relevant tax authority for the VAT, that
                Party must pay to such Finance Party (in addition to and at the same time as paying any
                other consideration for such supply) an amount equal to the amount of the VAT (and such
                Finance Party must promptly provide an appropriate VAT invoice to that Party).

          (b)   If VAT is or becomes chargeable on any supply made by any Finance Party (the
                Supplier) to any other Finance Party (the Recipient) under a Finance Document, and
                any Party other than the Recipient (the Relevant Party) is required by the terms of any
                Finance Document to pay an amount equal to the consideration for that supply to the
                Supplier (rather than being required to reimburse or indemnify the Recipient in respect of
                that consideration):

                (i)     (where the Supplier is the person required to account to the relevant tax authority
                        for the VAT) the Relevant Party must also pay to the Supplier (at the same time as
                        paying that amount) an additional amount equal to the amount of the VAT. The
                        Recipient must (where this paragraph (i) applies) promptly pay to the Relevant
                        Party an amount equal to any credit or repayment the Recipient receives from the
                        relevant tax authority which the Recipient reasonably determines relates to the
                        VAT chargeable on that supply; and

                (ii)    (where the Recipient is the person required to account to the relevant tax authority
                        for the VAT) the Relevant Party must promptly, following demand from the
                        Recipient, pay to the Recipient an amount equal to the VAT chargeable on that
                        supply but only to the extent that the Recipient reasonably determines that it is not
                        entitled to credit or repayment from the relevant tax authority in respect of that
                        VAT.

          (c)   Where a Finance Document requires any Party to reimburse or indemnify a Finance
                Party for any cost or expense, that Party shall reimburse or indemnify (as the case may
                be) such Finance Party for the full amount of such cost or expense, including such part
                thereof as represents VAT, save to the extent that such Finance Party reasonably
                determines that it is entitled to credit or repayment in respect of such VAT from the
                relevant tax authority.

          (d)   Any reference in this clause 15.6 to any Party shall, at any time when such Party is
                treated as a member of a group for VAT purposes, include (where appropriate and unless
                the context otherwise requires) a reference to the representative member of such group
                at such time (the term representative member to have the same meaning as in the
                Value Added Tax Act 1994).

          (e)   In relation to any supply made by a Finance Party to any Party under a Finance
                Document, if reasonably requested by such Finance Party, that Party must promptly
                provide such Finance Party with details of that Party's VAT registration and such other
                information as is reasonably requested in connection with such Finance Party's VAT
                reporting requirements in relation to such supply.




  BD-#32148460-v3                                   77
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                Pg 418 of 692


   15.7         FATCA Information

          (a)    Subject to clause 15.7(c) below, each Party shall, within ten (10) Business Days of a
                 reasonable request by another Party:

                 (i)      confirm to that other Party whether it is:

                          (A)   a FATCA Exempt Party; or

                          (B)   not a FATCA Exempt Party,

                 (ii)     supply to that other Party such forms, documentation and other information relating
                          to its status under FATCA as that other Party reasonably requests for the purposes
                          of that other Party's compliance with FATCA; and

                 (iii)    supply to that other Party such forms, documentation and other information relating
                          to its status as that other Paty reasonably requests for the purposes of that other
                          Party’s compliance with any other law, regulation, or exchange of information
                          regime.

          (b)    If a Party confirms to another Party pursuant to clause (A) above that it is a FATCA
                 Exempt Party and it subsequently becomes aware that it is not, or has ceased to be a
                 FATCA Exempt Party, that Party shall notify that other Party reasonably promptly.

          (c)    Clause 15.7(a) above shall not oblige any Finance Party to do anything which would or
                 might in its reasonable opinion constitute a breach of:

                 (i)      any law or regulation;

                 (ii)     any fiduciary duty; or

                 (iii)    any duty of confidentiality.

          (d)    If a Party fails to confirm its status or to supply forms, documentation or other information
                 requested in accordance with clause 15.7(a) above (including, for the avoidance of doubt,
                 where clause 15.7(c) above applies), then such Party shall be treated for the purposes of
                 the Finance Documents (and payments under them) as if it is not a FATCA Exempt Party
                 until such time as the Party in question provides the requested confirmation, forms,
                 documentation or other information.

          (e)    If a Borrower is a US Tax Obligor, or where the Facility Agent reasonably believes that its
                 obligations under FATCA require it, each Lender shall, within ten (10) Business Days of:

                 (i)      where a Borrower is a US Tax Obligor and the relevant Lender is an Original
                          Lender, the date of this Agreement;

                 (ii)     where a Borrower is a US Tax Obligor and the relevant Lender is a New Lender,
                          the relevant Transfer Date;

                 (iii)    the date a new US Tax Obligor accedes as a Borrower; or

                 (iv)     where the Borrower is not a US Tax Obligor, the date of a request from the Facility
                          Agent,

                 supply to the Facility Agent:

                 (v)      a withholding certificate on Form W-8 or Form W-9 (or any successor form) (as
                          applicable); or




  BD-#32148460-v3                                        78
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 419 of 692


                 (vi)    any withholding statement and other documentation, authorisations and waivers as
                         the Facility Agent may require to certify or establish the status of such Lender
                         under FATCA.

                 The Facility Agent shall provide any withholding certificate, withholding statement,
                 documentation, authorisations and waivers it receives from a Lender pursuant to this
                 paragraph (e) to the Borrower and shall be entitled to rely on any such withholding
                 certificate, withholding statement, documentation, authorisations and waivers provided
                 without further verification. The Facility Agent shall not be liable for any action taken by it
                 under or in connection with this paragraph (e).

          (f)    Each Lender agrees that if any withholding certificate, withholding statement,
                 documentation, authorisations and waivers provided to the Facility Agent pursuant to
                 paragraph (e) above is or becomes materially inaccurate or incomplete, it shall such
                 withholding certificate, withholding statement, documentation, authorisations and waivers
                 or promptly notify the Facility Agent in writing of its legal inability to do so. The Facility
                 Agent shall, upon the reasonable request of the Borrower, provide any such updated
                 withholding certificate, withholding statement, documentation, authorisations and waivers
                 to the Borrower. The Facility Agent shall not be liable for any action taken by it under or
                 in connection with this paragraph (f).

   15.8         FATCA Deduction and gross-up by Obligor

          (a)    If an Obligor is required to make a FATCA Deduction, that Obligor shall make that
                 FATCA Deduction and any payment required in connection with that FATCA Deduction
                 within the time allowed and in the minimum amount required by FATCA.

          (b)    If a FATCA Deduction is required to be made by an Obligor, the amount of the payment
                 due from that Obligor shall be increased to an amount which (after making any FATCA
                 Deduction) leaves an amount equal to the payment which would have been due if no
                 FATCA Deduction had been required.

          (c)    The Company shall promptly upon becoming aware that an Obligor must make a FATCA
                 Deduction (or that there is any change in the rate or the basis of a FATCA Deduction)
                 notify the Facility Agent accordingly. Similarly, a Finance Party shall notify the Facility
                 Agent on becoming so aware in respect of a payment payable to that Finance Party. If
                 the Facility Agent receives such notification from a Finance Party it shall notify the
                 Company and that Obligor and the Facility Agent shall notify the other Parties.

          (d)    Within thirty (30) days of making either a FATCA Deduction or any payment required in
                 connection with that FATCA Deduction, the Obligor making that FATCA Deduction or
                 payment shall deliver to the Facility Agent for the Finance Party entitled to the payment
                 evidence reasonably satisfactory to that Finance Party that the FATCA Deduction has
                 been made or (as applicable) any appropriate payment paid to the relevant governmental
                 or taxation authority.

   15.9         FATCA Deduction by a Finance Party

          (a)    Each Finance Party may make any FATCA Deduction it is required by FATCA to make,
                 and any payment required in connection with that FATCA Deduction, and no Finance
                 Party shall be required to increase any payment in respect of which it makes such a
                 FATCA Deduction or otherwise compensate the recipient of the payment for that FATCA
                 Deduction. A Finance Party which becomes aware that it must make a FATCA
                 Deduction in respect of a payment to another Party (or that there is any change in the
                 rate or the basis of such FATCA Deduction) shall notify that Party and the Facility Agent
                 and the Facility Agent shall notify the other Parties.

          (b)    If the Facility Agent is required to make a FATCA Deduction in respect of a payment to a
                 Finance Party under clause 34.2 (Distributions by the Facility Agent) which relates to a
                 payment by an Obligor, the amount of the payment due from that Obligor shall be



  BD-#32148460-v3                                    79
18-13374-mew                Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                                   Pg 420 of 692


                    increased to an amount which (after the Facility Agent has made such FATCA
                    Deduction), leaves the Facility Agent with an amount equal to the payment which would
                    have been made by the Facility Agent if no FATCA Deduction had been required.

             (c)    The Facility Agent shall promptly upon becoming aware that it must make a FATCA
                    Deduction in respect of a payment to a Finance Party under clause 34.2 (Distributions by
                    the Facility Agent) which relates to a payment by an Obligor (or that there is any change
                    in the rate or the basis of such a FATCA Deduction) notify the Company, the relevant
                    Obligor and the relevant Finance Party.

             (d)    The Company shall (within three (3) Business Days of demand by the Facility Agent) pay
                    to a Finance Party (as the case may be) an amount equal to the loss, liability or cost
                    which that Finance Party determines will be or has been (directly or indirectly) suffered by
                    that Finance Party as a result of another Finance Party making a FATCA Deduction in
                    respect of a payment due to it under a Finance Document. This paragraph shall not apply
                    to the extent a loss, liability or cost is compensated for by an increased payment under
                    clause 15.9(b) above.

             (e)    A Finance Party making, or intending to make, a claim under clause 15.9(d) above shall
                    promptly notify the Facility Agent of the FATCA Deduction which will give, or has given,
                    rise to the claim, following which the Facility Agent shall notify the Company.

  15.10            Tax Credit and FATCA

             If an Obligor makes a FATCA Payment and the relevant Finance Party determines that:

             (a)    a Tax Credit is attributable to an increased payment of which that FATCA Payment forms
                    part, to that FATCA Payment or to a FATCA Deduction in consequence of which that
                    FATCA Payment was required; and

             (b)    that Finance Party has obtained, utilised and retained that Tax Credit,

             the Finance Party shall pay an amount to the Obligor which that Finance Party determines will
             leave it (after that payment) in the same after-Tax position as it would have been in had the
             FATCA Payment not been required to be made by the Obligor.

 16          Increased Costs
      16.1         Increased costs

             (a)    Subject to clause 16.3 (Exceptions), the Company shall, within three (3) Business Days
                    of a demand by the Facility Agent, pay for the account of a Finance Party the amount of
                    any Increased Costs incurred by that Finance Party or any of its Affiliates, including any
                    Increased Cost which:

                    (i)      arises as a result of (i) the introduction of or any change in (or in the interpretation,
                             administration or application of) any law or regulation or (ii) compliance with any
                             law or regulation made after the date of this Agreement; and/or

                    (ii)     is a Basel II Increased Cost and/or a Basel III Increased Cost.

             (b)    In this Agreement Increased Costs means:

                    (i)      a reduction in the rate of return from the Facility or on a Finance Party's (or its
                             Affiliate's) overall capital;

                    (ii)     an additional or increased cost; or

                    (iii)    a reduction of any amount due and payable under any Finance Document,



  BD-#32148460-v3                                         80
18-13374-mew                Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                                   Pg 421 of 692


                    which is incurred or suffered by a Finance Party or any of their respective Affiliates to the
                    extent that it is attributable to that Finance Party having entered into its Commitment or
                    funding or performing its obligations under any Finance Document and as determined by
                    that Finance Party.

      16.2         Increased cost claims

             (a)    A Finance Party intending to make a claim pursuant to clause 16.1 (Increased costs)
                    shall notify the Facility Agent of the event giving rise to the claim, following which the
                    Facility Agent shall promptly notify the Company.

             (b)    Each Finance Party shall, as soon as practicable after a demand by the Facility Agent,
                    provide a certificate confirming the amount of its Increased Costs.

      16.3         Exceptions

             (a)    Clause 16.1 (Increased costs) does not apply to the extent any Increased Cost is:

                    (i)      attributable to a Tax Deduction required by law to be made by an Obligor;

                    (ii)     compensated for by clause 15.9 (FATCA Deduction by a Finance Party);

                    (iii)    compensated for by clause 15.3 (Tax indemnity) (or would have been
                             compensated for under clause 15.3 (Tax indemnity) but was not so compensated
                             solely because any of the exclusions in paragraph (b) of clause 15.3 (Tax
                             indemnity) applied); or

                    (iv)     attributable to the wilful breach by the relevant Finance Party or its Affiliates of any
                             law or regulation.

             (b)    In this clause 16.3 reference to a Tax Deduction has the same meaning given to the
                    term in clause 15.1 (Definitions).

 17          Other Indemnities
      17.1         Currency indemnity

             (a)    If any sum due from an Obligor under the Finance Documents (a Sum), or any order,
                    judgment or award given or made in relation to a Sum, has to be converted from the
                    currency (the First Currency) in which that Sum is payable into another currency (the
                    Second Currency) for the purpose of:

                    (i)      making or filing a claim or proof against that Obligor; or

                    (ii)     obtaining or enforcing an order, judgment or award in relation to any litigation or
                             arbitration proceedings,

                    that Obligor shall as an independent obligation, within three (3) Business Days of
                    demand, indemnify the each Secured Party to whom that Sum is due against any cost,
                    loss or liability arising out of or as a result of the conversion including any discrepancy
                    between (A) the rate of exchange used to convert that Sum from the First Currency into
                    the Second Currency and (B) the rate or rates of exchange available to that person at the
                    time of its receipt of that Sum.

             (b)    Each Obligor waives any right it may have in any jurisdiction to pay any amount under the
                    Finance Documents in a currency or currency unit other than that in which it is expressed
                    to be payable.




  BD-#32148460-v3                                         81
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                                Pg 422 of 692


   17.2         Other indemnities

          (a)    The Company shall (or shall procure that an Obligor will), within three (3) Business Days
                 of demand, indemnify each Secured Party against any cost, loss or liability incurred by it
                 as a result of:

                 (i)      the occurrence of any Event of Default;

                 (ii)     a failure by an Obligor to pay any amount due under a Finance Document on its
                          due date, including without limitation, any cost, loss or liability arising as a result of
                          clause 33 (Sharing among the Finance Parties);

                 (iii)    funding, or making arrangements to fund, its participation in a Utilisation requested
                          by a Borrower or the Company in a Utilisation Request but not made by reason of
                          the operation of any one or more of the provisions of this Agreement (other than by
                          reason of default or negligence by that Finance Party alone);

                 (iv)     issuing or making arrangements to issue or make available a Fronted Facility
                          requested by a Borrower in a Utilisation Request but not issued by reason of the
                          operation of any one or more of the provisions of this Agreement (other than by
                          reason of default or negligence by that Finance Party alone); or

                 (v)      a Utilisation (or part of a Utilisation) not being prepaid in accordance with a notice
                          of prepayment given by a Borrower or the Company.

          (b)    The Company shall promptly indemnify each Finance Party, each Affiliate of a Finance
                 Party and each officer or employee of a Finance Party or its Affiliate, against any cost,
                 loss or liability incurred by that Finance Party or its Affiliate (or officer or employee of that
                 Finance Party or Affiliate) in connection with or arising out of the use of proceeds under
                 the Facility or Transaction Security being taken over the Charged Property (including but
                 not limited to those incurred in connection with any litigation, arbitration or administrative
                 proceedings or regulatory enquiry concerning the use of proceeds under the Facility),
                 unless such loss or liability is caused by the gross negligence or wilful misconduct of that
                 Finance Party or its Affiliate (or employee or officer of that Finance Party or Affiliate). Any
                 Affiliate or any officer or employee of a Finance Party or its Affiliate may rely on this
                 clause 17.2 subject to clause 1.5 (Third party rights) and the provisions of the Third
                 Parties Act.

   17.3         Indemnity to the Facility Agent and/or Collateral Management Agent

          The Company shall promptly indemnify the Facility Agent and/or the Collateral Management
          Agent against:

          (a)    any cost, loss or liability incurred by the Facility Agent and/or the Collateral Management
                 Agent (acting reasonably) as a result of:

                 (i)      investigating any event which it reasonably believes is a Default;

                 (ii)     acting or relying on any notice, request or instruction which it reasonably believes
                          to be genuine, correct and appropriately authorised; or

                 (iii)    instructing lawyers, accountants, tax advisers, surveyors or other professional
                          advisers or experts as permitted under this Agreement; and

          (b)    any cost, loss or liability (including, without limitation, for negligence or any other category
                 of liability whatsoever) incurred by the Facility Agent and/or the Collateral Management
                 Agent (otherwise than by reason of the such party’s gross negligence or wilful
                 misconduct) (or, in the case of any cost, loss or liability pursuant to clause 34.11
                 (Disruption to Payment Systems etc.) notwithstanding the Facility Agent's or the
                 Collateral Management Agent’s (as the case may be) negligence, gross negligence or



  BD-#32148460-v3                                       82
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                Pg 423 of 692


                 any other category of liability whatsoever but not including any claim based on the fraud
                 of the Facility Agent and/or the Collateral Management Agent (as the case may be) in
                 acting as the Facility Agent and/or the Collateral Management Agent (as the case may
                 be) under the Finance Documents.

   17.4         Indemnity to the Security Agent

          (a)    Each Obligor jointly and severally shall promptly indemnify the Security Agent and every
                 Receiver and Delegate against any cost, loss or liability incurred by any of them as a
                 result of:

                 (i)      any failure by the Company to comply with its obligations under clause 19 (Costs
                          and expenses);

                 (ii)     acting or relying on any notice, request or instruction which it reasonably believes
                          to be genuine, correct and appropriately authorised;

                 (iii)    the taking, holding, protection or enforcement of the Transaction Security;

                 (iv)     the exercise of any of the rights, powers, discretions, authorities and remedies
                          vested in the Security Agent and each Receiver and Delegate by the Finance
                          Documents or by law;

                 (v)      any default by any Obligor in the performance of any of the obligations expressed
                          to be assumed by it in the Finance Documents; or

                 (vi)     acting as Security Agent, Receiver or Delegate under the Finance Documents or
                          which otherwise relates to any of the Charged Property (otherwise, in each case,
                          than by reason of the relevant Security Agent's, Receiver's or Delegate's gross
                          negligence or wilful misconduct).

          (b)    Each Obligor expressly acknowledges and agrees that the continuation of its indemnity
                 obligations under this clause 17.4 will not be prejudiced by any release under clause
                 31.26 (Releases) or otherwise in accordance with the terms of this Agreement.

          (c)    The Security Agent and every Receiver and Delegate may, in priority to any payment to
                 the Secured Parties, indemnify itself out of the Charged Property in respect of, and pay
                 and retain, all sums necessary to give effect to the indemnity in this clause 17.4 and shall
                 have a lien on the Transaction Security and the proceeds of the enforcement of the
                 Transaction Security for all moneys payable to it.

   17.5         Limited Liability - Germany

          (a)    The enforcement of each joint and several liability under this clause 17.4 (Indemnities)
                 and the other payment obligations set out in this Agreement (in particular clause 19.4
                 (Indemnity expenses) and clause 31.3 (Parallel Debt (Covenant to pay the Security
                 Agent)) owed by any German Obligor) shall be limited as set out in clause 20.10
                 (Guarantee Limitations (Germany)), which shall apply mutatis mutandis.

          (b)    Paragraph (f) of clause 24.36 (Dividends and share redemptions) and clause 25.4
                 (Withdrawals from Collection Account) and any other payment, receipt or withdrawal
                 restriction shall not apply to a German Obligor to the extent as required in order to ensure
                 compliance with the limitations set out in clause 20.10 (Guarantee Limitations
                 (Germany)), which shall apply mutatis mutandis.

          (c)    The limitation set out in clause 20.10 (Guarantee Limitations (Germany)) of this
                 Agreement shall apply mutatis mutandis to any upstream or cross-stream distributions,
                 payments and cash sweeps pursuant to the Finance Documents and made by a German
                 Obligor (including without limitation, clause 9.4 (Facility Accounts sweep).




  BD-#32148460-v3                                     83
18-13374-mew             Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                 Pg 424 of 692


 18          Mitigation by the Lenders
      18.1         Mitigation

             (a)    Each Finance Party shall, in consultation with the Company, take all reasonable steps to
                    mitigate any circumstances which arise and which would result in any facility ceasing to
                    be available or any amount becoming payable under or pursuant to, or cancelled
                    pursuant to, any of clause 9.1 (Illegality) or, in respect of the Issuing Bank, clause 9.2
                    (Illegality in relation to the Issuing Bank), clause 15 (Tax gross-up and indemnities) or
                    clause 16 (Increased Costs) including (but not limited to) transferring its rights and
                    obligations under the Finance Documents to another Affiliate or Facility Office.

             (b)    Paragraph (a) above does not in any way limit the obligations of any Obligor under the
                    Finance Documents.

      18.2         Limitation of liability

             (a)    The Company shall promptly indemnify each Finance Party for all costs and expenses
                    reasonably incurred by that Finance Party as a result of steps taken by it under clause
                    18.1 (Mitigation).

             (b)    A Finance Party is not obliged to take any steps under clause 18.1 (Mitigation) if, in the
                    opinion of that Finance Party (acting reasonably), to do so might be prejudicial to it.

 19          Costs and Expenses
      19.1         Transaction expenses

             The Company shall promptly on demand pay each Secured Party the amount of all costs and
             expenses (including legal fees) reasonably incurred by any of them (and, in the case of the
             Security Agent, by any Receiver or Delegate) in connection with the negotiation, preparation,
             printing, execution, syndication and perfection of:

             (a)    this Agreement and any other documents referred to in this Agreement and the
                    Transaction Security; and

             (b)    any other Finance Documents executed after the date of this Agreement,

             and shall promptly on demand pay to each Issuing Bank the amount of all costs and expenses
             including without limitation postage, courier fees, SWIFT charges and out-of-pocket expenses in
             connection with the issue or entry into and operation of Fronted Facilities.

             In relation to any Obligor incorporated under the laws of Spain and to each Spanish Pledgor (if
             any) and any Finance Documents they execute, sign or formalize subject to the laws of Spain,
             the Company and/or the corresponding Spanish Obligor or Spanish Pledgor shall also pay the
             applicable notary public fees and registry fees whenever due.

      19.2         Amendment costs

             If (a) an Obligor requests an amendment, waiver or consent, or additional or replacement
             security as contemplated in clause 24.25 (Conditions Subsequent) or otherwise, or (b) an
             amendment is required or agreed pursuant to clause 34.10 (Change of currency), the Company
             shall, within three (3) Business Days of demand, reimburse each of Secured Party for the
             amount of all costs and expenses (including legal fees) reasonably incurred by that Secured
             Party (and, in the case of the Security Agent, by any Receiver or Delegate) in responding to,
             evaluating, negotiating or complying with that request or requirement.

             In relation to any Obligor incorporated under the laws of Spain and to each Spanish Pledgor (if
             any) and any Finance Documents they execute, sign or formalize subject to the laws of Spain,



  BD-#32148460-v3                                     84
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 425 of 692


          the Company and/or the corresponding Spanish Obligor or Spanish Pledgor shall also pay the
          applicable notary public fees and registry fees whenever due.

   19.3         Enforcement and preservation costs

          The Company shall, within three (3) Business Days of demand, pay to each Secured Party the
          amount of all costs and expenses (including legal fees and the fees of any court representative
          (procurador), even if the intervention of lawyers or court representatives is not mandatory))
          incurred by it in connection with the enforcement of or the preservation of any rights under any
          Finance Document and the Transaction Security and any proceedings instituted by or against
          the Security Agent as a consequence of taking or holding the Transaction Security or enforcing
          these rights.

   19.4         Indemnity expenses

          The Company shall:

          (a)    pay or reimburse the Co-Ordinator, the Facility Agent, the Security Agent and the
                 Collateral Management Agent, for all its reasonable and documented out-of-pocket costs
                 and expenses (including, without limitation, reasonable out-of-pocket legal fees and
                 expenses, and printing, reproduction and document delivery expenses) incurred in
                 connection with the syndication, development, preparation, negotiation, execution,
                 delivery and administration of, and any amendment, supplement or modification to, this
                 Agreement and the other Finance Documents and any other documents prepared in
                 connection herewith or therewith, and the consummation and administration of the
                 transactions contemplated hereby and thereby, including, without limitation, the
                 reasonable and documented fees and disbursements of counsel to such Finance Parties;

          (b)    pay or reimburse each Lender, the Issuing Banks, the Overdraft Bank and the Co-
                 Ordinator, the Facility Agent, the Security Agent and the Collateral Management Agent
                 for all its documented costs and expenses incurred in connection with the enforcement or
                 preservation of any rights under this Agreement, the other Finance Documents and any
                 such other documents or any restructuring or “work-out” related hereto and thereto,
                 including, without limitation, the reasonable and documented fees and disbursements of
                 counsel to the Lenders and of counsel to the Issuing Bank, the Overdraft Bank, Co-
                 Ordinator, the Facility Agent, the Security Agent and the Collateral Management Agent;

          (c)    pay or reimburse the Co-Ordinator, the Facility Agent, the Security Agent and the
                 Collateral Management Agent for its documented costs and expenses incurred in
                 connection with inspections performed pursuant to the Finance Documents, and any
                 other due diligence performed in connection with this Agreement and the other Finance
                 Documents, including:

                 (i)     the documented fees and disbursements of counsel to the Co-Ordinator, the
                         Facility Agent, the Security Agent and the Collateral Management Agent; and

                 (ii)    the costs and expenses associated with Security searches;

          (d)    pay, indemnify, and hold each Finance Party harmless from, any and all recording and
                 filing fees and any and all liabilities with respect to, or resulting from any delay in paying,
                 stamp, excise and other similar taxes, if any, which may be payable or determined to be
                 payable in connection with the execution and delivery of, or consummation or
                 administration of any of the transactions contemplated by, or any amendment,
                 supplement or modification of, or any waiver or consent (including the determination of
                 whether or not any such waiver or consent is required) under or in respect of, this
                 Agreement, the other Finance Documents and any such other documents;

          (e)    pay, indemnify, and hold each Finance Party, and each of their respective officers,
                 employees, directors, trustees, agents, advisors, affiliates and controlling persons (each,
                 an Indemnitee), harmless from and against any and all other liabilities, obligations,



  BD-#32148460-v3                                    85
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 426 of 692


               losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements
               of any kind or nature whatsoever (including, without limitation, reasonable and
               documented legal fees) with respect to the execution, delivery, enforcement, performance
               and administration of this Agreement, the other Finance Documents, and any such other
               documents, including, without limitation, any of the foregoing relating to the violation of,
               noncompliance with or liability under, any Environmental Law applicable to the operations
               of any Obligor or any of their respective Subsidiaries, or any of its properties (all the
               foregoing in this paragraph (e), collectively, the Indemnified Liabilities); provided that,
               the Obligors shall have no obligation hereunder to any Indemnitee with respect to
               Indemnified Liabilities, to the extent such Indemnified Liabilities:

               (i)     are found by a final, non-appealable judgment of a court of competent jurisdiction
                       to have resulted from the intentional breach, gross negligence or willful misconduct
                       of such Indemnitee; or

               (ii)    result from a claim brought by any Obligor against an Indemnitee for breach in bad
                       faith of such Indemnitee’s obligations under this Agreement or under any other
                       Finance Document, if such Obligor has obtained a final, non-appealable judgment
                       in its favour on such claim as determined by a court of competent jurisdiction.

               No Indemnitee shall have any liability (whether direct or indirect, in contract, tort, equity or
               otherwise) to an Obligor or an Obligor’s Subsidiaries or Affiliates or to an Obligor’s or its
               equity holders or creditors arising out of, related to or in connection with any aspect of
               this Agreement, the other Finance Documents or any of the transactions contemplated by
               this Agreement, except to the extent of direct (as opposed to special, indirect,
               consequential or punitive) damages determined in a final non-appealable judgment by a
               court of competent jurisdiction to have resulted directly from such Indemnitee’s bad faith,
               intentional breach, gross negligence or willful misconduct. The Indemnitees shall have
               liability only to the relevant Obligor (as opposed to any other person). Notwithstanding
               any other provision of this Agreement, no party shall be liable for any damages arising
               from the use by others of information or other materials obtained through electronic
               telecommunications or other information transmission systems, except to the extent such
               damages are found by a final, non-appealable judgment of a court of competent
               jurisdiction to arise directly from the gross negligence, bad faith, intentional breach or
               willful misconduct of such Indemnitee. The agreements in this clause 19.4 (Indemnity
               expenses) shall survive repayment of the Outstandings and all other amounts payable
               under the Finance Documents and termination of this Agreement. This clause 19.4 shall
               not apply with respect to Taxes other than any Taxes that represent losses, claims,
               damages, etc. arising from any non-Tax claim.




  BD-#32148460-v3                                  86
18-13374-mew            Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                Pg 427 of 692


                                                    Section 7
                                                    Guarantee

 20          Guarantee and Indemnity
      20.1         Guarantee and indemnity

             Each Guarantor irrevocably and unconditionally jointly and severally:

             (a)    guarantees to each Finance Party punctual performance by each other Obligor, each
                    Spanish Pledgor and each South African Pledge Counterparty of all that Obligor's
                    obligations under the Finance Documents;

             (b)    undertakes with each Finance Party that whenever another Obligor does not pay any
                    amount when due under or in connection with any Finance Document, that Guarantor
                    shall immediately on demand pay that amount as if it was the principal obligor; and

             (c)    agrees with each Finance Party that if any obligation guaranteed by it is or becomes
                    unenforceable, invalid or illegal, it will, as an independent and primary obligation,
                    indemnify that Finance Party immediately on demand against any cost, loss or liability it
                    incurs as a result of an Obligor not paying any amount which would, but for such
                    unenforceability, invalidity or illegality, have been payable by it under any Finance
                    Document on the date when it would have been due. The amount payable by a
                    Guarantor under this indemnity will not exceed the amount it would have had to pay
                    under this clause 20 if the amount claimed had been recoverable on the basis of a
                    guarantee.

      20.2         Continuing Guarantee

             This guarantee is a continuing guarantee and will extend to the ultimate balance of sums
             payable by any Obligor under the Finance Documents, regardless of any intermediate payment
             or discharge in whole or in part.

      20.3         Reinstatement

             If any discharge, release or arrangement (whether in respect of the obligations of any Obligor or
             any security for those obligations or otherwise) is made by a Finance Party in whole or in part
             on the basis of any payment, security or other disposition which is avoided or must be restored
             in insolvency, liquidation, administration, judicial management or otherwise, without limitation,
             then the liability of each Guarantor under this clause 20 will continue or be reinstated as if the
             discharge, release or arrangement had not occurred.

      20.4         Waiver of defences

             The obligations of each Guarantor under this clause 20 will not be affected by an act, omission,
             matter or thing which, but for this clause 20, would reduce, release or prejudice any of its
             obligations under this clause 20 (without limitation and whether or not known to it or any
             Finance Party) including:

             (a)    any time, waiver or consent granted to, or composition with, any Obligor or other person;

             (b)    the release of any other Obligor or any other person under the terms of any composition
                    or arrangement with any creditor of any member of the Group;

             (c)    the taking, variation, compromise, exchange, renewal or release of, or refusal or neglect
                    to perfect, take up or enforce, any rights against, or security over assets of, any Obligor
                    or other person or any non-presentation or non-observance of any formality or other
                    requirement in respect of any instrument or any failure to realise the full value of any
                    security;



  BD-#32148460-v3                                     87
18-13374-mew         Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                               Pg 428 of 692


          (d)    any incapacity or lack of power, authority or legal personality of or dissolution or change
                 in the members or status of an Obligor or any other person;

          (e)    any amendment, novation, supplement, extension restatement (however fundamental
                 and whether or not more onerous) or replacement of a Finance Document or any other
                 document or security including, without limitation, any change in the purpose of, any
                 extension of or increase in any facility or the addition of any new facility under any
                 Finance Document or other document or security;

          (f)    any unenforceability, illegality or invalidity of any obligation of any person under any
                 Finance Document or any other document or security; or

          (g)    any insolvency or similar proceedings.

          In case of an Additional Guarantor incorporated under the laws of Spain accedes to this
          Agreement as Guarantor, such Spanish Guarantor waives any right of exclusion, order and/or
          division (beneficios de excusión, orden y division) under article 1830 et seq of the Spanish Civil
          Code.

   20.5         Guarantor Intent

          Without prejudice to the generality of clause 20.4 (Waiver of defences), each Guarantor
          expressly confirms that it intends that this guarantee shall extend from time to time to any
          (however fundamental) variation, increase, extension or addition of or to any of the Finance
          Documents and/or any facility or amount made available under any of the Finance Documents
          for the purposes of or in connection with any of the following: business acquisitions of any
          nature; increasing working capital; enabling investor distributions to be made; carrying out
          restructurings; refinancing existing facilities; refinancing any other indebtedness; making
          facilities available to new borrowers; any other variation or extension of the purposes for which
          any such facility or amount might be made available from time to time; and any fees, costs
          and/or expenses associated with any of the foregoing.

   20.6         Immediate recourse

          Each Guarantor waives any right it may have of first requiring any Finance Party (or any trustee
          or agent on behalf of any of them) to proceed against or enforce any other rights or security or
          claim payment from any person before claiming from that Guarantor under this clause 20. This
          waiver applies irrespective of any law or any provision of a Finance Document to the contrary.

   20.7         Appropriations

          Until all amounts which may be or become payable by the Obligors under or in connection with
          the Finance Documents have been irrevocably paid in full, each Finance Party (or any trustee or
          agent on behalf of any of them) may:

          (a)    refrain from applying or enforcing any other moneys, security or rights held or received by
                 that Finance Party (or any trustee or agent on behalf of any of them) in respect of those
                 amounts, or apply and enforce the same in such manner and order as it sees fit (whether
                 against those amounts or otherwise) and no Guarantor shall be entitled to the benefit of
                 the same; and

          (b)    hold in an interest-bearing suspense account any moneys received from any Guarantor
                 or on account of any Guarantor's liability under this clause 20.

   20.8         Deferral of Guarantors' rights

          Until all amounts which may be or become payable by the Obligors under or in connection with
          the Finance Documents have been irrevocably paid in full and unless the Facility Agent
          otherwise directs, no Guarantor will exercise any rights which it may have by reason of




  BD-#32148460-v3                                  88
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 429 of 692


          performance by it of its obligations under the Finance Documents or by reason of any amount
          being payable, or liability arising, under this clause 20:

          (a)    to be indemnified by an Obligor;

          (b)    to claim any contribution from any other guarantor of any Obligor's obligations under the
                 Finance Documents;

          (c)    to take the benefit (in whole or in part and whether by way of subrogation or otherwise) of
                 any rights of the Finance Parties under the Finance Documents or of any other guarantee
                 or security taken pursuant to, or in connection with, the Finance Documents by any
                 Finance Party;

          (d)    to bring legal or other proceedings for an order requiring any Obligor to make any
                 payment, or perform any obligation, in respect of which any Guarantor has given a
                 guarantee, undertaking or indemnity under clause 20.1 (Guarantee and indemnity);

          (e)    to exercise any right of set-off against any Obligor; and/or

          (f)    to claim or prove as a creditor of any Obligor in competition with any Finance Party.

          If a Guarantor receives any benefit, payment or distribution in relation to such rights it will
          promptly pay an equal amount to the Facility Agent or as the Facility Agent may direct for
          application in accordance with clause 34 (Payment mechanics).

   20.9         Additional security

          This guarantee is in addition to and is not in any way prejudiced by any other guarantee or
          security now or subsequently held by any Finance Party.

  20.10         Guarantee Limitations (Germany)

          (a)    The restrictions in this clause 20.10 (Guarantee Limitations (Germany)) shall apply to any
                 guarantee, and indemnity granted by a Guarantor incorporated under the laws of
                 Germany as a limited liability company (GmbH) (a German Guarantor) or other payment
                 obligation under this clause 20 (Guarantee and indemnity) or any other provision of the
                 Finance Documents (hereinafter a German Guarantee) with respect to liabilities of its
                 direct or indirect shareholder(s) (upstream) or an entity affiliated with such shareholder
                 (verbundenes Unternehmen) within the meaning of section 15 et seq. of the German
                 Stock Corporation Act (Aktiengesetz) (cross-stream) (excluding, for the avoidance of
                 doubt any direct or indirect Subsidiary of such German Guarantor).

          (b)    The restrictions in this clause 20.10 shall not apply to the extent the German Guarantor
                 secures any indebtedness under any Finance Document in respect of (i) loans to the
                 extent they are on-lent or otherwise (directly or indirectly) passed on to the relevant
                 German Guarantor or its Subsidiaries and such amount on-lent or otherwise passed on is
                 not repaid or (ii) any other benefit granted under the Finance Documents.

          (c)    If payment under this German Guarantee would (i) cause the amount of a German
                 Guarantor’s net assets, as calculated pursuant to this clause 20.10, to fall below the
                 amount of its registered share capital (Stammkapital), or (ii) increase an existing shortage
                 of its registered share capital (Vertiefung einer Unterbilanz), in each case in violation of
                 section 30 of the German Limited Liability Companies Act (Gesetz betreffend die
                 Gesellschaft mit beschränkter Haftung) (GmbHG) (such events are hereinafter referred to
                 as a Capital Impairment), then the Finance Parties shall not demand such payment or
                 enforcement from such German Guarantor except in an amount and to the extent such
                 Capital Impairment would not occur.

          (d)    If the relevant German Guarantor does not notify the Facility Agent in writing (the
                 Management Notification) within ten (10) Business Days after the Facility Agent notified



  BD-#32148460-v3                                   89
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 430 of 692


               such German Guarantor of its intention to demand payment under the German
               Guarantee that a Capital Impairment would occur (setting out in reasonable detail to what
               extent a Capital Impairment would occur), then the restrictions set out in paragraph (c)
               shall not apply.

        (e)    If the relevant German Guarantor does not provide an Auditors’ Determination within 30
               Business Days from the date on which the Facility Agent received the Management
               Notification then the restrictions set out in the paragraph (c) shall not apply and the
               Facility Agent shall not be obliged to assign or make available to the German Guarantor
               any net proceeds realized, provided that this paragraph (e) shall not apply if the relevant
               German Guarator has taken all reasonable endeavours to have the Auditors’
               Determination prepared within the aforementioned timeframe but such Auditors’
               Determination has not become available to that German Guarantor (including, but not
               limited to, for the reason that the relevant Auditors did not and/or were not able to prepare
               the relevant Auditors’ Determination within the aforementioned timeframe), it being
               understood that in such case the relevant German Guarantor shall provide the Auditors’
               Determination to the Facility Agent as soon as it becomes available.

        (f)    The calculation of net assets (the Net Assets) shall only take into account the sum of the
               values of the assets of the relevant German Guarantor determined in accordance with
               applicable law and court decisions and, if there is no positive going concern (positive
               Fortführungsprognose) based on the lower of book value (Buchwert) and liquidation value
               (Liquidationswert) (consisting of all assets which correspond to those items listed in
               section 266 subsection (2) A, B and C of the German Commercial Code
               (Handelsgesetzbuch) HGB) less the relevant German Guarantor’s liabilities (consisting of
               all liabilities and liability reserves which correspond to those items listed in accordance
               with section 266 subsection (3) B, C and D HGB).

        (g)    For the purposes of calculating the Net Assets, the following balance sheet items shall be
               adjusted as follows:

               (i)     the amount of any increase in the registered share capital of the relevant German
                       Guarantor which was carried out after the date of the Amendment and
                       Restatement Agreement without the prior written consent of the Facility Agent shall
                       be deducted from the amount of the registered share capital of the relevant
                       German Guarantor; and

               (ii)    loans or other contractual liabilities incurred by the relevant German Guarantor in
                       breach of the Finance Documents shall not be taken into account as liabilities.

        (h)    The relevant German Guarantor shall realize, to the extent legally permitted and
               commercially reasonable in a situation where it does not have sufficient Net Assets to
               maintain its registered share capital, all of its assets that are shown in the balance sheet
               with a book value (Buchwert) that is significantly lower than the market value of the
               assets if such asset is not necessary for the German Guarantor’s business
               (betriebsnotwendig).

        (i)    The relevant German Guarantor shall take any specific measure (the Specific Measure)
               which the Facility Agent has reasonably requested and which the relevant German
               Guarantor is legally permitted to take in order to avoid demanding payment under the
               German Guarantee causing a Capital Impairment of the relevant German Guarantor
               (including without limitation, setting off-claims), provided that it is commercially justifiable
               to take the Specific Measure. The restrictions set out in paragraph (c) above shall not
               apply if and to the extent that the relevant German Guarnator has not taken the relevant
               Specific Measure within an appropriate period, and such failure has reduced the amount
               realized under the German Guarantee, unless:

               (i)     the Specific Measure requires any cooperation of any person and such person
                       does not take any required action or otherwise fails to cooperate at the appropriate
                       time;



  BD-#32148460-v3                                  90
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                              Pg 431 of 692


               (ii)     taking the Specific Measure is commercially not justifiable;

               (iii)    it is impossible to take the Specific Measure; or

               (iv)     taking the Specific Measure is not legally permitted.

        (j)    If the relevant German Guarantor claims that a Capital Impairment would occur on
               payment under this German Guarantee, the German Guarantor may (at its own cost and
               expense) arrange for the preparation of a balance sheet by a firm of recognized auditors
               (the Auditors) in order to have such Auditors determine whether (and, if so, to what
               extent) any payment under this Guarantee would cause a Capital Impairment (the
               Auditors’ Determination).

        (k)    The Auditors’ Determination shall be prepared, taking into account the adjustments set
               out in paragraphs (f) and (g), by applying the generally accepted accounting principles
               applicable from time to time in Germany (Grundsätze ordnungsmäßiger Buchführung)
               based on the same principles and evaluation methods as constantly applied by the
               relevant German Guarantor in the preparation of its financial statements, in particular in
               the preparation of its most recent annual balance sheet, and taking into consideration
               applicable court rulings of German courts. Subject to paragraph (o) below, such Auditors’
               Determination shall be binding on the relevant German Guarantor and the Finance
               Parties.

        (l)    Even if the relevant German Guarantor arranges for the preparation of an Auditors’
               Determination, the relevant German Guarantor’s obligations under the mitigation
               provisions set out in paragraph (h) shall continue to exist.

        (m)    If, after it has been provided with an Auditors’ Determination which prevented it from
               demanding any or only partial payment under the German Guarantee, the Facility Agent
               has reasonable grounds to believe that the financial condition of the relevant German
               Guarantor as set out in the Auditors’ Determination has substantially improved (in
               particular, if the relevant German Guarantor has taken any action in accordance with the
               mitigation provisions set out in paragraph (h)), the Facility Agent may (but shall not be
               obligated), at the direction of the Majority Lenders, at the relevant German Guarantor’s
               cost and expense, arrange for the preparation of an updated balance sheet of the
               relevant German Guarantor by applying the same principles that were used for the
               preparation of the Auditors’ Determination by the Auditors who prepared the Auditors’
               Determination pursuant to paragraph (j) in order for such Auditors to determine whether
               (and, if so, to what extent) the situation leading to a Capital Impairment has been cured
               as a result of the improvement of the financial condition of the relevant German
               Guarantor. The Facility Agent may, at the direction of the Majority Lenders, demand
               payment under the German Guarantee to the extent that the Auditors determine that the
               Capital Impairment has been cured. Without prejudice to the foregoing, the Facility Agent
               shall have no obligation to examine or analyze the financial condition of any German
               Guarantor.

        (n)    Any managing director (Geschäftsführer) of a German Guarantor may request
               reimbursement from the Lenders (pro rata) or the Facility Agent for such net proceeds
               received by the relevant Lenders or Facility Agent from the realization of the security
               and/or this guarantee provided hereunder if such managing director is required to
               reimburse the German Guarantor pursuant to section 64, sentence 3 GmbHG due to a
               final nonappealable (rechtskräftig) court decision (other than a court decision based on
               omission (Versäumnisurteil) or recognisance (Anerkenntnis)) which states that either the
               granting or a payment under the German Guarantee led to the illiquidity
               (Zahlungsunfähigkeit) of the relevant German Guarantor, such request to be made within
               one month from the date of service (Zustellung) on such managing director the German
               Guarantor of such final court decision.

        (o)    Notwithstanding any limitation under this Guarantee, the Facility Agent shall be entitled
               (but not required) to further pursue in court payment claims under this guarantee granted



  BD-#32148460-v3                                   91
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 432 of 692


                 by the respective German Guarantor if it disagrees with the Auditor’s Determination by
                 claiming in court that demanding payment under the German Guarantee against the
                 relevant German Guarantor does not violate §§ 30, 31 GmbHG.

                 The agreement of the Facility Agent to abstain from demanding any or part of the
                 payment under this Guarantee in accordance with the provisions above shall constitute
                 neither a waiver (Verzicht) of any right granted under this Agreement or any other
                 Finance Document to any Finance Party nor a definite defense (Einwendung) of the
                 relevant German Guarantor against any of the guaranteed obligations, but such defense
                 shall always be subject to the terms and conditions of this Clause 20.10.

          (p)    In addition to the limitations on the granting, enforcement of and performance under the
                 German Guarantee set forth in this clause 20.10, it is hereby agreed that the German
                 Guarantor shall have a defense against any claim, enforcement, or other request for
                 performance or requirement to perform, whether such requirement is based on statute,
                 contract or otherwise, to the extent such claim, enforcement or other performance would
                 result in personal liability for the German Guarantor’s managing director(s) under then
                 applicable law and any claims arising under the German Guarantee shall be limited to the
                 extent of such defense, such that such personal liability would not be incurred. Nothing
                 herein shall nor shall be deemed to prevent the Facility Agent from asserting, in a court of
                 law or otherwise, that the claim, enforcement or other request for performance would not
                 cause the German Guarantor’s managing director(s) to incur any liability, nor shall it
                 prevent the German Guarantor from asserting, in a court of law or otherwise, to the
                 contrary.

          (q)    The aforementioned provisions shall apply to a limited partnership with a limited liability
                 company as its general partner (GmbH & Co. KG) mutatis mutandis and all references to
                 net assets shall be construed as a reference to the aggregated net assets of the general
                 partner and the limited partnership.

  20.11         Guarantee Limitations (Spain)

                 Where a Guarantor is incorporated under the laws of Spain (the “Spanish Guarantor”):

                 (i)     The obligations of any Spanish Guarantor as a limited liability company (sociedad
                         de responsabilidad limitada) shall not extend to any obligations or liabilities
                         incurred by any Obligor as a result of such Obligor (as applicable) borrowing (or
                         guaranteeing the borrowing of) funds (but only in respect of those funds) under this
                         Agreement for the purpose of (a) acquiring quotas (participaciones sociales)
                         representing the share capital of such Spanish Guarantor or quotas
                         (participaciones sociales) or shares (acciones) representing the share capital of a
                         company within its group, or (b) refinancing a previous debt incurred by any
                         Obligor for the acquisition of quotas (participaciones sociales) representing the
                         share capital of such Spanish Guarantor or quotas (participaciones sociales) or
                         shares (acciones) representing the share capital of a company within its group;

                         For the purposes of the above, a reference to the “group” of a Spanish Obligor
                         shall have the meaning set out in article 42 of the Spanish Commercial Code.

                 (ii)    In case a Spanish Guarantor incorporated under the laws of Spain in the form of a
                         Spanish public limited company (sociedad anónima) accedes to this Agreement (or
                         in case a Spanish Guarantor is transformed into a Spanish sociedad anónima), the
                         obligations of such Spanish Guarantor shall not extend to any obligations or
                         liabilities incurred by any Obligor, as a result of such Obligor borrowing (or
                         guaranteeing the borrowing of) funds (but only in respect of those funds) under this
                         Agreement for the purpose of (a) acquiring shares (acciones) representing the
                         share capital of such Spanish Guarantor or shares (acciones) or quotas
                         (participaciones sociales) representing the share capital of its holding company, or
                         (b) refinancing a previous debt incurred by any Obligor for the acquisition of shares
                         (acciones) representing the share capital of such Spanish Guarantor or shares



  BD-#32148460-v3                                    92
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                Pg 433 of 692


                          (acciones) or quotas (participaciones sociales) representing the share capital of its
                          holding company.

                          For the purposes of sections (i) and (ii) above, a reference to a “holding company”
                          of a Spanish Guarantor shall mean the company which, directly or indirectly, owns
                          the majority of the voting rights of such Spanish Guarantor or that may have a
                          dominant influence on such Spanish Obligor. It shall be presumed that one
                          company has a dominant influence on another company when: (i) any of the
                          scenarios set out in section 1 of article 42 of the Spanish Commercial Code are
                          met; or (ii) at least half plus one of the members of the managing body of the
                          Spanish Guarantor are also members of the managing body or top managers
                          (altos directivos) of the dominant company or of another company controlled by
                          such dominant company.

                 (iii)    The limitation set out in sections (i) and (ii) above shall apply mutatis mutandis to
                          the Spanish Pledges created by each Spanish Pledgor or to any other security
                          granted by any security provider incorporated under the laws of Spain and to any
                          guarantee, undertaking, obligation, indemnity and payment, including (but not
                          limited to) distributions, cash sweeps, credits, loans and set-offs, pursuant to or
                          permitted by the Finance Documents and made by a Spanish Obligor.

          In any event, any Transaction Security Documents that are signed by any Spanish Obligor, will
          specify which Facilities are secured by such Guarantor and/or such Transaction Security and
          any other relevant issues which could have an impact on such limitation language.

  20.12         Guarantee Limitations (Belgium)

          The total liability of any Belgian Obligor for the obligations of any other Obligor under the
          Finance Documents shall at all times be limited to an amount not exceeding the greater of:

          (a)    the aggregate of all principal amounts borrowed by such Belgian Obligor (or its direct or
                 indirect Subsidiaries) under any intra-group arrangement (regardless of the form thereof,
                 including through the subscription of debt instruments) to the extent funded by funds
                 borrowed under this Agreement; and

          (b)    the greater of:

                 (iv)     eighty per cent. (80%) of such Belgian Obligor’s net assets (eigen
                          vermogen/capitaux propres) as derived from the latest audited financial statements
                          of the respective Belgian Obligor available at the time a demand for payment under
                          this Agreement is made; and

                 (v)      eighty per cent. (80%) of such Belgian Obligor’s net assets (eigen
                          vermogen/capitaux propres) as derived from the current audited financial
                          statements of the respective Belgian Obligor.

          No Belgian Obligor shall be liable for the obligations of any other Obligor under the Finance
          Documents, to the extent that such liability would result in such guarantee constituting unlawful
          financial assistance within the meaning of Article 329 or 629 of the Belgian Companies Code (or
          any equivalent and applicable provisions in any Relevant Jurisdiction).

  20.13         Guarantee Limitations (Morocco)

          (a)    The restrictions in this clause 20.13 (Guarantee Limitations (Morocco)) shall apply to any
                 guarantee and indemnity (hereinafter the Moroccan Guarantee) granted by a Guarantor
                 incorporated under the laws of Morocco as a limited liability company with a sole
                 shareholder (SARLAU) (a Moroccan Guarantor) to secure liabilities of its direct or
                 indirect shareholder(s) (upstream) (excluding, for the avoidance of doubt any direct
                 subsidiary of such Moroccan Guarantor).




  BD-#32148460-v3                                     93
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                           Pg 434 of 692


        (b)    The Moroccan Guarantor shall not guarantee any liability of an Obligor which, if incurred,
               would constitute a misuse of corporate assets or powers within the meaning of article 107
               of law n°5-96 relating to limited liability companies (sociétés à responsabilité limitée) or
               more generally, under any other applicable law or regulations having the same effect, as
               interpreted by Moroccan courts from time to time.

        (c)    Any amount due under a guarantee agreement or security agreement by a Moroccan
               party to a non-Moroccan party may only be transferred outside Morocco if such payment
               is in compliance with the applicable Moroccan foreign exchange control regulations or
               has been expressly approved in advance and in written by the Moroccan Foreign
               Exchange Office (Office des Changes marocain). Any set-off between a Moroccan party
               and a non-Moroccan party located outside Morocco requires a prior express approval
               from the Moroccan Foreign Exchange Office (Office des Changes marocain), being
               specified that any amount due by the Moroccan Guarantor under the Moroccan
               Guarantee may be freely transferable to the Lenders on the ground of article 17 of the
               law No. 19-94 (Dahir No. 1-95-1 dated January 26, 1995) applicable to free export zones.

        (d)    The Moroccan Guarantor's obligations under the Finance Documents will only be valid if
               limited to the amounts which are (i) on-lent or otherwise (directly or indirectly) made
               available to the relevant Moroccan Guarantor and (ii) are not repaid by the Moroccan
               Guarantor.

        (e)    In the event that there is any inconsistency between the provisions of this Clause 20.13
               and any other provision of this Agreement or any other Finance Documents, the
               provisions of this Clause 20.13 shall prevail.




  BD-#32148460-v3                                 94
18-13374-mew             Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                 Pg 435 of 692


                                            Section 8
                        Representations, Undertakings and Events of Default

 21          Representations
      21.1         General

             Each Obligor makes the representations and warranties set out in this clause 21 to each
             Finance Party.

      21.2         Status

             (a)    It is a limited liability corporation, duly incorporated and validly existing under the law of
                    its Original Jurisdiction.

             (b)    Each of its Subsidiaries is a limited liability corporation, duly incorporated and validly
                    existing and in good standing under the law of its jurisdiction of incorporation (in relation
                    to good standing, to the extent that concept is applicable in that jurisdiction).

             (c)    Subject to the Orders, it and each of its Subsidiaries has the power to own its assets and
                    carry on its business as it is being conducted.

             (d)    It is not a FATCA FFI or a US Tax Obligor.

      21.3         Binding obligations

             Subject to the Legal Reservations and the Orders:

             (a)    the obligations expressed to be assumed by it in each Finance Document to which it is a
                    party are legal, valid, binding and enforceable obligations; and

             (b)    (without limiting the generality of paragraph (a) above), each Security Document to which
                    it is a party creates the security interests which that Security Document purports to create
                    and those security interests are valid and effective.

      21.4         Non-conflict with other obligations

             Subject to the Orders and the Legal Reservations, the entry into and performance by it of, and
             the transactions contemplated by, the Finance Documents and the granting of the Transaction
             Security do not and will not conflict with:

             (a)    any law or regulation applicable to it;

             (b)    the constitutional documents of any member of the Group; or

             (c)    any agreement or instrument binding upon it or any member of the Group or any of its or
                    any member of the Group's assets or constitute a default or termination event (however
                    described) under any such agreement or instrument.

      21.5         Power and authority

             (a)    Subject to the Orders, it has the power to enter into, perform and deliver, and, subject to
                    the Orders, have taken all necessary action to authorise its entry into, performance and
                    delivery of, the Finance Documents to which it is or will be a party and the transactions
                    contemplated by those Finance Documents.

             (b)    No limit on its powers will be exceeded as a result of the borrowing, grant of security or
                    giving of guarantees or indemnities contemplated by the Finance Documents to which it
                    is a party.



  BD-#32148460-v3                                       95
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                               Pg 436 of 692


   21.6         Validity and admissibility in evidence

          (a)    All Authorisations and any other acts, conditions or things required or desirable:

                 (i)     to enable it lawfully to enter into, exercise its rights and comply with its obligations
                         in the Finance Documents to which it is a party; and

                 (ii)    to make the Finance Documents to which it is a party admissible in evidence in its
                         Relevant Jurisdictions,

                 have been obtained, effected, done, fulfilled or performed and are in full force and effect
                 except any Authorisation or other act, condition or thing referred to in clause 21.8 (No
                 filing or stamp taxes), which will be promptly obtained, effected, done, fulfilled or
                 performed after the date of this Agreement.

          (b)    All Authorisations necessary for the conduct of the business, trade and ordinary activities
                 of members of the Group have been obtained or effected and are in full force and effect.

   21.7         Governing law and enforcement

          (a)    The choice of governing law of the Finance Documents will be recognised and enforced
                 in its Relevant Jurisdictions (provided, as regards Morocco, that the Finance Documents
                 do not contravene with Moroccan public policy rules (dispositions d’ordre public)).

          (b)    Any judgment obtained in relation to a Finance Document in the relevant jurisdiction as
                 specified in that Finance Document will be recognised and enforced in its Relevant
                 Jurisdictions.

          (c)    Any arbitral award obtained in relation to a Finance Document in the relevant seat of that
                 arbitral tribunal specified in that Finance Document will be recognised and enforced in its
                 jurisdiction of incorporation (subject, as regards Morocco, to being vested with exequatur
                 by Moroccan competent courts).

   21.8         No filing or stamp taxes

          Other than under US law as required by the Orders, under the laws of its Relevant Jurisdiction it
          is not necessary that the Finance Documents be filed, recorded or enrolled with any court or
          other authority in that jurisdiction or that any stamp, registration, notarial or similar Taxes or fees
          be paid on or in relation to the Finance Documents or the transactions contemplated by the
          Finance Documents except:

          (a)    the Spanish Pledges (if any) and any other Transaction Security governed by Spanish
                 law granted as a non-possessory pledge (prenda sin desplazamiento) or mortgage
                 (hipoteca) which are subject to registration with the relevant register and there will be
                 notary fees and registrar’s fees, as well as stamp taxes if documented by means of a
                 public deed (escritura pública) to be paid in respect of the execution and registration of
                 those documents, which registrations, filings and fees will be made and paid promptly
                 after the date of the relevant Finance Document;

          (b)    for the fees to be incurred in connection with (i) the notarisation (Beurkundung) of share
                 and/or interest pledge agreements governed by German law and (ii) the registration of
                 mortgages, ship mortgages and land charges with the relevant registry in Germany; and

          (c)    any further requirements for any Security created after the Effective Date and notified to
                 the Facility Agent in writing prior to entry into that Security or set out in the relevant
                 Transaction Security Document.




  BD-#32148460-v3                                     96
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 437 of 692


   21.9         Deduction of Tax

          (a)    Subject to paragraph (b) below, it is not required to make any deduction for or on account
                 of Tax from any payment it may make under any Finance Document.

          (b)    Notwithstanding any other provision of this Agreement, no representation or warranty is
                 given under this clause 21.9 in respect of the Obligors incorporated in certain jurisdictions
                 and notified in writing to the Facility Agent prior to the Effective Date.

  21.10         No default

          (a)    No Event of Default and, on the date of this Agreement, no Default is continuing or is
                 reasonably likely to result from the making of any Utilisation or the entry into, the
                 performance of, or any transaction contemplated by, any Finance Document.

          (b)    No other event or circumstance is outstanding which constitutes (or, with the expiry of a
                 grace period, the giving of notice, the making of any determination or any combination of
                 any of the foregoing, would constitute) a default or termination event (however described)
                 under any other agreement or instrument which is binding on it or any of its Subsidiaries
                 or to which its (or any of its Subsidiaries') assets are subject which has or is reasonably
                 likely to have a Material Adverse Effect.

          (c)    There is no requirement of law or regulation applicable to, or contractual obligation under
                 any agreement or instrument which is binding on, any of the Obligors or any of their
                 respective Subsidiaries, compliance with which has had or could reasonably be expected
                 to have a Material Adverse Effect.

  21.11         No misleading information

          (a)    Any factual information provided by any member of the Group to the Finance Parties (or
                 any of them) prior to the date of this Agreement relating to the Obligors, the Group and
                 the proposed application of the proceeds of the Facility was true and accurate in all
                 material respects as at the date it was provided or as at the date (if any) at which it is
                 stated.

          (b)    Any financial projections provided by any member of the Group to the Finance Parties (or
                 any of them) prior to the date of this Agreement have been prepared on the basis of
                 recent historical information and on the basis of reasonable assumptions.

          (c)    Nothing has occurred or been omitted from any factual information provided by any
                 member of the Group to the Finance Parties (or any of them) prior to the date of this
                 Agreement and no information has been given or withheld that results in such factual
                 information being untrue or misleading in any material respect.

          (d)    All other written information provided by any member of the Group (including its advisers)
                 to a Finance Party was true, complete and accurate in all material respects as at the date
                 it was provided and is not misleading in any respect.

  21.12         [Original Financial Statements]

          [The unaudited consolidated balance sheet of Parent and its consolidated Subsidiaries as at
          [__________] and the related unaudited consolidated statements of operations and cash flows
          for the quarter ended on such date, certified by a director of the Borrower, copies of which have
          heretofore been furnished to each Lender, are complete and correct in all material respects and
          present fairly in all material respects the consolidated financial condition of the Parent and its
          Subsidiaries as at such date, and the consolidated results of their operations for the quarter
          then ended (subject to normal year end audit adjustments and any notes therein). All such
          financial statements have been prepared in accordance with the Accounting Principles in all
          material respects (except for the absence of footnote disclosures and any notes therein). ]




  BD-#32148460-v3                                   97
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 438 of 692


  21.13         No proceedings pending or threatened

          Other than the Cases and any litigation proceedings the details of which have been disclosed in
          writing to the Facility Agent prior to the date of the Amendment and Restatement Agreement, no
          litigation, arbitration or administrative proceedings or investigations of, or before, any court,
          arbitral body or agency which, if adversely determined, are reasonably likely to have a Material
          Adverse Effect, have (to the best of its knowledge and belief (having made due and careful
          enquiry)) been started or threatened against it or any of its Subsidiaries.

  21.14         No breach of laws

          (a)    It has not (and none of its Subsidiaries has) breached any law or regulation which breach
                 has or is reasonably likely to have a Material Adverse Effect.

          (b)    No labour disputes are current or, to the best of its knowledge and belief (having made
                 due and careful enquiry), threatened against any member of the Group which have or are
                 reasonably likely to have a Material Adverse Effect.

          (c)    Subject to the Legal Reservations, each member of the Group is in full compliance with
                 all regulations and rules issued by any Sanctions Authority and has instituted and
                 maintained policies and procedures designed to promote and achieve compliance with
                 such rules and regulations. In addition, each Group member has set up internal systems
                 which enable it to control the origin of all products it purchases to ensure such products
                 are not originating from a person referred to, noted on or otherwise concerned by the
                 Sanctions List.

          (d)    Each Group member has in particular instituted and maintained policies and procedures
                 designed to promote and achieve evaluation of all new suppliers and subcontractors in
                 the Sensitive Zones. No new transactions, within the Sensitive Zone, whether financed
                 on any Group member own funds or via a financial institution, is, has been or will be
                 initiated with suppliers which are not Approved Suppliers.

          (e)    The entry into and performance by each Group member of any supply or sale contracts
                 with any of their counterparties, is not and will not be prohibited or restricted by, and will
                 not expose the Finance Parties, their affiliates, or their agents and/or employees to
                 Sanctions, prohibitions or restrictions under any applicable national or international laws,
                 including rules and regulations of the Sanctions Authorities (including for the avoidance of
                 doubt trade or economic sanctions, prohibitions or restrictions upon Iran and/or Syria).

  21.15         Environmental laws

          (a)    Except as disclosed in writing to the Facility Agent prior to the Effective Date, each
                 member of the Group is in compliance with clause 24.3 (Environmental compliance) and
                 to the best of its knowledge and belief (having made due and careful enquiry) no
                 circumstances have occurred which would prevent such compliance.

          (b)    No Environmental Claim has been commenced or (to the best of its knowledge and belief
                 (having made due and careful enquiry)) is threatened against any member of the Group
                 where that claim has or is reasonably likely, if determined against that member of the
                 Group, to have a Material Adverse Effect.

  21.16         Taxation

          (a)    Taking into account any extensions, it is not (and none of its Subsidiaries is) materially
                 overdue in the filing of any Tax returns and it is not (and none of its Subsidiaries is)
                 overdue in the payment of any amount in respect of Tax, except to the extent (i) payment
                 of any Tax is contested in good faith or (ii) the delay of such filing or payment may not
                 reasonably be expected to have a Material Adverse Effect or (iii) payment is otherwise
                 excused or prohibited by the Bankruptcy Code and for which payment has not otherwise
                 been required by the Bankruptcy Court.



  BD-#32148460-v3                                   98
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 439 of 692


          (b)    No claims or investigations are being, or are reasonably likely to be, made or conducted
                 against it (or any of its Subsidiaries) with respect to Taxes, except to the extent any such
                 claim or investigation is not reasonably expected to have a Material Adverse Effect.

          (c)    Other than in respect of each Obligor incorporated in Liberia, it is resident for Tax
                 purposes only in its Original Jurisdiction.

  21.17         Anti-corruption law and Money Laundering

          Each member of the Group has conducted its businesses in compliance with applicable anti-
          corruption, anti-terrorism, bribery and money laundering laws and has instituted and maintained
          policies and procedures designed to promote and achieve compliance with such laws.

  21.18         Security and Financial Indebtedness

          (a)    No Security or Quasi-Security exists over all or any of the present or future assets of any
                 member of the Group other than as permitted by this Agreement.

          (b)    No member of the Group has any Financial Indebtedness outstanding other than as
                 permitted by this Agreement.

  21.19         Ranking

          Subject to the Orders, the Transaction Security has or when executed will have first ranking
          priority (subject only, in relation to any Second Security to the First Security) and it is not
          otherwise subject to any prior ranking or pari passu ranking Security other than:

          (a)    (in respect of assets secured in Multi-Party TPA Agreements) Security granted by the
                 Company in favour of Hedging Providers and/or Clearing Providers contained in Multi-
                 Party TPA Agreements (as contemplated in clause 6.39 (Multi-Party TPA Agreements)),
                 which shall have first priority in respect of those assets; and

          (b)    in respect of Security granted by the Company in favour of the US Finance Parties in
                 accordance with the terms of the Intercreditor Agreement.

  21.20         Good title to assets

          It and each of its Subsidiaries has a good, valid and marketable title to, or valid leases or
          licences of, and all appropriate Authorisations to use, the assets necessary to carry on its
          business as presently conducted.

  21.21         Legal and beneficial ownership

        (a)      It and each of its Subsidiaries is the sole legal and beneficial owner of the respective
                 assets over which it purports to grant Security free from any claims, third party rights or
                 competing interests other than Security permitted under clause 24.12 (Negative pledge).

        (b)      The Borrowers and each Spanish Pledgor hold and will hold full legal and beneficial title
                 to all assets included in the Borrowing Base from time to time, free from any retention of
                 title arrangements.

  21.22         Group Structure Chart

        (a)      The Group Structure Chart delivered to the Facility Agent pursuant to clause 3.1
                 (Conditions precedent documentation) of the Amendment and Restatement Agreement is
                 true, complete and accurate in all material respects and shows the following information:

                 (i)    each member of the Group, including current name and company registration
                        number, its Original Jurisdiction (in the case of an Obligor), its jurisdiction of
                        incorporation (in the case of a member of the Group which is not an Obligor) and/or


  BD-#32148460-v3                                   99
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                Pg 440 of 692


                          its jurisdiction of establishment, a list of shareholders and indicating whether a
                          company is not a company with limited liability;

                 (ii)     all minority interests in any member of the Group and any person in which any
                          member of the Group holds shares in its issued share capital or equivalent
                          ownership interest of such person; and

                 (iii)    whether it is a Dormant Company and/or Immaterial Subsidiary.

        (b)      Subject to all required restrictions imposed by applicable law and regulation and subject
                 to the Agreed Security Principles, each Subsidiary of the Parent is, or will be upon its
                 accession, a Guarantor. The total book value (determined in accordance with the
                 Accounting Principles) of all assets of all Immaterial Subsidiaries that are not also
                 Obligors does not exceed $2,750,000.

  21.23         Accounting Reference Date

          The Accounting Reference Date of each member of the Group is 31 December.

  21.24         Insurance

          (a)    Each member of the Group maintains:

                 (i)      insurances on and in relation to its fixed assets and its inventory with reputable
                          underwriters or insurance companies or associations against those risks and to the
                          extent as is consistent with sound commercial practice normally maintained by
                          companies carrying on the same or substantially similar business;

                 (ii)     without limitation to clause (a) above, marine cargo insurance (or any equivalent
                          policy of insurance (howsoever described) relating to goods in transit and/or
                          storage) on and in relation to any other of its assets which are or may be taken into
                          account when calculating any Borrowing Base when such assets are in transit or
                          storage against those risks and to the extent as is consistent with normal business
                          practice (including, but not limited to, theft, fire and damage).

          (b)    Except as disclosed in writing to the Facility Agent prior to the Effective Date (as such
                 disclosure may be updated from time to time by the Borrowers with the written consent of
                 the Majority Lenders), no Obligor has been refused insurance for which it applied or had
                 any policy of insurance terminated (other than at its request).

  21.25         Centre of main interests and establishments

          (a)    Unless otherwise disclosed in writing to the Facility Agent prior to the date of the
                 Amendment and Restatement Agreement, for the purposes of The Council of the
                 European Union Regulation No. 848/2015 on Insolvency Proceedings (the Regulation),
                 its centre of main interest (as that term is used in Article 3(1) of the Regulation) is situated
                 in its Original Jurisdiction and it has no "establishment" (as that term is used in Article
                 2(h) of the Regulation) in any other jurisdiction.

          (b)    The Company and APII are non-resident domestic entities and do not have any assets in
                 their respective Original Jurisdictions.

  21.26         No adverse consequences

          (a)    Other than in respect of any Utilisation made by ABGG or OBTG following the Effective
                 Date, it is not necessary under the laws of its Relevant Jurisdictions:

                 (i)      in order to enable any Finance Party to enforce its rights under any Finance
                          Document; or




  BD-#32148460-v3                                    100
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                              Pg 441 of 692


                 (ii)    by reason of the execution of any Finance Document or the performance by it of its
                         obligations under any Finance Document,

                 that any Finance Party should be licensed, qualified or otherwise entitled to carry on
                 business in any of its Relevant Jurisdictions.

          (b)    Other than in respect of any Utilisation made by ABGG or OBTG following the Effective
                 Date, no Finance Party is or will be deemed to be resident, domiciled or carrying on
                 business in its Relevant Jurisdictions by reason only of the execution, performance
                 and/or enforcement of any Finance Document.

  21.27         Pari Passu Ranking

          Any unsecured and unsubordinated claims of the Finance Parties against it, any Spanish
          Pledgor or any South African Pledge Counterparty under the Finance Documents shall rank at
          least pari passu with the claims of all of its other unsecured and unsubordinated creditors
          except those creditors whose claims are mandatorily preferred by laws of general application to
          companies or pursuant to any Order.

  21.28         Sanctions

          No Obligor nor any other member of the Group, nor any of their respective directors, officers or
          employees nor, to the knowledge of any Obligor, any persons acting on any of their behalf:

          (a)    is a Prohibited Person;

          (b)    is owned or controlled by, or acting directly or indirectly on behalf of or for the benefit of, a
                 Prohibited Person;

          (c)    owns or controls a Prohibited Person;

          (d)    is in breach of Sanctions; or

          (e)    has received notice of or is aware of any claim, action, suit, proceeding or investigation
                 against it with respect to Sanctions by any Sanctions Authority.

          Each Obligor and its Affiliates is in full compliance with all regulations and rules issued by any
          Sanctions Authority and has instituted and maintained policies and procedures designed to
          promote and achieve compliance with such rules and regulations.

          In addition, each Obligor and its Affiliates has set up internal systems which enable it to control
          the origin of all products it purchases to ensure such products are not originating from a person
          referred to, noted on or otherwise concerned by the Sanctions List.

          The entry into and performance by each Obligor and its Affiliates of any supply or sale contracts
          with any of their counterparties, is not and will not be prohibited or restricted by, and will not
          expose the Finance Parties, their affiliates, or their agents and/or employees to Sanctions,
          prohibitions or restrictions under any applicable national or international laws, including rules
          and regulations of the Sanctions Authorities.

  21.29         Force Majeure

          Except as would not reasonably be expected to result in a Material Adverse Effect, neither the
          business nor the properties of the Obligors or any of their respective Subsidiaries are affected
          by any fire, explosion, accident, strike, lockout or other labour dispute, drought, storm, hail,
          earthquake, embargo, act of God or of a public enemy or other casualty.




  BD-#32148460-v3                                    101
18-13374-mew               Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                  Pg 442 of 692


  21.30            Permitted Financial Indebtedness

             Schedule 14 (Permitted Financial Indebtedness) separately identifies all Financial Indebtedness
             (other than trade payables, the Loans or the Credit Instruments) of the Obligors and their
             respective Subsidiaries, which is for borrowed money.

  21.31            Times when representations made

             (a)    All the representations and warranties in this clause 21 are made by each Obligor on the
                    date of this Agreement, the date of the Amendment and Restatement Agreement.

             (b)    The Repeating Representations are deemed to be made by each Obligor on the date of
                    each Utilisation Request, on each Utilisation Date, on the first day of each Interest Period
                    and, in the case of an Additional Obligor, on the day on which the company becomes (or
                    it is proposed that the company becomes) an Additional Obligor.

             (c)    Each representation or warranty deemed to be made after the date of this Agreement
                    shall be deemed to be made by reference to the facts and circumstances existing at the
                    date the representation or warranty is deemed to be made.

 22          Information Undertakings
             The undertakings in this clause 22 remain in force from the date of this Agreement for so long
             as any amount is outstanding under the Finance Documents or any Commitment is in force.

      22.1         Financial statements and reports

             The Company shall supply to the Facility Agent in sufficient copies for all the Lenders:

             (a)    as soon as available, but in any event not later than 30 days after the end of each fiscal
                    month of Parent, (i) a copy of the unaudited consolidated balance sheets of Parent and
                    its consolidated Subsidiaries as at the end of such fiscal month and the related unaudited
                    consolidated statements of income and retained earnings for such fiscal month and the
                    portion of the fiscal year through the end of such fiscal month, setting forth in each case
                    in comparative form the figures for the previous fiscal year, certified by a Responsible
                    Person of the Company, in his or her capacity as a Responsible Person, as fairly
                    presenting in all material respects the Borrowers’ and such Subsidiaries’ financial
                    condition, results of operations and cash flows in accordance with Accounting Principles
                    and (ii) the net book value, determined in accordance with Accounting Principles, of all
                    assets of the Immaterial Subsidiaries;

             (b)    on a weekly basis and on a roll forward basis, a Budget variance report/reconciliation for
                    each week (commencing on the date that is one week following the Petition Date)
                    (delivered no later than the end of each week),

                    (i)     showing a statement of actual cash sources and uses of all free cash flow for the
                            immediately preceding week, noting therein all material variances from values set
                            forth for such historical periods in the Budget, and shall include explanations for all
                            such variances; and

                    (ii)    accompanied by a certification by a Responsible Person of the Company (A) as to
                            its reasonableness when made by the Company; and (B) that each Obligor is in
                            compliance with clause 23 (Budget variance);

             (c)    as soon as practicable in advance of filing with the Bankruptcy Court, all motions,
                    applications, pleadings, proposed orders, judicial or financial information, and other
                    documents as soon as practical in advance of filing by or on behalf of the Debtors with
                    the Bankruptcy Court or any court pleadings distributed to any official committee
                    appointed in the Cases; provided that all pleadings and proposed orders and any other
                    such filings that relate to the Finance Documents, the Secured Obligations, the Final


  BD-#32148460-v3                                       102
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 443 of 692


                 Order, bidding procedures, or any plan of reorganization or plan of liquidation, or any
                 disclosure statement related thereto shall be in form and substance satisfactory to the
                 Lenders.

   22.2         Provision and contents of Compliance Certificate

          (a)    The Company shall supply a Compliance Certificate to the Facility Agent with each set of
                 financial statements of the Parent delivered in accordance with clause 22.1(a), but only to
                 the extent consistent with accounting industry policies generally followed by independent
                 certified public accountants, a certificate of its independent certified public accountants
                 stating that in making the examination necessary therefor no knowledge was obtained of
                 any Default arising from a breach under clause 23 (Budget variance) or, if any such
                 Default shall exist, stating the nature and status of such event.

          (b)    The Company shall supply a Compliance Certificate to the Facility Agent with each set of
                 financial statements of the Parent delivered in accordance with clause 22.1(a) a duly
                 completed certificate signed by a Responsible Person of the Parent (i) certifying as to
                 whether a Default has occurred and, if a Default has occurred, specifying the details
                 thereof and any action taken or proposed to be taken with respect thereto and (ii) setting
                 forth reasonably detailed calculations demonstrating compliance with clause 23 (Budget
                 variance).

   22.3         Information: miscellaneous

          The Company shall supply to the Facility Agent (in sufficient copies for all the Lenders, if the
          Facility Agent so requests) and, in relation to paragraph (s) below and following any Finance
          Party request, to that Finance Party’s professional advisors:

          (a)    promptly after the same are publicly available, copies of each annual report, proxy or
                 financial statement or other report or communication sent to the shareholders of the
                 Obligors generally and copies of all annual, regular, periodic and special reports and
                 registration statements that the Parent or any Subsidiary may file or be required to file
                 with the SEC or any Governmental Authority succeeding to any or all of the functions of
                 the SEC, or with any national securities exchange, and not otherwise required to be
                 delivered pursuant hereto;

          (b)    promptly after the furnishing thereof, copies of any material request or notice received by
                 the Parent or any Subsidiary, or any statement or report furnished by the Parent or any
                 Subsidiary to any holder of debt securities with a principal amount in excess of
                 $1,000,000 of the Parent or any Subsidiary, pursuant to the terms of any indenture, loan
                 or credit or similar agreement and not otherwise required to be furnished pursuant hereto;

          (c)    promptly after receipt thereof by the Parent or any Subsidiary, copies of each notice or
                 other correspondence received from the SEC (or comparable agency in any applicable
                 non-U.S. jurisdiction) concerning any investigation or possible investigation or other
                 inquiry by such agency regarding financial or other operational results of the Parent or
                 any Subsidiary;

          (d)    promptly after receipt thereof by the Parent or any Subsidiary, copies of any detailed final
                 audit reports, management letters or recommendations submitted to the board of
                 directors (or the audit committee of the board of directors) of the Parent by independent
                 accountants in connection with the accounts or books of the Parent or any Subsidiary, or
                 any audit of any of them;

          (e)    promptly, upon receipt thereof, copies of all final “management letters” submitted to the
                 Parent or any Subsidiary by the independent public accountants referred to in clause
                 22.2;

          (f)    within one Business Day after delivery thereof to the lenders in relation to the US DIP
                 Credit Facilities, copies of all financial statements, projections, forecasts, reconciliations



  BD-#32148460-v3                                   103
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                            Pg 444 of 692


               and cash balance reports, borrowing base reports and/or other financial reporting
               delivered to the lenders in relation to the US DIP Credit Facilities;

        (g)    promptly, such information on the Hess Litigation as the Facility Agent or any Lender may
               from time to time reasonably request; provided that such information is not (i) entitled to
               legal privilege such as attorney work product and attorney-client communications (unless
               such information is subject to a common interest) or (ii) otherwise subject to a
               confidentiality restriction that would prohibit the Company from providing such
               information;

        (h)    promptly, copies of any account statements or reports as the Facility Agent or any Lender
               may from time to time reasonably request that have been received by or are available to
               any Obligor with respect to any bank account that is the subject of an Account Pledge
               Agreement;

        (i)    details of any (i) default or event of default under any post-petition contractual obligation
               of the Obligors or any of their respective Subsidiaries of more than $500,000 or that
               would reasonably be expected to result in a Material Adverse Effect, (ii) post-petition
               contractual obligation of the Obligors or their Subsidiaries of more than $500,000 or that
               would reasonably be expected to result in a Material Adverse Effect being declared or
               otherwise accelerated prior to its stated maturity or (iii) litigation, investigation or
               proceeding which may exist at any time between the Obligors or any of their respective
               Subsidiaries and any Governmental Authority;

        (j)    promptly upon becoming aware of them, the details of any litigation, arbitration or
               administrative proceedings which are current, threatened or pending against any Obligor,
               and which, if adversely determined, are reasonably likely to have a Material Adverse
               Effect or which would involve a liability, or a potential alleged liability, exceeding $100,000
               (or its equivalent in other currencies);

        (k)    promptly, notice at any time at which the Borrowing Base Amount is less than zero;

        (l)    promptly, details of any change in the information provided in the Group Structure Chart
               that would result in a change to the list of beneficial owners identified in such certification;

        (m)    promptly, details of any change in a Subsidiary of the Parent, such that it has become, or
               is no longer, an Immaterial Subsidiary;

        (n)    promptly, such information as the Security Agent may reasonably require about the
               Charged Property and compliance of the Obligors with the terms of any Transaction
               Security Documents;

        (o)    promptly on request, such further information regarding the financial condition, business
               assets and operations of the Group and/or any member of the Group (including any
               requested amplification or explanation of any item in the financial statements, or other
               material provided by any Obligor under this Agreement and an up to date copy of its
               shareholders' register (or equivalent in its Original Jurisdiction)) as any Finance Party,
               through the Facility Agent, may reasonably request;

        (p)    promptly upon becoming aware of them, details of any claim made by an Obligor under
               any insurance policy, the underlying cause of which might have a Material Adverse
               Effect;

        (q)    promptly upon becoming aware of them, details of any change in the structure of the
               Group relating to the Obligors from that reflected in the Group Structure Chart (in a form
               agreed on or around the date of the Amendment and Restatement Agreement);

        (r)    promptly upon request, such information regarding any Lender Discounting Facility as the
               Facility Agent or the Security Agent may from time to time reasonably request;




  BD-#32148460-v3                                  104
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                Pg 445 of 692


          (s)    regular updates and ongoing information in relation to the preparation and filing of the
                 financial statements described in 22.1(a) in respect of the Parent’s Financial Year ending
                 31 December 2017 and the consequences of for the Group of the failure to finalise and
                 file the same;

          (t)    promptly upon becoming aware of it, the execution of or any material change to any
                 Lender Discounting Facility;

          (u)    promptly upon request, and in any event within three (3) Business Day of such request,
                 details of any off-takers (including legal name, address and contact details); and

          (v)    promptly, responses any and all questions of the Facility Agent or the Majority Lenders
                 regarding the foregoing.

   22.4         Notification of default and of expectation not to meet Budget

          (a)    Each Obligor shall notify the Facility Agent of any Default (and the steps, if any, being
                 taken to remedy it) promptly upon becoming aware of its occurrence (unless that Obligor
                 is aware that a notification has already been provided by another Obligor).

          (b)    Promptly upon a request by the Facility Agent, the Company shall supply to the Facility
                 Agent a certificate signed by two of its directors or senior officers on its behalf certifying
                 that no Default is continuing (or if a Default is continuing, specifying the Default and the
                 steps, if any, being taken to remedy it).

          (c)    The Company shall promptly upon becoming aware of the same notify the Facility Agent
                 of the expectation that the Debtors will not meet the Budget.

   22.5         "Know your customer" checks

          (a)    If:

                 (i)      the introduction of or any change in (or in the interpretation, administration or
                          application of) any law or regulation made after the date of this Agreement;

                 (ii)     any change in the status of an Obligor, any Spanish Pledgor or any South African
                          Pledge Counterparty or (other than in relation to the Parent) the composition of the
                          shareholders of an Obligor, any Spanish Pledgor or any South African Pledge
                          Counterparty after the date of this Agreement;

                 (iii)    a proposed assignment or transfer by a Lender of any of its rights and/or
                          obligations under this Agreement to a party that is not a Lender prior to such
                          assignment or transfer;

                 (iv)     any Change in UBO (other than in respect of the Parent listed on the New York
                          Stock Exchange), after the date of this Agreement; or

                 (v)      any Applicable KYC Procedures,

                 obliges the Facility Agent or any Lender (or, in the case of paragraph (iii) above, any
                 prospective new Lender), or any Lender obliges the Facility Agent or any Lender (or, in
                 the case of paragraph (iii) above, any prospective new Lender), to comply with "know
                 your customer" or similar identification procedures in circumstances where the necessary
                 information is not already available to it, each Obligor shall promptly upon the request of
                 the Facility Agent or any Lender supply, or procure the supply of, such documentation
                 and other evidence as is reasonably requested by the Facility Agent (for itself or on
                 behalf of any Lender) or any Lender (for itself or, in the case of the event described in
                 paragraph (iii) above, on behalf of any prospective new Lender) in order for the Facility
                 Agent, such Lender or, in the case of the event described in paragraph (iii) above, any
                 prospective new Lender to carry out and be satisfied it has complied with all necessary



  BD-#32148460-v3                                    105
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 446 of 692


                 "know your customer" or other similar checks under all applicable laws and regulations
                 pursuant to the transactions contemplated in the Finance Documents.

          (b)    Each Lender shall promptly upon the request of the Facility Agent supply, or procure the
                 supply of, such documentation and other evidence as is reasonably requested by the
                 Facility Agent (for itself) in order for the Facility Agent to carry out and be satisfied it has
                 complied with all necessary "know your customer" or other similar checks under all
                 applicable laws and regulations pursuant to the transactions contemplated in the Finance
                 Documents.

          (c)    For this purpose Change in UBO means any event by which a private individual
                 (natuurlijk persoon) acquires the legal and beneficial ownership (directly or indirectly) of
                 10 per cent. or more of the issued share capital of an Obligor, or the power (whether by
                 way of ownership of shares, proxy, contract, agency or otherwise) to (directly or
                 indirectly) cast, or control the casting of, 25 per cent. or more of the votes that might be
                 cast at a general meeting of an Obligor, any Spanish Pledgor or any South African
                 Pledge Counterparty.

   22.6         Additional Obligors

          (a)    The Company shall, by not less than ten (10) Business Days' prior written notice to the
                 Facility Agent, notify the Facility Agent (which shall promptly notify the Lenders) of its
                 intention to request that one of its Subsidiaries becomes an Additional Obligor pursuant
                 to clause 29 (Changes to the Obligors).

          (b)    Following the giving of any notice pursuant to clause 22.6(a) above, if the accession of
                 such Additional Obligor obliges the Facility Agent or any Lender to comply with “know
                 your customer” or similar identification procedures in circumstances where the necessary
                 information is not already available to it, the Company shall promptly upon the request of
                 the Facility Agent or any Lender supply, or procure the supply of, such documentation
                 and other evidence as is reasonably requested by the Facility Agent (for itself or on
                 behalf of any Lender) or any Lender (for itself or on behalf of any prospective new
                 Lender) in order for the Facility Agent or such Lender or any prospective new Lender to
                 carry out and be satisfied it has complied with all necessary “know your customer” or
                 other similar checks under all applicable laws and regulations pursuant to the accession
                 of such Subsidiary to this Agreement as an Additional Obligor.

   22.7         Borrowing Base Report and Cross-Check Borrowing Base Report

          (a)    For the purposes of the valuation of the Borrowing Base, the Company shall deliver to the
                 Collateral Management Agent for distribution to the Lenders:

                 (i)     a Borrowing Base Report on every Business Day following the date of this
                         Agreement; and

                 (ii)    a Cross-Check Borrowing Base Report on a four-weekly basis to be delivered
                         within ten (10) days of every second Borrowing Base Report (or, if the 10th day is
                         not a Business Day, by the next Business Day).

          (b)    Each Borrowing Base Report shall:

                 (i)     be based on information and figures as at close of business on the second
                         Business Day immediately preceding the date of such Borrowing Base Report; and

                 (ii)    set out the Outstandings under each Facility on the date of its issue.

        (c)      Each Cross-Check Borrowing Base Report shall be in the same form as the Borrowing
                 Base Report but shall:




  BD-#32148460-v3                                    106
18-13374-mew          Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 447 of 692


               (i)     be based on information and figures relating to inventory provided by independent
                       sources (copies of which shall be provided to the Collateral Management Agent) in
                       respect of:

                       (A)   the storage volumes at any inland storage facilities, leased or owned by the
                             Borrowers and the Spanish Pledgor and which have capacity equal to or in
                             excess of 50,000 metric tons; and

                       (B)   the storage volumes on any vessels leased or owned by the Borrowers and
                             the Spanish Pledgor which have capacity equal to or in excess of 15,000
                             metric tons; and

               (ii)    replace non-invoiced Eligible Receivables with corresponding invoices in each
                       case based on the Group’s figures for the date on which the most recent Borrowing
                       Base Report related.

        (d)    The Collateral Management Agent (acting on the instructions of the Majority Lenders)
               shall be entitled at any time, in relation to all or any part of the information contained in a
               Borrowing Base Report or a Cross-Check Borrowing Base Report to:

               (i)     examine (upon request) the records of any Obligor to verify such information;
                       and/or

               (ii)    require that an independent reputable surveyor or accounting firm verify such
                       information,

               and the Company shall take all such action as is available to it and do all such acts and
               things as the Collateral Management Agent (acting on the instructions of the Majority
               Lenders) may specify in this regard the costs of such verification shall be promptly paid
               by the Company.

        (e)    Any failure to deliver information required under this Agreement or any delivery
               information which is not satisfactory to the Collateral Management Agent (acting on the
               instructions of the Majority Lenders) and relating to any item in a Borrowing Base Report
               or a Cross-Check Borrowing Base Report shall result in such item being excluded from
               the Borrowing Base.

   22.8       Borrowing Base Audit Report

        (a)    Subject to paragraph (c), the Company shall deliver to the Collateral Management Agent
               (in sufficient copies for the Lenders if the Collateral Management Agent so requests) a
               Borrowing Base Audit Report promptly upon the Collateral Management Agent’s request
               (as instructed by the Majority Lenders).

        (b)    Subject to paragraph (c), until such time as the Facility Agent notifies the Company in
               writing that the following shall cease to apply:

               (i)     at any time and on any number of occasions the Finance Parties shall be entitled
                       to appoint third parties to:

                       (A)   perform an audit report in respect of the Borrowing Base; and/or

                       (B)   inspect any inventory included or capable of being included in the Borrowing
                             Base,

                       and in each case the Company shall:

                             (1)     permit those third parties, and procure the permission by any
                                     applicable person for such third parties to have, free access at all




  BD-#32148460-v3                                  107
18-13374-mew            Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                Pg 448 of 692


                                      times and at the risk and cost of the Company to the relevant facilities
                                      or premises where any relevant inventory is located; and

                              (2)     within three (3) Business Days of demand pay to the Facility Agent all
                                      costs and expenses incurred by the Finance Parties from time to time
                                      in connection with the engagement of such third parties.

        (c)      The Collateral Management Agent may only make one such request and the Facility
                 Agent may only deliver one notice respectively under paragraphs (a) and (b) above
                 unless an Event of Default is continuing or the Termination Date occurs more than 120
                 days after the Effective Date.

   22.9         Deficient Borrowing Base Report

          If, at any time, any Deficient Borrowing Base Report is delivered to the Collateral Management
          Agent:

          (a)    the Company shall, from the date the Deficient Borrowing Base Report is delivered to the
                 Collateral Management Agent until it is replaced by a Compliant Borrowing Base Report
                 in accordance with part (b) below, provide the Collateral Management Agent (for
                 distribution to the Lenders) with Borrowing Base Reports on a daily basis showing the
                 information and Outstandings as at the previous day, which additional Borrowing Base
                 Reports must show that there has been no further decrease in the Borrowing Base
                 Amount; and

          (b)    the Company shall within fourteen (14) days of such delivery procure the cancellation of
                 such Deficient Borrowing Base Report and its replacement by a Compliant Borrowing
                 Base Report.

  22.10         Title to Borrowing Base assets

          Each Borrower shall ensure that it holds full legal and beneficial title to the assets purporting to
          be owned by it in the Borrowing Base, free of any retention of title arrangements.

  22.11         Additional Cross-Check Borrowing Base Reporting

          Each Cross-Check Borrowing Base Report shall be accompanied by the following (in sufficient
          copies for the Lenders if the Collateral Management Agent (acting on the instructions of the
          Majority Lenders) so requests):

        (a)      a report of an independent inspector approved by the Facility Agent detailing:

                 (i)     the storage volumes at any inland storage facilities, leased or owned by the
                         Borrowers and the Spanish Pledgors; and

                 (ii)    the storage volumes on any vessels leased or owned by the Borrowers and the
                         Spanish Pledgors,

                 or, in each case, a holding certificate from a third party storer acceptable to the Collateral
                 Management Agent (acting on the instructions of the Majority Lenders) and in a form
                 acceptable to the Collateral Management Agent (acting on the instructions of the Majority
                 Lenders);

        (b)      a report of an independent inspector approved by the Facility Agent detailing the storage
                 volumes in any German storage which is the subject of the German Security Transfer
                 Agreements;

        (c)      a sample of thirty (30) randomly selected trade confirmations/bunker confirmations;




  BD-#32148460-v3                                   108
18-13374-mew            Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                                Pg 449 of 692


        (d)      a list of those non-invoiced Eligible Receivables converted into invoices (with associated
                 invoice numbers) and reconciliation with the list of non-invoiced Eligible Receivables
                 detailed in the most recent Borrowing Base Report;

        (e)      the lower of:

                 (i)     a sample of sixty (60) randomly selected invoices; and

                 (ii)    all invoices,

                 evidencing invoicing of non-invoiced Eligible Receivables as reported in the most recent
                 Borrowing Base Report;

        (f)      a sample of sixty (60) randomly selected invoices already reported as invoiced Eligible
                 Receivables in the most recent Borrowing Base Report;

        (g)      all copies of bills of lading in respect of barges above 3,000 dwt confirming values on
                 board and showing issuance or endorsement to the order of the Security Agent; and

        (h)      a report in form and substance satisfactory to the Collateral Management Agent (acting
                 on the instructions of the Majority Lenders) evidencing as at close of business on the last
                 Business Day of each calendar month all receivables sold pursuant to any receivables
                 purchase programme or invoice discounting programme.

  22.12         Reporting

          (a)    Each Lender and Borrower shall promptly (and in any event within one (1) Business Day)
                 provide the Facility Agent upon request with such details in respect of Utilisations made
                 by it as the Facility Agent may request.

          (b)    If a Borrowing Base Report indicates that the Borrowing Base Amount is a negative
                 number no Borrower shall request or make Utilisations until a Compliant Borrowing Base
                 Report has been provided to the Collateral Management Agent (which, if not provided on
                 the date of a regular weekly Borrowing Base Report, shall be provided in addition
                 thereto).

  22.13         Non-Borrowing Base Receivables Report

          The Company hereby agrees that it shall provide to the Facility Agent by 31 January 2019 (or
          such earlier date on which a press release may be issued or an announcement made by the
          Company in respect of the Non-Borrowing Base Receivables):

          (a)    in circumstances where Arnold & Porter (acting on behalf of the audit committee of the
                 Company) provides a written report regarding the Non-Borrowing Base Receivables, a
                 copy of that report or, in circumstances where the Company is concerned about the loss
                 of attorney-client privilege or its impact upon the investigation, a written summary of that
                 report; or

          (b)    in circumstances where Arnold & Porter does not provide a written report regarding the
                 Non-Borrowing Base Receivables, a written summary of the Company’s investigations
                 into the Non-Borrowing Base Receivables (either in the form of a press release or
                 summary prepared specifically for the Facility Agent).

  22.14         Proof of Origin

          All incoming flows in respect of the Sensitive Zone, either purchased through letter of credit
          (including against any countersigned letter of indemnity) or on open account basis but subject to
          incoterms linked to any place within the Sensitive Zone, should be documented with bills of
          lading showing an acceptable port of loading and:




  BD-#32148460-v3                                   109
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 450 of 692


          (a)    if the Approved Supplier is a refinery, shall be accompanied by a Certificate of Origin; or

          (b)    if the Approved Supplier is not a refinery, the Company shall use its best endeavours to
                 procure it is accompanied by a Certificate of Origin.

  22.15         Inspection and Management in Sensitive Zones

          The Borrowers shall procure that all stocks and inventory of the Borrowers located offshore or
          inland in the Sensitive Zone shall be the subject of a Stock Monitoring Agreement or a Collateral
          Management Agreement as the case may be.

  22.16         Hess Corporation proceedings

          The Company shall promptly provide such information on the Hess Litigation as the Facility
          Agent or any Lender may from time to time reasonably request; provided that such information
          is not (i) entitled to legal privilege such as attorney work product and attorney-client
          communications (unless such information is subject to a common interest) or (ii) otherwise
          subject to a confidentiality restriction that would prohibit Borrower from providing such
          information

  22.17         Insolvency proceedings and Bankruptcy Court filings

          As soon as practicable in advance of filing with the Bankruptcy Court, the Company shall
          provide to the Facility Agent all motions, applications, pleadings, proposed orders, judicial or
          financial information, and other documents as soon as practical in advance of filing by or on
          behalf of the Debtors with the Bankruptcy Court or any court pleadings distributed to any official
          committee appointed in the Cases; provided that all pleadings and proposed orders and any
          other such filings that relate to the Finance Documents, the Commitments, the Final Order,
          bidding procedures, or any plan of reorganization or plan of liquidation, or any disclosure
          statement related thereto shall be in form and substance satisfactory to the Facility Agent and
          the Majority Lenders.

  22.18         US DIP Credit Facility Agreement waivers

          If any member of the Group is obliged under the terms of any waivers granted in relation to the
          US DIP Credit Facility Agreement (the US Waivers) to provide information to the lenders or any
          agent under the US DIP Credit Facility Agreement or their advisors which is either:

          (a)    Additional Required Information; or

          (b)    Early Delivery Information,

          the Company shall procure that such information is delivered to the Facility Agent on the same
          date and on the same terms as required under the US Waivers.

          For these purposes:

          Additional Required Information shall mean information required to be delivered under a US
          Waiver which is not otherwise required to be delivered by an Obligor to any Finance Party
          Facility Agent and Lender (acting reasonably) to be of direct relevance to the Obligors, a Facility
          or the matters set out in this Letter provided that the Facility Agent shall have given the
          Company reasonable notice that it will require disclosure of such information pursuant to this
          paragraph 17.

          Early Delivery Information shall mean information required to be provided under this Letter at
          a later date than such information is required to be provided to the lenders or agent under the
          US DIP Credit Facility Agreement or their advisors under the US Waivers.




  BD-#32148460-v3                                   110
18-13374-mew                Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                                  Pg 451 of 692


 23          Budget variance
             (a)    Commencing after the conclusion of the fourth full week after the Petition Date, the
                    Obligors’ total cumulative operating disbursements since the Petition Date will not exceed
                    105% of the amount set forth in the approved Budget(s) covering such cumulative period
                    (which amount, for the avoidance of doubt, shall take into account any positive or
                    negative variances—i.e., the amount by which total operating disbursements is less or
                    greater than 100% of the budgeted amount—from any prior testing period that may be
                    carried forward and applied to the current period), unless the Majority Lenders have
                    provided a written waiver of such excess.

             (b)    No Obligor shall make any payments relating to prepetition obligations other than in
                    accordance with the Budget or as otherwise permitted hereunder or, if a that Obligor is a
                    Debtor, with (i) a Bankruptcy Court order, (ii) the Interim DIP Order, (iii) the Final DIP
                    Order, or (iv) as agreed to by the Majority Lenders.

 24          General Undertakings
             The undertakings in this clause 24 remain in force from the date of this Agreement for so long
             as any amount is outstanding under the Finance Documents or any Commitment is in force.

             Authorisations and compliance with laws

      24.1         Authorisations

             Each Obligor shall (and shall procure that the Spanish Pledgors and the South African Pledge
             Counterparties shall) promptly:

             (a)    obtain, comply with and do all that is necessary to maintain in full force and effect; and

             (b)    supply certified copies to the Facility Agent of:

             any Authorisation required under any law or regulation of a Relevant Jurisdiction to:

                             (A)         enable it to perform its obligations under the Finance Documents;

                             (B)   ensure the legality, validity, enforceability or admissibility in evidence of any
                                   Finance Document; and

                             (C)   carry on its business where failure to do so has or is reasonably likely to
                                   have a Material Adverse Effect.

      24.2         Compliance with laws

             Each Obligor shall (and the Company shall ensure that each member of the Group will) comply
             in all respects with all laws to which it may be subject, if failure so to comply has or is
             reasonably likely to have a Material Adverse Effect.

      24.3         Environmental compliance

             Each Obligor shall (and the Company shall ensure that each member of the Group will):

                    (i)      comply with all Environmental Law;

                    (ii)     obtain, maintain and ensure compliance with all requisite Environmental Permits;
                             and

                    (iii)    implement procedures to monitor compliance with and to prevent liability under any
                             Environmental Law,



  BD-#32148460-v3                                        111
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 452 of 692


                 where failure to do so has or is reasonably likely to have a Material Adverse Effect.

   24.4         Environmental claims

          Each Obligor shall (through the Company), promptly upon becoming aware of the same, inform
          the Facility Agent in writing of:

          (a)    any Environmental Claim against any member of the Group which is current, pending or
                 threatened; and

          (b)    any facts or circumstances which are reasonably likely to result in any Environmental
                 Claim being commenced or threatened against any member of the Group,

          where the claim, if determined against that member of the Group, has or is reasonably likely to
          have a Material Adverse Effect.

   24.5         Anti-corruption law

          (a)    No Obligor shall (and the Company shall ensure that no other member of the Group will)
                 directly or indirectly use the proceeds of the Facility for any purpose which would breach
                 the Bribery Act 2010, the United States Foreign Corrupt Practices Act of 1977, the
                 Corruption, Drug Trafficking and Other Serious Crimes (Confiscation of Benefits) Act or
                 other similar legislation in other jurisdictions.

          (b)    Each Obligor shall (and the Company shall ensure that each other member of the Group
                 will):

                 (i)     conduct its businesses in compliance with applicable anti-corruption, anti-terrorism,
                         bribery and money laundering laws; and

                 (ii)    maintain policies and procedures designed to promote and achieve compliance
                         with such laws.

   24.6         Taxation

          (a)    Each Obligor shall (and the Company shall ensure that each member of the Group will)
                 pay and discharge all Taxes imposed upon it or its assets within the time period allowed
                 without incurring penalties unless and only to the extent that:

                 (i)

                         (A)   such payment is being contested in good faith;

                         (B)   adequate reserves are being maintained for those Taxes and the costs
                               required to contest them which have been disclosed in its latest financial
                               statements delivered to the Facility Agent under clause 22.1 (Financial
                               statements); and

                         (C)   such payment can be lawfully withheld; or

                 (ii)    payment is stayed by the Bankruptcy Court.

          (b)    No member of the Group may change its residence for Tax purposes.




  BD-#32148460-v3                                   112
18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                              Pg 453 of 692


          Restrictions on business focus

   24.7         Merger

          No Obligor shall (and the Company shall ensure that no other member of the Group will) enter
          into any amalgamation, demerger, merger, consolidation or corporate reconstruction except:

          (a)    as set out in the “Fundamental Changes” schedule delivered by the Company to the
                 Facility Agent prior to the Effective Date;

          (b)    mergers, consolidations or amalgamations between and among the Obligors; and

          (c)    liquidations and dissolutions of any Subsidiary so long as the assets are directly or
                 indirectly transferred to an Obligor.

   24.8         Change of business

          The Company shall procure that no substantial change is made to the general nature of the
          business of the Parent, the Obligors or the Group taken as a whole from that carried on by the
          Group at the date of the Amendment and Restatement Agreement except as required by the
          Bankruptcy Code or orders entered by the Bankruptcy Court.

   24.9         Application of FATCA

          The Company shall procure that, unless otherwise agreed by all the Finance Parties, no Obligor
          shall become a FATCA FFI or a US Tax Obligor excluding those Obligors identified by the
          Company as US Tax Obligors prior to the Effective Date and notified to the Facility Agent.

          Restrictions on dealing with assets and Security

  24.10         Preservation of assets

          (a)    Each Obligor shall (and the Company shall ensure that each other member of the Group
                 will) maintain in good working order and condition (ordinary wear and tear excepted) all of
                 its assets necessary or desirable in the conduct of its business.

          (b)    Each Obligor shall (and the Company shall ensure that each other member of the Group
                 will) use all reasonable endeavours to keep available the services and goodwill of such of
                 its present employees as are, in the reasonable opinion of the Obligors or any of their
                 respective Subsidiaries, as applicable, necessary or desirable for the conduct of its
                 business as it is currently conducted.

  24.11         Pari passu ranking

          Each Obligor shall ensure that at all times any unsecured and unsubordinated claims of a
          Finance Party against it under the Finance Documents rank at least pari passu with the claims
          of all its other unsecured and unsubordinated creditors except those creditors whose claims are
          mandatorily preferred by laws of general application to companies or pursuant to any Order.

  24.12         Negative pledge

          In this clause 24.12, Quasi-Security means an arrangement or transaction described in
          paragraph (b) below.

          Except as permitted under paragraph (c) below:

          (a)    No Obligor shall (and the Company shall ensure that no other member of the Group will)
                 create or permit to subsist any Security over any of its assets.




  BD-#32148460-v3                                  113
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 454 of 692


        (b)    No Obligor shall (and the Company shall ensure that no other member of the Group will):

               (i)       sell, transfer or otherwise dispose of any of its assets on terms whereby they are or
                         may be leased to or re-acquired by an Obligor or any other member of the Group;

               (ii)      sell, transfer or otherwise dispose of any of its receivables on recourse terms;

               (iii)     enter into any arrangement under which money or the benefit of a bank or other
                         account may be applied, set-off or made subject to a combination of accounts; or

               (iv)      enter into any other preferential arrangement having a similar effect,

               in circumstances where the arrangement or transaction is entered into primarily as a
               method of raising Financial Indebtedness or of financing the acquisition of an asset.

        (c)    Paragraphs (a) and (b) above do not apply to any Security or (as the case may be)
               Quasi-Security, which is:

               (i)       Transaction Security;

               (ii)      existing prior to the date of this Agreement and details of which have been
                         provided to the Facility Agent pursuant to paragraph 6 of Part 1 of Schedule 2
                         (Conditions precedent to initial Utilisation);

               (iii)     approved in writing by the Facility Agent (acting on the instructions of the Majority
                         Lenders);

               (iv)      to secure the Prepetition Obligations;

               (v)       to secure Bridge Financing which is expressly permitted pursuant to clause
                         24.18(a)(ii) (Financial Indebtedness);

               (vi)      Security (other than Security arising under any Environmental Law) for taxes,
                         assessments or governmental charges (including Security in favor of customs and
                         revenues authorities imposed by applicable law arising in the ordinary course of
                         business in connection with the importation of goods) or levies not yet due and
                         payable;

               (vii)     carriers’, warehousemen’s, mechanics’, materialmen’s, repairmen’s, landlord’s,
                         lessor’s or other similar liens arising in the ordinary course of business which are
                         not overdue for a period of more than 30 days or which are being contested in
                         good faith by appropriate proceedings for which adequate reserves are maintained
                         on its books and records in accordance with Accounting Principles;

               (viii)    pledges or deposits in connection with workers’ compensation, unemployment
                         insurance and other social security legislation;

               (ix)      deposits to secure the performance of bids, trade contracts (other than for
                         borrowed money), leases, statutory obligations, surety and appeal bonds,
                         performance bonds and other obligations of a like nature incurred in the ordinary
                         course of business;

               (x)       Security of carriers, warehousemen, mechanics, materialmen, and any similar
                         Security arising by operation of law securing obligations to pay or provide
                         consideration for goods or services with respect to Commodities, which obligations
                         are not past due, including, without limitation, with respect to Eligible Inventory (as
                         defined in the US DIP Credit Agreement) (i) Security in favour of the third party
                         from whom Aegean Bunkering (USA) LLC chartered, rented or leased the property
                         on which such Eligible Inventory is located securing the charter, rent or lease
                         obligations, (ii) Security for taxes, assessments or governmental charges that are


  BD-#32148460-v3                                    114
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                 Pg 455 of 692


                           not overdue for a period of more than thirty (30) days, that are being contested in
                           good faith and by appropriate actions or are otherwise not required to be paid
                           hereunder and (iii) Security arising from judgments or orders for the payment of
                           money not constituting an Event of Default;

                 (xi)      Permitted Financial Management Liens and Security on “Commodities Accounts”
                           (as defined in Section 9-102 of the UCC) in favour of any Eligible Commodity
                           Broker (as defined in the US Credit Agreement) and under the terms.permitted
                           under the applicable account control agreement;

                 (xii)     any “first purchaser” lien (as defined in Texas Bus. & Com. Code Section 9.343,
                           comparable laws of the states of Oklahoma, Kansas, Mississippi, Wyoming or New
                           Mexico, or any other comparable law);

                 (xiii)    Security securing judgments for the payment of money not constituting an Event of
                           Default;

                 (xiv) Security on cash deposited as collateral by Aegean Bunkering (USA) LLC to
                       secure the performance of Indebtedness (as defined in the US Credit Agreement)
                       permitted pursuant to section 6.01(c) of the US Credit Agreement), in an amount
                       not to exceed that which is required by the contract with the applicable
                       counterparty (or counterparties) thereto;

                 (xv)      Security arising pursuant to the Orders, the First Day Orders or any “second day”
                           orders;

                 (xvi) with respect to the Canadian Barges in favour of METSA or any of its Affiliates in
                       connection with the Canadian Barges Loan;

                 (xvii) Security arising solely by virtue of any statutory or common law provisions relating
                        to banker’s liens, liens in favor of securities intermediaries, rights of setoff or similar
                        rights and remedies as to deposit accounts or securities accounts or other funds
                        maintained with depository institutions or securities intermediaries;

                 (xviii) any interest or title of a licensor, sublicensor, lessor or sublessor under any license
                         or operating or true lease agreement incurred in the ordinary course of business;

                 (xix) Security given to a public or private utility or any Governmental Authority as
                       required in accordance with the First Day Orders or “second day” orders;

                 (xx)      Security in the nature of the right of setoff in favor of counterparties to contractual
                           agreements with the Obligors in the ordinary course of business;

                 (xxi) Security not otherwise permitted hereunder securing obligations in an aggregate
                       amount outstanding at any time not to exceed $250,000; and

                 (xxii) otherwise as expressly contemplated by this Agreement.

          (d)    Notwithstanding the other provisions of this clause, no Obligor shall (and the Company
                 shall ensure that no other member of the Group will) create or permit to subsist any
                 Security over any assets comprised in the Borrowing Base other than pursuant to the
                 Transaction Security Documents.

  24.13         Disposals

          (a)    Except as permitted under paragraph (b) below, no Obligor shall (and the Company shall
                 ensure that no other member of the Group will) enter into a single transaction or a series
                 of transactions (whether related or not) and whether voluntary or involuntary to sell,
                 lease, transfer or otherwise dispose of any asset without the prior written consent of the
                 Facility Agent acting on the instructions of the Majority Lenders (such consent to be



  BD-#32148460-v3                                      115
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                Pg 456 of 692


                 confirmed or declined within fifteen (15) Business Days of receipt by the Facility Agent of
                 a request in writing from the Company).

          (b)    Paragraph (a) above does not apply to:

                 (i)      any sales, leases, transfers or other disposals (A) by any Subsidiary of a Borrower
                          to a Borrower or a Subsidiary of the Borrower, or (B) by any Borrower or any
                          Guarantor to any other Borrower or Guarantor or (C) the sale of any Commodities
                          and other inventory in the ordinary course of business, or (D) of obsolete or worn
                          out property, whether now owned or hereafter acquired, in the ordinary course of
                          business;

                 (ii)     any sales, leases, transfers or other disposals for a value which is in accordance
                          with the Bidding Procedures or authorized by an order of the Bankruptcy Court;

                 (iii)    leases, subleases, licenses and sublicenses of real or personal property, in each
                          case in the ordinary course of business (excluding any such transaction with a
                          Subsidiary that is not an Obligor;

                 (iv)     disposals of receivables pursuant to the terms (as at the date of this Agreement) of
                          any Lender Discounting Facility (provided that the proceeds of such disposals are
                          paid to the Collection Account in the relevant currency held by the relevant
                          Borrower);

                 (v)      any sales, leases, transfers or other disposals of property to a Governmental
                          Authority as a result of a condemnation of such property where the book value of
                          such property does not exceed $400,000;

                 (vi)     transactions permitted under clauses 24.12 (Negative pledge), 24.7 (Merger),
                          24.36 (Dividends and share redemptions) and 24.15 (Investments);and

                 (vii)    sales, leases, transfers or other disposals not otherwise permitted hereunder in an
                          aggregate book value amount not to exceed $400,000.

          (c)    To the extent a Lender completes a purchase from a Borrower of receivables pursuant to
                 any Lender Discounting Facility (and provided that the purchase price is paid by the
                 Lender to the relevant Collection Account), such receivables (other than the proceeds of
                 sale of such receivables) that are so sold shall be released from the Security created
                 under the relevant Security Agreement and Second Security Agreement without any
                 further action on the part of any person.

  24.14         Arm's length basis

          No Obligor shall (and the Company shall ensure that no other member of the Group will) enter
          into any transaction with any person except on arm's length terms and for full market value.

          Restrictions on movement of cash - cash out

  24.15         Investments

          No Obligor shall (and the Company shall ensure that no other member of the Group will) make
          any Investments, except:

          (a)    Investments in the form of Cash Equivalent Investments;

          (b)    Investments by any Obligor or any of their respective Subsidiaries in Aegean Bunkering
                 (USA) LLC;

          (c)    Investments consisting of cash and Cash Equivalent Investments posted as collateral to
                 satisfy margin requirements with counterparties of a physical commodity contract, (b) a


  BD-#32148460-v3                                    116
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 457 of 692


                 futures contract, (c) any commodity OTC agreement or financial OTC agreement (d)
                 contract for the storage or transportation of any physical Commodity, or (e) Hedging
                 Agreements of Aegean Bunkering (USA) LLC and its Subsidiaries;

          (d)    Investments by Obligors (other than by any Borrower) in other Obligors;

          (e)    Investments by Obligors (other than the Borrowers) in any direct or indirect wholly-owned
                 Subsidiary of Parent;

          (f)    Investments (including debt obligations and equity securities) received in connection with
                 the bankruptcy or reorganization of suppliers and customers and in settlement of
                 delinquent obligations of, and other disputes with, customers and suppliers arising in the
                 ordinary course of business;

          (g)    Investments made in accordance with the Orders, the First Day Orders or the “second
                 day” Orders;

          (h)    intercompany loans and advances by any Borrower to Obligors;

          (i)    Investments permitted under clauses 24.18 (Financial Indebtedness), 24.13 (Disposals)
                 and 24.16 (Transactions with Affiliates);

          (j)    Investments in an aggregate amount outstanding not to exceed $400,000; and

          (k)    Investments in existence on the Effective Date and notified to the Facility Agent prior to
                 the date of the Amendment and Restatement Agreement, together with any renewals and
                 extensions thereof so long as the principal amount of such renewal or extension does not
                 exceed the original principal amount of such Investment; and

          Anything contained in this clause 24.15, or any other covenant or other provision of this
          Agreement to the contrary notwithstanding, in no event shall any Obligor make loans to or
          Investments in any Subsidiary of Parent that is not an Obligor hereunder, except to the extent
          permitted under paragraph (k) above.

  24.16         Transactions with Affiliates

          No Obligor shall (and the Company shall ensure that no other member of the Group will),
          engage or enter into any transaction or arrangement, including, without limitation, any purchase,
          sale, transfer, lease or exchange of property or the rendering of any service, with any Affiliate,
          other than (a) transactions of a type or nature that is described and notified in writing to the
          Facility Agent prior to the Effective Date in the document entitled “6.08 Transactions with
          Affiliates”; provided that this clause (a) shall not permit the purchase of inventory by Aegean
          Bunkering (USA) LLC from, or sale of inventory by Aegean Bunkering (USA) LLC to, any
          Affiliate (it being understood and agreed that such purchases and sales of inventory are
          prohibited by this Agreement), (b) transactions among Obligors or among Subsidiaries that are
          not Obligors, (c) transactions in accordance in all material respects with the Orders, (d)
          Investments permitted under clause 24.15 (Investments), (e) employment contracts with officers
          and management of the Obligors and their Subsidiaries and payment of reasonable
          compensation to directors, officers and employees for services actually rendered to any such
          Obligor or any of its Subsidiaries and indemnification arrangements, and (f) payment of
          director’s fees, expenses and indemnities, and (g) other transactions on an arm’s length basis
          other than transactions among any one or more Obligors and any one or more Subsidiaries that
          are not Obligors. The parties hereto acknowledge that as of the Effective Date no Lender is an
          Affiliate of any Borrower.

  24.17         Cases

          (a)    Each Obligor will not, nor will it permit any other Debtor to, file or support the confirmation
                 of any Debtor Relief Plan or liquidation other than an Acceptable Reorganization Plan.




  BD-#32148460-v3                                   117
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                Pg 458 of 692


          (b)    The Debtors shall not consent to the termination or reduction of the Debtors’ exclusive
                 plan filing and plan solicitation periods under section 1121 of the Bankruptcy Code (the
                 Exclusivity Periods) nor shall they fail to object to any motion by a party in interest
                 (other than a Finance Party) seeking to terminate or reduce the Exclusivity Periods, in
                 each case without the prior written consent of the Facility Agent.

          Restrictions on movement of cash - cash in

  24.18         Financial Indebtedness

          (a)    No Obligor shall (and the Company shall ensure that no other member of the Group,
                 other than any Immaterial Subsidiary, will) incur or allow to remain outstanding any
                 Financial Indebtedness other than in the following circumstances:

                 (i)      as permitted under paragraph (b) below;

                 (ii)     with the prior written consent of the Facility Agent acting on the instructions of the
                          Majority Lenders, which the Lenders shall confirm or decline within fifteen (15)
                          Business Days of receipt of a request from the Company; or

                 (iii)    if such Financial Indebtedness is incurred pursuant to, and remains in accordance
                          with, the Finance Documents or the US DIP Finance Documents.

          (b)    Paragraph (a) above does not apply to any Financial Indebtedness:

                 (i)      outstanding on the Effective Date hereof and identified in Schedule 14 (Permitted
                          Financial Indebtedness) or any refinancings, renewals or extensions thereof
                          (Permitted Refinancing Indebtedness) which do not result in an increase thereof
                          provided that, (i) the amount of such Financial Indebtedness is not increased at the
                          time of such refinancing, refunding, renewal or extension, other than by an amount
                          equal to accrued interest, fees and expenses incurred in connection therewith (ii)
                          such refinancing, refunding, renewal or extended Financial Indebtedness shall (A)
                          not have a final maturity prior to the final maturity date of the Financial
                          Indebtedness being refinanced, refunded, renewed or extended and (B) have an
                          average life to maturity (without giving effect to any prepayment) equal to or
                          greater than such Financial Indebtedness, (iii) the terms of such refinancing,
                          refunding, renewal or extension shall not be more restrictive (taken as a whole)
                          than the terms of such Financial Indebtedness, (iv) any guarantee entered into in
                          connection with such refinancing, refunding, renewal or extension that is not a
                          refinancing of an existing guarantee of such Financial Indebtedness shall not be
                          permitted under this paragraph (viii) if the Financial Indebtedness being refinanced
                          is subordinated, such Permitted Refinancing Indebtedness shall be subordinated to
                          at least the same extent, and on terms at least as favorable to the Lenders, as the
                          Financial Indebtedness being refinanced;

                 (ii)     under commodity OTC agreements and financial OTC agreements entered into in
                          compliance with the Risk Management Policies;

                 (iii)    in respect of performance bonds, bid bonds, appeal bonds, surety bonds and
                          completion guarantees and similar obligations not in connection with money
                          borrowed, in each case provided in the ordinary course of business, including
                          those incurred to secure health, safety and environmental obligations in the
                          ordinary course of business;

                 (iv)      (i) resulting from a bank or other financial institution honoring a check, draft or
                          similar instrument in the ordinary course of business or (ii) arising under or in
                          connection with cash management services in the ordinary course of business;

                 (v)      under the US DIP Finance Documents;




  BD-#32148460-v3                                     118
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                                 Pg 459 of 692


                 (vi)      permitted by the Interim DIP Order;

                 (vii)     owing by any Obligor to any other Obligor;

                 (viii)    the Prepetition Obligations;

                 (ix)      as permitted by the Cash Management Order; and

                 (x)       not otherwise permitted hereunder in an aggregate amount not to exceed $250,000
                           at any time outstanding.

          Miscellaneous

  24.19         Insurance

          (a)    Each Obligor shall (and the Company shall ensure that each other member of the Group
                 will) maintain insurances on and in relation to its business and assets against those risks
                 and to the extent as is usual for companies carrying on the same or substantially similar
                 business.

          (b)    All insurances must be with reputable independent insurance companies or underwriters
                 approved by the Facility Agent (acting on the instructions of the Majority Lenders).

          (c)    All insurances referred to in clause (a) above relating to the Borrowers and each Spanish
                 Pledgor shall be maintained on terms satisfactory to the Facility Agent and each Borrower
                 shall (and the Company shall procure that each Spanish Pledgor will) procure that the
                 Security Agent and the US DIP Administrative Agent is named as a co-insured and sole
                 loss payees of such insurance in a manner which is in form and substance satisfactory to
                 the Facility Agent and without liability on the part of the Security Agent for premiums or
                 calls of whatever nature.

  24.20         Commercial Contracts

          Each Obligor shall ensure that any sales order confirmation or invoice issued after 21 May 2018
          under any “Commercial Contract” (as defined in each Security Agreement) and prior to the
          execution of the Second Security Documents, contains the following wording:

          “We give you notice that under a security agreement dated 30 November 2017 entered into by
          us in favour of ABN AMRO Bank N. V., we have assigned to ABN AMRO Bank N. V. by way of
          first assignment, all of our rights in respect of our agreement with you to which this confirmation
          or invoice relates. We instruct you to make payment hereunder to our account with ABN AMRO
          Bank N.V. with the following details: [insert details of relevant Collection Account]”

          and once the Second Security Documents have been executed, the following wording:

          “We give you notice that: (i) under a security agreement dated 30 November 2017 entered into
          by us in favour of ABN AMRO Bank N. V., we have assigned to ABN AMRO Bank N. V. by way
          of first assignment; and (ii) under a security agreement dated [***insert date***] entered into by
          us in favour of Mercuria Energy Trading S.A., we have assigned to Mercuria Energy Trading
          S.A. by way of second assignment, all of our rights in respect of our agreement with you to
          which this confirmation or invoice relates. We instruct you to make payment hereunder to our
          account with ABN AMRO Bank N.V. with the following details: [insert details of relevant
          Collection Account]”.

  24.21         Super-priority administrative expense claims and Adequeate Protection Payments

          (a)    The Company will not, and will not permit any other Debtor to, make any payment or
                 distribution to any non-Debtor affiliate or corporate insider outside of the ordinary course
                 of business, except as expressly provided or permitted under this Agreement or in a First
                 Day Order or “second day” order complying with the terms of this Agreement.


  BD-#32148460-v3                                         119
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 460 of 692


          (b)    The Company will not, and will not permit any other Debtor to, make any payment to, or
                 otherwise provide any adequate protection for, any prepetition creditors, other than
                 pursuant to the Interim DIP Order, the Final Order or other cash collateral orders
                 acceptable to the Majority Lenders.

          (c)    The Parent will not, and will not permit any Obligor or Subsidiary to, prepay any Financial
                 Indebtedness (other than, for the avoidance of doubt, any payments under any financial
                 or physical trading transaction (including hedges), including commodities transactions),
                 except as pursuant to the First Day Orders or other orders by the Bankruptcy Court upon
                 pleadings in form and substance satisfactory to the Facility Agent and the Lenders.

  24.22         Access

          Each Obligor shall, and the Company shall ensure that each member of the Group will once
          during each calendar month permit the Finance Parties and/or accountants or other
          professional advisers and contractors of the Facility Agent or Security Agent access to
          information (including historical information) and personnel (during normal business hours and
          subject to confidentiality and data protection obligations imposed by law) and, notwithstanding
          anything to the contrary in this Agreement, the Obligors’ obligations to reimburse any Finance
          Party other than the Facility Agent or any of its Affiliates in respect of any exercise of this clause
          24.22 shall be limited to reasonable costs and expenses.

  24.23         Treasury Transactions

          No Obligor shall (and the Company will procure that no other member of the Group will) enter
          into any Treasury Transaction, other than:

          (a)    hedging transactions documented by the Hedging Agreements; and/or

          (b)    hedging transactions in accordance with the Hedging Policy.

  24.24         Further assurance

          (a)    Other than in respect of the Second Security, each Obligor shall (and the Company shall
                 procure that each other member of the Group will) promptly do all such acts or execute all
                 such documents (including assignments, transfers, mortgages, charges, notices and
                 instructions) as the Security Agent may reasonably specify (and in such form as the
                 Security Agent may reasonably require in favour of the Security Agent or its nominee(s)):

                 (i)     to perfect the Security created or intended to be created under or evidenced by the
                         Transaction Security Documents or for the exercise of any rights, powers and
                         remedies of the Security Agent or the Finance Parties provided by or pursuant to
                         the Finance Documents or by law; and/or

                 (ii)    to facilitate the realisation of the assets which are, or are intended to be, the
                         subject of the Transaction Security.

          (b)    In respect of the Second Security, each Obligor shall (and the Company shall procure
                 that each other member of the Group will) promptly do all such acts or execute all such
                 documents (including assignments, transfers, mortgages, charges, notices and
                 instructions) as the US DIP Administrative Agent may reasonably specify (and in such
                 form as the US DIP Administrative Agent may reasonably require in favour of the US DIP
                 Administrative Agent or its nominee(s)):

                 (i)     to perfect the Security created or intended to be created under or evidenced by the
                         Second Security Documents or for the exercise of any rights, powers and remedies
                         of the US DIP Administrative Agent provided by or pursuant to the Second Security
                         Documents or by law; and/or




  BD-#32148460-v3                                   120
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                Pg 461 of 692


                 (ii)     to facilitate the realisation of the assets which are, or are intended to be, the
                          subject of the Second Security.

          (c)    Each Obligor shall (and the Company shall procure that each other member of the Group
                 will) take all such action as is available to it (including making all filings and registrations)
                 as may be necessary for the purpose of the creation, perfection, protection or
                 maintenance of any Security conferred or intended to be conferred on the Security Agent,
                 the US DIP Administrative Agent, the Finance Parties or the US DIP Finance Parties by
                 or pursuant to the Finance Documents.

          (d)    The Parent will not, nor will it permit any Obligor or any of its Subsidiaries to, enter into a
                 material Contractual Obligation without the consent of the Facility Agent and the Majority
                 Lenders.

  24.25         Conditions subsequent

        (a)      The Company shall procure that if any assets which are included in the Borrowing Base
                 at any time are located in a jurisdiction in which a perfected first priority security interest
                 cannot be granted in respect of future assets, the Borrowers will enter into periodic
                 pledges with the Security Agent (the frequency of which shall be agreed with the Lenders
                 provided that such frequency shall be no less than on a weekly basis) in respect of assets
                 located in such jurisdictions. The Company shall provide to the Security Agent such
                 corporate authorities and legal opinions as the Security Agent may require in respect of
                 such security.

        (b)      Notwithstanding any other provision of the Finance Documents, the assets of any
                 Spanish Pledgor shall be deemed to be unsecured for the purposes of determining their
                 eligibility for inclusion in the Borrowing Base until the date on which the Facility Agent
                 confirms in writing to the Company and the Collateral Management Agent that it has
                 received the following:

                 (i)      duly executed originals of the relevant Spanish Pledge(s);

                 (ii)     a duly executed original of the Spanish Irrevocable Power of Attorney;

                 (iii)    evidence of the registration of any relevant Spanish Pledge amendments at the
                          relevant Registries of Moveable Property;

                 (iv)     the conditions precedent specified in Part IV of Schedule 2 (Conditions Precedent);
                          and

                 (v)      a legal opinion of Garrigues in relation to Spanish law,

                 in each case in form and substance satisfactory to the Facility Agent.

        (c)      Notwithstanding any other provision of the Finance Documents, any inventory located in
                 South Africa other than the inventory owned by the Company onboard any vessel which
                 is the subject of the South African Pledge shall be deemed to be unsecured for the
                 purposes of determining its eligibility for inclusion in the Borrowing Base until the later of
                 the date on which the Facility Agent confirms in writing to the Company and the Collateral
                 Management Agent that it has received duly executed originals of a South African Pledge
                 in relation to any such inventory or its location, together with such evidence satisfactory to
                 it that all action needed to perfect the Security created by such South African Pledge has
                 been completed and the Facility Agent has received all legal opinions, corporate
                 approvals and other conditions precedent required by it (acting on the instructions of the
                 Majority Lenders) in connection with such security.

        (d)      The Company shall (or shall procure that each Spanish Pledgor will), following any
                 change whatsoever in the identity or participations of the Lenders hereunder or any other
                 registered details in relation to the Spanish Pledges, including without limitation as a



  BD-#32148460-v3                                     121
18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                              Pg 462 of 692


                consequence of any increases of the Facilities, take such steps as the Facility Agent may
                require (based on advice received from its external legal advisers) (including executing
                any extension, amendment and/or ratification agreement and carried out the relevant
                actions before the relevant registry to obtain registration of said documents) to update the
                relevant Spanish Registries of Moveable Property.

  24.26        Borrowing Base Amount

          The Company shall procure that the Borrowing Base Amount shall at all times be zero or a
          positive number. For the avoidance of doubt, any breach of this clause 24.26 is capable of
          remedy by way of a voluntary prepayment made in accordance with clause 8.2 (Voluntary
          prepayment of Loans) in the period specified in clause 26 (Events of Default).

  24.27        Parent Listing

          The Parent shall at all times maintain its listing on the New York Stock Exchange.

  24.28        Risk Management Policy

          The Company shall procure that no material changes are made to the risk management policy
          provided to the Facility Agent pursuant to Part I of Schedule 2 (Conditions Precedent) without
          the prior written approval of the Facility Agent acting on the instructions of the Majority Lenders.

  24.29        First and Second Day Orders

          The Borrowers shall cause all proposed First Day Orders, “second day” orders to be reasonably
          acceptable to the Facility Agent (acting on the instructions of the Majority Lenders) in all
          respects.

  24.30        Sanctions

        (a)     The Obligors shall not, and shall procure that each other member of the Group shall not,
                permit or authorise any other person to, directly or indirectly, use, lend, make payments
                of, contribute or otherwise make available, all or any part of the proceeds of the Facilities
                or other transactions contemplated by this Agreement to fund or facilitate trade, business
                or other activities: (i) involving or for the benefit of any Prohibited Person; (ii) relating to a
                country or territory that is the target of country-wide or territory-wide Sanctions; or (iii) in
                any other manner that could result in any Obligor or a Finance Party being in breach of
                any Sanctions or becoming a Prohibited Person.

        (a)     The Obligors shall ensure that (i) no person that is a Prohibited Person will have any legal
                or beneficial interest in any funds repaid or remitted by the Obligors to any Finance Party
                in connection with the Facility, and (ii) it shall not use any revenue or benefit derived from
                any activity or dealing with a Prohibited Person for the purpose of discharging amounts
                owing to any Finance Party in respect of the Facility.

  24.31        Payments under Multi-Party TPA Agreements

          Each Borrower shall procure that any amounts payable to it pursuant to a Multi-Party TPA
          Agreement and any FX Hedging Provider Hedging Agreement and any Lender Discounting
          Facility shall be paid to the Collection Account in the relevant currency held by the relevant
          Borrower.

  24.32        Inventory

          Each Borrower shall procure that no inventory shall be held or intended by it to be held, for a
          period in excess of one hundred and eighty (180) days nor shall any inventory be acquired for
          speculative purposes.




  BD-#32148460-v3                                   122
18-13374-mew             Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                               Pg 463 of 692


  24.33         Bills of Lading

          Each Obligor shall procure that all bills of lading issued in respect of assets comprised from time
          to time in the Borrowing Base shall be issued or endorsed in the name of the Security Agent
          and delivered to the Collateral Management Agent.

  24.34         Spanish Pledgor

          Each Borrower shall procure that each Spanish Pledgor:

          (a)    shall at all times be and remain a wholly-owned Subsidiary of the Parent; and

          (b)    will only sell or otherwise dispose of assets or inventory which are from time to time the
                 subject of the Spanish Pledges to a Borrower.

  24.35         Sensitive Zone

          The Borrowers, when purchasing from suppliers in the Sensitive Zone, shall only enter into
          supply contracts with Approved Suppliers. Such supply contracts shall systematically include a
          clause specifying compliance of both parties with Sanctions regardless of the whether these
          purchases are financed through the Facility or through any other means.

  24.36         Dividends and share redemptions

        (a)      No Obligor shall (and the Company shall ensure that no other member of the Group will)
                 declare or make any Restricted Payment except that, so long as no Event of Default shall
                 have occurred and be continuing at the time of any action described below or would
                 result therefrom:

                 (i)      each Subsidiary (excluding a Borrower) may make Restricted Payments to the
                          Parent or any other Subsidiary and any other person that owns an Equity Interest
                          in such Subsidiary, ratably according to their respective holdings of such Equity
                          Interests in respect of which such Restricted Payment is being made;

                 (ii)     Restricted Payments to the extent constituting Investments permitted hereunder;

                 (iii)    Restricted Payments provided for in the Orders; “First Day Orders” or “second day
                          Orders”; and

                 (iv)     the Borrower and each Subsidiary may declare and make dividend payments or
                          other distributions payable solely in common Equity Interests of such person.

        (b)      No Borrower shall, and will not permit any other Debtor to, make any payment to, or
                 otherwise provide any adequate protection for, any prepetition creditors, other than
                 pursuant to the Interim DIP Order, the Final DIP Order, the First Day Orders and other
                 cash collateral orders acceptable to the Majority Lenders or in accordance with the
                 Budget.

        (c)      No Obligor shall (and the Company shall ensure that no other member of the Group will),
                 prepay any prepetition Financial Indebtedness (other than the Prepetition Obligations and
                 other than, for the avoidance of doubt, any payments under any financial or physical
                 trading transaction (including hedges), including commodities transactions), except as (i)
                 pursuant to the First Day Orders or other Bankruptcy Court orders acceptable to the
                 Majority Lenders, (ii) as disclosed in writing to the Facility Agent prior to the Effective
                 Date in the document entitled “6.05 Payments”, (iii) in accordance with the Budget and
                 (iv) any other order of the Bankruptcy Court.




  BD-#32148460-v3                                   123
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 464 of 692


  24.37        Accounting principles

          No Obligor shall make any significant change in its accounting treatment or reporting practices,
          except as required by the Accounting Principles, without providing the Facility Agent with at
          least ten days’ prior written notice of such change. At the end of any calendar quarter during
          which any such change has occurred, the relevant Obligor shall prepare and deliver to the
          Facility Agent an explanatory statement, in form and substance satisfactory to the Facility Agent
          (acting on the instructions of the Majority Lenders), reconciling the previous treatment or
          practice with the new treatment or practice.

  24.38        Cancellation of Financial Indebtedness

          No Obligor shall cancel any claim or Financial Indebtedness owed to it except for adequate
          consideration or as approved by an order of the Bankruptcy Court or permitted under this
          Agreement (including as required by the Asset Purchase Agreement).

  24.39        Limitation on capital structure

        (a)     No Obligor shall, nor shall it permit any of its Subsidiaries to, make any changes in its
                capital structure (including, without limitation, the terms of its outstanding share capital).

        (b)     Other than in respect of the Parent listed on the New York Stock Exchange, no Obligor
                shall, nor shall it permit any of its Subsidiaries to, change the ownership of the right to
                any votes that might be cast at a general meeting of any Obligor or of the issued share
                capital of an Obligor.

  24.40        Required Milestones and actions

        (a)     The Obligors shall comply with and satisfy (by the occurrence thereof) each of the
                Required Milestones, and perform each of the actions, set forth on Schedule 20
                (Required Milestones) attached hereto, on or before the dates required for such
                compliance and actions as set forth in such Schedule and in accordance with the Agreed
                Security Principles.

        (b)     Subject in all respects to the Agreed Security Principles, with respect to any Security of
                an Obligor as to which the Security Agent does not have perfected Security, or, in the
                case of assets of Debtors already encumbered as of the Petition Date in favor of other
                creditors other than a Lender, a perfected junior Security, such Obligor shall cause within
                45 days of the date hereof (or 60 Business Days in the case of Subsidiaries organised in
                South Africa), or in the case of after-acquired or after-arising assets, within 45 days of the
                date such property is acquired or arises, such Debtor to (i) execute and deliver to the
                Security Agent (A) such amendments to the Transaction Security Document or such
                other documents necessary to grant to the Security Agent for and on behalf of the
                Secured Parties Security in such property not already encumbered as of the Petition Date
                in favour of the Secured Parties, including the Equity Interests of all Subsidiaries of the
                Parent, and (B) security agreements, vessel mortgages and such other documents
                necessary or advisable to grant to the Security Agent for and on behalf of the Secured
                Parties a perfected Security as was already encumbered as of the Petition Date in favour
                of a person other than a Lender, and (ii) take all other actions necessary to grant to the
                Security Agent for and on behalf of the Secured Parties (A) a perfected Security in such
                property, including, without limitation, the filing of UCC financing statements in such
                jurisdictions as may be required by the Transaction Security Document or by applicable
                law or regulation or as may be requested by the Security Agent (acting on the instructions
                of the Majority Lenders) and (B) a perfected Security in such other property as was
                already encumbered as of the Petition Date in favor of a person other than a Lender,
                including, without limitation, the filing of UCC financing statements, vessel mortgages and
                other documents in such jurisdictions as may be advisable or required by the Transaction
                Security Document or by applicable law or regulation or as may be requested by the
                Security Agent. With respect to any person that becomes an Obligor after the Effective
                Date, or any assets of the Obligors acquired or arising after the Effective Date, the



  BD-#32148460-v3                                  124
18-13374-mew               Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                  Pg 465 of 692


                    Borrower shall cause the execution, delivery and performance of the items required
                    pursuant to the foregoing sentence within 60 days of the date that such person becomes
                    an Obligor, or the date that such property arises or is acquired, as applicable.

 25          Bank Accounts
      25.1         Designation of Accounts

             Each Borrower shall maintain in its name the following bank accounts:

             (a)    within the Amsterdam branch of the Account Bank:

                    (i)     a deposit account in Dollars designated “Facility Account”; and

                    (ii)    a deposit account in Dollars designated "Collection Account";

             (b)    within the German branch of the Account Bank a deposit account in EURO designated
                    “Collection Account”,

             and each of the Company and ANNV shall maintain in its name with the Amsterdam branch of
             the Account Bank a deposit account in EURO designated “Collection Account”.

      25.2         Account balances

             The Company will procure that all cash owned by an Obligor (other than (a) cash in the
             “Controlled Accounts” (as the expression is defined in the US DIP Credit Facility Agreement);
             and (b) a maximum additional aggregate amount held by any member of the Group of
             USD5,000,000) is credited to an account in the name of a member of the Group with an
             Acceptable Bank which is subject to the Transaction Security or any other Security created or
             expressed to be created in favour of the Security Agent (in form and substance satisfactory to
             the Security Agent).

      25.3         Collection Account

             (a)    Each of the Collateral Management Agent and the relevant Borrower shall have signing
                    rights on a Collection Account.

             (b)    All payments to be made by any Obligor pursuant to any Facility shall be paid to the
                    Collection Account in the relevant currency held by the relevant Borrower.

             (c)    Each Borrower will procure that all receivables payable to it and all proceeds of any true
                    sale of receivables or any discounting programme conducted by it shall be paid to the
                    relevant Collection Account in the relevant currency held by the relevant Borrower.

             (d)    Each Borrower shall by no later than 14:00 on each applicable day instruct the Collateral
                    Management Agent to transfer amounts credited to the Collection Accounts to the
                    relevant Facility Account to meet that Borrowers’ payment obligations under the Facilities
                    provided that no transfer of any amount to be set-off pursuant to clause 9.5(b) shall be
                    required to be made pursuant to this paragraph (d).

             (e)    On each Monday and Thursday (or if any such day is not a Business Day, on the next
                    Business Day) while there are any Outstandings in respect of Overdraft Facilities, and
                    provided that:

                    (i)     there shall remain in aggregate in the Collection Accounts and/or the Facility
                            Accounts following any application pursuant to this sub-clause (e) sufficient funds
                            to meet the Borrowers’ repayment obligations in relation to any Loans which are
                            scheduled to fall due in the next seven (7) days; and




  BD-#32148460-v3                                      125
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 466 of 692


                 (ii)    no Default is continuing,

                 the Company shall instruct the Collateral Management Agent to apply amounts credited
                 to the Collection Accounts to meet the Borrowers’ payment obligations under Overdraft
                 Facilities on a pro-rata basis.

                 The Borrowers’ payment obligations to each Overdraft Bank under Overdraft Facilities
                 (and amounts to be paid hereunder) on each such date shall be ascertained and the
                 payments implemented as follows:

                 Deadline on relevant date       Action required

                 10:00am                         Overdraft Bank to notify the Facility Agent by email of their
                                                 Facility B outstandings in respect of Overdraft Facilities as
                                                 at close of business on the previous Business Day (the
                                                 Overdraft Bank Outstandings).

                 12:00 midday                    Facility Agent to notify the Company and the Collateral
                                                 Management Agent (with a copy to all Lenders (which may
                                                 be made by posting on debt domain)) of the Overdraft Bank
                                                 Outstandings notified to it and the payments to be made to
                                                 each Overdraft Bank under this clause 25.3(e) (the Facility
                                                 Agent’s Notification).

                 14:00                           Company to instruct the payments in accordance with the
                                                 Facility Agent’s Notification (or in accordance with the
                                                 Company’s Account Certification (as defined below)).



                 If an Overdraft Bank fails to provide details of its Overdraft Bank Outstandings in
                 accordance with this clause 25.3(e), its outstandings for the purposes of calculating
                 payments to be made under this clause 25.3(e) on the date in question shall be deemed
                 to be such amount as the Company may certify in writing to the Facility Agent by no later
                 than 12:00 midday on the relevant day (such certification being the Company’s Account
                 Certification) (and if the Company does not provide any such certification then the
                 relevant Overdraft Bank’s outstandings shall be deemed to be zero for such purpose).

          (f)    If a Borrower does not instruct the making of any payments under and in accordance with
                 clauses 25.3(d) and 25.3(e), the Collateral Management Agent shall be irrevocably
                 authorised to apply amounts credited to the Collection Accounts of that Borrower (or any
                 of them) to meet the Borrowers’ payment obligations under any Facility.

   25.4         Withdrawals from Collection Account

          (a)    Funds standing to the credit of a Collection Account shall be freely available to the
                 relevant Borrower for application in accordance with the Budget:

                 (i)     provided that:

                         (A)   no Event of Default is continuing or would result from a withdrawal from a
                               Collection Account;

                         (B)   no notices have been issued in respect of Overdraft Facilities pursuant to
                               clause 7.2 (Repayment of Overdraft Facilities) (unless all amounts payable
                               under that clause following a Demand Repayment Date (as defined therein)
                               have been repaid in full); and




  BD-#32148460-v3                                    126
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                               Pg 467 of 692


                         (C)   a withdrawal would not result in the Borrowing Base Amount being less than
                               zero (0) or a negative number; or

                 (ii)    otherwise, with the prior written consent of the Majority Lenders.

          (b)    Save as set out in clause 25.4(a), no Obligor may withdraw any amount from or allow any
                 amount to be debited from a Collection Account (except in accordance with paragraph (d)
                 of clause 25.3 (Collection Account) or otherwise in payment of to the US Secured Parties
                 of any amount due and payable under the US DIP Finance Documents).

          (c)    Without prejudice to clause 25.4(a), any funds which are available to a Borrower pursuant
                 to clause 25.4(a) may be transferred to an account held with another Lender provided
                 that such funds shall not be applied to a payment due to that Lender under the Finance
                 Documents or under any agreement in connection with any Fronted Facility or in
                 connection with any Multi-Party TPA Agreement or FX Hedging Provider Hedging
                 Agreement.

   25.5         Facility Account

          (a)    Each of the Collateral Management Agent and the relevant Borrower shall have signing
                 rights on a Facility Account.

          (b)    All Loans utilised by a Borrower under the Facilities shall be paid by the Facility Agent to
                 the relevant Facility Account.

          (c)    The Borrower irrevocably authorises the Facility Agent to apply amounts credited to the
                 Facility Account to meet the Borrower's payment obligations under the Facilities.

   25.6         Withdrawals from Facility Account

          (a)    Funds standing to the credit of a Facility Account shall be freely available to the relevant
                 Borrower for application in accordance with the Budget

                 (i)     provided that:

                         (A)   no Event of Default is continuing or would result from a withdrawal from a
                               Facility Account;

                         (B)   no notices have been issued in respect of Overdraft Facilities pursuant to
                               clause 7.2 (Repayment of Overdraft Facilities) (unless all amounts payable
                               under that clause following a Demand Repayment Date (as defined therein)
                               have been repaid in full); and

                         (C)   a withdrawal would not result in the Borrowing Base Amount being zero (0)
                               or a negative number; or

                 (ii)    otherwise, with the prior written consent of the Majority Lenders.

          (b)    Save as set out in clause 25.6(a), no Obligor may withdraw any amount from or allow any
                 amount to be debited from a Facility Account (except in accordance with paragraph (c) of
                 clause 25.5 (Facility Account) or otherwise in payment of to the US Secured Parties of
                 any amount due and payable under the US DIP Finance Documents).

   25.7         Cash cover

          (a)    With respect to any outstanding Credit Instrument, upon the demand at any time of (i) the
                 Majority Lenders or (ii) with the consent of the Majority Lenders, the Issuing Bank or the
                 Facility Agent (provided that, in the case of this clause (ii), if an Event of Default has
                 occurred and is continuing, the consent of the Majority Lenders shall not be required in
                 connection with any such demand by the Issuing Bank or the Facility Agent), in each


  BD-#32148460-v3                                    127
18-13374-mew               Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                                  Pg 468 of 692


                    case, the Borrowers shall immediately deposit into an account established and
                    maintained on the books and records of the Security Agent cash cover equal to 103% of
                    the total Credit Instrument Outstandings as of such date plus any accrued and unpaid
                    fees thereon. Such deposit shall be held by the Security Agent as collateral for the
                    payment and performance of the Secured Obligations. In addition, and without limiting
                    the foregoing or paragraph (d) of this clause, if any Credit Instrument Outstandings
                    remain unpaid after the expiration date specified in said paragraph (d), the Borrowers
                    shall immediately deposit cash cover in an amount equal to 103% of such Credit
                    Instrument Outstandings as of such date plus any accrued and unpaid fees thereon.

             (b)    Notwithstanding anything to the contrary in any Finance Document, the Obligors may
                    withdraw any amount on any Collection Account or any Facility Account for the purpose
                    of granting cash cover as required under any Finance Document.

 26          Events of Default
             Each of the events or circumstances set out in this clause 26 is an Event of Default (save for
             clause 26.20 (Acceleration)) unless, other than in respect of clause 26.5(a), such events or
             circumstances are capable of remedy and are remedied within five (5) Business Days of the
             earlier of (i) the Facility Agent giving notice to the Company or relevant Obligor and (ii) the
             Company or an Obligor becoming aware of the failure to comply.

      26.1         Non-payment

             An Obligor does not pay on the due date any amount payable pursuant to a Finance Document
             at the place at and in the currency in which it is expressed to be payable unless:

             (a)    its failure to pay is caused by:

                    (i)     administrative or technical error; or

                    (ii)    a Disruption Event; and

             (b)    payment is made within five (5) Business Days of its due date.

      26.2         Covenants

             (a)    An Obligor does not comply with any provision of any Transaction Security Document.

             (b)    A Borrower does not comply with clause 24.35 (Sensitive Zone).

             (c)    An Obligor does not comply with clause 24.13 (Disposals).

             (d)    An Obligor does not comply with clause 23(b) (Budget variance).

      26.3         Other obligations

                    An Obligor does not comply with any provision of the Finance Documents (other than
                    those referred to in clause 26.1 (Non-payment), clause 26.2 (Covenants) and clause 24.9
                    (Application of FATCA)) and such failure to comply continues unremedied for a period of
                    five (5) or more Business Days after notice thereof by the Facility Agent or the Majority
                    Lenders to the Company.

      26.4         Misrepresentation

             Any representation or statement made or deemed to be made by an Obligor in the Finance
             Documents or any other document delivered by or on behalf of any Obligor under or in
             connection with any Finance Document is or proves to have been incorrect or misleading when




  BD-#32148460-v3                                        128
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                Pg 469 of 692


          made or deemed to be made (save that this clause 26.4 shall not apply to clause 21.2(d)
          (Status)).

   26.5         Cross default

          (a)    Any Event of Default (as defined in the US DIP Credit Facility Agreement) occurs.

          (b)    Any Financial Indebtedness of any member of the Group (other than an Immaterial
                 Subsidiary) is not paid when due nor within any originally applicable grace period.

          (c)    Any Financial Indebtedness of any member of the Group (other than an Immaterial
                 Subsidiary) is declared to be or otherwise becomes due and payable prior to its specified
                 maturity as a result of an event of default (however described).

          (d)    Any commitment for any Financial Indebtedness of any member of the Group (other than
                 an Immaterial Subsidiary) is cancelled or suspended by a creditor of any member of the
                 Group (other than an Immaterial Subsidiary) as a result of an event of default (however
                 described).

          (e)    Any creditor of any member of the Group (other than an Immaterial Subsidiary) becomes
                 entitled to declare any Financial Indebtedness of any member of the Group (other than an
                 Immaterial Subsidiary) due and payable prior to its specified maturity as a result of an
                 event of default (however described).

   26.6         Insolvency

          (a)    A member of the Group other than a Debtor:

                 (i)      is unable or admits inability to pay its debts as they fall due;

                 (ii)     is deemed to, or is declared to, be unable to pay its debts under applicable law;

                 (iii)    suspends or threatens to suspend making payments on any of its debts; or

                 (iv)     by reason of actual or anticipated financial difficulties, commences negotiations
                          with one or more of its creditors (excluding any Finance Party in its capacity as
                          such) with a view to rescheduling any of its indebtedness.

          (b)    The value of the assets of any member of the Group (other than a Debtor) is less than its
                 liabilities (taking into account contingent and prospective liabilities).

          (c)    A moratorium is declared in respect of any indebtedness of any member of the Group
                 other than a Debtor. If a moratorium occurs, the ending of the moratorium will not
                 remedy any Event of Default caused by that moratorium.

   26.7         Insolvency proceedings

          (a)    Any corporate action, legal proceedings or other procedure or step is taken in relation to:

                 (i)      the suspension of payments, a moratorium of any indebtedness, winding-up,
                          dissolution, administration, judicial management or reorganisation (by way of
                          voluntary arrangement, scheme of arrangement or otherwise) of any member of
                          the Group;

                 (ii)     a composition, compromise, assignment or arrangement with any creditor of any
                          member of the Group;

                 (iii)    the appointment of a liquidator, receiver, administrative receiver, receiver and
                          manager, administrator, judicial manager, interim judicial manager, compulsory



  BD-#32148460-v3                                      129
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                Pg 470 of 692


                          manager or other similar officer in respect of any member of the Group or any of its
                          assets; or

                 (iv)     enforcement of any Security over any assets of any member of the Group,

                 or any analogous procedure or step is taken in any jurisdiction.

          (b)    Paragraph (a) shall not apply to:

                 (i)      any of the proceedings described in clause 26.10;

                 (ii)     any member of the Group which is a Debtor;

                 (iii)    any winding-up petition which is frivolous or vexatious and is discharged, stayed or
                          dismissed within fourteen (14) days of commencement; or

                 (iv)     the solvent liquidation or reorganisation of any member of the Group which is not
                          an Obligor so long as any payments or assets distributed as a result of such
                          liquidation or reorganisation are distributed to other members of the Group.

   26.8         Creditors' process

          Any expropriation, attachment, sequestration, distress or execution or any analogous process in
          any jurisdiction affects any asset or assets of a member of the Group other than a Debtor.

   26.9         Failure to comply with court judgment or arbitral award

          (a)    Any Obligor fails to pay any unstayed final judgment, arbitral award, order or decree
                 rendered against it by a court or arbitral tribunal or other arbitral body of competent
                 jurisdiction located in any jurisdiction.

          (b)    No Event of Default under paragraph (a) above will occur if:

                 (i)      the aggregate liability under all such judgments, arbitral awards, orders or decrees
                          is less than US$5,000,000 (or its equivalent in any other currency or currencies)
                          and is discharged within 45 days; or

                 (ii)     such judgment or arbitral award is entirely covered by insurance or indemnity and
                          provided such carrier has coverage or such indemnification has not been denied.

  26.10         Debtors and Cases

          (a)    Any of the Cases shall be dismissed or converted to a case under Chapter 7 of the
                 Bankruptcy Code or any Debtor shall file a motion or other pleading seeking the dismissal
                 of any of the Cases under Section 1112 of the Bankruptcy Code or otherwise; a trustee
                 under Chapter 7 or Chapter 11 of the Bankruptcy Code, an examiner with enlarged
                 powers relating to the operation of the business (powers beyond those set forth in
                 Section 1106(a)(3) and (4) of the Bankruptcy Code) under Section 1106(b) of the
                 Bankruptcy Code, a receiver, interim receiver, receiver or manager shall be appointed in
                 any of the Cases and the order appointing such trustee, examiner, receiver, interim
                 receiver or manager shall not be reversed or vacated within 10 days after the entry
                 thereof.

          (b)    Any order by the Bankruptcy Court shall be entered, terminating or modifying the
                 exclusivity right of any Debtor to file a Chapter 11 plan pursuant to section 1121 of the
                 Bankruptcy Code.

          (c)    Any other material superpriority administrative expense claim or “claim” which is pari
                 passu with or senior to the claims of the Secured Parties under the Facilities, as
                 applicable (other than in each case the Carve Out) or any material lien that is pari passu


  BD-#32148460-v3                                    130
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                            Pg 471 of 692


               with or senior to the liens of the Secured Parties under this Agreement shall be granted in
               any of the Cases.

        (d)    The Bankruptcy Court shall enter an order granting relief from the automatic stay to any
               creditor or party in interest to permit foreclosure (or the granting of a deed in lieu of
               foreclosure or the like) on any asset of the Debtors of fair market value exceeding
               $1,500,000 in aggregate from or permit other actions that would reasonably be expected
               to result in a Material Adverse Effect.

        (e)    An order shall be entered reversing, supplementing, staying for a period of three (3)
               Business Days or more, vacating or otherwise modifying the Interim DIP Order or the
               Final DIP Order in a manner that is materially adverse to the interests of the Finance
               Parties, or any Debtor shall apply for authority to do so without the prior written consent of
               the Facility Agent (acting on the instructions of the Majority Lenders), or the Interim DIP
               Order or the Final DIP Order shall cease to be in full force and effect.

        (f)    The Bidding Procedures Order or Sale Order shall be reversed, supplemented, stayed,
               vacated or modified in a manner adverse to the Majority Lenders without the consent of
               the Majority Lenders.

        (g)    A Debtor makes any payments relating to prepetition obligations other than in accordance
               with a Bankruptcy Court order, the Interim DIP Order, the Final DIP Order, or as
               otherwise agreed to by the Facility Agent and the Majority Lenders or contemplated by
               the Budget or otherwise permitted hereunder.

        (h)    A plan shall be proposed by a Debtor in any of the Cases that is not supported by the
               Lenders, including a plan that does not provide for (i) termination of the Commitments
               and the commitments under the US DIP Credit Facilities, (ii) the indefeasible payment in
               full in cash of the Outstandings (other than indemnities and other contingent obligations
               not then due and payable), and (iii) payment in full in cash of the Prepetition Obligations
               (or other treatment agreed to by the Finance Parties), in each case in the foregoing
               clauses (i)-(iii) on the effective date of such plan.

        (i)    A plan is proposed by any person other than the Debtors, in any of the Cases, that is not
               supported by the Lenders, including a plan that does not provide for (i) termination of the
               Commitments and the commitments under the US DIP Credit Facilities, (ii) the
               indefeasible payment in full in cash of the Outstandings (other than indemnities and other
               contingent obligations not then due and payable), and (iii) payment in full in cash of the
               obligations owed to the Finance Parties prior to the Petition Date (or other treatment
               agreed to by the Prepetition Lenders), in each case in the foregoing clauses (i)-(iii) on the
               effective date of such plan, and such plan is confirmed.

        (j)    The Interim DIP Order or Final DIP Order, as applicable, shall fail to be in full force and
               effect, including by the entry of an order (i) reversing or vacating the Interim DIP Order or
               Final DIP Order, (ii) amending or modifying the Interim DIP Order or Final DIP Order in a
               manner that is adverse to the Finance Parties, or (iii) staying for a period in excess of
               seven days the Interim DIP Order or Final DIP Order (as applicable).

        (k)    the Transaction Security Documents shall cease to create a valid and perfected lien on
               any material assets purported to be subject to Transaction Security, solely to the extent
               required hereunder;

        (l)    any Debtor shall fail to comply with the material terms of an Order in any material respect
               for a period of more than 5 Business Days;

        (m)    any Debtor shall file a motion seeking, or take any action supporting a motion seeking, or
               the Bankruptcy Court shall enter, an order, authorizing the sale of all or substantially all of
               the Debtors' assets (unless, in the case of each of the foregoing, either (i) (A) the Majority
               Lenders consent to the filing of such motion, and (B) any order approving the sale
               expressly provides for application of cash proceeds in accordance with the terms of this



  BD-#32148460-v3                                 131
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 472 of 692


                 Agreement and is otherwise in form and substance reasonably acceptable to the Facility
                 Agent, or (ii) the order approving such sale contemplates payment in full in cash of the
                 Outstandings upon consummation of such sale);

          (n)    the Bankruptcy Court shall enter a Final Order that is adverse in any material respect to
                 (i) the interests (when taken as a whole) of the Secured Parties in any of the Transaction
                 Security, or (ii) the creation, perfection or priority of any of the Security securing the
                 Secured Obligations; provided however, that this paragraph (n) will not apply to the
                 termination of the use of cash collateral (which shall be governed exclusively by
                 paragraph (o) below);

          (o)    the use of cash collateral by a Debtor shall be terminated and a Debtor shall not have
                 obtained use of cash collateral (consensually or non-consensually) pursuant to an order
                 in form and substance reasonably acceptable to the Majority Lender;

          (p)    the Obligors or any of their subsidiaries, or any person claiming by or through the
                 Obligors or any of their Subsidiaries, shall obtain court authorization to commence, or
                 shall commence, join in, assist or otherwise participate as an adverse party in any suit or
                 other proceeding against any of the Finance Parties in any Case or case relating to the
                 Facilities or the US DIP Credit Facilities or any challenge to the validity, enforceability,
                 priority or perfection of liens securing the obligations under this Agreement prior to the
                 Petition Date, as applicable; or

          (q)    the filing of any equitable subordination or recharacterization claim by any of the
                 Borrowers, seeking thereby to subordinate or recharacterize, by order of a court of
                 competent jurisdiction, any of the rights to payment, or rights in collateral securing any
                 such payment, of any indebtedness owed to any such Lender; or

          (r)    the entry of an order providing for the equitable subordination or recharacterization of any
                 Lender’s rights to payment, or rights in Transaction Security securing any payment, or
                 any Financial Indebtedness owed to any Lender; or

          (s)    the entry of an order that restricts any of the Lenders from credit bidding in any sale of the
                 assets of a Debtor under Section 363 of the Bankruptcy Code.

  26.11         Unlawfulness and invalidity

          (a)    A Lender determines that it is or has become unlawful for an Obligor, any Spanish
                 Pledgor or any South African Pledge Counterparty to perform any of its obligations under
                 the Finance Documents or any Transaction Security created or expressed to be created
                 or evidenced by the Transaction Security Documents ceases to be effective.

          (b)    Any obligation or obligations of any Obligor, any Spanish Pledgor or any South African
                 Pledge Counterparty under any Finance Documents are not (subject to the Legal
                 Reservations) or cease to be legal, valid, binding or enforceable and the cessation
                 individually or cumulatively materially and adversely affects the interests of the Lenders
                 under the Finance Documents.

          (c)    Any Finance Document ceases to be in full force and effect or any Transaction Security
                 ceases to be legal, valid, binding, enforceable or effective or is alleged by a party to it
                 (other than a Finance Party) to be ineffective.

  26.12         Cessation of business

          Any member of the Group suspends or ceases to carry on (or threatens to suspend or cease to
          carry on) all or a material part of its business.




  BD-#32148460-v3                                   132
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 473 of 692


  26.13        Change in Parent management

          Any individual resigns or is removed from the board of directors of the Parent unless another
          person reasonably acceptable to the Facility Agent (acting on the instructions of the Majority
          Lenders) is appointed to the board in their place within 5 days of such resignation or removal.

  26.14        Reporting

        (a)     The Company fails to provide a Borrowing Base Report to the Collateral Management
                Agent when required pursuant to clause 22.7(a)(i) (Borrowing Base Report) and such
                failure is not remedied within two (2) Business Days.

        (b)     The Company fails to provide a Cross-Check Borrowing Base Report to the Collateral
                Management Agent pursuant to clause 22.7(a)(ii) (Borrowing Base Report) and such
                failure is not remedied within two (2) Business Days.

        (c)     The Company fails to provide a Compliant Borrowing Base Report to the Collateral
                Management Agent when required pursuant to clause 22.9 (Deficient Borrowing Base
                Report).

        (d)     In each period of twelve (12) Months commencing on the date of this Agreement and
                each anniversary thereof:

                (i)      the Company is required to remedy a failure to provide a Borrowing Base Report in
                         accordance with clause 26.13(a) on more than four (4) occasions;

                (ii)     the Company is required to remedy a failure to provide a Cross-Check Borrowing
                         Base Report in accordance with clause 26.13(b) on more than two (2) occasions;

                (iii)    five (5) or more Deficient Borrowing Base Reports are provided to the Collateral
                         Management Agent pursuant to this Agreement; or

                (iv)     three (3) or more Deficient Cross-Check Borrowing Base Reports are provided to
                         the Collateral Management Agent pursuant to this Agreement.

        (e)     The Company provides two (2) consecutive Deficient Cross-Check Borrowing Base
                Reports to the Collateral Management Agent pursuant to this Agreement.

  26.15        Repudiation and rescission of agreements

          An Obligor, any Spanish Pledgor or any South African Pledge Counterparty (or any other
          relevant party) rescinds or purports to rescind or repudiates or purports to repudiate a Finance
          Document or any of the Transaction Security or evidences an intention to rescind or repudiate a
          Finance Document or any Transaction Security.

  26.16        Accounts

          Without the prior written consent of the Facility Agent on the instructions of the Majority Lenders
          any Collection Account or Facility Account is closed or requested to be closed (other than in
          accordance with the terms of this Agreement).

  26.17        Litigation

          Any litigation, arbitration, administrative, governmental, regulatory or other investigations,
          proceedings or disputes are commenced or threatened in relation to the Finance Documents or
          the transactions contemplated in the Finance Documents or against any member of the Group
          or its assets which have or are reasonably likely to have a Material Adverse Effect.




  BD-#32148460-v3                                  133
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 474 of 692


  26.18         Expropriation

          The authority or ability of any member of the Group to conduct its business is limited or wholly
          or substantially curtailed by any seizure, expropriation, nationalisation, compulsory acquisition,
          intervention, restriction or other action by or on behalf of any governmental, regulatory or other
          authority or other person in relation to any member of the Group or any of its assets or the
          shares in that member of the Group (including without limitation the displacement of all or part
          of the management of any member of the Group).

  26.19         Material adverse change

          Any event or circumstance occurs which the Majority Lenders reasonably believe has or is
          reasonably likely to have a Material Adverse Effect.

  26.20         Sanctions

          Any Obligor or any other member of the Group:

          (a)    becomes a Prohibited Person or becomes owned or controlled by, or acts directly or
                 indirectly on behalf of, a Prohibited Person or any of such persons becomes the owner or
                 controller of a Prohibited Person; or

          (b)    fails to comply with any Sanctions.

  26.21         Acceleration

          On and at any time after the occurrence of an Event of Default the Facility Agent may, and shall
          if so directed by the Majority Lenders, by notice to the Company:

          (a)    issue and deliver a Carve-Out Trigger Notice;

          (b)    cancel the Total Commitments at which time they shall immediately be cancelled;

          (c)    declare that all or part of the Utilisations, together with accrued interest, and all other
                 amounts accrued or outstanding under the Finance Documents be immediately due and
                 payable, at which time they shall become immediately due and payable;

          (d)    declare that all or part of the Utilisations be payable on demand, at which time they shall
                 immediately become payable on demand by the Facility Agent on the instructions of the
                 Majority Lenders;

          (e)    declare that cash cover in respect of each Credit Instrument is immediately due and
                 payable at which time it shall become immediately due and payable;

          (f)    declare that cash cover in respect of each Credit Instrument is payable on demand at
                 which time it shall immediately become due and payable on demand by the Facility Agent
                 on the instructions of the Majority Lenders;

          (g)    declare all or any part of the amounts (or cash cover in relation to those amounts)
                 outstanding under the Fronted Facilities to be immediately due and payable, at which
                 time they shall become immediately due and payable;

          (h)    declare that all or any part of the amounts (or cash cover in relation to those amounts)
                 outstanding under the Fronted Facilities be payable on demand, at which time they shall
                 immediately become payable on demand by the Facility Agent on the instructions of the
                 Majority Lenders;

          (i)    instruct the close-out of any hedging or clearing transactions which are the subject of a
                 Multi-Party TPA Agreement or require the Borrowers to close out any FX Hedging
                 Provider Hedging Transactions; and/or


  BD-#32148460-v3                                  134
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                           Pg 475 of 692


        (j)    exercise or direct the Security Agent to exercise any or all of its rights, remedies, powers
               or discretions under the Finance Documents.




  BD-#32148460-v3                                135
18-13374-mew                Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                   Pg 476 of 692


                                                       Section 9
                                                   Changes to Parties

 27          Changes to the Lenders
      27.1         Assignments and transfers by the Lenders

             Subject to this clause 27 and to clause 28 (Restriction on Debt Purchase Transactions), a
             Lender (the Existing Lender) may:

             (a)    assign any of its rights; or

             (b)    transfer by novation any of its rights and obligations,

             under any Finance Document to any other person which is a commercial bank or a person that
             has an Investment Grade Rating (the New Lender).

      27.2         Conditions of assignment or transfer

             (a)    The consent of the relevant Issuing Bank is required for any assignment or transfer by an
                    Existing Lender of any of its rights and/or obligations under a Fronted Facility. This
                    requirement shall apply to any such transfer irrespective of the circumstances of the
                    transfer and notwithstanding any other provision of this Agreement.

             (b)    The consent of the Company is required for an assignment or transfer by an Existing
                    Lender, unless the assignment or transfer is:

                    (i)      to an Acceptable Bank;

                    (ii)     to a Lender or an Affiliate of a Lender; or

                    (iii)    made at a time when an Event of Default is continuing.

             (c)    The consent of the Company to an assignment or transfer must not be unreasonably
                    withheld or delayed. The Company will be deemed to have given its consent five (5)
                    Business Days after the Existing Lender has requested it unless consent is expressly
                    refused by the Company within that time.

             (d)    An assignment will only be effective on:

                    (i)      receipt by the Facility Agent (whether in the Assignment Agreement or otherwise)
                             of written confirmation from the New Lender (in form and substance satisfactory to
                             the Facility Agent) that the New Lender will assume the same obligations to the
                             other Finance Parties and the other Secured Parties as it would have been under if
                             it was an Original Lender;

                    (ii)     the performance by the Facility Agent of all necessary "know your customer" or
                             other similar checks under all applicable laws and regulations in relation to such
                             assignment to a New Lender, the completion of which the Facility Agent shall
                             promptly notify to the Existing Lender and the New Lender; and

                    (iii)    if any Spanish Pledge has been entered into, receipt by the Facility Agent from the
                             New Lender of a notarised power of attorney substantially in the form set out in
                             Schedule 15 (Form of New Lender Spanish Power of Attorney) to enable the
                             Security Agent to exercise any rights, discretions or powers or to grant any
                             consents or releases under the Spanish Pledges. For the avoidance of doubt, all
                             costs and expenses relating to the execution of the power of attorney in the form
                             set out in Schedule 15 (Form of New Lender Spanish Power of Attorney) shall be
                             borne by the entity granting such power of attorney.



  BD-#32148460-v3                                        136
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                Pg 477 of 692


          (e)    A transfer will only be effective if the procedure set out in clause 27.5 (Procedure for
                 transfer) is complied with.

          (f)    If:

                 (i)      a Lender assigns or transfers any of its rights or obligations under the Finance
                          Documents or changes its Facility Office; and

                 (ii)     as a result of circumstances existing at the date the assignment, transfer or change
                          occurs, an Obligor would be obliged to make a payment to the New Lender or
                          Lender acting through its new Facility Office under clause 16 (Increased Costs),
                          then the New Lender or Lender acting through its new Facility Office is only entitled
                          to receive payment under that clause to the same extent as the Existing Lender or
                          Lender acting through its previous Facility Office would have been if the
                          assignment, transfer or change had not occurred. This paragraph (f) shall not
                          apply in respect of an assignment or transfer made in the ordinary course of the
                          primary syndication of the Facility or to the extent that the payment under clause
                          15 (Tax Gross Up and Indemnities) relates to a FATCA Deduction.

          (g)    Each New Lender, by executing the relevant Transfer Certificate or Assignment
                 Agreement, confirms, for the avoidance of doubt, that the Facility Agent has authority to
                 execute on its behalf any amendment or waiver that has been approved by or on behalf
                 of the requisite Lender or Lenders in accordance with this Agreement on or prior to the
                 date on which the transfer or assignment becomes effective in accordance with this
                 Agreement and that it is bound by that decision to the same extent as the Existing Lender
                 would have been had it remained a Lender.

   27.3         Assignment or transfer fee

          Unless the Facility Agent otherwise agrees and excluding an assignment or transfer (i) to an
          Affiliate of a Lender, (ii) to a Related Fund (iii) made in connection with primary syndication of
          the Facility, or (iv) to Mercuria Energy Group Limited or any of its Affiliates, the New Lender
          shall, on the date upon which an assignment or transfer takes effect, pay to the Facility Agent
          (for its own account) a fee of $3,500.

   27.4         Limitation of responsibility of Existing Lenders

          (a)    Unless expressly agreed to the contrary, an Existing Lender makes no representation or
                 warranty and assumes no responsibility to a New Lender for:

                 (i)      the legality, validity, effectiveness, adequacy or enforceability of the Finance
                          Documents, the Transaction Security or any other documents;

                 (ii)     the financial condition of any Obligor;

                 (iii)    the performance and observance by any Obligor or any other member of the Group
                          of its obligations under the Finance Documents or any other documents; or

                 (iv)     the accuracy of any statements (whether written or oral) made in or in connection
                          with any Finance Document or any other document,

          and any representations or warranties implied by law are excluded.

          (b)    Each New Lender confirms to the Existing Lender, the other Finance Parties and the
                 Secured Parties that it:

                 (i)      has made (and shall continue to make) its own independent investigation and
                          assessment of the financial condition and affairs of each Obligor and its related
                          entities in connection with its participation in this Agreement and has not relied
                          exclusively on any information provided to it by the Existing Lender or any other



  BD-#32148460-v3                                     137
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                Pg 478 of 692


                          Finance Party in connection with any Finance Document or the Transaction
                          Security; and

                 (ii)     will continue to make its own independent appraisal of the creditworthiness of each
                          Obligor and its related entities whilst any amount is or may be outstanding under
                          the Finance Documents or any Commitment is in force.

          (c)    Nothing in any Finance Document obliges an Existing Lender to:

                 (i)      accept a re-transfer or re-assignment from a New Lender of any of the rights and
                          obligations assigned or transferred under this clause 27; or

                 (ii)     support any losses directly or indirectly incurred by the New Lender by reason of
                          the non-performance by any Obligor of its obligations under the Finance
                          Documents or otherwise.

   27.5         Procedure for transfer

          (a)    Subject to the conditions set out in clause 27.2 (Conditions of assignment or transfer) a
                 transfer is effected in accordance with paragraph (b) below when the Facility Agent
                 executes an otherwise duly completed Transfer Certificate delivered to it by the Existing
                 Lender and the New Lender. The Facility Agent shall, subject to paragraph (b) below, as
                 soon as reasonably practicable after receipt by it of a duly completed Transfer Certificate
                 appearing on its face to comply with the terms of this Agreement and delivered in
                 accordance with the terms of this Agreement, execute that Transfer Certificate.

          (b)    The Facility Agent shall only be obliged to execute a Transfer Certificate delivered to it by
                 the Existing Lender and the New Lender once: (A) it is satisfied it has complied with all
                 necessary "know your customer" or similar checks under all applicable laws and
                 regulations in relation to the transfer to such New Lender; and (B) it has received from the
                 New Lender a notarised power of attorney substantially in the form set out in Schedule 15
                 (Form of New Lender Spanish Power of Attorney) to enable the Security Agent to
                 exercise any rights, discretions or powers or to grant any consents or releases under the
                 Spanish Pledges. For the avoidance of doubt, all costs and expenses relating to the
                 execution of the power of attorney in the form set out in Schedule 15 (Form of New
                 Lender Spanish Power of Attorney) shall be borne by the entity granting such power of
                 attorney.

          (c)    Subject to clause 27.9 (Pro rata interest settlement), on the Transfer Date:

                 (i)      to the extent that in the Transfer Certificate the Existing Lender seeks to transfer by
                          novation its rights and obligations under the Finance Documents and in respect of
                          the Transaction Security each of the Obligors and the Existing Lender shall be
                          released from further obligations towards one another under the Finance
                          Documents and in respect of the Transaction Security and their respective rights
                          against one another under the Finance Documents and in respect of the
                          Transaction Security shall be cancelled (being the Discharged Rights and
                          Obligations);

                 (ii)     each of the Obligors and the New Lender shall assume obligations towards one
                          another and/or acquire rights against one another which differ from the Discharged
                          Rights and Obligations only insofar as that Obligor or other member of the Group
                          and the New Lender have assumed and/or acquired the same in place of that
                          Obligor and the Existing Lender;

                 (iii)    the Facility Agent, the Collateral Management Agent, the Security Agent, the New
                          Lender, the Issuing Bank, the Overdraft Bank and the other Lenders shall acquire
                          the same rights and assume the same obligations between themselves and in
                          respect of the Transaction Security as they would have acquired and assumed had
                          the New Lender been an Original Lender with the rights, and/or obligations



  BD-#32148460-v3                                     138
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                Pg 479 of 692


                          acquired or assumed by it as a result of the transfer and to that extent the Facility
                          Agent, the Collateral Management Agent, the Security Agent, the Issuing Bank, the
                          Overdraft Bank and the Existing Lender shall each be released from further
                          obligations to each other under the Finance Documents; and

                 (iv)     the New Lender shall become a Party as a Lender.

   27.6         Procedure for assignment

          (a)    Subject to the conditions set out in clause 27.2 (Conditions of assignment or transfer) an
                 assignment may be effected in accordance with paragraph (c) below when the Facility
                 Agent executes an otherwise duly completed Assignment Agreement delivered to it by
                 the Existing Lender and the New Lender. The Facility Agent shall, subject to paragraph
                 (b) below, as soon as reasonably practicable after receipt by it of a duly completed
                 Assignment Agreement appearing on its face to comply with the terms of this Agreement
                 and delivered in accordance with the terms of this Agreement, execute that Assignment
                 Agreement.

          (b)    The Facility Agent shall only be obliged to execute an Assignment Agreement delivered
                 to it by the Existing Lender and the New Lender once it is satisfied it has complied with all
                 necessary "know your customer" or similar checks under all applicable laws and
                 regulations in relation to the assignment to such New Lender.

          (c)    Subject to clause 27.9 (Pro rata interest settlement), on the Transfer Date:

                 (i)      the Existing Lender will assign absolutely to the New Lender its rights under the
                          Finance Documents and in respect of the Transaction Security expressed to be the
                          subject of the assignment in the Assignment Agreement;

                 (ii)     the Existing Lender will be released from the obligations (the Relevant
                          Obligations) expressed to be the subject of the release in the Assignment
                          Agreement (and any corresponding obligations by which it is bound in respect of
                          the Transaction Security); and

                 (iii)    the New Lender shall become a Party as a Lender and will be bound by
                          obligations equivalent to the Relevant Obligations.

          (d)    Lenders may utilise procedures other than those set out in this clause 27.6 to assign their
                 rights under the Finance Documents (but not, without the consent of the relevant Obligor
                 or unless in accordance with clause 27.5 (Procedure for transfer), to obtain a release by
                 that Obligor from the obligations owed to that Obligor by the Lenders nor the assumption
                 of equivalent obligations by a New Lender) provided that they comply with the conditions
                 set out in clause 27.2 (Conditions of assignment or transfer).

   27.7         Copy of Transfer Certificate or Assignment Agreement to the Company

          The Facility Agent shall, as soon as reasonably practicable after it has executed a Transfer
          Certificate or an Assignment Agreement, send to the Company a copy of that Transfer
          Certificate or Assignment Agreement.

   27.8         Security over Lenders' rights

          In addition to the other rights provided to Lenders under this clause 27, each Lender may
          without consulting with or obtaining consent from any Obligor, at any time charge, assign or
          otherwise create Security in or over (whether by way of collateral or otherwise) all or any of its
          rights under any Finance Document to secure obligations of that Lender including, without
          limitation:

          (a)    any charge, assignment or other Security to secure obligations to a federal reserve or
                 central bank; and



  BD-#32148460-v3                                    139
18-13374-mew               Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                  Pg 480 of 692


             (b)    in the case of any Lender which is a fund, any charge, assignment or other Security
                    granted to any holders (or trustee or representatives of holders) of obligations owed, or
                    securities issued, by that Lender as security for those obligations or securities,

             except that no such charge, assignment or Security shall:

                    (i)     release a Lender from any of its obligations under the Finance Documents or
                            substitute the beneficiary of the relevant charge, assignment or other Security for
                            the Lender as a party to any of the Finance Documents; or

                    (ii)    require any payments to be made by an Obligor or grant to any person any more
                            extensive rights than those required to be made or granted to the relevant Lender
                            under the Finance Documents.

      27.9         Pro rata interest settlement

             (a)    If the Facility Agent has notified the Lenders that it is able to distribute interest payments
                    on a "pro rata basis" to Existing Lenders and New Lenders then (in respect of any
                    transfer pursuant to clause 27.5 (Procedure for transfer) or any assignment pursuant to
                    clause 27.6 (Procedure for assignment) the Transfer Date of which, in each case, is after
                    the date of such notification and is not on the last day of an Interest Period):

                    (i)     any interest or fees in respect of the relevant participation which are expressed to
                            accrue by reference to the lapse of time shall continue to accrue in favour of the
                            Existing Lender up to but excluding the Transfer Date (Accrued Amounts) and
                            shall become due and payable to the Existing Lender (without further interest
                            accruing on them) on the last day of the current Interest Period (or, if the Interest
                            Period is longer than six (6) Months, on the next of the dates which falls at six (6)
                            Monthly intervals after the first day of that Interest Period); and

                    (ii)    the rights assigned or transferred by the Existing Lender will not include the right to
                            the Accrued Amounts so that, for the avoidance of doubt:

                            (A)   when the Accrued Amounts become payable, those Accrued Amounts will
                                  be payable for the account of the Existing Lender; and

                            (B)   the amount payable to the New Lender on that date will be the amount which
                                  would, but for the application of this clause 27.9, have been payable to it on
                                  that date, but after deduction of the Accrued Amounts.

             (b)    In this clause 27.9, references to Interest Period shall be construed to include a
                    reference to any other period for accrual of fees.

 28          Restriction on Debt Purchase Transactions
      28.1         Prohibition on Debt Purchase Transactions by the Group

             The Company shall not, and shall procure that each other member of the Group shall not, enter
             into any Debt Purchase Transaction or beneficially own all or any part of the share capital of a
             company that is a Lender or a party to a Debt Purchase Transaction of the type referred to in
             paragraphs (b) or (c) of the definition of Debt Purchase Transaction.

      28.2         Disenfranchisement on Debt Purchase Transactions entered into by Parent Affiliates

             (a)    For so long as a Parent Affiliate:

                    (i)     beneficially owns a Commitment; or




  BD-#32148460-v3                                        140
18-13374-mew               Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                    Pg 481 of 692


                    (ii)    has entered into a sub-participation agreement relating to a Commitment or other
                            agreement or arrangement having a substantially similar economic effect and such
                            agreement or arrangement has not been terminated,

                            in ascertaining:

                            (A)   the Majority Lenders; or

                            (B)   whether:

                                  (1)     any given percentage (including, for the avoidance of doubt,
                                          unanimity) of the Total Commitments; or

                                  (2)     the agreement of any specified group of Lenders,

                                  has been obtained to approve any request for a consent, waiver,
                                  amendment or other vote under the Finance Documents such Commitment
                                  shall be deemed to be zero; and such Parent Affiliate or the person with
                                  whom it has entered into such sub-participation, other agreement or
                                  arrangement shall be deemed not to be a Lender for the purposes of
                                  paragraphs (A) and (B) above (unless in the case of a person not being a
                                  Parent Affiliate it is a Lender by virtue otherwise than by beneficially owning
                                  the relevant Commitment).

             (b)    Each Lender shall, unless such Debt Purchase Transaction is an assignment or transfer,
                    promptly notify the Facility Agent in writing if it knowingly enters into a Debt Purchase
                    Transaction with a Parent Affiliate (a Notifiable Debt Purchase Transaction), such
                    notification to be substantially in the form set out in Part I of Schedule 8 (Forms of
                    Notifiable Debt Purchase Transaction Notice).

             (c)    A Lender shall promptly notify the Facility Agent if a Notifiable Debt Purchase Transaction
                    to which it is a party:

                    (i)     is terminated; or

                    (ii)    ceases to be with a Parent Affiliate,

                    such notification to be substantially in the form set out in Part II of Schedule 8 (Forms of
                    Notifiable Debt Purchase Transaction Notice).

             (d)    Each Parent Affiliate that is a Lender agrees that:

                    (i)     in relation to any meeting or conference call to which all the Lenders are invited to
                            attend or participate, it shall not attend or participate in the same if so requested by
                            the Facility Agent or, unless the Facility Agent otherwise agrees, be entitled to
                            receive the agenda or any minutes of the same; and

                    (ii)    in its capacity as Lender, unless the Facility Agent otherwise agrees, it shall not be
                            entitled to receive any report or other document prepared at the behest of, or on
                            the instructions of, the Facility Agent or one or more of the Lenders.

 29          Changes to the Obligors
      29.1         Assignment and transfers by Obligors

             No Obligor may assign any of its rights or transfer any of its rights or obligations under the
             Finance Documents.




  BD-#32148460-v3                                       141
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 482 of 692


          Additional Borrowers

   29.2         Subject to compliance with the provisions of clause 22.5 (“Know your customer” checks),
                the Company may request that any of its Subsidiaries becomes an Additional Borrower.
                That Subsidiary shall become an Additional Borrower if:

          (a)    all the Lenders (or, in the case of a Subsidiary which would be a FATCA FFI or a US Tax
                 Obligor if it became an Additional Borrower, all the Finance Parties) approve the addition
                 of that Subsidiary;

          (b)    the Company delivers to the Facility Agent a duly completed and executed Accession
                 Letter;

          (c)    the Subsidiary is (or becomes) a Guarantor prior to becoming a Borrower;

          (d)    the Company confirms that no Default is continuing or would occur as a result of that
                 Subsidiary becoming an Additional Borrower; and

          (e)    the Facility Agent has received all of the documents and other evidence listed in Part 2 of
                 Schedule 2 (Conditions precedent) in relation to that Additional Borrower, each in form
                 and substance satisfactory to the Facility Agent.

                In case of an Additional Borrower incorporated under the laws of Spain acceding this
                Agreement, if requested by the Facility Agent (acting reasonably) within ten (10) Business
                Days of the date on which the completed and executed Accession Letter has been
                provided pursuant to the terms of this Agreement, the Accession Letter and any relevant
                Finance Documents shall be notarized before a Spanish Notary Public, and the parties to
                the notarial deed shall acknowledge that it qualifies as a “título ejecutivo” in case of
                enforcement in Spain.

   29.3         The Facility Agent shall notify the Company and the Lenders promptly upon being satisfied
                that it has received (in form and substance satisfactory to it) all the documents and other
                evidence listed in Part 2 of Schedule 2 (Conditions precedent).

          Resignation of a Borrower

   29.4         The Company may request that a Borrower (other than the Company) ceases to be a
                Borrower by delivering to the Facility Agent a Resignation Letter.

   29.5         The Facility Agent shall accept a Resignation Letter and notify the Company and the
                Lenders of its acceptance if:

          (a)    the Majority Lenders have consented to the Company’s request;

          (b)    where the Borrower is also a Guarantor (unless its resignation has been accepted in
                 accordance with clause 29.13 (Resignation of a Guarantor)), its obligations in its capacity
                 as Guarantor continue to be legal, valid, binding and enforceable and in full force and
                 effect and the amount guaranteed by it as Guarantor is not decreased (and the Company
                 has confirmed this is the case);

          (c)    no Default is continuing or would result from the acceptance of the Resignation Letter
                 (and the Company has confirmed this is the case); and

          (d)    the Borrower is under no actual or contingent obligations as a Borrower under any
                 Finance Documents,

          whereupon that company shall cease to be a Borrower and shall have no further rights or
          obligations under the Finance Documents.




  BD-#32148460-v3                                  142
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 483 of 692


   29.6         The Facility Agent may, at the cost and expense of the Company, require a legal opinion
                from counsel to the Facility Agent confirming the matters set out in paragraph 29.5(b)
                above and the Facility Agent shall be under no obligation to accept a Resignation Letter
                until it has obtained such opinion in form and substance satisfactory to it.

          Additional Guarantors

   29.7         The Company shall procure that promptly following exchange control approval from the
                Financial Surveillance Department of the South African Reserve Bank and in any event
                within 40 Business Days of the granting of the Interim DIP Order, Aegean Bunkering
                Marine Services Proprietary Limited a limited liability company incorporated in South
                Africa, shall become an Additional Guarantor in accordance with clauses 29.10 and 29.11
                below. The Company shall (and shall procure that Aegean Bunkering Marine Services
                Proprietary Limited) uses best endeavours to obtain the exchange control approval from
                the Financial Surveillance Department of the South African Reserve Bank as soon as
                possible for the purpose of becoming an Additional Guarantor.

   29.8         The Borrowers shall promptly cause each Subsidiary of the Parent formed or acquired
                after the date of this Agreement, other than any Immaterial Subsidiary, to become an
                Additional Guarantor. If and when any Subsidiary ceases to be an Immaterial Subsidiary,
                the Borrower shall promptly cause such Subsidiary become an Additional Guarantor.

   29.9         Notwithstanding the provisions of clause 29.7, the Company may at any time request that
                any of its Subsidiaries (or any Subsidiaries of the Parent) become an Additional Guarantor.

  29.10         The Company shall procure that each proposed Additional Guarantor pursuant to clauses
                29.6 to 29.8 shall comply with the provisions of clause 22.5 (“Know your customer”
                checks). An entity shall become an Additional Guarantor upon:

          (a)    in the case of an entity which would be a FATCA FFI or a US Tax Obligor if it became an
                 Additional Guarantor, all the Finance Parties approving the addition of that entity;

          (b)    the Company delivering to the Facility Agent a duly completed and executed Accession
                 Letter; and

          (c)    the Facility Agent having given written confirmation that the provisions of clause 22.5
                 (“Know your customer” checks) are satisfied; and

          (d)    the Facility Agent having received all of the documents and other evidence listed in Part 2
                 of Schedule 2 (Conditions precedent) in relation to that Additional Guarantor, each in
                 form and substance satisfactory to the Facility Agent.

  29.11         The Facility Agent shall notify the Company and the Lenders promptly upon being satisfied
                that it has received (in form and substance satisfactory to it) all the documents and other
                evidence listed in Part 2 of Schedule 2 (Conditions precedent).

          Resignation of a Guarantor

  29.12         The Company may request that a Guarantor (other than the Parent or the Company)
                ceases to be a Guarantor by delivering to the Facility Agent a Resignation Letter.

  29.13         The Facility Agent shall accept a Resignation Letter and notify the Company and the
                Lenders of its acceptance if:

          (a)    no Default is continuing or would result from the acceptance of the Resignation Letter
                 (and the Company has confirmed this is the case);

          (b)    where the Guarantor is also a Borrower, it is under no actual or contingent obligations as
                 a Borrower and has resigned and ceased to be a Borrower under clause 29.4
                 (Resignation of a Borrower);



  BD-#32148460-v3                                  143
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 484 of 692


          (c)    all Lenders have consented to the Company's request; and

          (d)    no payment is due from the Guarantor under this Agreement.

          Compulsory resignation of FATCA FFIs and US Tax Obligors

  29.14         If so directed by the Facility Agent (acting on the instructions of all Lenders), the Company
                shall procure that any Obligor which is a FATCA FFI or a US Tax Obligor shall resign as a
                Borrower or a Guarantor (as the case may be) prior to the earliest FATCA Application Date
                relating to any payment by that Obligor (or any payment by the Facility Agent which relates
                to a payment by that Obligor). For the purposes of clause 29.13(c) (Resignation of a
                Guarantor) each Lender consents to the resignation of a Guarantor required pursuant to
                this clause 29.14.

          Repetition of Representations

  29.15         Delivery of an Accession Letter constitutes confirmation by the relevant Subsidiary that the
                Repeating Representations are true and correct in relation to it as at the date of delivery as
                if made by reference to the facts and circumstances then existing.




  BD-#32148460-v3                                   144
18-13374-mew               Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                                 Pg 485 of 692


                                                   Section 10
                                               The Finance Parties

 30          Role of the Facility Agent, the Collateral Management Agent, the Issuing
             Bank, the Overdraft Bank and Others
      30.1         Appointment of the Facility Agent and the Collateral Management Agent

             (a)    Each of the Issuing Bank, the Overdraft Bank and the Lenders appoints the Facility Agent
                    and the Collateral Management Agent to act as its agent under and in connection with the
                    Finance Documents.

             (b)    Each of the Issuing Bank, the Overdraft Bank and the Lenders authorises the Facility
                    Agent and the Collateral Management Agent to perform the duties, obligations and
                    responsibilities and to exercise the rights, powers, authorities and discretions specifically
                    given to the Facility Agent and the Collateral Management Agent (as the case may be)
                    under or in connection with the Finance Documents together with any other incidental
                    rights, powers, authorities and discretions (even if it involves self-contracting
                    (autocontratación), multi-representation or conflict of interest), including, without
                    limitation, to enter and raise into Spanish public status before a Spanish public notary any
                    document related to this mandate and, specifically, those deemed necessary or
                    appropriate according to the mandate received (including, but not limited to, documents
                    of formalisation, acknowledgement, confirmation, modification or release, acceptance of
                    any security interest and acceptance of acknowledgement of debts by Obligors).

      30.2         Instructions

             (a)    Each of the Facility Agent and the Collateral Management Agent shall:

                    (i)     unless a contrary indication appears in a Finance Document, exercise or refrain
                            from exercising any right, power, authority or discretion vested in it as Facility
                            Agent or the Collateral Management Agent (as the case may be) in accordance
                            with any instructions given to it by:

                            (A)   all Lenders if the relevant Finance Document stipulates the matter is an all
                                  Lender decision; or

                            (B)   in all other cases, the Majority Lenders; and

                    (ii)    not be liable for any act (or omission) if it acts (or refrains from acting) in
                            accordance with paragraph (i) above.

             (b)    Each of the Facility Agent and the Collateral Management Agent shall be entitled to
                    request instructions, or clarification of any instruction, from the Majority Lenders (or, if the
                    relevant Finance Document stipulates the matter is a decision for any other Lender or
                    group of Lenders, from that Lender or group of Lenders) as to whether, and in what
                    manner, it should exercise or refrain from exercising any right, power, authority or
                    discretion and the Facility Agent and the Collateral Management Agent may refrain from
                    acting unless and until they receive those instructions or that clarification.

             (c)    Save in the case of decisions stipulated to be a matter for any other Lender or group of
                    Lenders under the relevant Finance Document and unless a contrary indication appears
                    in a Finance Document, any instructions given to the Facility Agent or the Collateral
                    Management Agent by the Majority Lenders shall override any conflicting instructions
                    given by any other Parties and will be binding on all Finance Parties save for the Security
                    Agent.

             (d)    Each of the Facility Agent and the Collateral Management Agent may refrain from acting
                    in accordance with any instructions of any Lender or group of Lenders until it has



  BD-#32148460-v3                                       145
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 486 of 692


                 received any indemnification and/or security that it may in its discretion require (which
                 may be greater in extent than that contained in the Finance Documents and which may
                 include payment in advance) for any cost, loss or liability which it may incur in complying
                 with those instructions.

          (e)    In the absence of instructions, each of the Facility Agent and the Collateral Management
                 Agent may act (or refrain from acting) as it considers to be in the best interest of the
                 Lenders.

          (f)    The Facility Agent and the Collateral Management Agent are not authorised to act on
                 behalf of a Lender (without first obtaining that Lender's consent) in any legal or arbitration
                 proceedings relating to any Finance Document. This paragraph (f) shall not apply to any
                 legal or arbitration proceeding relating to the perfection, preservation or protection of
                 rights under the Transaction Security Documents or enforcement of the Transaction
                 Security or Transaction Security Documents.

   30.3         Duties of the Facility Agent and the Collateral Management Agent

          (a)    The duties of the Facility Agent and the Collateral Management Agent under the Finance
                 Documents are solely mechanical and administrative in nature.

          (b)    Subject to paragraph (c) below, each of the Facility Agent and the Collateral Management
                 Agent shall promptly forward to a Party the original or a copy of any document which is
                 delivered to the Facility Agent or the Collateral Management Agent for that Party by any
                 other Party.

          (c)    Without prejudice to clause 27.7 (Copy of Transfer Certificate or Assignment Agreement
                 to the Company) and clause 6.22, paragraph (a) above shall not apply to any Transfer
                 Certificate or any Assignment Agreement.

          (d)    Except where a Finance Document specifically provides otherwise, neither the Facility
                 Agent and the Collateral Management Agent is obliged to review or check the adequacy,
                 accuracy or completeness of any document it forwards to another Party.

          (e)    If the Facility Agent or the Collateral Management Agent receives notice from a Party
                 referring to this Agreement, describing a Default and stating that the circumstance
                 described is a Default, it shall promptly notify the other Finance Parties.

          (f)    If the Facility Agent or the Collateral Management Agent is aware of the non-payment of
                 any principal, interest, up-front fee or other fee payable to a Finance Party (other than the
                 Facility Agent, the Collateral Management Agent or the Security Agent) under this
                 Agreement it shall promptly notify the other Finance Parties.

          (g)    The Facility Agent shall provide to the Company within five (5) Business Days of a
                 request by the Company (but no more frequently than once per calendar month), a list
                 (which may be in electronic form) setting out the names of the Lenders as at that
                 Business Day, their respective Commitments, the address and email (and the department
                 or officer, if any, for whose attention any communication is to be made) of each Lender
                 for any communication to be made or document to be delivered under or in connection
                 with the Finance Documents, the electronic mail address and/or any other information
                 required to enable the sending and receipt of information by electronic mail or other
                 electronic means to and by each Lender to whom any communication under or in
                 connection with the Finance Documents may be made by that means and the account
                 details of each Lender for any payment to be distributed by the Facility Agent to that
                 Lender under the Finance Documents.

          (h)    Each of the Facility Agent and the Collateral Management Agent shall have only those
                 duties, obligations and responsibilities expressly specified in the Finance Documents to
                 which it is expressed to be a party (and no others shall be implied).




  BD-#32148460-v3                                   146
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                                Pg 487 of 692


          (i)    Each Lender instructs, authorises and agrees with the Facility Agent:

                 (i)      to execute and deliver the Intercreditor Agreement on its behalf;

                 (ii)     to exercise all of the Facility Agent’s rights and to comply with all of its obligations
                          under the Intercreditor Agreement;

                 (iii)    to take actions on its behalf as is contemplated by the terms of the Intercreditor
                          Agreement; and

                 (iv)     that at all times following the execution and delivery of the Intercreditor Agreement
                          such Lender (and each of its successors and assigns) shall be bound by the terms
                          thereof.

   30.4         No fiduciary duties

          (a)    Nothing in any Finance Document constitutes the Facility Agent, the Collateral
                 Management Agent, the Co-Ordinator, the Overdraft Bank or the Issuing Bank as a
                 trustee or fiduciary of any other person.

          (b)    None of the Facility Agent, the Collateral Management Agent, the Co-Ordinator, the
                 Overdraft Bank or the Issuing Bank shall be bound to account to any Lender for any sum
                 or the profit element of any sum received by it for its own account.

   30.5         Business with the Group

          The Facility Agent, the Collateral Management Agent, the Co-Ordinator, the Overdraft Bank and
          the Issuing Bank may accept deposits from, lend money to and generally engage in any kind of
          banking or other business with any member of the Group.

   30.6         Rights and discretions

          (a)    Each of the Facility Agent, the Issuing Bank, the Overdraft Bank and the Collateral
                 Management Agent may:

                 (i)      rely on any representation, communication, notice or document (including, without
                          limitation, any notice given by a Lender pursuant to paragraphs (b) or (c) of clause
                          28.2 (Disenfranchisement on Debt Purchase Transactions entered into by Parent
                          Affiliates)) believed by it to be genuine, correct and appropriately authorised;

                 (ii)     assume that:

                          (A)   any instructions received by it from the Majority Lenders, any Lenders or any
                                group of Lenders are duly given in accordance with the terms of the Finance
                                Documents; and

                          (B)   unless it has received notice of revocation, that those instructions have not
                                been revoked; and

                 (iii)    rely on a certificate from any person:

                          (A)   as to any matter of fact or circumstance which might reasonably be expected
                                to be within the knowledge of that person; or

                          (B)   to the effect that such person approves of any particular dealing, transaction,
                                step, action or thing,

                            as sufficient evidence that that is the case and, in the case of paragraph (A)
                            above, may assume the truth and accuracy of that certificate.



  BD-#32148460-v3                                     147
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 488 of 692


        (b)    Each of the Facility Agent and the Collateral Management Agent may assume (unless it
               has received notice to the contrary in its capacity as agent for the Lenders) that:

               (i)      no Default has occurred (unless it has actual knowledge of a Default arising under
                        clause 26.1 (Non-payment));

               (ii)     any right, power, authority or discretion vested in any Party or any group of
                        Lenders has not been exercised;

               (iii)    any notice or request made by the Company (other than a Utilisation Request) is
                        made on behalf of and with the consent and knowledge of all the Obligors; and

               (iv)     no Notifiable Debt Purchase Transaction:

                        (A)   has been entered into;

                        (B)   has been terminated; or

                        (C)   has ceased to be with a Parent Affiliate.

        (c)    Each of the Facility Agent and the Collateral Management Agent may engage and pay for
               the advice or services of any lawyers, accountants, tax advisers, surveyors or other
               professional advisers or experts.

        (d)    Without prejudice to the generality of paragraph (c) above or paragraph (e) below, each
               of the Facility Agent and the Collateral Management Agent may at any time engage and
               pay for the services of any lawyers to act as independent counsel to it (and so separate
               from any lawyers instructed by the Lenders) if it in its reasonable opinion deems this to be
               desirable.

        (e)    Each of the Facility Agent and the Collateral Management Agent may rely on the advice
               or services of any lawyers, accountants, tax advisers, surveyors or other professional
               advisers or experts (whether obtained by it or by any other Party) and shall not be liable
               for any damages, costs or losses to any person, any diminution in value or any liability
               whatsoever arising as a result of its so relying.

        (f)    Each of the Facility Agent and the Collateral Management Agent may act in relation to the
               Finance Documents through its officers, employees and agents and shall not:

               (i)      be liable for any error of judgment made by any such person; or

               (ii)     be bound to supervise, or be in any way responsible for any loss incurred by
                        reason of misconduct, omission or default on the part, of any such person,

               unless such error or such loss was directly caused by its gross negligence or wilful
               misconduct.

        (g)    Unless a Finance Document expressly provides otherwise each of the Facility Agent and
               the Collateral Management Agent may disclose to any other Party any information it
               reasonably believes it has received as agent under this Agreement.

        (h)    Notwithstanding any other provision of any Finance Document to the contrary, none of
               the Facility Agent, the Collateral Management Agent, the Co-Ordinator, the Overdraft
               Bank or the Issuing Bank is obliged to do or omit to do anything if it would, or might in its
               reasonable opinion, constitute a breach of any law or regulation or a breach of a fiduciary
               duty or duty of confidentiality.

        (i)    The Facility Agent is not obliged to disclose to any Finance Party any details of the rate
               notified to the Facility Agent by any Lender or the identity of any such Lender for the
               purpose of paragraph (a)(ii) of clause 13.2 (Market Disruption).


  BD-#32148460-v3                                  148
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 489 of 692


          (j)    Notwithstanding any provision of any Finance Document to the contrary, neither the
                 Facility Agent nor the Collateral Management Agent is obliged to expend or risk its own
                 funds or otherwise incur any financial liability in the performance of its duties, obligations
                 or responsibilities or the exercise of any right, power, authority or discretion if it has
                 grounds for believing the repayment of such funds or adequate indemnity against, or
                 security for, such risk or liability is not reasonably assured to it.

          (k)    Without prejudice to the generality of paragraph (g) above, the Facility Agent:

                 (i)     may disclose; and

                 (ii)    on the written request of the Company or the Majority Lenders shall, as soon as
                         reasonably practicable, disclose,

                 the identity of a Non-Acceptable Bank to the Company and the other Finance Parties.

   30.7         Responsibility for documentation

          None of the Facility Agent, the Collateral Management Agent, the Co-Ordinator, the Overdraft
          Bank or the Issuing Bank is responsible or liable for:

          (a)    the adequacy, accuracy or completeness of any information (whether oral or written)
                 supplied by the Facility Agent, the Collateral Management Agent, the Co-Ordinator, the
                 Issuing Bank, the Overdraft Bank, an Obligor or any other person in or in connection with
                 any Finance Document or the transactions contemplated in the Finance Documents or
                 any other agreement, arrangement or document entered into made or executed in
                 anticipation of, under or in connection with any Finance Document;

          (b)    the legality, validity, effectiveness, adequacy or enforceability of any Finance Document
                 or the Transaction Security or any other agreement, arrangement or document entered
                 into, made or executed in anticipation of, under or in connection with any Finance
                 Document or the Transaction Security; or

          (c)    any determination as to whether any information provided or to be provided to any
                 Finance Party is non-public information the use of which may be regulated or prohibited
                 by applicable law or regulation relating to insider dealing or otherwise.

   30.8         No duty to monitor

          Neither the Facility Agent nor the Collateral Management Agent shall be bound to enquire:

          (a)    whether or not any Default has occurred;

          (b)    as to the performance, default or any breach by any Party of its obligations under any
                 Finance Document;

          (c)    whether any other event specified in any Finance Document has occurred; or

          (d)    whether at any time, including upon receipt of a Utilisation Request and upon a Utilisation
                 occurring hereunder, the Borrowing Base Amount is or will continue to be zero or a
                 positive number, in respect of which all Finance Parties shall be entitled to rely on the
                 Borrowers to comply with their obligations under this Agreement to ensure that at all
                 times the Borrowing Base Amount is zero or a positive number.

   30.9         Exclusion of liability

          (a)    Without limiting paragraph (b) below (and without prejudice to any other provision of any
                 Finance Document excluding or limiting the liability of the Facility Agent , Issuing Bank,
                 the Overdraft Bank or the Collateral Management Agent, neither the Facility Agent,
                 Issuing Bank, Overdraft Bank nor the Collateral Management Agent will be liable


  BD-#32148460-v3                                   149
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                              Pg 490 of 692


               (including, without limitation, for negligence or any other category of liability whatsoever)
               for:

               (i)      any damages, costs or losses to any person, any diminution in value, or any
                        liability whatsoever arising as a result of taking or not taking any action under or in
                        connection with any Finance Document or the Transaction Security, unless directly
                        caused by its gross negligence or wilful misconduct;

               (ii)     exercising, or not exercising, any right, power, authority or discretion given to it by,
                        or in connection with, any Finance Document, the Transaction Security or any
                        other agreement, arrangement or document entered into, made or executed in
                        anticipation of, under or in connection with, any Finance Document or the
                        Transaction Security; or

               (iii)    without prejudice to the generality of paragraphs (i) and (ii) above, any damages,
                        costs or losses to any person, any diminution in value or any liability whatsoever
                        arising as a result of:

                        (A)   any act, event or circumstance not reasonably within its control; or

                        (B)   the general risks of investment in, or the holding of assets in, any
                              jurisdiction,

                        including (in each case and without limitation) such damages, costs, losses,
                        diminution in value or liability arising as a result of: nationalisation, expropriation or
                        other governmental actions; any regulation, currency restriction, devaluation or
                        fluctuation; market conditions affecting the execution or settlement of transactions
                        or the value of assets (including any Disruption Event); breakdown, failure or
                        malfunction of any third party transport, telecommunications, computer services or
                        systems; natural disasters or acts of God; war, terrorism, insurrection or revolution;
                        or strikes or industrial action.

        (b)    No Party (other than the Facility Agent) may take any proceedings against any officer,
               employee or agent of the Facility Agent, in respect of any claim it might have against the
               Facility Agent or in respect of any act or omission of any kind by that officer, employee or
               agent in relation to any Finance Document and any officer, employee or agent of the
               Facility Agent may rely on this clause subject to clause 1.5 (Third party rights) and the
               provisions of the Third Parties Act.

        (c)    No Party (other than the Collateral Management Agent) may take any proceedings
               against any officer, employee or agent of the Collateral Management Agent, in respect of
               any claim it might have against the Collateral Management Agent or in respect of any act
               or omission of any kind by that officer, employee or agent in relation to any Finance
               Document and any officer, employee or agent of the Collateral Management Agent may
               rely on this clause subject to clause 1.5 (Third party rights) and the provisions of the Third
               Parties Act.

        (d)    No Party (other than the Issuing Bank) may take any proceedings against any officer,
               employee or agent of the Issuing Bank, in respect of any claim it might have against the
               Issuing Bank or in respect of any act or omission of any kind by that officer, employee or
               agent in relation to any Finance Document and any officer, employee or agent of the
               Issuing Bank may rely on this clause subject to clause 1.5 (Third party rights) and the
               provisions of the Third Parties Act.

        (e)    Neither the Facility Agent nor the Collateral Management Agent will be liable for any
               delay (or any related consequences) in crediting an account with an amount required
               under the Finance Documents to be paid by it if it has taken all necessary steps as soon
               as reasonably practicable to comply with the regulations or operating procedures of any
               recognised clearing or settlement system used by it for that purpose.




  BD-#32148460-v3                                    150
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 491 of 692


          (f)    Nothing in this Agreement shall oblige the Facility Agent, the Collateral Management
                 Agent or the Co-Ordinator to carry out:

                 (i)     any "know your customer" or other checks in relation to any person; or

                 (ii)    any check on the extent to which any transaction contemplated by this Agreement
                         might be unlawful for any Lender,

                 on behalf of any Lender and each Lender confirms to the Facility Agent, the Collateral
                 Management Agent and the Co-Ordinator that it is solely responsible for any such checks
                 it is required to carry out and that it may not rely on any statement in relation to such
                 checks made by the Facility Agent, the Collateral Management Agent or the Co-
                 Ordinator.

          (g)    Without prejudice to any provision of any Finance Document excluding or limiting either
                 the Facility Agent's or the Collateral Management Agent’s liability, any liability of the
                 Facility Agent or the Collateral Management Agent arising under or in connection with
                 any Finance Document or the Transaction Security shall be limited to the amount of
                 actual loss which has been finally judicially determined to have been suffered (as
                 determined by reference to the date of default of the Facility Agent or the Collateral
                 Management Agent or, if later, the date on which the loss arises as a result of such
                 default) but without reference to any special conditions or circumstances known to the
                 Facility Agent or the Collateral Management Agent at any time which increase the
                 amount of that loss. In no event shall the Facility Agent or the Collateral Management
                 Agent be liable for any loss of profits, goodwill, reputation, business opportunity or
                 anticipated saving, or for special, punitive, indirect or consequential damages, whether or
                 not the Facility Agent has been advised of the possibility of such loss or damages.

  30.10         Lenders' indemnity to the Facility Agent and the Collateral Management Agent

          (a)    Each Lender shall (in proportion to its share of the Total Commitments or, if the Total
                 Commitments are then zero, to its share of the Total Commitments immediately prior to
                 their reduction to zero) indemnify the Facility Agent and the Collateral Management
                 Agent, within three (3) Business Days of demand, against any cost, loss or liability
                 (including, without limitation, for negligence or any other category of liability whatsoever)
                 incurred by the Facility Agent and the Collateral Management Agent (as the case may be)
                 (otherwise than by reason of the Facility Agent’s and the Collateral Management Agent’s
                 (as the case may be) gross negligence or wilful misconduct) (or, in the case of any cost,
                 loss or liability pursuant to clause 34.11 (Disruption to Payment Systems etc.)
                 notwithstanding the Facility Agent’s and the Collateral Management Agent’s (as the case
                 may be) negligence, gross negligence or any other category of liability whatsoever but
                 not including any claim based on the fraud of the Facility Agent or the Collateral
                 Management Agent (as the case may be) in acting as Facility Agent or Collateral
                 Management Agent under the Finance Documents (unless the Facility Agent or the
                 Collateral Management Agent (as the case may be) has been reimbursed by an Obligor
                 pursuant to a Finance Document).

          (b)    Subject to paragraph (c) below, the Company shall immediately on demand reimburse
                 any Lender for any payment that Lender makes to the Facility Agent or the Collateral
                 Management Agent pursuant to paragraph (a) above.

          (c)    Paragraph (b) above shall not apply to the extent that the indemnity payment in respect of
                 which the Lender claims reimbursement relates to a liability of the Facility Agent or the
                 Collateral Management Agent to an Obligor.

  30.11         Resignation of the Facility Agent and the Collateral Management Agent

          (a)    The Facility Agent and/or the Collateral Management Agent may resign and appoint one
                 of their respective Affiliates acting through an office:




  BD-#32148460-v3                                   151
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 492 of 692


               (i)     in the Netherlands; or

               (ii)    elsewhere in the European Union or the United Kingdom, provided that, if on the
                       basis of the laws and regulations in force prior to the appointment, such
                       appointment would result in any amount becoming payable under or pursuant to
                       clause 15 (Tax gross-up and indemnities) or clause 16 (Increased Costs) the
                       Borrowers may refuse the resignation and/or appointment;

               as successor by giving notice to the Lenders and the Company.

        (b)    Alternatively the Facility Agent and/or the Collateral Management Agent may resign by
               giving thirty (30) days' notice to the Lenders and the Company, in which case the Majority
               Lenders (after consultation with the Company) may appoint a successor Facility Agent
               and/or the Collateral Management Agent (as the case may be).

        (c)    If the Majority Lenders have not appointed a successor Facility Agent and/or the
               Collateral Management Agent in accordance with paragraph (b) above within twenty (20)
               days after notice of resignation was given, the retiring Facility Agent and/or the Collateral
               Management Agent (as the case may be) (after consultation with the Company) may
               appoint a successor Facility Agent and/or Collateral Management Agent (as the case
               may be) (acting through an office in the Netherlands or, subject to paragraph (a)(ii)
               above, elsewhere in the European Union or the United Kingdom).

        (d)    If the Facility Agent or the Collateral Management Agent wishes to resign because (acting
               reasonably) it has concluded that it is no longer appropriate for it to remain as agent and
               the Facility Agent or the Collateral Management Agent is entitled to appoint a successor
               under paragraph (c) above, it may (if it concludes (acting reasonably) that it is necessary
               to do so in order to persuade the proposed successor Facility Agent or Collateral
               Management Agent to become a party to this Agreement in such capacity) agree with the
               proposed successor amendments to this clause 30 and any other term of this Agreement
               dealing with the rights or obligations of the Facility Agent or Collateral Management Agent
               (as the case may be) consistent with then current market practice for the appointment
               and protection of corporate trustees together with any reasonable amendments to the
               agency fee payable under this Agreement which are consistent with the successor
               Facility Agent’s or Collateral Management Agent’s normal fee rates and those
               amendments will bind the Parties. Any amendments relating to matters which are not
               merely technical or administrative and/or relating to agency fees shall be subject to the
               prior consent of the Majority Lenders.

        (e)    The retiring Facility Agent and/or Collateral Management Agent shall make available to
               the successor such documents and records and provide such assistance as the
               successor may reasonably request for the purposes of performing its functions as Facility
               Agent and/or Collateral Management Agent under the Finance Documents. The
               Company shall, within three (3) Business Days of demand, reimburse the retiring Facility
               Agent and/or Collateral Management Agent for the amount of all costs and expenses
               (including legal fees) properly incurred by it in making available such documents and
               records and providing such assistance.

        (f)    The Facility Agent’s or the Collateral Management Agent’s resignation notice shall only
               take effect upon the appointment of a successor.

        (g)    Upon the appointment of a successor, the retiring Facility Agent and/or Collateral
               Management Agent shall be discharged from any further obligation in respect of the
               Finance Documents (other than its obligations under paragraph (e) above) but shall
               remain entitled to the benefit of clause 17.3 (Indemnity to the Facility Agent and/or
               Collateral Management Agent) and this clause 30 (and any agency fees for the account
               of the retiring Facility Agent and/or Collateral Management Agent (as the case may be)
               shall cease to accrue from (and shall be payable on) that date). Any successor and each
               of the other Parties shall have the same rights and obligations amongst themselves as
               they would have had if such successor had been an original Party.



  BD-#32148460-v3                                152
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                Pg 493 of 692


          (h)    The Facility Agent shall resign in accordance with clause 30.11 above (and, to the extent
                 applicable, shall use reasonable endeavours to appoint a successor pursuant to such
                 clause) if on or after the date which is three (3) months before the earliest FATCA
                 Application Date relating to any payment to the Facility Agent under the Finance
                 Documents, either:

                 (i)      the Facility Agent fails to respond to a request under clause 15.7 (FATCA
                          Information) and the Company or a Lender reasonably believes that the Facility
                          Agent will not be (or will have ceased to be) a FATCA Exempt Party on or after that
                          FATCA Application Date;

                 (ii)     the information supplied by the Facility Agent pursuant to clause 15.7 (FATCA
                          Information) indicates that the Facility Agent will not be (or will have ceased to be)
                          a FATCA Exempt Party on or after that FATCA Application Date; or

                 (iii)    the Facility Agent notifies the Company and the Lenders that the Facility Agent will
                          not be (or will have ceased to be) a FATCA Exempt Party on or after that FATCA
                          Application Date;

          and (in each case) the Company or a Lender reasonably believes that a Party will be required to
          make a FATCA Deduction that would not be required if the Facility Agent were a FATCA
          Exempt Party, and the Company or that Lender, by notice to the Facility Agent, requires it to
          resign.

  30.12         Replacement of the Facility Agent or Collateral Management Agent

          (a)    After consultation with the Company, the Majority Lenders may, by giving thirty (30) days'
                 notice to the Facility Agent or Collateral Management Agent (as the case may be) (or, in
                 respect of the Facility Agent, at any time the Facility Agent is an Impaired Agent, by
                 giving any shorter notice determined by the Majority Lenders) replace the Facility Agent
                 or Collateral Management Agent (as the case may be) by appointing a successor.

          (b)    The retiring Facility Agent or Collateral Management Agent (as the case may be) shall (at
                 its own cost if it is an Impaired Agent and otherwise at the expense of the Lenders) make
                 available to its successor such documents and records and provide such assistance as
                 the successor may reasonably request for the purposes of performing its functions as
                 Facility Agent or Collateral Management Agent (as the case may be) under the Finance
                 Documents.

          (c)    The appointment of the successor Facility Agent or Collateral Management Agent (as the
                 case may be) shall take effect on the date specified in the notice from the Majority
                 Lenders to the retiring Facility Agent or Collateral Management Agent (as the case may
                 be). As from this date, the retiring Facility Agent or Collateral Management Agent (as the
                 case may be) shall be discharged from any further obligation in respect of the Finance
                 Documents (other than its obligations under paragraph (b) above) but shall remain
                 entitled to the benefit of clause 17.3 (Indemnity to the Facility Agent or Collateral
                 Management Agent) and this clause 30 (and any agency fees for the account of the
                 retiring Facility Agent or Collateral Management Agent (as the case may be) shall cease
                 to accrue from (and shall be payable on) that date).

          (d)    Any successor Facility Agent or Collateral Management Agent (as the case may be) and
                 each of the other Parties shall have the same rights and obligations amongst themselves
                 as they would have had if such successor had been an original Party.

  30.13         Confidentiality

          (a)    In acting as agent for the Finance Parties, the Facility Agent and Collateral Management
                 Agent (as the case may be) shall be regarded as acting through its agency or collateral
                 management division (as applicable), which shall be treated as a separate entity from any
                 other of its divisions or departments.



  BD-#32148460-v3                                     153
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 494 of 692


          (b)    If information is received by another division or department of the Facility Agent or
                 Collateral Management Agent (as the case may be), it may be treated as confidential to
                 that division or department and the Facility Agent or Collateral Management Agent (as
                 the case may be) shall not be deemed to have notice of it.

          (c)    Notwithstanding any other provision of any Finance Document to the contrary, none of
                 the Facility Agent, the Collateral Management Agent nor the Co-Ordinator is obliged to
                 disclose to any other person (i) any confidential information or (ii) any other information if
                 the disclosure would, or might in its reasonable opinion, constitute a breach of any law or
                 regulation or a breach of a fiduciary duty.

  30.14         Relationship with the Lenders

          (a)    Subject to clause 27.9 (Pro rata interest settlement), each of the Facility Agent and
                 Collateral Management Agent may treat the person shown in its records as Lender at the
                 opening of business (in the place of the Facility Agent or Collateral Management Agent
                 (as the case may be) principal office as notified to the Finance Parties from time to time)
                 as the Lender acting through its Facility Office:

                 (i)     entitled to or liable for any payment due under any Finance Document on that day;
                         and

                 (ii)    entitled to receive and act upon any notice, request, document or communication
                         or make any decision or determination under any Finance Document made or
                         delivered on that day,

                 unless it has received not less than five (5) Business Days' prior notice from that Lender
                 to the contrary in accordance with the terms of this Agreement.

          (b)    Any Lender may by notice to the Facility Agent and Collateral Management Agent appoint
                 a person to receive on its behalf all notices, communications, information and documents
                 to be made or despatched to that Lender under the Finance Documents. Such notice
                 shall contain the address, email and (where communication by electronic mail or other
                 electronic means is permitted under clause 36.6 (Electronic communication)) electronic
                 mail address and/or any other information required to enable the sending and receipt of
                 information by that means (and, in each case, the department or officer, if any, for whose
                 attention communication is to be made) and be treated as a notification of a substitute
                 address, electronic mail address, department and officer by that Lender for the purposes
                 of clause 36.2 (Addresses) and paragraph (a)(ii) of clause 36.6 (Electronic
                 communication) and the Facility Agent and Collateral Management Agent shall be entitled
                 to treat such person as the person entitled to receive all such notices, communications,
                 information and documents as though that person were that Lender.

  30.15         Credit appraisal by the Lenders and Issuing Bank

          Without affecting the responsibility of any Obligor for information supplied by it or on its behalf in
          connection with any Finance Document, each Lender and Issuing Bank confirms to the Facility
          Agent, the Collateral Management Agent and each Issuing Bank that it has been, and will
          continue to be, solely responsible for making its own independent appraisal and investigation of
          all risks arising under or in connection with any Finance Document including but not limited to:

          (a)    the financial condition, status and nature of each member of the Group;

          (b)    the legality, validity, effectiveness, adequacy or enforceability of any Finance Document,
                 the Transaction Security and any other agreement, arrangement or document entered
                 into, made or executed in anticipation of, under or in connection with any Finance
                 Document or the Transaction Security;

          (c)    whether that Lender or Issuing Bank has recourse, and the nature and extent of that
                 recourse, against any Party or any of its respective assets under or in connection with



  BD-#32148460-v3                                   154
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 495 of 692


                 any Finance Document, the Transaction Security, the transactions contemplated by the
                 Finance Documents or any other agreement, arrangement or document entered into,
                 made or executed in anticipation of, under or in connection with any Finance Document
                 or the Transaction Security;

          (d)    the adequacy, accuracy or completeness of the Reports and any other information
                 provided by the Facility Agent, the Collateral Management Agent, any Party or by any
                 other person under or in connection with any Finance Document, the transactions
                 contemplated by any Finance Document or any other agreement, arrangement or
                 document entered into, made or executed in anticipation of, under or in connection with
                 any Finance Document; and

          (e)    the right or title of any person in or to, or the value or sufficiency of any part of the
                 Charged Property, the priority of any of the Transaction Security or the existence of any
                 Security affecting the Charged Property.

  30.16         Compliance appraisal by the Lenders

          Without affecting the responsibility of any Obligor for information supplied by it or on its behalf in
          connection with any compliance issues, each Lender confirms to the Facility Agent and the
          Collateral Management Agent that it has been, and will continue to be, solely responsible for
          making its own independent appraisal and investigation of all compliance related risks arising
          under or in connection with any activities of the Obligors, the Spanish Pledgors and the South
          African Pledge Counterparties including but not limited to:

          (a)    activities in the Sensitive Zones;

          (b)    any Utilisation of a Fronted Facility affected by compliance related matters; and

          (c)    the adequacy, accuracy or completeness of any information the Facility Agent or the
                 Collateral Management Agent may (but has no obligation to) communicate to a Lender in
                 relation to a counterparty (whether supplier or purchaser), products, origins or nature of a
                 transaction.

  30.17         Reference Banks

          If a Reference Bank (or, if a Reference Bank is not a Lender, the Lender of which it is an
          Affiliate) ceases to be a Lender, the Facility Agent shall (in consultation with the Company)
          appoint another Lender or an Affiliate of a Lender to replace that Reference Bank.

  30.18         Facility Agent's and Collateral Management Agent’s management time

          (a)    Any amount payable to the Facility Agent or the Collateral Management Agent under
                 clause 17.3 (Indemnity to the Facility Agent or Collateral Management Agent), clause 19
                 (Costs and expenses) and clause 30.10 (Lenders' indemnity to the Facility Agent and the
                 Collateral Management Agent) shall include the cost of utilising the Facility Agent's or
                 Collateral Management Agent’s (as the case may be) management time or other
                 resources and will be calculated on the basis of such reasonable daily or hourly rates as
                 the Facility Agent or the Collateral Management Agent (as the case may be) may notify to
                 the Company and the Lenders, and is in addition to any fee paid or payable to the Facility
                 Agent or the Collateral Management Agent under clause 14 (Fees).

          (b)    Any cost of utilising the Facility Agent's or Collateral Management Agent’s (as the case
                 may be) management time or other resources shall include, without limitation, any such
                 costs in connection with clause 28.2 (Disenfranchisement on Debt Purchase
                 Transactions entered into by Parent Affiliates).




  BD-#32148460-v3                                     155
18-13374-mew               Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                  Pg 496 of 692


  30.19            Deduction from amounts payable by the Facility Agent

             If any Party owes an amount to the Facility Agent or the Collateral Management Agent under
             the Finance Documents the Facility Agent or the Collateral Management Agent (as the case
             may be) may, after giving notice to that Party, deduct an amount not exceeding that amount
             from any payment to that Party which the Facility Agent or the Collateral Management Agent (as
             the case may be) would otherwise be obliged to make under the Finance Documents and apply
             the amount deducted in or towards satisfaction of the amount owed. For the purposes of the
             Finance Documents that Party shall be regarded as having received any amount so deducted.

 31          The Security Agent
      31.1         Security Agent as trustee

             (a)    Subject to clause 31.2 (German law security property) below, the Security Agent declares
                    that it holds the Transaction Security (to the extent possible under applicable law) on trust
                    for the Secured Parties on the terms contained in this Agreement. For the purpose of the
                    Moroccan Pledge, the Security Agent is irrevocably appointed by the Secured Parties as
                    their agent for the purpose of executing the Moroccan Pledge, and to register, manage
                    and enforce the Moroccan Pledge on the terms of this clause 31.

             (b)    Each of the Facility Agent, the Collateral Management Agent, the Co-Ordinator, the
                    Issuing Bank and each Lender authorises the Security Agent to perform the duties,
                    obligations and responsibilities and to exercise the rights, powers, authorities and
                    discretions specifically given to the Security Agent under or in connection with the
                    Finance Documents and any Multi-Party TPA Agreement together with any other
                    incidental rights, powers, authorities and discretions (even if it involves self-contracting
                    (autocontratación), multi-representation or conflict of interest), including, without
                    limitation, to enter and raise into Spanish public status before a Spanish public notary any
                    document related to this mandate and, specifically, those deemed necessary or
                    appropriate according to the mandate received (including, but not limited to, documents
                    of formalisation, acknowledgement, confirmation, modification or release, acceptance of
                    any security interest and acceptance of acknowledgement of debts by Obligors).

      31.2         German law security property

             (a)    Each of the Secured Parties (other than the Security Agent) hereby appoints the Security
                    Agent as trustee (Treuhänder) and administrator for the purpose of accepting and
                    administering the Charged Property governed by German law (German Security
                    Property) for and on behalf of the other Secured Parties.

             (b)    The Security Agent shall:

                    (i)     hold and administer and, as the case may be, release any German Security
                            Property which is security assigned (Sicherungseigentum/Sicherungsabtretung) or
                            otherwise transferred under a non-accessory security right (nichtakzessorische
                            Sicherheit) to it as trustee (treuhänderisch) for the benefit of the Secured Parties;
                            and

                    (ii)    administer and, as the case may be, release any German Security Property which
                            is pledged (Verpfändung) or otherwise transferred to the Secured Parties under an
                            accessory security right (akzessorische Sicherheit) as agent.

             (c)    Each of the Secured Parties hereby authorises the Security Agent (whether or not by or
                    through employees or agents):

                    (i)     to exercise such rights, remedies, powers and discretions as are specifically
                            delegated to or conferred upon the Security Agent under the German Security
                            Property together with such powers and discretions as are reasonably incidental
                            thereto;


  BD-#32148460-v3                                      156
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                Pg 497 of 692


                 (ii)     to take such action on its behalf as may from time to time be authorised under or in
                          accordance with the German Security Property; and

                 (iii)    to accept as its representative (Stellvertreter) any pledge or other creation of any
                          accessory security right granted in favour of such Secured Parties in connection
                          with the Debt Documents and to agree to and execute on its behalf as its
                          representative (Stellvertreter) any amendments, releases and/or alterations to any
                          German Security Property which creates a pledge or any other accessory security
                          right (akzessorische Sicherheit) including the release or confirmation of release of
                          such German Security Property.

          (d)    Each Secured Party releases the Security Agent from any applicable restrictions on
                 entering into any transaction as a representative of:

                 (i)      two or more principals contracting with each other; and

                 (ii)     one or more principals with whom it is contracting in its own name,

                 including in particular from the restrictions provided for in section 181 of the German Civil
                 Code (Bürgerliches Gesetzbuch), and similar restrictions applicable to it pursuant to any
                 other applicable law, in each case to the extent legally possible to such Secured Party. A
                 Secured Party which is barred by its constitutional documents or by-laws from granting
                 such exemption shall notify the Security Agent accordingly.

          (e)    The Security Agent shall be entitled to grant sub-powers of attorney (and shall be entitled
                 to release any sub-attorney from the restrictions referred to in paragraph (d) above).

          (f)    Each Secured Party hereby ratifies and approves all acts and declarations previously
                 done by the Security Agent on such Secured Party's behalf.

   31.3         Parallel debt (Covenant to pay the Security Agent)

          (a)    Notwithstanding any other provision of this Agreement, each Obligor hereby irrevocably
                 and unconditionally undertakes to pay to the Security Agent, as creditor in its own right
                 and not as representative of the other Secured Parties, sums equal to and in the currency
                 of each amount payable by the Obligors to each of the Secured Parties under each of the
                 Finance Documents as and when that amount falls due for payment under the relevant
                 Finance Document or would have fallen due but for any discharge resulting from failure of
                 another Secured Party to take appropriate steps, in insolvency proceedings affecting the
                 Obligor, to preserve its entitlement to be paid that amount.

          (b)    The Security Agent shall have its own independent right to demand payment of the
                 amounts payable by the Obligors under this clause 31.3 irrespective of any discharge of
                 the Obligor’s obligation to pay those amounts to the other Secured Parties resulting from
                 failure by them to take appropriate steps, in insolvency proceedings affecting the Obligor,
                 to preserve their entitlement to be paid those amounts.

          (c)    Any amount due and payable by an Obligor to the Security Agent under this clause 31.3
                 shall be decreased to the extent that the other Secured Parties have received (and are
                 able to retain) payment in full of the corresponding amount under the other provisions of
                 the Finance Documents and any amount due and payable by the Obligors to the other
                 Secured Parties under those provisions shall be decreased to the extent that the Security
                 Agent has received (and is able to retain) payment in full of the corresponding amount
                 under this clause 31.3.

   31.4         Enforcement through Security Agent only

          The Secured Parties shall not have any independent power to enforce, or have recourse to, any
          of the First Security or to exercise any right, power, authority or discretion arising under the First
          Security Documents except through the Security Agent.



  BD-#32148460-v3                                    157
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                Pg 498 of 692


          If any Secured Party (other than the Security Agent) is a party to any of the Spanish Pledges it
          shall promptly upon being requested by the Facility Agent to do so grant a power of attorney or
          other sufficient authority to the Security Agent to enable the Security Agent to exercise any
          rights, discretions or powers or to grant any consents or releases under such Spanish Pledges.

   31.5         Instructions

          (a)    The Security Agent shall:

                 (i)      subject to paragraphs (d) and (e) below exercise or refrain from exercising any
                          right, power, authority or discretion vested in it as Security Agent in accordance
                          with any instructions given to it by the Majority Lenders (or the Facility Agent on
                          their behalf);

                 (ii)     not be liable for any act (or omission) if it acts (or refrains from acting) in
                          accordance with paragraph (i) above (or if this Agreement stipulates the matter is a
                          decision for any other Lender or group of Lenders in accordance with instructions
                          given to it by that Lender or group of Lenders).

          (b)    The Security Agent shall be entitled to request instructions, or clarification of any
                 instruction, from the Majority Lenders (or the Facility Agent on their behalf) (or, if this
                 Agreement stipulates the matter is a decision for any other Lender or group of Lenders,
                 from that Lender or group of Lenders) as to whether, and in what manner, it should
                 exercise or refrain from exercising any right, power, authority or discretion and the
                 Security Agent may refrain from acting unless and until it receives those instructions or
                 that clarification.

          (c)    Save in the case of decisions stipulated to be a matter for any other Lender or group of
                 Lenders under this Agreement and unless a contrary intention appears in this Agreement,
                 any instructions given to the Security Agent by the Majority Lenders shall override any
                 conflicting instructions given by any other Parties and will be binding on all Secured
                 Parties.

          (d)    Paragraph (a) above shall not apply:

                 (i)      where a contrary indication appears in this Agreement;

                 (ii)     where this Agreement requires the Security Agent to act in a specified manner or
                          to take a specified action; or

                 (iii)    in respect of any provision which protects the Security Agent's own position in its
                          personal capacity as opposed to its role of Security Agent for the Secured Parties
                          including, without limitation, clauses 31.8 (No duty to account) to clause 31.13
                          (Exclusion of liability), clause 31.16 (Confidentiality) to clause 31.22 (Custodians
                          and nominees) and clause 31.25 (Acceptance of title) to clause 31.29
                          (Disapplication of Trustee Acts).

          (e)    The Security Agent may refrain from acting in accordance with any instructions of any
                 Lender or group of Lenders until it has received any indemnification and/or security that it
                 may in its discretion require (which may be greater in extent than that contained in the
                 Finance Documents and which may include payment in advance) for any cost, loss or
                 liability (together with any associated VAT) which it may incur in complying with those
                 instructions.

          (f)    Without prejudice to the provisions of the remainder of this clause 31.5, in the absence of
                 instructions, the Security Agent may act (or refrain from acting) as it considers in its
                 discretion to be appropriate.




  BD-#32148460-v3                                    158
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                               Pg 499 of 692


   31.6         Duties of the Security Agent

          (a)    The Security Agent's duties under the Finance Documents are solely mechanical and
                 administrative in nature.

          (b)    The Security Agent shall promptly:

                 (i)     forward to the Facility Agent a copy of any document received by the Security
                         Agent from any Obligor, any Spanish Pledgor or any South African Pledge
                         Counterparty under any Finance Document; and

                 (ii)    forward to a Party the original or a copy of any document which is delivered to the
                         Security Agent for that Party by any other Party.

          (c)    Except where a Finance Document specifically provides otherwise, the Security Agent is
                 not obliged to review or check the adequacy, accuracy or completeness of any document
                 it forwards to another Party.

          (d)    If the Security Agent receives notice from a Party referring to any Finance Document,
                 describing a Default and stating that the circumstance described is a Default, it shall
                 promptly notify the Facility Agent.

          (e)    The Security Agent shall have only those duties, obligations and responsibilities
                 expressly specified in the Finance Documents to which it is expressed to be a party (and
                 no others shall be implied).

   31.7         No fiduciary duties to Obligors

          Nothing in this agreement constitutes the Security Agent as an agent, trustee or fiduciary of any
          Obligor.

   31.8         No duty to account

          The Security Agent shall not be bound to account to any other Secured Party for any sum or the
          profit element of any sum received by it for its own account.

   31.9         Business with the Group

          The Security Agent may accept deposits from, lend money to and generally engage in any kind
          of banking or other business with any member of the Group.

  31.10         Rights and discretions

          (a)    The Security Agent may:

                 (i)     rely on any representation, communication, notice or document believed by it to be
                         genuine, correct and appropriately authorised;

                 (ii)    assume that:

                         (A)   any instructions received by it from the Majority Lenders, the Lenders or any
                               group of Lenders are duly given in accordance with the terms of the Finance
                               Documents;

                         (B)   unless it has received actual notice of revocation, that those instructions
                               have not been revoked; and




  BD-#32148460-v3                                   159
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 500 of 692


                        (C)   if it receives any instructions to act in relation to the Transaction Security,
                              that all applicable conditions under the Finance Documents for so acting
                              have been satisfied; and

               (iii)    rely on a certificate from any person:

                        (A)   as to any matter of fact or circumstance which might reasonably be expected
                              to be within the knowledge of that person; or

                        (B)   to the effect that such person approves of any particular dealing, transaction,
                              step, action or thing,

                          as sufficient evidence that that is the case and, in the case of paragraph (A)
                          above, may assume the truth and accuracy of that certificate.

        (b)    The Security Agent may assume (unless it has received notice to the contrary in its
               capacity as security trustee for the Secured Parties) that:

               (i)      no Default has occurred;

               (ii)     any right, power, authority or discretion vested in any Party or any group of
                        Lenders has not been exercised; and

               (iii)    any notice made by the Company is made on behalf of and with the consent and
                        knowledge of all the Obligors.

        (c)    The Security Agent may engage and pay for the advice or services of any lawyers,
               accountants, tax advisers, surveyors or other professional advisers or experts.

        (d)    Without prejudice to the generality of paragraph (c) above or paragraph (e) below, the
               Security Agent may at any time engage and pay for the services of any lawyers to act as
               independent counsel to the Security Agent (and so separate from any lawyers instructed
               by the Lenders and/or the Facility Agent) if the Security Agent in its reasonable opinion
               deems this to be desirable.

        (e)    The Security Agent may rely on the advice or services of any lawyers, accountants, tax
               advisers, surveyors or other professional advisers or experts (whether obtained by the
               Security Agent or by any other Secured Party) and shall not be responsible or liable for
               any losses to any person, any diminution in value or any liability arising as a result of its
               so relying.

        (f)    The Security Agent, any Receiver and any Delegate may act in relation to the Finance
               Documents and the Transaction Security through its officers, employees and agents and
               shall not:

               (i)      be liable for any error of judgment made by any such person; or

               (ii)     be bound to supervise, or be in any way responsible for any loss incurred by
                        reason of misconduct, omission or default on the part of any such person,

               unless such error or such loss was directly caused by the Security Agent's, Receiver's or
               Delegate's gross negligence or wilful misconduct.

        (g)    Unless this Agreement expressly specifies otherwise, the Security Agent may disclose to
               any other Party any information it reasonably believes it has received as security trustee
               under this Agreement.

        (h)    Notwithstanding any other provision of any Finance Document to the contrary, the
               Security Agent is not obliged to do or omit to do anything if it would, or might in its




  BD-#32148460-v3                                   160
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                Pg 501 of 692


                 reasonable opinion, constitute a breach of any law or regulation or a breach of a fiduciary
                 duty or duty of confidentiality.

          (i)    Notwithstanding any provision of any Finance Document to the contrary, the Security
                 Agent is not obliged to expend or risk its own funds or otherwise incur any financial
                 liability in the performance of its duties, obligations or responsibilities or the exercise of
                 any right, power, authority or discretion if it has grounds for believing the repayment of
                 such funds or adequate indemnity against, or security for, such risk or liability is not
                 reasonably assured to it.

  31.11         Responsibility for documentation

          None of the Security Agent, any Receiver nor any Delegate is responsible or liable for:

          (a)    the adequacy, accuracy or completeness of any information (whether oral or written)
                 supplied by the Security Agent, an Obligor or any other person in or in connection with
                 any Finance Document or the transactions contemplated in the Finance Documents or
                 any other agreement, arrangement or document entered into, made or executed in
                 anticipation of, under or in connection with any Finance Document;

          (b)    the legality, validity, effectiveness, adequacy or enforceability of any Finance Document,
                 the Transaction Security or any other agreement, arrangement or document entered into,
                 made or executed in anticipation of, under or in connection with any Finance Document
                 or the Transaction Security; or

          (c)    any determination as to whether any information provided or to be provided to any
                 Secured Party is non-public information the use of which may be regulated or prohibited
                 by applicable law or regulation relating to insider dealing or otherwise.

  31.12         No duty to monitor

          The Security Agent shall not be bound to enquire:

          (a)    whether or not any Default has occurred;

          (b)    as to the performance, default or any breach by any Party of its obligations under any
                 Finance Document; or

          (c)    whether any event specified in any Finance Document has occurred.

  31.13         Exclusion of liability

          (a)    Without limiting paragraph (b) below (and without prejudice to any other provision of any
                 Finance Document excluding or limiting the liability of the Security Agent, any Receiver or
                 Delegate), none of the Security Agent, any Receiver nor any Delegate will be liable for:

                 (i)      any damages, costs or losses to any person, any diminution in value, or any
                          liability whatsoever arising as a result of taking or not taking any action under or in
                          connection with any Finance Document or the Transaction Security unless directly
                          caused by its gross negligence or wilful misconduct;

                 (ii)     exercising or not exercising any right, power, authority or discretion given to it by,
                          or in connection with, any Finance Document, the Transaction Security or any
                          other agreement, arrangement or document entered into, made or executed in
                          anticipation of, under or in connection with, any Finance Document or the
                          Transaction Security;

                 (iii)    any shortfall which arises on the enforcement or realisation of the Transaction
                          Security; or




  BD-#32148460-v3                                     161
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                               Pg 502 of 692


                 (iv)    without prejudice to the generality of paragraphs (i) to (iii) above, any damages,
                         costs, losses, diminution in value or liability whatsoever arising as a result of:

                         (A)   any act, event or circumstance not reasonably within its control; or

                         (B)   the general risks of investment in, or the holding of assets in, any
                               jurisdiction,

                         including (in each case and without limitation) such damages, costs, losses,
                         diminution in value or liability arising as a result of: nationalisation, expropriation or
                         other governmental actions; any regulation, currency restriction, devaluation or
                         fluctuation; market conditions affecting the execution or settlement of transactions
                         or the value of assets; breakdown, failure or malfunction of any third party
                         transport, telecommunications, computer services or systems; natural disasters or
                         acts of God; war, terrorism, insurrection or revolution; or strikes or industrial action.

          (b)    No Party (other than the Security Agent, that Receiver or that Delegate (as applicable))
                 may take any proceedings against any officer, employee or agent of the Security Agent, a
                 Receiver or a Delegate in respect of any claim it might have against the Security Agent, a
                 Receiver or a Delegate or in respect of any act or omission of any kind by that officer,
                 employee or agent in relation to any Finance Document or any Transaction Security and
                 any officer, employee or agent of the Security Agent, a Receiver or a Delegate may rely
                 on this clause subject to clause 1.5 (Third party rights) and the provisions of the Third
                 Parties Act.

          (c)    Nothing in this Agreement shall oblige the Security Agent to carry out:

                 (i)     any "know your customer" or other checks in relation to any person; or

                 (ii)    any check on the extent to which any transaction contemplated by this Agreement
                         might be unlawful for any other Secured Party,

                 on behalf of any other Secured Party and each other Secured Party confirms to the
                 Security Agent that it is solely responsible for any such checks it is required to carry out
                 and that it may not rely on any statement in relation to such checks made by the Security
                 Agent.

          (d)    Without prejudice to any provision of any Finance Document excluding or limiting the
                 liability of the Security Agent, any Receiver or Delegate, any liability of the Security
                 Agent, any Receiver or Delegate arising under or in connection with any Finance
                 Document or the Transaction Security shall be limited to the amount of actual loss which
                 has been finally judicially determined to have been suffered (as determined by reference
                 to the date of default of the Security Agent, Receiver or Delegate (as the case may be)
                 or, if later, the date on which the loss arises as a result of such default) but without
                 reference to any special conditions or circumstances known to the Security Agent,
                 Receiver or Delegate (as the case may be) at any time which increase the amount of that
                 loss. In no event shall the Security Agent, any Receiver or Delegate be liable for any loss
                 of profits, goodwill, reputation, business opportunity or anticipated saving, or for special,
                 punitive, indirect or consequential damages, whether or not the Security Agent, Receiver
                 or Delegate (as the case may be) has been advised of the possibility of such loss or
                 damages.

  31.14         Lenders' indemnity to the Security Agent

          (a)    Each Lender shall (in the proportion that its Commitments bear to the Total Commitments
                 for the time being (or, if the Total Commitments are zero, immediately prior to their being
                 reduced to zero)), indemnify the Security Agent and every Receiver and every Delegate,
                 within three (3) Business Days of demand, against any cost, loss or liability incurred by
                 any of them (otherwise than by reason of the relevant Security Agent's, Receiver's or
                 Delegate's gross negligence or wilful misconduct) in acting as Security Agent, Receiver or



  BD-#32148460-v3                                     162
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 503 of 692


                 Delegate under, or exercising any authority conferred under, the Debt Documents (unless
                 the relevant Security Agent, Receiver or Delegate has been reimbursed by an Obligor
                 pursuant to a Finance Document).

          (b)    Subject to paragraph (c) below, the Company shall immediately on demand reimburse
                 any Lender for any payment that Lender makes to the Security Agent pursuant to
                 paragraph (a) above.

          (c)    Paragraph (b) above shall not apply to the extent that the indemnity payment in respect of
                 which the Lender claims reimbursement relates to a liability of the Security Agent to an
                 Obligor.

  31.15         Resignation of the Security Agent

          (a)    The Security Agent may resign and appoint one of its Affiliates as successor by giving
                 notice to the Lenders and the Company.

          (b)    Alternatively the Security Agent may resign by giving thirty (30) days' notice to the
                 Lenders and the Company, in which case the Majority Lenders may appoint a successor
                 Security Agent.

          (c)    If the Majority Lenders have not appointed a successor Security Agent in accordance with
                 paragraph (b) above within twenty (20) days after notice of resignation was given, the
                 retiring Security Agent (after consultation with the Facility Agent) may appoint a
                 successor Security Agent.

          (d)    The retiring Security Agent shall make available to the successor Agent such documents
                 and records and provide such assistance as the successor Security Agent may
                 reasonably request for the purposes of performing its functions as Security Agent under
                 the Finance Documents. The Company shall, within three (3) Business Days of demand,
                 reimburse the retiring Security Agent for the amount of all costs and expenses (including
                 legal fees) properly incurred by it in making available such documents and records and
                 providing such assistance.

          (e)    The Security Agent's resignation notice shall only take effect upon:

                 (i)     the appointment of a successor; and

                 (ii)    the transfer of all the Transaction Security to that successor.

          (f)    Upon the appointment of a successor, the retiring Security Agent shall be discharged
                 from any further obligation in respect of the Finance Documents (other than its obligations
                 under paragraph (b) of clause 31.27 (Winding up of trust) and paragraph (d) above) but
                 shall remain entitled to the benefit of this clause 31 and clause 17.4 (Indemnity to the
                 Security Agent) (and any Security Agent fees for the account of the retiring Security
                 Agent shall cease to accrue from (and shall be payable on) that date). Any successor
                 and each of the other Parties shall have the same rights and obligations amongst
                 themselves as they would have had if that successor had been an original Party.

          (g)    The Majority Lenders may, by notice to the Security Agent, require it to resign in
                 accordance with paragraph (b) above. In this event, the Security Agent shall resign in
                 accordance with paragraph (b) above.

  31.16         Confidentiality

          (a)    In acting as trustee for the Secured Parties, the Security Agent shall be regarded as
                 acting through its trustee division which shall be treated as a separate entity from any
                 other of its divisions or departments.




  BD-#32148460-v3                                    163
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                              Pg 504 of 692


          (b)    If information is received by another division or department of the Security Agent, it may
                 be treated as confidential to that division or department and the Security Agent shall not
                 be deemed to have notice of it.

          (c)    Notwithstanding any other provision of any Finance Document to the contrary, the
                 Security Agent is not obliged to disclose to any other person (i) any confidential
                 information or (ii) any other information if the disclosure would, or might in its reasonable
                 opinion, constitute a breach of any law or regulation or a breach of a fiduciary duty.

  31.17         Information from the Lenders

          Each Lender shall supply the Security Agent with any information that the Security Agent may
          reasonably specify as being necessary or desirable to enable the Security Agent to perform its
          functions as Security Agent.

  31.18         Credit appraisal by the Secured Parties

          Without affecting the responsibility of any Obligor for information supplied by it or on its behalf in
          connection with any Finance Document, each Secured Party confirms to the Security Agent that
          it has been, and will continue to be, solely responsible for making its own independent appraisal
          and investigation of all risks arising under or in connection with any Finance Document including
          but not limited to:

          (a)    the financial condition, status and nature of each member of the Group;

          (b)    the legality, validity, effectiveness, adequacy or enforceability of any Finance Document,
                 the Transaction Security and any other agreement, arrangement or document entered
                 into, made or executed in anticipation of, under or in connection with any Finance
                 Document or the Transaction Security;

          (c)    whether that Secured Party has recourse, and the nature and extent of that recourse,
                 against any Party or any of its respective assets under or in connection with any Finance
                 Document, the Transaction Security, the transactions contemplated by the Finance
                 Documents or any other agreement, arrangement or document entered into, made or
                 executed in anticipation of, under or in connection with any Finance Document or the
                 Transaction Security;

          (d)    the adequacy, accuracy or completeness of any information provided by the Security
                 Agent, any Party or by any other person under or in connection with any Finance
                 Document, the transactions contemplated by any Finance Document or any other
                 agreement, arrangement or document entered into, made or executed in anticipation of,
                 under or in connection with any Finance Document; and

          (e)    the right or title of any person in or to, or the value or sufficiency of any part of the
                 Charged Property, the priority of any of the Transaction Security or the existence of any
                 Security affecting the Charged Property.

  31.19         Reliance and engagement letters

          The Security Agent may obtain and rely on any certificate or report from any Obligor's auditor
          and may enter into any reliance letter or engagement letter relating to that certificate or report
          on such terms as it may consider appropriate (including, without limitation, restrictions on the
          auditor's liability and the extent to which that certificate or report may be relied on or disclosed).

  31.20         No responsibility to perfect Transaction Security

          The Security Agent shall not be liable for any failure to:

          (a)    require the deposit with it of any deed or document certifying, representing or constituting
                 the title of any Obligor or any Spanish Pledgor to any of the Charged Property;



  BD-#32148460-v3                                   164
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                Pg 505 of 692


          (b)    obtain any licence, consent or other authority for the execution, delivery, legality, validity,
                 enforceability or admissibility in evidence of any Finance Document or the Transaction
                 Security;

          (c)    register, file or record or otherwise protect any of the Transaction Security (or the priority
                 of any of the Transaction Security) under any law or regulation or to give notice to any
                 person of the execution of any Finance Document or of the Transaction Security;

          (d)    take, or to require any Obligor or any Spanish Pledgor to take, any step to perfect its title
                 to any of the Charged Property or to render the Transaction Security effective or to
                 secure the creation of any ancillary Security under any law or regulation; or

          (e)    require any further assurance in relation to any Transaction Security Document.

  31.21         Insurance by Security Agent

          (a)    The Security Agent shall not be obliged:

                 (i)      to insure any of the Charged Property;

                 (ii)     to require any other person to maintain any insurance; or

                 (iii)    to verify any obligation to arrange or maintain insurance contained in any Finance
                          Document.

                 and the Security Agent shall not be liable for any damages, costs or losses to any person
                 as a result of the lack of, or inadequacy of, any such insurance.

          (b)    Where the Security Agent is named on any insurance policy as an insured party, it shall
                 not be liable for any damages, costs or losses to any person as a result of its failure to
                 notify the insurers of any material fact relating to the risk assumed by such insurers or
                 any other information of any kind, unless the Majority Lenders request it to do so in
                 writing and the Security Agent fails to do so within fourteen (14) days after receipt of that
                 request.

  31.22         Custodians and nominees

          The Security Agent may appoint and pay any person to act as a custodian or nominee on any
          terms in relation to any asset of the trust as the Security Agent may determine, including for the
          purpose of depositing with a custodian this Agreement or any document relating to the trust
          created under this Agreement and the Security Agent shall not be responsible for any loss,
          liability, expense, demand, cost, claim or proceedings incurred by reason of the misconduct,
          omission or default on the part of any person appointed by it under this Agreement or be bound
          to supervise the proceedings or acts of any person.

  31.23         Delegation by the Security Agent

          (a)    Each of the Security Agent, any Receiver and any Delegate may, at any time, delegate
                 by power of attorney or otherwise to any person for any period, all or any right, power,
                 authority or discretion vested in it as Security Agent, Receiver or Delegate.

          (b)    That delegation may be made upon any terms and conditions (including the power to
                 sub-delegate) and subject to any restrictions that the Security Agent, that Receiver or that
                 Delegate (as the case may be) may, in its discretion, think fit in the interests of the
                 Secured Parties.

          (c)    The Security Agent, Receiver or Delegate shall not be bound to supervise, or be in any
                 way responsible for any loss incurred by reason of any misconduct, omission or default
                 on the part of, any such delegate or sub-delegate.




  BD-#32148460-v3                                    165
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                Pg 506 of 692


  31.24         Additional Security Agents

          (a)    The Security Agent may at any time appoint (and subsequently remove) any person to
                 act as a separate trustee or as a co-trustee jointly with it:

                 (i)      if it considers that appointment to be in the interests of the Secured Parties; or

                 (ii)     for the purposes of conforming to any legal requirement, restriction or condition
                          which the Security Agent deems to be relevant; or

                 (iii)    for obtaining or enforcing any judgment in any jurisdiction,

                 and the Security Agent shall give prior notice to the Company and the Lenders of that
                 appointment.

          (b)    Any person so appointed shall have the rights, powers, authorities and discretions (not
                 exceeding those given to the Security Agent under or in connection with the Finance
                 Documents) and the duties, obligations and responsibilities that are given or imposed by
                 the instrument of appointment.

          (c)    The remuneration that the Security Agent may pay to that person, and any costs and
                 expenses (together with any applicable VAT) incurred by that person in performing its
                 functions pursuant to that appointment shall, for the purposes of this Agreement, be
                 treated as costs and expenses incurred by the Security Agent.

  31.25         Acceptance of title

          The Security Agent shall be entitled to accept without enquiry, and shall not be obliged to
          investigate, any right and title that any Obligor or any Spanish Pledgor may have to any of the
          Charged Property and shall not be liable for, or bound to require any Obligor or any Spanish
          Pledgor to remedy, any defect in its right or title.

  31.26         Releases

          Upon a disposal of any of the Charged Property pursuant to the enforcement of the Transaction
          Security by a Receiver or the Security Agent, the Security Agent is irrevocably authorised (at
          the cost of the Obligors and without any consent, sanction, authority or further confirmation from
          any other Secured Party) release, without recourse or warranty, that property from the
          Transaction Security, any release of the Transaction Security or other claim over that asset and
          to issue any certificates of non-crystallisation of floating charges that may be required or
          desirable.

  31.27         Winding up of trust

          If the Security Agent, with the approval of the Facility Agent, determines that:

          (a)    all of the Secured Obligations and all other obligations secured by the Transaction
                 Security Documents have been fully and finally discharged; and

          (b)    no Secured Party is under any commitment, obligation or liability (actual or contingent) to
                 make advances or provide other financial accommodation to any Obligor pursuant to the
                 Finance Documents,

                 then:

                 (i)      the trusts set out in this Agreement shall be wound up and the Security Agent shall
                          release, without recourse or warranty, all of the Transaction Security and the rights
                          of the Security Agent under each of the Transaction Security Documents; and




  BD-#32148460-v3                                     166
18-13374-mew            Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 507 of 692


                 (ii)    any Security Agent which has resigned pursuant to clause 31.15 (Resignation of
                         the Security Agent) shall release, without recourse or warranty, all of its rights
                         under each Transaction Security Document.

  31.28         Powers supplemental to Trustee Acts

          The rights, powers, authorities and discretions given to the Security Agent under or in
          connection with the Finance Documents shall be supplemental to the Trustee Act 1925 and the
          Trustee Act 2000 and in addition to any which may be vested in the Security Agent by law or
          regulation or otherwise.

  31.29         Disapplication of Trustee Acts

          Section 1 of the Trustee Act 2000 shall not apply to the duties of the Security Agent in relation
          to the trusts constituted by this Agreement. Where there are any inconsistencies between the
          Trustee Act 1925 or the Trustee Act 2000 and the provisions of this Agreement, the provisions
          of this Agreement shall, to the extent allowed by law and regulation, prevail and, in the case of
          any inconsistency with the Trustee Act 2000, the provisions of this Agreement shall constitute a
          restriction or exclusion for the purposes of that Act.

  31.30         Order of Application

          All amounts from time to time received or recovered by the Security Agent pursuant to the terms
          of any Finance Documents, under clause 31.3 (Parallel Debt (Covenant to pay the Security
          Agent)), or in connection with the realisation or enforcement of all or any part of the Transaction
          Security shall be held by the Security Agent on trust to apply them at any time as the Security
          Agent (in its discretion) sees fit, to the extent permitted by applicable law, in the following order
          of priority:

          (a)    in discharging pro rata and pari passu any sums owing to the Security Agent (in its
                 capacity as such) (other than pursuant to clause (a) (Parallel debt (Covenant to pay the
                 Security Agent)), any Receiver or any Delegate;

          (b)    in payment or distribution to the Facility Agent, on its behalf and on behalf of the other
                 Secured Parties, for application towards the discharge pro rata and pari passu of all sums
                 due and payable by any Obligor, any Spanish Pledgor or any South African Pledge
                 Counterparty to such parties under any of the Finance Documents in accordance with
                 clause 34.6 (Partial payments);

          (c)    if none of the Obligors is under any further actual or contingent liability under any Finance
                 Document, in payment or distribution pro rata to any person to whom the Security Agent
                 is obliged to pay or distribute in priority to any Obligor; and

          (d)    the balance, if any, in payment or distribution to the relevant Obligor.

  31.31         Investment of proceeds

          Prior to the application of the proceeds of the Transaction Security in accordance with
          clause 31.30 (Order of Application) the Security Agent may, at its discretion, hold all or part of
          those proceeds in one or more interest bearing (if any) suspense accounts with any Acceptable
          Bank (including itself) and for so long as the Security Agent thinks fit (the interest (if any) being
          credited to the relevant account) pending the application from time to time of those monies at
          the Security Agent's discretion in accordance with the provisions of clause 31.30 (Order of
          Application).

  31.32         Currency conversion

          (a)    For the purpose of, or pending the discharge of, any of the Secured Obligations the
                 Security Agent may convert any moneys received or recovered by the Security Agent
                 from one currency to another, at the spot rate at which the Security Agent is able to



  BD-#32148460-v3                                   167
18-13374-mew             Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                 Pg 508 of 692


                    purchase the currency in which the Secured Obligations are due with the amount
                    received.

             (b)    The obligations of any Obligor to pay in the due currency shall only be satisfied to the
                    extent of the amount of the due currency purchased after deducting the costs of
                    conversion.

  31.33            Permitted Deductions

             The Security Agent shall be entitled (a) to set aside by way of reserve amounts required to meet
             and (b) to make and pay, any deductions and withholdings (on account of Taxes or otherwise)
             which it is or may be required by any law or regulation to make from any distribution or payment
             made by it under this Agreement, and to pay all Taxes which may be assessed against it in
             respect of any of the Charged Property, or as a consequence of performing its duties or
             exercising its rights, powers, authorities and discretions, or by virtue of its capacity as Security
             Agent under any of the Finance Documents or otherwise (other than in connection with its
             remuneration for performing its duties under this Agreement).

  31.34            Good discharge

             (a)    Any distribution or payment to be made in respect of the Secured Obligations by the
                    Security Agent may be made to the Facility Agent on behalf of the Lenders and any
                    distribution or payment made in that way shall be a good discharge, to the extent of that
                    payment or distribution, by the Security Agent.

             (b)    The Security Agent is under no obligation to make payment to the Facility Agent in the
                    same currency as that in which any Unpaid Sum is denominated.

  31.35            Amounts received by Obligors

             If any of the Obligors receives or recovers any amount which, under the terms of any of the
             Finance Documents, should have been paid to the Security Agent, that Obligor will hold the
             amount received or recovered on trust for the Security Agent and promptly pay that amount to
             the Security Agent for application in accordance with the terms of this Agreement.

  31.36            Application and consideration

             In consideration for the covenants given to the Security Agent by each Obligor in relation to
             clause 31.3 (Parallel Debt (Covenant to pay the Security Agent)), the Security Agent agrees
             with each Obligor to apply all moneys from time to time paid by such Obligor to the Security
             Agent in accordance with the foregoing provisions of this clause 31.

 32          Conduct of Business by the Finance Parties
      32.1         No provision of this Agreement will:

             (a)    interfere with the right of any Finance Party to arrange its affairs (tax or otherwise) in
                    whatever manner it thinks fit;

             (b)    oblige any Finance Party to investigate or claim any credit, relief, remission or repayment
                    available to it or the extent, order and manner of any claim; or

             (c)    oblige any Finance Party to disclose any information relating to its affairs (tax or
                    otherwise) or any computations in respect of Tax.




  BD-#32148460-v3                                     168
18-13374-mew                Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                   Pg 509 of 692


      32.2         Each Facility B Lender agrees with the other Finance Parties that it will not without the
                   prior written consent of the Facility Agent or unless expressly provided in this Agreement:

             (a)    request, demand or accept repayment in respect of any Fronted Facility or accept any
                    payment in respect thereof directly from an Obligor, any Spanish Pledgor or any South
                    African Pledge Counterparty; or

             (b)    exercise any rights of set-off, combination of accounts or other remedy against any
                    Obligor, any Spanish Pledgor or any South African Pledge Counterparty or allow to exist
                    or receive the benefit of any Security, guarantee or other assurance against loss
                    otherwise than pursuant to the Finance Documents,

                   and each Facility B Lender agrees that any payments received by it otherwise than in
                   accordance with clause 34 (Payment mechanics) or recoveries by way of set-off, in each
                   case from the Obligors, any Spanish Pledgor or any South African Pledge Counterparty,
                   shall be held by it for the benefit of all Finance Parties and applied in accordance with
                   clause 33 (Sharing among the Finance Parties).

      32.3         Each Lender agrees with the other Finance Parties that it will on each Monday (or if such
                   date is not a Business Day, on the next Business Day) falling in the week after the date of
                   issue of a scheduled Borrowing Base Report in accordance with clause 22.7(a)(i) (being
                   every week) until all Availability Periods have expired deliver to the Collateral Management
                   Agent a utilisation report in the form set out in Schedule 17 (Form of Lender utilisation
                   report).

 33          Sharing among the Finance Parties
      33.1         Payments to Finance Parties

             (a)    Subject to clause 25.4(c) (Withdrawals from the Collection Account) and to paragraph (ii)
                    below, if a Finance Party (each a Recovering Party) receives or recovers any amount
                    from an Obligor, any Spanish Pledgor or any South African Pledge Counterparty (or from
                    a third party in respect of an obligation owing to it by an Obligor) other than in accordance
                    with clause 34 (Payment mechanics) (including any amounts under or in connection with
                    any Multi-Party TPA Agreement, FX Hedging Provider Hedging Agreement or Deed of
                    Undertaking) (a Recovered Amount) and applies that amount to a payment due under
                    the Finance Documents or in connection with any Multi-Party TPA Agreement or FX
                    Hedging Provider Hedging Agreement then:

                    (i)      the Recovering Party shall, within three (3) Business Days, notify details of the
                             receipt or recovery, to the Facility Agent;

                    (ii)     the Facility Agent shall determine whether the receipt or recovery is in excess of
                             the amount the Recovering Party would have been paid had the receipt or recovery
                             been received or made by the Facility Agent and distributed in accordance with
                             clause 34 (Payment mechanics), without taking account of any Tax which would be
                             imposed on the Facility Agent in relation to the receipt, recovery or distribution; and

                    (iii)    the Recovering Party shall, within three (3) Business Days of demand by the
                             Facility Agent, pay to the Facility Agent an amount (the Sharing Payment) equal to
                             such receipt or recovery less any amount which the Facility Agent determines may
                             be retained by the Recovering Party as its share of any payment to be made, in
                             accordance with clause 34.6 (Partial payments).

             (b)    Paragraph (a) above shall not apply to any amount received or recovered by an Issuing
                    Bank in respect of any cash cover provided for the benefit of that Issuing Bank.




  BD-#32148460-v3                                        169
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 510 of 692


   33.2         Redistribution of payments

          The Facility Agent shall treat the Sharing Payment as if it had been paid by the relevant Obligor
          and distribute it between the Finance Parties (other than the Recovering Party) (the Sharing
          Parties) in accordance with clause 34.6 (Partial payments) towards the obligations of that
          Obligor to the Sharing Parties.

   33.3         Recovering Party's rights

          On a distribution by the Facility Agent under clause 33.2 (Redistribution of payments) of a
          payment received by a Recovering Party from an Obligor, as between the relevant Obligor and
          the Recovering Party, an amount of the Recovered Amount equal to the Sharing Payment will
          be treated as not having been paid by that Obligor.

   33.4         Reversal of redistribution

          If any part of the Sharing Payment received or recovered by a Recovering Party becomes
          repayable and is repaid by that Recovering Party, then:

          (a)    each Sharing Party shall, upon request of the Facility Agent, pay to the Facility Agent for
                 the account of that Recovering Party an amount equal to the appropriate part of its share
                 of the Sharing Payment (together with an amount as is necessary to reimburse that
                 Recovering Party for its proportion of any interest on the Sharing Payment which that
                 Recovering Party is required to pay) (the Redistributed Amount); and

          (b)    as between the relevant Obligor and each relevant Sharing Party, an amount equal to the
                 relevant Redistributed Amount will be treated as not having been paid by that Obligor.

   33.5         Exceptions

          (a)    This clause 33 shall not apply to the extent that the Recovering Party would not, after
                 making any payment pursuant to this clause, have a valid and enforceable claim against
                 the relevant Obligor.

          (b)    A Recovering Party is not obliged to share with any other Finance Party any amount
                 which the Recovering Party has received or recovered as a result of taking legal or
                 arbitration proceedings, if:

                 (i)     it notified the other Finance Party of the legal or arbitration proceedings; and

                 (ii)    the other Finance Party had an opportunity to participate in those legal or
                         arbitration proceedings but did not do so as soon as reasonably practicable having
                         received notice and did not take separate legal or arbitration proceedings.




  BD-#32148460-v3                                    170
18-13374-mew             Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                 Pg 511 of 692


                                                   Section 11
                                                  Administration

 34          Payment mechanics
      34.1         Payments to the Facility Agent

             (a)    On each date on which an Obligor or a Lender is required to make a payment under a
                    Finance Document that Obligor or Lender shall make the same available to the Facility
                    Agent (unless a contrary indication appears in a Finance Document) for value on the due
                    date at the time and in such funds specified by the Facility Agent as being customary at
                    the time for settlement of transactions in the relevant currency in the place of payment.

             (b)    Payment shall be made to such account in the principal financial centre of the country of
                    that currency (or, in relation to euro, in a principal financial centre in such Participating
                    Member State or London, as specified by the Facility Agent) and with such bank as the
                    Facility Agent, in each case, specifies.

             (c)    For the avoidance of doubt, each Obligor agrees that it shall not (without the prior written
                    consent of the Facility Agent) make any payment under any of the Facilities directly to a
                    Lender.

      34.2         Distributions by the Facility Agent

             Each payment received by the Facility Agent under the Finance Documents for another Party
             shall, subject to clause 34.3 (Distributions to an Obligor) and clause 34.4 (Clawback and pre-
             funding) be made available by the Facility Agent as soon as practicable after receipt to the Party
             entitled to receive payment in accordance with this Agreement (in the case of a Lender, for the
             account of its Facility Office), to such account as that Party may notify to the Facility Agent by
             not less than five (5) Business Days' notice with a bank specified by that Party in the principal
             financial centre of the country of that currency (or, in relation to euro, in the principal financial
             centre of a Participating Member State or London, as specified by that Party). Payments shall
             be applied in or towards payment pro rata of any unpaid amount owing to the Facility Agent, the
             Collateral Management Agent, the Co-Ordinator, the Security Agent, the Issuing Bank (including
             without limitation under clauses 6.4, 6.10 to 6.12 and 6.26) under those Finance Documents
             prior to interest on, or the principal amount of, the Loans or any fees, expenses, indemnities or
             other amounts, payable to any other Person hereunder.

      34.3         Distributions to an Obligor

             The Facility Agent may (with the consent of the Obligor or in accordance with clause 35 (Set-
             Off)) apply any amount received by it for that Obligor in or towards payment (on the date and in
             the currency and funds of receipt) of any amount due from that Obligor under the Finance
             Documents or in or towards purchase of any amount of any currency to be so applied.

      34.4         Clawback and pre-funding

             (a)    Where a sum is to be paid to the Facility Agent under the Finance Documents for another
                    Party, the Facility Agent is not obliged to pay that sum to that other Party (or to enter into
                    or perform any related exchange contract) until it has been able to establish to its
                    satisfaction that it has actually received that sum.

             (b)    Unless paragraph (c) below applies, if the Facility Agent pays an amount to another Party
                    and it proves to be the case that the Facility Agent had not actually received that amount,
                    then the Party to whom that amount (or the proceeds of any related exchange contract)
                    was paid by the Facility Agent shall on demand refund the same to the Facility Agent
                    together with interest on that amount from the date of payment to the date of receipt by
                    the Facility Agent, calculated by the Facility Agent to reflect its cost of funds.




  BD-#32148460-v3                                      171
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 512 of 692


          (c)    If the Facility Agent is willing to make available amounts for the account of a Borrower
                 before receiving funds from the Lenders then if and to the extent that the Facility Agent
                 does so but it proves to be the case that it does not then receive funds from a Lender in
                 respect of a sum which it paid to the Borrower:

                 (i)     the Facility Agent shall notify the Borrower of that Lender's identity and the
                         Borrower shall on demand refund it to the Facility Agent; and

                 (ii)    the Lender by whom those funds should have been made available or, if that
                         Lender fails to do so, the Borrowers shall on demand pay to the Facility Agent the
                         amount (as certified by the Facility Agent) which will indemnify the Facility Agent
                         against any funding cost incurred by it as a result of paying out that sum before
                         receiving those funds from that Lender.

   34.5         Impaired Agent

          (a)    If, at any time, the Facility Agent becomes an Impaired Agent, an Obligor or a Lender
                 which is required to make a payment under the Finance Documents to the Facility Agent
                 in accordance with clause 34.1 (Payments to the Facility Agent) may instead either:

                 (i)     pay that amount direct to the required recipient(s); or

                 (ii)    if in its absolute discretion it considers that it is not reasonably practicable to pay
                         that amount directly to the required recipient(s), pay that amount or the relevant
                         part of that amount to an interest-bearing account held with an Acceptable Bank
                         within the meaning of paragraph (a) of the definition of Acceptable Bank and in
                         relation to which no Insolvency Event has occurred and is continuing, in the name
                         of the Obligor or the Lender making the payment (the Paying Party) and
                         designated as a trust account for the benefit of the Party or Parties beneficially
                         entitled to that payment under the Finance Documents (the Recipient Party or
                         Recipient Parties).

                 In each case such payments must be made on the due date for payment under the
                 Finance Documents.

          (b)    All interest accrued on the amount standing to the credit of the trust account shall be for
                 the benefit of the Recipient Party or the Recipient Parties pro rata to their respective
                 entitlements.

          (c)    A Party which has made a payment in accordance with this clause 34.5 shall be
                 discharged of the relevant payment obligation under the Finance Documents and shall
                 not take any credit risk with respect to the amounts standing to the credit of the trust
                 account.

          (d)    Promptly upon the appointment of a successor Facility Agent in accordance with
                 clause 30.12 (Replacement of the Facility Agent or Collateral Management Agent), each
                 Paying Party shall (other than to the extent that that Party has given an instruction
                 pursuant to paragraph (e) below) give all requisite instructions to the bank with whom the
                 trust account is held to transfer the amount (together with any accrued interest) to the
                 successor Facility Agent for distribution to the relevant Recipient Party or Recipient
                 Parties in accordance with clause 34.2 (Distributions by the Facility Agent).

          (e)    A Paying Party shall, promptly upon request by a Recipient Party and to the extent:

                 (i)     that it has not given an instruction pursuant to paragraph (d) above; and

                 (ii)    that it has been provided with the necessary information by that Recipient Party,

                 give all requisite instructions to the bank with whom the trust account is held to transfer
                 the relevant amount (together with any accrued interest) to that Recipient Party.



  BD-#32148460-v3                                    172
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                Pg 513 of 692


   34.6         Partial payments

          (a)    If the Facility Agent receives a payment for application against amounts due in respect of
                 any Finance Documents that is insufficient to discharge all the amounts then due and
                 payable by an Obligor under those Finance Documents, the Facility Agent shall apply that
                 payment towards the obligations of that Obligor under those Finance Documents in the
                 following order:

                 (i)      first, in or towards payment pro rata of any unpaid amount owing to the Facility
                          Agent, the Collateral Management Agent, the Co-Ordinator, the Security Agent, the
                          Issuing Bank ((including without limitation under clauses 6.4, 6.10 to 6.12 and
                          6.26)) under those Finance Documents;

                 (ii)     secondly, in or towards payment to the Secured Parties pro rata of any accrued
                          interest, fee or commission due but unpaid under the First Finance Documents;

                 (iii)    thirdly, in or towards payment to the Secured Parties pro rata of any principal due
                          but unpaid under those First Finance Documents;

                 (iv)     fourthly, in or towards payment pro rata of any other sum due but unpaid under
                          the First Finance Documents; and

                 (v)      fifthly, in or towards any sum due put unpaid in relation to the Second Secured
                          Obligations.

          (b)    The Facility Agent shall, if so directed by the Majority Lenders, vary the order set out in
                 paragraphs (a)(ii) to (iv) above.

          (c)    Paragraphs (a) and (b) above will override any appropriation made by an Obligor.

   34.7         Set-off by Obligors

          All payments to be made by an Obligor under the Finance Documents shall be calculated and
          be made without (and free and clear of any deduction for) set-off or counterclaim.

   34.8         Business Days

          (a)    Any payment under the Finance Documents which is due to be made on a day that is not
                 a Business Day shall be made on the next Business Day in the same calendar month (if
                 there is one) or the preceding Business Day (if there is not).

          (b)    During any extension of the due date for payment of any principal or Unpaid Sum under
                 this Agreement interest is payable on the principal or Unpaid Sum at the rate payable on
                 the original due date.

   34.9         Currency of account

          (a)    Subject to paragraphs (b) to (e) below, the Base Currency is the currency of account and
                 payment for any sum due from an Obligor under any Finance Document.

          (b)    A repayment of a Utilisation or a part of a Utilisation shall be made in the currency in
                 which that Utilisation is denominated on its due date.

          (c)    Each repayment of interest shall be made in the currency in which the sum in respect of
                 which the interest is payable was denominated when that interest accrued.

          (d)    Each payment in respect of costs, expenses or Taxes shall be made in the currency in
                 which the costs, expenses or Taxes are incurred.




  BD-#32148460-v3                                    173
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 514 of 692


          (e)    Any amount expressed to be payable in a currency other than Base Currency shall be
                 paid in that other currency.

  34.10         Change of currency

          (a)    Unless otherwise prohibited by law, if more than one currency or currency unit are at the
                 same time recognised by the central bank of any country as the lawful currency of that
                 country, then:

                 (i)     any reference in the Finance Documents to, and any obligations arising under the
                         Finance Documents in, the currency of that country shall be translated into, or paid
                         in, the currency or currency unit of that country designated by the Facility Agent
                         (after consultation with the Company); and

                 (ii)    any translation from one currency or currency unit to another shall be at the official
                         rate of exchange recognised by the central bank for the conversion of that currency
                         or currency unit into the other, rounded up or down by the Facility Agent (acting
                         reasonably).

          (b)    If a change in any currency of a country occurs, this Agreement will, to the extent the
                 Facility Agent (acting reasonably and after consultation with the Company) specifies to be
                 necessary, be amended to comply with any generally accepted conventions and market
                 practice in the Relevant Interbank Market and otherwise to reflect the change in currency,
                 with the intention of putting the Obligors and the Finance Parties in the same position as
                 if the change had not occurred.

  34.11         Disruption to Payment Systems etc.

          If either the Facility Agent determines (in its discretion) that a Disruption Event has occurred or
          the Facility Agent is notified by the Company that a Disruption Event has occurred:

          (a)    the Facility Agent may, and shall if requested to do so by the Company, consult with the
                 Company with a view to agreeing with the Company such changes to the operation or
                 administration of the Facility as the Facility Agent may deem necessary in the
                 circumstances;

          (b)    the Facility Agent shall not be obliged to consult with the Company in relation to any
                 changes mentioned in paragraph (a) if, in its opinion, it is not practicable to do so in the
                 circumstances and, in any event, shall have no obligation to agree to such changes;

          (c)    the Facility Agent may consult with the Finance Parties in relation to any changes
                 mentioned in paragraph (a) but shall not be obliged to do so if, in its opinion, it is not
                 practicable to do so in the circumstances;

          (d)    any such changes agreed upon by the Facility Agent and the Company shall (whether or
                 not it is finally determined that a Disruption Event has occurred) be binding upon the
                 Parties as an amendment to (or, as the case may be, waiver of) the terms of the Finance
                 Documents notwithstanding the provisions of clause 40 (Amendments and Waivers);

          (e)    the Facility Agent shall not be liable for any damages, costs or losses to any person, any
                 diminution in value or any liability whatsoever (including, without limitation for negligence,
                 gross negligence or any other category of liability whatsoever but not including any claim
                 based on the fraud of the Facility Agent) arising as a result of its taking, or failing to take,
                 any actions pursuant to or in connection with this clause 34.11; and

          (f)    the Facility Agent shall notify the Finance Parties of all changes agreed pursuant to
                 paragraph (d) above.




  BD-#32148460-v3                                    174
18-13374-mew             Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                   Pg 515 of 692


 35          Set-Off
             Without prejudice to clause 32.2 and subject to the Legal Reservations, a Finance Party may
             set off any matured obligation due from an Obligor under the Finance Documents (to the extent
             beneficially owned by that Finance Party) against any matured obligation owed by that Finance
             Party to that Obligor, regardless of the place of payment, booking branch or currency of either
             obligation. If the obligations are in different currencies, the Finance Party may convert either
             obligation at a market rate of exchange in its usual course of business for the purpose of the
             set-off.

 36          Notices
      36.1         Communications in writing

             Any communication to be made under or in connection with the Finance Documents shall be
             made in writing and, unless otherwise stated, may be made by email or letter.

      36.2         Addresses

             The address and email (and the department or officer, if any, for whose attention the
             communication is to be made) of each Party for any communication or document to be made or
             delivered under or in connection with the Finance Documents is:

             (a)    in the case of each Obligor, as follows:

                    10, Akti Kondili
                    Piraeus 185 45
                    Greece

                    Email: sfokas@ampni.com

                    Attention: Mr Spyros Fokas

             (b)    in the case of each Lender, that notified in writing to the Facility Agent on or prior to the
                    date on which it becomes a Party; and

             (c)    in the case of the Facility Agent or the Security Agent, as follows:

                    ABN AMRO Bank N.V.
                    Agency Syndicated Loans
                    Attn: Team 1
                    Gustav Mahlerlaan 10 (HQ9037)
                    1082 PP Amsterdam
                    The Netherlands

                    E-mail: ABN.AMRO.Agency.Team.1@nl.abnamro.com

             (d)    in the case of the Collateral Management Agent, as follows:

                    ABN AMRO Bank N.V.
                    Credit & Collateral Management

                    Att: Nelli Oganesian / Anastasia.Romm - HQ0051
                    Gustav Mahlerlaan 10
                    1082 PP Amsterdam
                    The Netherlands

                    T + 31 (0) 20 343 6703




  BD-#32148460-v3                                      175
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 516 of 692


                 E-mail: nelli.organesian@nl.abnamro.com and anastasia.romm@nl.abnamro.com

          (e)    in the case of the Issuing Banks, as follows:

                 ABN AMRO Bank N.V.
                 Att: Nydhal El Mahfoudhi
                 Gustav Mahlerlaan 10
                 1082 PP Amsterdam
                 The Netherlands

                 Email: nydhal.elmahfoudhi@nl.abnamro.com

                 Tel:    +31 (0) 20 6 282 337

          (f)    in the case of the Overdraft Bank, as follows:

                 ABN AMRO Bank N.V.
                 Att: Nydhal El Mahfoudhi
                 Gustav Mahlerlaan 10
                 1082 PP Amsterdam
                 The Netherlands

                 Email: nydhal.elmahfoudhi@nl.abnamro.com

                 Tel:    +31 (0) 20 6 282 337

          or any substitute address, email or department or officer as the Party may notify to the Facility
          Agent (or the Facility Agent may notify to the other Parties, if a change is made by the Facility
          Agent) by not less than five (5) Business Days' notice.

   36.3         Delivery

          (a)    Any communication or document made or delivered by one person to another under or in
                 connection with the Finance Documents will only be effective:

                 (i)     if by way of email, when received in legible form; or

                 (ii)    if by way of letter, when it has been left at the relevant address or five (5) Business
                         Days after being deposited in the post postage prepaid in an envelope addressed
                         to it at that address,

                 and, if a particular department or officer is specified as part of its address details provided
                 under clause 36.2 (Addresses), if addressed to that department or officer.

          (b)    Any communication or document to be made or delivered to the Facility Agent, the
                 Collateral Management Agent or the Security Agent will be effective only when actually
                 received by the Facility Agent, the Collateral Management Agent or Security Agent and
                 then only if it is expressly marked for the attention of the department or officer identified
                 with the Facility Agent's or Collateral Management Agent’s or Security Agent's signature
                 below (or any substitute department or officer as the Facility Agent, the Collateral
                 Management Agent or Security Agent shall specify for this purpose).

          (c)    All notices from or to an Obligor shall be sent through the Facility Agent.

          (d)    Any communication or document made or delivered to the Company in accordance with
                 this clause 36.3 will be deemed to have been made or delivered to each of the Obligors.

          (e)    Any communication or document which becomes effective, in accordance with
                 paragraphs (a) to (d) above, after 5.00 p.m. in the place of receipt shall be deemed only
                 to become effective on the following day.



  BD-#32148460-v3                                    176
18-13374-mew             Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                               Pg 517 of 692


   36.4         Notification of address and email

          Promptly upon receipt of notification of an address or email or change of address or email
          pursuant to clause 36.2 (Addresses) or changing its own address or email, the Facility Agent
          shall notify the other Parties.

   36.5         Communication when Facility Agent is Impaired Agent

          If the Facility Agent is an Impaired Agent the Parties may, instead of communicating with each
          other through the Facility Agent, communicate with each other directly and (while the Facility
          Agent is an Impaired Agent) all the provisions of the Finance Documents which require
          communications to be made or notices to be given to or by the Facility Agent shall be varied so
          that communications may be made and notices given to or by the relevant Parties directly. This
          provision shall not operate after a replacement Facility Agent has been appointed.

   36.6         Electronic communication

          (a)    Any communication to be made between any two Parties under or in connection with the
                 Finance Documents may be made by electronic mail or other electronic means to the
                 extent that those two Parties agree that, unless and until notified to the contrary, this is to
                 be an accepted form of communication and if those two Parties:

                 (i)      notify each other in writing of their electronic mail address and/or any other
                          information required to enable the sending and receipt of information by that
                          means; and

                 (ii)     notify each other of any change to their address or any other such information
                          supplied by them by not less than five (5) Business Days' notice.

          (b)    Any electronic communication made between those two Parties will be effective only
                 when actually received in readable form and in the case of any electronic communication
                 made by a Party to the Facility Agent, Collateral Management Agent or the Security
                 Agent only if it is addressed in such a manner as the Facility Agent, Collateral
                 Management Agent or Security Agent shall specify for this purpose.

          (c)    Any electronic communication which becomes effective, in accordance with paragraph (b)
                 above, after 5.00 p.m. in the place of receipt shall be deemed only to become effective on
                 the following day.

   36.7         Use of websites

          (a)    The Company may satisfy its obligation under this Agreement to deliver any information
                 in relation to those Lenders (the Website Lenders) who accept this method of
                 communication by posting this information onto an electronic website designated by the
                 Company and the Facility Agent (the Designated Website) if:

                 (i)      the Facility Agent expressly agrees (after consultation with each of the Lenders)
                          that it will accept communication of the information by this method;

                 (ii)     both the Company and the Facility Agent are aware of the address of and any
                          relevant password specifications for the Designated Website; and

                 (iii)    the information is in a format previously agreed between the Company and the
                          Facility Agent.

                 If any Lender (a Paper Form Lender) does not agree to the delivery of information
                 electronically then the Facility Agent shall notify the Company accordingly and the
                 Company shall at its own cost supply the information to the Facility Agent (in sufficient
                 copies for each Paper Form Lender) in paper form. In any event the Company shall at its




  BD-#32148460-v3                                   177
18-13374-mew                Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                   Pg 518 of 692


                    own cost supply the Facility Agent with at least one copy in paper form of any information
                    required to be provided by it.

             (b)    The Facility Agent shall supply each Website Lender with the address of and any relevant
                    password specifications for the Designated Website following designation of that website
                    by the Company and the Facility Agent.

             (c)    The Company shall promptly upon becoming aware of its occurrence notify the Facility
                    Agent if:

                    (i)      the Designated Website cannot be accessed due to technical failure;

                    (ii)     the password specifications for the Designated Website change;

                    (iii)    any new information which is required to be provided under this Agreement is
                             posted onto the Designated Website;

                    (iv)     any existing information which has been provided under this Agreement and
                             posted onto the Designated Website is amended; or

                    (v)      the Company becomes aware that the Designated Website or any information
                             posted onto the Designated Website is or has been infected by any electronic virus
                             or similar software.

                    If the Company notifies the Facility Agent under paragraph (c)(i) or paragraph (c)(v)
                    above, all information to be provided by the Company under this Agreement after the
                    date of that notice shall be supplied in paper form unless and until the Facility Agent and
                    each Website Lender is satisfied that the circumstances giving rise to the notification are
                    no longer continuing.

             (d)    Any Website Lender may request, through the Facility Agent, one paper copy of any
                    information required to be provided under this Agreement which is posted onto the
                    Designated Website. The Company shall at its own cost comply with any such request
                    within ten (10) Business Days.

      36.8         English language

             (a)    Any notice given under or in connection with any Finance Document must be in English.

             (b)    All other documents provided under or in connection with any Finance Document must
                    be:

                    (i)      in English; or

                    (ii)     if not in English, and if so required by the Facility Agent, accompanied by a certified
                             English translation and, in this case, the English translation will prevail unless the
                             document is a constitutional, statutory or other official document.

 37          Calculations and Certificates
      37.1         Accounts

             In any litigation or arbitration proceedings arising out of or in connection with a Finance
             Document, the entries made in the accounts maintained by a Finance Party are prima facie
             evidence of the matters to which they relate.




  BD-#32148460-v3                                        178
18-13374-mew              Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                                Pg 519 of 692


      37.2         Certificates and determinations

             Any certification or determination by a Finance Party of a rate or amount under any Finance
             Document is, in the absence of manifest error, conclusive evidence of the matters to which it
             relates.

      37.3         Day count convention

             Any interest, commission or fee accruing under a Finance Document will accrue from day to day
             and is calculated on the basis of the actual number of days elapsed and a year of 360 days or,
             in any case where the practice in the Relevant Interbank Market differs, in accordance with that
             market practice.

 38          Partial Invalidity
             If, at any time, any provision of a Finance Documents is or becomes illegal, invalid or
             unenforceable in any respect under any law of any jurisdiction, neither the legality, validity or
             enforceability of the remaining provisions nor the legality, validity or enforceability of such
             provision under the law of any other jurisdiction will in any way be affected or impaired.

 39          Remedies and Waivers
             No failure to exercise, nor any delay in exercising, on the part of any Finance Party or Secured
             Party, any right or remedy under a Finance Document shall operate as a waiver of any such
             right or remedy or constitute an election to affirm any Finance Document. No election to affirm
             any Finance Document on the part of any Finance Party or Secured Party shall be effective
             unless it is in writing. No single or partial exercise of any right or remedy shall prevent any
             further or other exercise or the exercise of any other right or remedy. The rights and remedies
             provided in each Finance Document are cumulative and not exclusive of any rights or remedies
             provided by law.

 40          Amendments and Waivers
      40.1         Required consents

             (a)    Subject to clause 40.2 (All Lender matters) and clause 40.3 (Other exceptions), any term
                    of the Finance Documents may be amended or waived only with the consent of the
                    Majority Lenders and the Company and any such amendment or waiver will be binding on
                    all Parties.

             (b)    The Facility Agent may effect, on behalf of any Finance Party, any amendment or waiver
                    permitted by this clause 40.

             (c)    Without prejudice to the generality of paragraphs (c), (d) and (e) of clause 30.6 (Rights
                    and discretions), the Facility Agent may engage, pay for and rely on the services of
                    lawyers in determining the consent level required for and effecting any amendment or
                    waiver under this Agreement.

             (d)    Each Obligor agrees to any such amendment or waiver permitted by this clause 40 which
                    is agreed to by the Company. This includes any amendment or waiver which would, but
                    for this paragraph (d), require the consent of all of the Guarantors.

      40.2         All Lender matters

             (a)    An amendment or waiver that has the effect of changing or which relates to:

                    (i)    the definitions of Majority Lenders, Prohibited Person, Sanctions, Sanctions
                           Authority or Sanctions List in clause 1.1 (Definitions);




  BD-#32148460-v3                                    179
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                                 Pg 520 of 692


                 (ii)      an extension to the date of payment of any amount under the Finance Documents
                           (other than in relation to clause 9 (Mandatory prepayment and cancellation));

                 (iii)     a reduction in the Margin or a reduction in the amount of any payment of principal,
                           interest, fees or commission payable;

                 (iv)      a change in currency of payment of any amount under the Finance Documents;

                 (v)       an increase in any Commitment or the Total Commitments, an extension of the
                           Availability Period or any requirement that a cancellation of Commitments reduces
                           the Commitments rateably;

                 (vi)      a change to a Borrower or Guarantors;

                 (vii)     any provision which expressly requires the consent of all the Lenders;

                 (viii)    clause 2.2 (Finance Parties' rights and obligations), clause 9 (Mandatory
                           prepayment and cancellation), clause 22.13 (Proof of Origin), clause 27 (Changes
                           to the Lenders), this clause 40, the governing law of any Finance Document or
                           clause 44.1 (Jurisdiction of English courts);

                 (ix)      the nature or scope of:

                           (A)   the guarantee and indemnity granted under clause 20 (Guarantee and
                                 Indemnity);

                           (B)   the Charged Property; or

                           (C)   the manner in which the proceeds of enforcement of the Transaction
                                 Security are distributed; or

                 (x)       subject to clause 40.5 (Release of non-eligible receivables by the Security Agent),
                           the release of any guarantee and indemnity granted under clause 20 (Guarantee
                           and Indemnity) or of any Transaction Security,

                 shall not be made, or given, without the prior consent of all the Lenders.

   40.3         Other exceptions

          An amendment or waiver which relates to the rights or obligations of the Facility Agent, the
          Collateral Management Agent, the Issuing Bank, the Co-Ordinator, the Security Agent or FX
          Hedging Provider (each in their capacity as such) may not be effected without the consent of
          the Facility Agent, the Collateral Management Agent, the Issuing Bank, the Co-Ordinator, the
          Security Agent and the FX Hedging Provider.

   40.4         Excluded Commitments

          If any Lender fails to respond to a request for a consent, waiver, amendment of or in relation to
          any term of any Finance Document or any other vote of Lenders under the terms of this
          Agreement within ten (10) Business Days of that request being made (unless the Company and
          the Facility Agent agree to a longer time period in relation to any request):

          (a)    its Commitments hall not be included for the purpose of calculating the Total Commitment
                 when ascertaining whether any relevant percentage (including, for the avoidance of
                 doubt, unanimity) of Total Commitments has been obtained to approve that request; and

          (b)    its status as a Lender shall be disregarded for the purpose of ascertaining whether the
                 agreement of any specified group of Lenders (including, for the avoidance of doubt, all
                 the Lenders) has been obtained to approve that request.




  BD-#32148460-v3                                     180
18-13374-mew                Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                   Pg 521 of 692


      40.5         Release of non-eligible receivables by the Security Agent

             Notwithstanding any other provision of any Finance Document, the Security Agent may in its
             sole discretion, and is hereby (without any further confirmation or instruction required)
             authorised to, execute a release from the Transaction Security from time to time of trade
             receivables which are not or have ceased to be Eligible Receivables and which have a face
             value in an amount which is less than $500,000 per receivable. The Security Agent (or the
             Facility Agent) shall notify the Lenders of any release made pursuant to this clause.

 41          Confidentiality
      41.1         Confidential Information

             Each Finance Party agrees to use commercially reasonable efforts in accordance with safe and
             sound practices applicable to banks to keep all Confidential Information confidential and not to
             disclose it to anyone, save to the extent permitted by clause 41.2 (Disclosure of Confidential
             Information) and clause 41.3 (Disclosure to numbering service providers), and to ensure that all
             Confidential Information is protected with security measures and a degree of care that would
             apply to its own confidential information.

      41.2         Disclosure of Confidential Information

             Any Finance Party may disclose:

             (a)    to any of its Affiliates and Related Funds and any of its or their officers, directors,
                    employees, professional advisers, insurers, auditors, partners and Representatives such
                    Confidential Information as that Finance Party shall consider appropriate if any person to
                    whom the Confidential Information is to be given pursuant to this paragraph (a) is
                    informed in writing of its confidential nature and that some or all of such Confidential
                    Information may be price-sensitive information except that there shall be no such
                    requirement to so inform if the recipient is subject to professional obligations to maintain
                    the confidentiality of the information or is otherwise bound by requirements of
                    confidentiality in relation to the Confidential Information;

             (b)    to any person:

                    (i)      to (or through) whom it assigns or transfers (or may potentially assign or transfer)
                             all or any of its rights and/or obligations under one or more Finance Documents or
                             which succeeds (or which may potentially succeed) it as Facility Agent, Collateral
                             Management Agent or Security Agent and, in each case, to any of that person's
                             Affiliates, Related Funds, Representatives and professional advisers;

                    (ii)     with (or through) whom it enters into (or may potentially enter into), whether directly
                             or indirectly, any sub-participation in relation to, or any other transaction under
                             which payments are to be made or may be made by reference to, one or more
                             Finance Documents and/or one or more Obligors and to any of that person's
                             Affiliates, Related Funds, Representatives and professional advisers;

                    (iii)    appointed by any Finance Party or by a person to whom paragraph (b)(i) or (ii)
                             above applies to receive communications, notices, information or documents
                             delivered pursuant to the Finance Documents on its behalf (including, without
                             limitation, any person appointed under paragraph (b) of clause 30.14 (Relationship
                             with the Lenders));

                    (iv)     who invests in or otherwise finances (or may potentially invest in or otherwise
                             finance), directly or indirectly, any transaction referred to in paragraph (b)(i) or
                             (b)(ii) above;

                    (v)      to the Bankruptcy Court, in connection with a Sale Motion or otherwise to whom
                             information is required or requested to be disclosed by any court of competent


  BD-#32148460-v3                                        181
18-13374-mew              Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                 Pg 522 of 692


                           jurisdiction or any governmental, banking, taxation or other regulatory authority or
                           similar body, the rules of any relevant stock exchange or pursuant to any
                           applicable law or regulation;

                 (vi)      to whom information is required to be disclosed in connection with, and for the
                           purposes of, any litigation, arbitration, administrative or other investigations,
                           proceedings or disputes;

                 (vii)     to whom or for whose benefit that Finance Party charges, assigns or otherwise
                           creates Security (or may do so) pursuant to clause 27.8 (Security over Lenders'
                           rights);

                 (viii)    who is a Party; or

                 (ix)      with the consent of the Company;

                           in each case, such Confidential Information as that Finance Party shall consider
                           appropriate if:

                           (A)   in relation to paragraphs (b)(i), (b)(ii) and (b)(iii) above, the person to whom
                                 the Confidential Information is to be given has entered into a Confidentiality
                                 Undertaking except that there shall be no requirement for a Confidentiality
                                 Undertaking if the recipient is a professional adviser and is subject to
                                 professional obligations to maintain the confidentiality of the Confidential
                                 Information;

                           (B)   in relation to paragraph (b)(iv) above, the person to whom the Confidential
                                 Information is to be given has entered into a Confidentiality Undertaking or is
                                 otherwise bound by requirements of confidentiality in relation to the
                                 Confidential Information they receive and is informed that some or all of such
                                 Confidential Information may be price-sensitive information;

                           (C)   in relation to paragraphs (b)(v), (b)(vi) and (b)(vii) above, the person to
                                 whom the Confidential Information is to be given is informed of its
                                 confidential nature and that some or all of such Confidential Information may
                                 be price-sensitive information except that there shall be no requirement to so
                                 inform if, in the opinion of that Finance Party, it is not practicable so to do in
                                 the circumstances;

          (c)    to any person appointed by that Finance Party or by a person to whom paragraph (b)(i) or
                 (b)(ii) above applies to provide administration or settlement services in respect of one or
                 more of the Finance Documents including without limitation, in relation to the trading of
                 participations in respect of the Finance Documents, such Confidential Information as may
                 be required to be disclosed to enable such service provider to provide any of the services
                 referred to in this paragraph (c) if the service provider to whom the Confidential
                 Information is to be given has entered into a confidentiality agreement substantially in the
                 form      of  the    LMA      Master    Confidentiality   Undertaking    for   Use     With
                 Administration/Settlement Service Providers or such other form of confidentiality
                 undertaking agreed between the Company and the relevant Finance Party; and

          (d)    to any rating agency (including its professional advisers) such Confidential Information as
                 may be required to be disclosed to enable such rating agency to carry out its normal
                 rating activities in relation to the Finance Documents and/or the Obligors.

   41.3         Disclosure to numbering service providers

          (a)    Any Finance Party may disclose to any national or international numbering service
                 provider appointed by that Finance Party to provide identification numbering services in
                 respect of this Agreement, the Facility and/or one or more Obligors the following
                 information:



  BD-#32148460-v3                                      182
18-13374-mew              Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                                  Pg 523 of 692


                 (i)       names of Obligors, the Spanish Pledgors and the South African Pledge
                           Counterparties;

                 (ii)      country of domicile of Obligors, the Spanish Pledgors and the South African Pledge
                           Counterparties;

                 (iii)     place of incorporation of Obligors, the Spanish Pledgors and the South African
                           Pledge Counterparties;

                 (iv)      date of this Agreement;

                 (v)       clause 43 (Governing Law);

                 (vi)      the names of the Facility Agent, the Collateral Management Agent and the Co-
                           Ordinator;

                 (vii)     amount of Total Commitments;

                 (viii)    currency of the Facility;

                 (ix)      type of Facility;

                 (x)       ranking;

                 (xi)      Termination Date;

                 (xii)     changes to any of the information previously supplied pursuant to paragraphs (i) to
                           (xi) above; and

                 (xiii)    such other information agreed between such Finance Party and the Company,

                 to enable such numbering service provider to provide its usual syndicated loan
                 numbering identification services.

          (b)    The Parties acknowledge and agree that each identification number assigned to this
                 Agreement, the Facility and/or one or more Obligors by a numbering service provider and
                 the information associated with each such number may be disclosed to users of its
                 services in accordance with the standard terms and conditions of that numbering service
                 provider.

          (c)    Each Obligor represents that none of the information set out in paragraphs (i) to (xiii) of
                 paragraph (a) above is, nor will at any time be, unpublished price-sensitive information.

          (d)    The Facility Agent shall notify the Company and the other Finance Parties of:

                 (i)       the name of any numbering service provider appointed by the Facility Agent in
                           respect of this Agreement, the Facility and/or one or more Obligors; and

                 (ii)      the number or, as the case may be, numbers assigned to this Agreement, the
                           Facility and/or one or more Obligors by such numbering service provider.

   41.4         Entire agreement

          This clause 41 constitutes the entire agreement between the Parties in relation to the
          obligations of the Finance Parties under the Finance Documents regarding Confidential
          Information and supersedes any previous agreement, whether express or implied, regarding
          Confidential Information.




  BD-#32148460-v3                                      183
18-13374-mew            Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                                Pg 524 of 692


      41.5         Inside information

             Each of the Finance Parties acknowledges that some or all of the Confidential Information is or
             may be price-sensitive information and that the use of such information may be regulated or
             prohibited by applicable legislation including securities law relating to insider dealing and market
             abuse and each of the Finance Parties undertakes not to use any Confidential Information for
             any unlawful purpose.

      41.6         Notification of disclosure

             Each of the Finance Parties agrees (to the extent permitted by law and regulation) to inform the
             Company:

             (a)    of the circumstances of any disclosure of Confidential Information made pursuant to
                    paragraph (b)(v) of clause 41.2 (Disclosure of Confidential Information) except where
                    such disclosure is made to any of the persons referred to in that paragraph during the
                    ordinary course of its supervisory or regulatory function; and

             (b)    upon becoming aware that Confidential Information has been disclosed in breach of this
                    clause 41.

      41.7         Continuing obligations

             The obligations in this clause 41 are continuing and, in particular, shall survive and remain
             binding on each Finance Party for a period of twelve (12) months from the earlier of:

             (a)    the date on which all amounts payable by the Obligors, the Spanish Pledgors and the
                    South African Pledge Counterparties under or in connection with the Finance Documents
                    have been paid in full and all Commitments have been cancelled or otherwise cease to
                    be available; and

             (b)    the date on which such Finance Party otherwise ceases to be a Finance Party.

 42          Counterparts
             Each Finance Document may be executed in any number of counterparts, and this has the
             same effect as if the signatures on the counterparts were on a single copy of the Finance
             Document.




  BD-#32148460-v3                                     184
18-13374-mew               Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                  Pg 525 of 692


                                                 Section 12
                                       Governing Law and Enforcement

 43          Governing Law
             This Agreement and any non-contractual obligations arising out of or in connection with it are
             governed by English law.

 44          Enforcement
      44.1         Jurisdiction of English courts

             (a)    The courts of England have exclusive jurisdiction to settle any dispute arising out of or in
                    connection with this Agreement (including a dispute relating to the existence, validity or
                    termination of this Agreement or any non-contractual obligation arising out of or in
                    connection with this Agreement) (a Dispute).

             (b)    The Parties agree that the courts of England are the most appropriate and convenient
                    courts to settle Disputes and accordingly no Party will argue to the contrary.

             (c)    This clause 44.1 is for the benefit of the Finance Parties and Secured Parties only. As a
                    result, no Finance Party or Secured Party shall be prevented from taking proceedings
                    relating to a Dispute in any other courts with jurisdiction. To the extent allowed by law,
                    the Finance Parties and Secured Parties may take concurrent proceedings in any number
                    of jurisdictions.

      44.2         Service of process

             (a)    Without prejudice to any other mode of service allowed under any relevant law, each
                    Obligor (other than an Obligor incorporated in England and Wales):

                    (i)     irrevocably appoints Portland Place Nominees Limited of c/o Riches & Company,
                            34 Anyards Road, Cobham, Surrey KT11 2LA as its agent for service of process in
                            relation to any proceedings before the English courts in connection with any
                            Finance Document; and

                    (ii)    agrees that failure by an agent for service of process to notify the relevant Obligor
                            of the process will not invalidate the proceedings concerned.

             (b)    If any person appointed as an agent for service of process is unable for any reason to act
                    as agent for service of process, the Company (on behalf of all the Obligors) must
                    immediately (and in any event within three (3) days of such event taking place) appoint
                    another agent on terms acceptable to the Facility Agent. Failing this, the Facility Agent
                    may appoint another agent for this purpose.

      44.3         Enforcement procedures in Spain

             (a)    This Agreement and any other Finance Document, at the discretion of the Facility Agent,
                    as well as any amendments hereto or thereto, shall be formalised in a Spanish Public
                    Document, so that it may have the status of a notarial document of loan for all purposes
                    contemplated in Article 517, number 4 of the Spanish Civil Procedural Law (Law 1/2000
                    of 7th January) (“Ley de Enjuiciamiento Civil”) (the “Civil Procedural Law”).

             (b)    For such purposes, upon demand by the Facility Agent or the Security Agent, any
                    Spanish Obligor that may accede to this Agreement shall: (i) raise this Agreement to the
                    status of a Spanish Public Document before a Spanish notary public and (ii) raise the
                    deed by virtue of which any Spanish Obligor becomes a party to this Agreement to the
                    status of a Spanish Public Document.




  BD-#32148460-v3                                      185
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 526 of 692


        (c)    Upon enforcement, the sum payable by the any Spanish Obligor or any Spanish Pledgor
               regarding the relevant Transaction Security shall be the total aggregate amount of the
               balance of the accounts maintained by the Facility Agent (and/or the relevant Finance
               Party, as the case may be). For the purposes of Articles 517 et seq. of the Civil
               Procedural Law, such balances shall be considered as due, liquid and payable and may
               be claimed pursuant to the same provisions of such law. In this regard:

               (i)      For purposes of enforcing the provisions of or foreclosing under this Agreement
                        pursuant to Spanish law (including, without limitation, the guarantee provided by a
                        Spanish Guarantor pursuant to Clause 20 or the security granted by any Spanish
                        Pledgor under the Transaction Security Documents), the Facility Agent, in its
                        capacity as such (and on behalf of the Finance Parties), shall open and maintain a
                        special credit facility account in its books on behalf of the Obligors, from which all
                        interest, fees, expenses, default interest, additional costs and any other amounts
                        that the Obligors owe to the Finance Parties under the Finance Documents will be
                        debited and into which all amounts received by or on account of the Finance
                        Parties from the Obligors under the Finance Documents will be credited, so that
                        the balance of the credit account represents the amount owed from time to time by
                        the Obligors to the Finance Parties.

               (ii)     In addition to the account referred to in the above paragraph, each Finance Party
                        shall open and maintain a special account in its records equivalent to that referred
                        to above, into which the interest, fees, expenses, default interest, additional costs
                        and any other amounts that the Obligors owe to the Finance Party hereunder will
                        be debited and into which all amounts received by the Finance Party from the
                        Obligors under the Finance Documents shall be credited, so that the sum of the
                        balance of the credit account represents the amount owed from time to time by the
                        Obligors to the Finance Party. In the event of assignment as provided in Clause 27,
                        the assignor will totally or partially cancel the referenced accounts, with
                        corresponding accounts to be opened by the assignee.

               (iii)    Any failure to keep the records referred to in paragraphs (i) and (ii) above or any
                        error in doing so will not, however, limit or otherwise affect the obligation of the
                        Obligors to pay any amount owed pursuant to the Finance Documents. In the event
                        of any discrepancy between the accounts and records maintained by any Finance
                        Party and the accounts and records of the Facility Agent corresponding to such
                        matters, the Facility Agent’s accounts and records will take precedence in the
                        absence of manifest error.

               (iv)     If any of the events of termination by maturity or acceleration of the Facility occurs,
                        the Facility Agent will settle the accounts referred to in this section. For the
                        purposes of enforcement in judicial or extrajudicial proceedings, it is expressly
                        agreed that the balance of the accounts referred to above resulting from the
                        certification for that purpose issued by the Facility Agent will be deemed a liquid,
                        due and payable amount enforceable against the Obligors, provided that it is
                        evidenced in a notarial document that the settlement was made in the form agreed
                        by the parties in the enforceable instrument (título ejecutivo) and that the
                        outstanding balance is equivalent to that recording in the corresponding account of
                        the Obligors opened in connection with the Facility.

        (d)    For the purpose of the provisions of Article 571. et seq. of the Civil Procedural Law, it is
               expressly agreed that the determination of the debt to be claimed through the
               enforcement proceedings shall be effected by the Facility Agent (or the relevant Finance
               Party, as the case may be) by means of the appropriate certificate evidencing the
               balances shown in the relevant account(s) referred to in paragraph (c) above. By virtue of
               the foregoing, to enforcement of this Agreement by the Facility Agent or any of the
               Finance Party it will be sufficient to deliver:

               (i)      an original notarial first or authentic copy of this Agreement;




  BD-#32148460-v3                                   186
18-13374-mew                Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                                   Pg 527 of 692


                    (ii)     a notarial certificate, if necessary, for the purposes described in paragraph (e)
                             below;

                    (iii)    the notarial document (acta notarial) which incorporates the certificate issued by
                             the Facility Agent (and/or the relevant Finance Party, as the case may be) of the
                             amount due by the Spanish Obligor including an excerpt of the credits and debits
                             (including the interest applied) which appear in the relevant account(s) referred to
                             in paragraph (iii) above, evidencing that the determination of the amounts due and
                             payable by the Spanish Obligor have been calculated as agreed in this Agreement
                             and that such amounts coincide with the balance of such accounts; and

                    (iv)     a notarial document (acta notarial) evidencing that the Spanish Obligor has been
                             served notice of the amount that is due and payable.

             (e)    Paragraph (c) above is also applicable to any Finance Party with regard to its
                    participation in the Facility. Such Finance Party may issue the appropriate certification of
                    the balances of the relevant account(s) referred to in paragraph (iii) above and the
                    certification of the balances of such accounts may be legalised by a notary.

             (f)    The amount of the balances so established shall be notified to the Spanish Obligor in an
                    attestable manner at least three (3) days in advance of the enforcement action set out in
                    paragraph (c) above.

             (g)    the Facility Agent and the Security Agent (and each Finance Party, as appropriate) are
                    hereby authorised to request and obtain certificates and documents issued by the notary
                    who formalises this Agreement in order to evidence its compliance with the entries of his
                    registry-book and the relevant entry date for the purposes of number 4 of Article 517, of
                    the Spanish Civil Procedural Law in case this Agreement is notarized by means of a
                    Spanish “póliza”; and to request any second or subsequent copies of the relevant
                    Spanish Public Document in which this Agreement is formalised, in the event that it is
                    formalised by means of a Spanish “escritura pública”. The cost of such certificate and
                    documents will be for the account of the Company and/or the Spanish Obligor in the
                    manner provided under this Agreement.

             (h)    For the purposes of a Spanish Obligor and the Guarantee it provides when acceding to
                    this Agreement, the Spanish Public Document:

                    (i)      will have the effects established under articles 517 et seq. of the Spanish Civil
                             Procedural Law; and

                    (ii)     may, at the decision of the Facility Agent or the Security Agent, include a
                             translation into Spanish of this Clause 44.3 (Enforcement Proceeding in Spain).

 45          Bail-in Clause
      45.1         Contractual Recognition of bail-in

             Notwithstanding any other term of any Finance Document or any other agreement, arrangement
             or understanding between the Parties, each Party acknowledges and accepts that any liability of
             any Party to any other Party under or in connection with the Finance Documents may be subject
             to Bail-In Action by the relevant Resolution Authority and acknowledges and accepts to be
             bound by the effect of:

             (a)    any Bail-In Action in relation to any such liability, including (without limitation):

                    (i)      a reduction, in full or in part, in the principal amount, or outstanding amount due
                             (including any accrued but unpaid interest) in respect of any such liability;

                    (ii)     a conversion of all, or part of, any such liability into shares or other instruments of
                             ownership that may be issued to, or conferred on, it; and;


  BD-#32148460-v3                                        187
18-13374-mew                Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                                   Pg 528 of 692


                    (iii)    a cancellation of any such liability; and

             (b)    a variation of any term of any Finance Document to the extent necessary to give effect to
                    any Bail-In Action in relation to any such liability.

 46          Resolution Stay
      46.1         Each Party irrevocably and unconditionally acknowledges, consents, accepts and agrees
                   that the occurrence, existence or continuation of a Resolution Event in relation to another
                   Finance Party does not:

             (a)    entitle it, directly or indirectly, whether pursuant to a default clause, a cross-default
                    clause, a guarantee or otherwise, to:

                    (i)      exercise any termination, suspension, modification, netting or set-off rights or
                             similar rights; or

                    (ii)     obtain possession, exercise control or enforce any security over any property of
                             such Finance Party,

                    under or in relation to this Agreement or any other agreement between it and such
                    Finance Party; or

             (b)    adversely affect the rights and remedies of such Finance Party under this Agreement or
                    any other agreement between that Finance Party and it,

                    unless the Resolution Legislation explicitly provides otherwise.

      46.2         Each Party shall promptly take all action that is necessary or in the opinion of the relevant
                   Finance Party or any Resolution Authority desirable in connection with this clause, the
                   exercise of a Resolution Power by any Resolution Authority, or the occurrence, existence
                   or continuation of any Resolution Event.

      46.3         Notwithstanding any other term, condition or clause in this Agreement or any other
                   agreement, arrangement or understanding between a Finance Party and another Party,
                   each Party irrevocably and unconditionally acknowledges, accepts, consents and agrees
                   that this clause prevails and may be enforced by any Resolution Authority.

      46.4         In this clause:

             References to a Finance Party include any parent, subsidiary or branch of that Finance Party,
             including its successors in title and assigns and transferees.

             Resolution Authority means any administrative authority or any other person with the ability to
             exercise a Resolution Power.

             Resolution Event means:

             (a)    the exercise by a Resolution Authority of any or more Resolution Powers in relation to a
                    relevant Finance Party;

             (b)    any other action taken by a Resolution Authority based on or taken in connection with
                    Resolution Legislation in relation to a relevant Finance Party, including, without limitation,
                    any request by the Resolution Authority to that Finance Party to take any action;

             (c)    any action taken by a relevant Finance Party in connection with the events referred to
                    under (a) or (b), including, without limitation, any action taken to comply with any request
                    by the Resolution Authority referred to in paragraph (b) above; and




  BD-#32148460-v3                                         188
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 529 of 692


        (d)    any event directly linked to any event as referred to in paragraphs (a), (b) or (c) above.

        Resolution Legislation means any laws, regulations, rules, directives or requirements relating
        to the resolution or recovery of banks, banking group companies, credit institutions or
        investment firms applicable to a relevant Finance Party from time to time, including, without
        limitation, EU Directive 2014/59/EU ("BRRD") and EU Regulation No 806/2014 ("SRM"), both
        as amended from time to time, and any EU directive or regulation issued in replacement of or
        supplement to the same, and any laws, regulations, rules, directives or requirements
        implementing any of the foregoing.

        Resolution Power means any power existing from time to time under any Resolution
        Legislation, including, without limitation, the power to take a crisis prevention measure or a
        crisis management measure such as write-down (a reduction, including, without limitation, to
        zero, in the principal amount or outstanding amount due, including any accrued but unpaid
        interest), conversion, cancellation, amendment or suspension powers existing from time to time,
        or to exercise any corresponding power.


  This Agreement has been entered into on the date stated at the beginning of this Agreement.




  BD-#32148460-v3                                 189
18-13374-mew        Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 530 of 692


                                            Schedule 1
                                        The Original Parties

                                              Part I
                                           The Obligors

  Name of Original Borrowers                    Registration number       Original Jurisdiction
                                                (or equivalent, if any)
  Aegean Marine Petroleum S.A.                  C-76656                   Liberia
  Aegean Petroleum International Inc.           28486                     Marshall Islands
  Aegean NWE N.V.                               BE412.527.142             Belgium
  Aegean Bunkering Germany GmbH                 HRB 16326 KI              Germany
  Obast Bunkering & Trading GmbH                HRB 13560                 Germany



  Name of Original Guarantors                   Registration number       Original Jurisdiction
                                                (or equivalent, if any)
  Kithnos Maritime Inc.                                                      Marshall Islands
  Paros Maritime Inc.                                                        Marshall Islands
  Santorini I Maritime Limited                                                   Cyprus
  SERIFOS MARITIME INC.                                                      Marshall Islands
  Lefkas Marine S.A.                                                             Liberia
  Aegean Bunkering Services Inc.                                             Marshall Islands
  Aegean Shipholdings Inc.                                                   Marshall Islands
  Aegean Breeze Maritime Company                                                 Greece
  Aegean Tiffany Maritime Company                                                Greece
  Ithaki Marine S.A.                                                             Liberia
  Cephallonia Marine S.A.                                                        Liberia
  Kerkyra Marine S.A.                                                            Liberia
  Kythira Marine S.A.                                                            Liberia
  Ios Marine Inc.                                                                Liberia
  Paxoi Marine S.A.                                                              Liberia
  Zakynthos Marine Limited                                                       Cyprus
  Aegean Barges N.V.                                                            Belgium
  Aegean NWE N.V.                               BE412.527.142                   Belgium
  Aegean Bunkering Germany GmbH                 HRB 16326 KI                    Germany
  Obast Bunkering & Trading GmbH                HRB 13560                       Germany
  Sifnos Marine Inc.                                                             Liberia
  Andros Marine Limited                                                          Cyprus
  Dilos Marine Inc.                                                              Liberia
  Ios Shipping Ltd                                                                Malta
  Aegean VII Shipping Ltd                                                         Malta
  Halki Navigation S.A.                                                          Liberia
  Kassos Navigation S.A.                                                         Liberia
  Symi Navigation S.A.                                                           Liberia
  Tilos Shipping (Pte.) Ltd.                                                   Singapore
  Aegean Oil Terminal Corporation                                            Marshall Islands
  Aegean Management Services M.C.                                                Greece
  Kimolos Maritime Inc.                                                      Marshall Islands
  Milos Shipping (Pte.) LTD.                                                   Singapore
  Mykonos I Maritime Limited                                                     Cyprus
  Tinos Marine Inc.                                                              Liberia
  Serifos Shipping (Pte.) Ltd                                                  Singapore
  Aegean Ship XII Maritime Company                                               Greece
  Tempest Shiptrade Ltd.                                                     Marshall Islands



  BD-#32148460-v3                             190
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                         Pg 531 of 692



  Name of Original Guarantors                Registration number         Original Jurisdiction
                                             (or equivalent, if any)
  Amorgos Maritime Inc.                                                     Marshall Islands
  Aegean Marine Petroleum Network Inc.                                      Marshall Islands
  Aegean Petroleum International Inc.                   28486               Marshall Islands
  Tasman Seaways Inc.                                                           Liberia
  Santon Limited                                                                Liberia
  Aegean Ace Maritime Company                                                   Greece
  Aegean Ship III Maritime Company                                              Greece
  Aegean Ship VIII Maritime Company                                             Greece
  Nevado Navigation S.A.                                                        Liberia
  Aegean Tanking S.A                                                            Liberia
  Sealand Navigation Inc.                                                   Marshall Islands
  Benmore Services S.A.                                                         Liberia
  Eton Marine Ltd.                                                              Liberia
  Ingram Enterprises Co.                                                        Liberia
  Aegean Marine Petroleum S.A.                         C-76656                  Liberia
  I.C.S. Petroleum Ltd.                                                        Canada
  Aegean Bunkering (USA) LLC                                                  Delaware
  Aegean Maistros Maritime Company                                              Greece
  Aegean Gas Maritime Company                                                   Greece
  Aegean Bunkering Combustibles Las Palmas
                                                                          Las Palmas (Spain)
  SOCIEDAD ANÓNIMA
  Aegean (Fujairah) Bunkering SA                                            Marshall Islands
  Aegean Agency (Gibraltar) Limited                                              Gibraltar
  Caribbean Renewable Energy Sources Inc.                                 British Virgin Islands
  West Coast Fuel Transport Ltd                                                  Canada
  Aegean Bunkering (Gibraltar) Limited                                           Gibraltar
  Aegean Holdings S.A.                                                      Marshall Islands
  Aegean Bunkering (Jamaica) Limited                                             Jamaica
  AMPN USA, LLC                                                                 Delaware
  Aegean Oil (USA), LLC                                                         Delaware
  I.C.S. Petroleum (Montreal) Ltd.                                               Canada
                                                 46175 (trade registry
  Aegean Bunkering Morocco SARL AU                                              Morocco
                                                 of Tangier, Morocco)
  Aegean Bunkering (Singapore) Pte. Ltd.                                        Singapore
  Aegean Bunkering (Trinidad) Ltd.                                         Trinidad & Tobago
  AMPNI Investments Co. Limited                                                  Cyprus
  AMPNI Holdings Co. Limited                                                     Cyprus
  Maistros RORO Shipholdings Ltd                                                  Malta
  Ostria RORO Shipholdings Ltd                                                    Malta
  Aegean Tankfarms Holdings S.A.                                            Marshall Islands
  Aegean Investments S.A.                                                   Marshall Islands




  BD-#32148460-v3                          191
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18      Main Document
                                         Pg 532 of 692



                                           Part II
                                    The Original Lenders

       Name of                 Facility A     Facility A      Facility B       Facility B
    Original Lender           Tranche 1      Tranche 2       Tranche 1        Tranche 2
                             Commitments    Commitments     Commitments     Commitments ($)
                                  ($)            ($)             ($)
Mercuria Energy Trading
                             200,000,000      200,000,000       []           100,000,000
          S.A.




  BD-#32148460-v3                           192
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 533 of 692


                                              Schedule 2
                                          Conditions precedent

                                              Part I
                             Conditions precedent to initial Utilisation
  For the avoidance of doubt, these Part I conditions precedent applied to the initial Utilisation only and
  the initial Utilisation occurred prior to the Effective Date.

  1     Obligors and parties to security documents

        (a)    A copy of the constitutional documents of each Obligor.

        (b)    If required by the Facility Agent, a copy of a signed resolution of the board of directors of
               each Obligor:

               (i)      approving the terms of, and the transactions contemplated by, the Finance
                        Documents to which it is a party and resolving that it execute, deliver and perform
                        the Finance Documents to which it is a party;

               (ii)     authorising a specified person or persons to execute the Finance Documents to
                        which it is a party on its behalf;

               (iii)    authorising a specified person or persons, on its behalf, to sign and/or despatch all
                        documents and notices (including, if relevant, any Utilisation Request) to be signed
                        and/or despatched by it under or in connection with the Finance Documents to
                        which it is a party; and

               (iv)     in the case of an Obligor other than the Company, authorising the Company to act
                        as its agent in connection with the Finance Documents.

        (c)    A specimen of the signature of each person authorised by the resolution referred to in
               paragraph (b) above in relation to the Finance Documents and related documents.

        (d)    A copy of a resolution signed by all the holders of the issued shares in each Guarantor
               approving the terms of, and the transactions contemplated by, the Finance Documents to
               which that Guarantor is a party.

        (e)    If required, a copy of a resolution of the board of directors of each corporate shareholder
               of each Guarantor approving the terms of the resolution referred to in paragraph (d)
               above.

        (f)    A certificate of each Obligor (signed by a director) confirming that borrowing or
               guaranteeing or securing, as appropriate, the Total Commitments would not cause any
               borrowing, guarantee, security or similar limit binding on it to be exceeded.

        (g)    A certificate of an authorised signatory of the Company or other relevant Obligor
               certifying that each copy document relating to it specified in this Part I of Schedule 2 is
               correct, complete and in full force and effect and has not been amended or superseded
               as at a date no earlier than the date of this Agreement.

        (h)    A certificate of good standing in respect of each of the Parent, the Company and APII.

        (i)    Evidence of the authority of Horizon Tangiers Terminal S.A. to execute the Moroccan
               Pledge.

        (j)    Evidence of the authority of AOTC (as bailee) to execute the UAE Pledges.

        (k)    In respect of Aegean Tanking S.A.:



  BD-#32148460-v3                                  193
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 534 of 692


               (i)      a copy of its constitutional documents;

               (ii)     a copy of a signed resolution of its board of directors:

                        (A)   approving the terms of, and the transactions contemplated by, each South
                              African Pledge to which it is a party and resolving that it execute, deliver and
                              perform each South African Pledge to which it is a party;

                        (B)   authorising a specified person or persons to execute each South African
                              Pledge to which it is a party on its behalf; and

                        (C)   authorising a specified person or persons, on its behalf, to sign and/or
                              despatch all documents and notices to be signed and/or despatched by it
                              under or in connection with each South African Pledge to which it is a party;

               (iii)    a specimen of the signature of each person authorised by the resolution referred to
                        in paragraph (ii) above in relation to each South African Pledge; and

               (iv)     a certificate of good standing.

        (l)    In respect of Aegean Bunkering Marine Services Proprietary Limited:

               (i)      a copy of its constitutional documents;

               (ii)     a copy of a signed resolution of its board of directors:

                        (A)   approving the terms of, and the transactions contemplated by, each South
                              African Pledge to which it is a party and resolving that it execute, deliver and
                              perform the New South African Security Documents to which it is a party;

                        (B)   authorising a specified person or persons to execute each South African
                              Pledge to which it is a party on its behalf; and

                        (C)   authorising a specified person or persons, on its behalf, to sign and/or
                              despatch all documents and notices to be signed and/or despatched by it
                              under or in connection with each South African Pledge to which it is a party;
                              and

               (iii)    a specimen of the signature of each person authorised by the resolution referred to
                        in paragraph (ii) above in relation to each South African Pledge.

  2     Finance Documents

        (a)    This Agreement executed by the Obligors party to this Agreement.

        (b)    The fee letters duly executed by each party.

        (c)    Any Stock Monitoring Agreement or Collateral Management Agreement required
               pursuant to clause 22.15 (Inspection and Management in Sensitive Zones).

        (d)    At least two originals of the documents referred to in paragraphs (a)-(g) of the definition of
               Transaction Security Documents (other than those listed as conditions subsequent in
               clause 24.25 (Conditions subsequent)), duly executed by each party.

        (e)    A copy of all notices required to be sent under the Transaction Security Documents
               referred to in paragraph (d) above, executed by the Borrower, duly acknowledged by the
               addressee to the extent required by the relevant Transaction Security Document.




  BD-#32148460-v3                                   194
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                               Pg 535 of 692


        (f)    Evidence, satisfactory to the Facility Agent, that all steps have been taken in any relevant
               jurisdiction to perfect any Security created by the Transaction Security Documents.

  3     Insurance

        (a)    Copies of all insurances required to be maintained by the Borrowers and the Spanish
               Pledgor in respect of assets included or capable of being included in the Borrowing Base.

        (b)    A letter from WILLIS Limited, 51 Line Street, London EC3M 7DQ, UK, as insurance
               broker, dated no earlier than the date of this Agreement addressed to the Facility Agent,
               the Security Agent and the Lenders listing the insurance policies of the Borrowers and the
               Spanish Pledgor and confirming that they are on risk and that the insurance for
               Borrowers and the Spanish Pledgor at the date of this Agreement are at a level
               acceptable to the Majority Lenders and covering appropriate risks for the business carried
               out by Borrowers and the Spanish Pledgor and otherwise confirming compliance by the
               Borrowers with the insurance requirements of this Agreement including that Security
               Agent and the US DIP Administrative Agent is each named as a co-insured and together
               sole loss payees in respect of such insurance.

  4     Accounts

        A letter from the Account Bank to the Collateral Management Agent, the Security Agent and the
        Facility Agent confirming the opening of each Facility Account and each Collection Account and
        specifying the account name, account number and the name and address of the bank where
        each such account is held.

  5     Legal opinions

        The following legal opinions, each addressed to the Facility Agent, the Security Agent and the
        Original Lenders and capable of being relied upon by any persons who become Lenders
        pursuant to the primary syndication of the Facility.

        (a)    A legal opinion of the following legal advisers to the Facility Agent:

               (i)       Norton Rose Fulbright LLP as to English law;

               (ii)      Norton Rose Fulbright Morocco SARL as to Moroccan law;

               (iii)     Koan as to Belgian law;

               (iv)      Norton Rose Fulbright LLP as to Dutch law;

               (v)       Norton Rose Fulbright (Middle East) LLP as to UAE law;

               (vi)      Norton Rose Fulbright South Africa Inc. as to South African law;

               (vii)     Norton Rose Fulbright US LLP as to Marshall Islands law;

               (viii)    Norton Rose Fulbright US LLP as to Liberian law; and

               (ix)      Norton Rose Fulbright LLP as to German law,

               each substantially in the form distributed to the Original Lenders prior to signing this
               Agreement.

        (b)    If an Obligor is incorporated in a jurisdiction other than those referred to in paragraph (a)
               above, a legal opinion of the legal advisers to the Facility Agent in the relevant
               jurisdiction, substantially in the form distributed to the Original Lenders prior to signing
               this Agreement.



  BD-#32148460-v3                                   195
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                           Pg 536 of 692


  6     Other documents and evidence

        (a)    Evidence that any process agent referred to in clause 44.2 (Service of process), if not an
               Obligor, has accepted its appointment.

        (b)    The Group Structure Chart.

        (c)    A copy, certified by an authorised signatory of the Company to be a true copy, of the
               Original Financial Statements of each Obligor.

        (d)    A letter of engagement with the Finance Parties and Secured Parties from the Auditors of
               the Group which will be providing Compliance Certificates.

        (e)    A copy of any other Authorisation or other document, opinion or assurance which the
               Facility Agent considers to be necessary or desirable (if it has notified the Company
               accordingly) in connection with the entry into and performance of the transactions
               contemplated by any Finance Document or for the validity and enforceability of any
               Finance Document.

        (f)    Evidence that the fees, costs and expenses then due from the Company pursuant to
               clause 14 (Fees), clause 15.5 (Stamp taxes) and clause 19 (Costs and Expenses) have
               been paid or will be paid by the first Utilisation Date.

        (g)    A copy of any waiver required under any existing loan facilities of any Group member in
               connection with the entry into of the Finance Documents.

        (h)    A risk management policy as mandated by management in form and substance
               acceptable to the Lenders.

        (i)    Evidence that each Material Subsidiary has executed this Agreement as a Guarantor and
               that no additional Guarantors are required to accede to this Agreement pursuant to
               clause 29.7 (Additional Guarantors).

        (j)    Evidence that each Finance Party has satisfied its “know-your-customer” requirements in
               connection with the transactions contemplated by this Agreement.

        (k)    An overview of existing security and existing indebtedness, to the extent not refinanced or
               released by the Facilities.

        (l)    Evidence (in the form of deeds of release executed by the beneficiary of the security or
               such other form as the Facility Agent may require acting on the advice of legal counsel)
               that immediately following the making of the Utilisation any existing Security granted by
               any member of the Group in respect of Financial Indebtedness of any Group member
               (other than the Facilities) which relates to assets which may be included in the Borrowing
               Base and secured by the Transaction Security are released in full (including without
               limitation any Security in respect of the assets secured by the Moroccan Pledges and the
               Security Agreement and any floating charges or Security of similar general application in
               any jurisdiction).

        (m)    An overview of existing loans and guarantees.

        (n)    A copy of the Compliance Policy acceptable to the Lenders.

        (o)    A copy of the Group’s hedging policy in the form approved by all Lenders.

        (p)    Address details for all warehouses where Eligible Inventory is located.




  BD-#32148460-v3                                196
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                            Pg 537 of 692



                                       Part II
       Conditions precedent required to be delivered by an Additional Obligor
  1     An Accession Letter, duly executed by the Additional Obligor and the Company.

  2     A copy of the constitutional documents of the Additional Obligor.

  3     Originals of any Transaction Security Documents to be entered into by an Additional Borrower
        as required by the Facility Agent (acting on the instructions of the Majority Lenders) together
        with such legal opinions as the Facility Agent (acting on the instructions of the Majority Lenders)
        shall require in connection therewith.

  4     A copy of a resolution of the board of directors of the Additional Obligor:

        (a)    approving the terms of, and the transactions contemplated by, the Accession Letter and
               the Finance Documents and resolving that it execute the Accession Letter;

        (b)    authorising a specified person or persons to execute the Accession Letter on its behalf;

        (c)    authorising a specified person or persons, on its behalf, to sign and/or despatch all other
               documents and notices (including, in relation to an Additional Borrower, any Utilisation
               Request) to be signed and/or despatched by it under or in connection with the Finance
               Documents; and

        (d)    authorising the Company to act as its agent in connection with the Finance Documents.

  5     A specimen of the signature of each person authorised by the resolution referred to in
        paragraph 4 above.

  6     A copy of a resolution signed by all the holders of the issued shares of the Additional Guarantor,
        approving the terms of, and the transactions contemplated by, the Finance Documents to which
        the Additional Guarantor is a party.

  7     A certificate of the Additional Obligor (signed by a director) confirming that borrowing or
        guaranteeing, as appropriate, the Total Commitments would not cause any borrowing,
        guaranteeing or similar limit binding on it to be exceeded.

  8     A certificate of an authorised signatory of the Additional Obligor certifying that each copy
        document listed in this Part II of Schedule 2 is correct, complete and in full force and effect as at
        a date no earlier than the date of the Accession Letter.

  9     A copy of any other Authorisation or other document, opinion or assurance which the Facility
        Agent considers to be necessary or desirable in connection with the entry into and performance
        of the transactions contemplated by the Accession Letter or for the validity and enforceability of
        any Finance Document.

  10    If available, the latest audited financial statements of the Additional Obligor.

  11    A legal opinion of Norton Rose Fulbright, legal advisers to the Facility Agent in England.

  12    If the Additional Obligor is incorporated in a jurisdiction other than England and Wales, or is
        executing a Finance Document which is governed by a law other than English law, a legal
        opinion of the legal advisers to the Facility Agent in the jurisdiction in which the Additional
        Obligor is incorporated or, as the case may be, the jurisdiction of the governing law of that
        Finance Document.




  BD-#32148460-v3                                 197
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 538 of 692


  13    If the proposed Additional Obligor is incorporated in a jurisdiction other than England and
        Wales, evidence that the process agent specified in clause 44.2 (Service of process), if not an
        Obligor, has accepted its appointment in relation to the proposed Additional Obligor.

  14    Additionally, in respect of a Spanish Obligor:

               (i)      a copy of the excerpt (certificación literal parcial) issued by the relevant
                        Commercial Registry of incorporation of such Spanish Obligor containing the up to
                        date by-laws, the current composition of the management body, evidencing that it
                        is duly incorporated and validly existing and has not been dissolved, liquidated or
                        become subject to an insolvencyproceeding.

               (ii)     a resolution signed by all the holders of the issued shares in it approving the terms
                        of, and the transactions contemplated by, the Finance Documents to which it is a
                        party for the purposes of Article 160f) of the Spanish Companies Act.




                                       Part III
              Conditions precedent required to be delivered in connection
                                with Sensitive Zones


  The Facility Agent shall have entered into a valid Stock Monitoring Agreement (in respect of floating
  storage) and a Collateral Management Agreement (in respect of inland storage) (as applicable) with
  the parties thereto and the relevant Borrowers shall have provided to the Facility Agent such security
  documents and related legal opinions as may be required by, and in a form and substance satisfactory
  to, the Facility Agent (acting on the instructions of all Lenders) in respect of the relevant part of the
  Sensitive Zone.

                                              Part IV
                                Spanish Pledgor conditions precedent
        (b)    A copy of the constitutional documents of the Spanish Pledgor and     a copy of the
               excerpt (certificación literal) issued by the relevant Commercial Registry containing the
               up-to-date bylaws, containing the current composition of the management body,
               evidencing that it is duly incorporated and validly existing and has not been dissolved,
               liquidated or become subject to an insolvency proceeding.

        (c)    If required by the Facility Agent, a copy of a signed resolution of the board of directors of
               the Spanish Pledgor:

               (i)      approving the terms of, and the transactions contemplated by, the Finance
                        Documents to which it is a party and resolving that it execute, deliver and perform
                        the Finance Documents to which it is a party;

               (ii)     authorising a specified person or persons to execute the Finance Documents to
                        which it is a party on its behalf;

               (iii)    authorising a specified person or persons, on its behalf, to sign and/or despatch all
                        documents and notices (including, if relevant, any Utilisation Request) to be signed
                        and/or despatched by it under or in connection with the Finance Documents to
                        which it is a party; and

               (iv)     in the case of an Obligor other than the Company, authorising the Company to act
                        as its agent in connection with the Finance Documents.




  BD-#32148460-v3                                  198
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                           Pg 539 of 692


        (d)    A specimen of the signature of each person authorised by the resolution referred to in
               paragraph (b) above in relation to the Finance Documents and related documents.

        (e)    A copy of a resolution signed by all the holders of the issued shares in the Spanish
               Pledgor, approving the terms of, and the transactions contemplated by, the Finance
               Documents to which the Spanish Pledgor is a party for the purposes of Article 160f) of the
               Spanish Companies Act.

        (f)    A certificate of the Spanish Pledgor (signed by a director) confirming that securing the
               Total Commitments would not cause any borrowing, guarantee, security or similar limit
               binding on it to be exceeded.

        (g)    A certificate of an authorised signatory of the Spanish Pledgor certifying that each copy
               document relating to it specified in this Part IV of Schedule 2 is correct, complete and in
               full force and effect and has not been amended or superseded as at a date no earlier
               than the date of this Agreement.

        (h)    Evidence that any existing Security granted by the Spanish Pledgor which relates to
               assets which may be included in the Borrowing Base and secured by the Transaction
               Security are released in full.




  BD-#32148460-v3                                199
18-13374-mew         Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                               Pg 540 of 692


                                                   Schedule 3
                                              Utilisation Request
                                                         Part A: Loans

  From:         [Aegean Marine Petroleum S.A.] [Borrower]
  To:           ABN AMRO Bank N.V. as Facility Agent
  Copy:         ABN AMRO Bank N.V. as Collateral Management Agent
                [list all issuing banks]

  Dated:

  Dear Sirs

  Aegean Marine Petroleum S.A. Superpriority Secured Debtor-In-Possession Facility Agreement
     dated 30 November 2017 as amended and restated on [] 2018 (the Facility Agreement)

  1       We refer to the Facility Agreement. This is a Utilisation Request. Terms defined in the Facility
          Agreement have the same meaning in this Utilisation Request unless given a different meaning
          in this Utilisation Request.

  2       We wish to make a Utilisation on the following terms:

          (a)   Proposed Utilisation Date:                [         ] (or, if that is not a Business Day, the next
                Business Day)

          (b)   Borrower:            [           ]

          (c)   Facility to be utilised: Facility A

          (d)   Tranche to be utilised: [Tranche 1 / Tranche 2]

          (e)   Amount:       [          ] or, if less, the Available Facility

          (f)   Currency of Loan: [dollars/euro]

          (g)   Interest Period:     [               ]

          (h)   [Term or Expiry Date:        [                ]]

  3       We confirm that:

          (a)   each condition specified [in clause 4.4 (Further conditions precedent in relation to ABGG
                and OBTG) and] clause 4.2 (Further conditions precedent) is satisfied on the date of this
                Utilisation Request; and

          (b)   each of the requirements set out in clauses 5.4(c) - (e) (Currency and amount) are correct
                as at the date of this Utilisation Request and will be correct on the Utilisation Date.

  4       The proceeds of this Loan should be credited to [account].

  5       This Utilisation Request is irrevocable.

                                                         Yours faithfully



                                           …………………………………
                                            authorised signatory for



  BD-#32148460-v3                                             200
18-13374-mew        Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                          Pg 541 of 692


             [the Company on behalf of [insert name of Borrower]]/ [insert name of Borrower]




  BD-#32148460-v3                              201
18-13374-mew          Doc 17         Filed 11/06/18 Entered 11/06/18 07:04:18                          Main Document
                                                 Pg 542 of 692


                                              Part B: Fronted Facilities

  From:          [Aegean Marine Petroleum S.A.] [Borrower]
  To:            [ ] as Issuing Bank

  Copy:          ABN AMRO Bank N.V. as Collateral Management Agent
                 [list all issuing banks]

  Dated:

  Dear Sirs

  Aegean Marine Petroleum S.A. Superpriority Secured Debtor-In-Possession Facility Agreement
     dated 30 November 2017 as amended and restated on [] 2018 (the Facility Agreement)

  1       We refer to the Facility Agreement. This is a Utilisation Request. Terms defined in the Facility
          Agreement have the same meaning in this Utilisation Request unless given a different meaning
          in this Utilisation Request.

  2       We wish to make a Utilisation on the following terms:

          (a)    Proposed Utilisation Date:                     [         ] (or, if that is not a Business Day, the next
                 Business Day)

          (b)    Borrower:             [           ]

          (c)    Facility to be utilised: [Facility B Tranche 1 / Facility B Tranche 2]

          (d)    Proposed Issuing Bank: [                   ]

          (e)    Amount:         [         ] or, if less, the Available Facility

          (f)    [Beneficiary:         [               ]]

          (g)    [Term or Expiry Date:         [                    ]]

          (h)    [Delivery Instructions]

  3       We confirm that:

          (a)    each condition specified [in clause 4.4 (Further conditions precedent in relation to ABGG
                 and OBTG) and] clause 4.2 (Further conditions precedent) and 5.8 (Issue of Credit
                 Instruments) is satisfied on the date of this Utilisation Request; and

          (b)    each of the requirements set out in clauses 5.4(c) - (e) (Currency and amount) are correct
                 as at the date of this Utilisation Request and will be correct on the Utilisation Date.

  4       This Utilisation Request is irrevocable.

                                                            Yours faithfully



                                             …………………………………
                                              authorised signatory for

                [the Company on behalf of [insert name of Borrower]]/ [insert name of Borrower]




  BD-#32148460-v3                                                   202
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 543 of 692


                                               Schedule 4
                                       Form of Transfer Certificate
  To:           ABN AMRO Bank N.V. as Facility Agent

  From:         [The Existing Lender] (the Existing Lender) and [The New Lender] (the New Lender)

  Dated:

  Aegean Marine Petroleum S.A. Superpriority Secured Debtor-In-Possession Facility Agreement
     dated 30 November 2017 as amended and restated on [] 2018 (the Facility Agreement)

  1       We refer to the Facility Agreement. This agreement (the Agreement) shall take effect as a
          Transfer Certificate for the purpose of the Facility Agreement. Terms defined in the Facility
          Agreement have the same meaning in this Agreement unless given a different meaning in this
          Agreement.

  2       We refer to clause 27.5 (Procedure for transfer) of the Facility Agreement:

          (a)      The Existing Lender and the New Lender agree to the Existing Lender transferring to the
                   New Lender by novation and in accordance with clause 27.5 (Procedure for transfer) all
                   of the Existing Lender's rights and obligations under the Facility Agreement and the other
                   Finance Documents which relate to that portion of the Existing Lender's Commitment and
                   participations in Utilisations under the Facility Agreement as specified in the Schedule.

          (b)      The proposed Transfer Date is [         ].

          (c)      The Facility Office and address, email and attention details for notices of the New Lender
                   for the purposes of clause 36.2 (Addresses) are set out in the Schedule.

  3       The New Lender expressly acknowledges the limitations on the Existing Lender's obligations set
          out in paragraph (c) of clause 27.4 (Limitation of responsibility of Existing Lenders).

  4       The New Lender confirms that it [is]/[is not]*** a Parent Affiliate.

  5       This Agreement may be executed in any number of counterparts and this has the same effect
          as if the signatures on the counterparts were on a single copy of this Agreement.

  6       This Agreement and any non-contractual obligations arising out of or in connection with it are
          governed by English law.

  7       This Agreement has been entered into on the date stated at the beginning of this Agreement.

  Note:         The execution of this Transfer Certificate may not transfer a proportionate share of
                the Existing Lender's interest in the Transaction Security in all jurisdictions. It is the
                responsibility of the New Lender to ascertain whether any other documents or other
                formalities are required to perfect a transfer of such a share in the Existing Lender's
                Transaction Security in any jurisdiction and, if so, to arrange for execution of those
                documents and completion of those formalities.




  *** Delete as applicable.



  BD-#32148460-v3                                    203
18-13374-mew          Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 544 of 692


                                             The Schedule
                         Commitment/rights and obligations to be transferred

                                            [insert relevant details]
     [Facility Office address, email and attention details for notices and account details for payments,]

  [Existing Lender]                                 [New Lender]

  By:                                               By:


  This Agreement is accepted as a Transfer Certificate for the purposes of the Facility Agreement by the
  Facility Agent and the Transfer Date is confirmed as [ ].

  [Facility Agent]

  By:




  BD-#32148460-v3                                 204
18-13374-mew            Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 545 of 692


                                             Schedule 5
                                    Form of Assignment Agreement
  To:    ABN AMRO Bank N.V. as Facility Agent and Aegean Marine Petroleum S.A. as the
  Company, for and on behalf of each Obligor

  From:         [the Existing Lender] (the Existing Lender) and [the New Lender] (the New Lender)

  Dated:


  Aegean Marine Petroleum S.A. Superpriority Secured Debtor-In-Possession Facility Agreement
     dated 30 November 2017 as amended and restated on [] 2018 (the Facility Agreement)

  1       We refer to the Facility Agreement. This is an Assignment Agreement. This agreement (the
          Agreement) shall take effect as an Assignment Agreement for the purpose of the Facility
          Agreement. Terms defined in the Facility Agreement have the same meaning in this Agreement
          unless given a different meaning in this Agreement.

  2       We refer to clause 27.6 (Procedure for assignment) of the Facility Agreement:

          (a)      The Existing Lender assigns absolutely to the New Lender all the rights of the Existing
                   Lender under the Facility Agreement, the other Finance Documents and in respect of the
                   Transaction Security which correspond to that portion of the Existing Lender's
                   Commitment and participations in Utilisations under the Facility Agreement as specified in
                   the Schedule.

          (b)      The Existing Lender is released from all the obligations of the Existing Lender which
                   correspond to that portion of the Existing Lender's Commitment and participations in
                   Utilisations under the Facility Agreement specified in the Schedule.

          (c)      The New Lender becomes a Party as a Lender and is bound by obligations equivalent to
                   those from which the Existing Lender is released under paragraph (b) above.

  3       The proposed Transfer Date is [ ].

  4       On the Transfer Date the New Lender becomes Party to the relevant Finance Documents as a
          Lender.

  5       The Facility Office and address, email and attention details for notices of the New Lender for the
          purposes of clause 36.2 (Addresses) are set out in the Schedule.

  6       The New Lender expressly acknowledges the limitations on the Existing Lender's obligations set
          out in paragraph (c) of clause 27.4 (Limitation of responsibility of Existing Lenders).

  7       The New Lender confirms that it [is]/[is not]*** a Parent Affiliate.

  8       This Agreement acts as notice to the Facility Agent (on behalf of each Finance Party) and, upon
          delivery in accordance with clause 27.7 (Copy of Transfer Certificate or Assignment Agreement
          to the Company), to the Company (on behalf of each Obligor) of the assignment referred to in
          this Agreement.

  9       This Agreement may be executed in any number of counterparts and this has the same effect
          as if the signatures on the counterparts were on a single copy of this Agreement.

  10      This Agreement and any non-contractual obligations arising out of or in connection with it are
          governed by English law.


  *** Delete as applicable.



  BD-#32148460-v3                                   205
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                            Pg 546 of 692


  11      This Agreement has been entered into on the date stated at the beginning of this Agreement.

  Note:      The execution of this Assignment Agreement may not transfer a proportionate share
             of the Existing Lender's interest in the Transaction Security in all jurisdictions. It is
             the responsibility of the New Lender to ascertain whether any other documents or
             other formalities are required to perfect a transfer of such a share in the Existing
             Lender's Transaction Security in any jurisdiction and, if so, to arrange for execution of
             those documents and completion of those formalities.




  BD-#32148460-v3                                206
18-13374-mew          Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                              Pg 547 of 692


                                                The Schedule
    Commitment/rights and obligations to be transferred by assignment, release and accession

                                               [insert relevant details]
        [Facility office address, email and attention details for notices and account details for payments]

  [Existing Lender]                                                                       [New Lender]

  By:                                                                                               By:

  This Agreement is accepted as an Assignment Agreement for the purposes of the Facility Agreement
  by the Facility Agent and the Transfer Date is confirmed as [ ].

  Signature of this Agreement by the Facility Agent constitutes confirmation by the Facility Agent of
  receipt of notice of the assignment referred to in this Agreement, which notice the Facility Agent
  receives on behalf of each Finance Party.

  [Facility Agent]

  By:




  BD-#32148460-v3                                   207
18-13374-mew          Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18         Main Document
                                                Pg 548 of 692


                                               Schedule 6
                                      Form of Compliance Certificate



  To:         ABN AMRO Bank N.V. as Facility Agent

  From:       Aegean Marine Petroleum Network Inc.

  Dated:

  Dear Sirs

  Aegean Marine Petroleum S.A. Superpriority Secured Debtor-In-Possession Facility Agreement
  dated 30 November 2017 as amended and restated pursuant to an amendment and restatement
                       agreement dated [] 2018 (the Facility Agreement)

  1       We refer to the Facility Agreement. This is a Compliance Certificate. Terms defined in the
          Facility Agreement have the same meaning when used in this Compliance Certificate unless
          given a different meaning in this Compliance Certificate.

  2       We confirm that:

          [Insert details to be certified].

  3       [We confirm that no Default is continuing.]*

  Signed                ……………………..                        ……………………..
                        Director                          Director
                        of                                Of
                        Aegean Marine Petroleum Network   Aegean Marine Petroleum Network
                        Inc.                              Inc.

  [The Auditors confirm that in making the examination necessary to provide this Compliance Certificate
  no knowledge was obtained of any Default arising from a breach under clause [23] (Budget variance)
  or, if any such Default shall exist, stating the nature and status of such event. *


  ……………………..
  for and on behalf of
  [name of Auditors of Parent]]**

  NOTES:
  *   If this statement cannot be made, the certificate should identify any Default that is continuing
      and the steps, if any, being taken to remedy it.
  **  To be provided only to the extent consistent with accounting industry policies generally followed
      by independent certified public accountants




  BD-#32148460-v3                                  208
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                            Pg 549 of 692


                                                Schedule 7
                                                Timetables

                                                          Utilisations in euro    Utilisations in other
                                                                                  currencies

  Delivery of a duly completed Utilisation Request        U-3                     U-3
  (clause 5.1 (Delivery of a Utilisation Request)) –
                                                          9.30am                  9.30am
  Facility A

  Delivery of a duly completed Utilisation Request        not applicable          not applicable
  (clause 5.1 (Delivery of a Utilisation Request)) –
  Facility B

  Facility Agent determines (in relation to a             U-3                     U-3
  Utilisation) the Base Currency Amount of the
                                                          Noon                    noon
  Loan, if required under clause 5.6 and notifies
  the Lenders of the Loan in accordance with
  clause 5.6 (Role of Facility Agent and Issuing
  Bank)
  Relevant Issuing Bank notifies the Facility B
  Lenders of the Fronted Facility in accordance
  with clause 5.6 (Role of Facility Agent and
  Issuing Bank)

  LIBOR is fixed                                          Quotation Day as of     Quotation Day as of 11:00
                                                          11:00 a.m. in respect   a.m.
                                                          of LIBOR


  "U"                 =     date of utilisation or, if applicable, in the case of a Loan that has already
                            been borrowed, the first day of the relevant Interest Period for that Loan.

  "U - X"             =     X Business Days prior to date of utilisation




  BD-#32148460-v3                                   209
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                            Pg 550 of 692


                                         Schedule 8
                    Forms of Notifiable Debt Purchase Transaction Notice

                                          Part I
          Form of Notice on Entering into Notifiable Debt Purchase Transaction
  To:        ABN AMRO Bank N.V. as Facility Agent

  From:      [The Lender]

  Dated:

  Aegean Marine Petroleum S.A. Superpriority Secured Debtor-In-Possession Facility Agreement
     dated 30 November 2017 as amended and restated on [] 2018 (the Facility Agreement)

  1       We refer to paragraph (b) of clause 28.2 (Disenfranchisement on Debt Purchase Transactions
          entered into by Parent Affiliates) of the Facility Agreement. Terms defined in the Facility
          Agreement have the same meaning in this notice unless given a different meaning in this notice.

  2       We have entered into a Notifiable Debt Purchase Transaction.

  3       The Notifiable Debt Purchase Transaction referred to in paragraph 2 above relates to the
          amount of our Commitment(s) as set out below.

   Commitment                            Amount of our Commitment to which Notifiable Debt
                                         Purchase Transaction relates

   Commitment                            [insert amount (of that Commitment) to which the relevant
                                         Debt Purchase Transaction applies]




  [Lender]

  By:




  BD-#32148460-v3                                210
18-13374-mew             Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                                Pg 551 of 692


                                        Part II
        Form of Notice on Termination of Notifiable Debt Purchase Transaction /
        Notifiable Debt Purchase Transaction ceasing to be with Parent Affiliate
  To:          ABN AMRO Bank N.V. as Facility Agent

  From:        [The Lender]

  Dated:

  Aegean Marine Petroleum S.A. Superpriority Secured Debtor-In-Possession Facility Agreement
     dated 30 November 2017 as amended and restated on [] 2018 (the Facility Agreement)

  1        We refer to paragraph (c) of clause 28.2 (Disenfranchisement on Debt Purchase Transactions
           entered into by Parent Affiliates) of the Facility Agreement. Terms defined in the Facility
           Agreement have the same meaning in this notice unless given a different meaning in this notice.

  2        A Notifiable Debt Purchase Transaction which we entered into and which we notified you of in a
           notice dated [ ] has [terminated]/[ceased to be with a Parent Affiliate].*

  3        The Notifiable Debt Purchase Transaction referred to in paragraph 2 above relates to the
           amount of our Commitment (s) as set out below.

      Commitment                         Amount of our Commitment to which Notifiable Debt
                                         Purchase Transaction relates

      [Commitment                        [insert amount (of that Commitment) to which the relevant
                                         Debt Purchase Transaction applies]




  [Lender]

  By:



                               Registration number
                               (or equivalent, if any)
                                                                                [Any conditions
                               Jurisdiction of             Invoice Buyer/ LC    in relation to that
  Name                         incorporation               Buyer                Buyer]




  *    Delete as applicable.



  BD-#32148460-v3                                    211
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                            Pg 552 of 692


                                            Schedule 9
                                      Form of Accession Letter
  To:   ABN AMRO Bank N.V. as Facility Agent

  From: [Subsidiary] and Aegean Marine Petroleum S.A.

  Dated: []

  Dear Sirs

  Aegean Marine Petroleum S.A. Superpriority Secured Debtor-In-Possession Facility Agreement
        dated 30 November 2017 as amended and restated on [] 2018 (the Agreement)

  1     We refer to the Agreement. This is an Accession Letter. Terms defined in the Agreement have
        the same meaning in this Accession Letter unless given a different meaning in this Accession
        Letter.

  2     [Subsidiary] agrees to become an Additional [Borrower]/[Guarantor] and to be bound by the
        terms of the Agreement as an Additional [Borrower]/[Guarantor] pursuant to clauses [29.2 and 0
        (Additional Borrowers)]/[clauses 29.7 and 29.11 (Additional Guarantors)] of the Agreement.
        [Subsidiary] is a company duly incorporated under the laws of [name of relevant jurisdiction].

  3     [The Company confirms that no Default is continuing or would occur as a result of [Subsidiary]
        becoming an Additional Borrower.]

  4     [Subsidiary's] administrative details are as follows:

        Address:

        Email:

        Attention:

  5     This Accession Letter and any non-contractual obligations arising out of or in connection with it
        are governed by English law.

        This Accession Letter is entered into by deed.



        ………………………….                                     …………………………….

        Aegean Marine Petroleum S.A.                    [Subsidiary]




  BD-#32148460-v3                                 212
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                           Pg 553 of 692


                                          Schedule 10
                                    Form of Resignation Letter
  To:   ABN AMRO Bank N.V. as Facility Agent

  From: [resigning Obligor] and Aegean Marine Petroleum S.A.

  Dated: []

  Dear Sirs

  Aegean Marine Petroleum S.A. Superpriority Secured Debtor-In-Possession Facility Agreement
        dated 30 November 2017 as amended and restated on [] 2018 (the Agreement)

  1     We refer to the Agreement. This is a Resignation Letter. Terms defined in the Agreement have
        the same meaning in this Resignation Letter unless given a different meaning in this
        Resignation Letter.

  2     Pursuant to [clauses 29.4 and 29.5 (Resignation of a Borrower)]/[clauses 29.12 and 29.13
        (Resignation of a Guarantor)], we request that [resigning Obligor] be released from its
        obligations as a [Borrower]/[Guarantor] under the Agreement.

  3     We confirm that[:

        (a)    no Default is continuing or would result from the acceptance of this request; and

        (b)    no payment is due from us under the Finance Documents;

        (c)    [where Guarantor is also a Borrower:] we have no actual or contingent obligations as a
               Borrower under any Finance Document.

  4     This Resignation Letter and any non-contractual obligations arising out of or in connection with
        it are governed by English law.



        ……………………………                                    ……………………….

        Aegean Marine Petroleum S.A.                   [Subsidiary]

        By:                                            By:




  BD-#32148460-v3                                213
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 554 of 692


                                            Schedule 11
                                       Borrowing Base Amount
  1     Borrowing Base

        (a)    The Borrowing Base shall be calculated by

               (i) multiplying the Borrowing Base Items by the Advance Rate applicable to each specific
               Borrowing Base Item set out below; and

               (ii) deducting 85% of trade payables to suppliers based on open credit:

                             Borrowing Base Items                              Advance Rate

                Secured Cash                                                        100%

                Hedging Credit Balances                                             80%

                Tier 1 Eligible Receivables                                         100%

                Tier 2 Eligible Receivables                                         95%

                Tier 3 Eligible Receivables                                         85%

                Tier 1 Eligible Inventory                                           90%

                Tier 2 Eligible Inventory                                           85%

                Tier 3 Eligible Inventory                                           85%

                Non-Performed Letters of Credit                                     85%



               ; and

               (iii) and, without duplication of any other Availability Reserve of other eligibility criteria,
               deducting any Availability Reserve.

        provided that:

               (i)     all such assets referred to above will only be included in the calculation of the
                       Borrowing Base Amount if such assets (and any insurances or other rights in
                       relation thereto) are:

                       (A)    held by a Borrower or, in the case of assets secured by the Spanish
                              Pledges, by a Spanish Pledgor with unencumbered title;

                       (B)    not subject to any dispute, litigation, arbitration proceedings or threatened
                              litigation or arbitration proceedings;

                       (C)    (save as expressly contemplated to the contrary in this Schedule 12
                              (Borrowing Base Amount)) subject to a fully-perfected charge, pledge or
                              other Security granted on a first-ranking basis in favour of the Security Agent
                              in accordance with the terms of this Agreement and the Transaction Security
                              Documents and not otherwise subject to any set-off or Security rights in
                              favour of any party other than the Security Agent;




  BD-#32148460-v3                                  214
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                              Pg 555 of 692


                        (D)   in respect of inventory located in the Sensitive Zone, the subject of a Stock
                              Monitoring Agreement (for floating storage) or a Collateral Management
                              Agreement (for inland storage);

               (ii)     no asset shall be eligible for inclusion in the calculation of the Borrowing Base
                        Amount if such asset does not otherwise comply with the eligibility conditions set
                        out in this Agreement;

               (iii)    no asset shall be eligible for inclusion in more than one category of the same
                        Borrowing Base Report;

               (iv)     promptly following receipt of each Borrowing Base Report required to be delivered
                        under this Agreement, if the Majority Lenders agree on the amount of the
                        Borrowing Base, such Majority Lenders shall notify the Facility Agent in writing of
                        such amount. If following receipt of a Borrowing Base Report required to be
                        delivered hereunder, there is not agreement among the Majority Lenders regarding
                        the amount of the Borrowing Base, the Majority Lenders shall notify the Facility
                        Agent in writing that the Borrowing Base is an amount equal to the weighted
                        average (based on Commitment amount) of the amounts determined by each
                        Lender for the Borrowing Base; and

               (v)      notwithstanding any other provision of this Agreement, in the event the Facility
                        Agent (acting on the instructions of the Majority Lenders) imposes any changes to
                        the Borrowing Base Items or Availability Reserves as a result of changing or
                        reducing credit limits imposed on any account debtor, such changes (i) shall be
                        effective two (2) Business Days following written notice thereof to the Borrower (it
                        being agreed any Eligible Receivables created after such notice in excess thereof,
                        may be excluded from the Borrowing Base) and (ii) shall not apply to any Eligible
                        Receivables in existence as of the date of imposition of such change.

  2     Reserves

        Notwithstanding any other provision of this Agreement, the Facility Agent (on the instructions of
        the Majority Lenders) may at any time and from time to time after two (2) Business Days’ prior
        written notice, establish and increase or decrease the Availability Reserve in the exercise of its
        Permitted Discretion. The Availability Reserve shall not duplicate eligibility criteria contained in
        the definition of Tier 1 Eligible Receivables or Tier 1 Eligible Receivables.

  3     Definitions

        Terms used in this Schedule 11 (Borrowing Base Amount) have the following meanings:

        Advance Rate means each rate referred to in the second column of the table set out in
        paragraph 1(a) (Borrowing Base) above

        Approved Barge Territory means Gibraltar and any other jurisdiction as may be approved in
        writing by the Facility Agent (acting on the instructions of Majority Lenders) to the Company
        from time to time

        Availability Reserve means reserves in such amounts as the Facility Agent in its Permitted
        Discretion, upon the written instruction of the Majority Lenders in the exercise of such Permitted
        Discretion, and with two (2) Business Day’s prior written notice to the Borrower (and the Facility
        Agent (acting on the instructions of the Majority Lenders) shall be available to discuss any such
        reserves with the Borrower), may elect to impose from time to time as being appropriate to (i)
        reflect the impediments to the Facility Agent’s ability to realize upon the Transaction Security,
        (ii) to reflect claims and liabilities, including liens and claims that may have (or may appear to
        have hereafter) priority over that of the Finance Parties, that the Facility Agent determines will
        need to be satisfied in connection with the realization upon the Transaction Security, (iii) reflect
        the risk that a jurisdiction outside the United States does not give extraterritorial application of
        orders of the Bankruptcy Court, including (without limitation) with respect to perfection or priority



  BD-#32148460-v3                                  215
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 556 of 692


        of Security on assets in the Borrowing Base established by order thereof, or (iv) to reflect
        criteria, events, conditions, contingencies or risks which adversely affect any component of the
        Borrowing Base, the Transaction Security, the creation, perfection or priority of Security over
        Borrowing Base assets (or proceeds thereof), or the validity or enforceability of the Finance
        Documents or any remedies of the Secured Parties hereunder or thereunder, including (without
        limitation) matters related to the quality of inventory, rents and costs, taxes, senior obligations
        and other matters related to the calculation of the Borrowing Base

        Borrowing Base Item means each item referred to in the first column of the table set out in
        paragraph 1(a) (Borrowing Base) above

        Credit Insurance means credit insurance taken out with an insurer or insurers which has a
        rating for its long-term unsecured and non-credit-enhanced debt obligations of BBB- or higher
        by Standard & Poor's Rating Services or Fitch Ratings Ltd or Baa3 or higher by Moody's
        Investors Service Limited or a comparable rating from an internationally recognised credit rating
        agency

        Eligible Inventory means inventory representing a marked to market value (based on West
        Med FOB/CIF prices in Argus, Platts or any other pricing acceptable to the Lenders) up to a
        maximum amount before applying the Advance Rate of:

        (a)    $100,000,000 per location; and

        (b)    $350,000,000 in total,

        or any other maximum amount from time to time notified by the Facility Agent (acting on the
        instructions of the Majority Lenders) to the Company

        Eligible Receivables means trade receivables (excluding receivables owing from another
        member of the Group) which are governed by English, Greek or Belgian law (or any other
        governing law approved by the Facility Agent) and are payable into a Collection Account
        representing:

        (a)    a nominal face value owing to the Borrowers up to a maximum amount before applying
               the Advance Rate per counterpart of $20,000,000, other than trade receivables in relation
               to:

               (A) such entities notified by the Facility Agent (acting on the instructions of the Majority
               Lenders) to the Company from time to time at such limits applicable to those entities as
               the Facility Agent (acting on the instructions of the Majority Lenders) may in its sole
               discretion apply; and

               (B) Majors, for which the maximum amount in aggregate for a Listed Oil Major, its wholly-
               owned Subsidiaries and its Subsidiaries which are not wholly-owned but the obligations in
               respect of which are guaranteed by a parent company guarantee from such Listed Oil
               Major, shall be $40,000,000; and

        (b)    a maximum tenor of:

               (i)     if non-invoiced, invoices must be dispatched within five (5) Business Days of the
                       physical delivery date; or

               (ii)    if invoiced, sixty (60) days (such tenor being made up as follows: payment terms
                       within forty five (45) days of the date of invoice (Due Date), with a grace period of
                       no more than fifteen (15) days from the Due Date),

        or any other maximum amount and maximum tenor from time to time notified by the Facility
        Agent (acting on the instructions of the Majority Lenders) to the Company




  BD-#32148460-v3                                 216
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                             Pg 557 of 692


        Hedge Account means an account held by the Company with a Hedging Provider or a Clearing
        Provider for the purpose of financing margin calls (and collecting margin returns and settlement
        amounts) and which is subject to the Transaction Security.

        Hedging Credit Balances means any sum of cash (being in respect of margin calls) standing
        to the credit of a Hedge Account as an amount that is returnable after unwinding of, and
        payment of all amounts due from the Company under, Hedging Agreements.

        Inventory in Transit mean inventory on board vessels:

        (a)    for which bills of lading (comprising documents of title) are issued and endorsed in favour
               of (and in the possession of) the Security Agent and

               (i)     are in the possession of the Security Agent; or

               (ii)    have been deposited with a reputable international courier for delivery to the
                       Security Agent (and the Security Agent has been provided with evidence
                       satisfactory to it of the same); and

        (b)    for a maximum tenor of forty-five (45) days from the bill of lading date for which original
               bills of lading are issued or endorsed in favour of the Security Agent.

        Listed Oil Major means:

        (a)    BP p.l.c.;

        (b)    Chevron Corporation;

        (c)    ConocoPhillips Co.;

        (d)    ExxonMobil Corporation;

        (e)    Royal Dutch Shell plc; and

        (f)    Total S.A.

        Major means:

        (a)    a Listed Oil Major;

        (b)    a Listed Oil Major’s wholly-owned Subsidiaries;

        (c)    any Subsidiaries of a Listed Oil Major that is not a wholly-owned Subsidiary but the
               obligations in respect of which are guaranteed by a parent company guarantee from such
               Listed Oil Major; and/or

        (d)    any other debtor approved by the Facility Agent acting on the instructions of the Majority
               Lenders,

        provided that the Facility Agent (acting on the instructions of the Majority Lenders) may from
        time to time by three Business Days’ notice to the Company exclude any such debtor

        Non-Performed Letters of Credit means a Credit Instrument in the form of a documentary or
        standby letter of credit in respect of which the relevant underlying physical transaction relating
        to the sale and purchase of oil products is yet to occur

        Permitted Discretion means a determination made by the Majority Lenders in good faith and in
        the exercise of reasonable (from the prospective of a secured asset-based lender) business
        judgment exercised in accordance with its customary practices in asset-based credit facilities



  BD-#32148460-v3                                 217
18-13374-mew           Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                              Pg 558 of 692


        Secured Cash means cash funds deposited in a Collection Account

        Tier 1 Eligible Receivables means:

        (a)    VAT refund claims (Steuervergütungsansprüche) against the competent tax authority
               (zuständige Finanzbehörde) in the Federal Republic of Germany; and

        (b)    invoiced Eligible Receivables:

               (i)      covered by a letter of credit issued or confirmed by an Acceptable Bank; or

               (ii)     on open account for Majors; or

               (iii)    meeting any other criteria from time to time notified by the Facility Agent (acting on
                        the instructions of the Majority Lenders) to the Company with at least two (2)
                        Business Days prior written notice to the Borrowers (and during such time the
                        Facility Agent (acting on the instructions of the Majority Lenders) shall be available
                        to discuss such changes)

        Tier 2 Eligible Receivables means invoiced Eligible Receivables on open account for non-
        Majors or meeting any other criteria from time to time notified by the Facility Agent (acting on
        the instructions of the Majority Lenders) to the Company

        Tier 3 Eligible Receivables means non-invoiced Eligible Receivables up to a maximum
        amount before applying the Advance Rate of $90,000,000 in total or any other amount from
        time to time notified by the Facility Agent (acting on the instructions of the Majority Lenders) to
        the Company

        Tier 1 Eligible Inventory means Eligible Inventory:

        (a)    located in an OECD country;

        (b)    subject to perfected Security in favour of the Security Agent; and

        (c)    excluding floating inventory; or

        (d)    meeting any other criteria from time to time notified by the Facility Agent (acting on the
               instructions of the Majority Lenders) to the Company with at least two (2) Business Days
               prior written notice to the Borrowers (and during such time the Facility Agent (acting on
               the instructions of the Majority Lenders) shall be available to discuss such changes)

        Tier 2 Eligible Inventory means:

        (a)    Eligible Inventory other than Tier 1 Eligible Inventory which is:

               (i)      onshore, subject to perfected Security in favour of the Security Agent;

               (ii)     Inventory in Transit (excluding inventory on barges);

               (iii)    secured floating inventory (excluding inventory on barges) for which bills of lading
                        (comprising documents of title) are issued or endorsed in favour of (and in the
                        possession of) the Security Agent;

               (iv)     inventory on barges if located in territorial waters of an Approved Barge Territory;

               (v)      inventory on barges where such inventory is secured under a German Security
                        Transfer Agreement prior to loading onto such barge and where such barge has
                        remained in German territorial waters or international waters and has not entered
                        the territory of any other jurisdiction;



  BD-#32148460-v3                                   218
18-13374-mew             Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                               Pg 559 of 692


                 (vi)     inventory on barges where such inventory is secured under a South African Pledge
                          and located on a barge which is the subject of a South African Pledge where such
                          barge has remained in South African territorial waters; or

                 (vii)    inventory on barges where such barges remain at all times in international waters;
                          and

          (b)    Eligible Inventory which is subject to a perfected South African Pledge and provided that
                 the floating storage in relation to the South African Pledge is located within South African
                 territorial waters; or

          (c)    meets any other criteria from time to time notified by the Facility Agent (acting on the
                 instructions of the Majority Lenders) to the Company,

          and in aggregate up to a maximum amount before applying the Advance Rate of $25,000,000 in
          total or any other amount from time to time notified by the Facility Agent (acting on the
          instructions of the Majority Lenders) to the Company

          Tier 3 Eligible Inventory means Eligible Inventory:

          (a)    other than Tier 2 Eligible Inventory;

          (b)    including unsecured floating inventory for which bills of lading are not issued or endorsed
                 in favour of the Security Agent; and

          (c)    up to a maximum amount before applying the Advance Rate of $30,000,000 in total or
                 any other amount from time to time notified by the Facility Agent (acting on the
                 instructions of the Majority Lenders) to the Company; or

          (d)    meeting any other criteria from time to time notified by the Facility Agent (acting on the
                 instructions of the Majority Lenders) to the Company

  Inventory locations

  For the purposes of this Schedule 11 (and without prejudice to any of the foregoing):

  (a) where inventory is located in a particular jurisdiction or in its territorial waters, it shall only be
  considered capable of being “secured” (ie capable of being included in the Borrowing Base, subject to
  the other conditions for inclusion in respect thereof) if it is located in one of the following jurisdictions
  or any other jurisdiction as may be approved in writing by the Facility Agent (acting on the instructions
  of the Majority Lenders) to the Company from time to time; and

  (b)   in relation to any such jurisdiction the permitted locations/barges, conditions and limits set out
  below shall apply,

  and each Borrowing Base Report shall include all relevant details identifying such jurisdictions and
  conditions. Where permitted locations or barges are identified, the same may be amended or
  supplemented from time to time at the request of the Company and subject to the prior written consent
  of the Facility Agent (acting on the instructions of the Majority Lenders)

  Jurisdiction      Permitted Location                       Permitted Barges              Other      specific
                                                                                           conditions     for
                                                                                           inclusion in the
                                                                                           Borrowing Base

  Spain             Subject to clause 24.25 (Conditions Subsequent)

  Germany           Midgardstraße    50,     26954           Not limited to specific       Subject to clause
                    Nordenham, Germany with Rhenus           barges     (subject  to       24.25 (Conditions



  BD-#32148460-v3                                   219
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 560 of 692


                    Midgard GmbH & Co. KG                    paragraph (a) (v) of the       Subsequent)
                                                             definition of “Tier 2
                    Alter Rethedamm 2, 21107 Hamburg,        Eligible Inventory”)
                    Germany     with   Vopak   Dupeg
                    Terminal Hamburg GmbH

                    Uferstraße 48, 24106 Kiel, Germany
                    with UTG Unabhängige Tanklogistik
                    GmbH (from 1 January 2018)

  Morocco           Horizon Terminals Tangiers facility      n/a                            n/a
                    located in Tanger Med Port,
                    Morocco: Free Zone, Ksar Majed,
                    Tanger Med, Tanger 90000, Morocco

  UAE               Each tank identified in Schedule 1       n/a                            n/a
                    (Initial Pledged Assets) of each UAE
                    Pledge and or, following the date
                    hereof, such tank or tanks as is or
                    are identified in any Holding
                    Certificate,    Additional    Pledged
                    Assets Notice or Transfer Certificate,
                    as relevant (each as defined in the
                    UAE Pledges), and in each case
                    forming part of the Aegean Oil
                    Terminal located in the Fujairah Free
                    Zone (FOIZ), Al Sudah, PO BOX
                    2688, Emirate of Fujairah, UAE

  South Africa      FLOATING STORAGE UNIT "MT                Subject to paragraph (a)       Subject to clause
                    UMNENGA I" which is the subject of       (vi) of the definition of      24.25 (Conditions
                    a South African Pledge, whilst in        “Tier 2 Eligible Inventory”    Subsequent)
                    South African territorial waters         – which is limited to
                                                             specific barges identified
                                                             in the security.

  Gibraltar         n/a                                      Not limited    to   specific   n/a
                                                             barges.




  BD-#32148460-v3                                  220
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 561 of 692


                                       Schedule 12
                              Form of Borrowing Base Report




  BD-#32148460-v3                         221
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 562 of 692




  BD-#32148460-v3                         222
18-13374-mew        Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                             Pg 563 of 692


                                             Schedule 13
                                          Approved Suppliers


  BP p.l.c. and its wholly-owned subsidiaries (directly or indirectly)

  Royal Dutch Shell plc and its wholly-owned subsidiaries (directly or indirectly)

  Glencore PLC and its wholly-owned subsidiaries (directly or indirectly)

  Mercuria Energy Group Ltd and its wholly-owned subsidiaries (directly or indirectly)

  Trafigura Beheer BV and its wholly-owned subsidiaries (directly or indirectly)

  Vitol Holding B.V. and its wholly-owned subsidiaries (directly or indirectly)




  BD-#32148460-v3                                  223
18-13374-mew        Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 564 of 692


                                        Schedule 14
                              Permitted Financial Indebtedness


  1. Trade Receivables Purchase Agreement, dated as of March 30, 2016, among Aegean Bunkering
     (USA) LLC, a Delaware limited liability company, as seller, Deutsche Bank AG, New York Branch,
     as a purchaser and documentation agent and Deutsche Bank Trust Company Americas, as a
     purchaser, in the amount of $31,000,000.

  2. Amended and Restated Trade Receivables Purchase Agreement, dated as of November 13,
     2015, among Aegean Marine Petroleum S.A., a corporation organized under the laws of Liberia,
     as seller, Deutsche Bank AG, New York Branch, as a purchaser and documentation agent and
     Deutsche Bank Trust Company Americas, as a purchaser, as further amended and restated on
     November 14, 2016 and November 14, 2017 in the amount of $40,000,000.

  3. Indenture, dated as of December 19, 2016, among Aegean Marine Petroleum Network Inc., a
     corporation organized under the laws of the Marshall Islands, as issuer, and U.S. Bank National
     Association, as trustee, in the amount of $172,500,000.

  4. Senior Indenture, dated as of October 23, 2013, among Aegean Marine Petroleum Network Inc., a
     corporation organized under the laws of the Marshall Islands, as issuer, and Deutsche Bank Trust
     Company Americas, as trustee, in the amount of $132,050,000.

  5. 2005 Newbuilding Secured Syndicated Term Loan, dated as of October 1, 2006, by and among
     Kithnos Maritime Inc., Lefkas Marine S.A., Paros Maritime Inc., Santorini Maritime Limited, and
     Serifos Shipping (Pte.) Ltd, as Borrowers, Aegean Bunkering Services Inc., Aegean Marine
     Petroleum Network Inc., Aegean Shipholding Inc. and Tempest Shiptrade Ltd., as Guarantors,
     HSH Nordbank AG, and Aegean Baltic Bank S.A , as Lenders, and Aegean Baltic Bank S.A., as
     Agent, in the amount of $35,500,000.

  6. 2006 Newbuilding Secured Term Loan, dated as of October 1, 2006, by and among Kerkyra
     Marine S.A., Ithaki Marine S.A., Cephallonia Marine S.A., Paxoi Marine S.A., Zakynthos Marine
     S.A., Kythira Marine S.A. and Lefkas Shipping (PTE.) LTD., as Borrowers, Aegean Marine
     Petroleum Network Inc., Aegean Shipholdings Inc., Aegean Breeze Maritime Company and
     Aegean Tiffany Maritime Company, as Guarantors, HSH Nordbank AG, and Aegean Baltic Bank
     S.A , as Lenders, and Aegean Baltic Bank S.A., as Agent, in the amount of $64,750,000.

  7. Second 2006 Newbuilding Secured Term Loan, dated as of October 27, 2006, by and among
     Tasman Seaways Inc., Santon Limited, as Borrowers, Aegean Marine Petroleum Network Inc.,
     Aegean Bunkering Services Inc., as Guarantors, and National Bank of Greece S.A., as Lender
     and Agent, in the amount of $17,600,000.

  8. Third 2006 Newbuilding Secured Term Loan, dated as of October 27, 2006, by and among Eton
     Marine LTD., Benmore Services S.A. and Ingram Enterprises Co., as Borrowers, Aegean
     Shipholdings Inc. and Aegean Marine Petroleum Network Inc., as Guarantors, HSH Nordbank AG,
     and Aegean Baltic Bank S.A., as Lenders, and Aegean Baltic Bank S.A., as Agent, in the amount
     of $26,250,000.

  9. 2007 Newbuilding Secured Term Loan, dated as of July 5, 2007, by and among Andros Marine
     Limited, Dilos Marine Inc., Aegean VII Shipping Ltd, Ios Shipping Ltd and Sifnos Marine Inc., as
     Borrowers, Aegean Marine Petroleum Network Inc., as Guarantor, and Orix Investment and
     Management Private Ltd. (successor to The Royal Bank of Scotland) as Lender and Agent, in the
     amount of $37,560,000.

  10. 2008 Newbuilding Secured Term Loan, dated as of April 24, 2008, by and among Kassos
      Navigation S.A., Symi Navigation S.A., Halki Navigation S.A. and Tilos Shipping (PTE.) LTD., as
      Borrowers, Aegean Marine Petroleum Network Inc. and Aegean Shipholdings Inc., as Guarantors,
      HSH Nordbank AG, and Aegean Baltic Bank S.A , as Lenders, and Aegean Baltic Bank S.A., as
      Agent, in the amount of $38,800,000.



  BD-#32148460-v3                             224
18-13374-mew        Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 565 of 692


  11. 2017 Secured Term Loan, dated as of November 30, 2017 Aegean Bunkering Services Inc., as
      Borrower, Amorgos Maritime Inc., Kimolos Maritime Inc., Milos Shipping (Pte.) Ltd., Mykonos I
      Maritime Limited, Tinos Marine Inc. and Aegean Marine Petroleum Network Inc., as Guarantors,
      and Piraeus Bank S.A., as Lender and Agent, in the amount of $15,000,000.

  12. 2015 Fujairah Credit Facility, dated as of October 7, 2015, by and among Aegean Oil Terminal
      Corporation, as Borrower, Aegean Marine Petroleum Network Inc., as Guarantor, United Arab
      Bank P.J.S.C., Abu Dhabi Commercial Bank P.J.S.C., Commercial Bank of Dubai psc and
      National Bank of Oman S.A.O.G., Dubai Branch, as Lenders, and United Arab Bank P.J.S.C., as
      Agent, in the amount of $440,000,000.

  13. 2017 South Africa Credit Facility, dated as of November 20, 2017 by and among Aegean
      Bunkering Services Inc. and Nevado Navigation S.A., as Borrowers, Aegean Ship III Maritime
      Company, Aegean Ship VIII Maritime Company, Aegean Ace Maritime Company, Aegean Tanking
      S.A., Aegean Marine Petroleum Network Inc. and Aegean Management Services M.C., as
      Guarantors, Piraeus Bank S.A., as Lender and Agent, in the amount of $12,500,000.

  14. Loan Agreement, dated as of September 7, 2018, by and among Aegean Marine Petroleum S.A.,
      Aegean Marine Petroleum Network Inc., I.C.S. Petroleum Limited and Mercuria Energy Trading
      S.A, in the amount of $5,000,000.

  15. Letter of Credit, dated as of October 16, 2018, in the amount of $5,000,000 issued by Sumitomo
      Mitsui Banking Corporation with Aegean Bunkering (USA) LLC as the beneficiary and Toyota
      Tsusho Petroleum PTE. LTD as applicant.

  16. Letter of Credit, dated as of October 30, 2008, in the amount of $2,000,000 issued by Sumitomo
      Mitsui Banking Corporation with Aegean Marine Petroleum SA as the beneficiary and Toyota
      Tsusho Petroleum PTE. LTD as applicant with an expiration date of January 29, 2019.

  17. Letter of Guarantee, dated as of January 12, 2018, in the amount of €3,000,000 with Aegean
      Bunkering Germany as the beneficiary and an expiration date of January 31, 2019.

  18. Letter of Guarantee, dated as January 12, 2018, in the amount of €3,000,000 with Obast
      Bunkering & Trading GMBH as the beneficiary and an expiration date of January 31, 2019.

  19. Letter of Credit, dated as December 28, 2017, in the amount of $2,580,000 with Obast Bunkering
      & Trading GMBH as the beneficiary and an expiration date of February 7, 2019.

  20. Letter of Credit, dated as June 26, 2018, in the amount of $4,000,000 with Aegean Marine
      Petroleum as the beneficiary and an expiration date of January 31, 2019.

  21. Letter of Credit, dated as October 25, 2018, in the amount of $1,223,200 with Aegean Marine
      Petroleum as the beneficiary and an expiration date of November 30, 2018.

  22. Letter of Credit, dated as August 27, 2018, in the amount of $7,920,000 with Aegean North West
      Europe NV as the beneficiary and an expiration date of December 18, 2018.

  23. Letter of Credit, dated as August 30, 2018, in the amount of $1,815,000 with Aegean North West
      Europe NV as the beneficiary and an expiration date of January 31, 2019.

  24. Letter of Credit, dated as of November [1], 2018, issued by ABN AMRO Capital in the amount of
      $803,000 with PBF Holding Company LLC as the beneficiary and Aegean Bunkering (USA) LLC
      as the applicant with an expiration date of November 29, 2018.




  BD-#32148460-v3                             225
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                            Pg 566 of 692


                                       Schedule 15
                       Form of New Lender Spanish Power of Attorney




                                          POWER OF ATTORNEY

  APPEARS

  Mr., [] as stated by the appearing party, acting in the name and on behalf [], an entity incorporated
  under the laws of [], having its registered office in [] registered and filed before [] (hereinafter, the
  “Grantor”).

  GRANTS

  Grantor grants a Power of Attorney (hereinafter referred as the “Power of Attorney”), as wide as
  sufficient in law might be necessary, in favour of ABN AMRO Bank N.V., a public company with
  limited liability duly organised and existing under the laws of the Netherlands having its registered
  office in Amsterdam at [at Gustav Mahlerlaan 10, 1082 PP] and registered at the Chamber of
  Commerce with number 34334259, that may act through its own attorneys (hereinafter, the “Attorney”
  or the “Security Agent”) so that acting jointly and severally as, with its sole signature, any time, in
  connection with the financing executed between, among others, ABN AMRO Bank N.V.as security
  agent, ABN AMRO Bank N.V.as facility agent, and lender (“Facility Agent” and “Lender”), Aegean
  Marine Petroleum S.A., Aegean Petroleum International Inc., Aegean NWE N.V., Aegean Bunkering
  Germany GmbH and Obast Bunkering & Trading GmbH as borrower (the “Borrowers”), the Borrowers
  and Aegean Marine Petroleum Network Inc. as guarantors (the “Guarantors” and jointly with the
  Borrower, the “Obligors”) for an amount up to [] (the “Facility Agreement”), in the name and on
  behalf of the Grantor may perform any of the following authorities, even if entering in self-contracting
  (auto-contratación), multiple representation or conflict of interests and including expressly the authority
  of substitution:

  1. Ratify and formalise the Facility Agreement as a Spanish notarial document.

  2. Sign, grant, ratify and/or execute as Spanish notarial document, in the terms and conditions that
     the Attorney may deem appropriate, a non-possessory pledge over non-fixed assets (including but
     not limited to stocks, chattels, inventory and raw materials) in favour of the Grantor as lender
     under the Facility Agreement, and accept the creation of any such pledge in the name and on
     behalf of the Grantor.

  3. Sign, grant, ratify and/or execute as Spanish notarial document, in the terms and conditions that
     the Attorney may deem appropriate, one or several assignment agreements to be entered into
     with any third party (either as assignor or assignee) in relation with the Facility Agreement and the
     Non-Possesory pledge referred to in the preceding paragraphs.

  4. Sign, grant, ratify and/or execute as Spanish notarial document, any agreement or document for
     the amendment, rectification or clarification of any of the documents referred to above.

  5. Appear and file any private and/or notarial documents before any private or public entity, as well
     as Public Registry, public administration, registries, consulates or tax administration, for its
     recording or validation (including its novation, assignments and amendments), and file and/or pay
     any tax or registry fees related to the granting, formalisation, execution, and registration of the
     documents and/or agreements described in the above paragraphs.

  6. Act, appear before and disclose information to any authority or body of the Spanish or foreign
     public administration, state, provincial, municipal or regional agency, court of justice or any other
     public body of a civil, criminal, administrative or labour nature, to obtain all manner of permits or
     licenses and to make all such notifications as may be required by the applicable legislation



  BD-#32148460-v3                                  226
18-13374-mew        Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 567 of 692


      concerning the transactions included in the documents referred to above, and, in particular, but
      not limited to, the Bank of Spain (“Banco de España”) and the Spanish Revenue (“Agencia Estatal
      de la Administración Tributaria”) or any tax authorities, in order to execute, deliver and file, in the
      name and on behalf of Grantor, any document, statement, payment, application or official forms
      (including those of a tax nature) that may be necessary or advisable for the fulfilment of, or in
      connection with, any of the transactions, actions, faculties, agreements or documents foreseen in
      this power and any other ancillary measures required for the full and complete fulfilment of the
      powers hereby granted (including the granting of the final shareholder statement).

  7. In order to obtain and/or renew the Foreign Identification Number (“Número de Identificación de
     Extranjero”), carry out before the Spanish Revenue or any other institutions, as many actions
     which may be deemed necessary or convenient to obtain it, and for these effects sign any
     documents or forms needed, and in special fulfil the 036 form and designate the Grantor’s address
     in Spain, sign and execute all documents, either notarial or private, that may be deemed
     necessary or convenient for this purpose and appear before the Spanish Revenue or any other
     institutions, trustees or any others.

  8. Enforce any personal guarantee, right “in rem” security as well as any undertakings to grant any
     personal guarantee or right “in rem” security granted in favour of the Grantor as security for the
     Facility Agreement, including but not limited to, any actions that they may deem necessary for the
     purposes of enforcement, such as making and submitting demands for payment, claims, notices,
     liquidations, announcements, issuing certifications, requesting certified first copies of documents
     (notarial or otherwise), appointing counsel and court-attorneys, initiating auctions and any type of
     enforcement action (in court or out of court) and appearing before any relevant notary public or
     court of jurisdiction.

  9. Appear before any courts, appellate courts and other ordinary or special courts, at any instance
     and in any order of jurisdiction, and before any other authority, judges, public prosecutor’s office,
     notary’s office, public registry, tax office or tax agency, or government office or officer; and thereat
     to file, conduct and terminate, acting either as claimant or defendant, all kinds of court or out-of
     court actions and proceedings relating to the Facility Agreement and the security documents
     entered into in relation to it.

  10. The above authorities, in all or in part, may be delegated or substituted in favour of any third
      person that the Attorneys may deem convenient.

  In WITNESS WHEREOF this Power of Attorney has been executed as a deed by the Grantor and is
  intended to be effective and is hereby delivered on the date of the Notarial Certificate below and shall
  be in force until [] unless it is revoked prior to such date.

  In witness thereof this Power of Attorney is granted.

  I have informed the attendant of his right to read this document himself, and I proceed to read this
  document aloud with his tacit consent.

  This Power of Attorney is governed by and construed in accordance with the laws of [].

  He states that he is aware of its contents and ratifies it in all its provisions, signing the same with me.

  In [], on [].

  [Grantor’s corporate name]



  ______________________________

  Mr. []

  Office: []



  BD-#32148460-v3                                  227
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 568 of 692




                                   NOTARIAL CERTIFICATE
  I, the undersigned, Notary Public in [   ], on this [    ] day of [    ] of 20[ ], do hereby certify that:

      1. [Grantor’s corporate name] is a [       ] incorporated in accordance with the laws of [ ], having
         its registered office in [       ] at [ ] and registered under number [ ], , and with sufficient
         capacity for the granting this power of attorney.

      2. [    ] is authorised and has the capacity to grant the above power of attorney in the name and
         on behalf of [Grantor’s corporate name] according to the laws of [      ], according to the laws
         of the incorporation of the Grantor, its constitutional documents, by-laws and other corporate
         documents.

      3. The signature of [     ] in this document is authentic.

      4. This power of attorney constitutes a legally valid and binding document and all actions
         undertaken by the attorneys-in-fact nominated herein within the scope of the power shall be
         legally valid and binding on [Grantor’s corporate name].

  WITNESS, I sign this power of attorney and stamp my official seal



  Place: []

  Date: []

  Signature: []




  BD-#32148460-v3                                 228
18-13374-mew        Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 569 of 692


                                            Schedule 16
                                    Form of Deed of Undertaking
  THIS DEED is made this [**] day of [**].

  Between

  1. [Third party], a company incorporated in [•] (Registration No. [**]) and having its registered office at
  [**] (the “Applicant”); and

  2. [AEGEAN MARINE PETROLEUM S.A. / AEGEAN PETROLEUM INTERNATIONAL INC. /
  AEGEAN NWE N.V. / AEGEAN BUNKERING GERMANY GMBH / OBAST BUNKERING &
  TRADING GMBH], a company incorporated in [**] (Registration No. [**]) and having its registered
  office at [**](the “Obligor”)

  in favour of:

  3. [Relevant Issuing Bank], a company incorporated in [**]and having its registered office at [**] (the
  “Issuing Bank”).

  WHEREAS:

  (A) Issuing Bank, amongst others, has granted to Obligor, amongst others, certain facilities pursuant
  to a facility agreement for a borrowing base facility dated 30 November 2017 as amended and
  restated on [] 2018 (any of or all of such facilities shall hereinafter be referred to as the “Facilities”).
  (B) Applicant and Obligor intend to jointly and severally authorise, empower and request Issuing Bank
  to issue a documentary letter of credit under, and subject to the terms and conditions of, the Facilities
  from time to time in favour of [**], subject to the approval of Issuing Bank at its absolute discretion (the
  “Letter of Credit”).
  (C) At all times, (i) as between the Obligor and the Issuing Bank, the responsibility and liability of any
  Letter of Credit in name of the Applicant shall rest with Obligor; and (ii) as between the Applicant and
  the Issuing Bank, the Applicant shall indemnify Issuing Bank in respect of any liabilities arising from
  any Letter of Credit.

  NOW THIS DEED WITNESSES AS FOLLOWS:

  1. Obligor herewith instructs Issuing Bank to indicate in the Letter of Credit the full name and address
     of Applicant if so indicated by Obligor in its requests to the Issuing Bank to issue Letter of Credit,
     rather than the full name and address of the Obligor itself as applicant, such however under the
     full responsibility and financial liability of the Obligor and under, and subject to the terms and
     conditions of, the Facilities.
  2. Obligor undertakes to Issuing Bank that the Letter of Credit in the name of the Applicant shall be
     issued at the full risk, responsibility and financial liability of Obligor and consequently authorises
     Issuing Bank to debit (i) upon issuance of a Letter of Credit the liability account in in the name of
     Obligor in the books of Issuing Bank with the full amount of the Letter of Credit, and (ii) upon Letter
     of Credit settlement(s) the current account of Obligor in the books of the Issuing Bank for the full
     amount of each settlement.
  3. Applicant herewith gives notice to Issuing Bank that it shall not have at any time any claim, right or
     demand or any pretension of any nature whatsoever against Issuing Bank in relation to the Letter
     of Credit, and herewith irrevocably instructs and authorises Issuing Bank and consents to the
     same:

      (a) to indicate its full name and address as applicant in the wording of the Letter of Credit as
      instructed by Obligor;
      (b) to follow the instructions of Obligor to amend the Letter of Credit without any obligation on the
      part of Applicant and without its further instructions or confirmation;




  BD-#32148460-v3                                  229
18-13374-mew        Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                             Pg 570 of 692


      (c) to carry out all other instructions from Obligor in all matters related to the Letter of Credit;

      (d) to address all correspondence relative to the Letter of Credit directly to Obligor;

      (e) to handle and dispose the original shipping documents related to the Letter of Credit in
      accordance with the instructions of Obligor and to endorse the relevant bills of lading as per the
      instructions of Obligor to the order of any entity nominated by Obligor; and

      (f) to act as its Attorney-in-Fact, in respect to endorsement of bills of lading (or other documents)
      under the Letter of Credit and authorises Issuing Bank to endorse the same, where applicable, to
      the order of any entity nominated to Issuing Bank by Obligor or as otherwise may be necessary to
      enforce security rights.

  4. Applicant herewith expressly confirms (a) that this Deed is to be deemed as irrevocable on the
     part of the Applicant and that it has no right whatsoever to amend the same and (b) that it has no
     rights, or relinquishes, renounces and/or forfeits any and all of its rights to interest in and any
     claims in respect of:
     (a) the relevant material purchased under the Letter of Credit (the “Material”);
      (b) the receivable(s) arising from the sale of such material (the “Receivables”); and
      (c) the proceeds arising from collection of any Receivables.

  5. Applicant herewith further expressly agrees that the Material, the Receivables and the proceeds
     thereof, will only belong to Obligor, or to ABN AMRO Bank N.V. as security taker of Obligor’s
     property rights and Applicant hereby acknowledges the security interest of ABN AMRO Bank N.V.
     in the Material, the title documents covering the Material, the Receivables and the proceeds
     arising from collection of the Receivables.
  6. Applicant herewith further expressly confirms that, immediately after payment of the Letter of
     Credit, no third party other than Obligor or ABN AMRO Bank N.V. as security taker of Obligor’s
     property rights will have any rights and or interest of any nature whatsoever regarding any part of
     the Material or any part of the Receivables and proceeds thereof and/or the title with respect to the
     same.
  7. Obligor and Applicant agree and accept that the issuance of the Letter of Credit and any
     amendment thereof shall at all times be subject to Issuing Bank’s absolute discretion.
  8. Neither Obligor nor Applicant shall make any claim that it has, may have or may have had against
     Issuing Bank, whether directly or indirectly, in connection to any Letter of Credit, or to the issuance
     or non-issuance of the Letter of Credit by the Issuing Bank.
  9. Each of Applicant and Obligor hereby jointly and severally irrevocably and unconditionally
     undertake to indemnify Issuing Bank and to keep Issuing Bank indemnified fully and completely
     against all claims and demands actions and proceedings, losses, damages, costs and expenses
     including legal costs on a full indemnity basis and all other liabilities of whatsoever nature or
     description which may be made, taken, incurred or suffered by Issuing Bank as a result of acting
     in accordance with this Deed and the above mentioned instructions.
  10. Applicant represents and warrants to Issuing Bank that:

      (a) Capacity: it (i) is duly incorporated and validly existing under the laws of the jurisdiction of its
      incorporation; (ii) has the power to own its assets and carry on its business as it is being
      conducted; and (iii) has duly executed and delivered, and has all requisite power, authority and
      approvals to enter into and perform its obligations under, this Deed;
      (b) Authority: it has, and any person designated by it has, and it and they will at all times have, due
      authorisation to act in all respects in relation to this Deed;
      (c) Validity: this Deed is a valid and legally binding obligation, enforceable against it in accordance
      with its terms except for the effect of bankruptcy, insolvency, reorganisation, moratorium and other
      similar laws relating to or affecting creditors' rights generally;




  BD-#32148460-v3                                   230
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                            Pg 571 of 692


      (d) Insolvency etc.: no bankruptcy, receivership, judicial management, winding up or liquidation
      notice, petition or analogous insolvency proceeding has been threatened or filed against it in any
      jurisdiction; and
      (e) Violations: its execution, delivery and performance of this Deed does not and will not violate,
      contravene, conflict with or constitute a default under any provision of its memorandum and
      articles of association (or equivalent constituent documents) or any law, regulation, rule, decree,
      order, judgement or charge, contract, trust deed or other instrument binding on it or any of its
      assets.
  11. Neither the Applicant nor the Obligor, nor any of their respective directors, officers or employees
      nor, to the knowledge of the Applicant or the Obligor, any persons acting on any of their behalf:

        (a)    is a Prohibited Person;

        (b)    is owned or controlled by, or acting directly or indirectly on behalf of or for the benefit of, a
               Prohibited Person;

        (c)    owns or controls a Prohibited Person;

        (d)    is in breach of Sanctions; or

        (e)    has received notice of or is aware of any claim, action, suit, proceeding or investigation
               against it with respect to Sanctions by any Sanctions Authority; or

        (f)    shall permit present any business or transaction to the Issuing Bank that contains any
               direct or indirect violation of Sanctions or authorise any other person to, directly or
               indirectly, use, make payments of, contribute or otherwise make available, the Letter of
               Credit or transactions contemplated thereby to fund or facilitate trade, business or other
               activities: (i) involving or for the benefit of any Prohibited Person; or (ii) relating to a
               country or territory that is the target of country-wide or territory-wide Sanctions; or (iii) in
               any other manner that could result in the Applicant or the Obligor or the Issuing Bank
               being in breach of any Sanctions or becoming a Prohibited Person.

        For the purposes of this clause 11 the following words shall have the following meanings:

        Prohibited Person means a person that is:

        (a)    listed on, or owned or controlled by a person listed on, or acting on behalf of a person
               listed on, any Sanctions List;

        (b)    located in, incorporated under the laws of, or owned or (directly or indirectly) controlled
               by, or acting on behalf of, a person located in or organized under the laws of a country or
               territory that is the target of country-wide or territory-wide Sanctions; or

        (c)    otherwise a target of Sanctions (namely a person with whom a US person or other
               national under the jurisdiction of a Sanctions Authority would be prohibited or restricted
               by law from engaging in trade, business or other activities)

        Sanctions means the economic sanctions laws, regulations, embargoes or restrictive measures
        administered, enacted or enforced by any Sanctions Authority (whether or not the Applicant or
        the Obligor or any other member of their respective groups or any affiliates of any group
        member is legally bound to comply with such laws, regulations, embargoes or measures)

        Sanctions Authority means any of:

        (a)    the United States government;

        (b)    the United Nations;

        (c)    the United Kingdom;


  BD-#32148460-v3                                  231
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                           Pg 572 of 692


        (d)    Switzerland;

        (e)    the European Union; or

        (f)    Hong Kong Special Administrative Region of the People's Republic of China,

        and includes any government entity of any of the above, including, without limitation, the Office
        of Foreign Assets Control of the US Department of Treasury (OFAC), the United States
        Department of State, Her Majesty's Treasury (HMT) and the Swiss State Secretariat for
        Economic Affairs (SECO)

        Sanctions List means:

        (a)    the "Specially Designated Nationals and Blocked Persons" list maintained by OFAC;

        (b)    the Consolidated List of Financial Sanctions Targets and the Investment Ban List
               maintained by HMT; or

        (c)    any similar list maintained by, or public announcement of Sanctions designation made by,
               any other Sanctions Authority

      If either Applicant or Obligor knows or may have reason to believe that the transaction under the
      Letter of Credit that is conducted through the Issuing Bank is or may become in violation with
      Sanctions or the above provisions, it will immediately notify the Issuing Bank thereof and provide
      all information on the business or transaction that may be relevant for the Issuing Bank, or as
      reasonably requested by the Issuing Bank. In such case, Applicant and Obligor shall use their best
      efforts to adjust the business or transaction in such a way that violation with the abovementioned
      laws, resolutions or regulations is prevented. If violation with the abovementioned laws,
      resolutions or regulations cannot be prevented Applicant and Obligor shall each use its best
      efforts to legally allow the Issuing Bank to exit the business or transaction without costs or other
      negative consequences for the Issuing Bank. Furthermore, each of the Applicant and Obligor
      undertakes to indemnify the Issuing Bank for any and all claims and demands actions and
      proceedings, losses, damages, costs and expenses incurred in connection with such business or
      transaction, in accordance with clause 9 of this Deed.

  12. Issuing Bank's records, unless shown to be wrong, will be evidence of Obligor’s and Applicant’s
      dealings with Issuing Bank in connection with the Deed. Both Obligor and Applicant agree that it
      will not object to the admission of Issuing Bank's records as evidence in any legal proceedings on
      the grounds that such records are not originals, are not in writing or are documents produced by a
      computer. Obligor and Applicant will not rely on the Issuing Bank to comply with Obligor’s and
      Applicant’s record keeping obligations.

  13. This Deed and the Facilities contain the entire agreement between the parties hereto relating to
      the subject matter of this Deed to the exclusion of any terms implied by law which may be
      excluded by contract.

  14. Issuing Bank's rights under this Deed may be assigned to any person without the consent of either
      Obligor or Applicant. The Obligor’s or Applicant's rights under this Deed are personal to that party
      and not capable of assignment.

  15. The obligations under this Deed bind, and the rights will be enforceable by, each party hereto and
      each party’s respective successors and permitted assigns.

  16. Each provision of this Deed is severable and if any provision becomes invalid, void, voidable or
      unenforceable or contravenes any applicable regulations the remaining provisions will not be
      affected.

  17. Other than ABN AMRO Bank N.V., a person who is not a party to this Deed has no right under the
      Contracts (Rights of Third Parties) Act 1999 (the Third Parties Act) to enforce or enjoy the benefit
      of any its terms.



  BD-#32148460-v3                                232
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 573 of 692



  18. The rights and remedies provided under this Deed are cumulative and not exclusive of those
      provided by law. The failure to exercise or delay in exercising a right or remedy under this Deed
      will not constitute a waiver of the right or remedy or a waiver of any other rights or remedies and
      no single or partial exercise of a right or remedy under this Deed will prevent any further exercise
      of the right or remedy or the exercise of any other right or remedy.

  19. This Deed and any non-contractual obligations arising out of or in connection with it are governed
      by English law.

      The courts of England have exclusive jurisdiction to settle any dispute arising out of or in
      connection with this Deed (including a dispute relating to the existence, validity or termination of
      this Agreement or any non-contractual obligation arising out of or in connection with this
      Agreement) (a Dispute).

      The parties agree that the courts of England are the most appropriate and convenient courts to
      settle Disputes and accordingly no party will argue to the contrary.

      This clause 18 is for the benefit of the Issuing Bank only. As a result, the Issuing Bank shall not
      be prevented from taking proceedings relating to a Dispute in any other courts with jurisdiction. To
      the extent allowed by law, the Issuing Bank may take concurrent proceedings in any number of
      jurisdictions.

      Without prejudice to any other mode of service allowed under any relevant law, each of the
      Applicant and the Obligor irrevocably appoints [•] as its agent for service of process in relation to
      any proceedings before the English courts in connection with this Deed.]


  The parties have executed this Deed as a deed with the intention that it be delivered on the
  date written at the beginning of this Deed.

  Executed as a deed and delivered by              ……………………………………………..
  [third party]                                    Name:
  Acting persons who in accordance with the        Title:
  law of [•] are acting under the authority of     ……………………………………………..
  the company                                      Name:
                                                   Title:
  Signed as a deed and delivered by                ……………………………………………..
  [AEGEAN MARINE PETROLEUM S.A. /                  Name:
  AEGEAN PETROLEUM INTERNATIONAL                   Title:
  INC. / AEGEAN NWE N.V. / AEGEAN                  ……………………………………………..
  BUNKERING GERMANY GMBH/ OBAST                    Name:
  BUNKERING & TRADING GMBH]                        Title:
  Acting by persons who in accordance with
  the law of [**] are acting under the authority
  of the company
  Signed for and on behalf of [Relevant            ……………………………………………..
  Issuing Bank]                                    Name:
                                                   Title:
                                                   ……………………………………………..
                                                   Name:
                                                   Title:




  BD-#32148460-v3                                  233
18-13374-mew        Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                          Pg 574 of 692


                                       Schedule 17
                              Form of Lender utilisation report



                          Bank
                          Date


                                                       Date of
                                                      issuance    Beneficiary    Amount



         Standby or Documentary Letter of Credit




           Open Account Payments to Suppliers




                                                                     Total




  BD-#32148460-v3                               234
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 575 of 692


                                      Schedule 18
                                     Debtors’ Budget


  [TO BE ATTACHED]




  BD-#32148460-v3                         235
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 576 of 692


                                        Schedule 19
                                     Interim DIP Order




  BD-#32148460-v3                         236
18-13374-mew          Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                  Main Document
                                             Pg 577 of 692


                                 Schedule 20 - Required Milestones


        (a)    On the Petition Date, the Debtors shall file a motion seeking approval of the facility
               evidenced by the Facility and the US DIP Credit Facilities.

        (b)    On or before three (3) Business Days after the Petition Date, the Interim DIP Order shall
               have been entered by the Bankruptcy Court.

        (c)    Each Obligor shall have executed and/or delivered, with respect to any Security for any
               Secured Obligations, within 45 days of the Effective Date (other than in respect of (i) any
               person organised under the laws of South Africa, or (ii) any pledge of Equity Interests of a
               person that is not an Obligor, in each case which shall be 60 days), , all new security
               agreements, pledge agreements, vessel mortgages, control agreements, financing
               statements, legal opinions, filings to perfect liens under applicable law, and such other
               documents and agreements as the Facility Agent (acting on the instructions of the
               Majority Lenders) may require (including amendments to the then-existing forms, if any,
               of such security agreements, pledge agreements, vessel mortgages, control agreements,
               financing statements, filings to perfect liens under applicable law and other documents)
               so as to create and perfect, or in connection with the creation and perfection of, liens
               upon and security interests in all of the Security of the Parent and the other Obligors to
               secure the Secured Obligations including without limitation with respect to all Security of
               Obligors that are “United States Persons” (as defined in Section 7701(a)(30) of the Code,
               US Persons):

               (i)     an account control agreement with respect to certain bank accounts and such
                       other documents or actions as may be necessary to establish UCC control with
                       respect to any Security over which UCC control may be established pursuant to the
                       UCC; and

               (ii)    each Obligor shall have notified each storage facility, carrier, bailee or consignee
                       holding inventory of any Obligor of the Security Agent’s security interest in such
                       inventory (and provide to the Facility Agent a copy of such notice) and each
                       Obligor shall use commercially reasonable efforts to obtain from and each such
                       storage facility, carrier, bailee or consignee shall have delivered a written
                       acknowledgement of such notice,

               provided that with respect to obligors that are not US Persons, and with respect to
               documents and actions necessary or advisable pursuant to the laws of jurisdictions
               outside of the United States and its States and territories, such obligation shall be subject
               to and in accordance with the Agreed Security Principles.

        (d)    On or before 45 days after the Petition Date, the Final Order authorizing and approving
               the Facilities on a final basis shall have been entered by the Bankruptcy Court.

        (e)    Not later than one day after entry by the Bankruptcy Court of the Interim DIP Order, the
               Debtors shall have filed with the Bankruptcy Court a motion (the Sale Motion and the
               date of such filing, the Sale Motion Filing Date) seeking (i) entry of an order, in form and
               substance acceptable to the Lenders, approving a sale under section 363 of the
               Bankruptcy Code of all or substantially all of the Debtors’ assets (including, without
               limitation the Security) (the Sale); (ii) approval of bidding and sale procedures in form and
               substance acceptable to the Lenders (the Bidding Procedures); (iii) approval of (A) an
               agreement in form and substance acceptable to the Lenders, for the Sale and (B) such
               other agreements contemplated in the foregoing agreement of Sale as the Lenders may
               require, and (iv) as the the stalking horse bidder providing its bid for the Sale (the Sale
               Bidder), approving bid protections for such Sale Bidder (the Bid Protections).

        (f)    Promptly following exchange control approval from the Financial Surveillance Department
               of the South African Reserve Bank, and in any event within 40 Business Days of the entry



  BD-#32148460-v3                                  237
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                           Pg 578 of 692


               of the Interim DIP Order, the Borrowers shall cause Aegean Bunkering Marine Services
               Proprietary Limited, a limited liability company incorporated in South Africa, to join the
               guaranty and security documents made in relation to this Agreement and the US DIP
               Credit Agreement, and deliver such other documents and information as is contemplated
               by clauses 29.8, 29.10 and 24.40(b). Each Obligor shall (and shall procure that Aegean
               Bunkering Marine Services Proprietary Limited) use its best efforts to obtain such
               exchange control approval as soon as possible for the purpose of becoming an Additional
               Guarantor.

        (g)    Within thirty (30) calendar days after the Petition Date, the Bankruptcy Court shall have
               entered an order (the Bidding Procedures Order), in form and substance acceptable to
               the Lenders, approving the Bidding Procedures and the Bid Protections and setting
               related deadlines;

        (h)    The Bidding Procedures Order shall provide that bids shall be due within seventy (70)
               calendar days after entry of the Bidding Procedures Order (the Bid Deadline);

        (i)    Within five (5) business days of the Bid Deadline, the Debtors shall conduct the auction, if
               necessary, pursuant to the Bidding Procedures Order;


        (j)    Within ten (10) business days of the Bid Deadline, the Bankruptcy Court shall enter an
               order, in form and substance acceptable to the Lenders and the Sale Bidder, approving
               the Sale; and

        (k)    On the date of the closing of the Sale, the proceeds of the Sale shall have been used to
               repay the Secured Obligations, the Prepetition Obligations in full in cash and to pay any
               break-up fee required in the purchase agreement signed by any of the Debtors and any
               of the Lenders.




  BD-#32148460-v3                                238
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 579 of 692


                            Schedule 21 - Agreed Security Principles
  1.    Agreed Security Principles

  The security to be provided under the Finance Documents which the Facility Agreement provides is to
  be created or perfected after the Effective Date will be given in accordance with the security principles
  set out in this Schedule 21 (the Agreed Security Principles). This Schedule 21 identifies the Agreed
  Security Principles and determines the extent and terms of the security proposed to be provided under
  any Finance Document.

  2.    Certain Principles

  The Finance Parties have agreed and acknowledged that their rights and obligations under the
  Finance Documents to require any Security to be created or perfected shall not apply to the extent that
  such Transaction Security would:

  (a)    result in any breach of corporate benefit, financial assistance, fraudulent preference or thin
  capitalisation laws or regulations (or analogous restrictions) of any applicable jurisdiction if the
  outcome of such regulations or restrictions would put the Obligor in a materially worse position than it
  was in before such creation or perfection; or

  (b)      result in a significant risk to the officers of the relevant grantor of Transaction Security of
  contravention of their fiduciary duties (which shall include other directors duties) and of civil or criminal
  liability and, in particular, result in any breach of any applicable German capital maintenance rules
  requiring that upstream / cross-stream Security given by any German company incorporated as a
  GmbH or GmbH &Co. KG be limited;

  (c)    result in time and cost (including adverse effects on taxes, interest deductibility, stamp duty,
  registration taxes, step or process in relation to paragraphs (a) and (b) respectively to avoid such
  breach or liability, notarial costs guarantee fees payable to any person that is not a member of the
  Group and all applicable legal fees) which, in the opinion of the Security Agent (acting on the
  instructions of the Majority Lenders (acting reasonably)) be disproportionate to the benefit accruing to
  the Secured Parties of obtaining such security;

  (d)    in relation to any assignment to be provided, require the consent of a third party for the creation
  or perfection of such Transaction Security and provided the Company and the relevant Obligor has
  used its best endeavours to obtain such consent applying best efforts; and

  (e)    where a class of assets to be secured includes material and immaterial assets, result in costs in
  relation to the granting of security over the immaterial assets that would be, in the opinion of the
  Security Agent (acting on the instructions of the Majority Lenders (acting reasonably)),
  disproportionate to the benefit of such security, in which case security will be granted over the material
  assets only.

  Without prejudice to clause 20.10 (Guarantee Limitations (Germany)), for the purposes of this
  paragraph 2, references to breach and liability exclude those which may be avoided by the Obligors
  and/or any of the Secured Parties taking such steps, or carrying out any process which, in the opinion
  of the Security Agent (acting on the instructions of the Majority Lenders (acting reasonably)) would not
  be disproportionate to the benefit accruing to the Secured Parties of obtaining such security, or
  inappropriate or outside the control of the relevant Obligor.

  The Obligors’ obligation to create and perfect Security shall include the obligation to deliver or caused
  to be delivered opinions of counsel, certificates of officers or directors of Obligors, certificates of public
  officials, and such other documents and to take or cause to be taken the adoption of authorizing
  resolutions and such other actions as in each case may be, in the opinion of the Security Agent (acting
  on the instructions of the Majority Lenders (acting reasonably)), necessary or customary in connection
  with such creation and perfection (except where, in the case of any opinion, such opinion is
  customarily provided by counsel to any Secured Party).

  3.    Terms - Security Documents


  BD-#32148460-v3                                  239
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                            Pg 580 of 692


  The following principles will be reflected in the terms of any Security taken as part of this transaction:

  (a)   Security shall, to the extent possible under local law, be enforceable on the occurrence of an
  Event of Default;

  (b)   Unless otherwise specified in a Finance Document, any obligation of an Obligor or any other
  grantor of Transaction Security to perform any act, provide any document, or create any Transaction
  Security, must be discharged as soon as reasonably practicable;

  (c)    To the extent the creation, perfection or maintenance (of priority or otherwise) of any
  Transaction Security requires any action other than due execution of the relevant Security Document
  (including notarisation, legalisation, apostillation, registration, payment of fees, duties or taxes, and
  delivery of notices to third parties), the relevant grantor of Transaction Security must (and the
  Borrowers’ shall procure that each grantor of Transaction Security will) perform such action and
  complete it as soon as reasonably practicable following the execution of such Security Document, and
  in any event within any period required or permitted by applicable law to complete such action for the
  purpose of creation, perfection or maintenance of such Transaction Security and its priority.

  (d)    In respect of any Transaction Security that is an assignment or otherwise requires notice to be
  delivered to a third party to be effective or perfected, unless otherwise agreed with the Security Agent
  (acting on the instructions of the Majority Lenders) or the relevant Existing Security Holder, the
  relevant grantor of Transaction Security must (and the Borrowers shall procure that each security
  provider will), as soon as reasonably practicable following the execution of the assignment or other
  agreement, deliver to the relevant counterparty or other third party a notice of assignment and actively
  and diligently seek an acknowledgment of such notice from the counterparty, in both cases in a form
  satisfactory to the Security Agent (acting on the instructions of the Majority Lenders (acting
  reasonably)) or the relevant Existing Security Holder, provided that the grantor of Transaction Security
  shall not be obliged to seek such acknowledgment where, in the reasonable opinion of the Security
  Agent or the relevant Existing Security Holder, doing so would be materially prejudicial to the
  commercial interests of that grantor of Transaction Security.

   (e) In respect of any Transaction Security, the relevant grantor of Transaction Security must (and
  the Borrowers shall procure that each grantor of Transaction Security will) promptly provide to the
  Security Agent or relevant Existing Security Holder such supplementary documentation as may be
  required or as the Security Agent or relevant Existing Security Holder may reasonably request for the
  purposes of creating, perfecting or protecting such Transaction Security.

  (f)   Where appropriate, defined terms in the Transaction Security Documents should mirror those in
  the Facility Agreement.

  (g)    The parties to the Facility Agreement agree to negotiate the form of each Security Document
  diligently and in good faith in accordance with the terms of this Schedule and will ensure that all
  documentation required to be entered into is in a finally agreed form and duly executed as soon as
  reasonably practicable.

  (h)    Each Security Document shall be in form and substance satisfactory to the Security Agent or
  Existing Security Holder (as applicable) and will include the terms customary for such document in the
  relevant jurisdiction for similar transactions and will include further assurance and perfection
  obligations on the relevant grantor of Transaction Security and exculpatory, indemnity and hold
  harmless provisions in favour of the Security Agent or Existing Security Holder.

  (i)    Without prejudice to the above paragraph, where any Transaction Security is required to be
  created pursuant to these Agreed Security Principles then, to the extent equivalent Transaction
  Security has been created previously (such equivalence being determined by jurisdiction and type of
  assets involved), documentation in substantially the same form as the Security Document that creates
  such equivalent Transaction Security shall be used. This shall not, however, operate to require the
  Parties to use such a form of documentation where the Security Agent or Existing Security Holder (on
  the advice of its legal counsel) determines that as a result of any change in law, regulation, practice,
  factual circumstances or any other relevant matter such form of documentation is not the most
  appropriate form for the relevant Transaction Security.



  BD-#32148460-v3                                  240
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                           Pg 581 of 692


  (j)    The cost of documenting, creating, perfecting and maintaining the Transaction Security and
  supporting arrangements shall be borne in full by the Borrowers in accordance with clause 19 (Costs
  and Expenses) of the Facility Agreement and that provision shall be incorporated by reference in the
  individual Security Documents rather than set out in full unless required by law.

  (k)    Each grantor of Transaction Security must (and the Borrowers shall procure that each grantor of
  Transaction Security will) provide such powers of attorney or delegations of authority to the Security
  Agent as it may reasonably request in respect of any Transaction Security provided by that grantor for
  the exercise of any rights, powers and remedies of the Security Agent or the Finance Paries provided
  by or pursuant to the Finance Documents or by law.

  (l)    Any representations, warranties or undertakings which are required to be included in any
  Security Document shall reflect (to the extent to which the subject matter of such representation,
  warranty and undertaking is the same as the corresponding representation, warranty and undertaking
  in the Facility Agreement or any equivalent Security Document) the equivalent provisions set out in the
  Facility Agreement or such equivalent Security Document (save to the extent that the Security Agent’s
  local counsel deem it necessary or advisable to include any further provisions (or deviate from those
  contained in the Facility Agreement or such equivalent Security Document) in order to protect or
  preserve the Transaction Security).

  4.    Security

  (a)    Subject to the due execution of all relevant Security Documents, completion of relevant
  perfection formalities within statutorily prescribed time limits, payment of all registration fees and
  documentary taxes, any other rights arising by operation of law, obtaining any relevant foreign legal
  opinions and subject to any qualifications which may be set out in this Agreement and any relevant
  legal opinions obtained and subject to the requirements of the Agreed Security Principles, it is further
  acknowledged that the Security Agent shall:

  (i)  receive the benefit of Security granted to secure all liabilities of the Obligors under and in
  connection with the Finance Documents subject to the Agreed Security Principles; and

  (ii)    without prejudice to the generality of the Required Milestones, (in the case of those Security
  Documents creating pledges or charges over shares in an member of the Group) obtain (1) a first
  priority valid charge or analogous or equivalent Security over all of the shares in issue at any time in
  that member of the Group which are owned by another member of the Group and (2) subject to the
  principles set out above, a first priority valid vessel mortgage in respect of each vessel owned by an
  Obligor. Subject to local law requirements, such Security Document shall be governed by the laws of
  the jurisdiction in which such member of the Group whose shares are being pledged is formed unless,
  in the opinion of the Security Agent (acting on the instructions of the Majority Lenders), any other law
  would be more appropriate.

  (b) To the extent possible, all Security shall be given in favour of the Security Agent and not the
  Finance Parties individually. The concept of "parallel debt" will be used where necessary and clause
  31.3 (Parallel Debt (Covenant to pay the Security Agent) of the Facility Agreement will apply and will
  not not be expressly set out in each Security Document unless required under local laws.

  5.    Release of Transaction Security

  Unless required by local law, the release of the Transaction Security shall be governed by the relevant
  provisions of the Intercreditor Agreement




  BD-#32148460-v3                                241
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 582 of 692


                                      SIGNATURES

  THE COMPANY

  AEGEAN MARINE PETROLEUM S.A.                  ……………………..     …………………………

  By:




  THE BORROWERS

  AEGEAN MARINE PETROLEUM S.A.                  ……………………..     …………………………

  By:




  AEGEAN PETROLEUM INTERNATIONAL INC.           ……………………..     …………………………

  By:




  AEGEAN NWE N.V.                               ……………………..     …………………………

  By:




  AEGEAN BUNKERING GERMANY GMBH                 ……………………..     …………………………

  By:




  OBAST BUNKERING & TRADING GMBH                ……………………..     …………………………

  By:




  BD-#32148460-v3                         242
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 583 of 692




  THE GUARANTORS

  KITHNOS MARITIME INC.                         …………………………      …………………………

  By:


  PAROS MARITIME INC.                           …………………………      …………………………

  By:


  SANTORINI I MARITIME LIMITED                  …………………………      …………………………

  By:


  SERIFOS MARITIME INC.                         …………………………      …………………………

  By:


  LEFKAS MARINE S.A.                            …………………………      …………………………

  By:


  AEGEAN BUNKERING SERVICES INC.                …………………………      …………………………

  By:


  AEGEAN SHIPHOLDINGS INC.                      …………………………      …………………………

  By:


  AEGEAN BREEZE MARITIME COMPANY                …………………………      …………………………

  By:


  AEGEAN TIFFANY MARITIME COMPANY               …………………………      …………………………

  By:


  ITHAKI MARINE S.A.                            …………………………      …………………………

  By:




  BD-#32148460-v3                         243
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 584 of 692


  CEPHALLONIA MARINE S.A.                       …………………………      …………………………

  By:


  KERKYRA MARINE S.A.                           …………………………      …………………………

  By:


  KYTHIRA MARINE S.A.                           …………………………      …………………………

  By:


  IOS MARINE INC.                               …………………………      …………………………

  By:


  PAXOI MARINE S.A.                             …………………………      …………………………

  By:


  ZAKYNTHOS MARINE LIMITED                      …………………………      …………………………

  By:


  SIFNOS MARINE INC.                            …………………………      …………………………

  By:


  ANDROS MARINE LIMITED                         …………………………      …………………………

  By:


  DILOS MARINE INC.                             …………………………      …………………………

  By:


  IOS SHIPPING LTD                              …………………………      …………………………

  By:


  AEGEAN VII SHIPPING LTD                       …………………………      …………………………

  By:




  BD-#32148460-v3                         244
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 585 of 692




  HALKI NAVIGATION S.A.                         …………………………      …………………………

  By:


  KASSOS NAVIGATION S.A.                        …………………………      …………………………

  By:


  SYMI NAVIGATION S.A.                          …………………………      …………………………

  By:


  TILOS SHIPPING (PTE.) LTD.                    …………………………      …………………………

  By:


  AEGEAN OIL TERMINAL CORPORATION               …………………………      …………………………

  By:


  AEGEAN MANAGEMENT SERVICES M.C.               …………………………      …………………………

  By:


  KIMOLOS MARITIME INC.                         …………………………      …………………………

  By:


  MILOS SHIPPING (PTE.) LTD.                    …………………………      …………………………

  By:


  MYKONOS I MARITIME LIMITED                    …………………………      …………………………

  By:


  TINOS MARINE INC.                             …………………………      …………………………

  By:




  BD-#32148460-v3                         245
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 586 of 692


  SERIFOS SHIPPING (PTE.) LTD                   …………………………      …………………………

  By:




  AEGEAN SHIP XII MARITIME COMPANY              …………………………      …………………………

  By:


  TEMPEST SHIPTRADE LTD.                        …………………………      …………………………

  By:


  AMORGOS MARITIME INC.                         …………………………      …………………………

  By:


  AEGEAN MARINE PETROLEUM NETWORK               …………………………      …………………………
  INC.

  By:


  AEGEAN      PETROLEUM      INTERNATIONAL      …………………………      …………………………
  INC.

  By:


  TASMAN SEAWAYS INC.                           …………………………      …………………………

  By:


  SANTON LIMITED                                …………………………      …………………………

  By:


  AEGEAN ACE MARITIME COMPANY                   …………………………      …………………………

  By:


  AEGEAN SHIP III MARITIME COMPANY              …………………………      …………………………

  By:




  BD-#32148460-v3                         246
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 587 of 692


  AEGEAN SHIP VIII MARITIME COMPANY             …………………………      …………………………

  By:


  NEVADO NAVIGATION S.A.                        …………………………      …………………………

  By:


  AEGEAN TANKING S.A                            …………………………      …………………………

  By:


  SEALAND NAVIGATION INC.                       …………………………      …………………………

  By:


  BENMORE SERVICES S.A.                         …………………………      …………………………

  By:


  ETON MARINE LTD.                              …………………………      …………………………

  By:


  INGRAM ENTERPRISES CO.                        …………………………      …………………………

  By:


  AEGEAN MARINE PETROLEUM S.A.                  …………………………      …………………………

  By:


  I.C.S. PETROLEUM LTD.                         …………………………      …………………………

  By:


  AEGEAN BUNKERING (USA) LLC                    …………………………      …………………………

  By:


  AEGEAN MAISTROS MARITIME COMPANY              …………………………      …………………………

  By:




  BD-#32148460-v3                         247
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 588 of 692




  AEGEAN GAS MARITIME COMPANY                   …………………………      …………………………

  By:


  AEGEAN BUNKERING COMBUSTIBLES LAS             …………………………      …………………………
  PALMAS SOCIEDAD ANÓNIMA

  By:


  AEGEAN (FUJAIRAH) BUNKERING SA                …………………………      …………………………

  By:


  AEGEAN AGENCY (GIBRALTAR) LIMITED             …………………………      …………………………

  By:


  CARIBBEAN         RENEWABLE      ENERGY       …………………………      …………………………
  SOURCES INC.

  By:


  WEST COAST FUEL TRANSPORT LTD                 …………………………      …………………………

  By:


  AEGEAN        BUNKERING      (GIBRALTAR)      …………………………      …………………………
  LIMITED

  By:


  AEGEAN HOLDINGS S.A.                          …………………………      …………………………

  By:


  AEGEAN BUNKERING (JAMAICA) LIMITED            …………………………      …………………………

  By:




  AMPN USA, LLC                                 …………………………      …………………………




  BD-#32148460-v3                         248
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 589 of 692


  By:


  AEGEAN OIL (USA), LLC                         …………………………      …………………………

  By:




  I.C.S. PETROLEUM (MONTREAL) LTD.              …………………………      …………………………

  By:


  AEGEAN BUNKERING MOROCCO SARL AU              …………………………      …………………………

  By:


  AEGEAN BUNKERING (SINGAPORE) PTE.             …………………………      …………………………
  LTD.

  By:


  AEGEAN BUNKERING (TRINIDAD) LTD.              …………………………      …………………………

  By:


  AMPNI INVESTMENTS CO. LIMITED                 …………………………      …………………………

  By:


  AMPNI HOLDINGS CO. LIMITED                    …………………………      …………………………

  By:


  MAISTROS RORO SHIPHOLDINGS LTD                …………………………      …………………………

  By:


  OSTRIA RORO SHIPHOLDINGS LTD                  …………………………      …………………………

  By:




  BD-#32148460-v3                         249
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 590 of 692


  AEGEAN TANKFARMS HOLDINGS S.A.                …………………………      …………………………

  By:


  AEGEAN INVESTMENTS S.A.                       …………………………      …………………………

  By:




  THE FACILITY AGENT

  ABN AMRO BANK N.V.                            ……………………..     …………………………

  By:




  THE COLLATERAL MANAGEMENT AGENT




  ABN AMRO BANK N.V.                            ……………………..     …………………………

  By:




  THE SECURITY AGENT

  ABN AMRO BANK N.V.                            ……………………..     …………………………

  By:




  THE LENDERS

  MERCURIA ENERGY TRADING S.A.                  ……………………..     …………………………

  By:




  BD-#32148460-v3                         250
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                         Pg 591 of 692




  THE CO-ORDINATOR

  MERCURIA ENERGY TRADING S.A.                  ……………………..     …………………………

  By:




  THE ISSUING BANK

  ABN AMRO BANK N.V.                            ……………………..     …………………………

  By:




  HEDGING PROVIDER

  MERCURIA ENERGY TRADING S.A.                  ……………………..     …………………………

  By:




  BD-#32148460-v3                         251
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 592 of 692


                        EXHIBIT C to the Proposed Interim Order

                                 Initial U.S. DIP Budget
                                           18-13374-mew                             Doc 17                Filed 11/06/18 Entered 11/06/18 07:04:18                                                                            Main Document
                                                                                                                      Pg 593 of 692


ABUSA Cash Flow Forecast
                                                                                                                                           Week Ending
  ($ in thousands)                      11/9/2018     11/16/2018     11/23/2018     11/30/2018         12/7/2018     12/14/2018      12/21/2018         12/28/2018         1/4/2019          1/11/2019          1/18/2019     1/25/2019     2/1/2019           13 Weeks          Month 4          17 Weeks




  Total Receipts                    $      18,041     $   15,086     $   15,843     $   15,843     $      15,843     $   15,843      $   17,094     $       17,094     $      15,843     $       15,843     $      15,843     $   15,843    $   15,843     $    209,904      $     63,373     $     273,277


    Total Trade and Opex            $       (17,760) $    (16,080) $     (15,950) $     (15,680) $        (16,799) $      (15,680) $     (15,550) $         (15,950) $        (16,929) $         (15,550) $        (15,680) $     (15,950) $    (15,730)   $     (209,287)   $     (63,608)   $     (272,895)
    Total Restructuring Charges               (683)          (651)        (2,651)          (651)             (411)           (411)          (411)              (411)             (276)              (276)             (276)         (276)         (526)            (7,913)          (2,166)          (10,078)
    Total Financing Disbursements           (4,200)          (185)          (186)          (196)             (203)          (213)           (217)              (222)             (225)              (232)             (235)         (240)         (244)            (6,797)          (1,037)           (7,834)
  Total Disbursements               $     (22,643) $      (16,916) $     (18,787) $     (16,528) $       (17,413) $      (16,304) $      (16,177) $        (16,582) $        (17,430) $         (16,058) $         (16,191) $ (16,466) $ (16,500)          $    (223,997)    $    (66,811)    $ (290,808)


  Net Cash Flow                     $      (4,603) $       (1,831) $     (2,944) $        (684) $         (1,569) $         (461) $         917     $           511    $       (1,587) $           (215) $           (348) $       (623) $       (656)     $     (14,093)    $     (3,437)    $     (17,530)


    Change in ABL                   $          -      $      -       $      -       $      -       $         -       $       -       $      -       $           -      $          -      $          -       $          -      $      -      $      -       $         -       $        -       $         -
    Term Loan Draw                          19,000          1,000         6,000           4,000            6,000           2,000          3,000               2,000             4,000             2,000              3,000         2,000         6,000            60,000            9,000            69,000
    Inter-Co Advance                       (13,000)          -            (3,000)        (3,000)           (4,000)        (2,000)         (3,000)            (2,000)           (4,000)            (2,000)           (2,000)       (2,000)       (5,000)           (45,000)          (6,000)          (51,000)


  Ending Cash Balance               $       4,355     $    3,524     $    3,580     $    3,896     $       4,326     $    3,866      $    4,782     $        5,294     $       3,707     $        3,492     $       4,144     $    3,521    $   3,865      $       3,865     $      3,427     $       3,427

    Restricted Cash                          2,979          2,256          2,425          2,425             2,425          2,425           2,425              2,425             2,425              2,425             2,425         2,425         2,425              2,425            2,425             2,425


  Available Cash                    $        1,376    $    1,268     $     1,155    $     1,471    $       1,901     $     1,441     $    2,357     $        2,869     $       1,282     $        1,067     $        1,719    $   1,096     $   1,440      $       1,440     $      1,002     $       1,002




Page 1
                                18-13374-mew                         Doc 17             Filed 11/06/18 Entered 11/06/18 07:04:18                                                                     Main Document
                                                                                                    Pg 594 of 692

ABUSA Borrowing Base Forecast
                                                                                                                           Week Ending                                                                                                       13 weeks ending Month Ending
 ($ in thousands)                     11/9/2018    11/16/2018    11/23/2018    11/30/2018        12/7/2018    12/14/2018    12/21/2018    12/28/2018        1/4/2019        1/11/2019        1/18/2019        1/25/2019        2/1/2019            2/1/2019          Month 4

   Net Borrowing Base             $       134,572 $    135,295 $      135,126 $     135,126 $        135,126 $     135,126 $     135,126 $     135,126 $       135,126 $        135,126 $        135,126 $        135,126 $       135,126      $      135,126    $      135,126
   Pre+Post ABL                          (137,551)     (137,551)     (137,551)     (137,551)        (137,551)     (137,551)     (137,551)     (137,551)       (137,551)        (137,551)        (137,551)        (137,551)       (137,551)           (137,551)         (137,551)
   Restricted cash                          2,979         2,256         2,425         2,425            2,425         2,425         2,425         2,425           2,425            2,425            2,425            2,425           2,425               2,425             2,425
 Availability                     $          -     $       -     $       -     $       -     $          -     $       -     $       -     $       -     $         -     $          -     $          -     $          -     $         -         $         -       $         -

 Term Loan                        $     (21,500) $     (22,500) $    (28,500) $    (32,500) $      (38,500) $     (40,500) $    (43,500) $    (45,500) $     (49,500) $       (51,500) $       (54,500) $       (56,500) $      (62,500)       $ (62,500)        $    (71,500)




Page 2
18-13374-mew   Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                     Pg 595 of 692


                        EXHIBIT D to the Proposed Interim Order

                                Initial Global DIP Budget
                                           18-13374-mew                             Doc 17               Filed 11/06/18 Entered 11/06/18 07:04:18                                                                            Main Document
                                                                                                                     Pg 596 of 692
Global Cash Flow Forecast
                                                                                                                                    Week Ending
  ($ in thousands)                      11/9/2018     11/16/2018     11/23/2018     11/30/2018       12/7/2018      12/14/2018          12/21/2018        12/28/2018          1/4/2019          1/11/2019     1/18/2019      1/25/2019        2/1/2019         13 Weeks           Month 4          17 Weeks




  Total Receipts                    $      52,584     $   50,485     $   46,884     $   48,390     $    46,558      $   46,544      $       45,860      $     47,149      $      46,204     $      46,316     $   46,399     $   47,556    $    46,510     $     617,438      $    192,009     $     809,447


    Total Trade and Opex            $      (45,073) $     (46,230) $      (47,572) $    (48,729) $      (47,283) $       (47,212) $          (47,212) $        (47,212) $        (48,543) $        (47,373) $     (47,373) $     (47,373) $     (48,472)   $      (615,661)   $    (188,560)   $     (804,221)
    Capex                                     (740)         (600)            -             -              (1,140)           -                   -                 -                  -                 -             -              -               -              (2,480)             (150)           (2,630)
    Total Restructuring Charges             (2,050)        (1,954)        (4,954)        (1,954)         (1,232)          (1,232)             (1,232)           (1,232)             (829)             (829)         (829)          (829)         (1,996)           (21,154)          (6,497)           (27,651)
    Total Financing Disbursements           (4,524)          (342)          (707)         (440)            (285)         (2,028)               (271)             (761)              (689)           (2,065)          (314)         (677)           (398)          (13,502)           (3,422)           (16,925)
  Total Disbursements               $     (52,388) $      (49,127) $     (53,234) $     (51,124) $     (49,941) $       (50,473) $          (48,716) $       (49,206) $         (50,061) $        (50,267) $ (48,516) $ (48,880) $ (50,866)                $    (652,798)     $ (198,629)      $    (851,427)


  Net Cash Flow                     $         196     $    1,358     $   (6,350) $      (2,733) $       (3,383) $       (3,929) $           (2,856) $          (2,057) $          (3,857) $        (3,952) $       (2,117) $     (1,324) $      (4,357)    $     (35,360)     $     (6,620)    $     (41,980)


  Paydown of Overadvance                   (12,000)          -               -             -                -               -                   -                 -                  -                 -             -              -               -             (12,000)              -             (12,000)
  Change in ABL                                -             -               -             -                -               -                   -                 -                  -                 -             -              -               -                 -                 -                 -
  Inter-Co ABUSA Term Loan Draw             13,000           -             3,000         3,000            4,000           2,000               3,000             2,000              4,000             2,000         2,000          2,000           5,000            45,000             6,000            51,000


  Ending Cash Balance               $       23,191    $   24,549     $    21,199    $   21,466     $    22,083      $   20,154      $       20,298      $     20,241      $      20,384     $      18,432     $   18,315     $   18,991    $    19,635     $      19,635      $     19,015     $      19,015

    Restricted cash                         21,210         19,518         19,273         20,456          20,318           19,122             18,397            18,945             18,536             17,135        16,904         17,824         17,694            17,694            17,427            17,427


  Available cash                    $        1,981    $    5,031     $    1,926     $    1,010     $     1,764      $    1,032      $        1,900      $       1,295     $       1,848     $        1,297    $    1,412     $    1,168    $      1,941    $        1,941     $      1,588     $       1,588




Page 1
                                 18-13374-mew                       Doc 17             Filed 11/06/18 Entered 11/06/18 07:04:18                                                              Main Document
                                                                                                   Pg 597 of 692


Global Borrowing Base Forecast
                                                                                                                                                                                                                                        13 weeks ending Month Ending
 ($ in thousands)                     11/9/2018   11/16/2018    11/23/2018    11/30/2018        12/7/2018   12/14/2018    12/21/2018    12/28/2018        1/4/2019        1/11/2019       1/18/2019       1/25/2019       2/1/2019            2/1/2019          Month 4

   Net Borrowing Base             $      222,202 $     223,894 $     224,139 $     222,956 $       223,094 $     224,290 $     225,015 $     224,467 $       224,876 $       226,277 $       226,508 $       225,588 $       225,718      $      225,718    $     225,985
   Pre+post ABL                         (243,412)     (243,412)     (243,412)     (243,412)       (243,412)     (243,412)     (243,412)     (243,412)       (243,412)       (243,412)       (243,412)       (243,412)       (243,412)           (243,412)        (243,412)
   Restricted cash                        21,210         19,518       19,273        20,456          20,318         19,122       18,397        18,945          18,536          17,135          16,904          17,824          17,694              17,694           17,427
 Availability                     $         -     $        -    $       -     $       -     $          -    $        -    $       -     $       -     $         -     $         -     $          -    $         -     $         -         $         -       $        -

 Inter-Co ABUSA Term Loan         $     (13,000) $    (13,000) $    (16,000) $    (19,000) $      (23,000) $    (25,000) $    (28,000) $    (30,000) $     (34,000) $       (36,000) $      (38,000) $      (40,000) $     (45,000)       $ (45,000)        $    (51,000)




Page 2
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 598 of 692


                             EXHIBIT B to the DIP Motion

                                  Jamal Declaration
    18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                       Main Document
                                                  Pg 599 of 692


Marc Kieselstein, P.C.                                         James H.M. Sprayregen, P.C.
Jonathan S. Henes, P.C.                                        Ross M. Kwasteniet, P.C. (pro hac vice pending)
Cristine Pirro Schwarzman                                      Adam C. Paul, P.C. (pro hac vice pending)
KIRKLAND & ELLIS LLP                                           W. Benjamin Winger (pro hac vice pending)
KIRKLAND & ELLIS INTERNATIONAL LLP                             KIRKLAND & ELLIS LLP
601 Lexington Avenue                                           KIRKLAND & ELLIS INTERNATIONAL LLP
New York, New York 10022                                       300 North LaSalle Street
Telephone:       (212) 446-4800                                Chicago, Illinois 60654
Facsimile:       (212) 446-4900                                Telephone:      (312) 862-2000
                                                               Facsimile:      (312) 862-2200

Proposed Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                   )
In re:                                                             ) Chapter 11
                                                                   )
AEGEAN MARINE PETROLEUM NETWORK                                    ) Case No. 18-13374 (___)
INC., et al.,1                                                     )
                                                                   )
                           Debtors.                                ) (Joint Administration Requested)
                                                                   )

                           DECLARATION OF ZUL JAMAL
                         IN SUPPORT OF DEBTORS’ MOTION
                    FOR ENTRY OF INTERIM AND FINAL ORDERS
                  PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364, 503,
            AND 507 (I) AUTHORIZING THE DEBTORS TO OBTAIN SENIOR
         SECURED PRIMING SUPERPRIORITY POSTPETITION FINANCING,
           (II) GRANTING LIENS AND SUPERPRIORITY ADMINISTRATIVE
        EXPENSE CLAIMS, (III) AUTHORIZING USE OF CASH COLLATERAL,
   (IV) GRANTING ADEQUATE PROTECTION, (V) MODIFYING THE AUTOMATIC
STAY, (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

         I, Zul Jamal, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury as follows:

         1.       I submit this declaration in support of the Debtors’ Motion for Entry of Interim and

Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, and 507 (I) Authorizing the

1    Due to the large number of Debtors in these chapter 11 cases, for which the Debtors have requested joint
     administration, a complete list of the Debtors and the last four digits of their tax identification, registration, or like
     numbers is not provided herein. A complete list of such information may be obtained on the website of the Debtors’
     proposed claims and noticing agent at http://dm.epiq11.com/aegean. The location of Debtor Aegean Bunkering (USA)
     LLC’s principal place of business and the Debtors’ service address in these chapter 11 cases is 52 Vanderbilt Avenue,
     Suite 1405, New York, New York 10017.
    18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                                  Pg 600 of 692


Debtors to Obtain Senior Secured Priming Superpriority Postpetition Financing, (II) Granting Liens

and Superpriority Administrative Expense Claims, (III) Granting Adequate Protection, (IV) Modifying

the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related Relief (the “DIP

Motion”),2 for a $160 million debtor-in-possession U.S. revolving credit facility, a $300 million

debtor-in-possession global revolving credit facility, and a multiple delayed draw term loan credit

facility in an aggregate principal amount of $72 million (collectively, the “DIP Facilities”). 3

         2.       The statements in this declaration are, except where specifically noted, based on my

personal knowledge or opinion, on information that I have received from the Debtors’ employees or

advisors, or employees of Moelis & Company LLC (“Moelis”) working directly with me or under my

supervision, direction, or control, or from the Debtors’ books and records maintained in the ordinary

course of their business. I am not being specifically compensated for this testimony other than through

payments received by Moelis as a professional retained by the Debtors prepetition and proposed to be

retained in these chapter 11 cases postpetition. If I were called upon to testify, I could and would

competently testify to the facts set forth herein on that basis. I am authorized to submit this declaration

on behalf of the Debtors.

                                  Professional Background and Qualifications

         3.       I am a Managing Director at Moelis, which I joined in 2008. Moelis is an independent

investment banking firm providing financial advisory services, including with respect to mergers and

acquisitions, capital raising, and restructuring advice.                Moelis and its senior professionals have

extensive experience with respect to the reorganization and restructuring of distressed companies, both


2
     Capitalized terms used but not defined herein have the meanings ascribed to such terms in the DIP Motion or the
     interim order attached thereto as Exhibit A (the “Interim Order”), as applicable.
3
     The material terms of the DIP Facilities are set forth in detail in the DIP Motion. Any description of the DIP Facilities
     herein or in the DIP Motion is qualified in its entirety by reference to the DIP Loan Documents.
                                                              2
 18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                            Pg 601 of 692


out-of-court and in chapter 11 proceedings. I personally have over 18 years of experience advising

debtors, creditors, and equity holders on a wide variety of recapitalization and restructuring

transactions including procuring, structuring, and negotiating debtor-in-possession financing facilities

across a broad range of industries including transportation, media, industrials, and telecommunications.

         4.    Over the last 18 years, my transactions experience has ranged from out-of-court

restructurings to in-court restructurings in the U.S., Europe, and Asia, including involvement in the

chapter 11 cases of the following companies, among others: American Media, Inc., AMR Corporation,

Lyondell Chemical Company, Aleris International, Inc., Dex Media, Inc., Sorenson Communications,

Inc., Tribune Media Company, MPM Holdings Inc., Core Digital Media, Inc., and Innkeepers USA

Trust.

         5.    Prior to joining Moelis, I was a Senior Vice President at Jefferies & Company, where I

advised clients on a wide variety of restructuring transactions including chapter 11 bankruptcies,

exchange offers, consent solicitations, lender negotiations and distressed financings. I also worked at

Jefferies International in London where I was responsible for international financial sponsor,

restructuring and leveraged finance activities. I hold a Bachelor of Science degree in Economics from

the Wharton School at the University of Pennsylvania. I am the Managing Director principally

responsible for the day-to-day activities of the Moelis deal team.

                                           Advisor Retention

         6.    On July 6, 2018, the Debtors engaged Moelis to act as their exclusive financial advisor,

capital markets advisor, and investment banker in connection with the Debtors’ restructuring

initiatives. Since its engagement, Moelis has rendered financial advisory and investment banking

services to the Debtors in connection with the evaluation of strategic alternatives for restructuring their

debt obligations and improving their liquidity and overall financial condition. Additionally, Moelis

                                                    3
    18-13374-mew         Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                    Main Document
                                                  Pg 602 of 692


has worked closely with the Debtors’ management and other professionals retained by the Debtors,

including Kirkland & Ellis LLP (“Kirkland”) and Ernst & Young LLP (“E&Y”), with respect to this

restructuring.

         7.       Since Moelis began working with the Debtors to provide assistance in connection with

the Debtors’ evaluation of their debtor-in-possession financing alternatives, I, along with other

members of the Moelis team and the Debtors’ other restructuring advisors, have become

knowledgeable about the Debtors’ capital structure, business, finances, liquidity needs, and business

operations, which has allowed us to provide an evaluation of the Debtors’ liquidity and cash needs.

                  The Debtors’ Capital Structure and Need for Postpetition Financing4

         8.       I understand that, as of the Petition Date, the Debtors have approximately $850 million

in aggregate principal amount of funded indebtedness and related obligations. I further understand that

this indebtedness consists of the Global Prepetition Credit Facility (approximately $249,569,260

outstanding), U.S. Prepetition Credit Facility (approximately $131,688,116 outstanding), almost

$207 million in the ten Secured Term Loan Facilities, and approximately $270 million in Convertible

Unsecured Notes.

         9.       Over the last several months, I and other Moelis professionals have had a substantial

number of discussions and meetings with the Debtors’ management team and advisors regarding their

business and their need for postpetition financing. Specifically, Moelis commenced an evaluation of

the Debtors’ financing needs and strategic alternatives beginning in early October 2018. In connection

with this evaluation process, Moelis worked closely with the Debtors, their management, and their


4    A detailed description of the Debtors’ business, and certain facts and circumstances supporting this Motion and the
     Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Tyler Baron, Director of Aegean Marine
     Petroleum Network Inc., in Support of the Chapter 11 Petitions and First Day Motions (the “Baron First Day
     Declaration”) and the Declaration of Andrew Hede, Financial Advisor to Aegean Marine Petroleum Network Inc., in
     Support of the Chapter 11 Petitions and First Day Motions (the “Hede First Day Declaration”), filed
     contemporaneously herewith and incorporated by reference herein.
                                                             4
 18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                            Pg 603 of 692


other advisors, including their proposed legal advisor, Kirkland, and their proposed restructuring

advisor, E&Y.

       10.      As part of its evaluation, Moelis worked with the Debtors’ management team and the

Debtors’ other advisors to review and analyze 13-week cash flow forecasts and a debtor-in-possession

financing budget (the “DIP Budget”). The proposed DIP Budget takes into account anticipated cash

receipts and disbursements during the projected period and considers a number of factors, including,

but not limited to, the effect of the chapter 11 filing on the operations of the business, fees and interest

expenses associated with the proposed debtor-in-possession financing, the administrative expenses of

the chapter 11 cases, and professional fees. I believe that the DIP Budget and the Debtors’ projections

provide the Debtors’ view of funding requirements over the identified period to meet the Debtors’

obligations during these chapter 11 cases.

       11.      I further believe that absent the DIP financing, the Debtors would not have sufficient

liquidity to operate and would be immediately and irreparably harmed. Indeed, the Debtors are

entering chapter 11 with constrained liquidity and require access to the DIP Facilities immediately to

operate their business and preserve and maximize stakeholder value. The proposed DIP financing, as

further explained in the Motion and below, mitigates the risk of a substantial disruption to the Debtors’

business during the restructuring process.

       12.      I believe that the DIP financing contemplated by the Motion will provide a message to

the Debtors’ customers, vendors, employees, contract counterparties, and potential purchasers that

operations are appropriately funded. Indeed, I believe that the Debtors’ access to the DIP Facilities

will communicate to all stakeholders that the Debtors will be able to continue meeting the needs of

their customers, compensating their employees, paying their vendors, and generally managing their

business in a manner as close to the ordinary course as possible while they pursue a sale of all or

                                                     5
 18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                            Pg 604 of 692


substantially all of their assets. In the event that either the Bankruptcy Court does not approve the

proposed DIP financing, there is a substantial risk of immediate and irreparable harm to the estates—

potentially resulting in the need to immediately liquidate the Debtors’ assets.

                       The Debtors’ Efforts to Obtain Postpetition Financing

       13.     Beginning in September 2018, Moelis compiled materials to commence a formal

marketing process designed to canvas the market and identify the best available solution for the

Debtors’ particular needs for a debtor-in-possession financing facility. Moelis commenced the

marketing process aware of the practical realities of the Debtors’ existing capital structure. In this

case, obtaining access to postpetition financing was difficult because the Debtors’ Prepetition Secured

Lenders assert that nearly all of the Debtors’ assets are encumbered under the existing capital structure,

which, along with the Debtors’ uncertain financial condition, restricts the availability of, and options

for, postpetition financing. To avoid a protracted and expensive priming fight, the Debtors and their

advisors believed that the Debtors would either need to (a) obtain the consent of the Prepetition

Secured Lenders to the priming of their liens by a third-party lender, (b) locate a third-party lender

willing to provide postpetition financing on an unsecured basis, (c) find lenders willing to refinance out

the Prepetition Senior Lenders and provide incremental liquidity, or (d) find junior financing and a new

secured lender. Indeed, due to the Debtors’ high level of existing secured debt obligations, the Debtors

struggled to provide evidence or certainty of a sufficient equity cushion to allow for

debtor-in-possession financing that would prime the Prepetition Secured Lenders’ liens over their

objections. Almost all parties contacted were unwilling to provide actionable debtor-in-possession

financing junior to the Prepetition Secured Lenders for these reasons.            Notwithstanding these

considerations, the Debtors, with the assistance of Moelis, solicited proposals for third-party

debtor-in-possession asset-based and term loan financing.

                                                    6
 18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                             Pg 605 of 692


        14.    In October, Moelis reached out to and engaged with 24 potential financing sources

beyond the Prepetition Secured Lenders and Convertible Noteholders (as defined below), including

nine traditional institutions and 15 alternative lenders, to gauge their interest in providing postpetition

financing to the Debtors. Moelis identified these potential lenders based on a number of factors,

including, among other things, such potential lenders’ ability to complete diligence quickly, experience

or interest in providing debtor-in-possession financing, knowledge of the Debtors’ business operations,

and ability to commit to financing on an expedited basis. Out of the 24 potential financing sources,

nine were willing to engage with the Debtors and sign non-disclosure statements in order to continue

negotiations. Out of the nine, six parties expressed an interest in continuing the process and potentially

providing financing. None of the six potential new sources of financing has submitted a proposal for

debtor-in-possession funding, and no parties were willing to provide credit on a junior basis to the

Prepetition Credit Facilities.

        15.    In parallel with the solicitation of proposals from new sources of financing, the Debtors

and their advisors continued negotiating with their current lenders to provide the debtor-in-possession

loans. The lenders under the Prepetition Credit Facilities agreed to continue to lend on terms

substantially similar to those under the Debtors’ existing asset-based lending facilities, thereby

essentially “rolling up” the Debtors’ obligations under the Prepetition Credit Facilities, as described

further in the DIP Motion and Interim Order. They also agreed to provide a new term loan facility to

address the Debtors’ need for even further liquidity to satisfy needs not covered by the revolving credit

facility.

        16.    In addition, a week prior to filing, certain members of an ad hoc group of unsecured

noteholders under the 4.00% Convertible Notes (the “Convertible Noteholders”) submitted a proposal

to provide the postpetition financing necessary for the Debtors to operate in chapter 11. The proposal

                                                    7
 18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                            Pg 606 of 692


included a new asset-based revolving facility provided by Goldman Sachs Lending Partners

LLP (“GSLP”) sufficient to refinance the credit facilities, including: (a) a first-in-last-out new money

$175 million debtor-in-possession term loan facility and (b) a $40 million debtor-in-possession second

lien term loan fully backstopped by certain holders of the 4.00% and 4.25% Convertible Notes.

       17.     Through the Petition Date, the Debtors and their advisors continued their arms’-length

negotiations regarding each proposal for DIP financing. In response to the proposals received, the

Debtors and their advisors continued nearly constant discussions with the potential lenders and their

advisors regarding key economic and structural terms of the proposal under consideration. These

negotiations involved: (a) numerous telephone conferences and in-person lender meetings with the

Debtors’ management and advisors; (b) the exchange of multiple iterations of term sheet proposals,

draft credit agreements, and related documents reflecting the proposed DIP financing terms; and

(c) circulation of the proposed DIP Budget and other due diligence materials to the potential lenders.

       18.     Ultimately, the Debtors elected to pursue the proposed financing offered by the

Prepetition Secured Lenders. I believe that this decision was reasonable under the circumstances for

the Debtors and their estates because the Convertible Noteholders’ proposal: (a) was subject to

significant conditions, including, among other things, completion of due diligence, an exclusivity

period pending close, a commitment by the third party vessel lenders to extend financing agreements,

and agreement on the part of a third party to actually commit to refinancing the Prepetition Credit

Facility; (b) did not include sufficient funding to purchase the inventory owned by Mercuria but used

by the Debtors in their business to access fuel inventory under the sleeving structure described in the

Baron First Day Declaration; (c) was unable to be executed prior to the Convertible Notes’ maturity

date, or within a reasonable time thereafter; (d) included higher fees and costs that the terms of the DIP

Facilities; and (e) could not be implemented without obtaining significant consensus or ensuring

                                                    8
 18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                            Pg 607 of 692


meaningful participation from the Prepetition Secured Lenders, which consent I believe was

unavailable given such Prepetition Secured Lenders’ desire to act as stalking horse bidder in the sale

and provide financing in connection therewith. Most importantly, the Convertible Noteholders were

unable to obtain the committed financing from a third party required to actually provide the

debtor-in-possession financing prior to the Petition Date.

                                              The DIP Financing

         19.   I believe the DIP financing proposal advanced by the Prepetition Secured Lenders

provides the Debtors with the best available offer. I further believe that the proposed DIP financing

represents a negotiated resolution with the Prepetition Secured Lenders, where the Debtors are able to

obtain a substantial financing package on market terms, without overly burdensome case controls,

without the risk of a priming fight, and with a path to a sale and emergence.

         20.   Together, the DIP Facilities provide the Debtors with approximately $532 million in

senior secured debtor-in-possession financing. I understand that as a condition to this availability and

the attendant use of Cash Collateral, the Prepetition Secured Lenders required that their prepetition

claims be paid (a) pursuant to the Interim Order, with the net proceeds of the revolving DIP Facilities,

and (b) pursuant to the Final Order, in full. I believe that conversion of the respective Prepetition

Credit Facility loans into DIP Obligations is appropriate in these circumstances, where the Prepetition

Credit Facilities are secured and would be paid in full at the conclusion of these chapter 11 cases. I

have been informed that the conversion accelerates the satisfaction of the obligations under the

Prepetition Credit Facilities and converts such obligations into DIP Obligations that are less costly to

the Debtors’ estates without affecting the recoveries to other creditors of the Debtors’ estates. I have

seen roll ups in similar situations and believe that this roll up is appropriate and consistent with these

cases.

                                                    9
 18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                             Pg 608 of 692


       21.     I understand that the DIP Credit Agreements also contain certain milestones that the

Debtors must meet throughout their chapter 11 cases, and that failure to meet any such milestones

would constitute an event of default under the DIP Credit Agreements.              These milestones were

negotiated and required by the DIP Lenders as a condition to providing the DIP Facilities. I believe

that the milestones should permit sufficient time for the Debtors to conduct a competitive marketing

process and effectuate a restructuring.

       22.     In addition to the revolving DIP Credit Facilities, the Debtors seek approval to enter

into a $72 million DIP Term Loan Facility with the U.S. Prepetition Secured Lenders. The proceeds of

the DIP Term Loan Facility will be used to provide the Debtors with the ability to fund operations and

meet their administrative obligations during these chapter 11 cases.

       23.     I believe the proposed DIP Facilities serve as an important component of the Debtors’

overall restructuring efforts because they provide the Debtors with the stability and certainty that they

can emerge from the chapter 11 process in a timely and expeditious manner. Overall, based on the

results of this marketing process and Moelis’ discussions with potential lenders, I believe that the DIP

Facilities are the best available possible financing options for the Debtors at this time.

             The Rates and Fees in Connection with the DIP Facilities Are Reasonable

       24.     I understand that the Debtors have agreed, subject to Court approval, to pay certain

interest and fees to the DIP Agents and the DIP Lenders pursuant to the DIP Loan Documents. Under

the Debtors’ circumstances and based on my knowledge of similar financings, I believe that the

interest rates and fees reflected in the DIP Facilities are reasonable. Further, the Debtors and the DIP

Lenders agree that the interest rates and fees were subject to negotiation and are an integral component

of the overall terms of the DIP Facilities, and were required by the applicable DIP Agents and the DIP

Lenders as consideration for the extension of postpetition financing.

                                                    10
 18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                             Pg 609 of 692


                                         Need for Interim Relief

       25.     The Debtors are entering these chapter 11 cases with the overwhelming support of the

Prepetition Secured Lender.       Their support is contingent on, among other things, meeting the

milestones and obligations in the DIP Facilities. One of the Debtors’ principal obligations is to gain

this Court’s approval of the DIP Facilities pursuant to the terms of the Interim Order within the first

three business days of these chapter 11 cases.

       26.     The Debtors require immediate access to postpetition financing to operate their

business. Accordingly, I believe it is appropriate and necessary for the Court to approve the proposed

DIP financing on the terms set forth in the Motion and Interim Order.

                                                 Conclusion

       27.     I believe that, given the circumstances, the process to obtain debtor-in-possession

financing produced the best financing option available at such time, that the terms of the DIP Facilities

are reasonable under the circumstances, and access to the DIP Facilities is necessary for the Debtors to

preserve the highest and best value for their estates.



                              [Remainder of page intentionally left blank.]




                                                    11
 18-13374-mew        Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18         Main Document
                                           Pg 610 of 692


       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing statements

are true and correct to the best of my knowledge, information, and belief.

Dated: November 6, 2018                           /s/ Zul Jamal
New York, New York                                Zul Jamal
                                                  Managing Director
                                                  Moelis & Company LLC
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 611 of 692


                          EXHIBIT C to the DIP Motion

                          ABB Adequate Protection Order
18-13374-mew           Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18                      Main Document
                                                 Pg 612 of 692




 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ___________________________________________
                                                                           Chapter 11
                                        :
 In re:                                 :                                  Case No. 18-13374 ([●])
                                        :
 AEGEAN MARINE PETROLEUM NETWORK, INC., :                                  (Joint Administration Requested)
 et al.,1                               :
                                        :
                Debtors.                :
 ____________________________________________

                     INTERIM ORDER (I) GRANTING ADEQUATE
                PROTECTION TO AEGEAN BALTIC BANK S.A., AS AGENT,
           (II) AUTHORIZING USE OF CASH COLLATERAL, (III) MODIFYING
            THE AUTOMATIC STAY, AND (IV) GRANTING RELATED RELIEF

         Upon       the     motion      (the    “Motion”)2        of    the     above-captioned         debtors      and

 debtors-in-possession (collectively, the “Debtors”) pursuant to sections 105, 361, 362, 363,

 364(c)(1), 364(c)(2), and 364(c)(3), 364(d), 364(e), and 507 of title 11 of the United States Code

 (the “Bankruptcy Code”), Rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy

 Procedure (as amended, the “Bankruptcy Rules”), and Rules 2002-1, 4001-2, 9006-1, 9013-1,

 9014-1, and 9014-2 of the Local Bankruptcy Rules (the “Local Rules”) for the United States

 Bankruptcy Court for the Southern District of New York (this “Court”), inter alia, requesting,

 among other things, an interim order (this “Interim Order”) and a Final Order (as defined herein)

 (I) Authorizing the Debtors to Obtain Senior Secured Priming Superpriority Postpetition

 Financing,     (II)      Granting    Liens     and     Superpriority       Administrative        Expense       Claims,


 1   Due to the large number of Debtors in these chapter 11 cases, for which the Debtors have requested joint
     administration, a complete list of the Debtors and the last four digits of their tax identification, registration, or
     like numbers is not provided herein. A complete list of such information may be obtained on the website of the
     Debtors’ proposed claims and noticing agent at http://dm.epiq11.com/aegean. The location of Debtor Aegean
     Bunkering (USA) LLC’s principal place of business and the Debtors’ service address in these chapter 11 cases
     is 52 Vanderbilt Avenue, Suite 1405, New York, New York 10017.
 2   Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in Annex A
     hereto or in the Motion as applicable.
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 613 of 692



 (III) Authorizing Use of Cash Collateral, (IV) Granting Adequate Protection, (V) Modifying the

 Automatic Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief; and this

 Court having found that it has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

 and 1334; that venue of these chapter 11 cases and the Motion in this district is proper pursuant

 to 28 U.S.C. § 157(b); and this Court having found that proper and adequate notice of the Motion

 and the relief requested therein was provided in accordance with the Bankruptcy Rules and the

 Local Rules, and that no other or further notice is necessary; and any objections to the Motion

 having been withdrawn or overruled on the merits; and an interim hearing having been held on

 November [___], 2018 (the “Interim Hearing”) to consider the relief requested in the Motion and

 upon the record of the Interim Hearing, the Motion and all of the proceedings had before this

 Court; and this Court having found and determined that the relief set forth therein is in the best

 interests of Debtors, their estates, their creditors and all other parties-in-interest; and that the

 legal and factual bases set forth in the Motion and at the Interim Hearing establish just cause for

 the relief granted herein; and after due deliberation and sufficient cause appearing therefor;


 IT IS HEREBY FOUND AND DETERMINED THAT:

        A.      Commencement of the Chapter 11 Cases. On November 6, 2018 (the “Petition

 Date”), each of the Debtors filed a voluntary petition for relief under chapter 11 of title 11 of the

 United States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) in the

 Bankruptcy Court for the Southern District of New York (the “Court”), thereby commencing

 these chapter 11 cases (the “Chapter 11 Cases”).

        B.      Debtors-in-Possession; No Committee. Since the Petition Date, the Debtors

 have been managing and operating their business and properties as debtors-in-possession

 pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. As of the date hereof, no official

                                                  2
18-13374-mew      Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                          Pg 614 of 692



 committee of unsecured creditors (any such committee, the “Committee”) has been appointed in

 the Chapter 11 Cases.

        C.      Jurisdiction and Venue. This Court has jurisdiction over these Chapter 11

 Cases, the Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(a)

 and 1334(b). Consideration of the Motion constitutes a core proceeding pursuant to

 28 U.S.C. §157(b)(2). The predicates for relief sought herein are sections 105, 361, 362, 363,

 506, 507(b) and 552 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6003, 6004 and

 9014, and Rule 4001-1 of the Local Rules. Venue is proper before this Court pursuant to

 28 U.S.C. §§ 1408 and 1409.

        D.      DIP Facility. On November 6, 2018, the Debtors filed the Motion requesting,

 among other things, authorization to obtain financing from the DIP Lenders (as defined in the

 Motion) pursuant to the debtor-in-possession financing facilities (collectively, the “DIP

 Financing” and the interim and final orders approving the DIP Financing, collectively, the “DIP

 Order”) pursuant to certain credit agreements (each, a “DIP Credit Agreement” and, together,

 the “DIP Credit Agreements”). Pursuant to the Motion, the Debtors also requested authority to

 enter into adequate protection stipulations and consent orders with certain prepetition secured

 lenders that are consenting to the grant of junior liens on their collateral to secure the DIP

 Financing. This Interim Order and the forthcoming anticipated Final Order are such adequate

 protection consent orders.

        E.      Notice. Notice of the Interim Hearing and the relief requested in the Motion has

 been provided by the Debtors in accordance and compliance with Bankruptcy Rules 4001 and

 9014, as well as the Local Rules, and is sufficient under the circumstances. Without limiting the

 foregoing, due notice was afforded, whether by facsimile, electronic mail, overnight courier or


                                                3
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 615 of 692



 hand delivery, to the parties-in-interest, including (a) the Office of the United States Trustee for

 the Southern District of New York (the “U.S. Trustee”); (b) entities listed as holding the 30

 largest unsecured claims against the Debtors (on a consolidated basis); (c) counsel to the

 Prepetition Term Parties; (d) counsel to the DIP Secured Parties; and (e) any party that has

 requested notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”).

        F.      Prepetition Facility Obligations. Certain Debtors as borrowers, Aegean Marine

 Petroleum Network, Inc. and certain other affiliated Debtors as obligors, Aegean Baltic Bank

 S.A. (“ABB”), as agent (in such capacity, in each case, the “ABB Agent”), the ABB Lenders,

 and the other ABB Parties are parties in each case to that certain 2005 Newbuilding Secured

 Term Loan, 2006 Newbuilding Secured Term Loan, Third 2006 Newbuilding Secured Term

 Loan, and 2008 Newbuilding Secured Term Loan (each as amended, modified, supplemented, or

 waived from time to time, and together with all ancillary documents, agreements, and notes

 executed by the obligors in connection therewith (collectively, the “ABB Secured Term Loan

 Documents,” and all obligations arising under, in respect of or related thereto, the ABB Secured

 Term Loan Documents, the “ABB Prepetition Term Obligations”)). A detailed description of the

 ABB Secured Term Loan Documents, the underlying credit facilities and the collateral securing

 those facilities (“ABB Prepetition Collateral”) is set forth in Annex A hereto.

        G.      [Reserved for Stipulations (as defined below) to be included in the Final Order.]

        H.      Necessity of Relief Requested. The Debtors have requested immediate entry of

 this Interim Order pursuant to Bankruptcy Rule 4001(b)(2) and Local Rules 4001-1, 4002-1, and

 9013-1, and good cause has been shown for entry of this Interim Order. Without access to, and

 the ability to use, the ABB Prepetition Collateral, which includes the vessels identified in

 Annex A hereto (which, in each case, constitute ABB Prepetition Vessel Collateral (as defined


                                                  4
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                           Pg 616 of 692



 below)), the Debtors’ ability to manage, administer and preserve their estates would be

 immediately and irreparably harmed, thereby materially impairing their respective estates and

 creditors and the likelihood of a successful outcome in these Chapter 11 Cases. The terms of the

 use of the ABB Prepetition Collateral (as defined in Annex A), including the ABB Term Cash

 Collateral, including the grant of adequate protection and the other rights and benefits of the

 parties set forth in this Interim Order, are fair and reasonable, the product of arms’ length

 negotiations, and reflect the Debtors’ exercise of prudent business judgment consistent with their

 fiduciary duties. Accordingly, entry of this Interim Order is in the best interests of the Debtors,

 their respective estates and their creditors and other parties-in-interest.

         I.      Adequate Protection. The ABB Parties are entitled, pursuant to sections 361 and

 363(e) of the Bankruptcy Code, and as a condition for the use of their ABB Prepetition

 Collateral, including the ABB Term Cash Collateral, to the adequate protection of their

 respective interests in the ABB Prepetition Collateral, including the ABB Term Cash Collateral.

 The ABB Agent and ABB Lenders have negotiated in good faith regarding the Debtors’ use of

 the ABB Prepetition Collateral, including the ABB Term Cash Collateral, and have agreed to

 permit the Debtors to use the ABB Prepetition Collateral, including the ABB Term Cash

 Collateral in accordance with this Interim Order, subject to the other terms and conditions set

 forth herein, including the protections afforded parties in “good faith” under section 363(m) of

 the Bankruptcy Code. Based on the Motion and on the record presented to the Court at the

 Interim Hearing, the terms of the proposed adequate protection arrangements and of the use of

 the ABB Prepetition Collateral, including the ABB Term Cash Collateral, are fair and

 reasonable, reflect the Debtors’ prudent business judgment, and constitute reasonably equivalent

 value and fair consideration for the ABB Agent and ABB Lenders’ consent thereto.


                                                    5
18-13374-mew          Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                            Pg 617 of 692



         J.      Consent Order. The Debtors and the ABB Parties agree that this Interim Order

 is a consent order and that any modification or amendment hereof requires the prior written

 consent of the ABB Parties and the Debtors.

         NOW THEREFORE, IT IS HEREBY ORDERED THAT,

          1.      Motion Granted. The Motion is GRANTED on an interim basis as herein

  provided and the use of the ABB Prepetition Collateral, including the ABB Term Cash

  Collateral, is authorized for each Debtor, subject and pursuant to the terms and conditions set

  forth in this Interim Order. Any objections to the Motion with respect to the entry of this

  Interim Order that have not previously been withdrawn, waived or otherwise resolved are

  hereby denied and overruled.

         2.             Authorization to Use ABB Prepetition Collateral, including ABB Term

 Cash Collateral. The Debtors are authorized to use the ABB Prepetition Collateral, including

 the ABB Term Cash Collateral, during the period beginning on the Petition Date until the

 occurrence of the Termination Date (as defined below) subject to the terms and conditions of

 this Interim Order and to the adequate protection granted to or for the benefit of the ABB

 Parties as set forth herein.

         3.             Termination. The occurrence of any of the following events set forth in

 clauses (a) through (q) below shall constitute a “Termination Event” unless waived in writing

 by the ABB Lenders:

                 a.      this Interim Order shall cease to be in full force and effect for any reason;

                 b.      an order approving the relief requested in the Motion on a final basis (in

 form and substance satisfactory to the ABB Lenders, the “Final Order”) shall not have been

 entered by the Court on or before 45 days following entry of this Interim Order, unless an


                                                   6
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                            Pg 618 of 692



 extension is otherwise agreed to in writing by the ABB Agents (as defined in Annex A);

                c.      any of the Chapter 11 Cases shall be dismissed or converted to a case

 under chapter 7 of the Bankruptcy Code, a chapter 11 trustee or examiner with expanded

 powers pursuant to section 1106(b) of the Bankruptcy Code shall be appointed in any of the

 Chapter 11 Cases, or any of the Debtors shall seek, or shall support (in any such case by way of,

 inter alia, any motion or pleading filed with this Court or any other writing to another party in

 interest executed by or on behalf of any Debtor) any person’s motion or other pleading seeking

 any of the foregoing relief;

                d.      an order shall have been entered (or any of the Debtors shall seek an

 order) reversing, amending, supplementing, extending, staying, vacating, or otherwise

 modifying this Interim Order without the prior written consent of the ABB Parties;

                e.      any modification shall be made to the DIP Orders or otherwise to the DIP

 Financing that could reasonably be expected to result in nonpayment of the Adequate Protection

 Payments granted hereunder, or otherwise adversely impacts the ABB Parties (including,

 without limitation, any amendment that contravenes or modifies, or attempts to contravene or

 modify, the provisions of paragraph 12 hereof) without the prior written consent of ABB Agent

 and ABB Lenders;

                f.      the Debtors shall file, or the Court shall grant, any application, motion or

 borrowing request seeking (i) to incur indebtedness from any party secured by a lien on, or

 otherwise having a claim against or recourse to, as the case may be, any Debtor Borrowers or

 Debtor Other Obligors, the ABB Prepetition Collateral other than the Junior DIP Liens (as

 defined below) without the prior written consent of the ABB Agent and ABB Lenders, or

 (ii) the use of the ABB Term Cash Collateral on a nonconsensual basis;


                                                  7
18-13374-mew         Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 619 of 692



                g.      the Court shall grant any application by any party seeking payment of

 any claim on a superpriority administrative claim basis pari passu with, or senior to, the

 Adequate Protection Superpriority Claims without the written consent of the ABB Lenders;

                h.      the entry of an order by this Court or any other court having jurisdiction

 to do so granting relief from or modifying the automatic stay applicable under section 362 of

 the Bankruptcy Code upon the Petition Date to allow a holder or holders of any lien or security

 interest (including, without limitation, any DIP Agent or other DIP Secured Party in respect of

 the Junior DIP Liens) to foreclose on or otherwise enforce remedies against and/or realize upon

 their liens or security interests in respect of any ABB Collateral;

                i.      any Obligor breaches any material covenant or undertaking (after any

 applicable cure period set forth in the ABB Secured Term Loan Documents) in any of the ABB

 Secured Term Loan Documents relating to insurance, operation, management and maintenance

 of any vessel that is ABB Prepetition Vessel Collateral, including, without limitation, any

 breach in connection with expropriation, arrest, detention, capture, condemnation, confiscation,

 requisition, purchase, seizure, or forfeiture of or any taking title to, the applicable vessel that is

 ABB Prepetition Vessel Collateral;

                j.      any Debtor shall sell (including, without limitation, any sale and

 leaseback transaction), transfer (including any assignment of rights), lease, encumber or

 otherwise dispose of any portion of the Collateral, except as expressly permitted by this Interim

 Order and the ABB Secured Term Loan Documents, or this Court or any other court having

 jurisdiction to do so shall enter an order authorizing any sale or disposition of any Collateral, in

 each case without the prior written consent of ABB Agent and ABB Lenders;

                k.      any Debtor shall transfer ABB Term Cash Collateral to an account in the


                                                   8
18-13374-mew         Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 620 of 692



 name of a Debtor that is not a Debtor Borrower or Debtor Other Obligor or that is not

 maintained with an ABB Agent or ABB Lenders or subject to an ABB Agent’s or ABB

 Lenders’ control; provided that, notwithstanding the foregoing, the Debtors may continue

 making transfers or payments in the ordinary course consistent with past practice, including, but

 not limited to, any such management fee or service fee payments; provided further that the

 rights of ABB Parties with respect to any such management fee or service fee payment or

 payments (including all rights to object to the payment of any particular fee) are preserved.

                l.      subject to a five (5) day grace period, the Debtors shall fail to make any

 Adequate Protection Payment when due;

                m.      the entry of an order of this Court or any other court having jurisdiction

 to do so avoiding, disgorging, or requiring repayment of any portion of the Adequate Protection

 Payments made by or on behalf of the Debtor obligors hereunder;

                n.      the entry of an order of this Court or any other court having jurisdiction

 to do so approving any claims for recovery of amounts under section 506(c) of the Bankruptcy

 Code or otherwise arising from the preservation or disposition of ABB Prepetition Collateral;

                o.      any Debtor shall assert (or shall support any other person in asserting) the

 invalidity, non-perfection or unenforceability of any of the Adequate Protection Liens or the

 invalidity and unenforceability of the Adequate Protection Superpriority Claims;

                p.      any Debtor shall seek, or shall support (in any such case by way of, inter

 alia, any motion or pleading filed with this Court or any other writing to another party in

 interest executed by or on behalf of any Debtor) any person’s motion, to disallow or

 subordinate (whether equitably, contractually or otherwise) in whole or in part any of the ABB

 Parties’ claims in respect of the ABB Prepetition Term Obligations or to challenge the validity,


                                                  9
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                            Pg 621 of 692



 enforceability, perfection or priority of any liens or security interests in favor of any ABB Party

 (including with, without limitation, any ABB Prepetition Term Lien); or

                q.         the Debtors shall fail to comply with any provision of this Interim Order

 in any material respect.

        4.             Remedies upon a Termination Date.

                      a.     Notwithstanding anything herein, the Debtors’ authorization to use

 ABB Term Cash Collateral hereunder shall automatically terminate on the date

 (the “Termination Date”), that is (i) five (5) days from the date (the “Termination Notice Date”)

 on which written notice (a “Termination Notice”) of the occurrence of a Termination Event is

 given (which notice may be given electronically) by or on behalf of an ABB Agent or ABB

 Lenders to counsel for the Debtors (such period commencing on the Termination Notice Date

 and ending five (5) days later, the “Termination Notice Period”) or (ii) the effective date of any

 plan of reorganization. The rights and remedies of ABB Parties specified herein are cumulative

 and not exclusive of any rights or remedies that they may otherwise have. The only permissible

 basis for the Debtors or any party in interest to contest, challenge or object to a Termination

 Notice shall be solely with respect to the validity of the Termination Event(s) giving rise to

 such Termination Notice (i.e., whether such Termination Event or Events validly occurred and

 have not been cured or waived in accordance with this Interim Order).

                      b.     Upon and after delivery of the Termination Notice, the Debtors and

 the ABBs Agent and ABB Lenders consent to a hearing on an expedited basis to consider

 whether the automatic stay may be lifted so that the ABB Parties may exercise any and all of

 their respective rights set forth in this Interim Order or in the ABB Secured Term Loan

 Documents.


                                                   10
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 622 of 692



                     c.    During the Termination Notice Period, the Debtors’ right to use ABB

 Term Cash Collateral pursuant to this Interim Order shall be limited to the payment of any other

 critical business-related expenses necessary to operate the Debtor Borrowers’ or Debtor Other

 Obligors’ business or preserve ABB Prepetition Collateral, including but not limited to

 payments in respect of health or human safety, in each case with prior notice to the ABB

 Agents and ABB Lenders.

                     d.    The delay or failure to exercise rights and remedies under this Interim

 Order or any Newbuilding Secured Term Loan Document shall not constitute a waiver of the

 ABB Parties’ rights hereunder, thereunder or otherwise. The occurrence of the Termination

 Date or a Termination Event shall not affect the validity, priority or enforceability of any and all

 rights, remedies, benefits and protections provided to the ABB Parties under this Interim Order,

 which rights, remedies, benefits and protections shall survive the Termination Date.

                     e.    The automatic stay imposed under Bankruptcy Code section 362(a)

 upon the Petition Date is hereby modified as necessary, without further order or notice of the

 Court, to (i) permit the Debtors to grant the Adequate Protection Liens and Adequate Protection

 Superpriority Claims and to incur all liabilities and obligations to the ABB Parties under this

 Interim Order, and (ii) authorize the ABB Parties to retain any applicable payments hereunder.

                     f.    Nothing included herein shall prejudice, impair, or otherwise affect

 ABB’s rights to seek any other or supplemental relief in respect of the Debtors (including any

 other or additional adequate protection and/or relief from stay).

          5.     Adequate Protection. As adequate protection for the ABB Parties’ respective

  interests in the ABB Prepetition Collateral, including ABB Term Cash Collateral, pursuant to

  section 361 and 363(e) of the Bankruptcy Code, and as a condition for the use of ABB


                                                  11
18-13374-mew      Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                           Pg 623 of 692



  Prepetition Collateral, including any ABB Term Cash Collateral, the ABB Parties are hereby

  granted the following (the “Adequate Protection”), effective from the Petition Date:

                    a.     Adequate Protection Liens.           Solely to the extent of, and in an

 aggregate amount equal to, any diminution in value of the ABB Parties’ respective interests in

 ABB Prepetition Collateral resulting from, among other things, the use, sale or lease by the

 Debtors of ABB Prepetition Collateral (including the use of ABB Term Cash Collateral) and/or

 the imposition or enforcement of the automatic stay provided for under section 362(a) of the

 Bankruptcy Code (“Diminution in Value”) from and after the Petition Date, the ABB Parties’

 (or the respective ABB Agent on its behalf) is hereby granted the following security interests

 and liens (collectively, the “Adequate Protection Liens”), pursuant to sections 361(2),

 363(c)(2), and 363(e) of the Bankruptcy Code:

                         (i)    valid,   binding,        continuing,   enforceable,   fully-perfected,

 non-avoidable (x) first priority replacement liens on, and security interests in, the ABB

 Collateral of each borrower under the ABB Secured Term Loan Documents that is also a

 Debtor in these Chapter 11 Cases (each a “Debtor Borrower”) under the respective ABB

 Secured Term Loan Documents under which such ABB Party is a party and (y) replacement

 liens on, and security interests in, the ABB Collateral of each other obligor under the ABB

 Secured Term Loan Documents that is also a Debtor in these Chapter 11 Cases (each a “Debtor

 Other Obligor”) against whom the ABB Party has a ABB Prepetition Term Lien (which

 replacement liens shall be junior only to any first priority ABB Adequate Protection Liens and

 ABB Prepetition Term Liens of any other ABB Party on such ABB Collateral pursuant to this

 Interim Order and the ABB Secured Term Loan Documents), in each case that is not subject to

 (1) valid, perfected, non-avoidable and enforceable liens in existence on or as of the Petition


                                                    12
18-13374-mew       Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                             Pg 624 of 692



 Date or (2) valid and non-avoidable liens in existence as of the Petition Date that are perfected

 after the Petition Date as permitted by section 546(b) of the Bankruptcy Code; and

                          (ii)    valid,   binding,        continuing,   enforceable,    fully-perfected

 non-avoidable senior priming replacement liens on, and security interests in, all other ABB

 Collateral of each Debtor Borrower and each Debtor Other Obligor under the respective ABB

 Secured Term Loan Documents under which such ABB Party is a party, which replacement

 liens and security interests (x) against the Debtor Borrowers under the respective ABB Secured

 Term Loan Documents under which ABB is a party shall be (x) junior only to any valid,

 perfected and non-avoidable liens in existence as of the Petition Date and any valid and

 non-avoidable liens in existence as of the Petition Date that are perfected after the Petition Date

 as permitted by section 546(b) of the Bankruptcy Code, in each case, which are senior in

 priority to the ABB Prepetition Term Liens and are permitted by the terms of the ABB Secured

 Term Loan Documents (such liens set forth in this clause (x), the “Senior Third Party Liens”),

 and (y) senior to the Junior DIP Liens (as herein defined), the ABB Prepetition Term Liens, and

 all other liens and security interests of any third parties (other than any Senior Third Party

 Liens). Notwithstanding anything to the contrary, any replacement liens and security interests

 of the ABB Parties against a Debtor Borrower under the respective ABB Secured Term Loan

 Documents to which such ABB Party is a party shall be senior and prior to any replacement

 liens and security interests of any other ABB Party against such Debtor Borrower.

                     b.     ABB Collateral. “ABB Collateral” shall mean, collectively, (i) all

 ABB Prepetition Collateral, including the ABB Prepetition Vessel Collateral, and all

 postpetition revenues from or related to the ABB Prepetition Vessel Collateral, (ii) insurances,

 bank accounts and other security or deposit accounts (including, for the avoidance of doubt, any


                                                      13
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 625 of 692



 accounts opened prior to, on and/or after the Petition Date) of the Debtor Borrowers or Debtor

 Other Obligors to the extent that the ABB Parties hold a security interest in such insurances,

 bank accounts and other security or deposit accounts pursuant to the ABB Secured Term Loan

 Documents, (iii) all equity interests, intercompany claims, accounts and receivables (and all

 rights associated therewith), in each case, held by or recorded in the name of any Debtor

 Borrower or any Debtor Other Obligor to the extent that such equity interest, intercompany

 claim, account or receivable or products or proceeds thereof constitutes ABB Prepetition

 Collateral, and (iv) any and all proceeds, products, rents and profits of all of the foregoing;

 provided that, for the avoidance of doubt, ABB Collateral shall not include any of the claims

 and causes of action by the estates of the Debtor Borrowers for preferences, fraudulent

 conveyances, and other avoidance power claims under sections 544, 545, 547, 548, 550 and 553

 of the Bankruptcy Code (collectively, the “Avoidance Actions”) or any proceeds thereof.

                     c.    Status of the Adequate Protection Liens. The Adequate Protection

 Liens shall not be (i) subject or subordinate to (A) any lien or security interest that is avoided

 and preserved for the benefit of the Debtor Borrowers and their estates under section 551 of the

 Bankruptcy Code or (B) any lien or security interest arising after the Petition Date, including,

 for the avoidance of doubt, the Junior DIP Liens and the Carve Out, or (ii) except as expressly

 set forth in in this Interim Order (or the Final Order), subordinated to or made pari passu with

 any other lien or security interest under sections 363 or 364 of the Bankruptcy Code or

 otherwise. The Adequate Protection Liens shall be in addition to all valid and enforceable liens

 and security interests now existing in favor of the ABB Agents or the other ABB Parties or for

 the benefit of the ABB Parties and not in substitution therefor.




                                                 14
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 626 of 692



                     d.    Effectiveness of Adequate Protection Liens. This Interim Order

 shall be sufficient and conclusive evidence of the validity, perfection, enforceability and

 priority of the Adequate Protection Liens without the necessity of filing or recording any

 financing statement, deed of trust, mortgage, security agreement, notice of liens, or other

 similar instrument or document which may otherwise be required under the law of any

 jurisdiction or the taking of any other action to validate or perfect the Adequate Protection

 Liens or to entitle the Adequate Protection Liens to the priorities granted herein.

 Notwithstanding the foregoing, each ABB Agent may, in its sole discretion, file such financing

 statements, deeds of trust, mortgages, security agreements, notices of liens and other similar

 instruments or documents, and is hereby granted relief from the automatic stay of section 362 of

 the Bankruptcy Code in order to do so, and all such financing statements, deeds of trust,

 mortgages, security agreements, notices and other agreements or documents shall be deemed to

 have been filed or recorded at the time and on the date of the commencement of the Chapter 11

 Cases. The Debtors shall execute and deliver to the ABB Agents all such financing statements,

 mortgages, security agreements, notices and other documents as the ABB Agents may

 reasonably request to evidence, confirm, validate or perfect, or to ensure the contemplated

 priority of the Adequate Protection Liens. The ABB Agents, in their sole discretion, may file a

 photocopy of this Interim Order as a financing statement with any recording officer designated

 to file financing statements or with any registry of deeds or similar office in any jurisdiction in

 which the Debtors have real or personal property and, in such event, the subject filing or

 recording officer shall be authorized to file or record such copy of this Interim Order.

                     e.    Adequate Protection Superpriority Claims. To the extent of, and in

 an aggregate amount equal to, any Diminution in Value in respect of the ABB Prepetition


                                                  15
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                         Pg 627 of 692



 Collateral securing its respective ABB Prepetition Term Obligations, each ABB Party is hereby

 granted an allowed superpriority administrative expense claim against each Debtor Borrower

 under the respective ABB Secured Term Loan Documents under which such ABB Party is a

 party and each Debtor Other Obligor against which such ABB Party has an ABB Prepetition

 Term Lien (collectively, the “Adequate Protection Superpriority Claims”), which Adequate

 Protection Superpriority Claims shall have priority over any and all administrative expenses,

 adequate protection claims and other claims against the Debtor Borrowers and Debtor Other

 Obligors against which such ABB Party has an ABB Prepetition Term Lien, now existing or

 hereafter arising, of any kind whatsoever, including, without limitation, (i) all administrative

 expenses of the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, and over

 any and all administrative expenses or other claims arising under the Bankruptcy Code, (ii) the

 Carve Out and (iii) the Junior DIP Liens.

                     f.   Scope of Adequate Protection Liens and Adequate Protection

 Superpriority Claims. Except as otherwise provided, herein, (i) the Adequate Protection Liens

 granted to each ABB Party hereunder shall be limited to (x) ABB Prepetition Term Collateral

 and (y) any other ABB Collateral of any Debtor Borrower under the respective ABB Secured

 Term Loan Documents under which such ABB Party is a party and any Debtor Other Obligor

 against whom such ABB Party has an ABB Prepetition Term Lien, and (ii) the Adequate

 Protection Superpriority Claims granted to each ABB Party hereunder shall be limited to claims

 against (x) the Debtor Borrowers under the applicable Prepetition Term Facility under which

 such ABB Party is a party and (y) any other Debtor against whom such ABB Party has a ABB

 Prepetition Term Lien. For the avoidance of doubt, Aegean Marine Petroleum Network, Inc.,

 Aegean Shipholdings Inc., and Aegean Bunkering Services Inc. shall not grant Adequate


                                                16
18-13374-mew       Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18         Main Document
                                             Pg 628 of 692



 Protection Liens or Adequate Protection Superpriority Claims.

                     g.     Adequate Protection Payments.

                          (i)     The ABB Agents (on behalf of the respective ABB Parties) shall

 each receive from the Debtors (a) within five (5) business days following the entry of this

 Interim Order, cash payment of all accrued and unpaid interest (whether accrued prior to or

 after the Petition Date) on the applicable ABB Prepetition Term Obligations at the non-default

 rates provided for in the respective ABB Secured Term Loan Documents (it being understood

 that interest shall accrue at the default rate to the fullest extent permitted under the Bankruptcy

 Code, with all rights to object thereto fully preserved), and all accrued and unpaid fees and

 costs (whether accrued prior to or after the Petition Date) owing to the ABB Parties under the

 respective ABB Secured Term Loan Documents, and (b) thereafter, as and when due under the

 respective ABB Secured Term Loan Documents, cash payment of all accrued and unpaid

 interest, at the applicable non-default rates provided in the respective ABB Secured Term Loan

 Documents (it being understood that interest shall accrue at the default rate to the fullest extent

 permitted under the Bankruptcy Code, with all rights to object thereto fully preserved), and any

 fees and costs due and payable under the respective ABB Secured Term Loan Documents,

 including, without limitation, any accrued fees owing to the ABB Parties under the respective

 ABB Secured Term Loan Documents.

                          (ii)    The Debtors shall pay in full, in cash and in immediately

 available funds, all reasonable and documented fees, costs and expenses (whether incurred prior

 to, on or after the Petition Date) of the ABB Agents (on behalf of the respective ABB Parties)

 owing to the ABB Agents and/or the other ABB Parties under the respective ABB Secured

 Term Loan Documents, including all reasonable and documented professional and advisory


                                                  17
18-13374-mew       Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                            Pg 629 of 692



 fees, costs and expenses of their legal, financial and other professionals, including, White &

 Case LLP and any financial advisor and any other local, foreign or regulatory counsel as may at

 any time be necessary (collectively, the “ABB Professionals”), (x) promptly upon the entry of

 this Interim Order in the full amounts set forth in any outstanding invoices from the ABB

 Agents and/or the other ABB Parties and ABB Professionals received by the Debtors at least

 two (2) business days prior to the entry of this Interim Order; and (y) thereafter, within ten (10)

 business days after the presentment of any such invoices to the Debtors (which invoices shall

 include reasonable supporting detail in the form of standard detailed invoices, which may be

 redacted to protect privileged, confidential, or commercially or strategically sensitive

 information) (the payment obligations set forth in this paragraph 5(g), the “Adequate Protection

 Payments”). The ABB Agents and/or the ABB Parties and ABB Professionals shall not be

 required to comply with the U.S. Trustee fee guidelines or file any fee applications with the

 Court, but shall provide copies of their invoices (which may be redacted as set forth above) to

 the U.S. Trustee and any Committee upon written request.

        6.               Reporting. The Debtors shall comply with the reporting requirements set

 forth in the ABB Secured Term Loan Documents, and shall provide (or continue to provide, as

 applicable) the following additional reporting to the ABB Agents:

                    a.        A copy of any Approved Budget (as defined in the DIP Order)

 provided to the DIP Lenders in satisfaction of the Debtors’ reporting requirements under the

 DIP Order and/or the DIP Documents.

                     b.       A monthly fleet status report on all vessels that constitute ABB

 Prepetition Vessel Collateral explaining the location of the relevant vessel, whether such vessel

 is being chartered out, and any material changes in connection with the Debtors’ use of such


                                                  18
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 630 of 692



 vessel as compared to historical practice.

                     c.     Written notice to the ABB Agents of any early termination notices

 provided by any chartering parties pursuant to the relevant charters.

                     d.     Written notice to the ABB Agents of any other cash collateral or

 adequate protection stipulation, consent order (including, without limitation, any consent order

 substantially in the form of this Interim Order) related to cash collateral or adequate protection,

 or other cash collateral or adequate protection order entered in the Chapter 11 Cases with

 respect to any other secured creditor of the Debtors.

                     e.     The Debtors shall promptly provide notice to each of the ABB

 Agents (with a copy to their counsel) when any Debtor has any knowledge of the occurrence of

 any Termination Event.

        7.            Access to Records and Collateral Inspection Rights. In addition to, and

 without limiting, any rights to access that ABB has under their respective ABB Secured Term

 Loan Documents (which rights shall be preserved under this Interim Order), upon reasonable

 notice and at reasonable times, the Debtors shall permit representatives, agents and employees

 of the ABB Agents (a) to have access to and inspect the ABB Prepetition Vessel Collateral,

 (b) to examine the books and records of the Debtor Borrowers in connection with the ABB

 Prepetition Collateral, and (c) to discuss the affairs, finances, and condition of the ABB

 Prepetition Collateral with a representative of the Debtors.

        8.            Insurance and Maintenance of ABB Prepetition Collateral.                  The

 Debtors shall provide continued maintenance of and appropriate insurance on the Debtors’

 assets (including the vessels that are ABB Prepetition Vessel Collateral), in amounts consistent

 with the Debtors’ prepetition practices and as set forth in the applicable ABB Secured Term


                                                 19
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 631 of 692



 Loan Documents.

        9.       Carve Out. For the avoidance of doubt and notwithstanding anything to the

 contrary in this Interim Order, the Final Order, the DIP Order, the DIP Credit Agreements or

 any other DIP Loan Documents, the Carve Out shall be senior to all liens and claims securing

 the DIP Credit Facilities, including the Junior DIP Liens, and any and all other forms of

 adequate protection, liens, or claims securing the DIP Obligations, but shall not be senior to the

 Adequate Protection Liens, the Adequate Protection Superpriority Claims, the ABB Prepetition

 Term Liens and the ABB Prepetition Term Obligations, and the Adequate Protection Liens, the

 Adequate Protection Superpriority Claims, the ABB Prepetition Term Liens and the ABB

 Prepetition Term Obligations shall not be subject to the Carve Out.

         10.     Lien Stipulations and Challenges. The Debtors and ABB Agent and ABB

  Lenders shall negotiate in good faith regarding stipulations to be included in the Final Order

  related to (i) the validity, enforceability, allowability, priority, secured status, or amount of the

  ABB Prepetition Term Obligations and ABB Prepetition Term Liens, (ii) liabilities to third

  parties, (iii) claims and causes of action, and (iv) related releases and indemnities (collectively,

  the “Stipulations”), and regarding the ability of parties-in-interest to challenge such

  Stipulations and the timing for and scope of any such challenge in connection therewith.

         11.     Limitations on Use of ABB Term Cash Collateral.                     Notwithstanding

  anything herein to the contrary, no portion of the proceeds of the ABB Collateral may be used

  for the payment of professional fees, disbursements, costs, or expenses incurred by any person

  in connection with (a) incurring indebtedness other than as expressly permitted under this

  Interim Order, (b) preventing, hindering, impeding, or delaying any of the ABB Agents’ or

  any other ABB Party’s enforcement or realization upon, or exercise of rights in respect of any


                                                   20
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 632 of 692



  of the ABB Collateral (including any ABB Prepetition Collateral), (c) seeking to amend or

  modify any of the rights or interests granted to any ABB Agent or other ABB Party under this

  Interim Order or the respective ABB Secured Term Loan Documents, including seeking to use

  the ABB Term Cash Collateral on a contested basis, (d) asserting, commencing, or prosecuting

  any claims or causes of action, including, without limitation, any challenge or any other action

  under chapter 5 of the Bankruptcy Code (or any similar law), against any of the former,

  current and future ABB Party, or any of their respective former, current and future officers,

  employees, directors, agents, representatives, owners, members, partners, financial and other

  advisors and consultants, legal advisors, shareholders, managers, consultants, accountants,

  attorneys, affiliates, and predecessors and successors in interest (each of the foregoing, solely

  in their capacities as such), or (e) asserting, joining, commencing, supporting, investigating, or

  prosecuting any challenge, or any other action for any claim, counterclaim, action, cause of

  action, proceeding, application, motion, objection, defense, or other contested matter seeking

  any order, judgment, determination, or similar relief against, or adverse to the material

  interests of any ABB Party, arising out of, in connection with, or relating to the ABB Secured

  Term Loan Documents, or the transactions contemplated thereunder, including, without

  limitation, (i) any action arising under the Bankruptcy Code, (ii) any so-called “lender

  liability” claims and causes of action, (iii) any action with respect to the validity and extent of

  the ABB Prepetition Term Obligations or the validity, extent, perfection and priority of the

  ABB Prepetition Term Liens, (iv) any action seeking to invalidate, set aside, avoid, reduce, set

  off, offset, recharacterize, subordinate (whether equitable, contractual, or otherwise), recoup

  against, disallow, impair, raise any defenses, cross-claims, or counterclaims, or raise any other

  challenges under the Bankruptcy Code or any other applicable domestic or foreign law or


                                                  21
18-13374-mew       Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18       Main Document
                                             Pg 633 of 692



  regulation against, or with respect to, the ABB Prepetition Term Liens, in whole or in part,

  (v) appeal or otherwise challenge any order giving effect to this Interim Order or (vi) any

  action that has the effect of preventing, hindering, impeding or delaying (whether directly or

  indirectly) the ABB Agents or any other ABB Party in respect of the ABB Prepetition Term

  Liens, ABB Prepetition Term Obligations, Adequate Protection Liens or Adequate Protection

  Superpriority Claims or any of their rights, powers, or benefits hereunder or in the ABB

  Secured Term Loan Documents anywhere in the world; provided that no more than $25,000 in

  the aggregate may be used by any Committee solely to investigate (but not prosecute or

  challenge) the Stipulations.

         12.     Consent to Junior DIP Liens; Priority and Conditions.

                    a.      Subject in all respects to the terms and conditions (including the

 priorities) set forth in this Interim Order, including, without limitation, the intercreditor

 provisions set forth in this paragraph 12, the ABB Agent and ABB Lenders consent to the

 granting of junior liens (the “Junior DIP Liens”) on the ABB Prepetition Collateral, which

 Junior DIP Liens shall be junior to and subordinated in all respects to the ABB Prepetition

 Term Liens and the Adequate Protection Liens, and to any ABB Prepetition Term Obligations

 and Adequate Protection Superpriority Claims of the ABB Parties against the applicable

 Debtors, as provided herein, provided that nothing herein shall limit or alter the rights of the

 ABB Agents or any other ABB Party, or any other party, to object to any other liens or security

 interests, or to any subsequent debtor-in-possession financing.

                    b.      Notwithstanding anything herein, in the DIP Order or in the DIP

 Credit Agreements to the contrary, no DIP Agent or other DIP Secured Party may foreclose

 or otherwise exercise remedies following any default or Event of Default under the DIP


                                                 22
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                         Pg 634 of 692



 Order or DIP Loan Documents, or otherwise, with respect to any Collateral (including any

 ABB Prepetition Collateral) unless and until all ABB Prepetition Term Obligations (and

 any Adequate Protection Superpriority Claims) are paid in full and in cash. In order to

 give effect to the intended priority waterfall in respect of the ABB Collateral (including any

 ABB Prepetition Collateral) set forth in this Interim Order, and the Debtor Borrowers and

 Debtor Other Obligors, in the event any ABB Collateral (including any ABB Prepetition

 Collateral) is received by any DIP Agent or any other DIP Secured Party, in connection

 with the exercise of remedies following a default or Event of Default under the DIP Order

 or DIP Credit Agreements, or in connection with any mandatory prepayment required to

 be made pursuant to the DIP Loan Documents, shall be held in trust for the benefit of the

 ABB Parties and shall be distributed in accordance with the priorities set forth herein and

 in the ABB Secured Term Loan Documents; provided that, for the avoidance of doubt, the

 ABB Prepetition Collateral shall be available first to satisfy the underlying applicable ABB

 Prepetition Term Obligations until the payment in full and in cash of all ABB Prepetition

 Term Obligations (and any Adequate Protection Superpriority Claims).

                   c.      Until all ABB Prepetition Term Obligations (and any Adequate

 Protection Superpriority Claims) are indefeasibly paid in full and in cash, the ABB Agents

 and/or the ABB Parties, as applicable, shall have the exclusive right to take and continue any

 enforcement action against or otherwise in respect of the respective ABB Prepetition Collateral

 pursuant to the terms and conditions of this Interim Order, the ABB Secured Term Loan

 Documents and applicable law, without any consultation with or consent of any DIP Lender,

 and to make determinations regarding the release of, disposition of, or restrictions with respect

 to the ABB Prepetition Collateral in accordance with this Interim Order and ABB Secured


                                                23
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 635 of 692



 Term Loan Documents, without any consultation with or the consent of the DIP Agents or the

 other DIP Secured Parties. In taking and continuing any enforcement action in respect of the

 ABB Prepetition Term Liens and/or the Adequate Protection Liens, the respective ABB Agents

 and/or ABB Parties, as applicable, may enforce the provisions of this Interim Order and their

 respective ABB Secured Term Loan Documents and exercise remedies hereunder and

 thereunder, all in such order and in such manner as they may determine in the exercise of their

 sole discretion.

                    d.       In addition, if prior to the indefeasible payment in full and in cash of

 the ABB Prepetition Term Obligations (and any Adequate Superpriority Claims), in connection

 with an enforcement action in respect of the ABB Prepetition Term Liens and/or the Adequate

 Protection Liens, or any sale, transfer, license, lease or other disposition (including any sale and

 leaseback transaction) of any ABB Prepetition Collateral permitted under this Interim Order

 and the ABB Secured Term Loan Documents, the ABB Agents and/or any other ABB Parties

 release any of their respective liens on any part of the ABB Prepetition Collateral, then any

 Junior DIP Liens on such ABB Prepetition Collateral shall be automatically, unconditionally

 and simultaneously released without any action on the part of the DIP Agents or the other DIP

 Secured Parties, provided that any such Junior DIP Liens shall attach to any the proceeds of

 such ABB Collateral, subject to the priorities set forth in this Interim Order.

                    e.       The DIP Agents and the other DIP Secured Parties waive any and all

 rights they may have as a junior lien creditor or otherwise to object to the manner in which the

 ABB Agents or the other ABB Parties seek to enforce or collect the ABB Prepetition Term

 Obligations or the ABB Prepetition Term Liens securing the ABB Prepetition Term Obligations

 granted in any of the ABB Prepetition Collateral undertaken in accordance with this Interim


                                                  24
18-13374-mew      Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 636 of 692



 Order and the ABB Secured Term Loan Documents regardless of whether any action or failure

 to act by or on behalf of the ABB Agents or the other ABB Parties is adverse to the interest of

 the DIP Agents or the other DIP Secured Parties.

                   f.       Neither the ABB Agents nor the other ABB Parties shall have any

 obligation whatsoever to any DIP Agent or other DIP Secured Party to ensure that the ABB

 Prepetition Collateral is genuine or owned by any of the Debtor obligors or to preserve rights or

 benefits of any person except as expressly set forth herein. The ABB Agents and the other

 ABB Parties, acting pursuant to this paragraph 12 shall not have, by reason of the ABB Secured

 Term Loan Documents, the DIP Order, the DIP Loan Documents, this Interim Order or any

 other document, any duty or other fiduciary relationship to or in respect of any DIP Agent or

 other DIP Secured Party.

                   g.       Until all ABB Prepetition Term Obligations (and all Adequate

 Protection Superpriority Claims) are indefeasibly paid in full and in cash, neither any DIP

 Agent nor any other DIP Secured Party may take or receive any ABB Collateral or any

 proceeds of ABB Collateral in connection with the exercise of any right or remedy (including

 setoff) with respect to any ABB Collateral in its capacity as a creditor or otherwise. Without

 limiting the generality of the foregoing, unless and until all ABB Prepetition Term Obligations

 (and all Adequate Protection Superpriority Claims) are indefeasibly paid in full and in cash,

 except as expressly provided in this Interim Order, the sole right of the DIP Agents and the

 other DIP Secured Parties with respect to the ABB Collateral is to hold a junior lien on the

 ABB Collateral pursuant to the DIP Order, the DIP Loan Documents and this Interim Order for

 the period and to the extent permitted in this Interim Order and to receive a share of the

 proceeds thereof, if any, after the indefeasible payment in full and in cash of all ABB


                                                25
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 637 of 692



 Prepetition Term Obligations (and all Adequate Protection Superpriority Claims).

                    h.      Except as otherwise specifically provided herein to the contrary and

 solely for purposes of this Interim Order, the DIP Agents and other DIP Secured Parties each

 hereby waive: (i) promptness, diligence, notice of acceptance, notice of default, notice of

 nonpayment, notice of intent to accelerate, notice of acceleration and any other notice with

 respect to any of the ABB Prepetition Term Obligations and this Interim Order; (ii) any

 requirement that the ABB Agents, the other ABB Parties or any other secured party protect,

 secure, perfect, or insure any security interest or lien on the ABB Collateral or exhaust any right

 or take any action against the Debtor Borrowers and Debtor Other Obligors or any other person

 or any ABB Collateral; and (iii) any right of the DIP Agents or any other DIP Secured Party to

 require any ABB Agent or other ABB Party to marshal the assets of the Debtors.

                    i.      Any right of the DIP Agents or other DIP Secured Parties to credit

 bid on the ABB Collateral shall be subject to the prior or concurrent payment in full and in

 cash of all ABB Prepetition Term Obligations (and any Adequate Protection Superpriority

 Claims).

                    j.      The terms and provisions of this paragraph 12 shall apply

 notwithstanding anything to the contrary in the DIP Order or the DIP Loan Documents,

 and shall control in all respects as to the subject matter and provisions (including, without

 limitation, as to any relative priorities) set forth herein.

            13.   Continuing Effect of this Interim Order. Any dismissal, conversion, or

  substantive consolidation of the Chapter 11 Cases shall not affect the rights of the ABB Parties

  under this Interim Order, and all of their rights and remedies hereunder shall remain in full

  force and effect as if the Chapter 11 Cases had not been dismissed, converted, or substantively


                                                 26
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                          Pg 638 of 692



  consolidated. Any order dismissing any of the Chapter 11 Cases under section 1112 of the

  Bankruptcy Code or otherwise shall provide or be deemed to provide (in accordance with

  sections 105 and 349 of the Bankruptcy Code) that (x) the ABB Prepetition Term Obligations,

  the ABB Prepetition Term Liens, the Adequate Protection Superpriority Claims and the

  Adequate Protection Liens shall continue in full force and effect and shall maintain their

  priorities as provided in this Interim Order and the ABB Secured Term Loan Documents (and

  that such Adequate Protection Superpriority Claims and the Adequate Protection Liens shall,

  notwithstanding such dismissal, remain binding on all persons), and (y) this Court shall retain

  jurisdiction, notwithstanding such dismissal, for the purposes of enforcing the claims, liens

  and security interests referred to in clause (x) above.

         14.     Cash Management. The Debtors shall maintain their cash management

  arrangement in a manner consistent with past practice and as described in the Interim Order

  (I) Authorizing the Debtors to (A) Continue to Operate Their Cash Management System and

  Maintain Existing Bank Accounts and (B) Continue to Perform Intercompany Transactions

  and (II) Granting Related Relief [Dkt. No. [●]] (the “Cash Management Order”).

         15.     Proofs of Claim. None of the ABB Agents nor any other ABB Party shall be

  required to file proofs of claim or proofs of secured claim in any of the Chapter 11 Cases or

  Successor Cases (as defined below) and the Debtors’ stipulations herein shall be deemed to

  constitute a timely filed proof of claim against each of the applicable Debtors in the

  Chapter 11 Cases. Any order entered by the Court in relation to the establishment of a bar

  date for any claim (including, without limitation, administrative claims) in any of the

  Chapter 11 Cases or Successor Cases shall not apply to the ABB Agents or the other ABB

  Parties with respect to all claims, and interest, including, without limitation, claims arising


                                                  27
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                         Pg 639 of 692



  under or related to the ABB Secured Term Loan Documents. Notwithstanding the foregoing,

  or any order entered by the Court in relation to the establishment of a bar date in any of the

  Chapter 11 Cases or Successor Cases to the contrary, each ABB Agent on behalf of itself and

  the applicable ABB Parties, respectively, is hereby authorized and entitled, in each case in its

  respective sole discretion, but not required, to file (and amend and/or supplement, as such

  ABB Agent and the respective ABB Parties see fit) a master proof of claim or proof of secured

  claim and/or aggregate proofs of claim or proofs of secured claim in each of the Chapter 11

  Cases or Successor Cases for any claim allowed pursuant to this Interim Order and/or the Final

  Order. Any proof of claim filed by an Agent shall be deemed to be in addition to and not in

  lieu of any other proof of claim that may be filed by any of the respective ABB Parties.

         16.     No Marshaling/Applications of Proceeds. Subject to the entry of the Final

  Order, the ABB Agents and the other ABB Parties shall not be subject to the equitable

  doctrine of “marshaling” or any other similar doctrine with respect to any of the ABB

  Collateral (including any ABB Prepetition Collateral), as the case may be, and proceeds shall

  be received and applied in accordance with this Interim Order and ABB Secured Term Loan

  Documents notwithstanding any other agreement or provision to the contrary.

         17.     Section 552(b). The ABB Agents and the other ABB Parties shall each be

  entitled to all of the rights and benefits of section 552(b) of the Bankruptcy Code, including,

  for the avoidance of doubt, that postpetition revenues and payments in connection with any

  ABB Prepetition Collateral (including (i) postpetition payments generated by operation of

  vessels that are ABB Prepetition Vessel Collateral on and after the Petition Date and under any

  contracts in respect thereof in effect on and after the Petition Date and (ii) all postpetition

  revenues deposited into earnings or operating accounts associated with or related to any ABB


                                                28
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                           Pg 640 of 692



  Prepetition Vessel Collateral and owned by a Debtor Borrower under the applicable ABB

  Prepetition Term Facility under which such ABB Party is a party) are proceeds under

  section 552(b), in each case to the extent such ABB Party was granted an assignment, pledge

  or other transfer of legal or beneficial title or interest in respect of, or security interest in, or a

  lien on, such ABB Prepetition Collateral (including, without limitation, contracts, payments or

  revenues in respect thereof under the applicable ABB Prepetition Term Facility). Subject to

  entry of the Final Order, the “equities of the case” exception under section 552(b) of the

  Bankruptcy Code shall not apply to any of the ABB Agents or any other ABB Party with

  respect to proceeds, product, offspring or profits of any of the ABB Prepetition Collateral.

          18.     Section 507(b) Reservation.         Nothing herein shall impair or modify the

  application of section 507(b) of the Bankruptcy Code in the event that the adequate protection

  provided to the ABB Parties hereunder is insufficient to compensate for any Diminution in

  Value of their respective interests in the ABB Prepetition Collateral (including the ABB Term

  Cash Collateral) during the Chapter 11 Cases or any successor cases to the Chapter 11 Cases

  including, but not limited to, any case under chapter 7 of the Bankruptcy Code upon the

  conversion of any of the chapter 11 cases, or in any other proceedings superseding or related

  to any of the Chapter 11 Cases (collectively, “Successor Cases”).

          19.     Section 506(c) Waiver. Subject to the entry of the Final Order, no costs or

  expenses of administration that have been or may be incurred in any of the Chapter 11 Cases

  or any Successor Cases at any time shall be charged against the ABB Parties, any of their

  respective claims, any ABB Prepetition Term Obligations, any Adequate Protection Liens, any

  Adequate Protection Superpriority Claims, any ABB Prepetition Term Liens or any ABB

  Prepetition Collateral, including any ABB Term Cash Collateral, pursuant to sections 506(c)


                                                    29
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                         Pg 641 of 692



  or 105(a) of the Bankruptcy Code, or otherwise, without the prior written consent of the ABB

  Agents. Nothing contained in this Interim Order shall be deemed a consent by the ABB

  Agents or any other ABB Secured Parties to any charge, lien, assessment or claim against, or

  in respect of, the ABB Prepetition Collateral, including the ABB Term Cash Collateral, under

  section 506(c) or 105(a) of the Bankruptcy Code, or otherwise.

         20.     Credit Bid. Subject in all respects to the terms of the ABB Secured Term

  Loan Documents, the ABB Agents on behalf of and at the direction of ABB Lenders shall

  have the right to credit bid under, and subject to the terms of, section 363(k) of the Bankruptcy

  Code, all of their respective claims (including any Adequate Protection Superpriority Claims)

  in connection with a sale of the Debtors’ assets under section 363 of the Bankruptcy Code or

  under a chapter 11 plan.

         21.     Good Faith. The ABB Parties have acted in good faith (including, without

  limitation, for the purposes of section 363(m) of the Bankruptcy Code) in connection with this

  Interim Order and their reliance on this Interim Order has been and is in good faith.

         22.     No Release of Guarantors. Nothing contained in this Interim Order shall be

  deemed to terminate, modify or release any obligations of any Debtor or non-Debtor guarantor

  to any ABB Party with respect to their respective obligations under any of the ABB Secured

  Term Loan Documents.

         23.     No Waiver by Failure to Seek Relief; Right to Seek Additional Adequate

  Protection. The failure of any ABB Party to seek relief or otherwise exercise its rights and

  remedies under this Interim Order, the ABB Secured Term Loan Documents, or applicable

  law, as the case may be, shall not constitute a waiver of any of the rights hereunder,

  thereunder, or otherwise of any ABB Party. This Interim Order is without prejudice to, and


                                                 30
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                           Pg 642 of 692



  does not constitute a waiver of, expressly or implicitly, the rights of the ABB Parties to request

  additional forms of adequate protection at any time or the rights of the Debtors or any other

  party to contest such request.

           24.    Modification of Automatic Stay. The automatic stay under Bankruptcy Code

  section 362(a) is hereby modified as necessary to effectuate all of the terms and provisions of

  this Interim Order, including, without limitation, to: (a) permit the Debtors to grant (or

  continue to grant, as applicable) the Adequate Protection Liens and incur the Adequate

  Protection Superpriority Claims; (b) permit the Debtors to perform such acts as may be needed

  to assure the perfection and priority of the liens granted herein; (c) permit the Debtors to incur

  all liabilities and obligations under the terms herein; (d) authorize the Debtors to pay, and the

  respective ABB Agents to retain and apply, any payments made in accordance with the terms

  of this Interim Order and the ABB Secured Term Loan Documents; and (e) permit the ABB

  Parties, to terminate the use of the ABB Term Cash Collateral in accordance with this Interim

  Order.

           25.    No Third Party Rights. Except as explicitly provided for herein, this Interim

  Order does not create any rights for the benefit of any third party, creditor, equity holder or

  any direct, indirect, or incidental beneficiary.

           26.    Binding Effect of Interim Order. Immediately upon entry by the Court

  (notwithstanding any applicable law or rule to the contrary), the terms and provisions of this

  Interim Order shall become valid and binding in accordance with its terms upon the Debtors,

  the ABB Parties, all other creditors of any of the Debtors, and all other parties-in-interest and

  each of their respective successors and assigns, including any trustee or other fiduciary

  hereafter appointed in any of these Chapter 11 Cases, or upon dismissal of any of these


                                                     31
18-13374-mew        Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 643 of 692



  Chapter 11 Cases.

         27.       Survival. The provisions of this Interim Order and any actions taken pursuant

  hereto shall survive the entry of any order: (i) confirming any plan of reorganization in any of

  the Chapter 11 Cases, (ii) converting any of the Chapter 11 Cases to a chapter 7 case, or

  (iii) dismissing any of the Chapter 11 Cases, and, with respect to the entry of any order as set

  forth in clause (ii) or (iii) of this paragraph 27, the terms and provisions of this Interim Order

  as well as the Adequate Protection Liens and Adequate Protection Superpriority Claims shall

  continue in full force and effect notwithstanding the entry of any such order

         28.       Effect of this Interim Order. This Interim Order shall constitute findings of

  fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be

  enforceable nunc pro tunc to the Petition Date immediately upon entry. To the extent that

  such findings may constitute conclusions, and vice versa, they hereby are deemed as such.

         29.       Modification or Amendment.         Except as otherwise provided herein, no

  waiver, modification or amendment of any of the provision hereof shall be effective unless set

  forth in writing, signed by, or on behalf of, the Debtors and the ABB Agents (on behalf of the

  ABB Parties), and approved by the Court after notice to parties-in-interest.

         30.       Jurisdiction. The Court hereby retains jurisdiction to hear and determine all

  matters arising from or related to the implementation, interpretation and/or enforcement of this

  Interim Order.

         31.       Debtors’ Authorization. The Debtors are authorized and empowered to take

  all actions necessary to implement the provisions of this Interim Order.

         32.       Controlling Effect of Interim Order. To the extent any provision of this

  Interim Order conflicts or is inconsistent with any provision of the Motion, the Cash


                                                 32
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 644 of 692



  Management Order, the DIP Credit Agreements, the other DIP Loan Documents, the DIP

  Order, or any other order of this Court (other than the Final Order), the provisions of this

  Interim Order shall control to the extent of such conflict.

         33.     Cash Collateral Orders for Other Secured Vessel Lenders. If, acting in its

  sole discretion, any ABB Agent and/or ABB Lenders determines that any Debtor has provided

  any other secured vessel lender greater rights or protections under any cash collateral order or

  otherwise than the ABB Parties have under this Interim Order, then the Debtors shall, at the

  request of such ABB Agent and/or ABB Lenders, as soon as reasonably practicable, seek

  Court approval of an amended cash collateral order with the ABB Parties that incorporates

  such rights or protections for the ABB Parties’ benefit.

         34.     Notice. The Debtors shall, within three business days of entry of this Interim

  Order, mail copies of a notice of entry of this Interim Order and the hearing to approve the

  relief requested in the Motion on a final basis (the “Final Hearing”), together with a copy of

  this Interim Order, by first class mail, postage prepaid, facsimile, electronic mail or overnight

  mail upon the Notice Parties. In addition, all parties who have requested electronic notice of

  filings in these cases through the Court’s ECF system will automatically receive notice of this

  Interim Order no later than the day after its entry on the docket. A copy of this Interim Order

  will   be    made    available    on    the   Debtors’     restructuring   website   located   at

  http://dm.epiq11.com/aegean. The notice of the entry of this Interim Order and the Final

  Hearing shall state that the objections to the entry of the Final Order shall be filed with the

  Court, together with proof of service thereon, and served on the counsel for the Debtors and

  the Notice Parties with a copy to the Court’s chambers so as to be actually received no later

  than 5:00 p.m. on [___], 2018.


                                                  33
18-13374-mew        Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18         Main Document
                                         Pg 645 of 692



         35.    Final Hearing. The Court shall hold the Final Hearing to consider the relief

  requested in the Motion, including any objection filed in accordance with this Interim Order,

  on [___], 2018.




 Date: ___________________                      _____________________________________
      New York, New York                         UNITED STATES BANKRUPTCY JUDGE




                                               34
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 646 of 692


                                    Annex A
                        ABB Secured Term Loan Documents
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                 Main Document
                                            Pg 647 of 692


                                                  Annex A
                                  ABB Secured Term Loan Documents3


         1.      2005 Newbuilding Secured Term Loan. Kithnos Maritime Inc., Lefkas Marine S.A.,

 Paros Maritime Inc., Santorini I Maritime Limited and Serifos Shipping (Pte.) Ltd., as co-borrowers

 (collectively, the “2005 Newbuilding Secured Term Loan Borrowers”), Aegean Marine Petroleum

 Network, Inc. (“AMPNI”), Aegean Shipholdings Inc. (“Shipholdings”), Aegean Bunkering Services Inc.

 and Tempest Shiptrade Ltd., as co-guarantors (collectively, and with the 2005 Newbuilding Secured Term

 Loan Borrowers, the “2005 Newbuilding Secured Term Loan Obligors”), Aegean Baltic Bank S.A.

 (“ABB”), as arranger, agent, security agent, and account bank (in each such capacity and collectively in

 such capacities, the “2005 Newbuilding Secured Term Loan Agent”), the lenders party to the 2005

 Newbuilding Secured Term Loan Documents (as defined below) from time to time (including HSH

 Nordbank AG (“HSH”) and ABB), each as lenders, the “2005 Newbuilding Secured Term Loan

 Lenders”) and certain swap providers and collateral managers party to the 2005 Newbuilding Secured

 Term Loan Documents (as defined below) from time to time (the “2005 Newbuilding Secured Term Loan

 Additional Secured Parties” and, together with the 2005 Newbuilding Secured Term Loan Agent and the

 2005 Newbuilding Secured Term Loan Lenders, the “2005 Newbuilding Secured Term Loan Prepetition

 Secured Parties”) are parties to that certain Loan Agreement for a Loan of up to US$35,500,000 to each

 of the 2005 Newbuilding Secured Term Loan Borrowers dated as of August 30, 2005 (as amended,

 amended and restated, modified, supplemented and/or waived through the Petition Date, the “2005

 Newbuilding Secured Term Loan Agreement” and, together with the other Security Documents (as

 defined in the 2005 Newbuilding Secured Term Loan Agreement), as amended, amended and restated,




 3   The descriptions of the ABB Secured Term Loan Documents contained in this Annex A are qualified in their
     entirety by the contents of the ABB Secured Term Loan Documents. In the event of any conflict between the
     descriptions of the ABB Secured Term Loan Documents and the terms and conditions thereof in this Annex A
     and the contents of the ABB Secured Term Loan Documents, the contents of the ABB Secured Term Loan
     Documents shall control.


                                                      36
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 648 of 692


 modified, supplemented and/or waived through the Petition Date, the “2005 Newbuilding Secured Term

 Loan Documents”).

         Pursuant to the 2005 Newbuilding Secured Term Loan Documents, certain of the 2005

 Newbuilding Secured Term Loan Obligors granted to the 2005 Newbuilding Secured Term Loan Agent,

 for itself or on behalf of, for the benefit of, or in trust for, 2005 Newbuilding Secured Term Loan

 Prepetition Secured Parties, among other things, (i) first preferred ship mortgage (collectively, the “2005

 Newbuilding Secured Term Loan First Preferred Vessel Mortgages”) on each of the motor vessels

 Kithnos, Naxos, Paros I, Santorini, and Serifos (such motor vessels, collectively, the “2005 Newbuilding

 Secured Term Loan First Preferred Vessel Collateral”), (ii) a second preferred ship mortgage

 (collectively, the “2005 Newbuilding Secured Term Loan Second Preferred Vessel Mortgages” and,

 together with the 2005 Newbuilding Secured Term Loan First Preferred Vessel Mortgages, collectively,

 the “2005 Newbuilding Secured Term Loan Vessel Mortgages”) on each of the motor vessels Patmos,

 Karpathos, and Nisyros (such motor vessels, collectively, the “2005 Newbuilding Secured Term Loan

 Second Preferred Vessel Collateral” and, together with the 2005 Newbuilding Secured Term Loan

 Preferred Vessel Collateral, the “2005 Newbuilding Secured Term Loan Vessel Collateral”), (iii) pledges

 of accounts, (iv) any requisition compensation, and (v) first priority general assignments of insurances

 and earnings in respect of the 2005 Newbuilding Secured Term Loan Vessel Collateral (together with the

 2005 Newbuilding Secured Term Loan Vessel Collateral, all accounts pledged, and any other property of

 the 2005 Newbuilding Secured Term Loan Obligors on or in respect of which an Encumbrance has been

 conveyed under any Security Document (each as defined in the 2005 Newbuilding Secured Term Loan

 Agreement) to, on behalf of, for the benefit of, or in trust for any 2005 Newbuilding Secured Term Loan

 Prepetition Secured Party, collectively, the “2005 Newbuilding Secured Term Loan Collateral,” and the

 2005 Newbuilding Secured Term Loan Vessel Mortgages, all pledges of accounts, all first priority general

 assignments of insurances and earnings, and any other Encumbrance conveyed under any other Security

 Document (each as defined in the 2005 Newbuilding Secured Term Loan Agreement) to, on behalf of, for

 the benefit of, or in trust for any 2005 Newbuilding Secured Term Loan Prepetition Secured Party on the

                                                     37
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                           Pg 649 of 692


 2005 Newbuilding Secured Term Collateral or in respect thereof, collectively, the “2005 Newbuilding

 Secured Term Loan Liens”).

        2.      2006 Newbuilding Secured Term Loan. Kerkyra Marine S.A., Ithaki Marine S.A.,

 Cephallonia Marine S.A., Paxoi Marine S.A., Zakynthos Marine Limited, Ios Marine Inc. and Kythira

 Marine S.A., as co-borrowers (collectively, the “2006 Newbuilding Secured Term Loan Borrowers”),

 AMPNI, Shipholdings, Aegean Breeze Maritime Company and Aegean Tiffany Maritime Company, as

 co-guarantors (collectively, and with the 2006 Newbuilding Secured Term Loan Borrowers, the “2006

 Newbuilding Secured Term Loan Obligors”), ABB, as arranger, agent, security agent, and account bank

 (ABB, in each such capacity and collectively in such capacities, the “2006 Newbuilding Secured Term

 Loan Agent”), the lenders party to the 2006 Newbuilding Secured Term Loan Documents (as defined

 below) from time to time (including HSH and ABB, each as lenders, the “2006 Newbuilding Secured

 Term Loan Lenders” and certain swap providers and collateral managers party to the 2006 Newbuilding

 Secured Term Loan Documents from time to time (the “2006 Newbuilding Secured Term Loan

 Additional Secured Parties” and, together with the 2006 Newbuilding Secured Term Loan Agent and the

 2006 Newbuilding Term Loan Lenders, the “2006 Newbuilding Secured Term Loan Prepetition Secured

 Parties”) are parties to that certain Loan Agreement for a Loan of up to US$64,750,000 to each of the

 2006 Newbuilding Secured Term Loan Borrowers dated as of October 30, 2006 (as amended, amended

 and restated, modified, supplemented and/or waived through the Petition Date, the “2006 Newbuilding

 Secured Term Loan Agreement” and, together with the other Security Documents (as defined in the 2006

 Newbuilding Secured Term Loan Agreement), as amended, amended and restated, modified,

 supplemented and/or waived through the Petition Date, the “2006 Newbuilding Secured Term Loan

 Documents”).

        Pursuant to the 2006 Newbuilding Secured Term Loan Documents, certain of the 2006

 Newbuilding Secured Term Loan Obligors granted to the 2006 Newbuilding Secured Term Loan Agent,

 for itself or on behalf of, for the benefit of, or in trust for, the 2006 Newbuilding Secured Term Loan

 Prepetition Secured Parties, among other things, (i) a first preferred ship mortgage (collectively,

                                                   38
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                            Pg 650 of 692


 the “2006 Newbuilding Secured Term Loan First Preferred Vessel Mortgages”) on each of the motor

 vessels Paxoi, Ithaki, Kythira, Lefkas, Zakynthos, Kefalonia, Kerkyra, Aegean Tiffany, and Aegean

 Breeze I (such motor vessels, collectively, the “2006 Newbuilding Secured Term Loan First Preferred

 Vessel Collateral”), (ii) a second preferred ship mortgage (collectively, the “2006 Newbuilding Secured

 Term Loan Second Preferred Vessel Mortgages” and, together with the 2006 Newbuilding Secured Term

 Loan First Preferred Vessel Mortgages, collectively, the “2006 Newbuilding Secured Term Loan Vessel

 Mortgages”) on each of the motor vessels Halki, Kassos, Symi and Tilos (such motor vessels,

 collectively, the “2006 Newbuilding Secured Term Loan Second Preferred Vessel Collateral” and,

 together with the 2006 Newbuilding Secured Term Loan First Preferred Vessel Collateral, the “2006

 Newbuilding Secured Term Loan Vessel Collateral”), (iii) pledges of accounts, (iv) any requisition

 compensation, and (v) first priority general assignments of insurances and earnings in respect of the 2006

 Newbuilding Secured Term Loan Vessel Collateral (together with the 2006 Newbuilding Secured Term

 Loan Vessel Collateral, all accounts pledged, and any other property of the 2005 Newbuilding Secured

 Term Loan Obligors on or in respect of which an Encumbrance has been conveyed under any Security

 Document (each as defined in the 2006 Secured Term Loan Agreement) to, on behalf of, for the benefit

 of, or in trust for any 2006 Newbuilding Secured Term Loan Prepetition Secured Party, collectively,

 the “2006 Newbuilding Secured Term Loan Collateral,” and the 2006 Newbuilding Secured Term Loan

 Vessel Mortgages, all pledges of accounts, all first priority assignments of insurances and earnings, and

 any other Encumbrance conveyed under any other Security Document (each as defined in the 2006

 Newbuilding Secured Term Loan Agreement) to, on behalf of, for the benefit of, or in trust for any 2006

 Newbuilding Secured Term Loan Prepetition Secured Party on the 2006 Newbuilding Secured Term Loan

 Collateral or in respect thereof, the “2006 Newbuilding Secured Term Loan Liens”).

         3.      Third 2006 Newbuilding Secured Term Loan. Eton Marine Ltd., Benmore Services

 S.A. and Ingram Enterprises Co., as co-borrowers (collectively, the “Third 2006 Newbuilding Secured

 Term Loan Borrowers”), AMPNI, Shipholdings, and Sealand Navigation Inc., as co-guarantors

 (collectively, and with the Third 2006 Newbuilding Secured Term Loan Borrowers, the “Third 2006

                                                    39
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 651 of 692


 Newbuilding Secured Term Loan Obligors”), ABB, as arranger, agent, security agent, and account bank

 (in each such capacity and collectively in such capacities, the “Third 2006 Newbuilding Secured Term

 Loan Agent”), and the lenders party to the Third 2006 Newbuilding Secured Term Loan Documents (as

 defined below) from time to time (including HSH and ABB, each as lenders, the “Third 2006

 Newbuilding Secured Term Loan Lenders” and, certain swap providers and collateral managers party to

 the Third 2006 Newbuilding Secured Term Loan Documents (as defined below) from time to time (the

 “Third 2006 Newbuilding Secured Term Loan Additional Secured Parties” and, together with the Third

 2006 Newbuilding Secured Term Loan Agent and the Third 2006 Newbuilding Secured Term Loan

 Lenders, the “Third 2006 Newbuilding Secured Term Loan Prepetition Secured Parties”) are parties to

 that certain Loan Agreement for a Loan of up to US$26,250,000 to each of the 2006 Newbuilding

 Secured Term Loan Borrowers, dated as of October 25, 2006 (as amended, amended and restated,

 modified, supplemented and/or waived through the Petition Date, the “Third 2006 Newbuilding Secured

 Term Loan Agreement” and, together with the other Security Documents (as defined in the Third 2006

 Newbuilding Secured Term Loan Agreement), as amended, amended and restated, modified,

 supplemented and/or waived through the Petition Date, the “Third 2006 Newbuilding Secured Term Loan

 Documents”).

         Pursuant to the Third 2006 Newbuilding Secured Term Loan Documents, certain of the Third

 2006 Newbuilding Secured Term Loan Obligors granted to the Third 2006 Secured Term Loan Agent, for

 itself or on behalf of, for the benefit of, or in trust for the Third 2006 Secured Term Loan Prepetition

 Secured Parties, among other things, (i) a first preferred ship mortgage (collectively, the “Third 2006

 Secured Term Loan First Preferred Vessel Mortgage”) on each of the motor vessels Patmos, Karpathos,

 and Nisyros (such motor vessels, collectively, the “Third 2006 Newbuilding Secured Term Loan First

 Preferred Vessel Collateral”), (ii) a second preferred ship mortgage (collectively, the “Third 2006

 Newbuilding Secured Term Loan Second Preferred Vessel Mortgages” and, together with the Third 2006

 Newbuilding Secured Term Loan First Preferred Vessel Mortgages, collectively, the “Third 2006

 Newbuilding Secured Term Loan Vessel Mortgages”) on each of the motor vessels Kithnos, Naxos, Paros

                                                   40
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 652 of 692


 I, Santorini, and Serifos (such motor vessels, as Third 2006 Newbuilding Secured Term Loan Collateral,

 collectively, the “Third 2006 Newbuilding Secured Term Loan Second Preferred Vessel Collateral” and,

 together with the 2006 Newbuilding Secured Term Loan First Preferred Vessel Collateral, the “Third

 2006 Newbuilding Secured Term Loan Vessel Collateral”), (iii) pledges of accounts, (iv) any requisition

 compensation, and (v) first priority general assignments in respect of insurances and earnings of the Third

 2006 Newbuilding Secured Term Loan Vessel Collateral (together with the Third 2006 Newbuilding

 Secured Term Loan Vessel Collateral, all accounts pledged, and any other property of the 2005

 Newbuilding Secured Term Loan Obligors on or in respect of which an Encumbrance has been conveyed

 under any Security Document (as defined in the Third 2006 Newbuilding Secured Term Loan Agreement)

 to, on behalf of, for the benefit of, or in trust for any Third 2006 Newbuilding Secured Term Loan

 Prepetition Secured Party, collectively, the “Third 2006 Newbuilding Secured Term Loan Collateral,” and

 the Third 2006 Newbuilding Secured Term Loan Vessel Mortgages, all pledges of accounts, all first

 priority general assignments of insurances and earnings, and any other Encumbrances conveyed under

 any other Security Document (each as defined in the Third 2006 Newbuilding Secured Term Loan

 Agreement) to, on behalf of, for the benefit of, or in trust for any Third 2006 Newbuilding Secured Term

 Loan Prepetition Secured Party on the Third 2006 Newbuilding Secured Term Loan Collateral or in

 respect thereof, the “Third 2006 Newbuilding Secured Term Loan Liens”).

         2008 Newbuilding Secured Term Loan. Kassos Navigation S.A., Symi Navigation S.A., Halki

 Navigation S.A. and Tilos Shipping (Pte.) Ltd., as co-borrowers (collectively, the “2008 Newbuilding

 Secured Term Loan Borrowers,” and together with the 2005 Newbuilding Secured Term Loan Borrowers,

 the 2006 Newbuilding Secured Term Loan Borrowers, and the Third 2006 Newbuilding Secured Term

 Loan Borrowers, the “ABB Borrowers”), AMPNI and Shipholdings, as co-guarantors (collectively, and

 with the 2008 Newbuilding Secured Term Loan Borrowers, the “2008 Newbuilding Secured Term Loan

 Obligors” and with the 2005 Newbuilding Secured Term Loan Obligors, the 2006 Newbuilding Secured

 Term Loan Obligors, and the Third 2006 Newbuilding Secured Term Loan Obligors, the “ABB Secured

 Term Loan Obligors”), ABB, as arranger, agent, security agent, and account bank (in each such capacity

                                                     41
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                           Pg 653 of 692


 and collectively in such capacities, the “2008 Newbuilding Secured Term Loan Agent” and, together with

 the 2005 Newbuilding Secured Term Loan Agent, the 2006 Newbuilding Secured Term Loan Agent and

 the Third Newbuilding Secured Term Loan Agent, collectively, the “ABB Agents”)), the lenders party to

 the 2008 Newbuilding Secured Term Loan Documents (as defined below) from time to time (including

 HSH and ABB, each as lenders, the “2008 Newbuilding Secured Term Loan Lenders,” and together with

 the 2005 Newbuilding Secured Term Loan Lenders, the 2006 Newbuilding Secured Term Loan Lenders

 and the Third 2006 Secured Term Loan Lenders, collectively, the “ABB Lenders”), certain swap

 providers and collateral managers party to the 2008 Newbuilding Secured Term Loan Documents (as

 defined below) from time to time (the “2008 Newbuilding Secured Term Loan Additional Secured

 Parties” and, together with the 2008 Newbuilding Secured Term Loan Agent and the 2008 Newbuilding

 Secured Term Loan Lenders,      collectively, the “2008 Newbuilding Secured Term Loan Prepetition

 Secured Parties,” and the 2008 Newbuilding Secured Term Loan Prepetition Secured Parties, together

 with the 2005 Newbuilding Secured Term Loan Secured Parties, the 2006 Newbuilding Secured Term

 Loan Secured Parties and the Third 2006 Newbuilding Secured Term Loan Secured Parties, collectively

 the “ABB Parties”) are parties to that certain Loan Agreement for a Loan of up to US$38,800,000 to each

 of the 2008 Newbuilding Secured Term Loan Borrowers, dated as of April 24, 2008 (as amended,

 amended and restated, modified, supplemented and/or waived through the Petition Date, the “2008

 Newbuilding Secured Term Loan Agreement” and, together with the other Security Documents (as

 defined in the 2008 Newbuilding Secured Term Loan Agreement), collectively, as amended, amended

 and restated, modified, supplemented and/or waived through the Petition Date, the “2008 Newbuilding

 Secured Term Loan Documents”) and together with the 2005 Newbuilding Secured Term Loan

 Documents, the 2006 Newbuilding Secured Term Loan Documents and the Third 2006 Newbuilding

 Secured Term Loan Documents, collectively, the “ABB Secured Term Loan Documents,” and the

 obligations arising under, in respect of or related to, the Newbuilding Secured Term Loan Documents,

 collectively, the “ABB Prepetition Term Obligations”).



                                                   42
18-13374-mew        Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                Main Document
                                            Pg 654 of 692


         Pursuant to the 2008 Newbuilding Secured Term Loan Documents, certain of the 2008

 Newbuilding Secured Term Loan Obligors granted to the 2008 Secured Term Loan Agent, for itself or on

 behalf of, for the benefit of or in trust for, the 2008 Secured Term Loan Prepetition Secured Parties,

 among other things, (i) a first preferred ship mortgage (collectively, the “2008 Newbuilding Secured

 Term Loan Vessel Mortgages”) on each of the motor vessels Halki, Kassos, Symi and Tilos (such motor

 vessels, collectively, the “2008 Newbuilding Secured Term Loan First Preferred Vessel Collateral”), (ii) a

 second preferred ship mortgage (collectively, the “2008 Newbuilding Secured Term Loan Second

 Preferred Vessel Mortgages” and, together with the 2008 Newbuilding Secured Term Loan First Preferred

 Vessel Mortgages, collectively, the “2008 Newbuilding Secured Term Loan Vessel Mortgages”) on each

 of the motor vessels Paxoi, Ithaki, Kythira, Lefkas, Zakynthos, Kefalonia, Kerkyra, Aegean Tiffany, and

 Aegean Breeze (such motor vessels, as 2008 Newbuilding Secured Term Loan Vessel Collateral,

 collectively, the “2008 Newbuilding Secured Term Loan Second Preferred Vessel Collateral” and,

 together with the 2008 Newbuilding Secured Term Loan First Preferred Vessel Collateral, the “2008

 Newbuilding Secured Term Loan Vessel Collateral” and, together with the 2005 Newbuilding Secured

 Term Loan Vessel Collateral, the 2006 Newbuilding Secured Term Loan Vessel Collateral and the Third

 2006 Secured Term Vessel Collateral, the “ABB Prepetition Vessel Collateral”) (iii) pledges of accounts,

 (iv) any requisition compensation, and (v) first priority general assignments of insurances and earnings in

 respect of the 2008 Newbuilding Secured Term Loan Vessel Collateral (together with the 2008

 Newbuilding Secured Term Loan Vessel Collateral, all accounts pledged, and any other property of the

 2008 Newbuilding Secured Term Loan Obligors on or in respect of which an Encumbrance has been

 conveyed under any Security Document (each as defined in the 2008 Newbuilding Secured Term Loan

 Agreement) to, on behalf of, for the benefit of, or in trust for any 2008 Newbuilding Secured Term Loan

 Prepetition Secured Party, collectively, the “2008 Newbuilding Secured Term Loan Collateral” and,

 collectively with the 2005 Newbuilding Secured Term Loan Collateral, the 2006 Newbuilding Secured

 Term Loan Collateral, and the Third 2006 Newbuilding Secured Term Loan Collateral, the “HSH

 Prepetition Collateral,” and the 2008 Newbuilding Secured Term Loan Vessel Mortgages, all pledges of

                                                     43
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 655 of 692


 accounts, all first priority general assignments of insurances and earnings and any other Encumbrance

 conveyed under any Security Document (each as defined in the 2008 Newbuilding Secured Term Loan

 Agreement) to, on behalf of, for the benefit of, or in trust for, any 2008 Newbuilding Secured Term Loan

 Prepetition Secured Party on the 2008 Newbuilding Secured Term Collateral or in respect thereof,

 the “2008 Newbuilding Secured Term Loan Liens,” and the 2008 Newbuilding Secured Term Loan Liens,

 together with the 2005 Newbuilding Secured Term Loan Liens, the 2006 Newbuilding Secured Term

 Loan Liens and the Third 2006 Newbuilding Secured Term Loan Liens, collectively, the “ABB

 Prepetition Term Liens”).




                                                   44
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 656 of 692


                           EXHIBIT D to the DIP Motion

                          NBG Adequate Protection Order




                                       83
18-13374-mew          Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18                        Main Document
                                               Pg 657 of 692




 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ___________________________________________
                                                                           Chapter 11
                                        :
 In re:                                 :                                  Case No. 18-13374 ( )
                                        :
 AEGEAN MARINE PETROLEUM NETWORK, INC., :                                  (Joint Administration Requested)
 et al.,1                               :
                                        :
                Debtors.                :
 ____________________________________________

                          INTERIM ORDER (I) GRANTING ADEQUATE
                       PROTECTION TO NATIONAL BANK OF GREECE S.A.,
                (II) AUTHORIZING USE OF CASH COLLATERAL, (III) MODIFYING
                 THE AUTOMATIC STAY, AND (IV) GRANTING RELATED RELIEF

                   Upon the motion (the “Motion”)2 of the above-captioned debtors and

 debtors-in-possession (collectively, the “Debtors”) pursuant to sections 105, 361, 362, 363,

 364(c)(1), 364(c)(2), and 364(c)(3), 364(d), 364(e), and 507 of title 11 of the United States Code

 (the “Bankruptcy Code”), Rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy

 Procedure (as amended, the “Bankruptcy Rules”), and Rules 2002-1, 4001-2, 9006-1, 9013-1,

 9014-1, and 9014-2 of the Local Bankruptcy Rules (the “Local Rules”) for the United States

 Bankruptcy Court for the Southern District of New York (this “Court”), inter alia, requesting,

 among other things, an interim order (this “Interim Order”) and a Final Order (as defined herein)

 (I) Authorizing the Debtors to Obtain Senior Secured Priming Superpriority Postpetition

 Financing, (II) Granting Liens and Superpriority Administrative Expense Claims, (III) Authorizing


 1   Due to the large number of Debtors in these chapter 11 cases, for which the Debtors have requested joint
     administration, a complete list of the Debtors and the last four digits of their tax identification, registration, or
     like numbers is not provided herein. A complete list of such information may be obtained on the website of the
     Debtors’ proposed claims and noticing agent at http://dm.epiq11.com/aegean. The location of Debtor Aegean
     Bunkering (USA) LLC’s principal place of business and the Debtors’ service address in these chapter 11 cases is
     52 Vanderbilt Avenue, Suite 1405, New York, New York 10017.
 2   Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion or
     Annex A hereto, as applicable.
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                           Pg 658 of 692


 Use of NBG Cash Collateral, (IV) Granting Adequate Protection, (V) Modifying the Automatic

 Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief; and this Court having

 found that it has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; that

 venue of these chapter 11 cases and the Motion in this district is proper pursuant to

 28 U.S.C. § 157(b); and this Court having found that proper and adequate notice of the Motion

 and the relief requested therein was provided in accordance with the Bankruptcy Rules and the

 Local Rules, and that no other or further notice is necessary; and any objections to the Motion

 having been withdrawn or overruled on the merits; and an interim hearing having been held on

 [___], 2018 (the “Interim Hearing”) to consider the relief requested in the Motion and upon the

 record of the Interim Hearing, the Motion and all of the proceedings had before this Court; and

 this Court having found and determined that the relief set forth therein is in the best interests of

 Debtors, their estates, their creditors and all other parties-in-interest; and that the legal and factual

 bases set forth in the Motion and at the Interim Hearing establish just cause for the relief granted

 herein; and after due deliberation and sufficient cause appearing therefor;


 IT IS HEREBY FOUND AND DETERMINED THAT:

         A.      Commencement of the Chapter 11 Cases. On November 6, 2018 (the “Petition

 Date”), each of the Debtors filed a voluntary petition for relief under chapter 11 of title 11 of the

 United States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) in the

 Bankruptcy Court for the Southern District of New York (the “Court”), thereby commencing these

 chapter 11 cases (the “Chapter 11 Cases”).

         B.      Debtors-in-Possession; No Committee. Since the Petition Date, the Debtors have

 been managing and operating their business and properties as debtors-in-possession pursuant to

 sections 1107(a) and 1108 of the Bankruptcy Code. As of the date hereof, no official committee


                                                    2
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 659 of 692


 of unsecured creditors (any such committee, the “Committee”) has been appointed in the

 Chapter 11 Cases.

        C.      Jurisdiction and Venue. This Court has jurisdiction over these Chapter 11 Cases,

 the Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(a) and

 1334(b). Consideration of the Motion constitutes a core proceeding pursuant to

 28 U.S.C. §157(b)(2). The predicates for relief sought herein are sections 361, 362, 363, 506,

 507(b) and 552 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6003, 6004 and 9014, and

 Rule 4001-1 of the Local Rules. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408

 and 1409.

        D.      DIP Facility. On November 6, 2018, the Debtors filed the Motion requesting,

 among other things, authorization to obtain financing from the DIP Lenders (as defined in the

 Motion) pursuant to the debtor-in-possession financing facilities (collectively, the “DIP

 Financing” and the interim and final orders approving the DIP Financing, collectively, the “DIP

 Orders”) pursuant to certain credit agreements (each, a “DIP Credit Agreement” and, together,

 the “DIP Credit Agreements”). Pursuant to Motion, the Debtors also requested authority to enter

 into adequate protection stipulations and consent orders with prepetition secured lenders that are

 consenting to the grant of junior liens on their collateral to secure the DIP Financing; this Interim

 Order and the forthcoming anticipated Final Order are such adequate protection consent orders.

        E.      Notice. Notice of the Interim Hearing and the relief requested in the Motion has

 been provided by the Debtors in accordance and compliance with Bankruptcy Rules 4001 and

 9014, as well as the Local Rules, and is sufficient under the circumstances. Without limiting the

 foregoing, due notice was afforded, whether by facsimile, electronic mail, overnight courier or

 hand delivery, to the parties-in-interest, including (a) the Office of the United States Trustee for



                                                  3
18-13374-mew         Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18                   Main Document
                                             Pg 660 of 692


 the Southern District of New York (the “U.S. Trustee”); (b) entities listed as holding the 30 largest

 unsecured claims against the Debtors (on a consolidated basis); (c) counsel to the Prepetition Term

 Parties; and (d) any party that has requested notice pursuant to Bankruptcy Rule 2002 (collectively,

 the “Notice Parties”).

           F.    Prepetition Facility Obligations. Tasman Seaways Inc. and Santon Limited, as

 borrowers (together, the “Prepetition Borrowers” and each a “Prepetition Borrower”), their parent,

 Aegean Marine Petroleum Network, Inc., as guarantor (the “Prepetition Guarantor,” and along

 with the Prepetition Borrowers , the “Prepetition Obligors”), and National Bank of Greece S.A.

 (“NBG”), as lender, are parties to that certain Second 2006 Newbuilding Secured Term Loan

 Agreement, dated October 27, 2006 (as amended, modified, supplemented, or waived from time

 to time, the “NBG Prepetition Secured Loan Agreement”, and together with all ancillary

 documents, agreements, and notes executed by the obligors in connection therewith, the “NBG

 Prepetition Secured Loan Documents,”3 and all obligations arising under, in respect of or related

 to, the NBG Prepetition Secured Loan Documents, the “NBG Prepetition Secured Loan

 Obligations”).4 A detailed description and definition of the NBG Prepetition Secured Loan

 Documents, the underlying credit facilities (the “NBG Credit Facilities”) and vessels and other

 collateral securing those facilities (the “NBG Prepetition Collateral”) are set forth in Annex A

 hereto.

           G.    [Reserved for Stipulations (as defined below) to be included in the Final Order.]

           H.    Necessity of Relief Requested. The Debtors have requested immediate entry of

 this Interim Order pursuant to Bankruptcy Rule 4001(b)(2) and Local Rules 4001-1, 4002-1, and

 3   The NBG Prepetition Secured Loan Agreement and the NBG Prepetition Secured Loan Documents are more fully
     described in Annex A hereto.
 4   The liens created in favor of NBG under the NBG Prepetition Secured Loan Documents are referred to herein as
     the “Prepetition Liens.”


                                                        4
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                           Pg 661 of 692


 9013-1, and good cause has been shown for entry of this Interim Order. Without access to, and

 the ability to use, the NBG Prepetition Collateral, which includes the vessels identified in Annex A

 hereto (which, in each case, constitute NBG Prepetition Vessel Collateral (as defined in

 Annex A)), the Debtors’ ability to manage, administer and preserve their estates would be

 immediately and irreparably harmed, thereby materially impairing their respective estates and

 creditors and the likelihood of a successful outcome in these Chapter 11 Cases. The terms of the

 use of the NBG Prepetition Collateral, including the NBG Cash Collateral (each as defined in

 Annex A hereto), including the grant of adequate protection and the other rights and benefits of

 the parties set forth in this Interim Order, are fair and reasonable, the product of arms’-length

 negotiations, and reflect the Debtors’ exercise of prudent business judgment consistent with their

 fiduciary duties. Accordingly, entry of this Interim Order is in the best interests of the Debtors,

 their respective estates and their creditors and other parties-in-interest.

         I.      Adequate Protection. NBG is entitled, pursuant to sections 361 and 363(e) of the

 Bankruptcy Code, and as a condition for the use of its NBG Prepetition Collateral, including the

 NBG Cash Collateral, to the adequate protection of its interests in the NBG Prepetition Collateral,

 including the NBG Cash Collateral. NBG has negotiated in good faith regarding the Debtors’ use

 of the NBG Prepetition Collateral, including the NBG Cash Collateral, and has agreed to permit

 the Debtors to use the NBG Cash Collateral in accordance with this Interim Order, subject to the

 other terms and conditions set forth herein, including the protections afforded parties in “good

 faith” under section 363(m) of the Bankruptcy Code. Based on the Motion and on the record

 presented to the Court at the Interim Hearing, the terms of the proposed adequate protection

 arrangements and of the use of the NBG Prepetition Collateral, including the NBG Cash Collateral,




                                                    5
18-13374-mew         Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 662 of 692


 are fair and reasonable, reflect the Debtors’ prudent business judgment, and constitute reasonably

 equivalent value and fair consideration for NBG’s consent thereto.

        J.      Consent Order. The Debtors and NBG agree that this order represents a consent

 order and that any modification or amendment hereof requires the written consent of both NBG

 and the Debtors, which consent shall not be unreasonably withheld.

        NOW THEREFORE, IT IS HEREBY ORDERED THAT,

         1.      Motion Granted. The Motion is GRANTED on an interim basis as herein

  provided and the use of the NBG Prepetition Collateral, including the NBG Cash Collateral, is

  authorized for each Debtor, subject and pursuant to the terms and conditions set forth in this

  Interim Order. Any objections to the Motion with respect to the entry of this Interim Order that

  have not previously been withdrawn, waived or otherwise resolved are hereby denied and

  overruled.

        2.             Authorization to Use NBG Prepetition Collateral, including NBG Cash

 Collateral. The Debtors are authorized to use the NBG Prepetition Collateral, including the NBG

 Cash Collateral, during the period beginning on the Petition Date until the occurrence of the

 Termination Date (as defined below) subject to the terms and conditions of this Interim Order

 and to the adequate protection granted to or for the benefit of NBG as set forth herein.


        3.             Termination. The occurrence of any of the following events set forth in

 clauses (a) through (q) below shall constitute a “Termination Event” unless waived in writing by

 NBG:


                a.      this Interim Order shall cease to be in full force and effect for any reason;


                b.      an order approving the relief requested in the Motion on a final basis (in


                                                  6
18-13374-mew         Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 663 of 692


 form and substance satisfactory to NBG and otherwise in conformance with the terms of this

 Interim Order, the “Final Order”) shall not have been entered by the Court on or before 45 days

 following entry of this Interim Order, unless an extension is otherwise agreed to in writing by

 NBG (as defined in Annex A);


                c.       any of the Chapter 11 Cases shall be dismissed or converted to a case under

 chapter 7 of the Bankruptcy Code, a chapter 11 trustee or examiner with expanded powers

 pursuant to section 1106(b) of the Bankruptcy Code shall be appointed in any of the Chapter 11

 Cases, or any of the Debtors shall seek, or shall support (in any such case by way of, inter alia,

 any motion or pleading filed with this Court or any other writing to another party in interest

 executed by or on behalf of any Debtor) any person’s motion or other pleading seeking any of

 the foregoing relief;


                d.       an order shall have been entered (or any of the Debtors shall seek an order)

 reversing, amending, supplementing, extending, staying, vacating or otherwise modifying this

 Interim Order without the prior written consent of NBG;


                e.       any modification shall be made to the DIP Orders or otherwise to the DIP

 Financing that could reasonably be expected to result in nonpayment of the Adequate Protection

 Payments granted hereunder, or otherwise adversely impact NBG (including, without limitation,

 any amendment that contravenes or modifies, or attempts to contravene or modify, the provisions

 of paragraph 12 hereof) without the prior written consent of NBG;


                f.       the Debtors shall file, or the Court shall grant, any application, motion or

 borrowing request seeking (i) to incur indebtedness from any party secured by a lien on, or

 otherwise having a claim against or recourse to, as the case may be, the Obligors, the NBG

                                                   7
18-13374-mew         Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                          Pg 664 of 692


 Prepetition Collateral other than the Junior DIP Liens (as defined below) without the prior written

 consent of NBG, or (ii) the use of the NBG Cash Collateral on a nonconsensual basis;


                g.      the Court shall grant any application by any party seeking payment of any

 claim on a superpriority administrative claim basis pari passu with, or senior to, the Adequate

 Protection Superpriority Claims without the written consent of NBG;


                h.      the entry of an order by this Court or any other court having jurisdiction to

 do so granting relief from or modifying the automatic stay applicable under section 362 of the

 Bankruptcy Code upon the Petition Date to allow a holder or holders of any lien or security

 interest (including, without limitation, the DIP Lender in respect of the Junior DIP Liens) to

 foreclose or otherwise enforce remedies against and/or realize upon its liens or security interest

 in respect of any NBG Prepetition Collateral;


                i.      any Obligor breaches any material covenant or undertaking (after any

 applicable cure period set forth in the NBG Prepetition Secured Loan Documents) in any of the

 NBG Prepetition Secured Loan Documents relating to insurance, operation, management and

 maintenance of any vessel that is NBG Prepetition Vessel Collateral, including, without

 limitation, any breach in connection with expropriation, arrest, detention, capture, condemnation,

 confiscation, requisition, purchase, seizure, or forfeiture of or any taking title to, the applicable

 vessel that is NBG Prepetition Vessel Collateral;


                j.      any Debtor shall sell (including, without limitation, any sale and leaseback

 transaction), transfer (including any assignment of rights), lease, encumber or otherwise dispose

 of any portion of the NBG Collateral, except as expressly permitted by this Interim Order and the

 NBG Prepetition Secured Loan Documents, or this Court or any other court having jurisdiction

                                                   8
18-13374-mew         Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 665 of 692


 to do so shall enter an order authorizing any sale or disposition of any NBG Prepetition Collateral,

 in each case without the prior written consent of NBG;


                k.      any Debtor shall transfer NBG Cash Collateral to an account in the name

 of a Debtor that is not a Debtor Obligor or that is not maintained with NBG or subject to NBG’s

 control; provided that, notwithstanding the foregoing, the Debtors may continue making transfers

 or payments in the ordinary course consistent with past practice, including, but not limited to, any

 such management fee or service fee payments.


                l.      subject to a five (5) day grace period, the Debtors shall fail to make any

 Adequate Protection Payment when due;


                m.      the entry of an order of this Court or any other court having jurisdiction to

 do so avoiding, disgorging, or requiring repayment of any portion of the Adequate Protection

 Payments made by the Debtor Obligors hereunder;


                n.      the entry of an order of this Court or any other court having jurisdiction to

 do so approving any claims for recovery of amounts under section 506(c) of the Bankruptcy Code

 or otherwise arising from the preservation or disposition of the NBG Prepetition Collateral;


                o.      any Debtor shall assert (or shall support any other person in asserting) the

 invalidity, non-perfection, or unenforceability of any of the Adequate Protection Liens or the

 invalidity and unenforceability of the Adequate Protection Superpriority Claims;


                p.      any Debtor shall seek, or shall support (in any such case by way of, inter

 alia, any motion or pleading filed with this Court or any other writing to another party-in-interest

 executed by or on behalf of any Debtor) any person’s motion, to disallow or subordinate (whether


                                                  9
18-13374-mew         Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                            Pg 666 of 692


 equitably, contractually or otherwise) in whole or in part NBG’s claim in respect of the NBG

 Prepetition Secured Loan Obligations or to challenge the validity, enforceability, perfection, or

 priority of any liens or security interest in favor of NBG (including with, without limitation, any

 Prepetition Lien); or


                q.         the Debtors shall fail to comply with any provision of this Interim Order

 in any material respect.


        4.               Remedies upon a Termination Date.

                      a.     Notwithstanding anything herein, the Debtors’ authorization to use

 NBG Cash Collateral hereunder shall automatically terminate on the date (the “Termination

 Date”), that is (i) five (5) days from the date (the “Termination Notice Date”) on which written

 notice (a “Termination Notice”) of the occurrence of a Termination Event is given (which notice

 may be given electronically) by or on behalf of NBG to counsel for the Debtors (such period

 commencing on the Termination Notice Date and ending five (5) days later, the “Termination

 Notice Period”) or (ii) the effective date of any plan of reorganization. The rights and remedies

 of NBG specified herein are cumulative and not exclusive of any rights or remedies that they may

 otherwise have. The only permissible basis for the Debtors or any party in interest to contest,

 challenge or object to a Termination Notice shall be solely with respect to the validity of the

 Termination Event(s) giving rise to such Termination Notice (i.e., whether such Termination

 Event or Events validly occurred and have not been cured or waived in accordance with this

 Interim Order).

                      b.     Upon and after delivery of the Termination Notice, the Debtors and

 NBG consent to a hearing on an expedited basis to consider whether the automatic stay may be

 lifted so that NBG may exercise any and all of its respective rights set forth in this Interim Order

                                                   10
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 667 of 692


 or in the NBG Prepetition Secured Loan Documents.

                     c.    During the Termination Notice Period, the Debtors’ right to use NBG

 Cash Collateral pursuant to this Interim Order shall be limited to the payment of any other critical

 business-related expenses necessary to operate the Debtors’ business or preserve the NBG

 Prepetition Collateral, including but not limited to payments in respect of health or human safety,

 in each case with prior notice to NBG.

                     d.    The delay or failure to exercise rights and remedies under this Interim

 Order or any NBG Prepetition Secured Loan Document shall not constitute a waiver of NBG’s

 rights hereunder, thereunder or otherwise.      The occurrence of the Termination Date or a

 Termination Event shall not affect the validity, priority or enforceability of any and all rights,

 remedies, benefits, and protections provided to the Prepetition Secured Parties under this Interim

 Order, which rights, remedies, benefits, and protections shall survive the Termination Date.

                     e.    The automatic stay imposed under Bankruptcy Code section 362(a)

 upon the Petition Date is hereby modified as necessary, without further order or notice of the

 Court, to (i) permit the Debtors to grant the Adequate Protection Liens and Adequate Protection

 Superpriority Claims and to incur all liabilities and obligations to NBG under this Interim Order,

 and (ii) authorize NBG to retain any applicable payments hereunder.

                     f.    Nothing included herein shall prejudice, impair, or otherwise affect

 NBG’s rights to seek any other or supplemental relief in respect of the Debtors (including any

 other or additional adequate protection).

          5.     Adequate Protection. As adequate protection for NBG’s respective interests in

  the NBG Prepetition Collateral, including the NBG Cash Collateral, pursuant to section 361 and

  363(e) of the Bankruptcy Code, and as a condition for the use of its NBG Prepetition Collateral,



                                                  11
18-13374-mew       Doc 17        Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                             Pg 668 of 692


  including any NBG Cash Collateral, NBG is hereby granted the following (the “Adequate

  Protection”), effective from the Petition Date:

                     a.     Adequate Protection Liens.            Solely to the extent of, and in an

 aggregate amount equal to, any diminution in value of NBG’s respective interests in the NBG

 Prepetition Collateral resulting from, among other things, the use, sale, or lease by the Debtors

 of the NBG Prepetition Collateral (including the use of NBG Cash Collateral) and/or the

 imposition or enforcement of the automatic stay provided for under section 362(a) of the

 Bankruptcy Code (the “Diminution in Value”) from and after the Petition Date, NBG is hereby

 granted the following security interests and liens (collectively, the “Adequate Protection Liens”),

 pursuant to sections 361(2), 363(c)(2), and 363(e) of the Bankruptcy Code:


                          (i)     valid,   binding,        continuing,   enforceable,   fully-perfected,

 non-avoidable (x) first priority replacement liens on, and security interests in, the Collateral of

 each Prepetition Borrower under the NBG Prepetition Secured Loan Documents that is also a

 Debtor in these Chapter 11 Cases (each, a “Debtor Borrower”) under the respective NBG

 Prepetition Secured Loan Documents under which NBG is a party and (y) second priority

 replacement liens on, and security interests in, the NBG Collateral of each other obligor under

 the NBG Prepetition Secured Loan Documents that is also a Debtor in these Chapter 11 Cases

 (each a “Debtor Other Obligor”; and together with the Debtor Borrowers, the “Debtor Obligors”)

 against which NBG has a Prepetition Lien, in each case that is not subject to (1) valid, perfected,

 non-avoidable and enforceable liens in existence on or as of the Petition Date or (2) valid and

 non-avoidable liens in existence as of the Petition Date that are perfected after the Petition Date

 as permitted by section 546(b) of the Bankruptcy Code; and


                          (ii)    valid,   binding,        continuing,   enforceable,    fully-perfected

                                                      12
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                          Pg 669 of 692


 non-avoidable senior priming replacement liens on, and security interests in, all other NBG

 Collateral of each Debtor Borrower and each Debtor Other Obligor under the NBG Prepetition

 Secured Loan Documents, which replacement liens and security interests (x) against the Debtor

 Borrowers under the NBG Prepetition Secured Loan Documents under which NBG is a party

 shall be (x) junior only to any valid, perfected and non-avoidable liens in existence as of the

 Petition Date and any valid and non-avoidable liens in existence as of the Petition Date that are

 perfected after the Petition Date as permitted by section 546(b) of the Bankruptcy Code, in each

 case, which are senior in priority to the Prepetition Liens and are permitted by the terms of the

 NBG Prepetition Secured Loan Documents (such liens set forth in this clause (x), the “Senior

 Third Party Liens”), and (y) senior to the Junior DIP Liens (as herein defined), the Prepetition

 Liens, and all other liens and security interests of any third parties (other than any Senior Third

 Party Liens). Notwithstanding anything to the contrary, any replacement liens and security

 interests of NBG against a Debtor Borrower under the NBG Prepetition Secured Loan Documents

 shall be senior and prior to any replacement liens and security interests of any other person or

 entity against such Debtor Borrower.


                     b.    NBG Collateral. “NBG Collateral” shall mean, collectively, (i) all

 NBG Prepetition Collateral, including the NBG Prepetition Vessel Collateral, the NBG Cash

 Collateral and all postpetition revenues from or related to the NBG Prepetition Vessel Collateral

 and/or the NBG Cash Collateral, (ii) insurances, bank accounts and other security or deposit

 accounts of the Debtor Borrowers or Debtor Other Obligors holding a security interest in such

 insurances, bank accounts, and other security or deposit accounts pursuant to the NBG Prepetition

 Secured Loan Documents (including, for the avoidance of doubt, any accounts opened prior to,

 on and/or after the Petition Date), (iii) all equity interests, intercompany claims, accounts and


                                                 13
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 670 of 692


 receivables (and all rights associated therewith), in each case, held by or recorded in the name of

 any Debtor Borrower or any Debtor Other Obligor to the extent that such equity interest,

 intercompany claim, account or receivable constitutes collateral of such Debtor Borrower or

 Debtor Other Obligor pursuant to the NBG Prepetition Secured Loan Documents, and (iv) any

 and all proceeds, products, rents and profits of all of the foregoing; provided that, for the

 avoidance of doubt, NBG Collateral shall not include any of the claims and causes of action by

 the estates of the Debtor Borrowers for preferences, fraudulent conveyances, and other avoidance

 power claims under sections 544, 545, 547, 548, 550 and 553 of the Bankruptcy Code

 (collectively, the “Avoidance Actions”) or any proceeds thereof.


                      c.   Status of the Adequate Protection Liens. The Adequate Protection

 Liens shall not be (i) subject or subordinate to (A) any lien or security interest that is avoided and

 preserved for the benefit of the Debtor Borrowers and their estates under section 551 of the

 Bankruptcy Code or (B) any lien or security interest arising after the Petition Date, including, for

 the avoidance of doubt, the Junior DIP Liens and the Carve Out, or (ii) except as expressly set

 forth in in this Interim Order (or the Final Order), subordinated to or made pari passu with any

 other lien or security interest under sections 363 or 364 of the Bankruptcy Code or otherwise.

 The Adequate Protection Liens shall be in addition to all valid and enforceable liens and security

 interests now existing in favor of NBG or for the benefit of NBG and not in substitution therefor.


                      d.   Effectiveness of Adequate Protection Liens. This Interim Order shall

 be sufficient and conclusive evidence of the validity, perfection, enforceability, and priority of

 the Adequate Protection Liens without the necessity of filing or recording any financing

 statement, deed of trust, mortgage, security agreement, notice of liens, or other similar instrument

 or document which may otherwise be required under the law of any jurisdiction or the taking of

                                                   14
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 671 of 692


 any other action to validate or perfect the Adequate Protection Liens or to entitle the Adequate

 Protection Liens to the priorities granted herein. Notwithstanding the foregoing, NBG and/or its

 agents may, in its sole discretion, file such financing statements, deeds of trust, mortgages,

 security agreements, notices of liens and other similar instruments or documents, and is hereby

 granted relief from the automatic stay of section 362 of the Bankruptcy Code in order to do so,

 and all such financing statements, deeds of trust, mortgages, security agreements, notices, and

 other agreements or documents shall be deemed to have been filed or recorded at the time and on

 the date of the commencement of the Chapter 11 Cases. The Debtors shall execute and deliver

 to NBG all such financing statements, mortgages, security agreements, notices and other

 documents as NBG may reasonably request to evidence, confirm, validate or perfect, or to ensure

 the contemplated priority of the Adequate Protection Liens. NBG, in their sole discretion, may

 file a photocopy of this Interim Order as a financing statement with any recording officer

 designated to file financing statements or with any registry of deeds or similar office in any

 jurisdiction in which the Debtors have real or personal property and, in such event, the subject

 filing or recording officer shall be authorized to file or record such copy of this Interim Order.


                     e.    Adequate Protection Superpriority Claims. To the extent of, and in

 an aggregate amount equal to, any Diminution in Value in respect of the NBG Prepetition

 Collateral securing its NBG Prepetition Secured Loan Obligations, NBG is hereby granted an

 allowed superpriority administrative expense claim against each Debtor Borrower (collectively,

 the “Adequate Protection Superpriority Claims”), which Adequate Protection Superpriority

 Claims shall have priority over any and all administrative expenses, adequate protection claims,

 and other claims against the Debtor Borrowers, now existing or hereafter arising, of any kind

 whatsoever, including, without limitation, (i) all administrative expenses of the kind specified in


                                                  15
18-13374-mew       Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18          Main Document
                                            Pg 672 of 692


 sections 503(b) and 507(b) of the Bankruptcy Code, and over any and all administrative expenses

 or other claims arising under the Bankruptcy Code, (ii) the Carve Out and (iii) the Junior DIP

 Liens.


                     f.     Scope of Adequate Protection Liens and Adequate Protection

 Superpriority Claims. Except as otherwise provided, herein, (i) the Adequate Protection Liens

 granted to NBG hereunder shall be limited to (x) NBG’s Collateral and (y) to the extent not

 covered by (x), any other Collateral against which NBG has a Prepetition Lien, and (ii) the

 Adequate Protection Superpriority Claims granted to NBG hereunder shall be limited to claims

 against (x) the Debtor Borrowers under the NBG Prepetition Secured Loan Agreement under

 which NBG is a party, (y) any other Debtor Obligor against whom NBG has a Prepetition Lien.

 For the avoidance of doubt, Aegean Marine Petroleum Network, Inc., shall not grant Adequate

 Protection Liens or Adequate Protection Superpriority Claims.


                     g.     Adequate Protection Payments.


                          (i)    NBG shall receive from the Debtors (a) within five (5) business

 days following the entry of this Interim Order, cash payment of all accrued and unpaid interest

 (whether accrued prior to or after the Petition Date) on the applicable NBG Prepetition Secured

 Loan Obligations at the non-default rates provided for in the NBG Prepetition Secured Loan

 Documents (it being understood that interest shall accrue at the default rate to the fullest extent

 permitted under the Bankruptcy Code, with all rights to object thereto fully preserved), and all

 accrued and unpaid fees and costs (whether accrued prior to or after the Petition Date) owing to

 NBG under the NBG Prepetition Secured Loan Documents, and (b) thereafter, as and when due

 under the NBG Prepetition Secured Loan Documents, cash payment of all accrued and unpaid


                                                 16
18-13374-mew       Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                            Pg 673 of 692


 interest, at the applicable non-default rates provided in the NBG Prepetition Secured Loan

 Documents (it being understood that interest shall accrue at the default rate to the fullest extent

 permitted under the Bankruptcy Code, with all rights to object thereto fully preserved), and any

 fees and costs due and payable under the NBG Prepetition Secured Loan Documents, including,

 without limitation, any accrued fees owing to the Prepetition Secured Parties under the NBG

 Prepetition Secured Loan Documents.


                         (ii)    The Debtors shall pay in full, in cash and in immediately available

 funds, all reasonable and documented fees, costs and expenses (whether incurred prior to, on or

 after the Petition Date) of NBG and/or owing to NBG under the NBG Prepetition Secured Loan

 Documents, including all reasonable and documented professional and advisory fees, costs and

 expenses of its legal, financial and other professionals, including, Vedder Price P.C. and any

 financial advisor and any other local, foreign or regulatory counsel as may at any time be

 necessary (collectively, the “Prepetition Term Professionals”), (x) promptly upon the entry of this

 Interim Order in the full amounts set forth in any outstanding invoices from NBG and Prepetition

 Term Professionals received by the Debtors at least two (2) business days prior to the entry of

 this Interim Order; and (y) thereafter, within ten (10) business days after the presentment of any

 such invoices to the Debtors (which invoices shall include reasonable supporting detail in the

 form of standard detailed invoices, which may be redacted to protect privileged, confidential, or

 commercially or strategically sensitive information) (the payment obligations set forth in this

 paragraph 5(g), the “Adequate Protection Payments”). NBG and Prepetition Term Professionals

 shall not be required to comply with the U.S. Trustee fee guidelines or file any fee applications

 with the Court, but shall provide copies of its invoices (which may be redacted as set forth above)

 to the U.S. Trustee and any Committee upon written request.


                                                  17
18-13374-mew       Doc 17       Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                            Pg 674 of 692


        6.               Reporting. The Debtors shall comply with the reporting requirements set

 forth in the NBG Prepetition Secured Loan Documents, and shall provide (or continue to provide,

 as applicable) the following additional reporting to NBG:


                    a.        A copy of any Approved Budget (as defined in the DIP Order)

 provided to the DIP Lenders in satisfaction of the Debtors’ reporting requirements under the DIP

 Order and/or the DIP Loan Documents.


                     b.       A monthly fleet status report on all vessels that constitute NBG

 Prepetition Vessel Collateral explaining the location of the relevant vessel, whether such vessel

 is being chartered out, and any material changes in connection with the Debtors’ use of such

 vessel as compared to historical practice.


                     c.       Written notice to NBG of any early termination notices provided by

 any chartering parties pursuant to the relevant charters.


                     d.       Written notice to NBG of any early termination of any other cash

 collateral stipulation, consent order or other cash collateral order entered in the Chapter 11 Cases

 with respect to any other secured creditor of any of the Debtors.


                     e.       The Debtors shall promptly provide notice to NBG (with a copy to its

 counsel) when any Debtor has any knowledge of the occurrence of any Termination Event.


        7.               Access to Records and Collateral Inspection Rights. In addition to, and

 without limiting, any rights to access that NBG has under the NBG Prepetition Secured Loan

 Documents (which rights shall be preserved under this Interim Order), upon reasonable notice

 and at reasonable times, the Debtors shall permit representatives, agents and employees of NBG


                                                  18
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 675 of 692


 (a) to have access to and inspect the NBG Prepetition Vessel Collateral, (b) to examine the books

 and records of the Debtor Borrowers in connection with the NBG Prepetition Collateral, and

 (c) to discuss the affairs, finances, and condition of the NBG Prepetition Collateral with a

 representative of the Debtors.


        8.            Insurance and Maintenance of Prepetition Term Collateral.                    The

 Debtors shall provide continued maintenance of and appropriate insurance on the Debtors’ assets

 (including the vessels that are NBG Prepetition Vessel Collateral), in amounts consistent with the

 Debtors’ prepetition practices and as set forth in the NBG Prepetition Secured Loan Documents.


        9.        Carve Out. For the avoidance of doubt and notwithstanding anything to the

 contrary in this Interim Order, the Final Order, or in the DIP Order or DIP Credit Agreements,

 the Carve Out shall be senior to all liens and claims securing the DIP Credit Facilities, including

 the Junior DIP Liens, and any and all other forms of adequate protection, liens, or claims securing

 the DIP Obligations, but shall not be senior to the Adequate Protection Liens, the Adequate

 Protection Superpriority Claims, the Prepetition Liens, and the NBG Prepetition Secured Loan

 Obligations, and the Adequate Protection Liens, the Adequate Protection Superpriority Claims,

 the Prepetition Term Liens and the NBG Prepetition Secured Loan Obligations shall not be

 subject to the Carve Out.

          10.     Lien Stipulations and Challenges. The Debtors and NBG shall negotiate in

  good faith regarding stipulations to be included in the Final Order related to (i) the validity,

  enforceability, allowability, priority, secured status, or amount of the NBG Prepetition Secured

  Loan Obligations and Prepetition Liens, (ii) the liabilities to third parties, (iii) claims and causes

  of action, and (iv) related releases and indemnities (collectively, the “Stipulations”), and

  regarding the ability of parties-in-interest to challenge such Stipulations and the timing for such

                                                   19
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                          Pg 676 of 692


  challenge in connection therewith.


         11.     Limitations on Use of NBG Cash Collateral. Notwithstanding anything herein

  to the contrary, no portion of the proceeds of the NBG Collateral, including the NBG Prepetition

  Collateral and NBG Cash Collateral, may be used for the payment of professional fees,

  disbursements, costs, or expenses incurred by any person in connection with (a) incurring

  indebtedness other than as expressly permitted under this Interim Order, (b) preventing,

  hindering, impeding, or delaying any of NBG’s enforcement or realization upon, or exercise of

  rights in respect of any of the NBG Collateral (including any NBG Prepetition Collateral),

  (c) seeking to amend or modify any of the rights or interests granted to NBG under this this

  Interim Order or the respective NBG Prepetition Secured Loan Documents, including seeking

  to use NBG Cash Collateral on a contested basis, (d) asserting, commencing, or prosecuting any

  claims or causes of action, including, without limitation, any challenge or any other action under

  chapter 5 of the Bankruptcy Code (or any similar law), against any of the former, current and

  future NBG, or any of its respective former, current and future officers, employees, directors,

  agents, representatives, owners, members, partners, financial and other advisors and consultants,

  legal advisors, shareholders, managers, consultants, accountants, attorneys, affiliates, and

  predecessors and successors in interest (each of the foregoing, solely in their capacities as such),

  or (e) asserting, joining, commencing, supporting, investigating, or prosecuting any challenge,

  or any other action for any claim, counterclaim, action, cause of action, proceeding, application,

  motion, objection, defense, or other contested matter seeking any order, judgment,

  determination, or similar relief against, or adverse to the material interests of NBG, arising out

  of, in connection with, or relating to the NBG Prepetition Secured Loan Documents, or the

  transactions contemplated thereunder, including, without limitation, (i) any action arising under


                                                  20
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 677 of 692


  the Bankruptcy Code, (ii) any so-called “lender liability” claims and causes of action, (iii) any

  action with respect to the validity and extent of the NBG Prepetition Secured Loan Obligations

  or the validity, extent, perfection and priority of the Prepetition Liens, (iv) any action seeking to

  invalidate, set aside, avoid, reduce, set off, offset, recharacterize, subordinate (whether

  equitable, contractual, or otherwise), recoup against, disallow, impair, raise any defenses,

  cross-claims, or counterclaims, or raise any other challenges under the Bankruptcy Code or any

  other applicable domestic or foreign law or regulation against, or with respect to, the Prepetition

  Liens, in whole or in part, (v) appeal or otherwise challenge any order giving effect to this

  Interim Order or (vi) any action that has the effect of preventing, hindering, impeding or

  delaying (whether directly or indirectly) NBG in respect of the Prepetition Liens, NBG

  Prepetition Secured Loan Obligations, Adequate Protection Liens, or Adequate Protection

  Superpriority Claims or any of its rights, powers, or benefits hereunder or in the NBG

  Prepetition Secured Loan Documents anywhere in the world; provided that no more than

  $25,000 in the aggregate may be used by any Committee solely to investigate (but not prosecute

  or challenge) the Stipulations.


         12.     Consent to Junior DIP Liens; Priority and Conditions.


                    a.      Subject in all respects to the terms, limitations, and conditions

 (including the priorities) set forth in this Interim Order, including, without limitation, the

 intercreditor provisions set forth in this paragraph 12 and the approval of the Stipulations in a

 Final Order for the continuation of such consent, NBG hereby consents during the term of this

 Interim Order (and subject to being extended in the Final Order on the terms and conditions set

 forth herein) to the granting of junior liens (the “Junior DIP Liens”) on the NBG Prepetition

 Collateral, which Junior DIP Liens shall be junior to and subordinated in all respects to the

                                                   21
18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                         Pg 678 of 692


 Prepetition Liens and the Adequate Protection Liens, and to any NBG Prepetition Secured Loan

 Obligations and Adequate Protection Superpriority Claims of NBG against the applicable

 Debtors, as provided herein, provided that nothing herein shall limit or alter the rights of NBG,

 or any other party, to object to any other liens or security interests, or to any subsequent

 debtor-in-possession financing.


                   b.      Notwithstanding anything herein, in the DIP Order or in the DIP

 Credit Agreements to the contrary, the DIP Agent or DIP Lenders may not foreclose or

 otherwise exercise remedies following any default or Event of Default under the DIP Order

 or DIP Credit Agreements, or otherwise, with respect to any NBG Collateral (including the

 NBG Prepetition Collateral) unless and until all NBG Prepetition Secured Loan Obligations

 (and any Adequate Protection Superpriority Claims) are paid in full and in cash. In order to

 give effect to the intended priority waterfall in respect of the NBG Collateral (including any

 NBG Prepetition Collateral) set forth in this Interim Order, and the Debtor Borrowers, in

 the event any NBG Collateral (including any NBG Prepetition Collateral) is received by the

 DIP Agent or any DIP Lender, in connection with the exercise of remedies following a default

 or Event of Default under the DIP Order or DIP Credit Agreements, or in connection with

 any mandatory prepayment required to be made pursuant to the DIP Credit Agreements,

 shall be held in trust for the benefit of the NBG and shall be distributed in accordance with

 the priorities set forth herein; provided that, for the avoidance of doubt, the NBG Prepetition

 Collateral shall be available first to satisfy the underlying NBG Prepetition Secured Loan

 Obligations until the payment in full and in cash of all NBG Prepetition Secured Loan

 Obligations (and any Adequate Protection Superpriority Claims).



                                                22
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 679 of 692


                    c.      Until all NBG Prepetition Secured Loan Obligations (and any

 Adequate Protection Superpriority Claims) are indefeasibly paid in full and in cash, NBG

 shall have the exclusive right to take and continue any enforcement action against or otherwise

 in respect of the NBG Prepetition Collateral pursuant to the terms and conditions of this Interim

 Order, the NBG Prepetition Secured Loan Documents and applicable law, without any

 consultation with or consent of any DIP Lender, and to make determinations regarding the release

 of, disposition of, or restrictions with respect to the NBG Prepetition Collateral in accordance

 with this Interim Order and NBG Prepetition Secured Loan Documents, without any consultation

 with or the consent of the DIP Agent or the DIP Lenders. In taking and continuing any

 enforcement action in respect of the Prepetition Liens and/or the Adequate Protection Liens, NBG

 and its agents may enforce the provisions of this Interim Order and the NBG Prepetition Secured

 Loan Documents and exercise remedies hereunder and thereunder, all in such order and in such

 manner as they may determine in the exercise of its sole discretion.


                    d.      In addition, if prior to the indefeasible payment in full and in cash of

 the NBG Prepetition Secured Loan Obligations (and any Adequate Superpriority Claims), in

 connection with an enforcement action in respect of the Prepetition Liens and/or the Adequate

 Protection Liens, or any sale, transfer, license, lease or other disposition (including any sale and

 leaseback transaction) of any NBG Prepetition Collateral permitted under this Interim Order and

 the NBG Prepetition Secured Loan Documents, NBG release any of its respective liens on any

 part of the NBG Prepetition Collateral, then any Junior DIP Liens on such NBG Prepetition

 Collateral shall be automatically, unconditionally and simultaneously released without any action

 on the part of the DIP Agent or DIP Lenders, provided that any such Junior DIP Liens shall attach

 to any the proceeds of such NBG Collateral, subject to the priorities set forth in this Interim Order.


                                                   23
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 680 of 692


                    e.      The DIP Agent and the DIP Lenders waive any and all rights they may

 have as a junior lien creditor or otherwise to object to the manner in which NBG seeks to enforce

 or collect the NBG Prepetition Secured Loan Obligations or the Prepetition Liens securing the

 NBG Prepetition Secured Loan Obligations or with respect any of the NBG Prepetition Collateral,

 whether such enforcement or collection actions are undertaken in accordance with this Interim

 Order and/or the NBG Prepetition Secured Loan Documents or otherwise, and regardless of

 whether any action or failure to act by or on behalf of NBG is adverse to the interest of the DIP

 Agent or DIP Lenders.


                    f.      NBG shall not have any obligation whatsoever to any DIP Agent or

 DIP Lender to ensure that the NBG Prepetition Collateral is genuine or owned by any of the

 Debtor Obligors or to preserve rights or benefits of any Person except as expressly set forth

 herein. NBG, acting pursuant to this paragraph 12 shall not have, by reason of the NBG

 Prepetition Secured Loan Documents, the DIP Order, the DIP Credit Agreements, this Interim

 Order or any other document, any duty or other fiduciary relationship to or in respect of any DIP

 Lender or the DIP Agent.


                    g.      Until all NBG Prepetition Secured Loan Obligations (and all Adequate

 Protection Superpriority Claims) are indefeasibly paid in full and in cash, neither the DIP Agent

 nor any DIP Lender may take or receive any NBG Prepetition Collateral or any proceeds of NBG

 Prepetition Collateral in connection with the exercise of any right or remedy (including setoff)

 with respect to any NBG Prepetition Collateral in its capacity as a creditor or otherwise. Without

 limiting the generality of the foregoing, unless and until all NBG Prepetition Secured Loan

 Obligations (and all Adequate Protection Superpriority Claims) are indefeasibly paid in full and

 in cash, except as expressly provided in this Interim Order, the sole right of the DIP Agent and

                                                 24
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 681 of 692


 DIP Lenders with respect to the NBG Prepetition Collateral is to hold a junior lien on the NBG

 Prepetition Collateral pursuant to the DIP Order, the DIP Credit Agreements and this Interim

 Order for the period and to the extent granted in this Interim Order and to receive a share of the

 proceeds thereof, if any, after the indefeasible payment in full and in cash of all NBG Prepetition

 Secured Loan Obligations (and all Adequate Protection Superpriority Claims).


                    h.      Except as otherwise specifically provided herein to the contrary and

 solely for purposes of this Interim Order, the DIP Agent and DIP Lenders each hereby waive:

 (i) promptness, diligence, notice of acceptance, notice of default, notice of nonpayment, notice

 of intent to accelerate, notice of acceleration, and any other notice with respect to any of the NBG

 Prepetition Secured Loan Obligations and this Interim Order; (ii) any requirement that the DIP

 Agent, any DIP Lender or any other secured party protect, secure, perfect, or insure any security

 interest or lien or NBG Prepetition Collateral or exhaust any right or take any action against the

 Debtor Obligors or any other person or entity or any NBG Prepetition Collateral; and (iii) any

 right of the DIP Agent or DIP Lender to require NBG to marshal the assets of the Debtors.


                    i.      Any right of the DIP Agent or DIP Lenders to credit bid on the NBG

 Prepetition Collateral shall be subject to the prior or concurrent payment in full and in cash

 of all NBG Prepetition Secured Loan Obligations (and any Adequate Protection

 Superpriority Claims).


                    j.      The terms and provisions of this paragraph 12 shall apply

 notwithstanding anything to the contrary in the DIP Order or the DIP Credit Agreements,

 and shall control in all respects as to the subject matter and provisions (including, without

 limitation, as to any relative priorities) set forth herein.


                                                  25
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                          Pg 682 of 692


         13.     Continuing Effect of this Interim Order. Any dismissal, conversion, or

  substantive consolidation of the Chapter 11 Cases shall not affect the rights of NBG under this

  Interim Order, and all of its rights and remedies hereunder shall remain in full force and effect

  as if the Chapter 11 Cases had not been dismissed, converted, or substantively consolidated.

  Any order dismissing any of the Chapter 11 Cases under section 1112 of the Bankruptcy Code

  or otherwise shall provide or be deemed to provide (in accordance with sections 105 and 349 of

  the Bankruptcy Code) that (x) the NBG Prepetition Secured Loan Obligations, the Prepetition

  Liens, the Adequate Protection Superpriority Claims, and the Adequate Protection Liens shall

  continue in full force and effect and shall maintain their priorities as provided in this Interim

  Order (and that such Adequate Protection Superpriority Claims and the Adequate Protection

  Liens shall, notwithstanding such dismissal, remain binding on all persons), and (y) this Court

  shall retain jurisdiction, notwithstanding such dismissal, for the purposes of enforcing the

  claims, liens and security interests referred to in clause (x) above.


         14.     Cash Management. The Debtors shall maintain their cash management

  arrangement in a manner consistent with past practice and as described in the Interim Order

  (I) Authorizing the Debtors to (A) Continue to Operate Their Cash Management System and

  Maintain Existing Bank Accounts and (B) Continue to Perform Intercompany Transactions and

  (II) Granting Related Relief. Dkt. No. [●] (the “Cash Management Order”).


         15.     Proofs of Claim. NBG shall not be required to file proofs of claim or proofs of

  secured claim in any of the Chapter 11 Cases or Successor Cases (as defined below) and the

  Debtors’ stipulations herein shall be deemed to constitute a timely filed proof of claim against

  each of the applicable Debtors in the Chapter 11 Cases. Any order entered by the Court in

  relation to the establishment of a bar date for any claim (including, without limitation,

                                                  26
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 683 of 692


  administrative claims) in any of the Chapter 11 Cases or Successor Cases shall not apply to

  NBG with respect to all prepetition claims, secured claims, and rights and interest, including,

  without limitation, claims arising under or related to the NBG Prepetition Secured Loan

  Documents, this Interim Order, and/or any Final Order. Notwithstanding the foregoing, or any

  order entered by the Court in relation to the establishment of a bar date in any of the Chapter 11

  Cases or Successor Cases to the contrary, NBG is hereby authorized and entitled, in each case

  in its respective sole discretion, but not required, to file (and amend and/or supplement, as NBG

  sees fit) a master proof of claim or proof of secured claim and/or aggregate proofs of claim or

  proofs of secured claim in each of the Chapter 11 Cases or Successor Cases for any claim

  allowed pursuant to this Interim Order and/or the Final Order.


         16.     No Marshaling/Applications of Proceeds. Subject to the entry of the Final

  Order, NBG shall not be subject to the equitable doctrine of “marshaling” or any other similar

  doctrine with respect to any of the NBG Collateral (including any NBG Prepetition Collateral),

  as the case may be, and proceeds shall be received and applied in accordance with this Interim

  Order and NBG Prepetition Secured Loan Documents notwithstanding any other agreement or

  provision to the contrary.


         17.     Section 552(b). NBG shall be entitled to all of the rights and benefits of

  section 552(b) of the Bankruptcy Code, including, for the avoidance of doubt, that postpetition

  revenues and payments in connection with any NBG Prepetition Collateral (including

  (i) postpetition payments generated by operation of vessels that are NBG Prepetition Vessel

  Collateral on and after the Petition Date and under any contracts in respect thereof in effect on

  and after the Petition Date and (ii) all postpetition revenues deposited into earnings or operating

  accounts associated with or related to any NBG Prepetition Vessel Collateral and owned by a

                                                  27
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18               Main Document
                                           Pg 684 of 692


  Debtor Borrower under the NBG Credit Facilities are proceeds under section 552(b), in each

  case to the extent NBG was granted an assignment, pledge or other transfer of legal or beneficial

  title or interest in respect of, or security interest in, or a lien on, such NBG Prepetition Collateral

  (including, without limitation, contracts, payments or revenues in respect thereof under NBG

  Credit Facilities). Upon entry of the Final Order, the “equities of the case” exception under

  section 552(b) of the Bankruptcy Code shall not apply to NBG with respect to proceeds, product,

  offspring or profits of any of the NBG Prepetition Collateral.


          18.     Section 507(b) Reservation.         Nothing herein shall impair or modify the

  application of section 507(b) of the Bankruptcy Code in the event that the adequate protection

  provided to NBG hereunder is insufficient to compensate for any Diminution in Value of its

  interests in the NBG Prepetition Collateral (including NBG Cash Collateral) during the

  Chapter 11 Cases or any successor cases to the Chapter 11 Cases including, but not limited to,

  any case under chapter 7 of the Bankruptcy Code upon the conversion of any of the Chapter 11

  Cases, or in any other proceedings superseding or related to any of the Chapter 11 Cases

  (collectively, “Successor Cases”).


          19.     Section 506(c) Waiver. Subject to the entry of the Final Order, no costs or

  expenses of administration that have been or may be incurred in any of the Chapter 11 Cases or

  any Successor Cases at any time shall be charged against NBG, any of its respective claims, any

  NBG Prepetition Secured Loan Obligations, any Adequate Protection Liens, any Adequate

  Protection Superpriority Claims, any Prepetition Liens or any NBG Prepetition Collateral,

  including any NBG Cash Collateral, pursuant to sections 506(c) or 105(a) of the Bankruptcy

  Code, or otherwise, without the prior written consent of NBG. Nothing contained in this Interim

  Order shall be deemed a consent by NBG to any charge, lien, assessment or claim against, or in

                                                    28
18-13374-mew       Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 685 of 692


  respect of, the NBG Prepetition Collateral, including NBG Cash Collateral, under section 506(c)

  or 105(a) of the Bankruptcy Code, or otherwise.


         20.     Credit Bid. Subject in all respects to the Stipulations and terms of the NBG

  Prepetition Secured Loan Documents, NBG and/or its agents shall have the right to credit bid

  under, and subject to the terms of, section 363(k) of the Bankruptcy Code, all of its respective

  claims (including any Adequate Protection Superpriority Claims) in connection with a sale of

  the Debtors’ assets under section 363 of the Bankruptcy Code or under a chapter 11 plan.


         21.     Good Faith. NBG and its agents have acted in good faith (including, without

  limitation, for the purposes of section 363(m) of the Bankruptcy Code) in connection with this

  Interim Order and their reliance on this Interim Order has been and is in good faith.


         22.     No Release of Guarantors. Nothing contained in this Interim Order shall be

  deemed to terminate, modify or release any obligations of any Debtor or non-Debtor guarantor

  to NBG with respect to their respective obligations under any of the NBG Prepetition Secured

  Loan Documents.


         23.     No Waiver by Failure to Seek Relief; Right to Seek Additional Adequate

  Protection. The failure of NBG to seek relief or otherwise exercise its rights and remedies

  under this Interim Order, the NBG Prepetition Secured Loan Documents, or applicable law, as

  the case may be, shall not constitute a waiver of any of the rights hereunder, thereunder, or

  otherwise of NBG. This Interim Order is without prejudice to, and does not constitute a waiver

  of, expressly or implicitly, the rights of NBG to request additional forms of adequate protection

  at any time or the rights of the Debtors or any other party to contest such request.




                                                 29
18-13374-mew       Doc 17      Filed 11/06/18 Entered 11/06/18 07:04:18            Main Document
                                           Pg 686 of 692


          24.     Modification of Automatic Stay. The automatic stay under Bankruptcy Code

  section 362(a) is hereby modified as necessary to effectuate all of the terms and provisions of

  this Interim Order, including, without limitation, to: (a) permit the Debtors to grant (or continue

  to grant, as applicable) the Adequate Protection Liens and incur the Adequate Protection

  Superpriority Claims; (b) permit the Debtors to perform such acts as may be needed to assure

  the perfection and priority of the liens granted herein; (c) permit the Debtors to incur all

  liabilities and obligations under the terms herein; (d) authorize the Debtors to pay, and NBG to

  retain and apply, any payments made in accordance with the terms of this Interim Order and the

  NBG Prepetition Secured Loan Documents; and (e) permit NBG to terminate the use of NBG

  Cash Collateral in accordance with this Interim Order.


          25.     No Third Party Rights. Except as explicitly provided for herein, this Interim

  Order does not create any rights for the benefit of any third party, creditor, equity holder or any

  direct, indirect, or incidental beneficiary.


          26.     Binding Effect of Interim Order. Immediately upon entry by the Court

  (notwithstanding any applicable law or rule to the contrary), the terms and provisions of this

  Interim Order shall become valid and binding in accordance with its terms upon the Debtors,

  NBG, all other creditors of any of the Debtors, and all other parties-in-interest and each of their

  respective successors and assigns, including any trustee or other fiduciary hereafter appointed

  in any of these Chapter 11 Cases, or upon dismissal of any of these Chapter 11 Cases.


          27.     Survival. The provisions of this Interim Order and any actions taken pursuant

  hereto shall survive the entry of any order: (i) confirming any plan of reorganization in any of

  the Chapter 11 Cases, (ii) converting any of the Chapter 11 Cases to a chapter 7 case, or


                                                  30
18-13374-mew        Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18              Main Document
                                           Pg 687 of 692


  (iii) dismissing any of the Chapter 11 Cases, and, with respect to the entry of any order as set

  forth in clause (ii) or (iii) of this paragraph 27, the terms and provisions of this Interim Order as

  well as the Adequate Protection Liens and Adequate Protection Superpriority Claims shall

  continue in full force and effect notwithstanding the entry of any such order


          28.      Effect of this Interim Order. This Interim Order shall constitute findings of

  fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be

  enforceable nunc pro tunc to the Petition Date immediately upon entry. To the extent that such

  findings may constitute conclusions, and vice versa, they hereby are deemed as such.


          29.      Modification or Amendment. Except as otherwise provided herein, no waiver,

  modification or amendment of any of the provision hereof shall be effective unless set forth in

  writing, signed by, or on behalf of, the Debtors and NBG, and approved by the Court after notice

  to parties-in-interest.


          30.      Jurisdiction. The Court hereby retains jurisdiction to hear and determine all

  matters arising from or related to the implementation, interpretation and/or enforcement of this

  Interim Order.


          31.      Debtors’ Authorization. The Debtors are authorized and empowered to take all

  actions necessary to implement the provisions of this Interim Order.


          32.      Controlling Effect of Interim Order. To the extent any provision of this

  Interim Order conflicts or is inconsistent with any provision of the Motion, the Cash

  Management Order, the DIP Credit Agreements, the DIP Order, or any other order of this Court

  (other than the Final Order), the provisions of this Interim Order shall control to the extent of



                                                   31
18-13374-mew        Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18             Main Document
                                          Pg 688 of 692


  such conflict.


         33.       Cash Collateral Orders for Other Secured Vessel Lenders. If, acting in its

  sole discretion, NBG determines that any Debtor has provided any other secured vessel

  lender greater rights or protections under any cash collateral order or otherwise than NBG

  has under this Interim Order, then the Debtors shall, at the request of NBG, as soon as

  reasonably practicable, seek Court approval of an amended cash collateral order with NBG

  that incorporates such rights or protections for NBG’s benefit.


         34.       Notice. The Debtors shall, within three business days of entry of this Interim

  Order, mail copies of a notice of entry of this Interim Order and the hearing to approve the relief

  requested in the Motion on a final basis (the “Final Hearing”), together with a copy of this

  Interim Order, by first class mail, postage prepaid, facsimile, electronic mail or overnight mail

  upon the Notice Parties. In addition, all parties who have requested electronic notice of filings

  in these cases through the Court’s ECF system will automatically receive notice of this Interim

  Order no later than the day after its entry on the docket. A copy of this Interim Order will be

  made available on the Debtors’ restructuring website located at http://dm.epiq11.com/aegean.

  The notice of the entry of this Interim Order and the Final Hearing shall state that the objections

  to the entry of the Final Order shall be filed with the Court, together with proof of service

  thereon, and served on the counsel for the Debtors and the Notice Parties with a copy to the

  Court’s chambers so as to be actually received no later than 5:00 p.m. on [___], 2018.


         35.       Final Hearing. The Court shall hold the Final Hearing to consider the relief

  requested in the Motion, including any objection filed in accordance with this Interim Order, on

  [___], 2018.


                                                  32
18-13374-mew   Doc 17   Filed 11/06/18 Entered 11/06/18 07:04:18   Main Document
                                    Pg 689 of 692




 Date: ___________________              _____________________________________
      New York, New York                 UNITED STATES BANKRUPTCY JUDGE




                                       33
     18-13374-mew      Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18         Main Document
                                             Pg 690 of 692


                                                Annex A
                              NBG Prepetition Secured Loan Documents


1.     NBG Prepetition Secured Loan Agreement.

       Loan Agreement, dated October 27, 2006, between (1) Tasman Seaways Inc. and Santon Limited,
       as joint and several borrowers, and (2) National Bank of Greece S.A., as lender, as amended,
       modified, supplemented, and/or in effect from time to time.

2.     NBG Prepetition Secured Loan Documents.

       Such documents, include, without limitation, the following documents (as amended, modified,
       supplemented, and/or in effect from time to time), along with other documents and instruments
       related thereto:
        Supplemental Agreement, dated July 28, 2010, among (1) Tasman Seaways Inc. and Santon
           Limited, as joint and several borrowers, (2) Aegean Marine Petroleum Network Inc. and
           Aegean Bunkering Services Inc., as guarantors, and (3) National Bank of Greece S.A., as
           lender,
        Supplemental Agreement, dated May 12, 2011, among (1) Tasman Seaways Inc. and Santon
           Limited, as joint and several borrowers, (2) Aegean Marine Petroleum Network Inc. and
           Aegean Bunkering Services Inc., as guarantors, and (3) National Bank of Greece S.A., as
           lender;
        Supplemental Agreement, dated April 7, 2015, among (1) Tasman Seaways Inc. and Santon
           Limited, as joint and several borrowers, (2) Aegean Marine Petroleum Network Inc. and
           Aegean Bunkering Services Inc., as guarantors, and (3) National Bank of Greece S.A., as
           lender;
        Supplemental Letter, dated February 15, 2017, among (1) Tasman Seaways Inc. and Santon
           Limited, as joint and several borrowers, (2) Aegean Marine Petroleum Network Inc. and
           Aegean Bunkering Services Inc., as guarantors, and (2) National Bank of Greece S.A., as
           lender;
        First Preferred Liberian Ship Mortgage, dated February 20, 2009, between Tasman Seaways
           Inc., as mortgagor, and National Bank of Greece S.A., as mortgagee, pursuant to which the
           vessel Kalymnos was assigned as collateral;
        Addendum No. 1 to First Preferred Mortgage, dated July 28, 2010, between Tasman Seaways
           Inc., as mortgagor, and National Bank of Greece S.A., as mortgagee;
        Addendum No. 2 to First Preferred Mortgage, dated April 7, 2015, between Tasman Seaways
           Inc., as mortgagor, and National Bank of Greece S.A., as mortgagee;
        Deed of Assignment, dated February 20, 2009, between Tasman Seaways Inc., as mortgagor,
           and National Bank of Greece S.A., as mortgagee,
     18-13374-mew      Doc 17     Filed 11/06/18 Entered 11/06/18 07:04:18           Main Document
                                              Pg 691 of 692


          First Preferred Liberian Ship Mortgage, dated September 3, 2010, between Santon Limited,
           as mortgagor, and National Bank of Greece S.A., as mortgagee, pursuant to which the vessel
           Leros was assigned as collateral;
          First Preferred Panamanian Ship Mortgage, dated May 12, 2011, between Santon Limited, as
           mortgagor, and National Bank of Greece S.A., as mortgagee, pursuant to which the vessel
           Leros was assigned as collateral;
          Addendum to First Preferred Mortgage, dated April 7, 2015, between Santon Limited, as
           mortgagor, and National Bank of Greece S.A., as mortgagee;
          Deed of Assignment, dated September 3, 2010, between Santon Limited, as mortgagor, and
           National Bank of Greece S.A., as mortgagee,
          Guarantee, dated October 27, 2006, between Aegean Marine Petroleum Network Inc., as
           guarantor, and National Bank of Greece S.A., as lender;
          Guarantee, dated October 27, 2006, between Aegean Bunkering Services Inc., as guarantor,
           and National Bank of Greece S.A., as lender;
          The Pledge Agreement, dated October 22, 2007, between Tasman Seaways Inc., as pledgor,
           and National Bank of Greece S.A., as lender, under which the retention account of Tasman
           Seaways Inc. was pledged to National Bank of Greece S.A.;
          The Pledge Agreement , dated October 22, 2007, between Tasman Seaways Inc., as
           pledgor, and National Bank of Greece S.A., as lender, under which the earnings account of
           Santon Limited was pledged to National Bank of Greece S.A.;
          The Pledge Agreement , dated October 22, 2007, between Santon Limited, as pledgor, and
           National Bank of Greece S.A., as lender, under which the earnings account of Santon
           Limited was pledged to National Bank of Greece S.A.; and
          The Pledge Agreement , dated October 22, 2007, between Santon Limited, as pledgor, and
           National Bank of Greece S.A., as lender, under which the retention account of Santon
           Limited was pledged to National Bank of Greece S.A.

3.     NBG Prepetition Vessel Collateral

       “NBG Prepetition Vessel Collateral” means vessel Leros and the vessel Kalymnos, and related
       collateral as described in the NBG Prepetition Secured Loan Documents.

4.     NBG Prepetition Collateral

       “NBG Prepetition Collateral” means all collateral as described in the NBG Prepetition Secured
       Loan Documents.

5.     NBG Cash Collateral

       “NBG Cash Collateral” means all cash collateral (as such term is defined in Section 363(a) of the
       Bankruptcy Code) to the extent that National Bank of Greece S.A. has been provided interests
       therein as provided under the NBG Prepetition Secured Loan Documents, along with all earnings
18-13374-mew     Doc 17    Filed 11/06/18 Entered 11/06/18 07:04:18       Main Document
                                       Pg 692 of 692


  generated by any of the NBG Prepetition Vessel Collateral and/or other NBG Prepetition
  Collateral, whether any of the foregoing accrued prior to and/or after the Petition Date.
